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                                     Nos. 25-1236, 25-1413


                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT


                                STATE OF NEW YORK, et al.,

                                                      Plaintiffs-Appellees,

                                                v.

       DONALD J. TRUMP, in his official capacity as President of the United States, et al.,

                                                      Defendants-Appellants.


                        On Appeal from the United States District Court
                              for the District of Rhode Island


                                          APPENDIX


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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND


       STATE OF NEW YORK; STATE OF
       CALIFORNIA; STATE OF ILLINOIS; STATE OF
       RHODE ISLAND; STATE OF NEW JERSEY;
       COMMONWEALTH OF MASSACHUSETTS;
       STATE OF ARIZONA; STATE OF COLORADO;
       STATE OF CONNECTICUT; STATE OF                C.A. No. _______________
       DELAWARE; THE DISTRICT OF COLUMBIA;
       STATE OF HAWAI’I; STATE OF MAINE; STATE
       OF MARYLAND; STATE OF MICHIGAN; STATE         REQUEST FOR EMERGENCY
       OF MINNESOTA; STATE OF NEVADA; STATE          TEMPORARY RESTRAINING
       OF NORTH CAROLINA; STATE OF NEW               ORDER UNDER FEDERAL RULE
       MEXICO; STATE OF OREGON; STATE OF             OF CIVIL PROCEDURE 65(B)
       VERMONT; STATE OF WASHINGTON; STATE
       OF WISCONSIN,

                    Plaintiffs,

              v.

       DONALD TRUMP, IN HIS OFFICIAL CAPACITY
       AS PRESIDENT OF THE UNITED STATES; U.S.
       OFFICE OF MANAGEMENT AND BUDGET;
       MATTHEW J. VAETH, IN HIS OFFICIAL
       CAPACITY AS ACTING DIRECTOR OF THE
       U.S. OFFICE OF MANAGEMENT AND
       BUDGET; U.S. DEPARTMENT OF THE
       TREASURY; SCOTT BESSENT, IN HIS
       OFFICIAL CAPACITY AS SECRETARY OF THE
       TREASURY; PATRICIA COLLINS IN HER
       OFFICIAL CAPACITY AS TREASURER OF THE
       U.S.; U.S. DEPARTMENT OF HEALTH AND
       HUMAN SERVICES; DOROTHY A. FINK, M.D.,
       IN HER OFFICIAL CAPACITY AS ACTING
       SECRETARY OF HEALTH AND HUMAN
       SERVICES; U.S. DEPARTMENT OF
       EDUCATION; DENISE CARTER, IN HER
       OFFICIAL CAPACITY AS ACTING SECRETARY
       OF EDUCATION; U.S. FEDERAL EMERGENCY
       MANAGEMENT AGENCY; CAMERON
       HAMILTON, IN HIS OFFICIAL CAPACITY AS
       ACTING ADMINISTRATOR OF THE U.S.
       FEDERAL EMERGENCY MANAGEMENT

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       AGENCY; U.S. DEPARTMENT OF
       TRANSPORTATION;
       JUDITH KALETA, IN HER OFFICIAL
       CAPACITY AS ACTING SECRETARY OF
       TRANSPORTATION;
       U.S. DEPARTMENT OF LABOR; VINCE
       MICONE, IN HIS OFFICIAL CAPACITY AS
       ACTING SECRETARY OF LABOR; U.S.
       DEPARTMENT OF ENERGY; INGRID KOLB, IN
       HER OFFICIAL CAPACITY AS ACTING
       SECRETARY OF THE U.S. DEPARTMENT OF
       ENERGY; U.S. ENVIRONMENTAL
       PROTECTION AGENCY; JAMES PAYNE, IN HIS
       OFFICIAL CAPACITY AS ACTING
       ADMINISTRATOR OF THE U.S.
       ENVIRONMENTAL PROTECTION AGENCY;
       U.S. DEPARTMENT OF HOMELAND
       SECURITY; KRISTI NOEM, IN HER CAPACITY
       AS SECRETARY OF THE U.S. DEPARTMENT
       OF HOMELAND SECURITY; U.S.
       DEPARTMENT OF JUSTICE; JAMES R.
       McHENRY III, IN HIS OFFICIAL CAPACITY AS
       ACTING ATTORNEY GENERAL OF THE U.S.
       DEPARTMENT OF JUSTICE; THE NATIONAL
       SCIENCE FOUNDATION and DR.
       SETHURAMAN PANCHANATHAN, IN HIS
       CAPACITY AS DIRECTOR OF THE NATIONAL
       SCIENCE FOUNDATION,

                     Defendants.


                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   INTRODUCTION

             1.     This action seeks declaratory and injunctive relief and vacatur under the

      Administrative Procedure Act (“APA”) with respect to the Office of Management and Budget’s

      January 27, 2025, Directive for Heads of Executive Departments and Agencies (M-25-13), with

      the subject, “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs”




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      (“OMB Directive”).1 The OMB Directive, set to take effect at 5 pm today but actually being

      implemented even earlier, directs that the head of every executive branch department and agency

      “must temporarily pause all activities related to obligation or disbursement of all Federal

      financial assistance, and other relevant agency activities that may be implicated by” recent

      executive orders, “including, but not limited to, financial assistance for foreign aid,

      nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” OMB

      Directive, at 2 (emphasis in original). It requires all federal agencies to conduct a review of all

      federal financial assistance programs and supporting activities for consistency with current

      presidential policy, including the slate of executive orders directing immigration activities;

      eradicating DEI initiatives from federal programs; eliminating protections for members of the

      LGBTQ community; and removing conservation-focused regulations intended to protect the

      environment. The OMB Directive violates the APA and is unconstitutional. The substantial

      confusion created by the OMB Directive and unlawfully withheld funding pursuant to the OMB

      Directive’s directive will result in immediate and devastating harm to Plaintiff States.

               2.      The OMB Directive would permit the federal government to rescind already

      allocated dollars that have been included in recipient budgets—monies that are otherwise

      necessary for the Plaintiffs to ensure that their residents have quality healthcare, the protections of

      law enforcement, the benefit of safe roads, and assistance in the aftermath of natural disasters,

      among many other key services. Without this funding, Plaintiff States will be unable to provide

      certain essential benefits for residents, pay public employees, satisfy obligations, and carry on the

      important business of government.




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          A copy of the OMB Directive is appended to this Complaint as Exhibit A.
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             3.      There has apparently been a new document circulated by OMB today attempting to

      clarify that the pause is not “across-the-board,” and does not impact funding like Medicaid.

      Regardless of this attempt at clarification, as of the filing of this Complaint, the portal for

      processing Medicaid Disbursement was inoperable across numerous of Plaintiff States for hours.

      The system for drawing down Head Start and the Child Care Development Block Grant Fund were

      also down for some states. Plaintiff States became aware of this document via X (formerly Twitter).

      This directive also does not describe how particular grant programs are treated, and the pause

      appears to continue as to nearly all federal funding. This directive suggests that in some

      circumstances, a pause “could be a day,” but the directive does not provide an end date, and the

      process required by the OMB Directive, including analysis and reports by agencies, demonstrates

      that delays are more likely to be weeks or months, with no way of determining the actual length

      of time. For these reasons, this new document actually increases confusion.

                                       JURISDICTION AND VENUE

             4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

      2201(a). Jurisdiction is also proper under the judicial review provisions of the Administrative

      Procedure Act, 5 U.S.C. § 702.

             5.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1).

      Defendants are United States agencies or officers sued in their official capacities. The State of New

      York is a resident of this district, and a substantial part of the events or omissions giving rise to

      this Complaint occurred and continue to occur within the Southern District of New York.




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                                                   PARTIES

          A. Plaintiffs

              6.     The State of New York is a sovereign state in the United States of America. New

      York is represented by Attorney General Letitia James, who is the chief law enforcement officer

      of New York.

              7.     The State of California is a sovereign state in the United States of America.

      California is represented by Attorney General Rob Bonta, who is the chief law enforcement

      officer of California.

              8.     The State of Illinois is a sovereign state in the United States of America. Illinois is

      represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

      Illinois.

              9.     The State of Rhode Island is a sovereign state in the United States of America.

      Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

      enforcement officer of Rhode Island.

              10.    The State of New Jersey is a sovereign state in the United States of America.

      New Jersey is represented by Attorney General Matthew Platkin, who is the chief law

      enforcement officer of New Jersey.

              11.    The Commonwealth of Massachusetts is a sovereign state in the United States of

      America. Massachusetts is represented by Attorney General Andrea Campbell, who is the chief

      law enforcement officer of Massachusetts.

              12.    The State of Arizona is a sovereign state in the United States of America. Arizona

      is represented by Attorney General Kris Mayes, who is the chief law enforcement officer of

      Arizona.



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             13.     The State of Colorado is a sovereign state in the United States of America.

      Colorado is represented by Attorney General Phil Weiser, who is the chief law enforcement

      officer of Colorado.

             14.     The State of Connecticut is a sovereign state in the United States of America.

      Connecticut is represented by Attorney General William Tong, who is the chief law enforcement

      officer of Connecticut.

             15.     The State of Delaware is a sovereign state in the United States of America.

      Delaware is represented by Attorney General Kathy Jennings, who is the chief law enforcement

      officer of Delaware.

             16.     The District of Columbia is the capitol of the Federal District of the United States.

      The District of Columbia is represented by Attorney General Brian Schwalb.

             17.     The State of Hawai’i is a sovereign state of the United States of America. Hawai’i

      is represented by Attorney General Anne Lopez who is the chief law enforcement officer of

      Hawai’i.

             18.     The State of Maine is a sovereign state of the United States of America. Maine is

      represented by Attorney General Aaron Frey who is the chief law enforcement officer of Maine.

             19.     The State of Maryland is a sovereign state of the United States of America.

      Maryland is represented by Attorney General Anthony G. Brown who is the chief law

      enforcement officer of Maryland.

             20.     The State of Michigan is a sovereign state of the United States of America.

      Michigan is represented by Attorney General Dana Nessell who is the chief law enforcement

      officer of Michigan.




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              21.     The State of Minnesota is a sovereign state of the United States of America.

       Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

       officer of Minnesota.

              22.     The State of Minnesota is a sovereign state of the United States of America.

       Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

       officer of Minnesota.

              23.     The State of Nevada is a sovereign state of the United States of America. Nevada

       is represented by Attorney General Aaron Ford who is the chief law enforcement officer of

       Nevada.

              24.     The State of North Carolina is a sovereign state of the United States of America.

       North Carolina is represented by Attorney General Jeff Jackson who is the chief law enforcement

       officer of North Carolina.

              25.     The State of New Mexico is a sovereign state of the United States of America.

       New Mexico is represented by Attorney General Raúl Torrez who is the chief law enforcement

       officer of New Mexico.

              26.     The State of Oregon is a sovereign state of the United States of America. Oregon

       is represented by Attorney General Dan Rayfield who is the chief law enforcement officer of

       Oregon.

              27.     The State of Vermont is a sovereign state of the United States of America.

       Vermont is represented by Attorney General Charity Clark who is the chief law enforcement

       officer of Vermont.

              28.     The State of Washington is a sovereign state in the United States of America.

       Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of



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       Washington is the chief legal adviser to the State and is authorized to act in federal court on

       behalf of the State on matters of public concern.

               29.     The State of Wisconsin is a sovereign state of the United States of America.

       Wisconsin is represented by Attorney General Josh Kaul who is the chief law enforcement officer

       of Wisconsin.

               30.     Plaintiff States each receive billions of dollars annually from the federal

       government, for services that range from funding essential healthcare and free or low-cost school

       meals to low-income children, to providing grants to support law enforcement efforts to combat

       violence against children, elders and other vulnerable groups, to funding the maintenance of

       highways and roads. The OMB Directive jeopardizes all of this funding – funding that Congress

       designated and appropriated for the States.

           B. Defendants

               31.     Defendant Donald J. Trump is the President of the United States. He is responsible

       for the actions and decisions that are being challenged by Plaintiffs in this action and is sued in his

       official capacity.

               32.     Defendant the United States Office of Management and Budget (OMB) is a cabinet

       agency within the executive branch of the United States government. The Office of Management

       and Budget is responsible for oversight of federal agencies’ performance and the administration of

       the federal budget. 31 U.S.C. § 501.

               33.     Defendant Matthew J. Vaeth is the Acting Director of the Office of Management

       and Budget, and that agency’s highest ranking official. He is responsible for overseeing OMB,

       providing direction and leadership to the executive branch on financial management matters by

       establishing financial management policies and requirements, including being responsible for



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       authoring the OMB Directive and ensuring that its directions are implemented by all federal

       agencies that provide relevant funding and support. He is sued in his official capacity. 31 U.S.C.

       §§ 502, 503; “President Trump Announces Acting Cabinet and Cabinet-Level Positions” (Jan. 20,

       2025) (“Acting Designations EO”).

              34.     Defendant the United States Department of the Treasury is a cabinet agency within

       the executive branch of the United States government. 31 U.S.C. § 301. The Department of the

       Treasury is responsible for ensuring the financial security of the United States.

              35.     Scott Bessent is the Secretary of the Department of the Treasury and responsible

       for the operations of the Department of the Treasury, and management the finances of the United

       States. He is sued in his official capacity. 31 U.S.C. § 301.

              36.     Patricia Collins is the Treasurer of the United States and responsible for the

       management of the finances of the United States. She is sued in her official capacity. 31 U.S.C. §

       301.

              37.     Defendant the United States Department of Health and Human Services is a cabinet

       agency within the executive branch of the United States government. 42 U.S.C. §§ 3501, 3501a.

              38.     Defendant Dorothy A. Fink, M.D., is the Acting Secretary of the Department of

       Health and Human Services, and that agency’s highest ranking official. She is charged with the

       supervision and management of all decisions and actions of that agency. She is sued in her official

       the capacity. 42 U.S.C. §§ 3501a, 3502; Acting Designations EO.

              39.     Defendant the United States Department of Education is a cabinet agency within

       the executive branch of the United States government. 20 U.S.C. § 3411.

              40.     Defendant Denise Carter is the Acting Secretary of the United States Department

       of Education, and that agency’s highest ranking official. She is charged with the supervision and



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       management of all decisions and actions of that agency. She is sued in her official capacity. 20

       U.S.C. § 3412; Acting Designations EO.

              41.     Defendant United States Federal Emergency Management Agency is part of the

       United States Department of Homeland Security, a cabinet agency within the executive branch of

       the United States government. 6 U.S.C. § 313.

              42.     Defendant Cameron Hamilton is the Acting Administrator of the United States

       Federal Emergency Management Agency, and that agency’s highest ranking official. He is charged

       with the supervision and management of all decisions and actions of that agency. He is sued in his

       official capacity. 6 U.S.C. §§ 313, 314.

              43.     Defendant United States Department of Transportation is a cabinet agency within

       the executive branch of the United States government. 49 U.S.C. § 102.

              44.     Defendant Judith Kaleta is the Acting Secretary of the United States Department of

       Transportation, and that agency’s highest ranking official. She is charged with the supervision and

       management of all decisions and actions of that agency. She is sued in her official capacity. 49

       U.S.C. § 102; Acting Designations EO.

              45.     Defendant United States Department of Labor is a cabinet agency within the

       executive branch of the United States government. 29 U.S.C. § 551.

              46.     Defendant Vincent Micone is the Acting Secretary of the United States Department

       of Labor, and that agency’s highest ranking official. He is charged with the supervision and

       management of all decisions and actions of that agency. He is sued in his official capacity. 29

       U.S.C. § 551; Acting Designations EO.

              47.     Defendant United States Department of Energy is a cabinet agency within the

       executive branch of the United States government. 42 U.S.C. § 7131.



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              48.      Defendant Ingrid Kolb is the Acting Secretary of the United States Department of

       Energy, and that agency’s highest ranking official. She is charged with the supervision and

       management of all decisions and actions of that agency. She is sued in her official capacity. 42

       U.S.C. § 7131; Acting Designations EO.

              49.      Defendant United States Environmental Protection Agency is an independent

       agency within the executive branch of the United States government.

              50.      Defendant James Payne is the Acting Administrator of the United States

       Environmental Protection Agency, and that agency’s highest ranking official. He is charged with

       the supervision and management of all decisions and actions of that agency. He is sued in his

       official capacity. Acting Designations EO.

              51.      Defendant United States Department of Homeland Security is an independent

       agency within the executive branch of the United States government. 6 U.S.C. § 111.

              52.      Defendant Kristi Noem is the Secretary of the United States Department of

       Homeland Security and that agency’s highest ranking official. She is charged with the supervision

       and management of all decisions and actions of that agency. She is sued in her official capacity. 6

       U.S.C. § 112.

              53.      Defendant United States Department of Justice is an independent agency within the

       executive branch of the United States government. 28 U.S.C. § 501.

              54.      Defendant James R. McHenry III is the Acting Attorney General for the United

       States Department of Justice, and that agency’s highest ranking official. He is charged with the

       supervision and management of all decisions and actions of that agency. He is sued in his official

       capacity. 28 U.S.C. § 503, https://www.whitehouse.gov/presidential-actions/2025/01/designation-

       of-acting-leaders/.



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              55.     Defendant the National Science Foundation is an independent agency within the

       executive branch of the United States government.

              56.     Defendant Dr. Sethuraman Panchanathan is the Director of the National Science

       Foundation, and that agency’s highest ranking official. He is charged with the supervision and

       management of all decisions and actions of that agency. He is sued in his official capacity.

                                               ALLEGATIONS

          A. Background

                 i.   Executive Orders

              57.     On January 20, 2025, and in the days following, President Trump issued a series of

       executive orders announcing widespread policy changes and indicating, in a non-specific and

       unclear manner, that a number of funding commitments to various federal funding recipients would

       be rescinded. The OMB Directive purports to implement these executive orders. None of these

       orders lawfully or reasonably provides authority for the OMB Directive’s disruption of all federal

       financial assistance, nor could they.

              58.     “Putting America First in International Environmental Agreements” (the

       “Environmental EO”), sets out a policy to “put the interests of the United States and the American

       people first in the development and negotiation of any international agreements with the potential

       to damage or stifle the American economy.” Environmental EO § 2.

              59.      To accomplish its stated policy, the Environmental EO directs the United States

       Ambassador to the United Nations to withdraw the United States as a signatory to the Paris

       Agreement under the United Nations Framework Convention on Climate Change. Id. § 3(a). It

       also mandates the revocation or rescission of U.S. financial commitments made under the United

       Nations Framework Convention on Climate Change, which is the governing body responsible for



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       implementing the Paris Agreement. See id. § 3(b)-(c). The order additionally rescinds the U.S.

       International Climate Finance Plan and directs federal agencies “to revoke or rescind policies that

       were implemented to advance the” Plan. Id. § 3(e)-(f). Finally, the Environmental EO mandates

       that the “Secretary of State, Secretary of Commerce, and the head of any department or agency

       that plans or coordinates international energy agreements shall henceforth prioritize economic

       efficiency, the promotion of American prosperity, consumer choice, and fiscal restraint in all

       foreign engagements that concern energy policy.” Id. § 3(g).

              60.     Also on January 20, 2025, the President issued an executive order entitled,

       “Protecting the American People Against Invasion” (the “Invasion EO”). This EO asserts that an

       “unprecedented flood of illegal immigration” over the last four years resulted in the entry of people

       who “present significant threats to national security and public safety,” “are engaged in hostile

       activities, including espionage, economic espionage, and preparations for terror-related activities,”

       or have “abused the generosity of the American people.”

              61.     The Invasion EO further asserts that it is the “the policy of the United States to

       achieve the total and efficient enforcement” of its immigration laws and issues a wide-ranging

       series of instructions to various persons and agencies within the federal government.

              62.     Among those directives contained in the Invasion EO is the following:

                      Sec. 17. Sanctuary Jurisdictions. The Attorney General and the
                      Secretary of Homeland Security shall, to the maximum extent
                      possible under law, evaluate and undertake any lawful actions to
                      ensure that so-called “sanctuary” jurisdictions, which seek to
                      interfere with the lawful exercise of Federal law enforcement
                      operations, do not receive access to Federal funds.

              63.     On January 20, 2025, the President also issued an executive order entitled, “Ending

       Radical and Wasteful Government DEI Programs and Preferencing” (the “DEI EO”). This EO

       asserts that the Biden administration “forced illegal and immoral discrimination programs, going


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       by the name ‘diversity, equity, and inclusion’ (DEI), into virtually all aspects of the Federal

       Government,” and announces the intent to eliminate any such programs. In addition to ordering

       the review and potential revision of “all existing Federal employment practices, union contracts,

       and training policies or programs to comply with this order” the DEI EO mandates the termination

       of various offices, positions, programs and practices within the federal government, including in

       relation to its grants or contracts.

               64.     The EO also requires all agency, department, or commission heads to provide a

       wide range of information and analyses related to DEI, diversity, equity, inclusion, and

       accessibility, or environmental justice efforts, mandating evaluation of “positions, committees,

       programs, services, activities, budgets, and expenditures,” as well as policies, programs and

       practices. The EO also requires agencies to provide the Director of OMB a list of all “Federal

       grantees who received Federal funding to provide or advance DEI, DEIA, or ‘environmental

       justice’ programs, services, or activities since January 20, 2021.”

               65.     On January 20, 2025, the President also issued an executive order entitled

       “Reevaluating and Realigning United States Foreign Aid” (the “Foreign Aid EO”). This EO asserts

       that “[t]he United States foreign aid industry and bureaucracy are not aligned with American

       interests and in many cases antithetical to American values,” and announces that it is “the policy

       of United States that no further United States foreign assistance shall be disbursed in a manner that

       is not fully aligned with the foreign policy of the President of the United States.” The EO orders a

       90-day pause in all U.S. foreign development assistance “for assessment of programmatic

       efficiencies and consistency with United States foreign policy,” further specifying that “ [a]ll

       department and agency heads with responsibility for United States foreign development assistance

       programs shall immediately pause new obligations and disbursements of development assistance



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       funds to foreign countries and implementing non-governmental organizations, international

       organizations, and contractors,” pending review of those programs. The Foreign Aid EO further

       instructs department and agency heads, the Secretary of State and the Director of OMB to

       participate in a review of the programs, to culminate in a decision as to whether each program

       should be continued, modified, or ended.

              66.     On January 20, 2025, the President issued an executive order entitled “Unleashing

       American Energy” (the “Energy EO”), which purports to address “burdensome and ideologically

       motivated regulations” that allegedly “have impeded the development of [energy and natural]

       resources, limited the generation of reliable and affordable electricity, reduced job creation, and

       inflicted high energy costs upon our citizens.” To that end, Section 2 of the Energy EO declares

       several policies, including encouraging energy exploration and production on Federal lands and

       waters, producing and processing non-fuel minerals, ensuring an abundant supply of reliable

       energy, and safeguarding the freedom to choose among appliances.

              67.     The Energy EO also directs agencies to temporarily pause certain types of funding.

       Specifically, Section 7 provides that “[a]ll agencies shall immediately pause the disbursement of

       funds appropriated through the Inflation Reduction Act of 2022 (Public Law 117-169) or the

       Infrastructure Investment and Jobs Act (Public Law 117-58), including but not limited to funds for

       electric vehicle charging stations made available through the National Electric Vehicle

       Infrastructure Formula Program and the Charging and Fueling Infrastructure Discretionary Grant

       Program, and shall review their processes, policies, and programs for issuing grants, loans,

       contracts, or any other financial disbursements of such appropriated funds for consistency with the

       law and the policy outlined in section 2 of this order.” Section 7 further provides that within 90

       days (i.e., before April 20, 2025), all agency heads must submit a report detailing their review and



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       recommendations to “enhance their alignment with the policy set forth in section 2.” According to

       this EO, no funds paused under this section can be disbursed until the Director of OMB and

       Assistant to the President for Economic Policy have determined that such disbursements “are

       consistent with any review recommendations they have chosen to adopt.” Id.

              68.     On January 20, 2025, the President issued an executive order titled “Defending

       Women from Gender Ideology Extremism and Restoring Biological Truth to the Federal

       Government” (the “Gender EO”). This EO purports to redirect federal policy “by using clear and

       accurate language and policies that recognize women are biologically female, and men are

       biologically male.” Gender EO § 1. The EO sets out definitions for, among other things, “male”

       and “female,” and states that these definitions “shall govern all Executive interpretation of and

       application of Federal law and administration policy.” Id. § 2. The term “gender ideology” is

       defined as follows:

                      “Gender ideology” replaces the biological category of sex with an
                      ever-shifting concept of self-assessed gender identity, permitting the
                      false claim that males can identify as and thus become women and
                      vice versa, and requiring all institutions of society to regard this false
                      claim as true. Gender ideology includes the idea that there is a vast
                      spectrum of genders that are disconnected from one’s sex. Gender
                      ideology is internally inconsistent, in that it diminishes sex as an
                      identifiable or useful category but nevertheless maintains that it is
                      possible for a person to be born in the wrong sexed body.
       In addition to mandating that all federal agencies require individuals’ biological sex on government

       documents, the EO directs the separation of biological males from females in prisons and federally

       managed private spaces, begins the process of rescinding regulations that include gender identity

       in community planning and development, and rescinds a slew of federal guidance concerning

       gender identity, including the Attorney General’s interpretation of the Supreme Court’s opinion in

       Bostock v. Clayton County, 590 U.S. 644 (2020).



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               69.     Additionally, the Gender EO requires that (a) agencies “shall take all necessary

       steps, as permitted by law, to end the Federal funding of gender ideology,” (b) agencies “shall

       assess grant conditions and grantee preferences and ensure grant funds do not promote gender

       ideology,” (c) the Attorney General “shall ensure that no Federal funds are expended for any

       medical procedure, treatment, or drug for the purpose of conforming an inmate’s appearance to

       that of the opposite sex,” and (d) the Attorney General “shall issue guidance to ensure the freedom

       to express the binary nature of sex and the right to single-sex spaces in workplaces and federally

       funded entities covered by the Civil Rights Act of 1964.” See Gender EO§§ 3(e) & (g), 4(c), 5.

               70.     On January 24, 2025, the President issued an executive order titled “Enforcing the

       Hyde Amendment” (“Hyde EO”). This EO states that while Congress has annually enacted the

       Hyde Amendment, which prevents the use of Federal funds for abortion care (with narrow

       exceptions), the Biden administration had disregarded this prohibition and instead “embedd[ed]

       forced taxpayer funding of elective abortions in a wide variety of Federal programs.” The EO goes

       on to revoke two executive orders issued under the Biden Administration. The first, Executive

       Order 14076, Protecting Access to Reproductive Healthcare Services (July 8, 2022), directs the

       heads of various agencies and/or the Attorney General to, inter alia, “protect and expand access to

       abortion care,” “consider actions . . . to ensure the safety of patients, providers . . . and to protect

       the security of clinics,” and “provide technical assistance . . . to States seeking to afford legal

       protection to out-of-State patients and providers who offer legal reproductive healthcare.” The

       second, Executive Order 14079, Securing Access to Reproductive and Other Healthcare Services

       (Aug. 3, 2022), directs the Secretary for Health and Human Services to advance access to

       reproductive healthcare “through Medicaid for patients traveling across State lines for medical

       care” and ensure, including through technical support, “understanding of and compliance with



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       Federal non-discrimination laws [including those related to pregnancy] by healthcare providers

       that receive Federal financial assistance.”

                ii.   The OMB Directive

              71.     On the evening of January 27, State Plaintiffs were alerted through social media to

       a Directive sent by Matthew J. Vaeth, Acting Director of the Office of Management and Budget to

       heads of executive departments and agencies. The Directive, titled “Temporary Pause of Agency

       Grant, Loan, and Other Financial Assistance Programs,” references the seven executive orders

       described above. OMB Directive, at 1-2. It further states that all federal agencies “must complete

       a comprehensive analysis of all of their Federal financial assistance programs to identify programs,

       projects, and activities that may be implicated by any of the President’s executive orders.” Id. at 2.

       Moreover, while this analysis is ongoing, “[i]n the interim, to the extent permissible under

       applicable law, Federal agencies must temporarily pause all activities related to obligation or

       disbursement of all Federal financial assistance, and other relevant agency activities that may be

       implicated by the executive orders, including, but not limited to, financial assistance for foreign

       aid, nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” Id. at

       2 (emphasis in original). Pursuant to the OMB Directive, the temporary pause will take effect

       today, January 28, 2025 at 5:00 PM. Id.

              72.     The OMB Directive appears to require the temporary suspension of disbursement

       and obligation of all Federal financial assistance with few exceptions, and not just funds that may

       be related to “foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the

       green new deal.” Id.; see also Jeff Stein, et al., White House Pauses all Federal Grants, Sparking

       Confusion, Washington Post (Jan. 27, 2025, updated Jan. 28, 2025) (“A person familiar with the

       order, speaking on the condition of anonymity to describe confidential decisions, confirmed the



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       accuracy of the document and said it applied to all grants.”). Indeed, the OMB Directive states that

       the pause applies to “all activities related to obligation or disbursement of all Federal financial

       assistance,” seemingly separate from its additional application to “other relevant agency activities

       that may be implicated by the executive orders.” Id. at 2 (emphasis added). And the Directive

       expressly states that its list of “other relevant agency activities” that may be implicated by the

       executive orders is merely illustrative and not exhaustive. Id.

               73.     The OMB Directive relies upon a potentially broad definition of affected Federal

       funds. See id. at 1 n.1 (“For the purposes of this Memorandum, Federal financial assistance

       includes: (i) all forms of assistance listed in paragraphs (1) and (2) of the definition of this term at

       2 CFR 200.1; and (ii) assistance received or administered by recipients or subrecipients of any type

       except for assistance received directly by individuals.” (emphasis added)). Paragraphs one and two

       of 2 C.F.R. 200.1 list the following forms of Federal financial assistance: grants, cooperative

       agreements, non-cash contributions or donations of property, direct appropriations, food

       commodities, other financial assistance, loans, loan guarantees, interest subsidies, and insurance.

       This encompasses all grant programs.

               74.     These broad, but not well-defined, categories of financial assistance that may be

       affected by the OMB Directive will be paused indefinitely. There is no time period by which the

       pause must end. Instead, the OMB Directive states that the pause must continue until agencies

       “submit to OMB detailed information on any programs, projects or activities subject to this

       pause[,]” which must happen by February 10, 2025 and OMB “review[s] and provide[s] guidance

       to your agency with respect to the information submitted.” Id. at 2. The OMB Directive provides

       no time frame whatsoever for OMB to conduct review and provide guidance to federal agencies.




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                 75.    In many instances, State agencies have accepted Federal funds after the Federal

       government set forth terms and conditions, which the State had to accept. The Plaintiff States know

       of no grants that had terms consistent with the prohibitions set forth in the OMB Directive (e.g.,

       prohibiting use of funds to promote “woke gender ideology”). The Plaintiff States are also not

       aware of grants that include notice to the States or have any terms that would authorize the Federal

       government to impose a sudden, across-the-board, indefinite freeze of already allocated funds. The

       OMB Directive has now sown chaos and confusion around whether States can continue to receive

       disbursements of funding already obligated to them and whether any further funding will ever be

       obligated. And this uncertainty surrounds all grant programs, without regard to the specific statutes

       that authorize particular grant programs or what regulations or terms govern their award and use.

       For example, the OMB Directive references categories of funding with no clear reference to

       Federal law, including categories like “woke gender ideology,” terms not appearing in any statute

       governing the grant of Federal financial assistance and the “green new deal,” an apparent reference

       to proposed legislation that was never enacted.

                 76.    Following the transmittal of the OMB Directive to Federal agencies, OMB

       circulated a document labeled “Instructions for Federal Financial Assistance Program Analysis in

       Support of M-25-13.”2 This document contains a chart listing federal funding lines, with columns

       that ask whether the funding line “promote[s] gender ideology,” “provide[s] Federal funding to

       non-governmental organizations supporting or providing services, either directly or indirectly, to

       removable or illegal aliens,” “relate[s] ‘environmental justice’ programs or ‘equity-related’ grants”

       among other inquiries. The chart appears to be a way of assessing whether the funding programs

       are related to any of the Executive Orders referenced in the OMB Directive.



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           A copy of this document is appended to this Complaint as Exhibit B.
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               iii.   Funding Affected

              77.     A full account of all of the federal grant programs that benefit Plaintiff States is

       impossible here. Grants to the States in FY 2024 surpassed $1 trillion. Rebecca Thiess, Kate

       Watkins & Justin Theal, “Record Federal Grants to States Keep Federal Share of State Budgets

       High,” Pew Charitable Trust (Sep. 10, 2024), https://www.pewtrusts.org/en/research-and-

       analysis/articles/2024/09/10/record-federal-grants-to-states-keep-federal-share-of-state-budgets-

       high. However, there are a number of key funding streams that are most essential and where the

       OMB Directive’s impact is most alarming.

              78.     State health systems rely on federal grant programs in order to provide essential

       services to millions of residents—these programs are necessary to keep health systems functioning.

       State Departments of Health alone receive billions in grant funding. Department of Health and

       Human Services grants support hospital facilities, community health centers, lab testing, addiction

       treatment centers, services for people living with disabilities, and facilities for aging people. In

       New York, the Department of Health alone has nearly $40 billion in Federal funding obligated for

       FY 2025. Hundreds of millions of dollars from these funds support the facilities that provide

       community healthcare, including in rural and other under-resourced areas.

              79.     States likewise rely on federal funds to maintain vital programs for their residents,

       including Medicaid, the single largest federal funding stream to the States—over $600 billion in

       funding in Fiscal Year 2023 designated for reimbursing the States’ cost of providing healthcare to

       their poorest residents. That year, for instance, Illinois received over $21 billion from the federal

       government in Medicaid reimbursements, or over 60% of the amount that it spent on critical health

       services for its eligible residents. Congress has specifically directed the Executive Branch to give




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       the States these funds, but as of this filing, Illinois and other States are prohibited from accessing

       the funds that Congress has allotted them.

              80.     States rely on Federal FEMA funds for disaster relief and management. In the last

       year alone, California has faced devasting fires. President Biden issued a Presidential declaration

       of a major disaster for the State of California on January 8, 2025, FEMA-4865-DR. The declaration

       authorized FEMA and its Administrator, Curtis Brown, to provide assistance to State and local

       governments as well as individuals pursuant to the Stafford Act and its implementing regulations.

       The financial impacts of the fires are staggering. Recent estimates place the total economic losses

       at upwards of $150 billion. The OMB Directive pushes pause on any FEMA grant money not yet

       disbursed, including key support for California as it responds to the fires.

              81.     Similarly, in September 2024, Hurricane Helene inflicted catastrophic damage to

       public and private property across western North Carolina. The most recent estimates indicate the

       total cost of the damage is approximately $60 billion. The federal government has already pledged

       financial support to North Carolina to assist with Helene recovery. On September 26, 2024,

       President Biden issued an emergency declaration, FEMA-3617-EM, for the State of North

       Carolina. That declaration provided, in part, for Public Assistance-Category B, including direct

       federal assistance to the State. Two days later, the President approved an Expedited Major Disaster

       Declaration, FEMA-4827-DR, to ensure North Carolina receives federal disaster relief funds

       expeditiously. And last week, President Trump issued an executive order directing the Secretary

       of Homeland Security, acting through the Administrator of FEMA, and the Administrator of the

       Small Business Administration to “immediately take all necessary and appropriate measures,

       including through direct assistance, loans, and other available means, to expedite roadway

       clearance or rebuilding, including the section of Interstate 40 in North Carolina that remains



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       closed, and the repair or rebuilding of roads and bridges on private property in areas of North

       Carolina affected by Hurricane Helene.” Executive Order, Emergency Measures To Provide Water

       Resources in California and Improve Disaster Response in Certain Areas (Jan. 24, 2025). North

       Carolina needs this federal assistance to rebuild and revitalize the western region; it cannot cover

       the cost of Helene’s damage alone. Yet the OMB Directive purports to freeze the federal funding

       that should be disbursed pursuant to these federal actions. The purported freeze will substantially

       disrupt recovery efforts in western North Carolina, delaying repairs to homes, businesses, roads,

       bridges, and other critical infrastructure.

               82.     Federal infrastructure funding often provides emergency augmentation of state

       budgeted and planned funds when disaster strikes. To take one current example, Rhode Island

       experienced the unexpected failure of a bridge span carrying a major interstate highway, the

       Washington Bridge, that has a daily traffic volume of 90,000 vehicles and has been closed since

       December 2023. Rhode Island’s Congressional Delegation wrote to Acting Director Vaeth on

       January 27, 2025, inquiring after the $220 million in competitive grant funding allocated for the

       bridge and the balance of the $600 million in competitive grant funding for other critical

       infrastructure, including bridges along I-95, currently awarded to Rhode Island. As of filing, there

       has been no response to clarify that this money would not be impacted.

               83.     In FY 2024, the Federal Edward Byrne JAG grant program gave over $180 million

       in funding to the states to fund essential law enforcement and criminal justice programs, including

       programs that prevent and prosecute hate crimes, address the opioid crisis, and support mental

       health treatment services. Other grant programs administered by the U.S. Department of Justice

       fund initiatives to combat violence against women and internet crimes against children, support

       community policing, and provide services to victims of crimes. The High Intensity Drug



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       Trafficking Areas (HIDTA) program provides assistance to Federal, state, local, and Tribal law

       enforcement agencies operating in areas determined to be critical drug-trafficking regions of the

       United States. An email from Shannon Kelly, the Director of the National HIDTA program, on

       January 28, 2025, indicates that National HIDTA Assistance Center payments to state-based

       HIDTA programs have been paused at OMB’s direction. Pausing these grants imperils state, local,

       and Tribal funding for critical public safety initiatives.

               84.     State education systems also receive tremendous amounts of federal funding. In

       New York, the Department of Education has $2.1 billion obligated for FY 2025. Included in that

       funding are formula grants that local education agencies receive to improve teaching and learning

       in high-poverty schools in particular for children failing, or most at-risk of failing, to meet

       challenging State academic standards. Because this is a formula grant, the allocation is supposed

       to be automatic based on a statutory formula. These grants have served millions of children

       nationwide.

               85.     State institutions of higher education also receive billions of dollars in grants, not

       including direct student aid, that fund essential research in every conceivable area of study.

               86.     Plaintiff States also receive millions of dollars in grants through the Title IV-E

       Foster Care program to provide safe and stable out-of-home care for children in their care until

       plans can be made for permanency.

               87.     For the most recent fiscal year—FY2024, running from July 1, 2023 to June 30,

       2024—Washington received over $27 billion in federal funding. This comprised approximately

       32% of Washington’s total budget for FY2024.

               88.     Approximately $13 billion of this funding comprised of Medicaid reimbursements,

       which is excluded from the definition of “federal financial assistance” under 2 CFR 200.1. The



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       memo purportedly does not apply to Medicaid reimbursements. However, Washington State is

       presently unable to draw funds for Medicaid reimbursements. Even just yesterday—before the

       OMB Directive was set to take effect—the Washington State Health Care Authority attempted to

       request approximately $160 million from the Department of Health and Human Services, which

       was denied.

              89.      The remaining $14 billion-plus largely comprised the sort of “federal financial

       assistance” that are likely threatened by the OMB Directive.

              90.      To give just a few examples, this includes such critically important programs as:

                    a. Highway planning and construction funds, which amounted to over $952 million
                       in FY2024 state expenditures. These funds include the Highway Infrastructure
                       Program, which provides federal funds for road, bridge, ferry, transit capital, and
                       Intelligent Transportation System capital projects for the elimination of hazards and
                       the installation of protective devices at railway-highway crossing;

                    b. Child Care and Development Block Grants, which amounted to over $393 million
                       in FY2024 state expenditures. This is the primary federal grant program that allows
                       states to provide childcare assistance to low-income working families with children
                       under age 13;

                    c. National School Lunch Program, which amounted to over $361 million in FY2024
                       state expenditures. This program provides nutritious meals to children. Public
                       school districts, private schools, residential child care institutions, and Charter
                       Schools may participate in school meal programs;

                    d. Title I education grants, which amounted to over $310 million in FY2024 state
                       expenditures. Title I funds instructional help to children whose academic
                       performance is below average, based on a formula that targets funding to schools
                       and districts with higher percentages of students in poverty;

                    e. Special Education grants, which amounted to over $275 million in FY2024 state
                       expenditures. This program serves to meet the excess costs of providing special
                       education and related services to children with disabilities, including support and
                       direct services, technical assistance and personnel preparation, assisting schools in
                       providing positive behavioral interventions and supports, and improving the use of
                       technology in the classroom;

                    f. Child support enforcement, which amounted to over $134 million in FY2024 state
                       expenditures;


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                      g. Allergy and infectious disease research, which amounted to over $121 million in
                         FY2024 state expenditures;

                      h. Low-income home energy assistance, which amounted to over $96 million in
                         FY2024 state expenditures. This program helps keep families safe and healthy
                         through initiatives that assist families with energy costs. LIHEAP provides
                         federally funded assistance to reduce the costs associated with home energy bills,
                         energy crises, weatherization, and minor energy-related home repairs;

                      i. Substance abuse treatment block grants, which amounted to over $65 million in
                         FY2024 state expenditures. This grant helps plan, carry out, and evaluate activities
                         for the prevention, treatment, and recovery of substance abuse for individuals not
                         covered by Medicaid;

                      j. Veterans nursing care funding, which amounted to over $59 million in FY2024 state
                         expenditures; and

                      k. Hundreds or thousands of other programs, covering everything from immunizations
                         to clean water to adoption assistance to transit to childcare to global AIDS
                         prevention to National Guard operations to crime victim assistance to immigration
                         and refugee assistance to wildlife restoration, and on and on.

                91.      If these and similar federal funds are suddenly withheld, even temporarily,

       Washington simply does not have funds to cover all of these necessary programs that are currently

       funded through federal dollars. And it most certainly does not have the funds to backfill federal

       dollars while continuing to pay for the many state-funded programs on which its residents rely.

       Thus, pausing or terminating federal funds would necessarily entail cuts—likely drastic cuts—to

       key services provided by state agencies on which Washington residents depend.

                92.      This threat to federal funding comes at a precarious time for Washington. Due to

       factors like inflation, higher projected caseloads in several safety net programs, and revenue

       declines, Washington is facing a forecasted budget deficit of over $12 billion over the next four

       years.

                93.      Washington’s Legislature is currently in session trying to address this budget

       shortfall and pass a budget for the FY2025-2027 biennium. Many Washington state agencies are

       facing budget cuts of between three and six percent to account for the lack of funding.

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              94.     OMB’s direction to withhold additional billions of dollars in federal funding, even

       temporarily, would interfere with critical state programs, drastically worsen Washington’s budget

       shortfall, and make it nearly impossible for state agencies and Washington’s Legislature to

       intelligently prioritize budgeting needs.

              95.     Because the OMB Directive provided effectively no notice to the States, it

       compounded these injuries. The States were unable to prepare for or mitigate the pause in federal

       funding, meaning that the OMB Directive will cause chaos and confusion. Given the less than 24

       hours notice, the States were unable to set aside funding for the anticipated shortfall in response to

       the OMB Directive, work with their legislatures to appropriate funds, or take other similar

       measures to lessen the blow.

              96.     Moreover, by purporting to terminate federal funds on 24 hours’ notice, the OMB

       Directive effectively renders illusory (1) its direction that funding be halted only “to the extent

       permissible by law” and (2) its statement that “OMB may grant exceptions allowing federal

       agencies to issue new awards or take other actions on a case-by-case basis.” The OMB Directive

       provides no time for federal agencies either to make supported requests for case-by-case

       exceptions to the Directive’s directives or to assess adequately whether halting particular grants

       would or would not be permissible under law. Even with more time, it is unclear whether it would

       be possible to assess whether the law permits any funding to be halted in response the President’s

       Executive Orders where the Executive Orders themselves may be contrary to law.

              97.     State agencies administer numerous federal grants and direct grant programs of

       their own—some of which pass through federal funding. State agencies in Plaintiff States do not

       know when or if disbursements and obligations may resume, complicating the important work they

       do to ensure that state residents have access to healthcare services, education support, appropriate



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       law enforcement, reliable infrastructure, among many other missions. They are also now unable to

       evaluate whether they need to take action under their own sub-agreements or contracts to mitigate

       any downstream effects of the pause.

                                               CAUSES OF ACTION

                                                      COUNT I

       (Substantive Violation of the Administrative Procedure Act – Contrary to Law, Ultra Vires)

               98.     Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.

               99.     Neither the President nor an agency can take any action that exceeds the scope of

       their constitutional and/or statutory authority.

               100.    No authority—constitutional or otherwise—authorizes the President or the Director

       of OMB to order federal agencies not to enforce duly promulgated regulations, to refrain from

       fulfilling their statutory duties, or to violate federal law.

               101.    Defendants also include “agenc[ies]” under the Administrative Procedure Act

       (“APA”), 5 U.S.C. § 551(1), and the OMB Directive is agency action subject to the APA.

               102.    Under the APA, a court must “hold unlawful and set aside agency action, findings,

       and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

       “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

       §§ 706(2)(B) – (C).

               103.    Defendants may only exercise authority conferred by statute.

               104.    Congress enacted the APA “as a check upon administrators whose zeal might

       otherwise have carried them to excesses not contemplated in legislation creating their offices.”

       Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 391 (2024) (quoting U.S. v. Morton Salt, 338



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       U.S. 632, 644 (1950)). And in Loper Bright, the Supreme Court in 2024 clarified that historical

       principles of “respect” did not equate to deference—rather, “Section 706 makes clear that agency

       interpretations of statutes—like agency interpretations of the Constitution—are not entitled to

       deference.” Id. at 392 (emphasis in original). Rather, it “remains the responsibility of the court to

       decide whether the law means what the agency says.” Id. (quoting Perez v. Mortgage Bankers

       Ass’n, 575 U.S. 92, 109) (2015) (Scalia, J., concurring in judgment)).

              105.    Defendants have no authority to impose a government-wide pause on federal

       awards without regard to the individual authorizing statutes, regulations, and terms that govern

       each funding stream. This breathtaking freeze of all federal assistance is unauthorized,

       unprecedented, and not entitled to respect or deference by this Court.

              106.    Defendants also cannot refuse to disburse funds appropriated by Congress contrary

       to congressional intent and directive.

              107.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

       declaration that the Defendants lack legal authority to impose the conditions and has, in so doing,

       acted contrary to law and in violation of the APA.

              108.    Plaintiffs are also entitled vacatur of the OMB Directive pursuant to 5 U.S.C. § 706,

       all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent injunction

       preventing Defendants from enforcing the OMB Directive.

                                               COUNT II
         (Substantive Violation of the Administrative Procedure Act – Arbitrary & Capricious –
                                       Against Agency Defendants)

              109.    Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.




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              110.     Defendants include “agenc[ies]” under the APA, 5 U.S.C. § 551(1), and the OMB

       Directive is agency action subject to review under the APA.

              111.     The APA requires that a court “hold unlawful and set aside agency action, findings,

       and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

       accordance with law.” 5 U.S.C. § 706(2)(A).

              112.     An agency action is arbitrary or capricious where it is not “reasonable and

       reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). This requires

       that an agency provide “a satisfactory explanation for its action[,] including a rational connection

       between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State

       Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks omitted). An action is

       also arbitrary and capricious if the agency “failed to consider . . . important aspects of the problem”

       before it. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 25 (2020)

       (quoting Motor Vehicle Mfrs., 463 U.S. at 43).

              113.     Because the OMB Directive provides no reasoned basis for pausing the

       disbursement and obligation of trillions of federal dollars and fails to consider the consequences

       of that action, it is arbitrary and capricious. Even if the OMB Directive is targeted at

       implementation of certain Executive Orders, that justification cannot support the breadth of its

       effect. Further, the OMB Directive contains no reasoning as to the impact and chaos it has caused,

       including as to the Plaintiff States and their residents, who rely on federal funding for key programs

       and services.

              114.     The OMB Directive further provides no reasoned basis for refusing to disburse

       funds appropriated by Congress contrary to congressional intent and directive, and thus is arbitrary

       and capricious.



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               115.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

       declaration that the OMB Directive violates the APA because it is arbitrary and capricious.

               116.    Plaintiffs are also entitled to vacatur of the OMB Directive pursuant to 5 U.S.C. §

       706, all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent

       injunction preventing Defendants from enforcing the OMB Directive.

                                                   COUNT III

                (Violation of the Separation of Powers—Usurping the Legislative Function)

               117.    Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.

               118.    Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

       legislative Powers herein granted shall be vested in a Congress of the United States, which shall

       consist of a Senate and a House of Representatives.” U.S. Const. Art. I, Sec. 1. “The Framers

       viewed the legislative power as a special threat to individual liberty, so they divided that power to

       ensure that ‘differences of opinion’ and the ‘jarrings of parties’ would ‘promote deliberation and

       circumspection’ and ‘check excesses in the majority.’” Seila Law LLC v. Consumer Fin. Prot.

       Bureau, 591 U.S. 197, 223 (2020) (quoting The Federalist No. 70, at 475 (A. Hamilton) and citing

       id., No. 51, at 350).

               119.    “As Chief Justice Marshall put it, this means that ‘important subjects . . . must be

       entirely regulated by the legislature itself,’ even if Congress may leave the Executive ‘to act under

       such general provisions to fill up the details.’” West Virginia v. EPA, 597 U.S. 697, 737 (2022)

       (Gorsuch, J., concurring) (quoting Wayman v. Southard, 10 Wheat. 1, 42-43, 6 L.Ed. 253 (1825)).

               120.    The separation of powers doctrine thus represents perhaps the central tenet of our

       constitution, see, e.g., Trump v. United States, 603 U.S. 593, 637-38 (2024); West Virginia v. EPA,



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       597 U.S. at 723-24, Seila Law LLC, 591 U.S. at 227, and consistent with these principles, the

       executive acts at the lowest ebb of his constitutional authority and power when he acts contrary to

       the express or implied will of Congress. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

       637 (1952) (Jackson, J., concurring).

               121.    The OMB Directive violates the separation of powers because the executive branch

       has overridden the careful judgements of Congress by refusing to disburse funding for innumerable

       federal grant programs—some of which are even formula grants dictated by precise statutory

       formulas. Pausing funding under the affected programs and permanent refusal to disburse funds

       appropriated by Congress contrary to congressional intent and directive both violate the separation

       of powers.

               122.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

       Directive violates the constitutional principles of separation of powers doctrine, and impermissibly

       arrogates to the executive power that is reserved to Congress.

               123.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

       the Agency Defendants from enforcing the OMB Directive.

                                                     COUNT IV

                                          (Violation of the Spending Clause)

               124.    Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.

               125.    The Spending Clause of the U.S. Constitution provides that “Congress”—not the

       Executive—“shall have Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the

       Debts and provide for the common Defence and general Welfare of the United States . . . .” U.S.

       Const. Art. I, Sec. 8, clause 1.



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              126.    If funding conditions reach a certain level of coercion, they encroach on state

       sovereignty as guaranteed by the Tenth Amendment by “commandeering . . . reserved State

       power.” State of New York v. U.S. Dep’t of Justice, 951 F.3d 84, 114 (2d Cir. 2020). States must

       also have fair notice of conditions. “Congress’ power to legislate under the spending power is

       broad,” but conditions on funding must be “unambiguous[]” and they cannot “surprise[]

       participating States with post acceptance or ‘retroactive’ conditions.” Pennhurst State Sch. &

       Hosp. v. Halderman, 451 U.S. 1, 17, 25 (1981). Once a State has accepted funds pursuant to a

       federal spending program, the Federal government cannot alter the conditions attached to those

       funds so significantly as to “accomplish[ ] a shift in kind, not merely degree.” Nat’l Fed’n of Indep.

       Bus. v. Sebelius, 567 U.S. 519, 583-84 (2012). Conditions must be “reasonably related to the

       purpose of the expenditure.” New York v. United States, 505 U.S. 144, 172 (1992) (citing Mass. v.

       United States, 435 U.S. 444 (1978)).

              127.    Because the OMB Directive imposes new conditions on federal funding, altering

       the terms upon which grants were obligated and disbursed contrary to Congressional authority, the

       OMB Directive imposes funding conditions that are coercive, retroactive, ambiguous, and

       unrelated to the purpose of myriad grants affected.

              128.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

       Directive violates the Spending Clause.

              129.    Plaintiffs are also entitled to a preliminary and permanent injunction barring the

       Agency Defendants from enforcing the OMB Directive.

                                                    COUNT V

                  (Violation of the Presentment, Appropriations, and Take Care Clauses)




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              130.    Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.

              131.    The Presentment Clause provides that “[e]very Bill which shall have passed the

       House of Representatives and the Senate, shall, before it become a Law, be presented to the

       President of the United States.” U.S. Const. Art. I, Sec. 7, Clause 2; INS v. Chadha, 462 U.S. 919,

       946 (1983). “Our Constitution gives Congress control over the public fisc.” Consumer Fin. Prot.

       Bureau v. Cmty. Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416, 420 (2024); see also id. at 431 (“By

       the time of the Constitutional Convention, the principle of legislative supremacy over fiscal

       matters engendered little debate and created no disagreement. It was uncontroversial that the

       powers to raise and disburse public money would reside in the Legislative Branch.”). The

       Appropriations Clause provides that “[n]o Money shall be drawn from the Treasury, but in

       Consequence of Appropriations made by Law.” U.S. Const. Art. I, Sec. 7. The Appropriations

       Clause is a “straightforward and explicit command” that “no money can be paid out of the Treasury

       unless it has been appropriated by an act of Congress.” Office of Pers. Mgmt. v. Richmond, 496

       U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S. 308, 321 (1937)).

       The Take Care Clause provides that the executive must “take Care that the Laws be faithfully

       executed. . . .” U.S. Const. Art. II, Sec. 3, Clause 3.

              132.    No provision of the United States Constitution authorizes the executive to enact,

       amend, or repeal statutes, including appropriations approved by Congress and signed into law by

       the President. Clinton v. City of New York, 524 U.S. 417, 438 (1998).

              133.    The executive cannot unilaterally amend or cancel appropriations that Congress has

       duly enacted. See Train v. City of New York, 420 U.S. 35, 38, 44 (1975); In re Aiken Cnty., 725

       F.3d 255, 261 n.1 (D.C. Cir. 2013); 2 U.S.C. § 683 (requiring the President to transmit proposed



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       rescissions of budget authority to Congress for approval and requiring “any amount of budget

       authority proposed to be rescinded” to be made available for obligation unless and until Congress

       approves the rescission within 45 days).

                  134.   The OMB Directive constitutes a refusal to spend money appropriated by Congress,

       in violation of the executive’s constitutional authority to administer the law.

                  135.   Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

       Directive violates the Presentment, Appropriations, and Take care Clauses of the U.S. Constitution.

                  136.   Plaintiffs are further entitled to a preliminary and permanent injunction preventing

       the Agency Defendants from enforcing the OMB Directive.


                                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

              i.     Issue a judicial declaration that the OMB Directive is unconstitutional and/or

                     unlawful because it violates the APA and the Constitution;

            ii.      Vacate the OMB Directive and issue all necessary and appropriate process to

                     postpone the effective date of the OMB Directive or to preserve status or rights

                     pending conclusion of the review proceedings under 5 U.S.C. § 705;

            iii.     Temporarily restrain and enjoin the Agency Defendants from implementing or

                     enforcing the OMB Directive, pending further orders from this Court;

            iv.      Pursuant to Federal Rule of Civil Procedure 65(b)(2), set an expedited hearing within

                     fourteen (14) days to determine whether the Temporary Restraining Order should be

                     extended;

             v.      Pursuant to 5 U.S.C. § 705, postpone the effective date of the OMB Directive, so as

                     to preserve the status and rights of the Plaintiff States;

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           vi.    Pursuant to 5 U.S.C. § 706, vacate the OMB Directive;

          vii.    Preliminarily and permanently enjoin the Agency Defendants from enforcing the

                  OMB Directive;

          viii.   Issue a writ of mandamus compelling Defendants to immediately cease implementing

                  the OMB Directive without further delay;

           ix.    Award the Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

                  fees, pursuant to 28 U.S.C. § 2412; and

            x.    Grant other such relief as this Court may deem proper.




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                     Exhibit A




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                                  EXECUTIVE OFFICE OF THE PRESIDENT
                                       OFFICE OF MANAGEMENT AND BUDGET
                                                   WASHINGTON, D.C. 20503


     THE DIRECTOR
                                                       January 27, 2025

      M-25-13

      MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

      FROM:             Matthew J. Vaeth, Acting Director, Office of Management and Budget

      SUBJECT:          Temporary Pause of Agency Grant, Loan, and Other Financial Assistance
                        Programs


              The American people elected Donald J. Trump to be President of the United States and
      gave him a mandate to increase the impact of every federal taxpayer dollar. In Fiscal Year 2024,
      of the nearly $10 trillion that the Federal Government spent, more than $3 trillion was Federal
      financial assistance, such as grants and loans. Career and political appointees in the Executive
      Branch have a duty to align Federal spending and action with the will of the American people as
      expressed through Presidential priorities. Financial assistance should be dedicated to advancing
      Administration priorities, focusing taxpayer dollars to advance a stronger and safer America,
      eliminating the financial burden of inflation for citizens, unleashing American energy and
      manufacturing, ending “wokeness” and the weaponization of government, promoting efficiency
      in government, and Making America Healthy Again. The use of Federal resources to advance
      Marxist equity, transgenderism, and green new deal social engineering policies is a waste of
      taxpayer dollars that does not improve the day-to-day lives of those we serve.

              This memorandum requires Federal agencies to identify and review all Federal financial
      assistance1 programs and supporting activities consistent with the President’s policies and
      requirements.2 For example, during the initial days of his Administration, President Donald J.
      Trump issued a series of executive orders to protect the American people and safeguard valuable
      taxpayer resources, including Protecting the American People Against Invasion (Jan. 20, 2025),
      Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025), Putting America First in
      International Environmental Agreements (Jan. 20, 2025), Unleashing American Energy (Jan. 20,
      2025), Ending Radical and Wasteful Government DEI Programs and Preferencing (Jan. 20,

      1
        2 CFR 200.1 defines Federal financial assistance to mean “[a]ssistance that recipients or subrecipients receive or
      administer” in various forms, but this term does not include assistance provided directly to individuals. For the
      purposes of this memorandum, Federal financial assistance includes: (i) all forms of assistance listed in paragraphs
      (1) and (2) of the definition of this term at 2 CFR 200.1; and (ii) assistance received or administered by recipients or
      subrecipients of any type except for assistance received directly by individuals.
      2
        Nothing in this memo should be construed to impact Medicare or Social Security benefits.




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      2025), Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
      the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment (Jan. 24, 2025).
      These executive orders ensure that Federal funds are used to support hardworking American
      families.

              To implement these orders, each agency must complete a comprehensive analysis of all
      of their Federal financial assistance programs to identify programs, projects, and activities that
      may be implicated by any of the President’s executive orders. In the interim, to the extent
      permissible under applicable law, Federal agencies must temporarily pause all activities related
      to obligation or disbursement of all Federal financial assistance, and other relevant agency
      activities that may be implicated by the executive orders, including, but not limited to, financial
      assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the
      green new deal.

              This temporary pause will provide the Administration time to review agency programs
      and determine the best uses of the funding for those programs consistent with the law and the
      President’s priorities. The temporary pause will become effective on January 28, 2025, at 5:00
      PM. Even before completing their comprehensive analysis, Federal agencies must immediately
      identify any legally mandated actions or deadlines for assistance programs arising while the
      pause remains in effect. Federal agencies must report this information to OMB along with an
      analysis of the requirement. OMB also directs Federal agencies to pause all activities associated
      with open NOFOs, such as conducting merit review panels.

             No later than February 10, 2025, agencies shall submit to OMB detailed information on
      any programs, projects or activities subject to this pause. Each agency must pause: (i) issuance of
      new awards; (ii) disbursement of Federal funds under all open awards; and (iii) other relevant
      agency actions that may be implicated by the executive orders, to the extent permissible by law,
      until OMB has reviewed and provided guidance to your agency with respect to the information
      submitted.

              OMB may grant exceptions allowing Federal agencies to issue new awards or take other
      actions on a case-by-case basis. To the extent required by law, Federal agencies may continue
      taking certain administrative actions, such as closeout of Federal awards (2 CFR 200.344), or
      recording obligations expressly required by law.

              Additionally, agencies must, for each Federal financial assistance program: (i) assign
      responsibility and oversight to a senior political appointee to ensure Federal financial assistance
      conforms to Administration priorities; (ii) review currently pending Federal financial assistance
      announcements to ensure Administration priorities are addressed, and, subject to program
      statutory authority, modify unpublished Federal financial assistance announcements, withdraw
      any announcements already published, and, to the extent permissible by law, cancel awards
      already awarded that are in conflict with Administration priorities, and; (iii) ensure adequate
      oversight of Federal financial assistance programs and initiate investigations when warranted to
      identify underperforming recipients, and address identified issues up to and including
      cancellation of awards.



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                    Exhibit B




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        Instructions for Federal Financial Assistance Program Analysis in Support of M-25-13


      All Federal agencies that provide Federal financial assistance are required by February 7, 2025
      to complete the attached spreadsheet and submit it to OMB. The information requested must be
      provided for any program that has funding or activities planned through March 15. Agencies are
      encouraged to complete this task for all their programs as soon as possible. OMB will be
      following up with additional deadlines for subsequent periods.

      Using the spreadsheet provided, locate or filter the spreadsheet to isolate the agency’s list of
      Federal programs (by Assistance Listing number) and complete the requested information for
      each program (represented in columns C-G). Agencies should add additional lines to the
      spreadsheet to include any programs not listed in the spreadsheet.

      Column B:          Sub-Agency or component.
      Column C-G:        These columns contain pre-populated information on each Assistance Listing
                         program.
      Column H:          Identify the email of the senior political appointee responsible for overseeing
                         this program.
      Column I:          Indicate if the program has any pending funding announcements.
      Column J:          Indicate if this program has any anticipated obligations or disbursement of
                         funds through 3/15/2025.
      Column K:          Indicate if this program has any statutory requirements mandating the
                         obligation or disbursement of funds through 3/15/2025.
      Column L:          Provide the estimated date of the next obligation or disbursement of funds.
      Column M-T:        Provide responses to each of the questions (Yes/No).
      Column U:          Provide any additional relevant information on program or project activities.

      Submit the spreadsheet no later than February 7, 2025 to: FFAPlans@omb.eop.gov.

      OMB will review each agency submission and will communicate additional information to each
      Federal agency through the agency Senior Financial Assistance Official and the Points of
      Contact provided.




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                                                                                                                                                                                                                                                                                                                                                                                                                                           Does this program provide
                                                                                                                                                                                                                                                                                                                                                                                                                                           funding that is implicated by
                                                                                                                                                                                                                                                                                                                                                                                                                                           the directive to end
                                                                                                                                                                                                                                                                                                                                                                                                                                           discriminatory programs,
                                                                                                                                                                                                                                                                                                                                                                                                                                           including illegal DEI and
                                                                                                                                                                                                                                                                                                                                                                                                                                           “diversity, equity, inclusion,                                                          If not covered in the
                                                                                                                                                                                                                                                                                                                                                                                                              Does this program include    and accessibility” (DEIA)                                                               preceding columns, does
                                                                                                                                                                                                                                                                                                                                                                                                              activities that impose an    mandates, policies,                                                                     this program support any
                                                                                                                                                                                                                                                                                                                                                                                                              undue burden on the          programs, preferences, and                                                              activities that must not be
                                                                                                                                                                                                                                                                                                                      Does this program provide                                                               identification, development, activities, under whatever                                                              supported based on
                                                                                                                                                                                                                                                                                                                      Federal funding to non-                                                                 or use of domestic energy    name they appear, or other                                                              executive orders issued on
                                                                                                                                                                                                                                                                  Does this program have any    Provide the estimated governmental organizations                                Does this program provide resources (including             directives in the same EO,                               Does this program promote      or after January 20, 2025
                                                                                                                                                                      USA Please identify the email of                               Does the program have any    statutory requirements        date of the next      supporting or providing      Is this program a foreign    funding that is implicated by through funding under the    including those related to                               or support in any way          (including executive orders
                                                                                                                                                                      Spen the senior political          Does the program have any   anticipated obligations or   mandating the obligation or   obligation or         services, either directly or assistance program, or       the revocation and recission Inflation Reducing Act of     “environmental justice”                                  abortion or other related      released following the        Provide additional
                                                                                                                                                              SAM ding appointee responsible for         pending funding             disbursement of funds        disbursement of funds         disbursement of       indirectly, to removable or  provide funding or support   of the U.S. International     2022; and the Infrastructure programs or “equity-related” Does this program promote   activities identified in the   dissemination of this         information on program or
       FEDERAL AGENCY                                                       SUB-AGENCY   ASSISTANCE LISTING
                                                                                                       TITLENUMBER               OBJECTIVE                    Link Link       overseeing this program    announcements?              before 3/15/2025?            through 3/15/2025?            funds                 illegal aliens?              activities overseas?         Climate Finance Plan?         Investment and Jobs Act)? grants?                           gender ideology?          Hyde Amendment?                spreadsheet)?                 project activities
       Agency for International Development                                              98.001        USAID Foreign             The Foreign Assistance       https:/ https:/
                                                                                                       Assistance for            Program works to             /       /
                                                                                                       Programs Overseas         support long-term and        sam.g www.
       Agency for International Development                                              98.002         Cooperative              equitable
                                                                                                                                 Deliver theeconomic
                                                                                                                                             quality and              usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Development Program      magnitude of support         /       /
                                                                                                        (CDP)                    necessary for CDOs to        sam.g www.
                                                                                                                                 attract the financial,       ov/fal/ usasp
       Agency for International Development                                              98.003         Ocean Freight            Reimburses registered        https:/ https:/
                                                                                                        Reimbursement            U.S. private voluntary       /       /
                                                                                                        Program (OFR)            organizations (PVOs) to      sam.g www.
       Agency for International Development                                              98.004         Non-Governmental         ship commodities
                                                                                                                                 The NGO                      ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Organization             Strengthening program        /       /
                                                                                                        Strengthening (NGO)      aims to help local           sam.g www.
                                                                                                                                 indigenous non-              ov/fal/ usasp
       Agency for International Development                                              98.005         Institutional Capacity   To strengthen the            https:/ https:/
                                                                                                        Building (ICB)           capacity of new and          /       /
                                                                                                                                 experienced Food for         sam.g www.
       Agency for International Development                                              98.006         Foreign Assistance to    Peace
                                                                                                                                 The purpose     Partners,
                                                                                                                                        Title II of the       ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        American Schools and     American Schools and         /       /
                                                                                                        Hospitals Abroad         Hospitals Abroad             sam.g www.
       Agency for International Development                                              98.007         (ASHA)
                                                                                                        Food for Peace           (ASHA)
                                                                                                                                 To      program
                                                                                                                                    improve       is to
                                                                                                                                            access,                   usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Development              availability and             /       /
                                                                                                        Assistance Program       utilization of food in       sam.g www.
                                                                                                        (DAP)                    food insecure                ov/fal/ usasp
       Agency for International Development                                              98.008         Food for Peace           To improve access,           https:/ https:/
                                                                                                        Emergency Program        availability and             /       /
                                                                                                        (EP)                     utilization of food in       sam.g www.
       Agency for International Development                                              98.009         John Ogonowski           food  insecure
                                                                                                                                 Improve   global food        ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Farmer-to-Farmer         production and               /       /
                                                                                                        Program                  marketing by                 sam.g www.
       Agency for International Development                                              98.010         Denton Program           transferring
                                                                                                                                 To           technical
                                                                                                                                    put the empty  space              usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                                                 on U.S. Military             /       /
                                                                                                                                 transport to good use        sam.g www.
       Agency for International Development                                              98.011         Global Development       by
                                                                                                                                 Theproviding
                                                                                                                                      Global                  ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Alliance                 Development Alliance         /       /
                                                                                                                                 (GDA) business model         sam.g www.
       Agency for International Development                                              98.012         USAID Development        provides
                                                                                                                                 The      a framework
                                                                                                                                     purpose   of the                 usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Partnerships for         program is to support        /       /
                                                                                                        University Cooperation   and advance the              sam.g www.
                                                                                                        and Development          achievement of               ov/fal/ usasp
       Appalachian Regional Commission                                                   23.001         Appalachian Regional     To help the regional         https:/ https:/
                                                                                                        Development (See         economy become more          /       /
                                                                                                        individual Appalachian   competitive by putting in    sam.g www.
       Appalachian Regional Commission                                                   23.002         Programs)
                                                                                                        Appalachian Area         place the
                                                                                                                                 To help   building
                                                                                                                                         the regional         ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Development           economy become more /             /
                                                                                                                              competitive by putting in sam.g www.
       Appalachian Regional Commission                                                   23.003         Appalachian           place
                                                                                                                              To     the building
                                                                                                                                  provide  a highway    ov/fal/ usasp
                                                                                                                                                        https:/ https:/
                                                                                                        Development Highway   system which, in          /       /
                                                                                                        System                conjunction with other    sam.g www.
                                                                                                                              federally-aided           ov/fal/ usasp
       Appalachian Regional Commission                                                   23.009         Appalachian Local     To provide planning and https:/ https:/
                                                                                                        Development District  development resources /           /
                                                                                                        Assistance            in multicounty areas; to sam.g www.
       Appalachian Regional Commission                                                   23.011                               help
                                                                                                        Appalachian Research, To    develop
                                                                                                                                  expand   thethe               usasp
                                                                                                                                                        ov/fal/ https:/
                                                                                                                                                        https:/
                                                                                                        Technical Assistance, knowledge of the region /         /
                                                                                                        and Demonstration     to the fullest extent     sam.g www.
                                                                                                        Projects              possible by means of      ov/fal/ usasp
       Barry Goldwater Scholarship and Excellence in Education Fund                      85.200         Barry M. Goldwater    To honor former           https:/ https:/
                                                                                                        Scholarship Program   Senator Barry             /       /
                                                                                                                              Goldwater through the     sam.g www.
       Consumer Product Safety Commission                                                87.002                               operation   of an
                                                                                                        Virginia Graeme Baker To reduce the number      ov/fal/
                                                                                                                                                        https:/ usasp
                                                                                                                                                                https:/
                                                                                                        Pool and Spa Safety      of drowning and drain        /       /
                                                                                                                                 entrapment-related           sam.g www.
       Consumer Product Safety Commission                                                87.003         Nicholas and Zachary     injuries and
                                                                                                                                 Promote   thedeaths   of
                                                                                                                                               installation           usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Burt Memorial Carbon     of carbon monoxide           /       /
                                                                                                        Monoxide Poisoning       alarms in residential        sam.g www.
                                                                                                        Prevention Grants        homes and dwelling           ov/fal/ usasp
       Corporation for National and Community Service                                    94.002         AmeriCorps Seniors       RSVP provides grants         https:/ https:/
                                                                                                        Retired and Senior       that support volunteers      /       /
                                                                                                        Volunteer Program        55 years and older           sam.g www.
       Corporation for National and Community Service                                    94.003         (RSVP) 94.002
                                                                                                        AmeriCorps  State        serving
                                                                                                                                 To develop
                                                                                                                                         in aadiverse
                                                                                                                                               State plan,            usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Commissions Support      to assist States in the      /       /
                                                                                                        Grant                    application process,         sam.g www.
                                                                                                                                 and to provide oversight     ov/fal/ usasp
       Corporation for National and Community Service                                    94.006         AmeriCorps State and     AmeriCorps State and         https:/ https:/




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                                                                                                        National 94.006          National grants are          /       /
                                                                                                                                 awarded to eligible          sam.g www.
       Corporation for National and Community Service                                    94.008         AmeriCorps               organizations
                                                                                                                                 AmeriCorps isthat
                                                                                                                                                 seeking      ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Commission Investment to expand the capacity   /       /
                                                                                                        Fund 94.008            (knowledge, skills, and sam.g www.
       Corporation for National and Community Service                                    94.011         AmeriCorps Seniors     resources)
                                                                                                                               The Foster of State
                                                                                                                                           Grandparent ov/fal/ usasp
                                                                                                                                                       https:/ https:/
                                                                                                        Foster Grandparent     Program (FGP)           /       /
                                                                                                        Program (FGP) 94.011 provides grants to        sam.g www.
                                                                                                                               qualified agencies and  ov/fal/ usasp
       Corporation for National and Community Service                                    94.012         AmeriCorps September The purpose of the        https:/ https:/
                                                                                                        11th National Day of   September 11th          /       /
                                                                                                        Service and            National Day of Service sam.g www.
       Corporation for National and Community Service                                    94.013         Remembrance
                                                                                                        AmeriCorps  Volunteers and Remembrance
                                                                                                                       Grants AmeriCorps    Volunteers https:/ usasp
                                                                                                                                                       ov/fal/ https:/
                                                                                                        In Service to America    in Service to America        /       /
                                                                                                        94.013                   (VISTA) is the national      sam.g www.
       Corporation for National and Community Service                                    94.014         AmeriCorps Martin        service program
                                                                                                                                 The purpose       of
                                                                                                                                               of the         ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Luther King Jr. Day ofMartin Luther King Jr.          /       /
                                                                                                        Service Grants 94.014 Day of Service grant            sam.g www.
                                                                                                                              funding is to mobilize          ov/fal/ usasp
       Corporation for National and Community Service                                    94.016         AmeriCorps Seniors    The Senior Companion            https:/ https:/
                                                                                                        Senior Companion      Program (SCP)                   /       /
                                                                                                        Program (SCP) 94.016 provides grants to               sam.g www.
       Corporation for National and Community Service                                    94.017         AmeriCorps Seniors    qualified
                                                                                                                              To provide agencies
                                                                                                                                           grants toand               usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Senior Demonstration qualified agencies for           /       /
                                                                                                        Program (FGP) 94.017 the purpose of                   sam.g www.
                                                                                                                              conducting innovative           ov/fal/ usasp
       Corporation for National and Community Service                                    94.020         AmeriCorps CNCS       The AmeriCorps                  https:/ https:/
                                                                                                        Disaster Response     Disaster Response               /       /
                                                                                                        Cooperative Agreement Cooperative Agreement           sam.g www.
       Corporation for National and Community Service                                    94.021         94.020
                                                                                                        AmeriCorps            (DRCA)
                                                                                                                    Volunteer The       is an initiative
                                                                                                                                  Volunteer                           usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Generation Fund          Generation Fund              /       /
                                                                                                        94.021                   focuses on investments       sam.g www.
       Corporation for National and Community Service                                    94.026         AmeriCorps National      in
                                                                                                                                 Tovolunteer
                                                                                                                                    further achieve its       ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Service and Civic        mission, AmeriCorps          /       /
                                                                                                        Engagement Research has a strong belief in            sam.g www.
                                                                                                        Competition 94.026       the importance of            ov/fal/ usasp
       Delta Regional Authority                                                          90.200         Delta Regional Authority The Delta Regional           https:/ https:/
                                                                                                                                 Authority (DRA) is a         /       /
                                                                                                                                 federal-state                sam.g www.
       Denali Commission                                                                 90.003         Denali Commission        partnership
                                                                                                                                 The          serving a
                                                                                                                                      Denali Commission               usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                        Program                  is a Federal agency          /       /
                                                                                                                                 designed to provide          sam.g www.
                                                                                                                                 funding and partner          ov/fal/ usasp
       Denali Commission                                                                 90.100         Denali Commission        The Denali Commission        https:/ https:/
                                                                                                        Program                  is a Federal agency          /       /
                                                                                                                                 designed to provide          sam.g www.
       Denali Commission                                                                 90.199         Shared Services          funding and
                                                                                                                                 Delivery of services
                                                                                                                                              partner of              usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                                                 the federal government       /       /
                                                                                                                                 in the most cost-            sam.g www.
       Department of Agriculture                                                         10.001         Agricultural Research    effective
                                                                                                                                 There aremanner
                                                                                                                                           over 600by         ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Basic and Applied        research and                 /       /
                                                                                                        Research                 development projects         sam.g www.
                                                                                                                                 being conducted by           ov/fal/ usasp
       Department of Agriculture                                                         10.025         Plant and Animal         To protect U.S.              https:/ https:/
                                                                                                        Disease, Pest Control,   agriculture from             /       /
                                                                                                        and Animal Care          economically injurious       sam.g www.
       Department of Agriculture                                                         10.028         Wildlife Services        plant
                                                                                                                                 To    and animal
                                                                                                                                    reduce  damage                    usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                                                caused by mammals             /       /
                                                                                                                                and birds and those           sam.g www.
                                                                                                                                mammal and bird               ov/fal/ usasp
       Department of Agriculture                                                         10.030         Indemnity Program       Animal and Plant Health       https:/ https:/
                                                                                                                                Inspection Service            /       /
                                                                                                                                administers regulations       sam.g www.
       Department of Agriculture                                                         10.047                                 at 9 CFR
                                                                                                        Tribal Food Sovereignty The  USDA parts 50 to 56
                                                                                                                                           Indigenous                 usasp
                                                                                                                                                              ov/fal/ https:/
                                                                                                                                                              https:/
                                                                                                                              Food Sovereignty            /       /
                                                                                                                              Initiative promotes         sam.g www.
       Department of Agriculture                                                         10.048         Tribal Agriculture    traditional
                                                                                                                              The Intertribal  ways,
                                                                                                                                          foodTechnical   ov/fal/
                                                                                                                                                          https:/ usasp
                                                                                                                                                                  https:/
                                                                                                        Technical Assistance  Assistance Network          /       /
                                                                                                                              (ITAN) was established sam.g www.
                                                                                                                              to increase access and ov/fal/ usasp
       Department of Agriculture                                                         10.049         Tribal Youth &        To increase the             https:/ https:/
                                                                                                        Workforce Development engagement of tribal        /       /
                                                                                                                              members within the          sam.g www.
       Department of Agriculture                                                         10.051         Commodity Loans and Tofood  and agricultural
                                                                                                                                  improve   and stabilize https:/ usasp
                                                                                                                                                          ov/fal/ https:/
                                                                                                        Loan Deficiency          farm income, to assist       /       /
                                                                                                        Payments                 in bringing about a          sam.g www.
       Department of Agriculture                                                         10.053         Dairy Indemnity          better balance
                                                                                                                                 To protect dairybetween      ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                        Payment Program          operations and               /       /
                                                                                                                                 manufacturers of dairy       sam.g www.
                                                                                                                                 products who through         ov/fal/ usasp
       Department of Agriculture                                                         10.054         Emergency                To enable farmers to         https:/ https:/
                                                                                                        Conservation Program     perform emergency            /       /
                                                                                                                                 conservation measures        sam.g www.
                                                                                                                                 to control wind erosion      ov/fal/ usasp




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       Department of Agriculture             10.056   Farm Storage Facility    The Farm Storage             https:/ https:/
                                                      Loans                    Facility Loan (FSFL)         /       /
                                                                               Program provides low-        sam.g www.
       Department of Agriculture             10.069   Conservation Reserve     interest
                                                                               CRP   is afinancing
                                                                                           voluntaryfor             usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Program                  program which                /       /
                                                                               contracts directly with      sam.g www.
       Department of Agriculture             10.072   Wetlands Reserve         agricultural
                                                                               To assist landowners
                                                                                            producersin     ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Program                  restoring and protecting     /       /
                                                                               wetlands on eligible         sam.g www.
                                                                               lands on which they          ov/fal/ usasp
       Department of Agriculture             10.087   Biomass Crop             The purpose of BCAP is       https:/ https:/
                                                      Assistance Program       to encourage the             /       /
                                                                               production of biofuels.      sam.g www.
       Department of Agriculture             10.089   Livestock Forage         BCAP
                                                                               The    accomplishes
                                                                                    objective of LFP is             usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Disaster Program        to provide financial          /       /
                                                                              assistance from the           sam.g www.
       Department of Agriculture             10.093   Voluntary Public Access Agricultural
                                                                              The primaryDisaster
                                                                                            objective of    ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      and Habitat Incentive   VPA-HIP is to                 /       /
                                                      Program                 encourage owners and          sam.g www.
                                                                              operators of privately-       ov/fal/ usasp
       Department of Agriculture             10.096   Marketing Assistance    MASC will provide             https:/ https:/
                                                      for Specialty Crops     eligible specialty crop       /       /
                                                                              producers with                sam.g www.
       Department of Agriculture             10.097   Water-Saving            marketing  assistance
                                                                              Water-Savings                 ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Commodities Grant        Conservation Grants          /       /
                                                                               (WSCG) provide               sam.g www.
                                                                               targeted financial           ov/fal/ usasp
       Department of Agriculture             10.098   Reimbursement            The intended goal of         https:/ https:/
                                                      Transportation Cost      the program is to            /       /
                                                      Payment Program for      provide direct               sam.g www.
       Department of Agriculture             10.099   Geographically
                                                      Conservation Loans       reimbursement
                                                                               To provide access to                 usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                                             credit for farmers who    /       /
                                                                             need and want to          sam.g www.
       Department of Agriculture             10.102   Emergency Forest       implement
                                                                             The object conservation
                                                                                           of EFRP is  ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                      Restoration Program    to make financial         /       /
                                                                             assistance available to sam.g www.
                                                                             eligible participants on  ov/fal/ usasp
       Department of Agriculture             10.108   Livestock Indemnity    LIP provides benefits to https:/ https:/
                                                      Program-2014 Farm Bill eligible livestock owners /       /
                                                                             or livestock contract     sam.g www.
       Department of Agriculture             10.109   Livestock Forage       growers    for livestock
                                                                             LFP provides              ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                      Disaster Program     compensation to eligible         /       /
                                                                           livestock producers that         sam.g www.
                                                                           have suffered grazing            ov/fal/ usasp
       Department of Agriculture             10.110   Emergency Assistance ELAP provides financial          https:/ https:/
                                                      for Livestock,       assistance to eligible           /       /
                                                      Honeybees and Farm- producers of livestock,           sam.g www.
       Department of Agriculture             10.111   Raised
                                                      Tree    Fish Program
                                                            Assistance     honeybees
                                                                           TAP providesand   farm-
                                                                                          financial                 usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Program              assistance to eligible           /       /
                                                                           orchardists and nursery          sam.g www.
       Department of Agriculture             10.112   Price Loss Coverage  tree
                                                                           The growers   to replant
                                                                                Price Loss                  ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                                               Coverage program             /       /
                                                                               (PLC) is carried over        sam.g www.
                                                                               from the 2014 Farm Bill.     ov/fal/ usasp
       Department of Agriculture             10.113   Agriculture Risk         The ARC program              https:/ https:/
                                                      Coverage Program         carried over from the        /       /
                                                                               2014 Farm Bill. The          sam.g www.
       Department of Agriculture             10.116   The Margin Protection    ARC   program
                                                                               MPP-Dairy      is an
                                                                                           offers a         ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Program                  protection plan which        /       /
                                                                               provides payments to         sam.g www.
       Department of Agriculture             10.120   2017 Wildfires and             operations
                                                                               dairy2017
                                                                               The       WHIP iswhen                usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Hurricanes Indemnity     directly reimbursing         /     /
                                                      Program                  producers for crop           sam.g www.
       Department of Agriculture             10.123   Market Facilitation      production
                                                                               MFP         losses in
                                                                                     provides         ov/fal/ usasp
                                                                                                      https:/ https:/
                                                      Program               assistance to producers /         /
                                                                            with commodities that     sam.g www.
       Department of Agriculture             10.127   Dairy Margin Coverage have
                                                                            DMC been
                                                                                  offerssignificantly
                                                                                         a dairy      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                                            margin protection plan    /       /
                                                                            which provides            sam.g www.
                                                                            payments to dairy         ov/fal/ usasp
       Department of Agriculture             10.128   Heirsâ€™ Property     As specified in 7 U.S.C. https:/ https:/
                                                      Relending Program     1936c(c), HPRP            /       /
                                                                            provides loan funds to    sam.g www.
       Department of Agriculture             10.129   Wildfires and         intermediaries
                                                                            The WHIP Pluswho is will ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                      Hurricanes Indemnity     directly reimbursing      /       /
                                                      Program Plus             producers for crop, tree, sam.g www.
       Department of Agriculture             10.130   Coronavirus Food         bush, and
                                                                               CFAP        vine losses
                                                                                      provides   direct  ov/fal/ usasp
                                                                                                         https:/ https:/
                                                      Assistance Program 1     financial assistance to   /       /
                                                                               producers of eligible     sam.g www.
                                                                               agricultural              ov/fal/ usasp
       Department of Agriculture             10.131   Seafood Trade Relief     STRP provides             https:/ https:/
                                                      Program (STRP)           payments to eligible      /       /
                                                                               commercial fishermen      sam.g www.
       Department of Agriculture             10.132   Coronavirus Food         of seafood   commodities  ov/fal/
                                                                               CFAP 2 provides direct https:/ usasp
                                                                                                                 https:/
                                                      Assistance Program 2    financial assistance to       /       /
                                                                              producers of eligible         sam.g www.
                                                                              agricultural                  ov/fal/ usasp
       Department of Agriculture             10.133   Quality Loss Adjustment The Quality Loss              https:/ https:/
                                                      Program                 Adjustment (QLA)              /       /
                                                                              Program provides              sam.g www.
       Department of Agriculture             10.134   Oriental Fruit Fly      assistance
                                                                              The purpose     producers
                                                                                           to of the        ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Program                  Oriental Fruit Fly           /       /




A120
                                                                               Program is to provide        sam.g www.
       Department of Agriculture             10.135   Supplemental Dairy       direct payments
                                                                               Supplemental      to
                                                                                               Dairy                usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Margin Coverage          Margin Coverage              /       /
                                                                               (Supplemental DMC) is        sam.g www.
                                                                               a program                    ov/fal/ usasp
       Department of Agriculture             10.138   Pandemic Livestock       The Pandemic                 https:/ https:/
                                                      Indemnity Program        Livestock Indemnity          /       /
                                                                               Program (PLIP)               sam.g www.
       Department of Agriculture             10.139   Organic and              provides direct financial
                                                                               OTECP provides     direct    ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Transitional Education   financial assistance to      /       /
                                                      and Certification        certified organic and        sam.g www.
                                                      Program                  transitional operations      ov/fal/ usasp
       Department of Agriculture             10.142   Food Safety              FSCSC provides direct        https:/ https:/
                                                      Certification for        financial assistance to      /       /
                                                      Specialty Crops          eligible specialty crop      sam.g www.
       Department of Agriculture             10.143   Program
                                                      Pandemic Assistance      operations
                                                                               PARP providesthat incurred
                                                                                                 direct     ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Revenue Program          financial support for        /       /
                                                                               eligible producers of        sam.g www.
       Department of Agriculture             10.144   Spot Market Hog          agricultural
                                                                               SMHPP provides                       usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Pandemic Program         assistance to producers      /       /
                                                                               that sold hogs through       sam.g www.
                                                                               a spot market sale from      ov/fal/ usasp
       Department of Agriculture             10.146   Farm Service Agency      The American Rescue          https:/ https:/
                                                      Taxpayer Outreach        Plan Act 2021, H.R.          /       /
                                                      Education and            1319, signed into law        sam.g www.
       Department of Agriculture             10.147   Technical Assistance
                                                      Outreach Education       on March
                                                                               EOTA       11, 2021,
                                                                                      provides  financial   ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      and Technical            assistance to eligible       /       /
                                                      Assistance               recipients to perform        sam.g www.
       Department of Agriculture             10.148   Emergency Livestock      outreach
                                                                               The       and technical
                                                                                    Emergency                       usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Relief Program           Livestock Relief             /       /
                                                                               Program (ELRP)               sam.g www.
                                                                               provides direct financial    ov/fal/ usasp
       Department of Agriculture             10.153   Market News              To provide timely and        https:/ https:/
                                                                               accurate information on      /       /
                                                                               prices, demand,              sam.g www.
       Department of Agriculture             10.155   Marketing Agreements                 volume, and
                                                                               movement,Agreements
                                                                               Marketing                            usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      and Orders              and Orders are                /       /
                                                                              designed to stabilize         sam.g www.
                                                                              market conditions and         ov/fal/ usasp
       Department of Agriculture             10.156   Federal-State Marketing To explore and identify       https:/ https:/
                                                      Improvement Program new market                        /       /
                                                                              opportunities for U.S.        sam.g www.
       Department of Agriculture             10.162   Inspection Grading and food  and agricultural
                                                                              To develop  and apply         ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Standardization         standards of quality and /         /
                                                                              condition for agricultural sam.g www.
       Department of Agriculture             10.163   Market Protection and   commodities;
                                                                              The            to
                                                                                   Federal Seed          ov/fal/ usasp
                                                                                                         https:/ https:/
                                                      Promotion               Program prevents           /       /
                                                                              mislabeled seed from       sam.g www.
                                                                              moving in interstate       ov/fal/ usasp
       Department of Agriculture             10.164   Wholesale Farmers and Wholesale Farmers and https:/ https:/
                                                      Alternative Market      Alternative Market         /       /
                                                      Development             Development works to       sam.g www.
       Department of Agriculture             10.165                           improve
                                                      Perishable Agricultural To reducemarket
                                                                                         unfairaccess
                                                                                                and              usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                      Commodities Act         fraudulent practices in       /       /
                                                                              the marketing of              sam.g www.
                                                                              perishable agricultural       ov/fal/ usasp
       Department of Agriculture             10.167   Transportation Services The Transportation            https:/ https:/
                                                                              Services program              /       /
                                                                              develops and promotes         sam.g www.
       Department of Agriculture             10.170   Specialty Crop Block    efficient
                                                                              The U.S.agriculture
                                                                                        Department of       ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Grant Program - Farm     Agricultureâ€™s              /       /
                                                      Bill                     (USDA) Agricultural          sam.g www.
       Department of Agriculture             10.171   Organic Certification    Marketing
                                                                               The        Service
                                                                                   objective of                     usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Cost Share Programs      Organic Certification        /       /
                                                                               Cost Share Programs          sam.g www.
                                                                               (OCCSP) is to provide        ov/fal/ usasp
       Department of Agriculture             10.173   Sheep Production and     To develop projects that     https:/ https:/
                                                      Marketing Grant          strengthen and               /       /
                                                      Program                  enhance the production       sam.g www.
       Department of Agriculture             10.174   Acer Access                   marketing
                                                                               andsupport
                                                                               To         the of sheep
                                                                                              efforts of            usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Development Program      such States, tribal          /       /
                                                                               governments, and             sam.g www.
       Department of Agriculture             10.175   Farmers Market and       research institutions
                                                                               The Farmers   Market to      ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Local Food Promotion     and Local Food               /       /
                                                      Program                  Promotion Program            sam.g www.
       Department of Agriculture             10.176   Dairy Business           (FMLFPP)  is a
                                                                               The Dairy Business           ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Innovation Initiatives
                                                                           Innovation (DBI)                 /       /
                                                                           Initiatives connects the         sam.g www.
       Department of Agriculture             10.177                        Agricultural
                                                      Regional Food System RFSP           Marketing
                                                                                    is a component                  usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                      Partnerships         of the Local Agricultural        /       /
                                                                           Marketing Program                sam.g www.
                                                                           (LAMP). RFSP supports            ov/fal/ usasp




                                                                                                                              2
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       Department of Agriculture             10.179   Micro-Grants for Food       Eligible agricultural        https:/ https:/
                                                      Security Program            agencies or                  /       /
                                                                                  departments                  sam.g www.
       Department of Agriculture             10.180   Meat and Poultry         competitively
                                                                               To             distribute
                                                                                  assist eligible meat                 usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Inspection Readiness     and poultry slaughter           /       /
                                                      Grants â€                and processing facilities       sam.g www.
       Department of Agriculture             10.181     Supplemental
                                                      “Pandemic  ReliefFunding with costs incurred
                                                                               The purpose    of thisin        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Activities: Farm and        program is to defray         /       /
                                                      Food Worker Relief          worker expenses              sam.g www.
                                                      Grant Program               incurred preparing for,      ov/fal/ usasp
       Department of Agriculture             10.182   Pandemic Relief             1.       Provide an          https:/ https:/
                                                      Activities: Local Food      opportunity for State,       /       /
                                                      Purchase Agreements         Local and Tribal             sam.g www.
       Department of Agriculture             10.183                 Tribes, and
                                                      with States,Market
                                                      Pandemic                    governments to
                                                                                  USDA-Agricultural                    usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Volatility Assistance       Marketing Service will       /       /
                                                      Program (PMVAP)             make pandemic                sam.g www.
       Department of Agriculture             10.184   Pandemic Relief        assistance
                                                                             This programpayments,             ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Activities: Meat and   establishes technical             /       /
                                                      Poultry Processing     assistance to support             sam.g www.
                                                      Capacity - Technical   the applicants and                ov/fal/ usasp
       Department of Agriculture             10.185   Local Food for Schools 1.        Provide an              https:/ https:/
                                                      Cooperative Agreement opportunity for States to          /       /
                                                      Program                strengthen their local            sam.g www.
       Department of Agriculture             10.186   Regional Food          and
                                                                             This regional
                                                                                   programfood
                                                                                            supports           ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Business Centers            regional food supply         /       /
                                                                                  chains by creating           sam.g www.
                                                                                  Regional Food                ov/fal/ usasp
       Department of Agriculture             10.187   The Emergency Food          To support the               https:/ https:/
                                                      Assistance Program          additional food              /       /
                                                      (TEFAP) Commodity           purchases from the           sam.g www.
       Department of Agriculture             10.188   Credit Corporation
                                                      Organic Market              Commodity
                                                                                  The  OrganicCredit
                                                                                                Market                 usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Development Grant           Development Grant            /       /
                                                      (OMDG) Program              (OMDG) program will          sam.g www.
       Department of Agriculture             10.189   Local Meat Capacity         support
                                                                                  The purpose
                                                                                          the of this          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Grants                      program is to build          /       /
                                                                                  resilience in the meat       sam.g www.
                                                                                  and poultry supply           ov/fal/ usasp
       Department of Agriculture             10.190   Resilient Food System       This program will            https:/ https:/
                                                      Infrastructure Program      provide funds to states      /       /
                                                                                  and territories to           sam.g www.
       Department of Agriculture             10.191   Pandemic Assistance         support  entities
                                                                                  The Pandemic                 ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      for Cotton           Assistance for Cotton               /       /
                                                      Merchandisers (PACM) Merchandisers (PACM)                sam.g www.
                                                                           program, considering                ov/fal/ usasp
       Department of Agriculture             10.193   Commodity Credit     Indian Tribal                       https:/ https:/
                                                      Corporation (CCC)    Organizations (ITOs)                /       /
                                                      Funding to Alleviate and State agencies                  sam.g www.
       Department of Agriculture             10.194               Supply
                                                      Emergency Credit
                                                      Commodity            operating the
                                                                           Commodity     Food
                                                                                       Credit                          usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Corporation (CCC)           Corporation (CCC)            /       /
                                                      Funding to Alleviate        Funding to Alleviate         sam.g www.
       Department of Agriculture             10.195   Emergency   Supply
                                                      Organic Dairy  Product      Emergency
                                                                                  â€¢         Supply
                                                                                          To increase          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Promotion                   domestic consumption         /       /
                                                                                  of organic dairy             sam.g www.
                                                                                  products to children and     ov/fal/ usasp
       Department of Agriculture             10.200   Grants for Agricultural     To carry out research,       https:/ https:/
                                                      Research, Special           to facilitate or expand      /       /
                                                      Research Grants             promising                    sam.g www.
       Department of Agriculture             10.202   Cooperative Forestry        breakthroughs     in areas
                                                                                  The goal of McIntire-        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Research                Stennis Cooperative              /       /
                                                                              Forestry Research                sam.g www.
       Department of Agriculture             10.203   Payments to             funding     to increase
                                                                              To assistisState                         usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Agricultural Experiment Agricultural Experiment          /       /
                                                      Stations Under the      Stations, the District of        sam.g www.
       Department of Agriculture             10.205   Hatch Act to 1890
                                                      Payments                Columbia,
                                                                              To support and    the U.S.
                                                                                           continuing                  usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Land-Grant Colleges     agricultural research at         /       /
                                                      and Tuskegee            colleges eligible to             sam.g www.
       Department of Agriculture             10.207   University
                                                      Animal Health and       receive
                                                                              The purpose
                                                                                       fundsof under
                                                                                                 this the      ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Disease Research            funding is to increase       /       /
                                                                                  animal health and            sam.g www.
                                                                                  disease research             ov/fal/ usasp
       Department of Agriculture             10.210   Higher Education            The purpose of the NNF       https:/ https:/
                                                      National Needs              Grants Program is to         /       /
                                                      Graduate Fellowship         train students for           sam.g www.
       Department of Agriculture             10.212   Grants
                                                      Small Business              Masterâ€™s
                                                                                  The National Institute
                                                                                                 and/or of     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Innovation Research     Food and Agriculture             /       /
                                                      (SBIR) Program / Small (NIFA) administers the            sam.g www.
       Department of Agriculture             10.215   Business Technology
                                                      Sustainable Agriculture The  Department
                                                                              U.S. purpose      of
                                                                                           of the                      usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Research and                SARE program, under          /       /
                                                      Education                   assistance listing           sam.g www.
                                                                                  10.215, is to encourage      ov/fal/ usasp
       Department of Agriculture             10.216   1890 Institution            The Capacity Building        https:/ https:/
                                                      Capacity Building           Grants (CBG) Program         /       /
                                                      Grants                      is designed to build the     sam.g www.
       Department of Agriculture             10.217   Higher Education -          institutional
                                                                                  The purposeteaching,
                                                                                                of the         ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Institution Challenge       Higher Education             /       /
                                                      Grants Program              Challenge Grants             sam.g www.
                                                                                  Program, under               ov/fal/ usasp
       Department of Agriculture             10.219   Biotechnology Risk          The purpose of the           https:/ https:/
                                                      Assessment Research         BRAG program                 /       /
                                                                                  Assistance Listing           sam.g www.
       Department of Agriculture             10.220   Higher Education -          10.219,
                                                                                  To increase   support
                                                                                          is tothe ethnicthe   ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Multicultural Scholars      and cultural diversity of /       /




A121
                                                      Grant Program               the food and agricultural sam.g www.
       Department of Agriculture             10.221   Tribal Colleges             scientific
                                                                                  The   Tribaland
                                                                                               Colleges     ov/fal/ usasp
                                                                                                            https:/ https:/
                                                      Education Equity            Education Equity          /       /
                                                      Grants                      Grants (TCEG) program sam.g www.
                                                                                  (assistance listing       ov/fal/ usasp
       Department of Agriculture             10.222   Tribal Colleges             To enhance educational https:/ https:/
                                                      Endowment Program           opportunities at the      /       /
                                                                                  thirty-four (34) Land     sam.g www.
       Department of Agriculture             10.223   Hispanic Serving            Grant   Institutions
                                                                                  The objective of thisby   ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                      Institutions Education      program is to promote        /       /
                                                      Grants                      and strengthen the           sam.g www.
                                                                                  ability of Hispanic-         ov/fal/ usasp
       Department of Agriculture             10.225   Community Food              The primary goals of         https:/ https:/
                                                      Projects                    the Community Food           /       /
                                                                                  Projects Competitive         sam.g www.
       Department of Agriculture             10.226   Secondary Education,        Grant   Program
                                                                                  The Secondary                ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Two-Year                    Education, Two-Year          /       /
                                                      Postsecondary               Postsecondary                sam.g www.
       Department of Agriculture             10.227   Education,
                                                      1994        and
                                                           Institutions           Education,
                                                                                  The        and
                                                                                      Tribal Colleges                  usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Research Grants         Research Grants                  /       /
                                                                              Program (TCRGP) (aka             sam.g www.
                                                                              1994 Institutions                ov/fal/ usasp
       Department of Agriculture             10.228   Alaska Native Serving The purpose of this                https:/ https:/
                                                      and Native Hawaiian     program is to promote            /       /
                                                      Serving Institutions    and                              sam.g www.
       Department of Agriculture             10.229   Education Grants        strengthen
                                                      Extension Collaborative Funds  are provided      of
                                                                                          the abilityfor       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      on Immunization             support the Extension        /       /
                                                      Teaching &                  Collaborative on             sam.g www.
       Department of Agriculture             10.230   Engagement
                                                      Farm of the Future          Immunization
                                                                                  Farm          Teaching
                                                                                        of the Future is a             usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                                                  competitive grant            /       /
                                                                                  program that                 sam.g www.
                                                                                  establishes an               ov/fal/ usasp
       Department of Agriculture             10.231   Agriculture Business        National Institute of        https:/ https:/
                                                      Innovation Center at        Food and Agriculture         /       /
                                                      HBCU                        issues a competitive         sam.g www.
       Department of Agriculture             10.232   Blue Ribbon                       to support the
                                                                                  grantBlue-Ribbon
                                                                                  The                Panel             usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                                           on Land-grant                       /       /
                                                                           Cooperation and                     sam.g www.
                                                                           Collaboration (PLCC) is             ov/fal/ usasp
       Department of Agriculture             10.233   Open Data Standards  This program will build             https:/ https:/
                                                                           the framework needed                /       /
                                                                           to create a neutral and             sam.g www.
       Department of Agriculture             10.234   American Rescue Plan secure
                                                                           The goaldata  repository
                                                                                     of this                   ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Technical Assistance program is to fund                  /       /
                                                      Investment Program   organizations, to be                sam.g www.
       Department of Agriculture             10.236   Bioproduct Pilot     known
                                                                           The     as Cooperators,
                                                                                Bioproduct   Pilot                     usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Program                  Program will advance            /       /
                                                                               development of cost-            sam.g www.
                                                                               competitive bioproducts         ov/fal/ usasp
       Department of Agriculture             10.237   From Learning to         The Next Gen Program            https:/ https:/
                                                      Leading: Cultivating the represents one part in a        /       /
                                                      Next Generation of       series of efforts led by        sam.g www.
       Department of Agriculture             10.238   Diverse Food
                                                      Institute      and
                                                                of Rural       USDA to780
                                                                               Section   achieve
                                                                                             of the FY                 usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Partnership (GP 780)  2022 Consolidated                  /       /
                                                                            Appropriations Act (P.L.           sam.g www.
                                                                            117-103), appropriated             ov/fal/ usasp
       Department of Agriculture             10.239   Human Health and Soil The Agriculture                    https:/ https:/
                                                      Health Study          Subcommittee on                    /       /
                                                                            Appropriations provides            sam.g www.
       Department of Agriculture             10.241   Institute of Rural    $1,000,000
                                                                            Section 778for
                                                                                         of the
                                                                                            the FY             ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Partnerships (GP 778)       2022 Consolidated            /       /
                                                                                  Appropriations Act (P.L.     sam.g www.
       Department of Agriculture             10.243   American Rescue Plan        117-103),
                                                                                  The MPPRI appropriated
                                                                                              Program is               usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Centers of Excellence       part of the broader          /       /
                                                      for Meat and Poultry        USDA investment to           sam.g www.
                                                      Processing and Food         transform the food           ov/fal/ usasp
       Department of Agriculture             10.244   Special Supplemental        The Special                  https:/ https:/
                                                      Nutrition Program for       Supplemental Nutrition       /       /
                                                      Women, Infants, and         Program for Women,           sam.g www.
       Department of Agriculture             10.245   ChildrenHen
                                                      Laying        National
                                                                â€“and Turkey     Infants,
                                                                                  The  Laying   Children,
                                                                                           andHen   and                usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                      Research Program        Turkey Research                  /       /
                                                                              program under                    sam.g www.
       Department of Agriculture             10.246   Research Facilities Act assistance listing
                                                                              The Research    Facilities       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Program                 Act Program seeks to             /       /
                                                                              strengthen the quality           sam.g www.
       Department of Agriculture             10.247   Emergency Citrus        and  expand
                                                                              Section 12605theofscope
                                                                                                 the           ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                      Disease Research and 2018 Farm Bill (Pub. L.             /     /
                                                      Extension Program      115-334) also                     sam.g www.
       Department of Agriculture             10.250                          established
                                                      Agricultural and Rural To          the Citrus
                                                                                provide economic                   usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                      Economic Research,          and other social science /       /
                                                      Cooperative                 information and          sam.g www.
                                                      Agreements and              analysis for public and  ov/fal/ usasp




                                                                                                                                 3
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       Department of Agriculture             10.253   Consumer Data and         To provide economic       https:/ https:/
                                                      Nutrition Research        and other social science /        /
                                                                                information and           sam.g www.
       Department of Agriculture             10.255   Research Innovation       analysis
                                                                                To  provide   public and
                                                                                          foreconomic     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      and Development           and other social science /        /
                                                      Grants in Economic        information and           sam.g www.
       Department of Agriculture             10.290   (RIDGE)
                                                      Agricultural Market and   analysis
                                                                                To conduct    public and
                                                                                          for cooperative ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      Economic Research         economic research and         /       /
                                                                                analyses in support of        sam.g www.
                                                                                the Office of the Chief       ov/fal/ usasp
       Department of Agriculture             10.291   Agricultural and Food     To conduct research           https:/ https:/
                                                      Policy Research           and education                 /       /
                                                      Centers                   programs that are             sam.g www.
       Department of Agriculture             10.292   Food Loss and Waste       objective,
                                                                                To conductoperationally
                                                                                            research                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Reduction                 and related activities        /       /
                                                                                that support                  sam.g www.
       Department of Agriculture             10.303   Integrated Programs       USDAâ€™s
                                                                                GENERAL: NIFAstrategy to      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                Integrated Programs           /       /
                                                                                provide support for           sam.g www.
                                                                                integrated research,          ov/fal/ usasp
       Department of Agriculture             10.304   Food and Agriculture      To provide funding to         https:/ https:/
                                                      Defense Initiative        protect the food supply       /       /
                                                      (FADI)                    and agricultural              sam.g www.
       Department of Agriculture             10.305   International Science     production.
                                                                                The purposeThis
                                                                                              of ISE
                                                                                                   is is to   ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      and Education Grants      support the                   /       /
                                                                                internationalization of       sam.g www.
                                                                                food, agriculture and         ov/fal/ usasp
       Department of Agriculture             10.307   Organic Agriculture       The Organic Agriculture       https:/ https:/
                                                      Research and              Research and                  /       /
                                                      Extension Initiative      Extension Initiative          sam.g www.
       Department of Agriculture             10.308   Resident Instruction,     (OREI)
                                                                                In      seeks
                                                                                   General.    to solve
                                                                                            -The                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Agriculture, and Food     Secretary of Agriculture      /       /
                                                      Science Facilities and    shall make competitive        sam.g www.
       Department of Agriculture             10.309   Equipment   Grants
                                                      Specialty Crop            grants to eligible
                                                                                The purpose    of the         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Research Initiative       SCRI program is to            /       /
                                                                                address the critical          sam.g www.
                                                                                needs of the specialty        ov/fal/ usasp
       Department of Agriculture             10.310   Agriculture and Food      The Agriculture and           https:/ https:/
                                                      Research Initiative       Food Research                 /       /
                                                      (AFRI)                    Initiative (AFRI) awards      sam.g www.
       Department of Agriculture             10.311   Beginning Farmer and      research,
                                                                                The primary education,
                                                                                              goal of         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Rancher Development    BFRDP is to help                 /       /
                                                      Program                beginning farmers and            sam.g www.
                                                                             ranchers in the United           ov/fal/ usasp
       Department of Agriculture             10.312   Biomass Research and To carry out research              https:/ https:/
                                                      Development Initiative on and development               /       /
                                                      Competitive Grants     and demonstration of:            sam.g www.
       Department of Agriculture             10.313   Program (BRDI)
                                                      Veterinary Medicine    The program responds                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Loan Repayment         to the current shortage          /       /
                                                      Program                of large animal                  sam.g www.
       Department of Agriculture             10.318   Women and Minorities veterinarians
                                                                             The Women and in rural           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      in Science, Technology, Minorities (WAMS) in            /       /
                                                      Engineering, and        Science, Technology,            sam.g www.
                                                      Mathematics Fields      Engineering and                 ov/fal/ usasp
       Department of Agriculture             10.319   Farm Business           To establish a                  https:/ https:/
                                                      Management and          competitive research            /       /
                                                      Benchmarking            and extension grants            sam.g www.
       Department of Agriculture             10.320   Competitive  Grants
                                                      Sun Grant Program       program  for the
                                                                              This program     purpose
                                                                                             responds         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 to the need to enhance       /       /
                                                                                 national energy security     sam.g www.
       Department of Agriculture             10.322   Distance Education         with purpose
                                                                                 The  biobasedofenergy
                                                                                                   the                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Grants for Institutions of DEG program is to            /       /
                                                      Higher Education in        strengthen the capacity      sam.g www.
       Department of Agriculture             10.326   Insular Areas
                                                      Capacity  Building for     of institutions
                                                                                 To              of higher
                                                                                     assist the NLGCA                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Non-Land Grant            Institutions in               /       /
                                                      Colleges of Agriculture   maintaining and               sam.g www.
       Department of Agriculture             10.328   (NLGCA)
                                                      Food Safety Outreach      expanding
                                                                                The Nationaltheir
                                                                                                Food          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program                  Safety Training,               /       /
                                                                               Education, Extension,          sam.g www.
                                                                               Outreach, and Technical        ov/fal/ usasp
       Department of Agriculture             10.329   Crop Protection and      The purpose of the             https:/ https:/
                                                      Pest Management          Crop Protection and            /       /
                                                      Competitive Grants       Pest Management                sam.g www.
       Department of Agriculture             10.330   Program
                                                      Alfalfa Seed and Alfalfa (CPPM)
                                                                               To improveprogram
                                                                                            alfalfa and       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Forage Systems           forage yield and seed          /       /
                                                      Program                  yield of crops grown for       sam.g www.
       Department of Agriculture             10.331   Gus Schumacher           propagation,
                                                                               The            improve
                                                                                    Gus Schumacher                    usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Nutrition Incentive    Nutrition Incentive              /       /
                                                      Program                Program (GusNIP)                 sam.g www.
                                                                             allows the Secretary to          ov/fal/ usasp
       Department of Agriculture             10.332   Agricultural Genome to The National Institute of        https:/ https:/
                                                      Phenome Initiative     Food and                         /       /
                                                                             Agricultureâ€™s                  sam.g www.
       Department of Agriculture             10.333   Urban, Indoor, and     Agricultural Genome to
                                                                             To make competitive              ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Other Emerging            grants in support of          /       /
                                                      Agricultural Production   research, education,          sam.g www.
                                                      Research, Education,      and extension activities      ov/fal/ usasp
       Department of Agriculture             10.334   Enhancing Agricultural    The Enhancing                 https:/ https:/
                                                      Opportunities for         Agricultural                  /       /
                                                      Military Veterans         Opportunities for             sam.g www.
       Department of Agriculture             10.336   Competitive  Grants
                                                      Veterinary Services       Military Veterans
                                                                                The purpose   of the          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Grant Program           Veterinary Services        /       /




A122
                                                                              Grant Program (VSGP) sam.g www.
       Department of Agriculture             10.342   Conservation and        is to relieve
                                                                              This  program veterinarian
                                                                                              has two    ov/fal/ usasp
                                                                                                         https:/ https:/
                                                      Urban Resources         parts:                     /       /
                                                      Extension               1.) Capacity Assistance    sam.g   www.
                                                                              â€“ Urban Agriculture      ov/fal/ usasp
       Department of Agriculture             10.350   Technical Assistance to To develop and             https:/ https:/
                                                      Cooperatives            administer research,       /       /
                                                                              technical assistance,      sam.g www.
       Department of Agriculture             10.351   Rural Business          statistical, and           ov/fal/
                                                                              To promote sustainable https:/ usasp
                                                                                                                 https:/
                                                      Development Grant         economic development          /       /
                                                                                and facilitate the            sam.g www.
                                                                                development of small          ov/fal/ usasp
       Department of Agriculture             10.352   Value-Added Producer      To help agricultural          https:/ https:/
                                                      Grants                    producers enter into          /       /
                                                                                value-added activities        sam.g www.
       Department of Agriculture             10.376   Biobased Market           related
                                                                                The program
                                                                                        to the provides       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Development and        grants for domestic              /       /
                                                      Access Grant Program Integrated                         sam.g www.
       Department of Agriculture             10.377   (BDAP)
                                                      Agriculture Innovation Demonstration
                                                                             The purpose of Units
                                                                                             this                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Center Demonstration program is to establish            /       /
                                                      Program                and operate Agriculture          sam.g www.
                                                                             Innovation Centers that          ov/fal/ usasp
       Department of Agriculture             10.378   Biofuel Producer       The Biofuel Producer             https:/ https:/
                                                      Program                Program will make                /       /
                                                                             payments to eligible             sam.g www.
       Department of Agriculture             10.380   Food Supply Chain      biofuel
                                                                             The Foodproducers for
                                                                                        Supply Chain          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Guaranteed Loan           Guaranteed Loan               /       /
                                                      Program                   Program will make loan        sam.g www.
       Department of Agriculture             10.381   Meat and Poultry          guarantees
                                                                                USDA       to lenders
                                                                                      is making  grant                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Processing Expansion      funding available to          /       /
                                                      Program                   meat and poultry              sam.g www.
                                                                                processors for start-up       ov/fal/ usasp
       Department of Agriculture             10.382   Meat and Poultry          Grants can be made to         https:/ https:/
                                                      Intermediary Lending      intermediaries to             /       /
                                                      Program                   facilitate financing to       sam.g www.
       Department of Agriculture             10.383   Fertilizer Product        qualified
                                                                                The        ultimate
                                                                                      purpose   of FPEP is            usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Expansion Program         to expand capacity,           /       /
                                                                                improve competition,          sam.g www.
                                                                                and increase supply           ov/fal/ usasp
       Department of Agriculture             10.384   Indigenous Animals        This program will             https:/ https:/
                                                      Harvesting and Meat       provide funds to Tribal       /       /
                                                      Processing Grant          governments as defined        sam.g www.
       Department of Agriculture             10.385   Program
                                                      Timber Production         by
                                                                                Thethe Federally
                                                                                     TPEP  will provide       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Expansion Guaranteed financial assistance               /       /
                                                      Loans                through loan                       sam.g www.
       Department of Agriculture             10.404   Emergency Loans      guarantees
                                                                           FSA  providesto lenders                    usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                                emergency loans to            /       /
                                                                                help producers recover        sam.g www.
                                                                                from production and           ov/fal/ usasp
       Department of Agriculture             10.405   Farm Labor Housing        To provide decent, safe,      https:/ https:/
                                                      Loans and Grants          and sanitary low-rent         /       /
                                                                                housing and related           sam.g www.
       Department of Agriculture             10.406   Farm Operating Loans      facilities
                                                                                The           domestic
                                                                                      FarmforService                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      and Loan Guarantees  Agency (FSA) offers                /       /
                                                                           direct and guaranteed              sam.g www.
                                                                           loans to farmers and               ov/fal/ usasp
       Department of Agriculture             10.407   Farm Ownership Loans To assist farmers and              https:/ https:/
                                                      and Loan Guarantees ranchers become                     /       /
                                                                           owner-operators of                 sam.g www.
       Department of Agriculture             10.410   Very Low to Moderate family farms,
                                                                           To assist veryimprove
                                                                                          low, low-           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Income Housing Loans income, and moderate-              /       /
                                                      and Loan Guarantees income households to                sam.g www.
       Department of Agriculture             10.411   Rural Housing Site   obtain
                                                                           To     modest,
                                                                              assist public decent,
                                                                                            or                        usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Loans and Self Help       private nonprofit             /       /
                                                      Housing Land              organizations interested      sam.g www.
                                                      Development Loans         in providing sites for        ov/fal/ usasp
       Department of Agriculture             10.415   Rural Rental Housing      To provide economically       https:/ https:/
                                                      Loans                     designed and                  /       /
                                                                                constructed rental and        sam.g www.
       Department of Agriculture             10.417   Very Low-Income           cooperative
                                                                                Section  504 housing
                                                                                             loans and                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Housing Repair Loans     grants are intended to         /       /
                                                      and Grants               help very low-income           sam.g www.
       Department of Agriculture             10.420   Rural Self-Help Housing owner-occupants
                                                                               Self-Help Technical in         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Technical Assistance     Assistance Grants              /     /
                                                                               provide financial              sam.g www.
       Department of Agriculture             10.421   Indian Tribes and Tribal assistance  to qualified
                                                                               To assist Indian         ov/fal/
                                                                                                tribes to
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                      Corporation Loans       become owners of          /       /
                                                                              additional property       sam.g www.
       Department of Agriculture             10.427                           within
                                                      Rural Rental Assistance To     the reservation
                                                                                 reduce   the tenant to ov/fal/ usasp
                                                                                                        https:/ https:/
                                                      Payments                contribution paid by      /       /
                                                                              low-income families       sam.g www.
                                                                              occupying eligible Rural ov/fal/ usasp




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       Department of Agriculture             10.433   Rural Housing          To assist very low- and          https:/ https:/
                                                      Preservation Grants    low-income rural                 /       /
                                                                             residents individual             sam.g www.
       Department of Agriculture             10.435                          homeowners,
                                                      State Mediation Grants To             rental
                                                                                assist States  in                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                             establishing and                 /       /
                                                                             administering mediation          sam.g www.
       Department of Agriculture             10.438   Section 538 Rural      programs
                                                                             This program    services
                                                                                        andhas   been         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Rental Housing             designed to increase         /       /
                                                      Guaranteed Loans           the supply of affordable     sam.g www.
                                                                                 multifamily housing in       ov/fal/ usasp
       Department of Agriculture             10.443   Outreach and               The overall goal of the      https:/ https:/
                                                      Assistance for Socially    2501 Program is to           /       /
                                                      Disadvantaged and          encourage and assist         sam.g www.
       Department of Agriculture             10.446   Veteran
                                                      Rural   Farmers and
                                                            Community            socially
                                                                                 To       disadvantaged
                                                                                    develop   the capacity            usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Development Initiative     and ability of private,      /       /
                                                                                 nonprofit community-         sam.g www.
       Department of Agriculture             10.447   Rural Multi-Family      based  housing
                                                                              To preserve  andand             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Housing Revitalization revitalize existing rural        /       /
                                                      Demonstration Program rental housing and farm           sam.g www.
                                                      (MPR)                   labor housing projects          ov/fal/ usasp
       Department of Agriculture             10.448   Rural Development       The Rural Housing               https:/ https:/
                                                      Multi-Family Housing    Voucher Demonstration           /       /
                                                      Rural Housing Voucher program is designed to            sam.g www.
       Department of Agriculture             10.449   Program
                                                      Boll Weevil Eradication provide
                                                                              To assistrental housing
                                                                                        producers  and        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Loan Program               state government             /       /
                                                                                 agencies in the              sam.g www.
                                                                                 eradication of boll          ov/fal/ usasp
       Department of Agriculture             10.450   Crop Insurance             Risk Management              https:/ https:/
                                                                                 Agencyâ€™s (RMA)             /       /
                                                                                 mission is serving           sam.g www.
       Department of Agriculture             10.451   Noninsured Crop            Americaâ€™s
                                                                                 To provide financial                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Disaster Assistance    assistance to producers          /       /
                                                      Program                of non-insurable crops           sam.g www.
       Department of Agriculture             10.460   Risk Management        when  low yields,
                                                                             To deliver trainingloss
                                                                                                  andof       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Education Partnerships information as well as           /       /
                                                                             outreach activities in the       sam.g www.
                                                                             management of                    ov/fal/ usasp
       Department of Agriculture             10.461   Pandemic Cover Crop Agricultural producers              https:/ https:/
                                                      Program                who have coverage                /       /
                                                                             under most crop                  sam.g www.
       Department of Agriculture             10.462   Transitional and       insurance
                                                                             Agriculturepolicies  are
                                                                                          producers           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Organic Grower         who have crop                    /       /
                                                      Assistance Program     insurance coverage on            sam.g www.
                                                                             crops in transition to           ov/fal/ usasp
       Department of Agriculture             10.464   Socially Disadvantaged The Policy Research              https:/ https:/
                                                      Farmers and Ranchers Center was established             /       /
                                                      Policy Research Center to collect, analyze, and         sam.g www.
       Department of Agriculture             10.466   Minority-Serving       evaluate
                                                                             The  objective
                                                                                       data of
                                                                                             to this                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Institutions Partnership program is to             /       /
                                                                               strengthen the            sam.g www.
       Department of Agriculture             10.467   Student Internship       partnership
                                                                               To increase between   the ov/fal/
                                                                                             the number  https:/ usasp
                                                                                                                 https:/
                                                      Programs                 of students studying      /       /
                                                                               agriculture, food,        sam.g www.
                                                                               natural resources,        ov/fal/ usasp
       Department of Agriculture             10.475   Cooperative              To supply Federal         https:/ https:/
                                                      Agreements with States assistance to States        /       /
                                                      for Intrastate Meat and desiring to operate a      sam.g www.
       Department of Agriculture             10.477   Poultry  Inspection
                                                      Meat, Poultry,  and Egg meat   and poultry
                                                                               To assure  that all meat, ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                      Products Inspection        poultry and egg          /       /
                                                                                 products produced in     sam.g www.
       Department of Agriculture             10.479   Food Safety                plants
                                                                                 To  reduce  shipped
                                                                                        and the       in
                                                                                                incidence ov/fal/ usasp
                                                                                                          https:/ https:/
                                                      Cooperative                of foodborne illnesses   /       /
                                                      Agreements                 associated with meat,    sam.g www.
       Department of Agriculture             10.494   Multi-Family Housing       poultry, and
                                                                                 Provides  grants
                                                                                              egg to              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                      Non-Profit Transfer        qualified nonprofits (NP) /       /
                                                      Technical Assistance       and public housing        sam.g www.
       Department of Agriculture             10.495   Grants
                                                      Farm Labor Housing         authorities (PHA)
                                                                                 Provide grant      which
                                                                                                funds  to  ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                      Technical Assistance       qualified private and     /       /
                                                      Grants                     public nonprofit (NP)     sam.g www.
                                                                                 agencies to provide       ov/fal/ usasp
       Department of Agriculture             10.500   Cooperative Extension      The Cooperative           https:/ https:/
                                                      Service                    Extension Service         /       /
                                                                                 (CES) has an important sam.g www.
       Department of Agriculture             10.511   Smith-Lever Extension      role
                                                                                 The in  reducing the
                                                                                      Smith-Lever          ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                      Funding                    Special Needs                /       /
                                                                                 Competitive Grants           sam.g www.
       Department of Agriculture             10.512   Extension Services at      Program
                                                                                 The      (SLSNCGP),
                                                                                     purpose of this                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      1890 Colleges and          funding is to support        /       /
                                                      Tuskegee University,       agricultural and forestry    sam.g www.
                                                      West Virginia State        extension activities at      ov/fal/ usasp
       Department of Agriculture             10.513   Facility Improvements      1890 Facilities Grants       https:/ https:/
                                                      at 1890 Facilities (Sec.   Program provides             /       /
                                                      1447)                      funding for                  sam.g www.
       Department of Agriculture             10.514   Expanded Food and          the acquisition
                                                                                 The  purpose ofand
                                                                                                  this        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Nutrition Education     funding is to increase          /       /
                                                      Program                 the impact of nutrition         sam.g www.
                                                                              education disseminated          ov/fal/ usasp
       Department of Agriculture             10.515   Renewable Resources     The goal of this                https:/ https:/
                                                      Extension Act           program is to support           /       /
                                                                              extension activities            sam.g www.
       Department of Agriculture             10.516   Rural Health and Safety designed
                                                                              The RuraltoHealth
                                                                                           assistand          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Education Competitive      Safety RHSE program          /       /




A123
                                                      Grants Program             addresses the health         sam.g www.
       Department of Agriculture             10.517   Tribal Colleges            and well-being
                                                                                 The             of rural
                                                                                     Tribal College                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Extension Programs         Extension Program            /       /
                                                                                 supports the 1994            sam.g www.
                                                                                 Land-Grants to create        ov/fal/ usasp
       Department of Agriculture             10.518   Food Animal Residue        The purpose of the           https:/ https:/
                                                      Avoidance Databank         FARAD is to provide          /       /
                                                                                 livestock producers,         sam.g www.
       Department of Agriculture             10.519   Equipment Grants           extension  specialists,
                                                                                 The Equipment   Grants       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program (EGP)        Program (EGP) serves               /       /
                                                                           to increase access to              sam.g www.
                                                                           shared-use special                 ov/fal/ usasp
       Department of Agriculture             10.520   Agriculture Risk     To establish a                     https:/ https:/
                                                      Management Education competitive grants                 /       /
                                                      Partnerships         program for the purpose            sam.g www.
       Department of Agriculture             10.521   Competitive  Grants
                                                      Children, Youth and  of
                                                                           To educating agricultural
                                                                               marshal resources  of          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Families At-Risk           the Land-grant               /       /
                                                                                 Institutions (LGIs) and      sam.g www.
       Department of Agriculture             10.522   Food and Agriculture       Cooperative
                                                                                 The   purposesExtension
                                                                                                 of the               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Service Learning           Program are-                 /       /
                                                      Program                    (1) to increase capacity     sam.g www.
                                                                                 for food, garden, and        ov/fal/ usasp
       Department of Agriculture             10.523   Centers of Excellence      The Centers of               https:/ https:/
                                                      at 1890 Institutions       Excellence at 1890           /       /
                                                                                 Institutions Program will    sam.g www.
       Department of Agriculture             10.524   Scholarships for           establish  new federally-
                                                                                 The Scholarships   for       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Students at 1890           students at 1890             /       /
                                                      Institutions               Institutions program         sam.g www.
       Department of Agriculture             10.525   Farm and Ranch Stress The authorized
                                                                            was purpose    of by
                                                                                              the                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Assistance Network    Farm and Ranch Stress             /       /
                                                      Competitive Grants    Assistance Network                sam.g www.
                                                      Program               (FRSAN) Program is to             ov/fal/ usasp
       Department of Agriculture             10.527   New Beginning for     The purpose of the                https:/ https:/
                                                      Tribal Students       NBTS grant program,               /       /
                                                                            Assistance Listing                sam.g www.
       Department of Agriculture             10.528                         10.527,
                                                      USDA WIC Telehealth The       is to increase
                                                                                purpose    of the                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Evaluation                 Telehealth Intervention      /       /
                                                      Collaborative              Strategies for WIC           sam.g www.
                                                                                 (THIS-WIC) is to             ov/fal/ usasp
       Department of Agriculture             10.529   Food Distribution          The Food and Nutrition       https:/ https:/
                                                      Program on Indian          Service (FNS)                /       /
                                                      Reservations (FDPIR)       administers 15 Federal       sam.g www.
       Department of Agriculture             10.531   Nutrition
                                                      State Agency: Farm to      nutrition
                                                                                 The Farmassistance
                                                                                           to School          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      School Program             Cooperative Agreement        /       /
                                                      Training and Curricula     solicitation is open to      sam.g www.
       Department of Agriculture             10.532   School Nutrition           organizations
                                                                                 School           with
                                                                                          Nutrition                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Training Grants            Training Grant for Allied    /       /
                                                                                 Professional                 sam.g www.
                                                                                 Organizations funds will     ov/fal/ usasp
       Department of Agriculture             10.533   SNAP-Ed Toolkit            The Supplemental             https:/ https:/
                                                                                 Nutrition Education          /       /
                                                                                 (SNAP-Ed) Toolkit:           sam.g www.
       Department of Agriculture             10.535   SNAP Fraud                  - Hosts
                                                                                 The      a database
                                                                                      purpose  of the of              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Framework              SNAP Fraud                       /       /
                                                      Implementation Grant   Framework                        sam.g www.
                                                                             Implementation Grant             ov/fal/ usasp
       Department of Agriculture             10.537   Supplemental Nutrition These grants provide             https:/ https:/
                                                      Assistance Program     support to State                 /       /
                                                      (SNAP) Employment      agencies in developing           sam.g www.
       Department of Agriculture             10.539   and Training (E&T)
                                                      CNMI Nutrition         the
                                                                             Thecapacity
                                                                                 Nutritionto collect          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Assistance             Assistance Program               /       /
                                                                             (NAP) in the                     sam.g www.
       Department of Agriculture             10.540   Participant Research   Commonwealth
                                                                             The objective of of the
                                                                                              this                    usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Innovation Laboratory      opportunity was to           /       /
                                                      for Enhancing WIC          announce the                 sam.g www.
                                                      Services                   availability of funds to     ov/fal/ usasp
       Department of Agriculture             10.541   Child Nutrition-           The purpose of the           https:/ https:/
                                                      Technology Innovation      Child Nutrition Non-         /       /
                                                      Grant                      Competitive Technology       sam.g www.
       Department of Agriculture             10.542   Pandemic EBT Food          Innovation
                                                                                 The          Grants
                                                                                      objective   of the of           usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Benefits                   the Pandemic                 /     /
                                                                                 Electronic Benefit           sam.g www.
       Department of Agriculture             10.545   Farmersâ€™ Market          Transfer (P-EBT)
                                                                                 These funds  are            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Supplemental Nutrition     intended to support the /           /
                                                      Assistance Program         participation of            sam.g www.
       Department of Agriculture             10.551   Support
                                                      Supplemental
                                                              GrantsNutrition    farmersâ€™
                                                                                 SNAP Benefits:  markets  in ov/fal/
                                                                                                    Improve  https:/ usasp
                                                                                                                     https:/
                                                      Assistance Program         nutrition of eligible low- /        /
                                                                                 income households by        sam.g www.
       Department of Agriculture             10.553   School Breakfast           ensuring
                                                                                 To  assist access
                                                                                            States into              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Program                    implementing a               /       /
                                                                                 nutritious nonprofit         sam.g www.
                                                                                 breakfast service for        ov/fal/ usasp




                                                                                                                                5
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       Department of Agriculture             10.555   National School Lunch     To assist States,             https:/ https:/
                                                      Program                   through cash grants           /       /
                                                                                and food donations, in        sam.g www.
       Department of Agriculture             10.556   Special Milk Program      providing
                                                                                To provideasubsidies
                                                                                            nutritious to             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      for Children              schools and institutions      /       /
                                                                                to encourage the              sam.g www.
       Department of Agriculture             10.557   WIC Special               consumption   of fluid
                                                                                To provide income-            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Supplemental Nutrition    eligible pregnant,            /       /
                                                      Program for Women,        breastfeeding and             sam.g www.
                                                      Infants, and Children     postpartum women,             ov/fal/ usasp
       Department of Agriculture             10.558   Child and Adult Care      To assist States,             https:/ https:/
                                                      Food Program              through grants-in-aid         /       /
                                                                                and other means, to           sam.g www.
       Department of Agriculture             10.559   Summer Food Service       initiate
                                                                                The      and maintain
                                                                                      United States                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program for Children      Department of                 /       /
                                                                                Agriculture (USDA)            sam.g www.
       Department of Agriculture             10.560   State Administrative      operates
                                                                                To provideSFSP
                                                                                           eachinState        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Expenses for Child      agency with funds for its       /       /
                                                      Nutrition               administrative expenses         sam.g www.
                                                                              in supervising and              ov/fal/ usasp
       Department of Agriculture             10.561   State Administrative    SNAP State                      https:/ https:/
                                                      Matching Grants for the Administrative                  /       /
                                                      Supplemental Nutrition Expenses: Provide                sam.g www.
       Department of Agriculture             10.565   Assistance
                                                      Commodity  Program      Federal financial
                                                                              To improve  the health of       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Supplemental Food        low-income elderly             /       /
                                                      Program                  persons at least 60            sam.g www.
                                                                               years of age by                ov/fal/ usasp
       Department of Agriculture             10.566   Nutrition Assistance For An alternative to the          https:/ https:/
                                                      Puerto Rico              Special Nutrition              /       /
                                                                               Assistance Program             sam.g www.
       Department of Agriculture             10.567   Food Distribution        (SNAP)
                                                                               The  Food  provide
                                                                                       to Distribution                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program on Indian         Program on Indian             /       /
                                                      Reservations              Reservations (FDPIR)          sam.g www.
       Department of Agriculture             10.568   Emergency Food            is  nutrition
                                                                                Toahelp       assistance
                                                                                        supplement   the      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Assistance Program        diets of low-income           /       /
                                                      (Administrative Costs)    persons by making             sam.g www.
                                                                                funds available to            ov/fal/ usasp
       Department of Agriculture             10.569   Emergency Food            To help supplement the        https:/ https:/
                                                      Assistance Program        diets of low-income           /       /
                                                      (Food Commodities)        persons by making             sam.g www.
       Department of Agriculture             10.572   WIC Farmers' Market       USDA   Foods available
                                                                                The purposes    of the        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Nutrition Program         WIC Farmersâ€™                /       /
                                                      (FMNP)                    Market Nutrition              sam.g www.
                                                                                Program (FMNP) are:           ov/fal/ usasp
       Department of Agriculture             10.574   Team Nutrition Grants     The goal of the Fiscal        https:/ https:/
                                                                                Year(FY) 2024 Team            /       /
                                                                                Nutrition Training            sam.g www.
       Department of Agriculture             10.575   Farm to School Grant      Grants
                                                                                The  Farm   Meal
                                                                                        for to    Pattern
                                                                                               School                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program               program exists in order           /       /
                                                                            to assist eligible                sam.g www.
       Department of Agriculture             10.576   Senior Farmers Market entities, through
                                                                            The purposes     of grants
                                                                                                the           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Nutrition Program     Senior Farmersâ€™                 /       /
                                                                            Market Nutrition                  sam.g www.
                                                                            Program (SFMNP) are               ov/fal/ usasp
       Department of Agriculture             10.577   SNAP Partnership      The purpose of the                https:/ https:/
                                                      Grant                 SNAP Partnership                  /       /
                                                                            grants is to establish            sam.g www.
       Department of Agriculture             10.578   WIC Grants To States interstate
                                                                            To assist WIC
                                                                                        data State            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      (WGS)                     agencies, through             /       /
                                                                                grants and cooperative        sam.g www.
       Department of Agriculture             10.579   Child Nutrition           agreements,
                                                                                National     in making
                                                                                         School Lunch                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Discretionary Grants   Program (NSLP)                   /       /
                                                      Limited Availability   Equipment Assistance             sam.g www.
       Department of Agriculture             10.580                          Grants
                                                      Supplemental Nutrition The  purpose
                                                                                     are of these                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Assistance Program,    grants is to support             /       /
                                                      Process and            efforts by State                 sam.g www.
       Department of Agriculture             10.582   Technology
                                                      Fresh Fruit and        agencies   and their
                                                                             To assist States,                ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Vegetable Program         through cash grants, in       /       /
                                                                                providing free fresh          sam.g www.
                                                                                fruits and vegetables to      ov/fal/ usasp
       Department of Agriculture             10.585   FNS Food Safety           The Food and Nutrition        https:/ https:/
                                                      Grants                    Serviceâ€™s Food              /       /
                                                                                Safety Branch provides        sam.g www.
       Department of Agriculture             10.587   National Food Service     funding  to support
                                                                                The Institute       its
                                                                                              of Child        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Management Institute      Nutrition (ICN), formerly /       /
                                                      Administration and        known as the National     sam.g www.
       Department of Agriculture             10.593   Staffing
                                                      Bill Emerson
                                                               GrantNational           Service
                                                                                FoodBill
                                                                                The      Emerson          ov/fal/ usasp
                                                                                                          https:/ https:/
                                                      Hunger Fellows and        Hunger Fellowship         /       /
                                                      Mickey Leland             Program is to address     sam.g www.
                                                      International Hunger      hunger and poverty in     ov/fal/ usasp
       Department of Agriculture             10.594   Food Distribution         The Food Distribution     https:/ https:/
                                                      Program on Indian         Program Nutrition         /       /
                                                      Reservations Nutrition    Education grant offered sam.g www.
       Department of Agriculture             10.600   Education  Grants
                                                      Foreign Market            funding  totaling
                                                                                FMD award recipients      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      Development           will implement various            /       /
                                                      Cooperator Program    market development                sam.g www.
                                                                            activities in foreign             ov/fal/ usasp
       Department of Agriculture             10.601   Market Access Program MAP award recipients              https:/ https:/
                                                                            will implement various            /       /
                                                                            market development                sam.g www.
       Department of Agriculture             10.603   Emerging Markets      activities
                                                                            The primaryin foreign
                                                                                           objective of       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program                   the Emerging Markets          /       /




A124
                                                                                Program is to promote,        sam.g www.
       Department of Agriculture             10.604                            enhance,
                                                      Technical Assistance for The  TASCorprogram
                                                                                            expandisthe               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Specialty Crops          designed to assist U.S.        /       /
                                                      Program                  organizations by               sam.g www.
                                                                               providing funding for          ov/fal/ usasp
       Department of Agriculture             10.605   Quality Samples          The Quality Samples            https:/ https:/
                                                      Program                  Program is designed to         /       /
                                                                               encourage the                  sam.g www.
       Department of Agriculture             10.606   Food for Progress        development
                                                                               In order to useand
                                                                                               the food       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                resources of the United       /       /
                                                                                States more effectively       sam.g www.
                                                                                in support of developing      ov/fal/ usasp
       Department of Agriculture             10.608   Food for Education        The key objective of the      https:/ https:/
                                                                                McGovern-Dole                 /       /
                                                                                Program is to reduce          sam.g www.
       Department of Agriculture             10.610   Export Guarantee          hunger and
                                                                                The U.S. Department
                                                                                            improve of        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program                 Agriculture's (USDA)    /       /
                                                                              Export Credit guarantee sam.g www.
       Department of Agriculture             10.612   USDA Local and                    (GSM-102)
                                                                              Program the
                                                                              Through       Local and ov/fal/ usasp
                                                                                                      https:/ https:/
                                                      Regional Food Aid       Regional Food Aid       /       /
                                                      Procurement Program     Procurement (LRP)       sam.g www.
                                                                              Program, FAS partners ov/fal/ usasp
       Department of Agriculture             10.613   Faculty Exchange        The Faculty Exchange    https:/ https:/
                                                      Program                 Program is intended to /        /
                                                                              improve the teaching    sam.g www.
       Department of Agriculture             10.615                           and pedagogical
                                                      Pima Agriculture Cotton The Pima Agriculture    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                      Trust Fund            Cotton Trust Fund was             /       /
                                                                            established to reduce             sam.g www.
       Department of Agriculture             10.616   Agriculture Wool      the
                                                                            Theinjury to domestic
                                                                                Agriculture  Wool                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Apparel Manufacturers Apparel Manufacturers             /       /
                                                      Trust Fund            Trust Fund was                    sam.g www.
                                                                            established to reduce             ov/fal/ usasp
       Department of Agriculture             10.617   PL-480 Market         Uses available foreign            https:/ https:/
                                                      Development and       currencies repaid to the          /       /
                                                      Technical Assistance  United States to provide          sam.g www.
       Department of Agriculture             10.618   Regional Agricultural assistance
                                                                            The         in the
                                                                                 Regional                             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Promotion Program          Agricultural Promotion       /       /
                                                                                 Program (RAPP) is            sam.g www.
                                                                                 available to nonprofit       ov/fal/ usasp
       Department of Agriculture             10.619   International Agricultural The program provides         https:/ https:/
                                                      Education Fellowship       fellowships to citizens of   /       /
                                                      Program                    the United States to         sam.g www.
       Department of Agriculture             10.620   Scientific Exchanges       assist eligible countries
                                                                                 The Scientific  Exchange     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program                   Program promotes           /       /
                                                                                trade, trade policy, trade sam.g www.
       Department of Agriculture             10.621   Assisting Specialty       capacity
                                                                                ASCE      building, and
                                                                                        addresses          ov/fal/ usasp
                                                                                                           https:/ https:/
                                                      Crop Exports              barriers unique to         /       /
                                                                                specialty crops exports. sam.g www.
                                                                                It supports projects that ov/fal/ usasp
       Department of Agriculture             10.622   Food for Opportunity      The objective of FFO is https:/ https:/
                                                                                to complement existing /           /
                                                                                food assistance            sam.g www.
       Department of Agriculture             10.645   Farm to School State      programming,
                                                                                To              which
                                                                                    provide funding  for           usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                      Formula Grant             state operated farm to        /       /
                                                                                school programs to            sam.g www.
                                                                                further strengthen food       ov/fal/ usasp
       Department of Agriculture             10.646   Summer Electronic         Summer EBT is a               https:/ https:/
                                                      Benefit Transfer          Federally-assisted            /       /
                                                      Program for Children      program through which         sam.g www.
       Department of Agriculture             10.649   Pandemic EBT              participating States and
                                                                                To provide Federal            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Administrative Costs      financial participation to    /       /
                                                                                State agencies and            sam.g www.
       Department of Agriculture             10.652   Forestry Research               entities for
                                                                                localForestry
                                                                                The                costs
                                                                                                Research              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                                program funds a wide          /       /
                                                                                range of research             sam.g www.
                                                                                activities aimed at           ov/fal/ usasp
       Department of Agriculture             10.664   Cooperative Forestry      With respect to               https:/ https:/
                                                      Assistance                nonfederal forest and         /       /
                                                                                other rural lands to          sam.g www.
       Department of Agriculture             10.665   Schools and Roads -       assist
                                                                                To sharein the
                                                                                            receipts from             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Grants to States          the National Forests          /     /
                                                                                and supplemental              sam.g www.
       Department of Agriculture             10.666   Schools and Roads -       mandatory
                                                                                To share receipts from    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      Grants to Counties        the National Grasslands /         /
                                                                                and Land Utilization      sam.g www.
       Department of Agriculture             10.674   Wood Utilization          Projects
                                                                                Provide direct   with the ov/fal/
                                                                                          (LUP)technical  https:/ usasp
                                                                                                                  https:/
                                                      Assistance                assistance to Forest      /       /
                                                                                Service, state foresters, sam.g www.
       Department of Agriculture             10.675   Urban and Community       tribes,
                                                                                To  planpublic and
                                                                                         for, establish,          usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                      Forestry Program          manage and protect            /       /
                                                                                trees, forests, green         sam.g www.
                                                                                spaces and related            ov/fal/ usasp




                                                                                                                                6
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       Department of Agriculture             10.676   Forest Legacy Program To effectively identify          https:/ https:/
                                                                            and protect                      /       /
                                                                            environmentally                  sam.g www.
       Department of Agriculture             10.678   Forest Stewardship    important
                                                                            Using  existing   areas
                                                                                       forestState,        ov/fal/ usasp
                                                                                                           https:/ https:/
                                                      Program                    Federal, and private      /       /
                                                                                 sector forestry experts, sam.g www.
       Department of Agriculture             10.679   Collaborative Forest       promote  and enable
                                                                                 The purposes   of the the ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                      Restoration                grants are: to promote    /       /
                                                                                 healthy watersheds and sam.g www.
                                                                                 reduce the threat of      ov/fal/ usasp
       Department of Agriculture             10.680   Forest Health              Protect and manage        https:/ https:/
                                                      Protection                 non-Federal forest and /          /
                                                                                 tree resources from       sam.g www.
       Department of Agriculture             10.681   Wood Education and         damaging
                                                                                 To provide forest
                                                                                             technical             usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                      Resource Center            assistance and funds,       /       /
                                                      (WERC)                     on a cost-share basis,      sam.g www.
       Department of Agriculture             10.682   National Forest            for
                                                                                 Theprojects
                                                                                     purposesthatof the      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Foundation                 National Forest             /       /
                                                                                 Foundation are to           sam.g www.
                                                                                 encourage, accept, and      ov/fal/ usasp
       Department of Agriculture             10.683   National Fish and          Created by Congress in      https:/ https:/
                                                      Wildlife Foundation        1984, National Fish and     /       /
                                                                                 Wildlife Foundation         sam.g www.
       Department of Agriculture             10.684   International Forestry     (NFWF)
                                                                                 To extend directs
                                                                                             Forestpublic    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Programs              Service efforts to               /       /
                                                                            improve forest policies          sam.g www.
                                                                            and practices                    ov/fal/ usasp
       Department of Agriculture             10.689   Community Forest and The Community Forest              https:/ https:/
                                                      Open Space            Program (CFP) is a               /       /
                                                      Conservation Program competitive grant                 sam.g www.
       Department of Agriculture             10.690   (CFP)
                                                      Lake Tahoe Erosion    program
                                                                            To make that  provides
                                                                                     annual                          usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Control Grant Program payments to the                  /       /
                                                                            governing bodies of              sam.g www.
       Department of Agriculture             10.691   Good Neighbor         each of the
                                                                            To permit   political
                                                                                      the head of            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Authority                any state agency              /       /
                                                                               (including the                sam.g www.
                                                                               Commonwealth of               ov/fal/ usasp
       Department of Agriculture             10.693   Watershed Restoration To enter into domestic           https:/ https:/
                                                      and Enhancement          cooperative agreements        /       /
                                                      Agreement Authority      with willing participants     sam.g www.
       Department of Agriculture             10.694   Southwest Forest         for
                                                                               (1) the protection,
                                                                                   To enhance    the         ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Health and Wildfire      capacity to develop,          /       /
                                                      Prevention               transfer, apply, monitor,     sam.g www.
                                                                               and regularly update          ov/fal/ usasp
       Department of Agriculture             10.697   State & Private Forestry Reduce the risk of            https:/ https:/
                                                      Hazardous Fuel           catastrophic wildfire to      /       /
                                                      Reduction Program        communities and the           sam.g www.
       Department of Agriculture             10.698                            environment
                                                      State & Private Forestry With  respect through
                                                                                             to                      usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Cooperative Fire       nonfederal forest and           /       /
                                                      Assistance             other rural lands to            sam.g www.
       Department of Agriculture             10.699   Partnership Agreements assist in the control of
                                                                             To increase                     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                                             participation of non-           /       /
                                                                             federal cooperators in          sam.g www.
                                                                             all authorized Forest           ov/fal/ usasp
       Department of Agriculture             10.700   National Agricultural  To serve as the Nation's        https:/ https:/
                                                      Library                Chief Agricultural              /       /
                                                                             information resource by         sam.g www.
       Department of Agriculture             10.701   Stewardship            providing
                                                                             Stewardshipagricultural
                                                                                           End Result        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Agreements                 Contracting authorizes      /       /
                                                                                 use of contracts and        sam.g www.
       Department of Agriculture             10.702                            agreements
                                                      Alaska National Interest Through  a to help                    usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Lands Conservation Act multidisciplinary               /       /
                                                      (ANILCA) Agreements collaborative program,             sam.g www.
       Department of Agriculture             10.703   Cooperative Fire         identify
                                                                               To allowand  provide
                                                                                        reciprocal                   usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Protection Agreement       agreements with fire        /       /
                                                                                 organizations (as           sam.g www.
       Department of Agriculture             10.704   Law Enforcement            defined
                                                                                 Cooperative  USC
                                                                                         in 42work           ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Agreements                 between the Forest          /       /
                                                                                 Service with State and      sam.g www.
                                                                                 local law enforcement       ov/fal/ usasp
       Department of Agriculture             10.705   Cooperative Forest         Allows the Forest           https:/ https:/
                                                      Road Agreements            Service to work             /       /
                                                                                 cooperatively with          sam.g www.
       Department of Agriculture             10.706   Grey Towers                State,  county,
                                                                                 To promote   theor local    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Cooperative Authorities recreational and               /       /
                                                                              educational resources          sam.g www.
       Department of Agriculture             10.707                           of Milford,
                                                      Research Joint Venture To  increase                            usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      and Cost Reimbursable participation by partners        /       /
                                                      Agreements            in Agricultural rangeland        sam.g www.
                                                                            and forestry research            ov/fal/ usasp
       Department of Agriculture             10.708   Community Wood        Provide assistance to            https:/ https:/
                                                      Energy and Wood       supplement the capital           /       /
                                                      Innovation Program    costs 1) for installing a        sam.g www.
       Department of Agriculture             10.711   Forest Service 638    wood   energy
                                                                            The Forest     system
                                                                                         Service             ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Authority for Tribes       received authority for      /       /
                                                                                 demonstration projects      sam.g www.
                                                                                 with tribes and tribal      ov/fal/ usasp
       Department of Agriculture             10.712   Great American             The Great American          https:/ https:/
                                                      Outdoors Act Deferred      Outdoors Act (GAOA)         /       /
                                                      Maintenance Program        establishes a new fund      sam.g www.
       Department of Agriculture             10.714   Infrastructure             for
                                                                                 Thefive  years to address
                                                                                      Infrastructure         ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Investment and Job Act Investment and Jobs             /       /




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                                                      Joint Fire Science       Act (IIJA) establishes        sam.g www.
       Department of Agriculture             10.715   Program (Research & new
                                                      Infrastructure                funds to address
                                                                               The Infrastructure                    usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Investment and Jobs      Investment and Jobs           /       /
                                                      Act Collaborative Forest Act (IIJA) establishes        sam.g www.
                                                      Landscape Restoration new funds to address             ov/fal/ usasp
       Department of Agriculture             10.716   Infrastructure           The Infrastructure            https:/ https:/
                                                      Investment and Jobs      Investment and Jobs           /       /
                                                      Act Prescribed Fire/Fire Act (IIJA) establishes        sam.g www.
       Department of Agriculture             10.717   Recovery
                                                      Infrastructure           new  funds to address
                                                                               The Infrastructure            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Investment and Jobs        Investment and Jobs         /       /
                                                      Act Restoration/           Act (IIJA) establishes      sam.g www.
                                                      Revegetation               new funds to address        ov/fal/ usasp
       Department of Agriculture             10.718   Infrastructure             The Infrastructure          https:/ https:/
                                                      Investment and Jobs        Investment and Jobs         /       /
                                                      Act Capital                Act (IIJA) establishes      sam.g www.
       Department of Agriculture             10.719   Maintenance
                                                      Infrastructure and         new  funds to
                                                                                 To provide     address
                                                                                             financial       ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Investment and Jobs        assistance for the          /       /
                                                      Act Firewood Bank          operation of firewood       sam.g www.
       Department of Agriculture             10.720   Program
                                                      Infrastructure         banks
                                                                             With respect    support
                                                                                     and to to                       usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Investment and Jobs    nonfederal lands, to            /       /
                                                      Act Community Wildfire develop community               sam.g www.
                                                      Defense Grants         wildfire protection plans       ov/fal/ usasp
       Department of Agriculture             10.721   Infrastructure         Provide direct federal          https:/ https:/
                                                      Investment and Jobs    support to States and           /       /
                                                      Act Temporary Bridge   Indian Tribes to                sam.g www.
       Department of Agriculture             10.722   Program
                                                      Forest Service Reverse establish
                                                                             Provide federal
                                                                                        rental financial     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      911 Grant Program          assistance for the          /       /
                                                                                 establishment,              sam.g www.
       Department of Agriculture             10.723   Community Project          implementation
                                                                                 These            and
                                                                                        are specific                 usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Funds -                    projects selected by        /       /
                                                      Congressionally            Congress for funding        sam.g www.
                                                      Directed Spending          through the 2022            ov/fal/ usasp
       Department of Agriculture             10.724   Wildfire Crisis Strategy   In 2022, the Forest         https:/ https:/
                                                      Landscapes                 Service launched the        /       /
                                                                                 Wildfire Crisis Strategy    sam.g www.
       Department of Agriculture             10.725   Infrastructure and         to addresses
                                                                                 Provide        wildfire
                                                                                          financial                  usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Investment Jobs Act        assistance to facilities    /       /
                                                      Financial Assistance to    that purchase and           sam.g www.
                                                      Facilities that Purchase   process byproducts          ov/fal/ usasp
       Department of Agriculture             10.726   Opal Creek Wilderness      To provide funding to       https:/ https:/
                                                      Economic Grant             the State of Oregon to      /       /
                                                      Program                    establish an economic       sam.g www.
       Department of Agriculture             10.727   Inflation Reduction Act    development    grant
                                                                                 To plan for, establish,     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Urban & Community         manage and protect           /       /
                                                      Forestry Program          trees, forests, green        sam.g www.
       Department of Agriculture             10.728                             spaces
                                                      Inflation Reduction Act The    focus
                                                                                         andofrelated
                                                                                               this                  usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Hazardous Fuels           program is to support        /       /
                                                      Transportation            the hauling of material      sam.g www.
                                                      Assistance                removed to reduce            ov/fal/ usasp
       Department of Agriculture             10.729   Inflation Reduction Act - The focus of this            https:/ https:/
                                                      National Forest System program is for project          /       /
                                                                                work to be performed         sam.g www.
       Department of Agriculture             10.730   Community Project         on National
                                                                                These         Forest
                                                                                        are specific                 usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Funds -                   projects selected by         /       /
                                                      Congressionally           Congress for funding         sam.g www.
                                                      Directed Spending         through the                  ov/fal/ usasp
       Department of Agriculture             10.731   Inflation Reduction Act   To support competitive       https:/ https:/
                                                      Landscape Scale           grant programs in the        /       /
                                                      Restoration               following areas: 1)          sam.g www.
       Department of Agriculture             10.732   Bipartisan Infrastructure Provide  cost share to
                                                                                The Infrastructure           ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Law State, Private &       Investment and Jobs         /       /
                                                      Tribal Agreements          Act (IIJA) establishes      sam.g www.
       Department of Agriculture             10.733                             new and
                                                      Bipartisan Infrastructure This      supplemental
                                                                                     funding  program                usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Law â€“ Removal and works with partners to             /       /
                                                      Production of             better support long term     sam.g www.
                                                      Flammable Vegetation operations focused on             ov/fal/ usasp
       Department of Agriculture             10.734   Inflation Reduction Act - To effectively identify      https:/ https:/
                                                      Forest Legacy Program and protect                      /       /
                                                                                environmentally              sam.g www.
       Department of Agriculture             10.735   Reforestation of Non-     important forest
                                                                                Emphasis          areas
                                                                                           on expanding              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Federal Mined Land        existing partnerships        /       /
                                                                                and the creation of new      sam.g www.
       Department of Agriculture             10.736   Bipartisan Infrastructure ones  to initiate
                                                                                The intent         the
                                                                                             for this        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Act Nursery Vegetation program is to provide           /       /
                                                                                funding for state and        sam.g www.
       Department of Agriculture             10.737   Forest and Grassland tribal     entities
                                                                                Provide  supportto help
                                                                                                    for      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                      Collaboratives             forest or grassland         /       /
                                                                                 collaboratives in the       sam.g www.
       Department of Agriculture             10.751   Rural Energy Savings       accomplishment
                                                                                 The  Rural Energyof                 usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                      Program (RESP)             Savings Program             /       /
                                                                                 (RESP) provides loans       sam.g www.
                                                                                 to entities who provide     ov/fal/ usasp




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       Department of Agriculture             10.752   Rural eConnectivity      The ReConnect                  https:/ https:/
                                                      Pilot Program            Program provides               /       /
                                                                               loans, grants, and loan/       sam.g www.
       Department of Agriculture             10.754   Higher Blends                  combination
                                                                               grantHigher
                                                                               The          Blends                    usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Infrastructure Incentive Infrastructure Incentive       /       /
                                                      Program                  Program (HBIIP) is a           sam.g www.
       Department of Agriculture             10.755   Rural Innovation         new  program
                                                                               To help        that will
                                                                                        struggling            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Stronger Economy     communities by funding             /       /
                                                                           job accelerators in low-           sam.g www.
                                                                           income rural                       ov/fal/ usasp
       Department of Agriculture             10.757   Powering Affordable  The Powering                       https:/ https:/
                                                      Clean Energy (PACE) Affordable Clean                    /       /
                                                      Program              Energy (PACE)                      sam.g www.
       Department of Agriculture             10.758                        Program
                                                      New Empowering Rural RUS       is intended
                                                                                will utilize      to
                                                                                             the New                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      America (New ERA)         ERA funds to assist           /       /
                                                      Program                   eligible entities to          sam.g www.
       Department of Agriculture             10.759   Part 1774 Special         achieve
                                                                                To makethe greatest           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Evaluation Assistance     predevelopment                /       /
                                                      for Rural Communities     planning grants for           sam.g www.
                                                      and Households            feasibility studies,          ov/fal/ usasp
       Department of Agriculture             10.760   Water and Waste           Provide loan and grant        https:/ https:/
                                                      Disposal Systems for      funds for water and           /       /
                                                      Rural Communities         waste projects serving        sam.g www.
       Department of Agriculture             10.761   Water and Waste           the
                                                                                Annual
                                                                                    mostTATfinancially
                                                                                              - To identify   ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Technical Assistance and evaluate solutions             /       /
                                                      and Training Grants  to water and waste                 sam.g www.
                                                                           disposal problems in               ov/fal/ usasp
       Department of Agriculture             10.762   Solid Waste          The objectives of the              https:/ https:/
                                                      Management Grants    program are to reduce              /       /
                                                                           or eliminate pollution of          sam.g www.
       Department of Agriculture             10.763   Emergency Community The     resources
                                                                           waterobjective    and
                                                                                          of the                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Water Assistance     ECWAG program is to                /       /
                                                      Grants               assist the residents of            sam.g www.
       Department of Agriculture             10.766   Community Facilities rural
                                                                           To provide  that have
                                                                                 areas affordable             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Loans and Grants       funding either through           /       /
                                                                             loans or grants to               sam.g www.
                                                                             develop essential                ov/fal/ usasp
       Department of Agriculture             10.767   Intermediary Relending Establish revolving loan         https:/ https:/
                                                      Program                funds for the purpose of         /       /
                                                                             providing loans to               sam.g www.
       Department of Agriculture             10.768   Business and Industry ultimate  recipients
                                                                             The purpose   of thetoB&I        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Guaranteed Loans       Guaranteed Loan                  /       /
                                                                             Program is to improve,           sam.g www.
                                                                             develop, or finance              ov/fal/ usasp
       Department of Agriculture             10.770   Water and Waste        This program helps get           https:/ https:/
                                                      Grants and Loans and safe reliable drinking             /       /
                                                      Loan Guarantees        water and waste                  sam.g www.
       Department of Agriculture             10.771   (Section
                                                      Rural    306C)
                                                            Cooperative      disposal
                                                                             To improveservices
                                                                                         the to                       usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Development Grants         economic condition of        /       /
                                                                                 rural areas by assisting     sam.g www.
       Department of Agriculture             10.777   Norman E. Borlaug          individuals
                                                                                 Fellowshipsand
                                                                                              are             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      International Agricultural intended to promote          /       /
                                                      Science and                food security and            sam.g www.
                                                      Technology Fellowship economic growth in                ov/fal/ usasp
       Department of Agriculture             10.782   Appropriate Technology To provide diverse               https:/ https:/
                                                      Transfer for Rural Areas technical information          /       /
                                                                                 and educational              sam.g www.
       Department of Agriculture             10.850   Rural Electrification      resources  about
                                                                                 To assure that people in     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Loans and Loan            eligible rural areas have /        /
                                                      Guarantees                access to electric         sam.g www.
       Department of Agriculture             10.851   Rural                     services
                                                                                This      comparable
                                                                                      program   providesin ov/fal/ usasp
                                                                                                           https:/ https:/
                                                      Telecommunications        loans for the              /       /
                                                      Loans                     construction,              sam.g www.
       Department of Agriculture             10.854   Rural Economic            maintenance,
                                                                                The  Rural Economic                usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                      Development Loans         Development Loan and /            /
                                                      and Grants                Grant Programs provide sam.g www.
       Department of Agriculture             10.855   Distance Learning and     funding  for rural
                                                                                To encourage    and       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      Telemedicine Loans        improve the use of        /       /
                                                      and Grants                telemedicine,             sam.g www.
                                                                                telecommunications,       ov/fal/ usasp
       Department of Agriculture             10.858   Denali Commission         This program assists      https:/ https:/
                                                      Grants and Loans          the Denali Commission /           /
                                                                                in lowering the cost of   sam.g www.
       Department of Agriculture             10.859   Assistance to High        energy  for families
                                                                                The purpose    of thisand ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                      Energy Cost Rural         grant program is to           /       /
                                                      Communities               assure access to              sam.g www.
       Department of Agriculture             10.860   Rural Business            adequate
                                                                                To promoteand reliable
                                                                                            economic                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Investment Program        development and create        /       /
                                                                                wealth and job                sam.g www.
                                                                                opportunities among           ov/fal/ usasp
       Department of Agriculture             10.862   Rural Decentralized       To make grants to             https:/ https:/
                                                      Water Systems Grant       private, nonprofit            /       /
                                                      Program                   organizations to finance      sam.g www.
       Department of Agriculture             10.863   Community Connect         the construction,
                                                                                To encourage                  ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Grant Program             community-oriented            /       /
                                                                                connectivity by               sam.g www.
                                                                                providing grants to           ov/fal/ usasp
       Department of Agriculture             10.864   Grant Program to          This program helps            https:/ https:/
                                                      Establish a Fund for      qualified nonprofits          /       /
                                                      Financing Water and       create revolving loan         sam.g www.
       Department of Agriculture             10.865   Wastewater   Projects
                                                      Biorefinery Assistance    funds
                                                                                The program     provide
                                                                                       that canprovide        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                loan guarantees for the       /       /




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                                                                                development,                  sam.g www.
       Department of Agriculture             10.867   Bioenergy Program for     construction,
                                                                                The purpose ofand
                                                                                                this                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Advanced Biofuels         subpart is to support         /       /
                                                                                and ensure an                 sam.g www.
                                                                                expanding production of       ov/fal/ usasp
       Department of Agriculture             10.868   Rural Energy for          (1) Provision of grants       https:/ https:/
                                                      America Program           and loan guarantees to        /       /
                                                                                agricultural producers        sam.g www.
       Department of Agriculture             10.870   Rural                     and
                                                                                Provide    small
                                                                                     ruralrural               ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Microentrepreneur      microentrepreneurs with          /       /
                                                      Assistance Program     the skills necessary to          sam.g www.
                                                                             establish new rural              ov/fal/ usasp
       Department of Agriculture             10.871   Socially-Disadvantaged The primary objective of         https:/ https:/
                                                      Groups Grant           the Socially                     /       /
                                                                             Disadvantaged Groups             sam.g www.
       Department of Agriculture             10.872   Healthy Food Financing Grant  program
                                                                             The Healthy     is to
                                                                                           Food               ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Initiative             Financing Initiative             /       /
                                                                             (HFFI) is an inter-              sam.g www.
       Department of Agriculture             10.874   Delta Health Care      Department
                                                                             To           initiative
                                                                                provide financial                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Services Grant Program assistance to address            /       /
                                                                             the continued unmet              sam.g www.
                                                                             health needs in the              ov/fal/ usasp
       Department of Agriculture             10.886   Rural Broadband        This program furnishes           https:/ https:/
                                                      Access Loans and Loan loans and loan                    /       /
                                                      Guarantees             guarantees to provide            sam.g www.
       Department of Agriculture             10.890   Rural Development      funds
                                                                             USDAfor   the costs of
                                                                                    Rural                     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Cooperative Agreement Development                       /       /
                                                      Program               Innovation Center in              sam.g www.
       Department of Agriculture             10.902   Soil and Water        partnership
                                                                            Provide     with Rural
                                                                                    conservation                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Conservation              technical assistance to       /       /
                                                                                private landowners,           sam.g www.
                                                                                conservation districts,       ov/fal/ usasp
       Department of Agriculture             10.903   Soil Survey               To produce and                https:/ https:/
                                                                                maintain up to date soil      /       /
                                                                                survey information            sam.g www.
       Department of Agriculture             10.904   Watershed Protection      (maps,
                                                                                To provide    sets, soil
                                                                                        datatechnical                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      and Flood Prevention  and financial assistance          /       /
                                                                            in carrying out works of          sam.g www.
                                                                            improvement to protect,           ov/fal/ usasp
       Department of Agriculture             10.905   Plant Materials for   To assemble, evaluate,            https:/ https:/
                                                      Conservation          and promote the use of            /       /
                                                                            new and improved plant            sam.g www.
       Department of Agriculture             10.907   Snow Survey and Water materials
                                                                            To providefor soil, water,
                                                                                        reliable,             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Supply Forecasting        accurate, and timely          /       /
                                                                                forecasts of surface          sam.g www.
       Department of Agriculture             10.912   Environmental Quality           supply to water
                                                                                water promotes
                                                                                EQIP                                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Incentives Program   agricultural production,           /       /
                                                                           forest management,                 sam.g www.
                                                                           and environmental                  ov/fal/ usasp
       Department of Agriculture             10.913   Farm and Ranch Lands To provide funding to              https:/ https:/
                                                      Protection Program   eligible entities to               /       /
                                                                           purchase conservation              sam.g www.
       Department of Agriculture             10.914   Wildlife Habitat     easements
                                                                           To            to limit
                                                                               help participants                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Incentive Program      protect, restore,                /       /
                                                                             develop or enhance               sam.g www.
                                                                             habitat for upland               ov/fal/ usasp
       Department of Agriculture             10.916   Watershed              To provide technical             https:/ https:/
                                                      Rehabilitation Program and financial assistance         /       /
                                                                             to rehabilitate dams             sam.g www.
       Department of Agriculture             10.917   Agricultural           originally
                                                                             To provideconstructed
                                                                                          financial           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Management          assistance to producers /           /
                                                      Assistance          on private lands through sam.g www.
       Department of Agriculture             10.920   Grassland Reserve   contracts
                                                                          To          to construct or ov/fal/
                                                                              assist landowners               usasp
                                                                                                      https:/ https:/
                                                      Program             and operators in            /       /
                                                                          restoring and protecting sam.g www.
                                                                          eligible grazing lands,     ov/fal/ usasp
       Department of Agriculture             10.922   Healthy Forests     The purpose of the          https:/ https:/
                                                      Reserve Program     Healthy Forests             /       /
                                                      (HFRP)              Reserve Program             sam.g www.
       Department of Agriculture             10.923                       (HFRP)
                                                      Emergency Watershed The      is to assist
                                                                               objective   of the             usasp
                                                                                                      ov/fal/ https:/
                                                                                                      https:/
                                                      Protection Program  EWP Program is to           /       /
                                                                          assist sponsors,            sam.g www.
       Department of Agriculture             10.924   Conservation        landowners,
                                                                          Through CSP,   and
                                                                                           NRCS       ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                      Stewardship Program       provides financial and        /       /
                                                                                technical assistance to       sam.g www.
       Department of Agriculture             10.927   Emergency Watershed       eligible producers
                                                                                The objective       to
                                                                                               of the         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Protection Program -      EWP Program is to             /       /
                                                      Disaster Relief           assist sponsors,              sam.g www.
       Department of Agriculture             10.928   Appropriations
                                                      Emergency       Act
                                                                  Watershed     landowners,
                                                                                The         and
                                                                                    Emergency                         usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Protection Program -      Watershed Protection -        /       /
                                                      Floodplain Easements      Floodplain Easement           sam.g www.
                                                      â€“ Disaster Relief       Program (EWPP-FPE)            ov/fal/ usasp




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       Department of Agriculture             10.929   Water Bank Program         To preserve and          https:/ https:/
                                                                                 improve major wetlands /         /
                                                                                 as habitat for migratory sam.g www.
       Department of Agriculture             10.931   Agricultural          waterfowl  and
                                                                            To establish  another                 usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                      Conservation Easement agricultural                      /       /
                                                      Program               conservation easement             sam.g www.
       Department of Agriculture             10.932   Regional Conservation program
                                                                            To furtherfor
                                                                                       thethe                 ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Partnership Program     conservation,                   /       /
                                                                              protection, restoration,        sam.g www.
                                                                              and sustainable use of          ov/fal/ usasp
       Department of Agriculture             10.933   Wetland Mitigation      The Wetland Mitigation          https:/ https:/
                                                      Banking Program         Banking Program is              /       /
                                                                              used to help establish          sam.g www.
       Department of Agriculture             10.934                           wetland
                                                      Feral Swine Eradication The      mitigation
                                                                                   Feral  Swine Pilot                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      and Control Pilot          Program will allow           /       /
                                                      Program                    NRCS and APHIS to            sam.g www.
       Department of Agriculture             10.935   Urban Agriculture and      respond
                                                                                 The objective
                                                                                         to theofthreat
                                                                                                   the        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Innovative Production      Urban Agriculture and        /       /
                                                                                 Innovative Production        sam.g www.
                                                                                 (UAIP) Competitive           ov/fal/ usasp
       Department of Agriculture             10.936   Gulf Coast Ecosystem       The primary objective of     https:/ https:/
                                                      Restoration Council        this program is to           /       /
                                                      Comprehensive Plan         disburse funds to            sam.g www.
       Department of Agriculture             10.937   Component
                                                      PartnershipsProgram
                                                                   for           eligible
                                                                                 The Partnerships      the
                                                                                          entities forfor     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Climate-Smart           Climate-Smart                   /       /
                                                      Commodities             Commodities aim to              sam.g www.
                                                                              achieve the following           ov/fal/ usasp
       Department of Agriculture             10.938   Conservation Outreach, The overall goal of              https:/ https:/
                                                      Education and           Conservation Outreach           /       /
                                                      Technical Assistance    is to expand                    sam.g www.
       Department of Agriculture             10.950   Agricultural Statistics conservation
                                                                              The   objectiveassistance
                                                                                              for NASS                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Reports                    is to formulate, develop, /       /
                                                                                 and administer            sam.g www.
       Department of Agriculture             10.951   Census of Agriculture      programs   for collecting
                                                                                 The objective   for NASS ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                                                 is to formulate, develop, /       /
                                                                                 and administer            sam.g www.
                                                                                 programs for collecting ov/fal/ usasp
       Department of Agriculture             10.960   Technical Agricultural     To identify international https:/ https:/
                                                      Assistance                 agricultural issues and   /       /
                                                                                 problems and apply the sam.g www.
       Department of Agriculture             10.961   Scientific Cooperation     most   appropriate
                                                                                 The projects   address    ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                      and Research               specific issues related      /       /
                                                                                 to agricultural trade and    sam.g www.
                                                                                 market access, climate-      ov/fal/ usasp
       Department of Agriculture             10.962   Cochran Fellowship         Awards will enhance          https:/ https:/
                                                      Program                    knowledge and skills to      /       /
                                                                                 assist eligible countries    sam.g www.
       Department of Agriculture             10.964   Emergency Relief           to develop
                                                                                 ERP  providesagricultural
                                                                                                 financial            usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program                    assistance to producers /         /
                                                                                 for losses to crops,      sam.g www.
       Department of Agriculture             10.965   Milk Loss Program          trees,
                                                                                 The Milkbushes, and
                                                                                           Loss program    ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                                                 will indemnify eligible   /       /
                                                                                 dairy operations for milk sam.g www.
                                                                                 that was dumped or        ov/fal/ usasp
       Department of Agriculture             10.966   Commodity Container        CCAP provides             https:/ https:/
                                                      Assistance Program         assistance to eligible    /       /
                                                                                 owners or designated      sam.g www.
       Department of Agriculture             10.968   Increasing Land,           marketing
                                                                                 USDA launched
                                                                                            agentstheof    ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                      Capital, and Market        Increasing Land,             /       /
                                                      Access Program             Capital, and Market          sam.g www.
       Department of Agriculture             10.969   FSA Conservation           Access
                                                                                 The     (Increasing
                                                                                      objective of this               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Reserve Program            program is to provide        /       /
                                                      Transition Incentive       education on the CRP-        sam.g www.
       Department of Agriculture             10.970   Program:
                                                      Farm LoanOutreach,
                                                                  Borrower       TIP program
                                                                                 The Farm Loanand                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Relief Program             Borrower Relief              /       /
                                                                                 Program (FLBRP) is to        sam.g www.
       Department of Agriculture             10.971   Urban Agriculture and      provide assistance
                                                                                 Assistance from    to        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Urban County               USDAâ€™s Farm                /       /
                                                      Committee Outreach,        Service Agency (FSA)         sam.g www.
                                                      Technical Assistance,      to selected eligible         ov/fal/ usasp
       Department of Agriculture             10.973   Emergency Grain            The Emergency Grain          https:/ https:/
                                                      Storage Facility           Storage Facility             /       /
                                                      Assistance Program         Assistance Program           sam.g www.
       Department of Agriculture             10.974   DSA COVID Relief           (EGSFP)   will provide
                                                                                 The DSA COVID      Relief    ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program                    Program was                  /       /
                                                                                 implemented to assist        sam.g www.
       Department of Agriculture             10.975   Emergency Relief           distressed
                                                                                 The  Emergency    farm
                                                                                            direct Relief             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program Outreach           Program (ERP) is             /       /
                                                      Education and              intended to help             sam.g www.
                                                      Technical Assistance       agricultural producers       ov/fal/ usasp
       Department of Agriculture             10.976   Rice Production            RPP provides                 https:/ https:/
                                                      Program                    assistance to rice           /       /
                                                                                 producers that planted       sam.g www.
       Department of Agriculture             10.977   Organic Dairy              or
                                                                                 Thewere  prevented
                                                                                      Organic  Dairy from     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Marketing Assistance       Marketing Assistance         /       /
                                                      Program                    Program (ODMAP) was          sam.g www.
                                                                                 established to help          ov/fal/ usasp
       Department of Agriculture             10.978   Farm Labor                 USDA is offering a grant     https:/ https:/
                                                      Stabilization and          program focused on           /       /
                                                      Protection Pilot Grant     addressing labor             sam.g www.
       Department of Agriculture             10.979   Program
                                                      Emergency Relief           shortages
                                                                                 ERP 2022 in  agriculture,
                                                                                            provides          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Program 2022               financial assistance to      /       /




A127
                                                                                 producers for losses to      sam.g www.
       Department of Agriculture             10.980   Emergency Livestock        crops and
                                                                                 ELRP   2022trees due to
                                                                                              provides                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Relief Program 2022       direct financial              /       /
                                                                                assistance to livestock       sam.g www.
                                                                                producers for losses          ov/fal/ usasp
       Department of Agriculture             10.981   Commodity Storage         The Commodity                 https:/ https:/
                                                      Assistance Program        Storage Assistance            /       /
                                                                                Program (CSAP) will           sam.g www.
       Department of Agriculture             10.982   Testing, Mitigation, and provide
                                                                                Under the assistance
                                                                                            authority to
                                                                                                       of     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Relief for Agricultural   the Fiscal Year 2023          /       /
                                                      Contamination by Per- Consolidated                      sam.g www.
                                                      and Polyfluoroalkyl       Appropriations Act,           ov/fal/ usasp
       Department of Agriculture             10.983   Outreach Education        These cooperative             https:/ https:/
                                                      and Technical             agreements require            /       /
                                                      Assistance for Disaster recipients to work with         sam.g www.
       Department of Agriculture             10.984   Assistance  Programs
                                                      Discrimination  Financial producers
                                                                                The U.S. Department
                                                                                            to evaluate of    ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Assistance Program         Agriculture (USDA) is        /       /
                                                                                 authorized by Section        sam.g www.
       Department of Agriculture             10.996   Rural Development                       Inflation
                                                                                22007 of theare
                                                                                Fellowships                           usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Policy Public Service     intended to improve the       /       /
                                                      and Leadership            coordination and              sam.g www.
                                                      Development Program effectiveness of Federal            ov/fal/ usasp
       Department of Agriculture             10.997   U.S. Codex Office         The goal of this listing is   https:/ https:/
                                                      Support for International to support agreements         /       /
                                                      Activities                with organizations,           sam.g www.
       Department of Commerce                11.008   NOAA Mission-Related institutions,
                                                                                The objectives
                                                                                            or of the         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Education Awards           overall program are to       /       /
                                                                                 facilitate educational       sam.g www.
       Department of Commerce                11.011   Ocean Exploration          activities
                                                                                 To explore related
                                                                                              the to                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                                 Earthâ€™s largely            /       /
                                                                                 unknown oceans in all        sam.g www.
                                                                                 their dimensions for the     ov/fal/ usasp
       Department of Commerce                11.012   Integrated Ocean           To support projects          https:/ https:/
                                                      Observing System           aimed at the                 /       /
                                                      (IOOS)                     development and              sam.g www.
       Department of Commerce                11.013   Education Quality          sustainability
                                                                                 Support        of a
                                                                                          Malcolm                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Award Ambassadorship Baldrige National                  /       /
                                                                             Quality Award Program            sam.g www.
                                                                             (MBNQA) winners in               ov/fal/ usasp
       Department of Commerce                11.015   Broad Agency           This BAA is a                    https:/ https:/
                                                      Announcement           mechanism to                     /       /
                                                                             encourage research,              sam.g www.
       Department of Commerce                11.016   Statistical, Research, education and outreach,
                                                                             To make awards  to, or           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      and Methodology            conclude cooperative         /       /
                                                      Assistance                 agreements with              sam.g www.
       Department of Commerce                11.017   Ocean Acidification        appropriate
                                                                                 The         entities,
                                                                                     OAP plays   an                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Program (OAP)            integral role in               /       /
                                                                               maintaining long-term          sam.g www.
                                                                               monitoring; conducting         ov/fal/ usasp
       Department of Commerce                11.021   NOAA Small Business The Small Business                  https:/ https:/
                                                      Innovation Research      Innovation Research            /       /
                                                      (SBIR) Program           (SBIR) seeks to                sam.g www.
       Department of Commerce                11.022                            stimulate technological
                                                      Bipartisan Budget Act of Identifying and                        usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      2018                       documenting                  /       /
                                                                                 incremental risks and        sam.g www.
                                                                                 mitigating controls with     ov/fal/ usasp
       Department of Commerce                11.023   Science, Technology,       The U.S Economic             https:/ https:/
                                                      Engineering, and           Development                  /       /
                                                      Mathematics (STEM)         Administrationâ€™s           sam.g www.
       Department of Commerce                11.024   Talent
                                                      BUILDChallenge
                                                             TO SCALE            STEM   Talent Challenge
                                                                                 Entrepreneurs,               ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 especially technology        /       /
                                                                                 entrepreneurs, flourish      sam.g www.
       Department of Commerce                11.028   Connecting Minority        in healthy
                                                                                 The        ecosystems.
                                                                                      Connecting                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Communities Pilot          Minority Communities         /       /
                                                      Program                    Pilot Program provides       sam.g www.
                                                                                 grants to eligible           ov/fal/ usasp
       Department of Commerce                11.029   Tribal Broadband           This program provides        https:/ https:/
                                                      Connectivity Program       grants to eligible tribal    /       /
                                                                                 or Native entities in the    sam.g www.
       Department of Commerce                11.031   Broadband                  United
                                                                                 The     States to expand
                                                                                      Broadband                       usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Infrastructure Program     Infrastructure Program       /       /
                                                                                 provides federal grants      sam.g www.
       Department of Commerce                11.032   State Digital Equity       for
                                                                                 Thethe  deployment
                                                                                      purpose  of the of      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      Planning and Capacity      State Digital Equity         /       /
                                                      Grant                      Planning and Capacity        sam.g www.
       Department of Commerce                11.033   Middle Mile                Grant Programs
                                                                                 The Middle  Mile is to       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                      (Broadband) Grant          (Broadband) Grant            /       /
                                                      Program                    Program provides             sam.g www.
       Department of Commerce                11.034   2023 MBDA Capital          funding
                                                                                 The     for the
                                                                                     Minority  Business               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                      Readiness Program          Development                  /       /
                                                                                 Agencyâ€™s (MBDA)            sam.g www.
                                                                                 Capital Readiness            ov/fal/ usasp




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       Department of Commerce             11.035   Broadband Equity,         The Commerce                 https:/ https:/
                                                   Access, and               Department's National        /       /
                                                   Deployment Program        Telecommunications           sam.g www.
       Department of Commerce             11.036   Digital Equity            and Information
                                                                             The purpose of the                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Competitive Grant         Digital Equity               /       /
                                                   Program                   Competitive Grant            sam.g www.
       Department of Commerce             11.037   CHIPS Incentives          Program
                                                                             The CHIPS is to support
                                                                                           Incentives     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Program                Program aims to                 /       /
                                                                          catalyze long-term              sam.g www.
                                                                          economically                    ov/fal/ usasp
       Department of Commerce             11.038   Public Wireless Supply The Innovation Fund is          https:/ https:/
                                                   Chain Innovation Fund a ten-year, $1.5 billion         /       /
                                                   Grant Program          grant program,                  sam.g www.
       Department of Commerce             11.039   Regional Technology    advancing
                                                                          Awards  madeopen
                                                                                         under this               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   and Innovation Hubs    NOFO will seek to               /       /
                                                                          strengthen U.S.                 sam.g www.
       Department of Commerce             11.040   Distressed Area        economic   and national
                                                                          The Distressed  Area            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Recompete Pilot           Recompete Pilot              /       /
                                                   Program                   Program (Recompete           sam.g www.
                                                                             Pilot Program) aims to       ov/fal/ usasp
       Department of Commerce             11.041   U.S. and Foreign          The goals of the             https:/ https:/
                                                   Commercial Service        fellowship program are       /       /
                                                   Pilot Fellowship          to enhance                   sam.g www.
       Department of Commerce             11.042   Program
                                                   CHIPS Research and        studentsâ€™
                                                                             The CHIPS Research           ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Development               and Development Office       /       /
                                                                             (CHIPS R&D) aims to          sam.g www.
                                                                             accelerate the               ov/fal/ usasp
       Department of Commerce             11.043   National Weather          The Office of Science        https:/ https:/
                                                   Service Office of         and Technology               /       /
                                                   Science and               Integration (OSTI)           sam.g www.
       Department of Commerce             11.112   Technology
                                                   Market      Integration
                                                          Development                  Program
                                                                             Modelingthe
                                                                             Through      Market                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Cooperator Program        Development                  /       /
                                                                             Cooperator Program           sam.g www.
       Department of Commerce             11.300   Investments for Public    (MDCP),
                                                                             EDAâ€™s thePublic            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Works and Economic   Works program helps               /       /
                                                   Development Facilities
                                                                        distressed communities            sam.g www.
                                                                        revitalize, expand, and           ov/fal/ usasp
       Department of Commerce             11.302   Economic Development The Economic                      https:/ https:/
                                                   Support for Planning Development Planning              /       /
                                                   Organizations        Assistance program                sam.g www.
       Department of Commerce             11.303   Economic Development provides
                                                                        EDA administers
                                                                                  essentialthree          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Technical Assistance      Technical Assistance         /       /
                                                                             initiatives under this       sam.g www.
                                                                             assistance listing: the      ov/fal/ usasp
       Department of Commerce             11.307   Economic Adjustment       The EAA program              https:/ https:/
                                                   Assistance                provides a wide range        /       /
                                                                             of technical, planning,      sam.g www.
       Department of Commerce             11.312   Research and              public works
                                                                             Through        and
                                                                                        the R&E                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Evaluation Program        program, EDA supports        /       /
                                                                             the development of           sam.g www.
       Department of Commerce             11.313   Trade Adjustment          tools,
                                                                             The Trade Adjustment         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Assistance for Firms  Assistance for Firms             /       /
                                                                         (TAAF) program helps             sam.g www.
                                                                         import-impacted U.S.             ov/fal/ usasp
       Department of Commerce             11.400   Geodetic Surveys and Two programs exist in             https:/ https:/
                                                   Services (Geodesy and this CFDA:                       /       /
                                                   Applications of the   A.The National                   sam.g www.
       Department of Commerce             11.405   National  Geodetic
                                                   Cooperative Institute Geodetic
                                                                         To increaseSurvey
                                                                                       the (NGS)          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   (Inter-Agency Funded effectiveness of                  /       /
                                                   Activities)           research and develop             sam.g www.
       Department of Commerce             11.407   Interjurisdictional   innovative
                                                                         To          approaches
                                                                             assist States in                     usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Fisheries Act of 1986     managing                     /       /
                                                                             interjurisdictional          sam.g www.
       Department of Commerce             11.408   Fishermen's               fisheries
                                                                             To        resources.
                                                                                 compensate    U.S.               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Contingency Fund          commercial fishermen         /       /
                                                                             for damage/loss of           sam.g www.
       Department of Commerce             11.413   Fishery Products          fishing gear
                                                                             To ensure  that   50
                                                                                          andthe          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Inspection and            hygienic aspects of          /       /
                                                   Certification             seafood harvesting and       sam.g www.
                                                                             processing operations        ov/fal/ usasp
       Department of Commerce             11.415   Fisheries Finance         Provides direct loans for    https:/ https:/
                                                   Program                   certain fisheries costs.     /       /
                                                                             Vessel financing             sam.g www.
       Department of Commerce             11.417   Sea Grant Support         available      the
                                                                             To supportforthe             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                             establishment and            /       /
                                                                             operation of major           sam.g www.
       Department of Commerce             11.419   Coastal Zone              university
                                                                             To assist States
                                                                                        centersinfor              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Management               implementing and              /       /
                                                   Administration Awards    enhancing Coastal             sam.g www.
                                                                            Zone Management and           ov/fal/ usasp
       Department of Commerce             11.420   Coastal Zone             To assist States in the       https:/ https:/
                                                   Management Estuarine development,                      /       /
                                                   Research Reserves        acquisition, monitoring,      sam.g www.
       Department of Commerce             11.426   Financial Assistance for research,  education,
                                                                            NCCOS provides                ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   National Centers for  research, scientific             /       /
                                                   Coastal Ocean Science information and tools to         sam.g www.
                                                                         help balance the                 ov/fal/ usasp
       Department of Commerce             11.427   Fisheries Development To increase greatly the          https:/ https:/
                                                   and Utilization       Nation's wealth and              /       /
                                                   Research and          quality of life through          sam.g www.
       Department of Commerce             11.429   Development    Grants
                                                   Marine Sanctuary      sustainable
                                                                         National marinefisheries         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Program                 sanctuaries conduct            /       /




A128
                                                                           and support monitoring         sam.g www.
       Department of Commerce             11.431   Climate and             programs    tailored to
                                                                           Climate variability  andthe            usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Atmospheric Research change present society            /       /
                                                                           with significant               sam.g www.
                                                                           economic, health,              ov/fal/ usasp
       Department of Commerce             11.432   National Oceanic and    To increase the                https:/ https:/
                                                   Atmospheric             effectiveness of               /       /
                                                   Administration (NOAA) research and develop             sam.g www.
       Department of Commerce             11.433   Cooperative  Institutes innovative
                                                   Marine Fisheries        To provide approaches
                                                                                        financial         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Initiative                assistance for research      /       /
                                                                             and development              sam.g www.
                                                                             projects that will provide   ov/fal/ usasp
       Department of Commerce             11.434   Cooperative Fishery       To maintain a                https:/ https:/
                                                   Statistics                cooperative State and        /       /
                                                                             Federal partnership to       sam.g www.
       Department of Commerce             11.435   Southeast Area            provide a continuing
                                                                             To maintain  a               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Monitoring and         cooperative program             /       /
                                                   Assessment Program     which engages State             sam.g www.
       Department of Commerce             11.436   Columbia River         and Federal
                                                                          This  programagencies
                                                                                         uses thein               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Fisheries Development facilities and personnel         /       /
                                                   Program                of State and Federal            sam.g www.
                                                                          fisheries agencies and          ov/fal/ usasp
       Department of Commerce             11.437   Pacific Fisheries Data This cooperative                https:/ https:/
                                                   Program                program provides                /       /
                                                                          support to State fishery        sam.g www.
       Department of Commerce             11.438   Pacific Coast Salmon   agencies   to enhance
                                                                          This is a cooperative           ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Recovery Pacific        program that assists the /       /
                                                   Salmon Treaty Program States in salmon           sam.g www.
       Department of Commerce             11.439   Marine Mammal Data      restoration and in
                                                                           Nondiscretionary         ov/fal/ usasp
                                                                                                    https:/ https:/
                                                   Program                 funding under this       /       /
                                                                           authorization provides   sam.g www.
                                                                           support to State         ov/fal/ usasp
       Department of Commerce             11.440   Environmental           To advance and           https:/ https:/
                                                   Sciences, Applications, promote applied          /       /
                                                   Data, and Education     research, data           sam.g www.
       Department of Commerce             11.441   Regional Fishery        assimilation
                                                                           The  objectives
                                                                                        andof the           usasp
                                                                                                    ov/fal/ https:/
                                                                                                    https:/
                                                   Management Councils       eight Regional Fishery       /       /
                                                                             Management Councils          sam.g www.
                                                                             are to prepare, monitor      ov/fal/ usasp
       Department of Commerce             11.451   Gulf Coast Ecosystem      The mission of the           https:/ https:/
                                                   Restoration Science,      National Oceanic and         /       /
                                                   Observation,              Atmospheric                  sam.g www.
       Department of Commerce             11.452   Monitoring, and
                                                   Unallied Industry         Administrationâ€™s
                                                                             To provide grants and        ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Projects              cooperative agreements /          /
                                                                         for biological, economic, sam.g www.
       Department of Commerce             11.454   Unallied Management   sociological,
                                                                         Projects       public
                                                                                   provide         ov/fal/ usasp
                                                                                                   https:/ https:/
                                                   Projects              economic, sociological, /         /
                                                                         public policy, and other sam.g www.
                                                                         information needed by     ov/fal/ usasp
       Department of Commerce             11.455   Cooperative Science   To support through        https:/ https:/
                                                   and Education Program grants and cooperative /          /
                                                                         agreements, enduring      sam.g www.
       Department of Commerce             11.457   Chesapeake Bay        partnerships
                                                                         To             between
                                                                             provide financial             usasp
                                                                                                   ov/fal/ https:/
                                                                                                   https:/
                                                   Studies                 assistance for research        /       /
                                                                           and development                sam.g www.
                                                                           projects that will provide     ov/fal/ usasp
       Department of Commerce             11.459   Weather and Air Quality Advance weather                https:/ https:/
                                                   Research                research, development,         /       /
                                                                           and transition to              sam.g www.
       Department of Commerce             11.460   Special Oceanic and     improve  weather
                                                                           To strengthen  the             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Atmospheric Projects      communication and            /       /
                                                                             improve the impact of        sam.g www.
       Department of Commerce             11.463   Habitat Conservation      hurricane,
                                                                             To provide flood,
                                                                                         grantsand
                                                                                                and               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                                          cooperative agreements          /       /
                                                                          for habitat conservation        sam.g www.
                                                                          activities including            ov/fal/ usasp
       Department of Commerce             11.467   Meteorologic and       To maintain a                   https:/ https:/
                                                   Hydrologic             cooperative university          /       /
                                                   Modernization          and Federal                     sam.g www.
       Department of Commerce             11.468   Development
                                                   Applied                partnerships
                                                           Meteorological The            to conduct
                                                                               Collaborative                      usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                   Research               Science, Technology,            /       /
                                                                          and Applied Research            sam.g www.
       Department of Commerce             11.469   Congressionally        (CSTAR)     program
                                                                          The objectives       from
                                                                                           of the         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                   Identified Awards and     overall program are to       /     /
                                                   Projects                  facilitate education,        sam.g www.
       Department of Commerce             11.472   Unallied Science          research
                                                                             To provideandgrants and  ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Program                   cooperative agreements /         /
                                                                             of biological, socio-    sam.g www.
       Department of Commerce             11.473   Office for Coastal        economic
                                                                             To supportand   physical ov/fal/
                                                                                         projects             usasp
                                                                                                      https:/ https:/
                                                   Management                aimed at developing a    /       /
                                                                             science-based, multi-    sam.g www.
                                                                             dimensional approach     ov/fal/ usasp




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       Department of Commerce             11.474   Atlantic Coastal          To provide assistance to https:/ https:/
                                                   Fisheries Cooperative     eligible States and the  /       /
                                                   Management Act            Atlantic States Marine   sam.g www.
       Department of Commerce             11.477   Fisheries Disaster        Fisheries
                                                                             To         Commission
                                                                                 deal with commercial ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Relief                    fishery failures due to  /       /
                                                                             fishery resource         sam.g www.
       Department of Commerce             11.478   Center for Sponsored      disasters.   Disaster
                                                                             The Competitive          ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Coastal Ocean           Research Program             /       /
                                                   Research Coastal        (CRP), part of the           sam.g www.
                                                   Ocean Program           National Oceanic and         ov/fal/ usasp
       Department of Commerce             11.481   Educational Partnership To continue                  https:/ https:/
                                                   Program                 development of               /       /
                                                                           education, research,         sam.g www.
       Department of Commerce             11.482   Coral Reef              policy
                                                                           To     and natural
                                                                              provide matching                  usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Conservation Program      grants of financial      /       /
                                                                             assistance in support of sam.g www.
       Department of Commerce             11.483   NOAA Programs for         coral reef conservation
                                                                             1. Protect, Restore, and ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Disaster Relief           Manage the Use of        /       /
                                                   Appropriations Act -      Coastal and Ocean        sam.g www.
                                                   Non-construction and      Resources through an     ov/fal/ usasp
       Department of Commerce             11.553   Special Projects          To assist various        https:/ https:/
                                                                             organizations identified /       /
                                                                             by Congress or through sam.g www.
       Department of Commerce             11.601   Calibration Program       non-competitive  grants ov/fal/
                                                                             To provide a consistent  https:/ usasp
                                                                                                              https:/
                                                                         system of physical             /       /
                                                                         measurement in the             sam.g www.
                                                                         United States of               ov/fal/ usasp
       Department of Commerce             11.603   National Standard     To make evaluated              https:/ https:/
                                                   Reference Data System scientific and technical       /       /
                                                                         data readily available to      sam.g www.
       Department of Commerce             11.604   Standard Reference                engineers,
                                                                         scientists,Reference
                                                                         Standard                               usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Materials             Materials are certified        /       /
                                                                         and issued by NIST to          sam.g www.
       Department of Commerce             11.606   Weights and Measures develop   accurate
                                                                         To provide leadership          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Service               and technical resources        /       /
                                                                         to assure the accuracy         sam.g www.
                                                                         of the quantities and          ov/fal/ usasp
       Department of Commerce             11.609   Measurement and       To provide scientific and      https:/ https:/
                                                   Engineering Research engineering research            /       /
                                                   and Standards         and technology transfer        sam.g www.
       Department of Commerce             11.610   Standards Information for measurement
                                                                         To serve           and
                                                                                  as a standards        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Center                    and conformity             /       /
                                                                             assessment information     sam.g www.
                                                                             center and referral        ov/fal/ usasp
       Department of Commerce             11.611   Manufacturing             Enhance                    https:/ https:/
                                                   Extension Partnership     competitiveness,           /       /
                                                                             productivity, and          sam.g www.
       Department of Commerce             11.617   Congressionally-          technological
                                                                             To assist various                  usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Identified Projects       organizations identified   /       /
                                                                             by Congress to achieve     sam.g www.
       Department of Commerce             11.619   Arrangements for        objectives specified
                                                                           To establish an       by     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Interdisciplinary       strengthen new and/or        /       /
                                                   Research Infrastructure existing centers,            sam.g www.
                                                                           consortia, or other          ov/fal/ usasp
       Department of Commerce             11.620   Science, Technology,    To evaluate the benefits     https:/ https:/
                                                   Business and/or         and impacts of NIST          /       /
                                                   Education Outreach      research and                 sam.g www.
       Department of Commerce             11.802   Minority Business       development
                                                                           The objectivesefforts
                                                                                           of the       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Resource Development overall program are to          /       /
                                                                        1) provide financial            sam.g www.
       Department of Commerce             11.804                        assistance
                                                   MBDA Business Center The  purposeawards
                                                                                      of the for                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   - American Indian andMBDA Business Center            /       /
                                                   Alaska Native        - Native American               sam.g www.
       Department of Commerce             11.805                        Business
                                                   MBDA Business Center The       Enterprise
                                                                            Minority Business                   usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                                         Development Agency             /       /
                                                                         (MBDA), a bureau of            sam.g www.
       Department of Commerce             11.999   Marine Debris Program the U.S. Department
                                                                         To provide  grants andof       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                         cooperative agreements         /       /
                                                                         to help identify,              sam.g www.
                                                                         determine sources of,          ov/fal/ usasp
       Department of Defense              12.002   Procurement Technical Building a strong and          https:/ https:/
                                                   Assistance For        sustainable U.S. supply        /       /
                                                   Business Firms        chain and supporting a         sam.g www.
       Department of Defense              12.003   Community Economic wide
                                                                         Assistrange     diverse
                                                                                 Stateofand local       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Adjustment Assistance governments to review          /       /
                                                   for Responding to       existing capabilities        sam.g www.
       Department of Defense              12.004   Threats
                                                   Fort Huachuca
                                                           to the Sentinel Objective
                                                                           supporting1:military
                                                                                        Future                  usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Landscapes for Military external encroachment        /       /
                                                   Training                  mitigation through         sam.g www.
                                                                             conservation of open       ov/fal/ usasp
       Department of Defense              12.005   Conservation and          The Sikes Act attempts     https:/ https:/
                                                   Rehabilitation of Natural to ensure that fish,       /       /
                                                   Resources on Military wildlife and other             sam.g www.
       Department of Defense              12.006   Installations
                                                   National Defense          natural resources
                                                                             To obtain          that
                                                                                       support for      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Education Program        the management,             /       /
                                                                            development,                sam.g www.
                                                                            implementation,             ov/fal/ usasp
       Department of Defense              12.007   Military Health Services The Military Health         https:/ https:/
                                                   Research (MHSR)          System Research             /       /
                                                                            (MHSR) Program              sam.g www.
       Department of Defense              12.008   Dredged Material         provides  intramural
                                                                            inspect, ditch       and
                                                                                           and drain    ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Containment Area          dredged material           /       /




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                                                                             containment areas          sam.g www.
       Department of Defense              12.010   Youth Conservation        related
                                                                             To      to dredging
                                                                                further training and            usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Services                educational                  /       /
                                                                           opportunities at water       sam.g www.
                                                                           resources development        ov/fal/ usasp
       Department of Defense              12.012   Management of           The purpose of the           https:/ https:/
                                                   Undersirable Plants on cooperative agreement         /       /
                                                   Federal Lands, 7 U.S.C. is to manage                 sam.g www.
       Department of Defense              12.014   2814
                                                   OnRampII                undesirable
                                                                           The purposeplants
                                                                                         of theon       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                             OnRamp II program is       /       /
                                                                             to foster educational      sam.g www.
                                                                             partnerships between       ov/fal/ usasp
       Department of Defense              12.015   Past Conflict             The Secretary of           https:/ https:/
                                                   Accounting - Vietnam      Defense, in                /       /
                                                                             coordination with the      sam.g www.
       Department of Defense              12.016   Transportation - DASH     Secretary
                                                                             Objective is   State,
                                                                                        of to      is
                                                                                              provide   ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   102X and WMATA 7M         Transportation between     /       /
                                                   Shuttles                  the Mark Center, the       sam.g www.
       Department of Defense              12.017   Readiness and             Pentagon,
                                                                             The       and the
                                                                                 Readiness   andCity            usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Environmental             Environmental              /       /
                                                   Protection Integration    Protection Integration     sam.g www.
                                                   (REPI) Program            (REPI) Program funds       ov/fal/ usasp
       Department of Defense              12.019   Pacific Center Disaster   1. Enable PDC to           https:/ https:/
                                                   (PDC) Program             stimulate research,        /       /
                                                                             development,               sam.g www.
       Department of Defense              12.020   STARBASE Program          evaluation  and
                                                                             This is a non              ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                             discretionary award.       /       /
                                                                             1. STARBASE 2.0 is         sam.g www.
       Department of Defense              12.021   Army National Guard       an afterschool,
                                                                             The             middle
                                                                                  Army Compatible               usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Army Compatible Use       Use Buffer (ACUB)          /       /
                                                   Buffer Program            program provides           sam.g www.
                                                                             assistance awards to       ov/fal/ usasp
       Department of Defense              12.022   DoD Mentor-Protege        The Department of          https:/ https:/
                                                   Program                   Defense (DoD), Mentor      /       /
                                                                             Protege Program was        sam.g www.
       Department of Defense              12.024   Defense Security          established
                                                                             The           October
                                                                                 DefenseinSecurity              usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                   Cooperation University - Cooperation                 /       /
                                                   Sponsored Research       Agencyâ€™s (DSCA)           sam.g www.
                                                                            Defense Security            ov/fal/ usasp
       Department of Defense              12.025   Native American          Work with Tribal            https:/ https:/
                                                   Consultation to Identify representatives to          /       /
                                                   Sacred Sites and         identify sacred sites and   sam.g www.
       Department of Defense              12.026   Traditional
                                                   Corps Water Cultural     traditional cultural
                                                                            CWIFP enables     local     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Infrastructure Financing investment in critical  /       /
                                                   Program (CWIFP)          non-Federal dam safety sam.g www.
       Department of Defense              12.027   Defense Community        projects
                                                                            Assist  state  enhance
                                                                                      thatand local ov/fal/ usasp
                                                                                                    https:/ https:/
                                                   Infrastructure Program governments with          /       /
                                                                            addressing deficiencies sam.g www.
                                                                            in community            ov/fal/ usasp
       Department of Defense              12.029   Community Noise          Assist state and local  https:/ https:/
                                                   Mitigation Program       governments with        /       /
                                                                            addressing military     sam.g www.
       Department of Defense              12.113   State Memorandum of To   fixed-wing  aviation
                                                                                reimburse   each            usasp
                                                                                                    ov/fal/ https:/
                                                                                                    https:/
                                                   Agreement Program for State and territory for        /       /
                                                   the Reimbursement of their costs incurred by         sam.g www.
                                                   Technical Services     providing technical           ov/fal/ usasp
       Department of Defense              12.114   Collaborative Research To facilitate productivity-   https:/ https:/
                                                   and Development        improving research and        /       /
                                                                          development and               sam.g www.
       Department of Defense              12.116   Department of Defense application   of advanced
                                                                          For developing   a            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                   Appropriation Act of      system for prioritization /       /
                                                   2003                      of mitigation and cost to sam.g www.
       Department of Defense              12.219   Ease 3.0                  complete
                                                                             1.         estimates
                                                                                Establish          for ov/fal/
                                                                                          and ensure           usasp
                                                                                                       https:/ https:/
                                                                             successful, sustainable, /        /
                                                                             and effective methods     sam.g www.
                                                                             to improve voting         ov/fal/ usasp
       Department of Defense              12.225   Commercial                In partnership with       https:/ https:/
                                                   Technologies for          industry, the goal of the /       /
                                                   Maintenance Activities    CTMA program is to        sam.g www.
       Department of Defense              12.300   Program
                                                   Basic and Applied         leverage
                                                                             To        and
                                                                                 support andadvance            usasp
                                                                                                       ov/fal/ https:/
                                                                                                       https:/
                                                   Scientific Research       stimulate basic and        /     /
                                                                             applied research and       sam.g www.
       Department of Defense              12.330   Science, Technology,      technology  at
                                                                             To support educational   ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Engineering &             programs in Science,     /       /
                                                   Mathematics (STEM)        Technology,              sam.g www.
       Department of Defense              12.333   Education,
                                                   Advanced Outreach         Engineering
                                                                             OSD ManTech   and
                                                                                             provides ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                   Manufacturing             federal financial        /       /
                                                   Technology - Office of    assistance for basic,    sam.g www.
       Department of Defense              12.335   the Secretary
                                                   Navy  Command,of          applied,
                                                                             To supportand advanced
                                                                                         basic and            usasp
                                                                                                      ov/fal/ https:/
                                                                                                      https:/
                                                   Control,                  applied research at        /       /
                                                   Communications,           educational, nonprofit,    sam.g www.
                                                   Computers,                or commercial research     ov/fal/ usasp




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       Department of Defense               12.340   Naval Medical         To enhance the health,             https:/ https:/
                                                    Research and          safety, readiness, and             /       /
                                                    Development           performance of Navy                sam.g www.
       Department of Defense               12.350   Department of Defense To   Marine
                                                                          andtrain and Corps
                                                                                        assist                       usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    HIV/AIDS Prevention   selected foreign                   /       /
                                                    Program               militaries in establishing         sam.g www.
       Department of Defense               12.351   Scientific Research - and  implementing
                                                                          To support   and     HIV/          ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Combating Weapons of stimulate basic, applied            /       /
                                                    Mass Destruction     and advanced research               sam.g www.
                                                                         at educational or                   ov/fal/ usasp
       Department of Defense               12.355   Pest Management and Research designed to                 https:/ https:/
                                                    Vector Control       develop new                         /       /
                                                    Research             interventions for                   sam.g www.
       Department of Defense               12.357   ROTC Language and    protection
                                                                         Project      deployed
                                                                                 GOof(Global                         usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    Culture Training Grants Officers) is a DoD-              /       /
                                                                            funded initiative that           sam.g www.
       Department of Defense               12.360   Research on Chemical promotes
                                                                            To further critical
                                                                                       the capability        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    and Biological Defense to prevent, detect,               /       /
                                                                           diagnose and treat the            sam.g www.
                                                                           effects of chemical,              ov/fal/ usasp
       Department of Defense               12.369   Marine Corps Systems To reduce the demand                https:/ https:/
                                                    Command Federal        for illegal drugs among           /       /
                                                    Assistance Program     Americaâ€™s youth by              sam.g www.
       Department of Defense               12.400   Military Construction, providing   standardized
                                                                           This is a non-                    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    National Guard          discretionary award. To          /       /
                                                                            provide Congressionally          sam.g www.
                                                                            mandated assistance to           ov/fal/ usasp
       Department of Defense               12.401   National Guard Military This is a non-                   https:/ https:/
                                                    Operations and          discretionary program.           /       /
                                                    Maintenance (O&M)       The National Guard               sam.g www.
       Department of Defense               12.404   Projects
                                                    National Guard          Bureau
                                                                            This is a(NGB)
                                                                                      non enters                     usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    ChalleNGe Program       discretionary program.           /       /
                                                                            The Secretary of                 sam.g www.
       Department of Defense               12.420   Military Medical        Defense,
                                                                            Through theacting through
                                                                                          support  of        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Research and                basic, applied, and          /       /
                                                    Development                 advanced biomedical          sam.g www.
                                                                                research: (1) to             ov/fal/ usasp
       Department of Defense               12.431   Basic Scientific            To support basic             https:/ https:/
                                                    Research                    research, and enhance        /       /
                                                                                fundamental knowledge        sam.g www.
       Department of Defense               12.440   Dissertation Year           in
                                                                                The    chemical,
                                                                                   theU.S.       life,
                                                                                           Army Center       ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Fellowship                  of Military History          /       /
                                                                                Dissertation Year            sam.g www.
                                                                                Fellowship program is        ov/fal/ usasp
       Department of Defense               12.460   Fisher House                To implement                 https:/ https:/
                                                    Foundation                  Congressionally-             /       /
                                                                                directed assistance to       sam.g www.
       Department of Defense               12.501   Training and Support            Fisher House
                                                                                thesupport
                                                                                To           and                     usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    â€“ Combating         stimulate training and             /       /
                                                    Weapons of Mass       collaborative efforts for          sam.g www.
       Department of Defense               12.550   Destruction
                                                    The Language Flagship solutions to combat
                                                                          (1) To establish      or
                                                                                           centers           ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Grants to Institutions of for the teaching of            /       /
                                                    Higher Education          critical languages that        sam.g www.
                                                                              enable students to             ov/fal/ usasp
       Department of Defense               12.551   National Security         (1) To provide the             https:/ https:/
                                                    Education Program         necessary resources,           /       /
                                                    David L. Boren            accountability and             sam.g www.
       Department of Defense               12.552   Scholarships
                                                    National Security         flexibility to meet
                                                                              (1) To provide   thethe        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Education Program           necessary resources,         /       /
                                                    David L. Boren              accountability and           sam.g www.
       Department of Defense               12.554   Fellowships
                                                    English for Heritage        flexibility
                                                                                The  Englishto meet
                                                                                               for the               usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    Language Speakers           Heritage Language            /     /
                                                    Grants to U.S.              Speakers (EHLS)              sam.g www.
       Department of Defense               12.556                   Higher
                                                    Institutions ofGrants:
                                                    Competitive                 program
                                                                                The      is designed to
                                                                                     DoDEA              ov/fal/ usasp
                                                                                                        https:/ https:/
                                                    Promoting K-12 Student Educational Partnership /            /
                                                    Achievement at Military- Grant Program provide sam.g www.
       Department of Defense               12.558   Connected
                                                    DepartmentSchools
                                                               of Defense resources     for local
                                                                             Reimbursement     to local ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                    Impact Aid               educational agencies       /       /
                                                    (Supplement, CWSD,       (LEAs) for education       sam.g www.
                                                    BRAC)                    related costs for military ov/fal/ usasp
       Department of Defense               12.560   DOD, NDEP, DOTC-         To obtain support for      https:/ https:/
                                                    STEM Education           the management,            /       /
                                                    Outreach                 development, and           sam.g www.
       Department of Defense               12.579   Implementation
                                                    Language Training        furthering of new
                                                                             The Language       and
                                                                                              Training  ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                    Center                 Center Program is a      /       /
                                                                           DOD-funded initiative    sam.g www.
       Department of Defense               12.599   Congressionally             seeks to accelerate ov/fal/
                                                                           thatimplement
                                                                           To                               usasp
                                                                                                    https:/ https:/
                                                    Directed Assistance    Congressionally          /       /
                                                                           directed assistance for  sam.g www.
                                                                           the purposes identified ov/fal/ usasp
       Department of Defense               12.600   Community Investment To provide assistance      https:/ https:/
                                                                           authorized by statute.   /       /
                                                                                                    sam.g www.
       Department of Defense               12.604                                                   ov/fal/
                                                    Community Economic To provide assistance to https:/ usasp
                                                                                                            https:/
                                                    Adjustment Assistance State and local           /       /
                                                    for Reductions in      governments affected     sam.g www.
                                                    Defense Spending       by qualifying            ov/fal/ usasp
       Department of Defense               12.607   Community Economic Assist States and local https:/ https:/
                                                    Adjustment Assistance governments to: plan      /       /
                                                    for Realignment or     and carry out            sam.g www.
       Department of Defense               12.610   Closure
                                                    Community     Military
                                                             of aEconomic  adjustment  strategies;
                                                                           Provide technical and    ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                    Adjustment Assistance financial assistance to            /       /




A130
                                                    for Compatible Use and state and local                   sam.g www.
       Department of Defense               12.611   Joint Land Use
                                                    Community   Economic   governments
                                                                   Studies Assist        to plan
                                                                                  States and  local                  usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    Adjustment Assistance governments to plan                /       /
                                                    for Reductions in      and carry out                     sam.g www.
                                                    Defense Industry       community adjustment              ov/fal/ usasp
       Department of Defense               12.614   Community Economic Assist State and local                https:/ https:/
                                                    Adjustment Assistance governments to lessen              /       /
                                                    for Advance Planning   an area's dependence              sam.g www.
       Department of Defense               12.615   and  Economic
                                                    Research and Technical on defense
                                                                           To make  awards to, or            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Assistance                  conclude cooperative         /       /
                                                                                agreements with States       sam.g www.
                                                                                or local governments, or     ov/fal/ usasp
       Department of Defense               12.617   Economic Adjustment         To provide technical         https:/ https:/
                                                    Assistance for State        and financial assistance     /       /
                                                    Governments                 to a State, or an entity     sam.g www.
       Department of Defense               12.618   Community Economic          of State
                                                                                Assist   government,
                                                                                       States  and localto   ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Adjustment Assistance       governments to: plan         /       /
                                                    for Establishment or        and carry out local          sam.g www.
       Department of Defense               12.620   Expansion
                                                    Troops      of a Military
                                                            to Teachers         adjustments
                                                                                The              local
                                                                                    goal is toinfacilitate           usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    Grant Program               employment of eligible       /       /
                                                                                members of the armed         sam.g www.
                                                                                forces in schools            ov/fal/ usasp
       Department of Defense               12.630   Basic, Applied, and         To: (1) Support basic,       https:/ https:/
                                                    Advanced Research in        applied, or advanced         /       /
                                                    Science and                 research in                  sam.g www.
       Department of Defense               12.631   Engineering
                                                    Science, Technology,        mathematical,
                                                                                To partner withphysical,
                                                                                                like-        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Engineering and             minded organizations in /            /
                                                    Mathematics (STEM)          managing the SMART           sam.g www.
       Department of Defense               12.632   Educational
                                                    Legacy      Program:
                                                           Resource             scholarship
                                                                                The   missionprogram
                                                                                               of the DoD ov/fal/    usasp
                                                                                                             https:/ https:/
                                                    Management Program          Legacy Program is to         /       /
                                                                                provide coordinated,         sam.g www.
                                                                                Department-wide, and         ov/fal/ usasp
       Department of Defense               12.740   Past Conflict               The United States has        https:/ https:/
                                                    Accounting                  made a sacred promise /              /
                                                                                to its citizens that it will sam.g www.
       Department of Defense               12.750   Uniformed Services                 home with
                                                                                bringmission
                                                                                The            of the
                                                                                                    dignity https:/  usasp
                                                                                                             ov/fal/ https:/
                                                    University Medical        Uniformed Services             /       /
                                                    Research Projects         University of Health           sam.g www.
                                                                              Sciences is to educate,        ov/fal/ usasp
       Department of Defense               12.777   Defense Production Act To create, maintain,              https:/ https:/
                                                    Title III (DPA Title III) protect, expand, or            /       /
                                                                              restore domestic               sam.g www.
       Department of Defense               12.800   Air Force Defense         industrial
                                                                              To maintainbase                ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Research Sciences        technological superiority /          /
                                                    Program                  in the scientific areas      sam.g www.
       Department of Defense               12.801   Air Force Academy        relevant
                                                                             To  operateto Air
                                                                                           andForce
                                                                                                support ov/fal/   usasp
                                                                                                          https:/ https:/
                                                    Athletic Programs        the United States Air        /       /
                                                                             Force Academy athletic sam.g www.
                                                                             program.                     ov/fal/ usasp
       Department of Defense               12.810   Air Force Medical        To enhance the health, https:/ https:/
                                                    Research and             safety, readiness, and       /       /
                                                    Development              performance of Air           sam.g www.
       Department of Defense               12.840                            Force
                                                    Civil Air Patrol Program The    personnel
                                                                                   purposes    of the             usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                                             Civil Air Patrol are: to     /       /
                                                                             encourage and aid            sam.g www.
                                                                             citizens of the United       ov/fal/ usasp
       Department of Defense               12.900   Language Grant           STARTALK is a federal https:/ https:/
                                                    Program                  grant program that           /       /
                                                                             provides funding and         sam.g www.
       Department of Defense               12.901                            support   to institutions
                                                    Mathematical Sciences 1. The NSA grants            to ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Grants                      program seeks to         /       /
                                                                                stimulate new and        sam.g www.
       Department of Defense               12.902   Information Security        important
                                                                                The       developments
                                                                                    DoD Cyber    Service ov/fal/ usasp
                                                                                                         https:/ https:/
                                                    Grants                      Academy; formerly the    /       /
                                                                                DoD Cyber Scholarship sam.g www.
                                                                                Program was              ov/fal/ usasp
       Department of Defense               12.903   GenCyber Grants             The GenCyber Program https:/ https:/
                                                    Program                     provides summer          /       /
                                                                                cybersecurity camp       sam.g www.
       Department of Defense               12.905   CyberSecurity Core          experiences
                                                                                To meet future
                                                                                             fornational https:/ usasp
                                                                                                         ov/fal/ https:/
                                                    Curriculum                  security challenges, the     /       /
                                                                                NSA (and other DoD           sam.g www.
       Department of Defense               12.910   Research and                and
                                                                                To support   Agencies/
                                                                                    Federaland               ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Technology                  stimulate basic              /       /
                                                    Development                 research, applied            sam.g www.
       Department of Defense               12.987   Upper San Pedro             research
                                                                                To assist and
                                                                                          in theadvanced     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                    Partnership Support     execution of the Upper           /       /
                                                                            San Pedro                        sam.g www.
       Department of Education             84.002   Adult Education - Basic Partnershipâ€™s
                                                                            To fund local programs                   usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                    Grants to States        of adult education and           /       /
                                                                            literacy services,               sam.g www.
                                                                            including workplace              ov/fal/ usasp




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       Department of Education             84.004   Civil Rights Training      To provide technical         https:/ https:/
                                                    and Advisory Services      assistance and training      /       /
                                                    (also known as Equity      services to school           sam.g www.
       Department of Education             84.007   Assistance
                                                    Federal     Centers)
                                                             Supplemental   districts
                                                                            To provide    other
                                                                                      andneed-based                 usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Educational Opportunity grant aid to eligible           /       /
                                                    Grants                  undergraduate                   sam.g www.
       Department of Education             84.010   Title I Grants to Local postsecondary
                                                                            To help local students          ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Educational Agencies    educational agencies            /       /
                                                                            (LEAs) improve                  sam.g www.
                                                                            teaching and learning in        ov/fal/ usasp
       Department of Education             84.011   Migrant Education State To assist States in             https:/ https:/
                                                    Grant Program           ensuring that migratory         /       /
                                                                            children have the               sam.g www.
       Department of Education             84.013   Title I State Agency    opportunity
                                                                            To          to meet the
                                                                               help provide                         usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Program for Neglected educational continuity            /       /
                                                    and Delinquent Children for neglected and               sam.g www.
       Department of Education             84.015   and Youth
                                                    National Resource       delinquent
                                                                            Centers: Tochildren
                                                                                         promoteand         ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Centers Program for     instruction in modern           /       /
                                                    Foreign Language and foreign languages and              sam.g www.
                                                    Area Studies or Foreign area and international          ov/fal/ usasp
       Department of Education             84.016   Undergraduate           The Undergraduate               https:/ https:/
                                                    International Studies   International Studies           /       /
                                                    and Foreign Language and Foreign Language               sam.g www.
       Department of Education             84.017   Programs
                                                    International Research Program
                                                                            To improvesupports
                                                                                         foreign            ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    and Studies                language, area, and          /       /
                                                                               other international          sam.g www.
                                                                               studies training through     ov/fal/ usasp
       Department of Education             84.018   Overseas Programs          To increase mutual           https:/ https:/
                                                    Special Bilateral          understanding and            /       /
                                                    Projects                   knowledge between the        sam.g www.
       Department of Education             84.019   Overseas Programs -        people
                                                                               To contribute  United
                                                                                       of the to the                usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Faculty Research      development and                   /       /
                                                    Abroad                improvement of modern             sam.g www.
       Department of Education             84.021   Overseas Programs -   foreign language
                                                                          To contribute       and
                                                                                         to the             ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Group Projects Abroad development and                   /       /
                                                                          improvement of the                sam.g www.
                                                                          study of modern foreign           ov/fal/ usasp
       Department of Education             84.022   Overseas Programs -   To provide opportunities          https:/ https:/
                                                    Doctoral Dissertation for graduate students to          /       /
                                                    Research Abroad       engage in full-time               sam.g www.
       Department of Education             84.027   Special Education     dissertation research
                                                                          To provide grants   to            ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Grants to States           States to assist them in     /       /
                                                                               providing special            sam.g www.
                                                                               education and related        ov/fal/ usasp
       Department of Education             84.031   Higher Education           To help eligible colleges    https:/ https:/
                                                    Institutional Aid          and universities to          /       /
                                                                               strengthen their             sam.g www.
       Department of Education             84.033   Federal Work-Study         management
                                                                               To             and fiscal
                                                                                  provide part-time                 usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Program                    employment to eligible   /       /
                                                                               postsecondary students sam.g www.
       Department of Education             84.040   Impact Aid Facilities      to
                                                                               To help
                                                                                  maintain
                                                                                        meetschool      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                    Maintenance                facilities used to serve /       /
                                                                               federally connected      sam.g www.
                                                                               military dependent       ov/fal/ usasp
       Department of Education             84.041   Impact Aid                 To provide financial     https:/ https:/
                                                                               assistance to local      /       /
                                                                               educational agencies     sam.g www.
       Department of Education             84.042   TRIO Student Support       (LEAs)
                                                                               To providewhere affected
                                                                                            supportive  ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                    Services                   services to                  /       /
                                                                               disadvantaged college        sam.g www.
       Department of Education             84.044   TRIO Talent Search         students
                                                                               To            enhance
                                                                                  identifytoqualified               usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                                               disadvantaged youths         /     /
                                                                               with potential for           sam.g www.
       Department of Education             84.047   TRIO Upward Bound          postsecondary
                                                                               To generate skills andov/fal/ usasp
                                                                                                     https:/ https:/
                                                                            motivation necessary     /       /
                                                                            for success in education sam.g www.
       Department of Education             84.048   Career and Technical    beyond
                                                                            To develop     school
                                                                                     highmore  fully ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                    Education -- Basic      the academic             /       /
                                                    Grants to States        knowledge and            sam.g www.
                                                                            technical and            ov/fal/ usasp
       Department of Education             84.051   Career and Technical    To provide support,      https:/ https:/
                                                    Education -- National   directly or through      /       /
                                                    Programs                grants, contracts, or    sam.g www.
       Department of Education             84.060   Indian Education Grants cooperative
                                                                            To address (1) the       ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                    to Local Educational       unique educational and       /       /
                                                    Agencies                   culturally related           sam.g www.
       Department of Education             84.063   Federal Pell Grant         academic
                                                                               To provideneeds
                                                                                            eligibleof              usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Program                    undergraduate                /       /
                                                                               postsecondary students       sam.g www.
                                                                               who have demonstrated        ov/fal/ usasp
       Department of Education             84.066   TRIO Educational           To provide information       https:/ https:/
                                                    Opportunity Centers        on financial and             /       /
                                                                               academic assistance          sam.g www.
       Department of Education             84.101   Career and Technical       available for qualified
                                                                               To make grants,              ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Education - Grants to      cooperative                  /       /
                                                    Native Americans and       agreements, or enter         sam.g www.
                                                    Alaska Natives             into contracts with          ov/fal/ usasp
       Department of Education             84.103   TRIO Staff Training        To provide training for      https:/ https:/
                                                    Program                    staff and leadership         /       /
                                                                               personnel employed in,       sam.g www.
       Department of Education             84.116   Fund for the               or
                                                                               To preparing for
                                                                                   provide assistance  to   ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Improvement of             support institutional        /       /




A131
                                                    Postsecondary              reforms and innovative       sam.g www.
       Department of Education             84.120   Education
                                                    Minority Science and       strategies
                                                                               To         designed
                                                                                  (1) effect         to
                                                                                             long-range             usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Engineering              improvement in science         /       /
                                                    Improvement              and engineering                sam.g www.
                                                                             education at                   ov/fal/ usasp
       Department of Education             84.126   Rehabilitation Services To assist States in             https:/ https:/
                                                    Vocational               operating                      /       /
                                                    Rehabilitation Grants to comprehensive,                 sam.g www.
       Department of Education             84.129   States
                                                    Rehabilitation Long-     coordinated, effective,
                                                                             To support projects  to        ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Term Training          provide academic                 /       /
                                                                           training in areas of             sam.g www.
                                                                           personnel shortages              ov/fal/ usasp
       Department of Education             84.141   Migrant Education High To assist students who           https:/ https:/
                                                    School Equivalency     are engaged, or whose            /       /
                                                    Program                immediate family is              sam.g www.
       Department of Education             84.144   Migrant Education      engaged,      migrant
                                                                           To provideinfinancial            ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Coordination Program       incentives to State          /       /
                                                                               Educational Agencies         sam.g www.
       Department of Education             84.145   Federal Real Property      (SEAs)
                                                                               To      to participate
                                                                                  convey  surplus in                usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Assistance Program         Federal Real Property        /       /
                                                                               for educational              sam.g www.
                                                                               purposes at fair market      ov/fal/ usasp
       Department of Education             84.149   Migrant Education          To assist students who       https:/ https:/
                                                    College Assistance         are engaged, or whose        /       /
                                                    Migrant Program            immediate family is          sam.g www.
       Department of Education             84.153   Business and               engaged,
                                                                               To promote     migrant
                                                                                          in innovation     ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    International Education and improvement in              /       /
                                                    Projects                  international business        sam.g www.
       Department of Education             84.160                             education
                                                    Training Interpreters for To  supportcurricula
                                                                                          projects at
                                                                                                   that             usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Individuals who are        increase the numbers         /       /
                                                    Deaf and Individuals       and improve the skills of    sam.g www.
                                                    who are Deaf-Blind         manual, tactile, oral,       ov/fal/ usasp
       Department of Education             84.161   Rehabilitation Services    To establish and carry       https:/ https:/
                                                    Client Assistance          out client assistance        /       /
                                                    Program                    programs in each State       sam.g www.
       Department of Education             84.165   Magnet Schools                  at the protection
                                                                               andprovide
                                                                               To          grants to                usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Assistance              eligible local                  /       /
                                                                            educational agencies            sam.g www.
                                                                            (LEAs) to establish and         ov/fal/ usasp
       Department of Education             84.173   Special Education       To provide grants to            https:/ https:/
                                                    Preschool Grants        States to assist them in        /       /
                                                                            providing special               sam.g www.
       Department of Education             84.177   Rehabilitation Services education
                                                                            To provideandany related        ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Independent Living      independent living              /       /
                                                    Services for Older      services that are               sam.g www.
       Department of Education             84.181   Individuals
                                                    Special     Who are
                                                            Education-      described
                                                                            To             34 CFR
                                                                                provideingrants to                  usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Grants for Infants and States to assist them to         /       /
                                                    Families               implement and maintain           sam.g www.
                                                                           a Statewide,                     ov/fal/ usasp
       Department of Education             84.184   School Safely National To improve students'             https:/ https:/
                                                    Activities             safety and well-being            /       /
                                                                           during and after the             sam.g www.
       Department of Education             84.187   Supported Employment Toschool day.
                                                                              assist States in                      usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Services for Individuals
                                                                           developing collaborative         /       /
                                                    with the Most          programs with                    sam.g www.
                                                    Significant Disabilities
                                                                           appropriate public and           ov/fal/ usasp
       Department of Education             84.191   Adult Education        To support applied               https:/ https:/
                                                    National Leadership    research, development,           /       /
                                                    Activities             demonstration,                   sam.g www.
       Department of Education             84.196   Education for Homeless dissemination,
                                                                           To ensure that all               ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Children and Youth     homeless children and            /       /
                                                                           youth have equal                 sam.g www.
       Department of Education             84.200                          access
                                                    Graduate Assistance in To      to the
                                                                              provide      same
                                                                                       fellowships                  usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Areas of National Need through graduate                 /       /
                                                                           academic departments,            sam.g www.
                                                                           programs, and units of           ov/fal/ usasp
       Department of Education             84.206   Javits Gifted and      To promote and initiate          https:/ https:/
                                                    Talented Students      a coordinated program            /       /
                                                    Education              of evidence-based                sam.g www.
       Department of Education             84.215                          research,
                                                    Innovative Approaches The   Innovative                          usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    to Literacy; Promise       Approaches to Literacy       /       /
                                                    Neighborhoods; Full-       program supports high-       sam.g www.
       Department of Education             84.217   Service  Community
                                                    TRIO McNair    Post-       quality programs
                                                                               To provide  grants for       ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Baccalaureate             institutions of higher        /       /
                                                    Achievement               education to prepare          sam.g www.
       Department of Education             84.220   Centers for International participants
                                                                              To provide afor doctoral      ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                    Business Education         comprehensive                /       /
                                                                               university approach to       sam.g www.
       Department of Education             84.229   Language Resource          improve
                                                                               To provide   teaching
                                                                                        thegrants for of            usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                    Centers                    establishing,                /       /
                                                                               strengthening, and           sam.g www.
                                                                               operating centers that       ov/fal/ usasp




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       Department of Education             84.235   Rehabilitation Services To provide financial           https:/ https:/
                                                    Demonstration and       assistance to projects         /       /
                                                    Training Programs       and demonstrations for         sam.g www.
       Department of Education             84.240   Program of Protection Toexpanding
                                                                               provide grants
                                                                                       and for                     usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    and Advocacy of           States, and to the           /       /
                                                    Individual Rights         eligible system serving      sam.g www.
       Department of Education             84.245   Tribally Controlled       the American
                                                                              To make       Indian
                                                                                        grants to          ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Postsecondary Career      eligible tribally            /       /
                                                    and Technical             controlled                   sam.g www.
                                                    Institutions              postsecondary career         ov/fal/ usasp
       Department of Education             84.246   Rehabilitation Short-     To support special           https:/ https:/
                                                    Term Training             seminars, institutes,        /       /
                                                                              workshops, and other         sam.g www.
       Department of Education             84.250   American Indian           short-term
                                                                              To           courses
                                                                                  make grants       in
                                                                                                to the             usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Vocational              governing bodies of            /       /
                                                    Rehabilitation Services Indian tribes (and             sam.g www.
       Department of Education             84.259   Native Hawaiian Career consortia
                                                                            To make grants
                                                                                       of suchto           ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    and Technical             community-based              /       /
                                                    Education                 organizations primarily      sam.g www.
                                                                              serving and                  ov/fal/ usasp
       Department of Education             84.263   Innovative                This program is              https:/ https:/
                                                    Rehabilitation Training   designed to: (a)             /       /
                                                                              Develop new types of         sam.g www.
       Department of Education             84.264   Rehabilitation Training   training programs
                                                                              To increase        for
                                                                                           the number      ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Technical Assistance      and quality of               /       /
                                                    Centers                   employment outcomes          sam.g www.
                                                                              for individuals with         ov/fal/ usasp
       Department of Education             84.268   Federal Direct Student    To provide loan capital      https:/ https:/
                                                    Loans                     directly from the            /       /
                                                                              Federal government to        sam.g www.
       Department of Education             84.274   American Overseas         vocational,
                                                                              To enable American                   usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Research Centers          Overseas Research            /       /
                                                                              Centers, that are            sam.g www.
       Department of Education             84.282   Charter Schools           consortia of higher
                                                                              The program   supports       ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                                              startup of new charter       /       /
                                                                              schools and the              sam.g www.
                                                                              replication and              ov/fal/ usasp
       Department of Education             84.283   Comprehensive             This program supports        https:/ https:/
                                                    Centers                   no fewer than 20             /       /
                                                                              comprehensive centers        sam.g www.
       Department of Education             84.287   Twenty-First Century      that
                                                                              To provide   training,
                                                                                   provideopportunities    ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Community Learning        for communities to           /       /
                                                    Centers                   establish or expand          sam.g www.
                                                                              activities in community      ov/fal/ usasp
       Department of Education             84.295   Ready-To-Learn            To facilitate student        https:/ https:/
                                                    Television                academic achievement         /       /
                                                                              by developing                sam.g www.
       Department of Education             84.299   Indian Education --       educational
                                                                              Funds support two                    usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Special Programs for      grant programs, (1)          /       /
                                                    Indian Children           Demonstration Grants         sam.g www.
       Department of Education             84.305   Education Research,       for Indian Children
                                                                              To support  researchand      ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Development and           activities that improve      /       /
                                                    Dissemination             the quality of education     sam.g www.
                                                                              and, thereby, increase       ov/fal/ usasp
       Department of Education             84.310   Statewide Family          To provide financial         https:/ https:/
                                                    Engagement Centers        support to statewide         /       /
                                                                              organizations that           sam.g www.
       Department of Education             84.315   Traditionally             conduct
                                                                              To makeparent
                                                                                         awards to         ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Underserved               minority entities and      /       /
                                                    Populations               Indian tribes to carry out sam.g www.
       Department of Education             84.323   Special Education -       activities
                                                                              To assist under
                                                                                         State the       ov/fal/ usasp
                                                                                                         https:/ https:/
                                                    State Personnel           educational agencies in /          /
                                                    Development               reforming and              sam.g www.
       Department of Education             84.324   Research in Special       improving
                                                                              To supporttheir
                                                                                          scientifically
                                                                                               systems https:/   usasp
                                                                                                         ov/fal/ https:/
                                                    Education                rigorous research             /       /
                                                                             contributing to the           sam.g www.
       Department of Education             84.325   Special Education -      solution of specific
                                                                             The purposes         early
                                                                                            of this        ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Personnel Development program are to (1) help          /       /
                                                    to Improve Services      address State-identified      sam.g www.
                                                    and Results for Children needs for highly              ov/fal/ usasp
       Department of Education             84.326   Special Education        The purpose of the            https:/ https:/
                                                    Technical Assistance     Technical Assistance          /       /
                                                    and Dissemination to     and Dissemination to          sam.g www.
       Department of Education             84.327   Improve Services and Improve
                                                    Special Education                 Services
                                                                             The purposes        and
                                                                                            of the         ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Educational Technology Educational Technology, /           /
                                                    Media, and Materials for Media, and Materials for sam.g www.
       Department of Education             84.328   Individuals
                                                    Special     with
                                                            Education        Individuals
                                                                             The  purpose with
                                                                                             of the    ov/fal/ usasp
                                                                                                       https:/ https:/
                                                    Parent Information       program is to ensure      /       /
                                                    Centers                  that parents of children sam.g www.
                                                                             with disabilities receive ov/fal/ usasp
       Department of Education             84.329   Special Education        To assess progress in     https:/ https:/
                                                    Studies and Evaluations implementing the           /       /
                                                                             Individuals with          sam.g www.
       Department of Education             84.334   Gaining Early            Disabilities Education
                                                                             Provides 6-or 7-year      ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                    Awareness and             grants to States and         /       /
                                                    Readiness for             Partnerships to provide      sam.g www.
                                                    Undergraduate             support, and maintain a      ov/fal/ usasp
       Department of Education             84.335   Child Care Access         To support the               https:/ https:/
                                                    Means Parents in          participation of low-        /       /
                                                    School                    income parents in            sam.g www.
       Department of Education             84.336   Teacher Quality           postsecondary
                                                                              To improve student           ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Partnership Grants     achievement; improve       /       /




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                                                                           the quality of new and     sam.g www.
       Department of Education             84.351   Arts in Education      prospective
                                                                           The            teachers by ov/fal/
                                                                                Arts in Education             usasp
                                                                                                      https:/ https:/
                                                                           program promotes arts /            /
                                                                           education for students, sam.g www.
                                                                           including disadvantaged ov/fal/ usasp
       Department of Education             84.354   Credit Enhancement for To provide grants to       https:/ https:/
                                                    Charter School         eligible entities to       /       /
                                                    Facilities             leverage funds through sam.g www.
       Department of Education             84.356   Alaska Native          credit enhancement         ov/fal/
                                                                           To support projects that https:/ usasp
                                                                                                              https:/
                                                    Educational Programs      recognize and address        /       /
                                                                              the unique educational       sam.g www.
                                                                              needs of Alaska Native       ov/fal/ usasp
       Department of Education             84.358   Rural Education           To provide financial         https:/ https:/
                                                                              assistance to rural          /       /
                                                                              districts to carry out       sam.g www.
       Department of Education             84.362   Native Hawaiian           activities
                                                                              To develop    help
                                                                                         to innovative     ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Education                educational programs to       /       /
                                                                             assist Native                 sam.g www.
       Department of Education             84.365   English Language         Hawaiians,
                                                                             To help ensure
                                                                                          to that                  usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Acquisition State Grants English learners (ELs),       /       /
                                                                             including immigrant           sam.g www.
                                                                             children and youth,           ov/fal/ usasp
       Department of Education             84.367   Supporting Effective     To provide grants to          https:/ https:/
                                                    Instruction State Grants State Educational             /       /
                                                    (formerly Improving      Agencies (SEAs), and,         sam.g www.
       Department of Education             84.368   Teacher   Quality
                                                    Competitive       State
                                                                 Grants  for through  the SEAs,
                                                                             The purpose   of theto        ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    State Assessments         program is to support        /       /
                                                                              efforts to: (1) improve      sam.g www.
       Department of Education             84.369   Grants for State          the quality,
                                                                              The  purpose validity,
                                                                                             of thisand            usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Assessments and           program is: to pay the       /       /
                                                    Related Activities        costs of developing the      sam.g www.
                                                                              standards and high-          ov/fal/ usasp
       Department of Education             84.370   DC Opportunity            To provide low-income        https:/ https:/
                                                    Scholarship Program       parents residing in the      /       /
                                                                              District of Columbia with    sam.g www.
       Department of Education             84.371   Comprehensive             expanded
                                                                              The         options
                                                                                   objective       for
                                                                                              of the               usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Literacy Development      Comprehensive                /       /
                                                                              Literacy Development         sam.g www.
                                                                              program is to advance        ov/fal/ usasp
       Department of Education             84.372   Statewide Longitudinal    These grants are             https:/ https:/
                                                    Data Systems              intended to enable           /       /
                                                                              State educational            sam.g www.
       Department of Education             84.373   Special Education         agencies     design,
                                                                              To providetotechnical        ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Technical Assistance on assistance, where              /       /
                                                    State Data Collection   needed, to improve the         sam.g www.
       Department of Education             84.374   Teacher and School      capacity
                                                                            To       of States
                                                                               help eligible    to
                                                                                             entities              usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Leader Incentive Grants develop, implement,            /       /
                                                    (formerly the Teacher    improve, or expand            sam.g www.
                                                    Incentive Fund)          human capital                 ov/fal/ usasp
       Department of Education             84.379   Teacher Education        To provide annual             https:/ https:/
                                                    Assistance for College grants of up to $4,000          /       /
                                                    and Higher Education to eligible                       sam.g www.
       Department of Education             84.380   Grants (TEACH
                                                    Special EducationGrants)
                                                                       -     undergraduate
                                                                             This           and
                                                                                  program promotes                 usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    Special Olympics        the expansion of               /       /
                                                    Education Programs      Special Olympics and           sam.g www.
                                                                            the design and                 ov/fal/ usasp
       Department of Education             84.382   Strengthening Minority- To strengthen                  https:/ https:/
                                                    Serving Institutions    Predominantly Black            /       /
                                                                            Institutions (PBI); Asian      sam.g www.
       Department of Education             84.403   Consolidated Grant to American
                                                                            To make an and  Native
                                                                                          annual           ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    the Outlying Areas        consolidated grant to     /       /
                                                                              assist an Insular Area in sam.g www.
       Department of Education             84.407                             carrying out
                                                    Transition Programs for Funding     under     or
                                                                                            onethis             usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                    Students with             program supports             /       /
                                                    Intellectual Disabilities competitive grants to        sam.g www.
                                                    into Higher Education     institutions of higher       ov/fal/ usasp
       Department of Education             84.408   Postsecondary             To provide eligible          https:/ https:/
                                                    Education Scholarships veteran's dependent             /       /
                                                    for Veteran's             undergraduate                sam.g www.
       Department of Education             84.411   Dependents
                                                    Education   Innovation    postsecondary
                                                                              To                students
                                                                                 support the creation,             usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                    and Research (formerly development,                    /       /
                                                    Investing in Innovation implementation,                sam.g www.
       Department of Education             84.415   (i3) Fund)
                                                    Indian Education        replication,
                                                                            The objectives
                                                                                         andofscaling
                                                                                                the        ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    National Activities      State Tribal Education        /       /
                                                    (State Tribal Education Partnership (STEP)             sam.g www.
       Department of Education             84.417   Partnership  (STEP)
                                                    Directed Grants   andand program  (CFDA
                                                                             Objectives of the             ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                    Awards                    programs vary based          /     /
                                                                              on the directed grant        sam.g www.
       Department of Education             84.421   Disability Innovation     award.
                                                                              To      Awards
                                                                                 support      are
                                                                                         innovative          usasp
                                                                                                     ov/fal/ https:/
                                                                                                     https:/
                                                    Fund (DIF)                activities aimed at    /       /
                                                                              improving the outcomes sam.g www.
                                                                              of individuals with    ov/fal/ usasp




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       Department of Education             84.422   American History and The program supports             https:/ https:/
                                                    Civics Education     two types of grants:             /       /
                                                                         American History and             sam.g www.
       Department of Education             84.423   Supporting Effective Civics
                                                                         The    Academies
                                                                              purpose  of the                     usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Educator Development SEED program is to (1)           /       /
                                                    Program              Support pathways that            sam.g www.
       Department of Education             84.424   Student Support and  allow teachers,
                                                                         To improve                       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Academic Enrichment     studentâ€™s academic          /       /
                                                    Program                 achievement by                sam.g www.
                                                                            increasing the capacity       ov/fal/ usasp
       Department of Education             84.425   Education Stabilization To prevent, prepare for,      https:/ https:/
                                                    Fund                    and respond to the            /       /
                                                                            coronavirus COVID-19          sam.g www.
       Department of Education             84.426   Randolph-Sheppard â€ To disease  pandemic.
                                                                               provide financial                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    “ Financial Relief and    relief and restoration      /       /
                                                    Restoration Payments      payments to offset          sam.g www.
       Department of Education             84.428   Augustus F. Hawkins       losses
                                                                              This program     vendors
                                                                                      to blindfocuses     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Centers of                on the various aspects      /       /
                                                    Excellenceâ€”Teacher      of the teacher              sam.g www.
                                                    Preparation and           preparation pipeline,       ov/fal/ usasp
       Department of Education             84.429   Education Evaluation      To support education        https:/ https:/
                                                    and Technical             evaluation and technical    /       /
                                                    Assistance Grants         assistance related to       sam.g www.
       Department of Energy                81.005   Environmental             the  education
                                                                              Provides       sciences
                                                                                        technical and     ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Monitoring,               financial assistance to     /       /
                                                    Independent Research,     State of New Mexico         sam.g www.
                                                    Technical Analysis        Environment                 ov/fal/ usasp
       Department of Energy                81.008   Cybersecurity, Energy     The Office of               https:/ https:/
                                                    Security & Emergency      Cybersecurity, Energy       /       /
                                                    Response (CESER)          Security, and               sam.g www.
       Department of Energy                81.009   Molybdenum-99             Emergency
                                                                              In           Response
                                                                                 2012, Congress                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Program                   passed the American         /       /
                                                                              Medical Isotopes            sam.g www.
       Department of Energy                81.010   Office of Technology      Production
                                                                              The MissionAct  of (AMIPA),
                                                                                                 the      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Transitions (OTT)-        Office of Technology        /       /
                                                    Technology                Transitions (OTT) is to     sam.g www.
                                                    Deployment,               expand the public           ov/fal/ usasp
       Department of Energy                81.012   Artificial Intelligence   The mission of the          https:/ https:/
                                                    and Technology Office     Artificial Intelligence &   /       /
                                                    Financial Assistance      Technology Office           sam.g www.
       Department of Energy                81.041   Program
                                                    State Energy Program      (AITO)   is to transform
                                                                              The purpose      of this    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                              program is to increase      /       /
                                                                              market transformation       sam.g www.
                                                                              of energy efficiency and    ov/fal/ usasp
       Department of Energy                81.042   Weatherization            To improve home             https:/ https:/
                                                    Assistance for Low-       energy efficiency for       /       /
                                                    Income Persons            low-income families         sam.g www.
       Department of Energy                81.049   Office of Science         through
                                                                              SC  is thethe most cost-
                                                                                          Nationâ€™s              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Financial Assistance  largest Federal sponsor /          /
                                                    Program               of basic research in the sam.g www.
       Department of Energy                81.057   University Coal       physical sciences
                                                                          To educate   and train
                                                                                              andthe ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                    Research              next generation of         /       /
                                                                          engineers and scientists sam.g www.
                                                                          to help develop and        ov/fal/ usasp
       Department of Energy                81.065   Nuclear Legacy        For nuclear waste          https:/ https:/
                                                    Cleanup Program       disposal activities to     /       /
                                                                          carry out the purposes     sam.g www.
       Department of Energy                81.086   Conservation Research of
                                                                          Thethe Nuclear
                                                                               goal of thisWaste     ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                    and Development           program is to conduct a     /       /
                                                                              balanced, long-term         sam.g www.
       Department of Energy                81.087   Renewable Energy          research
                                                                              The goal effort
                                                                                       of thisin                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Research and           program is to conduct          /       /
                                                    Development            balanced research and          sam.g www.
       Department of Energy                81.089                          development
                                                    Fossil Energy Research The           efforts in
                                                                               Office of Fossil                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    and Development           Energy and Carbon           /       /
                                                                              Managementâ€™s              sam.g www.
       Department of Energy                81.092   Remedial Action and       mission
                                                                              An objective  minimize
                                                                                      is to of the Oak    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Waste Management        Ridge Office of               /       /
                                                                            Environmental                 sam.g www.
                                                                            Management is to              ov/fal/ usasp
       Department of Energy                81.102   Student Driven          An objective of the Oak       https:/ https:/
                                                    Research and Long       Ridge Office of               /       /
                                                    Term Monitoring of      Environmental                 sam.g www.
       Department of Energy                81.104   Selected Populations
                                                    Environmental        in Management    (OREM)
                                                                            The Environmental             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Remediation and Waste Management Research             /       /
                                                    Processing and        and Development                 sam.g www.
       Department of Energy                81.106   Disposal of
                                                    Transport             Program
                                                                          To        provides for
                                                                             enlist cooperation                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Transuranic Wastes to among the Tribal and            /       /
                                                    the Waste Isolation Pilot the Southern, Western,      sam.g www.
                                                    Plant: States and Tribal and Midwest state            ov/fal/ usasp
       Department of Energy                81.108   Epidemiology and Other To provide financial           https:/ https:/
                                                    Health Studies            support for research,       /       /
                                                    Financial Assistance      education, conferences,     sam.g www.
       Department of Energy                81.112   Program
                                                    Stewardship Science       communication,  and
                                                                              (1) To grow the U.S.        ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Grant Program             scientific community        /       /
                                                                              through university          sam.g www.
                                                                              involvement in areas of     ov/fal/ usasp
       Department of Energy                81.113   Defense Nuclear           To conduct basic and        https:/ https:/
                                                    Nonproliferation          applied research and        /       /
                                                    Research                  development that            sam.g www.
       Department of Energy                81.117   Energy Efficiency and     enhances    U.S. national
                                                                              The Department    of        ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Renewable Energy          Energy (DOE) seeks to       /       /




A133
                                                    Information               provide financial           sam.g www.
       Department of Energy                81.119   Dissemination,
                                                    State Energy Program      assistance
                                                                              To allow States
                                                                                          for to                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Special Projects      submit proposals to             /       /
                                                                          implement specific              sam.g www.
                                                                          Department of Energy            ov/fal/ usasp
       Department of Energy                81.121   Nuclear Energy        The Department of               https:/ https:/
                                                    Research, Development Energy (DOE) promotes           /       /
                                                    and Demonstration     nuclear energy as a             sam.g www.
       Department of Energy                81.122   Electricity Research, resource
                                                                          The Officecapable of
                                                                                     of Electricity       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Development and           (OE) leads the              /       /
                                                    Analysis                  Departmentâ€™s              sam.g www.
                                                                              research, development,      ov/fal/ usasp
       Department of Energy                81.123   National Nuclear          The Minority Serving        https:/ https:/
                                                    Security Administration   Institution Partnership     /       /
                                                    (NNSA) Minority           Program's primary           sam.g www.
       Department of Energy                81.124   Serving  Institutions
                                                    Predictive Science        focus
                                                                              (1) To is to build
                                                                                      focus on a          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Academic Alliance         development and             /       /
                                                    Program                   demonstration of            sam.g www.
       Department of Energy                81.126   Federal Loan              modeling/simulation
                                                                              For Title XVII Loan                 usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Guarantees for            Guarantee program           /       /
                                                    Innovative Energy         under Section 1703 of       sam.g www.
                                                    Technologies              the Energy Policy Act of    ov/fal/ usasp
       Department of Energy                81.128   Energy Efficiency and     The program provides        https:/ https:/
                                                    Conservation Block        financial and technical     /       /
                                                    Grant Program             assistance to assist        sam.g www.
       Department of Energy                81.135   (EECBG)
                                                    Advanced Research         State and local
                                                                              To support  the             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Projects Agency -         Presidentâ€™s               /       /
                                                    Energy                    National Objectives for     sam.g www.
       Department of Energy                81.136                          the Department
                                                    Long-Term Surveillance The  objectives ofofthe                usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    and Maintenance        Office of Legacy               /       /
                                                                           Management are to              sam.g www.
                                                                           manage the                     ov/fal/ usasp
       Department of Energy                81.137   Minority Economic      The program objectives         https:/ https:/
                                                    Impact                 are to enhance the             /       /
                                                                           participation and              sam.g www.
       Department of Energy                81.138   State Heating Oil and  sustainability
                                                                           State  HeatingofOilMSIs
                                                                                               and                usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Propane Program          Propane Program              /       /
                                                                             (SHOPP) is a joint data      sam.g www.
                                                                             collection effort between    ov/fal/ usasp
       Department of Energy                81.140   Los Alamos National      The general objective of     https:/ https:/
                                                    Laboratory - Fire        this Cooperative             /       /
                                                    Protection               Agreement is to provide      sam.g www.
       Department of Energy                81.210   Global Material Security financial support
                                                                             The objective      for
                                                                                            of the        ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                              Global Material Security /       /
                                                                              Program is to enhance sam.g www.
       Department of Energy                81.214   Environmental             global security
                                                                              Provides   technical
                                                                                              by and ov/fal/   usasp
                                                                                                       https:/ https:/
                                                    Monitoring/Cleanup,       financial assistance to  /       /
                                                    Cultural and Resource     State and local          sam.g www.
                                                    Mgmt., Emergency          government entities for ov/fal/ usasp
       Department of Energy                81.250   Energy Policy and         The objective is to      https:/ https:/
                                                    Systems Analysis          develop decision-        /       /
                                                                              relevant data and        sam.g www.
       Department of Energy                81.251   National Laboratory       analysis
                                                                              The  ACCESS      market
                                                                                        on theProgram          usasp
                                                                                                       ov/fal/ https:/
                                                                                                       https:/
                                                    Jobs Apprenticeship for is a pre-apprenticeship       /       /
                                                    Complete and            or apprenticeship             sam.g www.
                                                    Committed Employment program thatâ€“                  ov/fal/ usasp
       Department of Energy                81.252   Legally-directed        Academic Programs             https:/ https:/
                                                    Academic Programs,      receives direction from       /       /
                                                    Workforce Development Congress to send funds          sam.g www.
       Department of Energy                81.253   and Community
                                                    Manufacturing and       to universities
                                                                            Strengthen   andand other
                                                                                             secure       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Energy Supply Chain       domestic manufacturing /         /
                                                    Demonstrations and        and energy supply        sam.g www.
       Department of Energy                81.254   Commercial
                                                    Grid Infrastructure       chains
                                                                              The     needed
                                                                                   Grid       to
                                                                                        Deployment     ov/fal/ usasp
                                                                                                       https:/ https:/
                                                    Deployment and            Office (GDO) works to    /       /
                                                    Resilience                catalyze the             sam.g www.
                                                                              development of new       ov/fal/ usasp
       Department of Energy                81.255   Clean Energy              The mission of the       https:/ https:/
                                                    Demonstrations            Office of Clean Energy /         /
                                                                              Demonstrations           sam.g www.
       Department of Energy                81.256   Environmental             (OCED) istechnical
                                                                              Provides   to deliverand https:/ usasp
                                                                                                       ov/fal/ https:/
                                                    Monitoring/Cleanup,       financial assistance to     /       /
                                                    Cultural and Resource     the State of Tennessee      sam.g www.
       Department of Energy                81.258   Mgmt., Emergency
                                                    Glovebox                  Department
                                                                              The objectiveofof the       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    Manufacturing             Glovebox                    /       /
                                                    Expansion Initiative      Manufacturing               sam.g www.
       Department of Energy                81.260   County of Nye, Nye        Expansion  Initiative
                                                                              The objective  of the       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                    County Sheriffâ€™s     County of Nye, Nye             /       /
                                                    Office Law Enforcement County Sheriffâ€™s             sam.g www.
       Department of Energy                81.279   Services
                                                    Law  Enforcement       Office
                                                                           The    Law Enforcement
                                                                                objective to provide              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                    Support of Pantex Plant reasonable and                /       /
                                                                            appropriate law               sam.g www.
                                                                            enforcement                   ov/fal/ usasp




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       Department of Energy                                81.300   Grid Deployment Office The Grid Deployment               https:/ https:/
                                                                    - Other Direct Funding Office (GDO) works to             /       /
                                                                    Mechanisms/Identified catalyze the                       sam.g www.
       Department of Energy                                81.302   Transactions
                                                                    Inertial Confinement   development
                                                                                           The goal of the   new
                                                                                                         of Inertial                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Fusion Program         Confinement Fusion                /       /
                                                                    University Assistance  (ICF) program is to               sam.g www.
       Department of Energy                                81.505   Nonproliferation and   create  nuclear weapons
                                                                                           Nonproliferation  and             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Arms Control                 Arms Control (NPAC):        /       /
                                                                                                 NNSAâ€™s Office of          sam.g www.
                                                                                                 Nonproliferation and        ov/fal/ usasp
       Department of Energy                                81.884   Nuclear                      To assist nonprofit, non-   https:/ https:/
                                                                    Counterterrorism and         government,                 /       /
                                                                    Incident Response            professional                sam.g www.
       Department of Health and Human Services             93.007   Program
                                                                    Public Awareness             organizations,
                                                                                                 To             through a
                                                                                                    increase public                  usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Campaigns on Embryo awareness of embryo                  /       /
                                                                    Adoption              adoption and donation              sam.g www.
       Department of Health and Human Services             93.008   Medical Reserve Corps as
                                                                                          To a method
                                                                                             support   of family
                                                                                                     the                     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Small Grant Program      development of Medical          /       /
                                                                                             Reserve Corps (MRC)             sam.g www.
                                                                                             units in communities            ov/fal/ usasp
       Department of Health and Human Services             93.011   National Organizations The purpose of the                https:/ https:/
                                                                    for State and Local      HRSA National                   /       /
                                                                    Officials                Organizations of State          sam.g www.
       Department of Health and Human Services             93.019   Technical Assistance     and  Local Officials
                                                                                             To provide   support for a      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    and Provision for        quality of care                 /       /
                                                                    Foreign Hospitals and improvement project                sam.g www.
                                                                    Health Organizations     based in a partner              ov/fal/ usasp
       Department of Health and Human Services             93.041   Special Programs for     To support activities to        https:/ https:/
                                                                    the Aging, Title VII,    develop, strengthen,            /       /
                                                                    Chapter 3, Programs for and carry out programs           sam.g www.
       Department of Health and Human Services             93.042   Prevention
                                                                    Special   Programs
                                                                                 of Elderfor for the
                                                                                             The      prevention,
                                                                                                   principal role of this            usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    the Aging, Title VII,        Ombudsman Program           /       /
                                                                    Chapter 2, Long Term         is to investigate and       sam.g www.
       Department of Health and Human Services             93.043   Care Ombudsman
                                                                    Special Programs for       resolve complaints
                                                                                               To develop or                 ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    the Aging, Title III, Part strengthen preventive         /       /
                                                                    D, Disease Prevention health service and                 sam.g www.
                                                                    and Health Promotion health promotion                    ov/fal/ usasp
       Department of Health and Human Services             93.044   Special Programs for       To encourage State            https:/ https:/
                                                                    the Aging, Title III, Part Agencies on Aging and         /       /
                                                                    B, Grants for Supportive Area Agencies on Aging          sam.g www.
       Department of Health and Human Services             93.045   Services and Senior
                                                                    Special Programs      for  to
                                                                                               To concentrate
                                                                                                  provide grants to          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    the Aging, Title III, Part States and U.S.               /       /
                                                                    C, Nutrition Services      Territories to support        sam.g www.
                                                                                               nutrition services            ov/fal/ usasp
       Department of Health and Human Services             93.047   Special Programs for       To promote the delivery       https:/ https:/
                                                                    the Aging, Title VI, Part of supportive services,        /       /
                                                                    A, Grants to Indian        including nutrition           sam.g www.
       Department of Health and Human Services             93.048   Tribes, Part
                                                                    Special      B, Grants
                                                                            Programs           services,
                                                                                        for to To            American
                                                                                                  supporttothe                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    the Aging, Title IV, and     development and             /       /
                                                                    Title II, Discretionary      testing of innovative       sam.g www.
       Department of Health and Human Services             93.051   Projects
                                                                    Alzheimer's Disease          programs,
                                                                                                 To expand services
                                                                                                              the     and    ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Demonstration Grants     availability of diagnostic      /       /
                                                                    to States                and support services for        sam.g www.
                                                                                             persons with                    ov/fal/ usasp
       Department of Health and Human Services             93.052   National Family          To assist States,               https:/ https:/
                                                                    Caregiver Support, Title Territories in providing        /       /
                                                                    III, Part E              multifaceted systems of         sam.g www.
       Department of Health and Human Services             93.053   Nutrition Services       support
                                                                                             To reward services for: (1)
                                                                                                         effective           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Incentive Program        performance by States           /       /
                                                                                             and Tribes in the               sam.g www.
       Department of Health and Human Services             93.054   National Family          efficient
                                                                                             To  assistdelivery of
                                                                                                        Indian Tribal                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Caregiver Support, Title and Native Hawaiian             /       /
                                                                    VI, Part C, Grants To    Organizations in                sam.g www.
       Department of Health and Human Services             93.059   Indian Tribes
                                                                    Training      And
                                                                             in General,     providing
                                                                                             The         multifaceted
                                                                                                   purpose  of the                   usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Pediatric, and Public  Training in General,              /       /
                                                                    Health Dentistry       Pediatric, and Public             sam.g www.
       Department of Health and Human Services             93.060   Sexual Risk Avoidance Health  Dentistry
                                                                                           The purpose       and
                                                                                                         of this             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Education              program is to promote             /       /
                                                                                           sexual risk avoidance             sam.g www.
                                                                                           education as defined by           ov/fal/ usasp
       Department of Health and Human Services             93.061   Innovations in Applied To foster the new                 https:/ https:/
                                                                    Public Health Research knowledge necessary to            /       /
                                                                                           develop, enhance, and             sam.g www.
       Department of Health and Human Services             93.065   Laboratory Leadership, disseminate
                                                                                           This programeffective
                                                                                                          will               ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Workforce Training and increase the capacity             /       /
                                                                    Management             and capability of state           sam.g www.
       Department of Health and Human Services             93.066   Development,
                                                                    State Vital Statistics and
                                                                                           To enhance        newborn
                                                                                                territorialthe                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Improvement Program performance of the                   /       /
                                                                                           National Vital Statistics         sam.g www.
                                                                                           System (NVSS) by                  ov/fal/ usasp
       Department of Health and Human Services             93.067   Global AIDS            The U.S. President's              https:/ https:/
                                                                                           Emergency Plan for                /       /
                                                                                           AIDS Relief (PEPFAR)              sam.g www.
       Department of Health and Human Services             93.068   Chronic Diseases:      is
                                                                                           Tothe
                                                                                              assist    Government
                                                                                                  U.S.State   and            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Research, Control, and local health agencies,            /       /
                                                                    Prevention             health related                    sam.g www.
                                                                                           organizations, and other          ov/fal/ usasp
       Department of Health and Human Services             93.069   Public Health          Public health                     https:/ https:/
                                                                    Emergency              emergency                         /       /
                                                                    Preparedness           preparedness and                  sam.g www.
       Department of Health and Human Services             93.070   Environmental Public   response   capacity
                                                                                           To bring public health            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Health and Emergency and epidemiologic                   /       /




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                                                                    Response             principles together to              sam.g www.
       Department of Health and Human Services             93.071   Medicare Enrollment  identify,
                                                                                         To provideclarify, and
                                                                                                      enhanced                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Assistance Program           outreach to eligible        /       /
                                                                                                 Medicare beneficiaries      sam.g www.
                                                                                                 regarding their             ov/fal/ usasp
       Department of Health and Human Services             93.072   Lifespan Respite Care        To expand and enhance       https:/ https:/
                                                                    Program                      respite care services to    /       /
                                                                                                 family caregivers;          sam.g www.
       Department of Health and Human Services             93.073   Birth Defects and            improve  the statewide
                                                                                                 To work with  State         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Developmental             health agencies,               /       /
                                                                    Disabilities - Prevention universities, and public       sam.g www.
                                                                    and Surveillance          and private nonprofit          ov/fal/ usasp
       Department of Health and Human Services             93.077   Family Smoking            The Family Smoking             https:/ https:/
                                                                    Prevention and Tobacco Prevention and Tobacco            /       /
                                                                    Control Act Regulatory Control Act (TCA)                 sam.g www.
       Department of Health and Human Services             93.078   Research
                                                                    Strengthening             provides
                                                                                              To assist the
                                                                                                        in planning
                                                                                                            authorityorto    ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Emergency Care               developing emergency        /       /
                                                                    Delivery in the United       care health information     sam.g www.
       Department of Health and Human Services             93.079   States Healthcare
                                                                    Cooperative           and  promotion
                                                                                          Funding  is to improve                     usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Agreements to Promote the health and well-               /       /
                                                                    Adolescent Health     being of our                       sam.g www.
                                                                    through School-Based nationâ€™s youth by                 ov/fal/ usasp
       Department of Health and Human Services             93.080   Blood Disorder        To work with State                 https:/ https:/
                                                                    Program: Prevention,  health agencies and                /       /
                                                                    Surveillance, and     other public, private,             sam.g www.
       Department of Health and Human Services             93.081   Research
                                                                    ASPR Science          and  nonprofit
                                                                                          To conduct                         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Preparedness and             preparedness and            /       /
                                                                    Response Grants              response research that      sam.g www.
       Department of Health and Human Services             93.083                            will inform
                                                                    Prevention of Disease, The     purposetheofongoing
                                                                                                                this                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Disability, and Death    program is to                   /       /
                                                                    through Immunization strengthen capacity to              sam.g www.
                                                                    and Control of           prevent disease,                ov/fal/ usasp
       Department of Health and Human Services             93.084   Prevention of Disease, The purpose of this               https:/ https:/
                                                                    Disability, and Death by program is to prevent           /       /
                                                                    Infectious Diseases      disease, disability and         sam.g www.
       Department of Health and Human Services             93.085   Research on Research This        by infectious
                                                                                             deathprogram    supports                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Integrity                    projects, conferences,      /       /
                                                                                                 and workshops that          sam.g www.
                                                                                                 advance the evolving        ov/fal/ usasp
       Department of Health and Human Services             93.086   Healthy Marriage             Under the Family,           https:/ https:/
                                                                    Promotion and                Relationship, and           /       /
                                                                    Responsible                  Marriage Education          sam.g www.
       Department of Health and Human Services             93.087   Fatherhood Grants
                                                                    Enhance Safety  of           Works  opportunity,
                                                                                                 To provide, throughthe      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Children Affected by         interagency                 /       /
                                                                    Substance Abuse              collaboration, an           sam.g www.
       Department of Health and Human Services             93.088   Advancing System        integration
                                                                                            To  promoteof  program
                                                                                                         program                     usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Improvements for Key and systems innovation,             /       /
                                                                    Issues in Women's       policy and performance           sam.g www.
                                                                    Health                  management, and                  ov/fal/ usasp
       Department of Health and Human Services             93.089   Emergency System for To establish and                    https:/ https:/
                                                                    Advance Registration of maintain a national              /       /
                                                                    Volunteer Health        interoperable network of         sam.g www.
       Department of Health and Human Services             93.090   Professionals
                                                                    Guardianship            stateobjective
                                                                                            The   systems.ofEach
                                                                                                              the                    usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Assistance                   Guardianship                /       /
                                                                                                 Assistance Program          sam.g www.
                                                                                                 (GAP) is to provide         ov/fal/ usasp
       Department of Health and Human Services             93.092   Affordable Care Act          The purpose of this         https:/ https:/
                                                                    (ACA) Personal               program is to support       /       /
                                                                    Responsibility               projects that educate       sam.g www.
       Department of Health and Human Services             93.097   Education  Program
                                                                    Strengthening  the           youth between
                                                                                                 This project will10 and
                                                                                                                   support   ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Nation's Public Health       the operations and          /       /
                                                                    System through a             continuous                  sam.g www.
       Department of Health and Human Services             93.099   National Voluntary
                                                                    Collaboration With the       improvement
                                                                                                 On              a
                                                                                                     Septemberof19,                  usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    World Health                 2011, the Government        /       /
                                                                    Organization and its         of the United States of     sam.g www.
                                                                    Regional Offices for         America and the World       ov/fal/ usasp
       Department of Health and Human Services             93.103   Food and Drug                To assist institutions      https:/ https:/
                                                                    Administration               and organizations, to       /       /
                                                                    Research                     establish, expand, and      sam.g www.
       Department of Health and Human Services             93.104   Comprehensive                improve
                                                                                                 To       research,
                                                                                                     implement                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Community Mental             community systems of        /       /
                                                                    Health Services for          care to provide             sam.g www.
       Department of Health and Human Services             93.107   Children
                                                                    Area Health   Serious
                                                                             withEducation       comprehensive
                                                                                                 The Area Healthmental       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Centers                      Education Centers           /       /
                                                                                                 (AHEC) Program              sam.g www.
       Department of Health and Human Services             93.110   Maternal and Child           enhances  access
                                                                                                 The Special Projects
                                                                                                                  to of      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Health Federal        Regional and National              /     /
                                                                    Consolidated Programs Significance Program               sam.g www.
       Department of Health and Human Services             93.113   Environmental Health  (SPRANS)
                                                                                          To          carries out
                                                                                             foster understanding                usasp
                                                                                                                         ov/fal/ https:/
                                                                                                                         https:/
                                                                                                 of human health effects /       /
                                                                                                 of exposure to          sam.g www.
                                                                                                 environmental agents in ov/fal/ usasp




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       Department of Health and Human Services             93.116   Project Grants and        This program assists         https:/ https:/
                                                                    Cooperative               State, local health          /       /
                                                                    Agreements for            agencies, political          sam.g www.
       Department of Health and Human Services             93.117   Tuberculosis
                                                                    Preventive   Control
                                                                               Medicine       subdivisions,
                                                                                              Grants         and other
                                                                                                      are intended  to             usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Residency                 promote postgraduate         /       /
                                                                                              medical education in         sam.g www.
       Department of Health and Human Services             93.118   Acquired                  the
                                                                                              To develop    of
                                                                                                  specialtyand             ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Immunodeficiency        implement HIV                  /       /
                                                                    Syndrome (AIDS)         prevention programs of         sam.g www.
                                                                    Activity                public information and         ov/fal/ usasp
       Department of Health and Human Services             93.121   Oral Diseases and       NIDCR extramural               https:/ https:/
                                                                    Disorders Research      research provides              /       /
                                                                                            research funds to              sam.g www.
       Department of Health and Human Services             93.123                           support
                                                                    Health Professions Pre- To       basic,
                                                                                               provide  scholarships               usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    graduate Scholarship      to American Indians and /       /
                                                                    Program for Indians       Alaska Natives for the  sam.g www.
       Department of Health and Human Services             93.124   Nurse Anesthetist         purpose  of completing
                                                                                              The purpose   of the    ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    Traineeship               Nurse Anesthetist       /       /
                                                                                              Traineeship (NAT)       sam.g www.
                                                                                              program is to increase  ov/fal/ usasp
       Department of Health and Human Services             93.127   Emergency Medical         To support              https:/ https:/
                                                                    Services for Children     demonstration projects /        /
                                                                                              for the expansion and   sam.g www.
       Department of Health and Human Services             93.129   Technical and Non-        improvement   of
                                                                                              State and Regional      ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    Financial Assistance to Primary Care                   /       /
                                                                    Health Centers          Associations (PCAs)            sam.g www.
                                                                                            provide training and           ov/fal/ usasp
       Department of Health and Human Services             93.130   Cooperative             To coordinate the local,       https:/ https:/
                                                                    Agreements to States/ State, and Federal               /       /
                                                                    Territories for the     resources contributing         sam.g www.
       Department of Health and Human Services             93.134   Coordination
                                                                    Grants          and
                                                                             to Increase    to primary
                                                                                            Living     care
                                                                                                   Organ    service
                                                                                                          Donation                 usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Organ Donation            Reimbursement                /       /
                                                                                              Program: The goal of         sam.g www.
       Department of Health and Human Services             93.135   Centers for Research      this
                                                                                              The program  is to
                                                                                                   funded Prevention       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    and Demonstration for     Research Centers aims        /       /
                                                                    Health Promotion and      are to: 1. Establish,        sam.g www.
                                                                    Disease Prevention        maintain, and operate        ov/fal/ usasp
       Department of Health and Human Services             93.136   Injury Prevention and     Through its programs,        https:/ https:/
                                                                    Control Research and      the Injury Center works      /       /
                                                                    State and Community       with national                sam.g www.
       Department of Health and Human Services             93.137   Based   Programs
                                                                    Community   Programs      organizations,
                                                                                              Support public state
                                                                                                              and          ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    to Improve Minority       private evidence-based       /       /
                                                                    Health                    interventions and            sam.g www.
                                                                                              innovative models to         ov/fal/ usasp
       Department of Health and Human Services             93.138   Protection and            To enable the                https:/ https:/
                                                                    Advocacy for              expansion of the             /       /
                                                                    Individuals with Mental   Protection and               sam.g www.
       Department of Health and Human Services             93.140   Illness
                                                                    Intramural Research       Advocacy
                                                                                              The        system
                                                                                                   National Institutes             usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Training Award            of Health (NIH) IRTA         /       /
                                                                                              Traineeships/                sam.g www.
       Department of Health and Human Services             93.142   NIEHS Hazardous           Fellowships  are
                                                                                              To provide cooperative       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Waste Worker Health       agreements and project       /       /
                                                                    and Safety Training       grant support for the        sam.g www.
                                                                                              development and              ov/fal/ usasp
       Department of Health and Human Services             93.143   NIEHS Superfund           To support innovate          https:/ https:/
                                                                    Hazardous                 research and training        /       /
                                                                    Substances_Basic          through multi-project,       sam.g www.
       Department of Health and Human Services             93.145   Research and
                                                                    HIV-Related Training      interdisciplinary
                                                                                              National Traininggrants;
                                                                                                                 and       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    and Technical           Technical Assistance           /       /
                                                                    Assistance              Cooperative                    sam.g www.
       Department of Health and Human Services             93.150                           Agreements:
                                                                    Projects for Assistance To            The
                                                                                               provide financial                   usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    in Transition from      assistance to States to        /       /
                                                                    Homelessness (PATH) support services for               sam.g www.
       Department of Health and Human Services             93.153   Coordinated Services    individuals
                                                                                            Part D (base):  are
                                                                                                        whoThe                     usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    and Access to          purpose of this program         /       /
                                                                    Research for Women, is to provide family-              sam.g www.
       Department of Health and Human Services             93.155   Infants, Children,
                                                                    Rural Health       and
                                                                                  Research centered
                                                                                           The Ruralcare  in the
                                                                                                       Health              ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Centers                Research Center                 /       /
                                                                                           program supports                sam.g www.
                                                                                           policy-relevant research        ov/fal/ usasp
       Department of Health and Human Services             93.157   Centers of Excellence The goal of this                 https:/ https:/
                                                                                           program is to assist            /       /
                                                                                           eligible schools in             sam.g www.
       Department of Health and Human Services             93.161   Health Program for     supporting  programs
                                                                                           To work closely  with of        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Toxic Substances and      State, local, and other      /       /
                                                                    Disease Registry          Federal agencies to          sam.g www.
       Department of Health and Human Services             93.162                           reduce
                                                                    National Health Service The     or eliminate
                                                                                                 purpose   of the                  usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Corps Loan Repayment National Health Service           /       /
                                                                                            Corps (NHSC) Loan              sam.g www.
                                                                                            Repayment Program              ov/fal/ usasp
       Department of Health and Human Services             93.164   Indian Health Service   To ensure that the             https:/ https:/
                                                                    Educational Loan        Indian Health Service          /       /
                                                                    Repayment               (IHS) has an adequate          sam.g www.
       Department of Health and Human Services             93.165   Grants to States for    supply of trained
                                                                                            To increase   the health       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Loan Repayment            availability of primary      /       /
                                                                                              health care clinicians in    sam.g www.
                                                                                              Health Professional          ov/fal/ usasp
       Department of Health and Human Services             93.172   Human Genome              NHGRI supports the           https:/ https:/
                                                                    Research                  development of               /       /
                                                                                              methods, resources and       sam.g www.
       Department of Health and Human Services             93.173   Research Related to       technologies       improve
                                                                                              To investigatetosolutions    ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Deafness and              to problems directly         /       /




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                                                                    Communication             relevant to individuals      sam.g www.
       Department of Health and Human Services             93.178   Disorders
                                                                    Nursing Workforce         with objective
                                                                                              The  deafness ofor the               usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Diversity                 NWD program is to            /       /
                                                                                              increase the diversity of    sam.g www.
                                                                                              the nursing workforce        ov/fal/ usasp
       Department of Health and Human Services             93.184   Disabilities Prevention   (1) Support National         https:/ https:/
                                                                                              Centers on Disability to     /       /
                                                                                              develop, implement,          sam.g www.
       Department of Health and Human Services             93.185   Immunization              evaluate,
                                                                                              To assist states,
                                                                                                        and political      ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Research,                 subdivisions of states,      /       /
                                                                    Demonstration, Public     and other public and         sam.g www.
                                                                    Information and           private nonprofit entities   ov/fal/ usasp
       Department of Health and Human Services             93.186   National Research         The purpose of the           https:/ https:/
                                                                    Service Award in          Ruth L. Kirschstein          /       /
                                                                    Primary Care Medicine     National Research            sam.g www.
       Department of Health and Human Services             93.187   Undergraduate             Service  Award
                                                                                              To provide     (NRSA)
                                                                                                         service-          ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Scholarship Program       conditioned                  /       /
                                                                    for Individuals from      scholarships to              sam.g www.
       Department of Health and Human Services             93.191   Disadvantaged
                                                                    Graduate Psychology       individuals
                                                                                              The  purposefrom
                                                                                                             of the                usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Education                 Graduate Psychology          /       /
                                                                                              Education Program is         sam.g www.
                                                                                              program is to train          ov/fal/ usasp
       Department of Health and Human Services             93.193   Urban Indian Health       Grants provide health-       https:/ https:/
                                                                    Services                  related services to          /       /
                                                                                              Urban Indians including:     sam.g www.
       Department of Health and Human Services             93.197   Childhood Lead            (1) Alcohol
                                                                                              To (1) Develop
                                                                                                          and and/or       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Poisoning Prevention   enhance a surveillance          /       /
                                                                    Projects, State and    system that monitors all        sam.g www.
       Department of Health and Human Services             93.210   Local Childhood
                                                                    Tribal Self-Governance blood
                                                                                     Lead To      lead
                                                                                              allow     levels; (2)
                                                                                                     Federally                     usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Program: IHS           recognized Indian               /       /
                                                                    Compacts/Funding       Tribes to enter into an         sam.g www.
                                                                    Agreements             agreement with the              ov/fal/ usasp
       Department of Health and Human Services             93.211   Telehealth Programs    The purpose of the              https:/ https:/
                                                                                           Telehealth Network              /       /
                                                                                           Program (TNGP) is to            sam.g www.
       Department of Health and Human Services             93.213                          fund programs
                                                                    Research and Training NCCIH              that
                                                                                                    is the lead                    usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    in Complementary and      Federal agency for           /       /
                                                                    Integrative Health        scientific research on       sam.g www.
                                                                                              the fundamental              ov/fal/ usasp
       Department of Health and Human Services             93.217   Family Planning           To establish and             https:/ https:/
                                                                    Services                  operate voluntary family     /       /
                                                                                              planning services            sam.g www.
       Department of Health and Human Services             93.220   National Institutes of    projects,
                                                                                              To recruitwhich  shall
                                                                                                          and retain       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Health Intramural Loan health professionals            /       /
                                                                    Repayment Program      performing research in          sam.g www.
       Department of Health and Human Services             93.223   Development and        fieldspurpose
                                                                                           The    requiredofby the
                                                                                                             this                  usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Coordination of Rural   program is to serve as a       /       /
                                                                    Health Services         national clearinghouse         sam.g www.
                                                                                            for information on rural       ov/fal/ usasp
       Department of Health and Human Services             93.224   Health Center Program To improve the health of         https:/ https:/
                                                                    (Community Health       the Nation's                   /       /
                                                                    Centers, Migrant Health underserved                    sam.g www.
       Department of Health and Human Services             93.225            Health Care
                                                                    Centers, Research
                                                                    National                communities
                                                                                            To            by
                                                                                                provide predoctoral                usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Service Awards Health     and postdoctoral             /       /
                                                                    Services Research         training opportunities in    sam.g www.
                                                                    Training                  health services              ov/fal/ usasp
       Department of Health and Human Services             93.226   Research on               To support research          https:/ https:/
                                                                    Healthcare Costs,         and evaluations,             /       /
                                                                    Quality and Outcomes      demonstration projects,      sam.g www.
       Department of Health and Human Services             93.228   Indian Health Service,    research
                                                                                              To developnetworks,
                                                                                                          and      and     ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Health Management    enhance management                /       /
                                                                    Development Program  infrastructure of                 sam.g www.
       Department of Health and Human Services             93.231                        Federally-recognized
                                                                    Epidemiology Program The  purpose of this                      usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                                         program is to fund                /       /
                                                                                         Tribes, Tribal and urban          sam.g www.
                                                                                         Indian organizations,             ov/fal/ usasp
       Department of Health and Human Services             93.232   Loan Repayment       This listing is no longer         https:/ https:/
                                                                    Program for General  in use. To recruit and            /       /
                                                                    Research             retain health                     sam.g www.
       Department of Health and Human Services             93.233   National Center on   professionals
                                                                                         The  National Center on                   usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Sleep Disorders           Sleep Disorders              /       /
                                                                    Research                  Research (NCSDR)             sam.g www.
       Department of Health and Human Services             93.234   Traumatic Brain Injury    supports
                                                                                              To createresearch
                                                                                                        and     and        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    State Demonstration       strengthen a system of       /       /
                                                                    Grant Program             services and supports        sam.g www.
       Department of Health and Human Services             93.235   Title V State Sexual      that
                                                                                              The maximizes
                                                                                                   purpose of the
                                                                                                              the Title    ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Risk Avoidance           V State SRAE program          /       /
                                                                    Education (Title V State is to provide messages        sam.g www.
       Department of Health and Human Services             93.236   SRAE) to
                                                                    Grants  Program
                                                                               States to     to youthtothat
                                                                                             Grants         normalizes
                                                                                                        States to                  usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Support Oral Health       Support Oral Health          /       /
                                                                    Workforce Activities      Workforce Activities         sam.g www.
                                                                                              assists states to            ov/fal/ usasp




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       Department of Health and Human Services             93.237   Special Diabetes        To promote improved              https:/ https:/
                                                                    Program for Indians     health care among                /       /
                                                                    Diabetes Prevention     American Indians/                sam.g www.
       Department of Health and Human Services             93.239   and Treatment
                                                                    Policy ResearchProjects
                                                                                     and    Alaska
                                                                                            The     Natives
                                                                                                goals  of thisthrough
                                                                                                                listing              usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Evaluation Grants       are to improve the               /       /
                                                                                            effectiveness of public          sam.g www.
       Department of Health and Human Services             93.240   State Capacity Building policies
                                                                                            To fulfill the reduce
                                                                                                       thatmandated          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                                            objectives of the                /       /
                                                                                            Comprehensive                    sam.g www.
                                                                                            Environmental                    ov/fal/ usasp
       Department of Health and Human Services             93.241   State Rural Hospital    The Rural Hospital               https:/ https:/
                                                                    Flexibility Program     Flexibility Program              /       /
                                                                                            (Flex) enables state             sam.g www.
       Department of Health and Human Services             93.242                           designated
                                                                    Mental Health Research The   missionentities
                                                                                                           of the to                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Grants                      National Institute of      /       /
                                                                                                Mental Health (NIMH) is sam.g www.
       Department of Health and Human Services             93.243   Substance Abuse and         to transform
                                                                                                SAMHSA     wasthe
                                                                                                                given the ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Mental Health Services      authority to address       /       /
                                                                    Projects of Regional        priority substance         sam.g www.
                                                                    and National                abuse treatment,           ov/fal/ usasp
       Department of Health and Human Services             93.247   Advanced Nursing            ANEW: The purpose of https:/ https:/
                                                                    Education Workforce         the Advanced Nursing       /       /
                                                                    Grant Program               Education Workforce        sam.g www.
       Department of Health and Human Services             93.250   Geriatric Academic          (ANEW)    Program
                                                                                                The purpose    of theis to ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Career Awards           GACA program is to               /       /
                                                                    Department of Health    support the career               sam.g www.
                                                                    and Human Services      development of                   ov/fal/ usasp
       Department of Health and Human Services             93.251   Early Hearing Detection The Early Hearing                https:/ https:/
                                                                    and Intervention        Detection and                    /       /
                                                                                            Intervention (EHDI)              sam.g www.
       Department of Health and Human Services             93.253                           program
                                                                    Poison Center Support The        supports
                                                                                                 objectives are (1)                  usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    and Enhancement             to support Poison            /       /
                                                                    Grant                       Control Centers efforts      sam.g www.
       Department of Health and Human Services             93.255   Children's Hospitals    to
                                                                                            Theprevent,
                                                                                                 purpose and
                                                                                                           of provide
                                                                                                              the            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Graduate Medical        CHGME Payment                    /       /
                                                                    Education Payment       Program is to                    sam.g www.
                                                                    Program                 compensate for the               ov/fal/ usasp
       Department of Health and Human Services             93.257   Grants for Education,   The Radiation Exposure           https:/ https:/
                                                                    Prevention, and Early   Screening and                    /       /
                                                                    Detection of Radiogenic Education Program                sam.g www.
       Department of Health and Human Services             93.260   Cancers  and Diseases aims
                                                                    Family Planning               to screen
                                                                                            To provide  job specific         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Personnel Training          training for personnel       /       /
                                                                                                working in Title X           sam.g www.
                                                                                                settings to improve the      ov/fal/ usasp
       Department of Health and Human Services             93.262   Occupational Safety         To (1) recognize new         https:/ https:/
                                                                    and Health Program          hazards; (2) define the      /       /
                                                                                                magnitude of the             sam.g www.
       Department of Health and Human Services             93.264   Nurse Faculty Loan          problem;
                                                                                                The  Nurse(3)Faculty
                                                                                                              follow Loan            usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Program (NFLP)              Program (NFLP) seeks         /       /
                                                                                                to increase the number       sam.g www.
       Department of Health and Human Services             93.266   Health Systems              of qualified
                                                                                                Fund   humannursing
                                                                                                              resources      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Strengthening and HIV/for health, quality                /       /
                                                                    AIDS Prevention, Care improvement and other              sam.g www.
                                                                    and Treatment under   health system                      ov/fal/ usasp
       Department of Health and Human Services             93.268   Immunization          To assist states and               https:/ https:/
                                                                    Cooperative           communities in                     /       /
                                                                    Agreements            establishing and                   sam.g www.
       Department of Health and Human Services             93.269   Complex Humanitarian maintaining   preventive
                                                                                          To bring public  health            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Emergency and War-    and epidemiologic                  /       /
                                                                    Related Injury Public principles to the aid of           sam.g www.
       Department of Health and Human Services             93.270   Health
                                                                    Viral  Activities
                                                                          Hepatitis       populations
                                                                                          Program      affected by
                                                                                                    activities                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Prevention and Control support integrated viral          /     /
                                                                                           hepatitis surveillance            sam.g www.
       Department of Health and Human Services             93.273   Alcohol Research           prevention
                                                                                           anddevelop
                                                                                           To          a sound         ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                    Programs               fundamental knowledge /             /
                                                                                           base which can be           sam.g www.
       Department of Health and Human Services             93.276   Drug-Free Communities applied
                                                                                           The purpose
                                                                                                     to theof the DFC ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Support Program        Support Program is to       /       /
                                                                    Grants                 establish and               sam.g www.
                                                                                           strengthen                  ov/fal/ usasp
       Department of Health and Human Services             93.279   Drug Use and Addiction To support basic,           https:/ https:/
                                                                    Research Programs      clinical, translational,    /       /
                                                                                           and implementation          sam.g www.
       Department of Health and Human Services             93.280   National Institutes of research
                                                                                           To attract in
                                                                                                       and    field of
                                                                                                          theretain    ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Health Extramural Loan health professionals to           /       /
                                                                    Repayment Program      research careers by               sam.g www.
       Department of Health and Human Services             93.283   Centers for Disease    offering
                                                                                           To assisteducational
                                                                                                     State and                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Control and Prevention      local health authorities     /       /
                                                                    Investigations and          and other health related     sam.g www.
                                                                    Technical Assistance        organizations in             ov/fal/ usasp
       Department of Health and Human Services             93.284   Injury Prevention           To improve the quality       https:/ https:/
                                                                    Program for American        of the health of             /       /
                                                                    Indians and Alaskan         American Indians and         sam.g www.
       Department of Health and Human Services             93.286   Natives
                                                                    DiscoveryCooperative
                                                                               and Applied      Alaskan  Natives
                                                                                                To support       by
                                                                                                            hypothesis-,     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Research for            design-, technology-, or         /       /
                                                                    Technological           device-driven research           sam.g www.
                                                                    Innovations to Improve related to the discovery,         ov/fal/ usasp
       Department of Health and Human Services             93.288   National Health Service The purpose of the               https:/ https:/
                                                                    Corps Scholarship       NHSC SP is to enter              /       /
                                                                    Program                 into contracts with              sam.g www.
       Department of Health and Human Services             93.291   Surplus Property        students
                                                                                            To conveywho   are in
                                                                                                       or lease              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Utilization                 surplus Federal real         /       /




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                                                                                                properties made              sam.g www.
       Department of Health and Human Services             93.297   Teenage Pregnancy           available
                                                                                                The       by the
                                                                                                     purpose  of the                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Prevention Program     Teenage Pregnancy                 /       /
                                                                                           Prevention (TPP)                  sam.g www.
                                                                                           Program is to support             ov/fal/ usasp
       Department of Health and Human Services             93.300   National Health Center To provide for the                https:/ https:/
                                                                    for Health Workforce   development of                    /       /
                                                                    Analysis               information describing            sam.g www.
       Department of Health and Human Services             93.301   Small Rural Hospital   and
                                                                                           The analyzing
                                                                                                Small Rural the              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Improvement Grant      Hospital Improvement              /       /
                                                                    Program                Program supports                  sam.g www.
                                                                                           eligible small rural              ov/fal/ usasp
       Department of Health and Human Services             93.303   Nurse Corps            The Nurse Corps                   https:/ https:/
                                                                    Scholarship            Scholarship Program's             /       /
                                                                                           objective is to increase          sam.g www.
       Department of Health and Human Services             93.304   Racial and Ethnic      the
                                                                                           Thesupply
                                                                                                purposeandof this            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Approaches to               program is to fund           /       /
                                                                    Community Health            National Networks to         sam.g www.
       Department of Health and Human Services             93.307   Minority Health and         fund,
                                                                                                To    manage,
                                                                                                   support      support,
                                                                                                           basic,                    usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Health Disparities      clinical, social, and            /       /
                                                                    Research                behavioral research;             sam.g www.
                                                                                            promote research                 ov/fal/ usasp
       Department of Health and Human Services             93.310   Trans-NIH Research      This listing covers              https:/ https:/
                                                                    Support                 multiple offices in the          /       /
                                                                                            NIH Office of the                sam.g www.
       Department of Health and Human Services             93.313   NIH Office of Research Director
                                                                                            ORWH will       offer
                                                                                                      thatidentify           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    on Women's Health       projects on women's              /       /
                                                                                            health that should be            sam.g www.
       Department of Health and Human Services             93.314                           conducted
                                                                    Early Hearing Detection The          or supported
                                                                                                  objective  of this                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    and Intervention        program is to assist             /       /
                                                                    Information System      EHDI programs in                 sam.g www.
                                                                    (EHDI-IS) Surveillance developing and                    ov/fal/ usasp
       Department of Health and Human Services             93.315   Rare Disorders:         To (1) Promote public            https:/ https:/
                                                                    Research, Surveillance, health capacity by               /       /
                                                                    Health Promotion, and conducting research to             sam.g www.
       Department of Health and Human Services             93.316   Education
                                                                    Public Health           expand
                                                                                            The  overall knowledge
                                                                                                    the goal of this                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Preparedness and       program is to conduct             /       /
                                                                    Response Science,      research and related              sam.g www.
                                                                    Research, and Practice public health                     ov/fal/ usasp
       Department of Health and Human Services             93.317   Emerging Infections    The purpose of the                https:/ https:/
                                                                    Programs               Emerging Infections               /       /
                                                                                           Programs (EIP) is to              sam.g www.
       Department of Health and Human Services             93.318   Protecting and         assist
                                                                                           CDCâ€™sin local, state,
                                                                                                        global               ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Improving Health            health efforts are to        /       /
                                                                    Globally: Building and      assist Ministries of         sam.g www.
       Department of Health and Human Services             93.319   Strengthening
                                                                    Outreach  Programs
                                                                                    PublictoHealth  and other
                                                                                            The purpose      of this                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Reduce the Prevalence listing is to assist Land-         /       /
                                                                    of Obesity in High Risk Grant institutions               sam.g www.
                                                                    Rural Areas             conduct pilot programs           ov/fal/ usasp
       Department of Health and Human Services             93.321   Dietary Supplement      The NIH Office of                https:/ https:/
                                                                    Research Program        Dietary Supplements              /       /
                                                                                            will identify projects that      sam.g www.
       Department of Health and Human Services             93.322   CDC Partnership:        should
                                                                                            The      be conducted
                                                                                                  activities         or
                                                                                                             under this              usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Strengthening Public    cooperative agreement            /       /
                                                                    Health Laboratories     are aligned with the             sam.g www.
                                                                                            following Healthy                ov/fal/ usasp
       Department of Health and Human Services             93.323   Epidemiology and        The purpose of this              https:/ https:/
                                                                    Laboratory Capacity for program is to protect            /       /
                                                                    Infectious Diseases     the public health and            sam.g www.
       Department of Health and Human Services             93.324   (ELC)
                                                                    State Health Insurance safety  of the
                                                                                            To provide    American
                                                                                                        information,         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Assistance Program      counseling, and                  /       /
                                                                                            assistance relating to           sam.g www.
       Department of Health and Human Services             93.325   Paralysis Resource      obtaining
                                                                                            The        adequate
                                                                                                 Paralysis       and
                                                                                                            Resource                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Center                      Center (PRC) grant is        /       /
                                                                                                awarded to the               sam.g www.
                                                                                                Christopher & Dana           ov/fal/ usasp
       Department of Health and Human Services             93.326   Strengthening Public        CDCâ€™s global               https:/ https:/
                                                                    Health through              health efforts are to        /       /
                                                                    Surveillance,               assist Ministries of         sam.g www.
       Department of Health and Human Services             93.327   Epidemiologic
                                                                    Demonstration Grants        Health
                                                                                                The Office  other
                                                                                                       and on                        usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    for Domestic Victims of Trafficking in Persons           /       /
                                                                    Human Trafficking       (OTIP) currently funds           sam.g www.
       Department of Health and Human Services             93.332   Cooperative Agreement the
                                                                                            Eachfollowing  three
                                                                                                   year, the Centers         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    to Support Navigators in for Medicare &                  /       /
                                                                    Federally-facilitated    Medicaid Services               sam.g www.
       Department of Health and Human Services             93.334   Exchanges
                                                                    The Healthy Brain        (CMS)
                                                                                             The purpose
                                                                                                    awardsoffunding
                                                                                                             the             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Initiative: Technical       listing is to implement      /       /
                                                                    Assistance to               public health actions        sam.g www.
       Department of Health and Human Services             93.336   Implement Public
                                                                    Behavioral    Risk Factor   through
                                                                                                The       engagement
                                                                                                      purpose   of this of           usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Surveillance System         program is to provide        /       /
                                                                                                assistance to State and      sam.g www.
                                                                                                Territorial Health           ov/fal/ usasp




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       Department of Health and Human Services             93.341   Analyses, Research     To further CMSâ€™        https:/ https:/
                                                                    and Studies to Address mission and goals        /       /
                                                                    the Impact of CMSâ€™ related to providing high sam.g www.
       Department of Health and Human Services             93.342   Programs
                                                                    Health  Professions    quality
                                                                               on American To      health
                                                                                              increase    care to
                                                                                                        educational ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                                    Student Loans,         opportunities by         /       /
                                                                    Including Primary Care providing long-term,     sam.g www.
       Department of Health and Human Services             93.343   Loans  and Loans
                                                                    Public Health     for
                                                                                  Service  low-interest
                                                                                           To evaluate loans  to
                                                                                                        programs    ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                                    Evaluation Funds           and services                  /       /
                                                                                               administered by public        sam.g www.
                                                                                               and private entities          ov/fal/ usasp
       Department of Health and Human Services             93.344   Research, Monitoring       Enhance the work of           https:/ https:/
                                                                    and Outcomes               local communities and         /       /
                                                                    Definitions for Vaccine    their partnerships with       sam.g www.
       Department of Health and Human Services             93.345   Safety
                                                                    Leading Edge               immunization
                                                                                               Through this notice of                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Acceleration Projects   funding opportunity              /       /
                                                                    (LEAP) in Health        (NOFO) ONC seeks to              sam.g www.
       Department of Health and Human Services             93.346   Information Technology
                                                                    Enhancing the  Logical partner
                                                                                            This single   innovative
                                                                                                     withsource              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Observation Identifiers cooperative agreement            /       /
                                                                    Names and Codes         to Regenstrief, is being         sam.g www.
                                                                    (LOINCÂ®) Standard to made in order to                   ov/fal/ usasp
       Department of Health and Human Services             93.347   Trusted Exchange        The purpose of this              https:/ https:/
                                                                    Framework and           program is to support            /       /
                                                                    Common Agreement        efforts to advance the           sam.g www.
       Department of Health and Human Services             93.348   (TEFCA)
                                                                    Technical Recognized
                                                                              Assistance to establishment   of an
                                                                                            To provide technical             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Increase Tobacco           assistance to state           /       /
                                                                    Cessation                  tobacco control               sam.g www.
                                                                                               programs and national         ov/fal/ usasp
       Department of Health and Human Services             93.349   Packaging and              The purpose of this           https:/ https:/
                                                                    Spreading Proven           program is to increase        /       /
                                                                    Pediatric Weight           the availability and          sam.g www.
       Department of Health and Human Services             93.350   Management
                                                                    National Center for        number of
                                                                                               NCATS'     packaged
                                                                                                        mission   is to              usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Advancing Translational turn research             /       /
                                                                    Sciences                observations into health sam.g www.
       Department of Health and Human Services             93.351   Research Infrastructure solutions
                                                                                            The Officethrough
                                                                                                         of Research ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    Programs                Infrastructure Programs /         /
                                                                                            (ORIP) is a program       sam.g www.
                                                                                            office in the Division of ov/fal/ usasp
       Department of Health and Human Services             93.352   Construction Support    To renovate existing      https:/ https:/
                                                                                            research facilities and   /       /
                                                                                            build new research        sam.g www.
       Department of Health and Human Services             93.353   21st Century Cures Act facilities
                                                                                            To provide   meet basic
                                                                                                      to support for  ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    - Beau Biden Cancer   initiatives funded under           /       /
                                                                    Moonshot              the 21st Century Cures             sam.g www.
                                                                                          Act to support cancer              ov/fal/ usasp
       Department of Health and Human Services             93.354   Public Health         The intent of this                 https:/ https:/
                                                                    Emergency Response: program is to fund                   /       /
                                                                    Cooperative Agreement state, local, and                  sam.g www.
       Department of Health and Human Services             93.355   for Emergency
                                                                    Public Health         territorial
                                                                                          The   Officepublic
                                                                                                       of thehealth                  usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Informatics &              National Coordinator for /       /
                                                                    Technology Workforce       Health Information       sam.g www.
       Department of Health and Human Services             93.356   Development   Program
                                                                    Head Start Disaster        Technology  (ONC) has ov/fal/
                                                                                               Head Start Disaster      https:/ usasp
                                                                                                                                https:/
                                                                    Recovery                   Recovery provides        /       /
                                                                                               supplemental funding     sam.g www.
                                                                                               for Head Start programs ov/fal/ usasp
       Department of Health and Human Services             93.359   Nurse Education,           Mobile Health Training   https:/ https:/
                                                                    Practice Quality and       Program (NEPQR-          /       /
                                                                    Retention Grants           MHTP): The purpose of sam.g www.
       Department of Health and Human Services             93.360   Biomedical Advanced        this
                                                                                               The program
                                                                                                    purpose is
                                                                                                            of to
                                                                                                                this    ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Research and               program is to                 /       /
                                                                    Development Authority      coordinate the                sam.g www.
       Department of Health and Human Services             93.361   (BARDA),
                                                                    Nursing  Biodefense
                                                                            Research           acceleration
                                                                                               Nurses       of
                                                                                                      understand that                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                                          improving health and               /       /
                                                                                          well-being means                   sam.g www.
       Department of Health and Human Services             93.364                         addressing
                                                                    Nursing Student Loans To increase educational                    usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                                          opportunities by                   /       /
                                                                                          providing long-term,               sam.g www.
       Department of Health and Human Services             93.365   Sickle Cell Treatment low-interest loans
                                                                                          The objectives      to
                                                                                                          of this            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Demonstration Program project is to support the          /       /
                                                                                            development and                  sam.g www.
                                                                                            establishment of                 ov/fal/ usasp
       Department of Health and Human Services             93.366   State Actions to        To establish oral health         https:/ https:/
                                                                    Improve Oral Health     leadership and program           /       /
                                                                    Outcomes and Partner guidance, oral health               sam.g www.
       Department of Health and Human Services             93.367   Actions to Improve Oral
                                                                    Flexible Funding Model data  collection
                                                                                            Advance   effortsand
                                                                                                              for a          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    - Infrastructure          nationally integrated          /       /
                                                                    Development and           food safety system             sam.g www.
       Department of Health and Human Services             93.368   Maintenance
                                                                    21st           for State
                                                                          Century Cures       (IFSS)
                                                                                          Act To       by supporting
                                                                                                  provide  support for               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    - Precision Medicine      initiatives funded under       /       /
                                                                    Initiative                the 21st Century Cures         sam.g www.
                                                                                              Act, the All of Us             ov/fal/ usasp
       Department of Health and Human Services             93.369   ACL Independent Living To provide financial              https:/ https:/
                                                                    State Grants              assistance to States for       /       /
                                                                                              expanding and                  sam.g www.
       Department of Health and Human Services             93.370   21st Century Cures Act: improving
                                                                                              To providethe   provision
                                                                                                           support for       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Regenerative Medicine initiatives funded under           /       /
                                                                    Initiative              the 21st Century Cures           sam.g www.
                                                                                            Act to support the               ov/fal/ usasp
       Department of Health and Human Services             93.372   21st Century Cures Act To provide extramural             https:/ https:/
                                                                    -          Brain        research support for the         /       /
                                                                    Research through        Brain Research                   sam.g www.
       Department of Health and Human Services             93.376   Advancing    Innovative
                                                                    Title: Multiple         Through  Advancing
                                                                                            Goals resulting from             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Approaches to Support providing support to               /       /




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                                                                    Young Breast Cancer      young breast cancer             sam.g www.
       Department of Health and Human Services             93.377   Survivors and
                                                                    Prevention  and Control survivors
                                                                                             The purpose andof this five-            usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    of Chronic Disease and year program is to                /       /
                                                                    Associated Risk Factors reduce the rates of              sam.g www.
                                                                    in the U.S. Affiliated   disability and death            ov/fal/ usasp
       Department of Health and Human Services             93.378   Integrated Care for Kids The purpose of this             https:/ https:/
                                                                    Model                    cooperative agreement           /       /
                                                                                             funding opportunity is to       sam.g www.
       Department of Health and Human Services             93.382   Indian Health Service    support
                                                                                             The IndiantheHealth             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Community Health Aide Service (IHS)                      /       /
                                                                    Program               Community Health Aide              sam.g www.
                                                                                          Program (CHAP)                     ov/fal/ usasp
       Department of Health and Human Services             93.383   Public Health Nursing Public Health Nursing              https:/ https:/
                                                                                          (PHN) patient care                 /       /
                                                                                          coordination activities            sam.g www.
       Department of Health and Human Services             93.384   ADVANCED              aim
                                                                                          The to serve the
                                                                                              purpose       patient
                                                                                                        of this              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    RESEARCH               program is to                     /       /
                                                                    PROJECTS AGENCY coordinate the                           sam.g www.
       Department of Health and Human Services             93.386   for HEALTH
                                                                    Medical     (ARPA-H)
                                                                            Reserve  Corps acceleration of
                                                                                           To support the                            usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Small Grant Program    development of Medical            /       /
                                                                                           Reserve Corps (MRC)               sam.g www.
                                                                                           units in communities              ov/fal/ usasp
       Department of Health and Human Services             93.387   National and State     The Centers for                   https:/ https:/
                                                                    Tobacco Control        Disease Control and               /       /
                                                                    Program                Prevention (CDC),                 sam.g www.
       Department of Health and Human Services             93.388   Biomedical Advanced    National  Center
                                                                                           The purpose       for
                                                                                                         of this             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Research and               program is to                 /       /
                                                                    Development Authority      coordinate the                sam.g www.
       Department of Health and Human Services             93.391   (BARDA),toBiodefense
                                                                    Activities Support        acceleration  of
                                                                                              CDC will strengthen    the             usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    State, Tribal, Local and U.S. public health              /       /
                                                                    Territorial (STLT) Health systemâ€™s response            sam.g www.
                                                                    Department Response to public health or                  ov/fal/ usasp
       Department of Health and Human Services             93.393   Cancer Cause and          To identify cancer risks       https:/ https:/
                                                                    Prevention Research       and risk reduction             /       /
                                                                                              strategies, to identify        sam.g www.
       Department of Health and Human Services             93.394   Cancer Detection and To   factors
                                                                                                 improve   cause
                                                                                                      that screening                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Diagnosis Research         and early detection           /       /
                                                                                               strategies and to             sam.g www.
                                                                                               develop accurate              ov/fal/ usasp
       Department of Health and Human Services             93.395   Cancer Treatment           To develop the means          https:/ https:/
                                                                    Research                   to cure as many cancer        /       /
                                                                                               patients as possible and      sam.g www.
       Department of Health and Human Services             93.396   Cancer Biology             to
                                                                                               To control
                                                                                                  providethe  disease in
                                                                                                           fundamental       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Research                   information on the            /       /
                                                                                               cause and nature of           sam.g www.
       Department of Health and Human Services             93.397   Cancer Centers             cancer
                                                                                               To      in people,
                                                                                                   provide an     with               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Support Grants             organizational focus          /       /
                                                                                               and stimulus for the          sam.g www.
                                                                                               highest quality cancer        ov/fal/ usasp
       Department of Health and Human Services             93.398   Cancer Research            To make available             https:/ https:/
                                                                    Manpower                   support to nonprofit and      /       /
                                                                                               for-profit institutions       sam.g www.
       Department of Health and Human Services             93.399   Cancer Control             interested
                                                                                               To           in providing
                                                                                                   reduce cancer     risk,           usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                                               incidence, morbidity,         /       /
                                                                                               and mortality and             sam.g www.
                                                                                               enhance quality of life in    ov/fal/ usasp
       Department of Health and Human Services             93.413   The State Flexibility to   The State Flexibility to      https:/ https:/
                                                                    Stabilize the Market       Stabilize the Market          /       /
                                                                    Grant Program              Cycle I and II Grant          sam.g www.
       Department of Health and Human Services             93.421   Strengthening Public       Programs
                                                                                               The goal iswill
                                                                                                            to provide
                                                                                                               fund    a     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Health Systems and        nongovernmental            /       /
                                                                    Services through          organizations with         sam.g www.
       Department of Health and Human Services             93.422   National Partnerships
                                                                    National  Partnerships to demonstrated
                                                                                           to The  purpose ofcapability,
                                                                                                              this       ov/fal/ usasp
                                                                                                                         https:/ https:/
                                                                    promote cancer            program is to enhance      /       /
                                                                    surveillance standards the data quality and          sam.g www.
                                                                    and support data quality operational efficiency of ov/fal/ usasp
       Department of Health and Human Services             93.423   1332 State Innovation Under Section 1332 of          https:/ https:/
                                                                    Waivers                   the ACA, states can        /       /
                                                                                              apply for State            sam.g www.
       Department of Health and Human Services             93.426   The National              Innovation
                                                                                              This       Waivers
                                                                                                   program  supports             usasp
                                                                                                                         ov/fal/ https:/
                                                                                                                         https:/
                                                                    Cardiovascular Health    extensive scientific            /       /
                                                                    Program                  evidence, links                 sam.g www.
       Department of Health and Human Services             93.427   Provision of Technical nonmedical
                                                                                             The purposefactors,
                                                                                                            of this          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Assistance and Training program is to fund               /       /
                                                                    Activities to Assure     recipients with proven          sam.g www.
       Department of Health and Human Services             93.428   Comprehensive
                                                                    Strengthening     Cancer capacities
                                                                                             To assist inand  expertise
                                                                                                          planning  or       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Emergency Care             developing emergency          /       /
                                                                    Delivery in the United     care health information       sam.g www.
       Department of Health and Human Services             93.429          Healthcare
                                                                    States Science
                                                                    ASPR                           promotion
                                                                                               andconduct
                                                                                               To                                    usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Preparedness and           preparedness and              /       /
                                                                    Response Grants            response research that        sam.g www.
                                                                                               will inform the ongoing       ov/fal/ usasp




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       Department of Health and Human Services             93.431   Networking2Saveâ€         The Office on Smoking https:/ https:/
                                                                                              and Health and Division /       /
                                                                                              of Cancer Prevention    sam.g www.
       Department of Health and Human Services             93.432   ACL Centers for           andsupport
                                                                                              To  Controlaseek  to
                                                                                                            Statewide ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    Independent Living        network of centers for  /       /
                                                                                              independent living      sam.g www.
       Department of Health and Human Services             93.433   ACL National Institute    (centers
                                                                                              To support  CILs) and
                                                                                                       or and         ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    on Disability,          coordinate research             /       /
                                                                    Independent Living, and and its utilization in          sam.g www.
                                                                    Rehabilitation Research order to improve the            ov/fal/ usasp
       Department of Health and Human Services             93.434   Every Student           Section 9212 of the             https:/ https:/
                                                                    Succeeds Act/           Every Student                   /       /
                                                                    Preschool Development Succeeds Act (ESSA),              sam.g www.
       Department of Health and Human Services             93.436   Grants
                                                                    WELL-INTEGRATED         PL 114-95
                                                                                            The purpose  establishes
                                                                                                           of this                  usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    SCREENING AND       competitive five-year               /       /
                                                                    EVALUATION FOR      program is to fund state            sam.g www.
       Department of Health and Human Services             93.438   WOMEN  ACROSS
                                                                    Emergency SystemTHE
                                                                                    for health departments
                                                                                        To establish and    and             ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Advance Registration of maintain a national             /       /
                                                                    Volunteer Health        interoperable network of        sam.g www.
                                                                    Professionals           state systems. Each             ov/fal/ usasp
       Department of Health and Human Services             93.439   State Physical Activity This program supports           https:/ https:/
                                                                    and Nutrition (SPAN     recipients to implement         /       /
                                                                                            state and local nutrition       sam.g www.
       Department of Health and Human Services             93.441   Indian Self-            and  physical
                                                                                            To enable      activity
                                                                                                       Indian  tribes       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Determination           to assume the                   /       /
                                                                                            management and                  sam.g www.
                                                                                            operation of programs,          ov/fal/ usasp
       Department of Health and Human Services             93.444   Tribal Self-Governance To enable Federally              https:/ https:/
                                                                    Program: Planning and recognized Indian tribes          /       /
                                                                    Negotiation Cooperative to enter into                   sam.g www.
       Department of Health and Human Services             93.445   Agreement
                                                                    Indian Health Service   agreements
                                                                                            To            that would
                                                                                               provide essential                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Sanitation Facilities     sanitation facilities,        /       /
                                                                    Construction Program      such as safe drinking         sam.g www.
       Department of Health and Human Services             93.446   Partner Actions to        water and adequate
                                                                                              To establish oral health      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Improve Oral Health     leadership and program          /       /
                                                                    Outcomes                guidance, oral health           sam.g www.
                                                                                            data collection and             ov/fal/ usasp
       Department of Health and Human Services             93.450   Ebola Healthcare        To enable select public         https:/ https:/
                                                                    Preparedness and        health departments              /       /
                                                                    Response for Select     serving regions where           sam.g www.
       Department of Health and Human Services             93.454   Cities with Enhanced
                                                                    Hospital Preparedness enhanced     airport
                                                                                            This program   covers           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Program (HPP) Ebola two separate, but                   /       /
                                                                    Preparedness and        related projects: Part A        sam.g www.
                                                                    Response Activities     â€“ Health Care                 ov/fal/ usasp
       Department of Health and Human Services             93.455   National Ebola Training CDC, will increase the          https:/ https:/
                                                                    and Education Center competency of health               /       /
                                                                    (NETEC)                 care and public health          sam.g www.
       Department of Health and Human Services             93.456   CDC Undergraduate       workers
                                                                                            The      and the
                                                                                                 purpose  of this                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Public Health Scholars    funding opportunity is to /         /
                                                                    Program (CUPS): A         implement a national        sam.g www.
       Department of Health and Human Services             93.457   Public Health
                                                                    Planning Grant for        summer
                                                                                              The first training
                                                                                                        objective of      ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                    Healthcare and Public     this award is to gain an /          /
                                                                    Health Sector             understanding of the        sam.g www.
                                                                    Cybersecurity             cybersecurity threat        ov/fal/ usasp
       Department of Health and Human Services             93.458   Enhance the Ability of    Enhance state and local https:/ https:/
                                                                    Emergency Medical         level emergency             /       /
                                                                    Services (EMS) to         medical services            sam.g www.
       Department of Health and Human Services             93.459   transport patients with
                                                                    National Bioterrorism     operational   plans for
                                                                                              To ready hospitals   andthe ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                    Hospital Preparedness other healthcare                  /       /
                                                                    Program               systems, in                       sam.g www.
       Department of Health and Human Services             93.461   HRSA COVID-19         collaboration
                                                                                          The  COVID-19 with other
                                                                                                          Claims                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Claims Reimbursement Reimbursement to                   /       /
                                                                    for the Uninsured     Health Care Providers             sam.g www.
       Department of Health and Human Services             93.462   Program and the
                                                                    Strengthening  the    and
                                                                                          This Facilities
                                                                                               program forprovides                  usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Technical Advancement an opportunity to                 /       /
                                                                    & Readiness of Public strengthen and expand             sam.g www.
       Department of Health and Human Services             93.464   Health  via Health
                                                                    ACL Assistive         the
                                                                                          Theability
                                                                                               2004 of   Health
                                                                                                      amendments            ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Technology              to the Assistive                /       /
                                                                                            Technology Act of 1998          sam.g www.
                                                                                            supports State efforts to       ov/fal/ usasp
       Department of Health and Human Services             93.465   Tobacco Prevention and The awardee will                 https:/ https:/
                                                                    Control Legal Technical provide legal technical         /       /
                                                                    Assistance              assistance and                  sam.g www.
       Department of Health and Human Services             93.469   Assistive Technology    consultation
                                                                                            The purposeto  ofOffice
                                                                                                             the on         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Alternative Financing     Assistive Technology          /       /
                                                                    Program                   (AT) Alternative              sam.g www.
       Department of Health and Human Services             93.470   Alzheimerâ€™s             Financing
                                                                                              The        Program
                                                                                                   purpose  of the                  usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Disease Program           Alzheimerâ€™s                 /       /
                                                                    Initiative (ADPI)         Disease Program               sam.g www.
                                                                                              Initiative (ADPI) is to       ov/fal/ usasp
       Department of Health and Human Services             93.471   Title IV-E Kinship        The title IV-E Kinship        https:/ https:/
                                                                    Navigator Program         Navigator program             /       /
                                                                                              helps states, Indian          sam.g www.
       Department of Health and Human Services             93.472   Title IV-E Prevention     tribes,
                                                                                              The Titletribal
                                                                                                           IV-E             ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Program                   Prevention Program            /       /
                                                                                              provides funding for          sam.g www.
                                                                                              time-limited prevention       ov/fal/ usasp
       Department of Health and Human Services             93.478   Preventing Maternal       This funding will support     https:/ https:/
                                                                    Deaths: Supporting        existing Maternal             /       /
                                                                    Maternal Mortality        Mortality Review              sam.g www.
       Department of Health and Human Services             93.479   Review Committees
                                                                    Good Health and           Committees
                                                                                              The purposeto ofidentify
                                                                                                               this         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Wellness in Indian        Assistance Listing (AL)       /       /




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                                                                    Country                   is to reduce rates of         sam.g www.
       Department of Health and Human Services             93.488   National Harm          death
                                                                                           The   and disability
                                                                                                purpose  of this                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Reduction Technical    program is to                    /       /
                                                                    Assistance and Syringe strengthen harm                  sam.g www.
                                                                    Services Program       reduction programs in            ov/fal/ usasp
       Department of Health and Human Services             93.489   Child Care Disaster    Hurricanes Fiona and             https:/ https:/
                                                                    Relief                 Ian were powerful                /       /
                                                                                           storms that impacted             sam.g www.
       Department of Health and Human Services             93.493   Congressional          several
                                                                                           To implement    Tribal
                                                                                                   states,special           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Directives              Congressionally                 /       /
                                                                                            directed projects or            sam.g www.
                                                                                            programs identified in          ov/fal/ usasp
       Department of Health and Human Services             93.494   Global                  CDCâ€™s global                  https:/ https:/
                                                                    Tuberculosis:Developin health priorities include        /       /
                                                                    g,Evaluating,Implementi efforts towards ending          sam.g www.
       Department of Health and Human Services             93.495   ng Evidence-based
                                                                    Community Health   and  the
                                                                                            To scale
                                                                                                globaluptuberculosis
                                                                                                          Community         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Workers for Public        Health Worker (CHW)           /       /
                                                                    Health Response and       activities across the         sam.g www.
       Department of Health and Human Services             93.496   Resilient
                                                                    Family Violence           nation
                                                                                              The  objective
                                                                                                      related of public
                                                                                                              to this               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Prevention and            program is to fund a          /       /
                                                                    Services/Culturally       wide range of                 sam.g www.
                                                                    Specific Domestic         discretionary activities      ov/fal/ usasp
       Department of Health and Human Services             93.497   Family Violence           This funding will support     https:/ https:/
                                                                    Prevention and            allowable activities to       /       /
                                                                    Services/ Sexual          assist states, territories,   sam.g www.
       Department of Health and Human Services             93.498   Assault/Rape
                                                                    Provider ReliefCrisis
                                                                                    Fund      tribal governments,
                                                                                              The Provider   Relief and     ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    and American Rescue Fund supported eligible             /       /
                                                                    Plan (ARP) Rural     health care providers in           sam.g www.
       Department of Health and Human Services             93.499   Distribution         the battle
                                                                    Low Income Household The        against
                                                                                              objective      the
                                                                                                        of the                      usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Water Assistance        Low Income Household            /       /
                                                                    Program                 Water Assistance                sam.g www.
                                                                                            program is to meet              ov/fal/ usasp
       Department of Health and Human Services             93.504   Family to Family Health To develop and support          https:/ https:/
                                                                    Information Centers     Family-to-Family Health         /       /
                                                                                            Information Centers             sam.g www.
       Department of Health and Human Services             93.516   Public Health Training The   HICs) which
                                                                                            (F2FRegional  Public                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Centers Program       Health Training Center            /       /
                                                                                          program improves the              sam.g www.
                                                                                          Nation's public health            ov/fal/ usasp
       Department of Health and Human Services             93.526   Grants for Capital    To award Health Center            https:/ https:/
                                                                    Development in Health Capital Development               /       /
                                                                    Centers               Grants for (1)                    sam.g www.
       Department of Health and Human Services             93.527   Grants for New and    immediate
                                                                                          To provide facility
                                                                                                      for expanded          ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Expanded Services       and/or sustained                /       /
                                                                    under the Health Center national investment in          sam.g www.
       Department of Health and Human Services             93.530   Teaching                health
                                                                    Program Health Center The    objective
                                                                                                   centersoffunded
                                                                                                              the                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Graduate Medical          THCGME program is to          /       /
                                                                    Education Payment         expand primary care           sam.g www.
                                                                                              medical and dental            ov/fal/ usasp
       Department of Health and Human Services             93.534   Affordable Care Act       The overall goals of this     https:/ https:/
                                                                    Program for Early         program are for Early         /       /
                                                                    Detection of Certain      Detection of Certain          sam.g www.
       Department of Health and Human Services             93.550   Medical Conditions
                                                                    Transitional Living for   Medical
                                                                                              The     Conditions
                                                                                                  Transitional Living               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Homeless Youth            Program (TLP) and             /       /
                                                                                              Maternity Group Home          sam.g www.
                                                                                              (MGH) Programs help           ov/fal/ usasp
       Department of Health and Human Services             93.556   MaryLee Allen             The objectives of the         https:/ https:/
                                                                    Promoting Safe and        MaryLee Allen                 /       /
                                                                    Stable Families           Promoting Safe and            sam.g www.
       Department of Health and Human Services             93.557   Program
                                                                    Education and             Stable Families
                                                                                              The Service Connection        ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Prevention Grants to    for Youth on the Streets,       /       /
                                                                    Reduce Sexual Abuse also referred to as the             sam.g www.
       Department of Health and Human Services             93.558   of Runaway,
                                                                    Temporary   Homeless Street
                                                                               Assistance          Outreach
                                                                                            To provide  grants to                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    for Needy Families      States and the District         /       /
                                                                                            of Columbia, Territories,       sam.g www.
                                                                                            and Indian Tribes to            ov/fal/ usasp
       Department of Health and Human Services             93.560   Payments to Territories To provide aid in the           https:/ https:/
                                                                    â€“ Adults              form of cash benefits for       /       /
                                                                                            food, clothing, shelter,        sam.g www.
       Department of Health and Human Services             93.563                           and/or
                                                                    Child Support Services The      other essentials
                                                                                                 purpose  of this                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                                           program is to enforce            /       /
                                                                                           the support obligations          sam.g www.
       Department of Health and Human Services             93.564   Child Support Services owed  by absent
                                                                                           This program      parents
                                                                                                         provides           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Research               federal funds for                /       /
                                                                                           experimental, pilot, or          sam.g www.
       Department of Health and Human Services             93.566   Refugee and Entrant    demonstration  projects
                                                                                           The Refugee Cash     and         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Assistance State/     Medical Assistance                /     /
                                                                    Replacement Designee (CMA) Program                      sam.g www.
       Department of Health and Human Services             93.567   Administered
                                                                    Refugee  and Entrant  reimburses
                                                                                 Programs The        States
                                                                                              Matching      and
                                                                                                        Grant                usasp
                                                                                                                     ov/fal/ https:/
                                                                                                                     https:/
                                                                    Assistance Voluntary      Program was created in /       /
                                                                    Agency Programs           1979 as an intensive   sam.g www.
                                                                                              case management        ov/fal/ usasp




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       Department of Health and Human Services             93.568   Low-Income Home            The objective of the          https:/ https:/
                                                                    Energy Assistance          Low Income Home               /       /
                                                                                               Energy Assistance             sam.g www.
       Department of Health and Human Services             93.569   Community Services         Program
                                                                                               The     (LIHEAP)
                                                                                                   objectives      is to
                                                                                                              of the    ov/fal/ usasp
                                                                                                                        https:/ https:/
                                                                    Block Grant                Community Services       /       /
                                                                                               Block Grant (CSBG) are sam.g www.
       Department of Health and Human Services             93.570   Community Services         to provide assistance
                                                                                               Community    Services to ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Block Grant                Block Grant              /       /
                                                                    Discretionary Awards       Discretionary Awards     sam.g www.
                                                                                               includes three           ov/fal/ usasp
       Department of Health and Human Services             93.575   Child Care and             The Child Care and       https:/ https:/
                                                                    Development Block          Development Fund         /       /
                                                                    Grant                      (CCDF) is the primary    sam.g www.
       Department of Health and Human Services             93.576   Refugee and Entrant        federal
                                                                                               The  objectives source
                                                                                                       funding of these https:/ usasp
                                                                                                                        ov/fal/ https:/
                                                                    Assistance               discretionary programs /           /
                                                                    Discretionary Grants     are: (1) build capacity    sam.g www.
       Department of Health and Human Services             93.579   U.S. Repatriation        for
                                                                                             Therefugees   in locations ov/fal/
                                                                                                  U.S. Repatriation     https:/ usasp
                                                                                                                                https:/
                                                                                             Program was                /       /
                                                                                             established to provide     sam.g www.
                                                                                             temporary assistance to ov/fal/ usasp
       Department of Health and Human Services             93.581   Improving the Capability The purpose of the         https:/ https:/
                                                                    of Indian Tribal         Environmental              /       /
                                                                    Governments to           Regulatory                 sam.g www.
       Department of Health and Human Services             93.583   Regulate  Environmental
                                                                    Refugee and   Entrant    Enhancement
                                                                                             The objective of(ERE)
                                                                                                                the     ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Assistance Wilson/Fish Wilson Fish                       /       /
                                                                    Program                demonstration program             sam.g www.
                                                                                           is to develop innovative          ov/fal/ usasp
       Department of Health and Human Services             93.586   State Court            This program provides             https:/ https:/
                                                                    Improvement Program funding to state and                 /       /
                                                                                           tribal courts to improve          sam.g www.
       Department of Health and Human Services             93.587   Promote the Survival   the quality
                                                                                           The         of court
                                                                                                 P&M program                         usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    and Continuing Vitality    provides funding for          /       /
                                                                    of Native American         projects designed to          sam.g www.
       Department of Health and Human Services             93.590   Languages
                                                                    Community-Based        ensure continuing
                                                                                           The objectives  of the            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Child Abuse Prevention Community-Based                   /       /
                                                                    Grants                 Child Abuse Prevention            sam.g www.
                                                                                           Grants are (1) to                 ov/fal/ usasp
       Department of Health and Human Services             93.591   Family Violence        The purpose of this               https:/ https:/
                                                                    Prevention and         program is to provide             /       /
                                                                    Services/State         funding for State                 sam.g www.
       Department of Health and Human Services             93.592   Domestic  Violence
                                                                    Family Violence        Domestic  Violence
                                                                                           The purpose   of this             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Prevention and             program is to fund a          /       /
                                                                    Services/Discretionary     wide range of                 sam.g www.
                                                                                               discretionary activities      ov/fal/ usasp
       Department of Health and Human Services             93.594   Tribal Work Grants         The Native Employment         https:/ https:/
                                                                                               Works (NEW) grant             /       /
                                                                                               enables eligible Indian       sam.g www.
       Department of Health and Human Services             93.595   Welfare Reform             tribes and
                                                                                               Welfare    Alaska Native
                                                                                                        Research   (WR)              usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Research, Evaluations      funds were authorized         /       /
                                                                    and National Studies       as a set-aside of the         sam.g www.
       Department of Health and Human Services             93.596   Child Care Mandatory       Temporary  Assistance
                                                                                               The Mandatory   and           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    and Matching Funds of    Matching portion (or            /       /
                                                                    the Child Care and       Child Care Entitlement          sam.g www.
                                                                    Development Fund         or CCE) of the Child            ov/fal/ usasp
       Department of Health and Human Services             93.597   Grants to States for     The purpose of this             https:/ https:/
                                                                    Access and Visitation    program is to enable            /       /
                                                                    Programs                 States to create                sam.g www.
       Department of Health and Human Services             93.598   Services to Victims of a programs
                                                                                             Under the which   support
                                                                                                        Services  to         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Severe Form of           Victims of a Severe             /       /
                                                                    Trafficking              Form of Trafficking, the        sam.g www.
       Department of Health and Human Services             93.599   Chafee Education and To  Office on Trafficking
                                                                                                provide  resourcesinto               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Training Vouchers          states and eligible           /     /
                                                                    Program (ETV)              Indian tribes to make         sam.g www.
       Department of Health and Human Services             93.600   Head Start                 available
                                                                                               Head  Startvouchers for
                                                                                                            programs   ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                                             promote school            /       /
                                                                                             readiness by enhancing sam.g www.
       Department of Health and Human Services             93.603   Adoption and Legal       the
                                                                                             Thecognitive,
                                                                                                  objective physical,
                                                                                                              of the   ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Guardianship Incentive Adoption and Legal          /       /
                                                                    Payments Program         Guardianship Incentive sam.g www.
                                                                                             Payments Program is to ov/fal/ usasp
       Department of Health and Human Services             93.604   Assistance for Torture The Office of Refugee       https:/ https:/
                                                                    Victims                  Resettlement (ORR)        /       /
                                                                                             provides funding to the sam.g www.
       Department of Health and Human Services             93.605   Family Connection        Services   for Survivors
                                                                                             This program     provides ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Grants                   awards for the purpose /          /
                                                                                             of helping children who sam.g www.
       Department of Health and Human Services             93.610                            are in,
                                                                    Innovation In Behavioral The  CMSor at risk of
                                                                                                         Innovation            usasp
                                                                                                                       ov/fal/ https:/
                                                                                                                       https:/
                                                                    Health                     Center is announcing a        /       /
                                                                                               new NOFO focusing on          sam.g www.
                                                                                               improving the quality of      ov/fal/ usasp
       Department of Health and Human Services             93.612   Native American            The purpose of the            https:/ https:/
                                                                    Programs                   Social and Economic           /       /
                                                                                               Development Strategies        sam.g www.
       Department of Health and Human Services             93.618   Voting Access for          (SEDS)  program
                                                                                               Section 291      is to
                                                                                                           of HAVA           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Individuals with           provides that funds be        /       /
                                                                    Disabilities-Grants for    made available to             sam.g www.
                                                                    Protection and             Protection and                ov/fal/ usasp
       Department of Health and Human Services             93.623   Basic Center Grant         The purpose of the            https:/ https:/
                                                                                               Basic Center Program          /       /
                                                                                               is to establish or            sam.g www.
       Department of Health and Human Services             93.630   Developmental              strengthen
                                                                                               Developmentalthe capacity     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Disabilities Basic         Disabilities Basic            /       /




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                                                                    Support and Advocacy       Support and Advocacy          sam.g www.
       Department of Health and Human Services             93.631   Grants
                                                                    Developmental              Grants:
                                                                                               To       To enable
                                                                                                  provide  for grants,               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Disabilities Projects of   contracts and                 /       /
                                                                    National Significance      cooperative agreements        sam.g www.
                                                                                               for projects of national      ov/fal/ usasp
       Department of Health and Human Services             93.632   University Centers for     To pay the Federal            https:/ https:/
                                                                    Excellence in              share of the cost of          /       /
                                                                    Developmental              administration and            sam.g www.
       Department of Health and Human Services             93.634   Disabilities
                                                                    Support for Education,     operation  of
                                                                                               CMS is presenting    this     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Ombudsman and              Funding Opportunity           /       /
                                                                    Beneficiary Counseling     Announcement (FOA)            sam.g www.
                                                                    Programs for States        to ensure that the            ov/fal/ usasp
       Department of Health and Human Services             93.640   Basic Health Program       Section 1331 of the           https:/ https:/
                                                                    (Affordable Care Act)      Affordable Care Act           /       /
                                                                                               gives states the option       sam.g www.
       Department of Health and Human Services             93.643   Children's Justice         of
                                                                                               To creating
                                                                                                  encouragea Basic
                                                                                                              states to      ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Grants to States           enact reforms which are /       /
                                                                                               designed to improve (1) sam.g www.
       Department of Health and Human Services             93.645                          the assessment
                                                                    Stephanie Tubbs Jones The               and
                                                                                                purpose of the                 usasp
                                                                                                                       ov/fal/ https:/
                                                                                                                       https:/
                                                                    Child Welfare Services Stephanie Tubbs Jones             /       /
                                                                    Program                Child Welfare Services            sam.g www.
                                                                                           program is to promote             ov/fal/ usasp
       Department of Health and Human Services             93.647   Social Services        The Social Services               https:/ https:/
                                                                    Research and           Research and                      /       /
                                                                    Demonstration          Demonstration program             sam.g www.
       Department of Health and Human Services             93.648   Child Welfare Research (SSRD)  was authorized
                                                                                           This program  supports            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Training or                research and                  /       /
                                                                    Demonstration              demonstration projects        sam.g www.
       Department of Health and Human Services             93.649   Nutrition and Physical     which
                                                                                               The   are of national
                                                                                                   purpose  of this or               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Activity Programs      program is to achieve             /       /
                                                                                           three goals related to            sam.g www.
                                                                                           risk factors for illness,         ov/fal/ usasp
       Department of Health and Human Services             93.652   Adoption Opportunities The purpose of this               https:/ https:/
                                                                                           program is to eliminate           /       /
                                                                                           barriers, including               sam.g www.
       Department of Health and Human Services             93.653   Indian Health Service  geographic
                                                                                           The           barriers,
                                                                                                 objective of the to                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Domestic Violence      Domestic Violence                 /       /
                                                                    Prevention Programs    Prevention (DVP)                  sam.g www.
                                                                                           Program is to promote             ov/fal/ usasp
       Department of Health and Human Services             93.654   Indian Health Service  The Indian Health                 https:/ https:/
                                                                    Behavioral Health      Service Behavioral                /       /
                                                                    Programs               Health Programs                   sam.g www.
       Department of Health and Human Services             93.658   Foster Care Title IV-E consists
                                                                                           The Title of several
                                                                                                      IV-E Foster            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                                               Care program helps            /       /
                                                                                               states, Indian tribes,        sam.g www.
       Department of Health and Human Services             93.659   Adoption Assistance               organizations
                                                                                               tribalprogram
                                                                                               This                 and
                                                                                                              provides               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                                               Federal Financial             /       /
                                                                                               Participation (FFP) to        sam.g www.
                                                                                               states, Indian tribes,        ov/fal/ usasp
       Department of Health and Human Services             93.661   Extramural Research        As written in the             https:/ https:/
                                                                    Restoration Program:       Consolidated                  /       /
                                                                    Hurricanes Fiona and       Appropriations Act,           sam.g www.
       Department of Health and Human Services             93.665   Ian
                                                                    Emergency Grants to              (Public Law
                                                                                               2023program
                                                                                               This           is to                  usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Address Mental and         provide mental and            /       /
                                                                    Substance Use              substance use disorder        sam.g www.
                                                                    Disorders During           treatment, crisis             ov/fal/ usasp
       Department of Health and Human Services             93.667   Social Services Block      The objective is to           https:/ https:/
                                                                    Grant                      enable each state and         /       /
                                                                                               territory to furnish social   sam.g www.
       Department of Health and Human Services             93.669   Child Abuse and            services
                                                                                               To assist best  suited
                                                                                                          States       to
                                                                                                                  in the     ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Neglect State Grants       support and                 /       /
                                                                                               improvement of their        sam.g www.
       Department of Health and Human Services             93.670   Child Abuse and            child
                                                                                               To    protective
                                                                                                  improve         services ov/fal/
                                                                                                             the national,         usasp
                                                                                                                           https:/ https:/
                                                                    Neglect Discretionary      state, and community        /       /
                                                                    Activities                 activities for the          sam.g www.
                                                                                               prevention,                 ov/fal/ usasp
       Department of Health and Human Services             93.671   Family Violence            The purpose of this         https:/ https:/
                                                                    Prevention and             program is to assist        /       /
                                                                    Services/Domestic          States and Native           sam.g www.
       Department of Health and Human Services             93.674   Violence
                                                                    John H. Chafee   and
                                                                             ShelterFoster     American
                                                                                               To assist states
                                                                                                           Tribesand               usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Care Program for         eligible Indian tribes in       /       /
                                                                    Successful Transition to establishing and                sam.g www.
       Department of Health and Human Services             93.676   Adulthood
                                                                    Unaccompanied            carrying  out programs
                                                                                             The Unaccompanied               ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Children Program           Children Bureau (UCB)         /       /
                                                                                               provides for the care         sam.g www.
       Department of Health and Human Services             93.679   EHB-Benchmark Plan         and
                                                                                               EHB-Benchmark
                                                                                                   placement of Plan         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Modernization Grant for Modernization Grant for          /       /
                                                                    States with a Federally- States with a Federally-        sam.g www.
       Department of Health and Human Services             93.680   facilitated
                                                                    Medical     Exchange
                                                                              Student        facilitated
                                                                                             The         Exchange
                                                                                                   MSE Program                       usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Education                  provides grants to            /       /
                                                                                               public institutions of        sam.g www.
                                                                                               higher education to           ov/fal/ usasp




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       Department of Health and Human Services             93.684   Engaging State and      The purpose of this              https:/ https:/
                                                                    Local Emergency         program is to prepare            /       /
                                                                    Management Agencies the nationâ€™s public                sam.g www.
       Department of Health and Human Services             93.686   to Improve
                                                                    Ending  the Ability
                                                                                HIV to      health   systems
                                                                                            In February   2019,
                                                                                                              to the                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Epidemic: A Plan for    Administration                   /       /
                                                                    America â€” Ryan        announced a new                  sam.g www.
       Department of Health and Human Services             93.687   White HIV/AIDS
                                                                    Maternal  Opioid Misuse initiative,
                                                                                            The Centers Ending
                                                                                                           for the           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Model                      Medicare & Medicaid           /       /
                                                                                               Services (CMS),               sam.g www.
                                                                                               through its Center for        ov/fal/ usasp
       Department of Health and Human Services             93.691   Integrating the            The Office of the             https:/ https:/
                                                                    Healthcare Enterprise      National Coordinator for      /       /
                                                                    FHIR Cooperative           Health Information            sam.g www.
       Department of Health and Human Services             93.693   Agreement
                                                                    Nursing  HomeProgram
                                                                                    Staffing   Technology
                                                                                               The  Centers(ONC)
                                                                                                            for    is                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Campaign                   Medicare & Medicaid           /       /
                                                                                               Services (CMS) is             sam.g www.
       Department of Health and Human Services             93.694   Section 206                committed
                                                                                               The Centers    improving
                                                                                                          to for             ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Consolidated               Medicare & Medicaid           /       /
                                                                    Appropriations Act,        Services (CMS) is             sam.g www.
                                                                    2024: State Planning       making available              ov/fal/ usasp
       Department of Health and Human Services             93.695   Health Equity Data         Through the HEDAP,            https:/ https:/
                                                                    Access Program             CMS OMH provides              /       /
                                                                                               grant funding to support      sam.g www.
       Department of Health and Human Services             93.696   Certified Community        three
                                                                                               The purpose
                                                                                                     seats inofthe CMS
                                                                                                                 this        ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Behavioral Health Clinic program is to help              /       /
                                                                    Expansion Grants         transform community             sam.g www.
                                                                                             behavioral health               ov/fal/ usasp
       Department of Health and Human Services             93.698   Elder Justice Act â€     To enhance and                  https:/ https:/
                                                                    “ Adult Protective       improve coordinated             /       /
                                                                    Services                 systems of adult                sam.g www.
       Department of Health and Human Services             93.714   ARRA â€“ Emergency This  protective services
                                                                                                  funding was to                     usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Contingency Fund for       provide economic              /       /
                                                                    Temporary Assistance       stimulus to the nation        sam.g www.
       Department of Health and Human Services             93.732   for Needy
                                                                    Mental andFamilies
                                                                               Behavioral      while furthering
                                                                                               The purpose      the
                                                                                                             of the          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Health Education and     behavioral health               /       /
                                                                    Training Grants          programs is to develop          sam.g www.
                                                                                             and expand the                  ov/fal/ usasp
       Department of Health and Human Services             93.734   Empowering Older         The cooperative                 https:/ https:/
                                                                    Adults and Adults with agreements are                    /       /
                                                                    Disabilities through     intended to increase the        sam.g www.
       Department of Health and Human Services             93.747   Chronic   Disease  Self-
                                                                    Elder Abuse Prevention number    of chronic
                                                                                             To develop,  implement,         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Interventions Program      and evaluate successful       /       /
                                                                                               or promising                  sam.g www.
                                                                                               interventions, practices,     ov/fal/ usasp
       Department of Health and Human Services             93.761   Evidence-Based Falls       These cooperative             https:/ https:/
                                                                    Prevention Programs        agreements are                /       /
                                                                    Financed Solely by         intended to increase the      sam.g www.
       Department of Health and Human Services             93.762   Prevention
                                                                    A          and Public
                                                                      Comprehensive            number
                                                                                               The     of evidence-
                                                                                                    program  supports                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Approach to Good       initiatives and public            /       /
                                                                    Health and Wellness in health capacity to                sam.g www.
       Department of Health and Human Services             93.763   Indian County â€
                                                                    Alzheimerâ€™s          prevent
                                                                                           The purpose
                                                                                                     heartofdisease,
                                                                                                              the            ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Disease Initiative:    Alzheimerâ€™s                     /       /
                                                                    Specialized Supportive Disease Initiative:               sam.g www.
                                                                    Services Project (ADI- Specialized Supportive            ov/fal/ usasp
       Department of Health and Human Services             93.767   Children's Health      The objective of the              https:/ https:/
                                                                    Insurance Program      Childrenâ€™s Health               /       /
                                                                                           Insurance Program                 sam.g www.
       Department of Health and Human Services             93.770   Medicare Prescription (CHIP)
                                                                                           To provide     provide
                                                                                                    is toprescription        ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Drug Coverage              drugs to Medicare             /       /
                                                                                               beneficiaries through         sam.g www.
       Department of Health and Human Services             93.771   State Grants for the       their Bipartisan
                                                                                               The   voluntary Safer                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Implementation,            Communities Act               /       /
                                                                    Enhancement, and           (BSCA) provided               sam.g www.
       Department of Health and Human Services             93.772   Expansion
                                                                    Tribal Public Medicaid
                                                                                ofHealth       $50,000,000
                                                                                               This program's States
                                                                                                           to ultimate               usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Capacity Building and      outcomes are 1)               /       /
                                                                    Quality Improvement        decreased morbidity           sam.g www.
       Department of Health and Human Services             93.773   Umbrella
                                                                    Medicare Cooperative
                                                                              Hospital         and mortality
                                                                                               To provide    among
                                                                                                          hospital           ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Insurance             insurance protection for           /       /
                                                                                          covered services to                sam.g www.
                                                                                          persons age 65 or                  ov/fal/ usasp
       Department of Health and Human Services             93.774   Medicare              To provide medical                 https:/ https:/
                                                                    Supplementary Medical insurance protection for           /       /
                                                                    Insurance             covered services to                sam.g www.
       Department of Health and Human Services             93.775   State Medicaid Fraud  persons  age 65
                                                                                          To investigate  or over,
                                                                                                         and                 ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Control Units              prosecute Medicaid            /       /
                                                                                               provider fraud as well        sam.g www.
       Department of Health and Human Services             93.777   State Survey and              patient abuse
                                                                                               as provide
                                                                                               To                or
                                                                                                           financial                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Certification of Health    assistance to any State       /       /
                                                                    Care Providers and         which is able and willing     sam.g www.
                                                                    Suppliers (Title XVIII)    to determine through its      ov/fal/ usasp
       Department of Health and Human Services             93.778   Medical Assistance         To provide financial          https:/ https:/
                                                                    Program                    assistance to States for      /       /
                                                                                               payments of medical           sam.g www.
       Department of Health and Human Services             93.779   Centers for Medicare       assistance     behalf of
                                                                                               The Centersonfor              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    and Medicaid Services      Medicare & Medicaid           /       /
                                                                    (CMS) Research,            Services (CMS)                sam.g www.
                                                                    Demonstrations and         conducts research,            ov/fal/ usasp
       Department of Health and Human Services             93.787   Title V Sexual Risk        The purpose of the Title      https:/ https:/
                                                                    Avoidance Education        V Competitive SRAE            /       /
                                                                    Program (Discretionary     Program is to fund            sam.g www.
       Department of Health and Human Services             93.788   Grants)
                                                                    Opioid STR                 projects to implement
                                                                                               Addressing   the opioid       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                                               crisis within such            /       /




A140
                                                                                               States, used for              sam.g www.
       Department of Health and Human Services             93.791   Money Follows the          carrying
                                                                                               The  Moneyout Follows
                                                                                                             activitiesthe           usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Person Rebalancing         Person (MFP)                  /       /
                                                                    Demonstration              Rebalancing                   sam.g www.
                                                                                               Demonstration,                ov/fal/ usasp
       Department of Health and Human Services             93.796   State Survey               To provide (Medicaid)         https:/ https:/
                                                                    Certification of Health    financial assistance to       /       /
                                                                    Care Providers and         any State which is able       sam.g www.
       Department of Health and Human Services             93.797   Suppliers
                                                                    Expanding(Title
                                                                                Access
                                                                                     XIX)to    and
                                                                                               The willing to determine
                                                                                                    Expanding   Access       ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Womenâ€™s Health       to Womenâ€™s Health               /       /
                                                                    Grant                  Grant Program will                sam.g www.
                                                                                           provide a funding                 ov/fal/ usasp
       Department of Health and Human Services             93.799   CARA Act â€            The purpose of this               https:/ https:/
                                                                    “ Comprehensive        program is to prevent             /       /
                                                                    Addiction and Recovery and reduce the abuse              sam.g www.
       Department of Health and Human Services             93.800   Act of 2016
                                                                    Organized Approaches ofTheopioids
                                                                                                purpose
                                                                                                      or of the              ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    to Increase Colorectal  program is to increase           /       /
                                                                    Cancer Screening        colorectal cancer (CRC)          sam.g www.
       Department of Health and Human Services             93.801   Ebola Healthcare        screening
                                                                                            To enable rates
                                                                                                       selectamong
                                                                                                              public                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Preparedness and        health departments               /       /
                                                                    Response for Select     serving regions where            sam.g www.
                                                                    Cities with Enhanced    enhanced airport                 ov/fal/ usasp
       Department of Health and Human Services             93.809   National Organizations The purpose of the                https:/ https:/
                                                                    for Chronic Disease     funding is to develop            /       /
                                                                    Prevention and Health effective state chronic            sam.g www.
       Department of Health and Human Services             93.810   Promotion
                                                                    Paul Coverdell National disease  prevention
                                                                                            To improve           and
                                                                                                         the quality         ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Acute Stroke Program    of acute stroke care and /        /
                                                                    National Center for     health outcomes for       sam.g www.
       Department of Health and Human Services             93.816   Chronic Disease
                                                                    Preventing Heart               stroke patients.
                                                                                            acutepurpose
                                                                                            The            of program ov/fal/ usasp
                                                                                                                      https:/ https:/
                                                                    Attacks and Strokes in  is to support             /       /
                                                                    High Need Areas         implementation of         sam.g www.
                                                                                            population-wide and       ov/fal/ usasp
       Department of Health and Human Services             93.817   Hospital Preparedness This program covers         https:/ https:/
                                                                    Program (HPP) Ebola two separate, but             /       /
                                                                    Preparedness and        related projects: Part A sam.g www.
       Department of Health and Human Services             93.822   Response
                                                                    Health     Activities
                                                                           Careers          â€“ Health
                                                                                            The   Health Care
                                                                                                         Careers              usasp
                                                                                                                      ov/fal/ https:/
                                                                                                                      https:/
                                                                    Opportunity Program     Opportunity Program       /       /
                                                                    (HCOP)                  (HCOP), also known as sam.g www.
                                                                                            the National HCOP         ov/fal/ usasp
       Department of Health and Human Services             93.823   Public Health           In order to advance       https:/ https:/
                                                                    Response, Forecasting, U.S. public health         /       /
                                                                    and Analytic Capacities response, forecasting,    sam.g www.
       Department of Health and Human Services             93.825   Related to Disease      and  analytic capacities
                                                                    National Ebola Training CDC, will increase the    ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                    and Education Center       competency of health          /       /
                                                                    (NETEC)                    care and public health        sam.g www.
       Department of Health and Human Services             93.826   Closing the Gap            workers
                                                                                               To establish
                                                                                                       and athe                      usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Between Standards          mechanism for ongoing         /       /
                                                                    Development and            long-term collaborative       sam.g www.
                                                                    Implementation             engagement with               ov/fal/ usasp
       Department of Health and Human Services             93.829   Section 223                Funding to support            https:/ https:/
                                                                    Demonstration              development of                /       /
                                                                    Programs to Improve        proposals to participate      sam.g www.
       Department of Health and Human Services             93.832   Communitythe
                                                                    Promoting   Mental
                                                                                  Cancer       in time-limited
                                                                                               The   purpose of this                 usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Surveillance Workforce, program is to expand             /       /
                                                                    Education and Data      the capacity of CDC-             sam.g www.
                                                                    Use                     funded National                  ov/fal/ usasp
       Department of Health and Human Services             93.833   Supporting and          This program will build          https:/ https:/
                                                                    Maintaining a           upon previous work to            /       /
                                                                    Surveillance System for continue developing,             sam.g www.
       Department of Health and Human Services             93.834   Chronic  Kidney Disease
                                                                    Capacity Building       supporting and
                                                                                            To reduce morbidity and          ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Assistance (CBA) for       mortality by preventing       /       /
                                                                    High-Impact HIV            cases and                     sam.g www.
       Department of Health and Human Services             93.835   Prevention
                                                                    Planning Grant for         complications
                                                                                               The            of HIV
                                                                                                   first objective of                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Healthcare and Public      this award is to gain an      /       /
                                                                    Health Sector              understanding of the          sam.g www.
                                                                    Cybersecurity              cybersecurity threat          ov/fal/ usasp
       Department of Health and Human Services             93.837   Cardiovascular             To foster heart and           https:/ https:/
                                                                    Diseases Research          vascular research in the      /       /
                                                                                               basic, translational,         sam.g www.
       Department of Health and Human Services             93.838   Lung Diseases              clinical
                                                                                               The      and population
                                                                                                     Division of Lung                usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Research                   Diseases supports             /       /
                                                                                               research and research         sam.g www.
       Department of Health and Human Services             93.839   Blood Diseases and         training
                                                                                               To fosteron the causes,
                                                                                                         research and        ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Resources Research         research training on the      /       /
                                                                                               pathophysiology,              sam.g www.
       Department of Health and Human Services             93.840   Translation and            diagnosis,
                                                                                               The Centertreatment,
                                                                                                           for               ov/fal/
                                                                                                                             https:/ usasp
                                                                                                                                     https:/
                                                                    Implementation Science Translation Research              /       /
                                                                    Research for Heart,    and Implementation                sam.g www.
       Department of Health and Human Services             93.843   Lung,Assistive
                                                                    ACL                    Science
                                                                          Blood Diseases, To        (CTRIS)
                                                                                              support       plans,
                                                                                                      protection                     usasp
                                                                                                                             ov/fal/ https:/
                                                                                                                             https:/
                                                                    Technology State           and advocacy services         /       /
                                                                    Grants for Protection      through the systems           sam.g www.
                                                                    and Advocacy               established to provide        ov/fal/ usasp




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       Department of Health and Human Services             93.845   Promoting Population       The purpose of this        https:/ https:/
                                                                    Health through             program is to support      /       /
                                                                    Increased Capacity in      the building of capacity sam.g www.
       Department of Health and Human Services             93.846   Alcohol Epidemiology
                                                                    Arthritis,                 in alcohol
                                                                                               The        epidemiology
                                                                                                    National Institute of ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                    Musculoskeletal and        and Musculoskeletal        /       /
                                                                    Skin Diseases              and Skin Diseases          sam.g www.
       Department of Health and Human Services             93.847   Research
                                                                    Diabetes, Digestive,       (NIAMS)   mission is to
                                                                                               (1) To promote             ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                    and Kidney Diseases   extramural basic and              /       /
                                                                    Extramural Research   clinical biomedical               sam.g www.
                                                                                          research that improves            ov/fal/ usasp
       Department of Health and Human Services             93.850   Improving Epilepsy    The purpose of this               https:/ https:/
                                                                    Programs, Services,   program is to:                    /       /
                                                                    and Outcomes through                                    sam.g www.
       Department of Health and Human Services             93.851   National Partnerships
                                                                    Tracking Electronic   â€¢
                                                                                          SignificantReduce
                                                                                                      federalthe                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Health Record Adoption investments to                   /       /
                                                                    and Capturing Related accelerate the adoption           sam.g www.
       Department of Health and Human Services             93.853   Insights in U.S.
                                                                    Extramural  Research   of
                                                                                           (1)electronic
                                                                                               To supporthealth             ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Programs in the            extramural research          /       /
                                                                    Neurosciences and          funded by the National       sam.g www.
                                                                    Neurological Disorders     Institute of Neurological    ov/fal/ usasp
       Department of Health and Human Services             93.855   Allergy and Infectious     To assist public and         https:/ https:/
                                                                    Diseases Research          private nonprofit            /       /
                                                                                               institutions and             sam.g www.
       Department of Health and Human Services             93.858   National Collaboration     individuals
                                                                                               The purpose     establish,
                                                                                                            to of this      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    to Support Health,     announcement is to               /       /
                                                                    Wellness and Academic fund applicants to                sam.g www.
                                                                    Success of School-Age improve the health of             ov/fal/ usasp
       Department of Health and Human Services             93.859   Biomedical Research    The National Institute of        https:/ https:/
                                                                    and Research Training General Medical                   /       /
                                                                                           Sciences (NIGMS)                 sam.g www.
       Department of Health and Human Services             93.860   Emerging Infections    supports
                                                                                           In        basic
                                                                                              its 1994     research
                                                                                                       monograph,                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Sentinel Networks          Addressing Emerging          /       /
                                                                                               Infectious Disease           sam.g www.
       Department of Health and Human Services             93.865   Child Health and           Threats
                                                                                               To conduct
                                                                                                        â€“and
                                                                                                            A support       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Human Development          laboratory research,         /       /
                                                                    Extramural Research        clinical trials, and         sam.g www.
                                                                                               studies with people that     ov/fal/ usasp
       Department of Health and Human Services             93.866   Aging Research             To encourage                 https:/ https:/
                                                                                               biomedical, social, and      /       /
                                                                                               behavioral research and      sam.g www.
       Department of Health and Human Services             93.867   Vision Research            research    training
                                                                                               1) To support    eye and     ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                                               vision research projects     /       /
                                                                                               that address the leading     sam.g www.
                                                                                               causes of blindness and      ov/fal/ usasp
       Department of Health and Human Services             93.869   Transforming Maternal      The Transforming             https:/ https:/
                                                                    Health (TMaH) Model        Maternal Heath (TMaH)        /       /
                                                                                               Model is a voluntary,        sam.g www.
       Department of Health and Human Services             93.870   Maternal, Infant and       10-year
                                                                                               The      service
                                                                                                    goals of thedelivery            usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Early Childhood Home       Maternal, Infant, and        /       /
                                                                    Visiting Grant             Early Childhood Home         sam.g www.
       Department of Health and Human Services             93.872   Tribal Maternal, Infant,   Visiting Program
                                                                                               The Tribal Maternal,         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    and Early Childhood        Infant, and Early            /       /
                                                                    Home Visiting              Childhood Home               sam.g www.
                                                                                               Visiting Program (Tribal     ov/fal/ usasp
       Department of Health and Human Services             93.873   State Grants for           To make grants to            https:/ https:/
                                                                    Protection and             Protection and               /       /
                                                                    Advocacy Services          Advocacy systems as          sam.g www.
       Department of Health and Human Services             93.874   Strengthening the          established
                                                                                               The purposeinofeach
                                                                                                               this         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Public Health System in funding initiative to           /       /
                                                                    US-affiliated Pacific   ensure provision of             sam.g www.
       Department of Health and Human Services             93.876   Islands
                                                                    Antimicrobial           capacity
                                                                                            The      building
                                                                                                National                            usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Resistance Surveillance Antimicrobial                   /     /
                                                                    in Retail Food          Resistance Monitoring           sam.g www.
       Department of Health and Human Services             93.877   Specimens
                                                                    Autism  Collaboration,  System
                                                                                            This    (NARMS)
                                                                                                 Program     is a
                                                                                                          supports      ov/fal/ usasp
                                                                                                                        https:/ https:/
                                                                    Accountability,         activities to: provide      /       /
                                                                    Research, Education,    information and             sam.g www.
       Department of Health and Human Services             93.878   and Support
                                                                    Enhance the Ability of  education   on autism
                                                                                            Enhance state     and local ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Emergency Medical       level emergency             /       /
                                                                    Services (EMS) to       medical services            sam.g www.
                                                                    transport patients with operational plans for the ov/fal/ usasp
       Department of Health and Human Services             93.879   Medical Library         To meet a growing need https:/ https:/
                                                                    Assistance              for investigators trained /         /
                                                                                            in biomedical               sam.g www.
       Department of Health and Human Services             93.881   The Reduction of Issuer informatics
                                                                                            The Reduction research
                                                                                                              of Issuer ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                    Burden Through             Burden Through               /       /
                                                                    Technology Grant           Technology Grant will        sam.g www.
       Department of Health and Human Services             93.884           and The
                                                                    ProgramCare
                                                                    Primary     Training       provide
                                                                                               The     funding to the
                                                                                                   overarching                      usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    and Enhancement         purpose of the PCTE             /       /
                                                                                            Program is to                   sam.g www.
                                                                                            strengthen the primary          ov/fal/ usasp
       Department of Health and Human Services             93.885   Cell and Gene Therapy The Cell and Gene                 https:/ https:/
                                                                    (CGT) Access Model      Therapy (CGT) Access            /       /
                                                                                            Model aims to improve           sam.g www.
       Department of Health and Human Services             93.889   National Bioterrorism   the  lives of
                                                                                            To ready    hospitals  with
                                                                                                          people and        ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Hospital Preparedness other healthcare                  /       /
                                                                    Program                 systems, in                     sam.g www.
                                                                                            collaboration with other        ov/fal/ usasp
       Department of Health and Human Services             93.893   Health Care and Public The purpose of this              https:/ https:/
                                                                    Health (HPH) Sector     cooperative agreement           /       /
                                                                    Information Sharing and is to build the capacity        sam.g www.
       Department of Health and Human Services             93.898   Analysis Organization
                                                                    Cancer Prevention   and of
                                                                                            The     information
                                                                                               anpurpose    of this         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Control Programs for   program is to transition         /       /




A141
                                                                    State, Territorial and this highly-functional           sam.g www.
       Department of Health and Human Services             93.899   Tribal Organizations
                                                                    Minority               public
                                                                             HIV/AIDS Fund The  Minority
                                                                                                   health AIDS                      usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    (MHAF)                     Initiative (MAI)â€™s         /       /
                                                                                               principal goals are to       sam.g www.
                                                                                               improve HIV-related          ov/fal/ usasp
       Department of Health and Human Services             93.908   Nurse Corps Loan           The Nurse Corps Loan         https:/ https:/
                                                                    Repayment Program          Repayment Program            /       /
                                                                                               (Nurse Corps LRP)            sam.g www.
       Department of Health and Human Services             93.912   Rural Health Care          provides
                                                                                               The Deltaloan
                                                                                                           Region           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Services Outreach,      Community Health                /       /
                                                                    Rural Health Network    Systems Development             sam.g www.
                                                                    Development and Small Program aims to                   ov/fal/ usasp
       Department of Health and Human Services             93.913   Grants to States for    The purpose of the              https:/ https:/
                                                                    Operation of State      State Offices of Rural          /       /
                                                                    Offices of Rural Health Health (SORH) grant             sam.g www.
       Department of Health and Human Services             93.914   HIV Emergency Relief program
                                                                                            To provide  to assist
                                                                                                     is direct              ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Project Grants             financial assistance to      /       /
                                                                                               Eligible Metropolitan        sam.g www.
       Department of Health and Human Services             93.917   HIV Care Formula           Areas
                                                                                               To     (EMAs)
                                                                                                   enable States
                                                                                                               andand               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Grants                     Territories to improve       /       /
                                                                                               the quality, availability,   sam.g www.
                                                                                               and organization of a        ov/fal/ usasp
       Department of Health and Human Services             93.918   Grants to Provide          The purpose of the           https:/ https:/
                                                                    Outpatient Early           RWHAP Part C Early           /       /
                                                                    Intervention Services      Intervention Services        sam.g www.
       Department of Health and Human Services             93.923   with
                                                                    Disadvantaged   HIV
                                                                         Respect to Health     (EIS)Program
                                                                                               The Faculty Loanfunding is   ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Professions Faculty        Repayment Program            /       /
                                                                    Loan Repayment             (FLRP) provides loan         sam.g www.
       Department of Health and Human Services             93.924   Program
                                                                    Ryan     (FLRP)
                                                                         White  HIV/AIDS       repayment
                                                                                               Dental    assistance
                                                                                                      Reimbursement                 usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Dental Reimbursement       Program (DRP): To            /       /
                                                                    and Community Based        partially compensate         sam.g www.
                                                                    Dental Partnership         accredited dental            ov/fal/ usasp
       Department of Health and Human Services             93.925   Scholarships for Health    The Scholarships for         https:/ https:/
                                                                    Professions Students       Disadvantaged                /       /
                                                                    from Disadvantaged         Students (SDS)               sam.g www.
       Department of Health and Human Services             93.926   Backgrounds
                                                                    Healthy Start Initiative   program
                                                                                               The        increases
                                                                                                    purpose    of the               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                                           Healthy Start (HS)               /       /
                                                                                           program is to improve            sam.g www.
                                                                                           health outcomes before,          ov/fal/ usasp
       Department of Health and Human Services             93.928   Special Projects of    To quickly respond to            https:/ https:/
                                                                    National Significance  the care and treatment           /       /
                                                                                           needs of individuals             sam.g www.
       Department of Health and Human Services             93.932   Native Hawaiian Health receiving assistance
                                                                                           To raise the  health             ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Care Systems           status of Native                 /       /
                                                                                           Hawaiians to the                 sam.g www.
       Department of Health and Human Services             93.933                          highest
                                                                    Demonstration Projects To      possible
                                                                                              promote        level
                                                                                                        improved                    usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    for Indian Health          health care among            /       /
                                                                                               American Indians and         sam.g www.
                                                                                               Alaska Natives through       ov/fal/ usasp
       Department of Health and Human Services             93.939   HIV Prevention             To provide assistance to     https:/ https:/
                                                                    Activities Non-            local, regional and,         /       /
                                                                    Governmental               national nonprofit           sam.g www.
       Department of Health and Human Services             93.940   Organization
                                                                    HIV           Based
                                                                         Prevention            organizations
                                                                                               To assist States   (a)
                                                                                                              to:and                usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Activities Health      political subdivisions of        /       /
                                                                    Department Based       States in meeting the            sam.g www.
                                                                                           cost of establishing and         ov/fal/ usasp
       Department of Health and Human Services             93.941   HIV Demonstration,     To develop, test, and            https:/ https:/
                                                                    Research, Public and   disseminate improved             /       /
                                                                    Professional Education human                            sam.g www.
       Department of Health and Human Services             93.943   Projects
                                                                    Epidemiologic          immunodeficiency
                                                                                           To support promisingvirus        ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Research Studies of    epidemiologic and                /       /
                                                                    Acquired               implementation of                sam.g www.
       Department of Health and Human Services             93.944   Immunodeficiency
                                                                    Human                  science
                                                                                           To        research
                                                                                              continue   and in                     usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Immunodeficiency Virus strengthen effective             /       /
                                                                    (HIV)/Acquired         human                            sam.g www.
                                                                    Immunodeficiency Virus immunodeficiency virus           ov/fal/ usasp
       Department of Health and Human Services             93.945   Assistance Programs    To work with State               https:/ https:/
                                                                    for Chronic Disease    health agencies and              /       /
                                                                    Prevention and Control other public and private         sam.g www.
       Department of Health and Human Services             93.946   Cooperative            nonprofit
                                                                                           To promoteorganizations
                                                                                                       optimal and                  usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                    Agreements to Support equitable health in               /       /
                                                                    State-Based Safe       women and infants                sam.g www.
       Department of Health and Human Services             93.947   Motherhood
                                                                    Tuberculosisand Infant through
                                                                                           To assistpublic  health
                                                                                                      States,               ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                    Demonstration,         political subdivisions of        /     /
                                                                    Research, Public and   States, and other public         sam.g www.
       Department of Health and Human Services             93.958   Professional Education
                                                                    Block Grants for       and   nonprofit
                                                                                           To provide      private
                                                                                                       financial     ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                                    Community Mental       assistance to States      /       /
                                                                    Health Services        and Territories to enable sam.g www.
       Department of Health and Human Services             93.959   Block Grants for       them
                                                                                           To    to carry
                                                                                              provide     out the
                                                                                                       financial     ov/fal/ usasp
                                                                                                                     https:/ https:/
                                                                    Prevention and         assistance to States      /       /
                                                                    Treatment of Substance and Territories to        sam.g www.
                                                                    Abuse                  support projects for the ov/fal/ usasp




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       Department of Health and Human Services             93.965   Coal Miners Respiratory The Black Lung Clinics https:/ https:/
                                                                    Impairment Treatment Program aims to reduce /              /
                                                                    Clinics and Services     the morbidity and         sam.g www.
       Department of Health and Human Services             93.967   Centers for Disease      mortality
                                                                                             This       associated
                                                                                                   program  seeks to   ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Control and Prevention catalyze innovative         /       /
                                                                    Collaboration with       efforts to provide public sam.g www.
       Department of Health and Human Services             93.968   Academia   to Strengthen
                                                                    States Advancing   All-  health
                                                                                             States professionals,
                                                                                                     Advancing         ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                    Payer Health Equity       AHEAD aims to                /       /
                                                                    Approaches and            address unsustainable        sam.g www.
                                                                    Development (AHEAD)       health care cost growth,     ov/fal/ usasp
       Department of Health and Human Services             93.969   PPHF Geriatric            The purpose of this          https:/ https:/
                                                                    Education Centers         program is to educate        /       /
                                                                                              and train the health         sam.g www.
       Department of Health and Human Services             93.970   Health Professions        careToand
                                                                                              (1)       supportive
                                                                                                     identify American             usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Recruitment Program     Indians and Alaska             /       /
                                                                    for Indians             Natives with a potential       sam.g www.
       Department of Health and Human Services             93.971   Health Professions      for education
                                                                                            To provide    or training
                                                                                                       scholarships        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Preparatory Scholarship to American Indians and        /       /
                                                                    Program for Indians     Alaska Natives for the         sam.g www.
                                                                                            purpose of completing          ov/fal/ usasp
       Department of Health and Human Services             93.972   Health Professions      To provide scholarships        https:/ https:/
                                                                    Scholarship Program     to American Indians and        /       /
                                                                                            Alaska Natives at health       sam.g www.
       Department of Health and Human Services             93.974   Family Planning Service professions
                                                                                            Awarded fundschools
                                                                                                           supportin       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Delivery Improvement    projects to conduct            /       /
                                                                    Research                research or analyses to        sam.g www.
                                                                                            generate information           ov/fal/ usasp
       Department of Health and Human Services             93.976   Primary Care Medicine The goal of the career           https:/ https:/
                                                                    and Dentistry Clinician development awards is          /       /
                                                                    Educator Career         to support the                 sam.g www.
       Department of Health and Human Services             93.977   Development
                                                                    Sexually      Awards
                                                                             Transmitted    development
                                                                                            The           and
                                                                                                 purpose of  the                   usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Diseases (STD)          assistance is to               /       /
                                                                    Prevention and Control strengthen STD                  sam.g www.
       Department of Health and Human Services             93.978   Grants
                                                                    Sexually Transmitted    prevention
                                                                                            The purpose programs
                                                                                                          of the in        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Diseases (STD)            assistance is to fund        /       /
                                                                    Provider Education        academic institutions        sam.g www.
                                                                    Grants                    and clinical and public      ov/fal/ usasp
       Department of Health and Human Services             93.981   Improving Student         This program supports        https:/ https:/
                                                                    Health and Academic       evidence-based               /       /
                                                                    Achievement through       strategies and activities    sam.g www.
       Department of Health and Human Services             93.982   Nutrition, Physical
                                                                    Mental Health  Disaster   to
                                                                                              To reduce
                                                                                                  providethe risk of       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Assistance and            supplemental                 /       /
                                                                    Emergency Mental          emergency mental             sam.g www.
                                                                    Health                    health counseling to         ov/fal/ usasp
       Department of Health and Human Services             93.983   Market Transparency       The purpose of this          https:/ https:/
                                                                    Project for Health IT     program is to increase       /       /
                                                                    Interoperability Services market awareness and         sam.g www.
       Department of Health and Human Services             93.988                             transparency
                                                                    Cooperative Agreement Diabetes
                                                                    Cooperative                        Prevention                  usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Agreements for            and Control Programs         /       /
                                                                    Diabetes Control          (DPCPs) are funded by        sam.g www.
       Department of Health and Human Services             93.989   Programs
                                                                    International Research    the
                                                                                              TheCDC's  Division
                                                                                                  John E. Fogartyof        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    and Research Training     International Center         /       /
                                                                                              (FIC) supports research      sam.g www.
                                                                                              and research training to     ov/fal/ usasp
       Department of Health and Human Services             93.990   National Health           Activities as may be         https:/ https:/
                                                                    Promotion                 required to make             /       /
                                                                                              information respecting       sam.g www.
       Department of Health and Human Services             93.991   Preventive Health and     health  information
                                                                                              To provide          and
                                                                                                           States with     ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Health Services Block     the resources to             /       /
                                                                    Grant                     improve the health           sam.g www.
       Department of Health and Human Services             93.994   Maternal and Child        status
                                                                                              To     of the
                                                                                                 enable     population
                                                                                                          States to                usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Health Services Block     improve the health and       /       /
                                                                    Grant to the States       well-being of the            sam.g www.
       Department of Health and Human Services             93.997   Assisted Outpatient       Nation's
                                                                                              In April ofmothers,
                                                                                                          2014,                    usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Treatment                 Congress passed the          /       /
                                                                                              Protecting Access to         sam.g www.
       Department of Health and Human Services             93.998   Autism and Other          Medicare
                                                                                              This funding  of 2014
                                                                                                        Actsupports        ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Developmental           State health agencies,         /       /
                                                                    Disabilities,           universities, and public       sam.g www.
                                                                    Surveillance, Research, and private nonprofit          ov/fal/ usasp
       Department of Homeland Security                     97.005   State and Local         National Domestic              https:/ https:/
                                                                    Homeland Security       Preparedness                   /       /
                                                                    National Training       Consortium: Through            sam.g www.
       Department of Homeland Security                     97.007   Program
                                                                    Homeland Security       the
                                                                                            TheNational
                                                                                                Homeland  Domestic
                                                                                                            Security       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Preparedness Technical Technical Assistance            /       /
                                                                    Assistance Program     Program (HSPTAP) is             sam.g www.
       Department of Homeland Security                     97.008   Non-Profit Security    established
                                                                                           The           build
                                                                                               FY 2023toNonprofit                  usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Program                   Security Grant Program       /       /
                                                                                              (NSGP) provides              sam.g www.
                                                                                              funding support for          ov/fal/ usasp
       Department of Homeland Security                     97.009   FY 2022 Operation         To reimburse airport         https:/ https:/
                                                                    Allies Welcome Airport    authorities for services     /       /
                                                                    Assistance Grant          provided and expenses        sam.g www.
       Department of Homeland Security                     97.010   Citizenship Education     incurred
                                                                                              The Officewhile
                                                                                                          of serving       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    and Training              Citizenship, Partnership     /       /
                                                                                              and Engagement               sam.g www.
                                                                                              (OCPE), within US.           ov/fal/ usasp
       Department of Homeland Security                     97.012   Boating Safety            The mission of the           https:/ https:/
                                                                    Financial Assistance      National RBS Program         /       /
                                                                                              is to ensure the public      sam.g www.
       Department of Homeland Security                     97.018   National Fire Academy     has
                                                                                              To provide   secure, and
                                                                                                   a safe,travel           ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Training Assistance       stipends (up to 75           /       /




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                                                                                              percent of the expense       sam.g www.
       Department of Homeland Security                     97.022   Flood Insurance           of attendance)
                                                                                              To  enable personal
                                                                                                              to fireand           usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                                           business property               /       /
                                                                                           owners and renters to           sam.g www.
                                                                                           purchase flood                  ov/fal/ usasp
       Department of Homeland Security                     97.023   Community Assistance The Community                     https:/ https:/
                                                                    Program State Support Assistance Program â€            /       /
                                                                    Services Element       “ State Support                 sam.g www.
       Department of Homeland Security                     97.024   (CAP-SSSE)
                                                                    Emergency Food and     Services   Element
                                                                                           This program   does not         ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Shelter National Board accept unsolicited              /       /
                                                                    Program                proposals; the only             sam.g www.
                                                                                           eligible applicant to           ov/fal/ usasp
       Department of Homeland Security                     97.025   National Urban Search The National Urban               https:/ https:/
                                                                    and Rescue (US&R)      Search and Rescue               /       /
                                                                    Response System        (US&R) Response                 sam.g www.
       Department of Homeland Security                     97.029   Flood Mitigation       System   (the System)
                                                                                           Objectives                      ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Assistance                                        /       /
                                                                                            The Flood Mitigation      sam.g www.
       Department of Homeland Security                     97.030   Community Disaster      Assistance
                                                                                            To provide loans
                                                                                                         (FMA)subject ov/fal/ usasp
                                                                                                                grant https:/ https:/
                                                                    Loans                   to congressional loan     /       /
                                                                                            authority to any local    sam.g www.
                                                                                            government that has       ov/fal/ usasp
       Department of Homeland Security                     97.032   Crisis Counseling       The Crisis Counseling     https:/ https:/
                                                                                            Assistance and Training /         /
                                                                                            Program (CCP)             sam.g www.
       Department of Homeland Security                     97.033                           supports  the  Recovery
                                                                    Disaster Legal Services The Disaster Legal        ov/fal/
                                                                                                                      https:/ usasp
                                                                                                                              https:/
                                                                                              Services Program             /       /
                                                                                              (DLS) supports the           sam.g www.
       Department of Homeland Security                     97.034   Disaster Unemployment TheNational   Preparedness
                                                                                                   Disaster                        usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Assistance               Unemployment                  /       /
                                                                                             Assistance (DUA)              sam.g www.
                                                                                             Program supports the          ov/fal/ usasp
       Department of Homeland Security                     97.036   Disaster Grants - Public To assist state, local,       https:/ https:/
                                                                    Assistance               territorial , and tribal      /       /
                                                                    (Presidentially Declared (SLTT) governments            sam.g www.
       Department of Homeland Security                     97.039   Disasters)
                                                                    Hazard                   and eligible
                                                                            Mitigation Grant The   objectiveprivate
                                                                                                              of thenon-           usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                                         program is to provide             /       /
                                                                                         funding support to                sam.g www.
                                                                                         states, Indian tribal             ov/fal/ usasp
       Department of Homeland Security                     97.040   Chemical Stockpile   The objective is to               https:/ https:/
                                                                    Emergency            enhance emergency                 /       /
                                                                    Preparedness Program preparedness                      sam.g www.
       Department of Homeland Security                     97.041   National Dam Safety  capabilities
                                                                                         Both the National
                                                                                                      of the Dam           ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Program                   Safety Program (NDSP) /          /
                                                                                              state assistance grant   sam.g www.
       Department of Homeland Security                     97.042   Emergency                 and the
                                                                                              The     Rehabilitation
                                                                                                   Emergency           ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                    Management                Management               /       /
                                                                    Performance Grants        Performance Grant        sam.g www.
                                                                                              (EMPG) Program is a      ov/fal/ usasp
       Department of Homeland Security                     97.043   State Fire Training       In accordance with the   https:/ https:/
                                                                    Systems Grants            Federal Fire Prevention /        /
                                                                                              and Control Act of 1974, sam.g www.
       Department of Homeland Security                     97.044   Assistance to             the National
                                                                                              The           Fire
                                                                                                   goal of the                 usasp
                                                                                                                       ov/fal/ https:/
                                                                                                                       https:/
                                                                    Firefighters Grant        Assistance to                /       /
                                                                                              Firefighters Grant           sam.g www.
                                                                                              (AFG) and Fire               ov/fal/ usasp
       Department of Homeland Security                     97.045   Cooperating Technical     The Cooperating              https:/ https:/
                                                                    Partners                  Technical Partners           /       /
                                                                                              (CTP) Program exists to      sam.g www.
       Department of Homeland Security                     97.046   Fire Management           strengthen  and
                                                                                              The Fire Management          ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Assistance Grant          Assistance Grant             /       /
                                                                                              (FMAG) Program is            sam.g www.
       Department of Homeland Security                     97.047                            authorized
                                                                    BRIC: Building Resilient The  Building   the
                                                                                                         byResilient               usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Infrastructure and       Infrastructure and            /       /
                                                                    Communities              Communities (BRIC)            sam.g www.
                                                                                             program makes federal         ov/fal/ usasp
       Department of Homeland Security                     97.048   Federal Disaster         To provide financial          https:/ https:/
                                                                    Assistance to            assistance, and if            /       /
                                                                    Individuals and          necessary, direct             sam.g www.
       Department of Homeland Security                     97.050   Presidential in
                                                                    Households Declared      services
                                                                                             This typetoofindividuals
                                                                                                           assistance              usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Disaster Assistance to supports disaster               /       /
                                                                    Individuals and        recovery by providing           sam.g www.
       Department of Homeland Security                     97.052   Households   - Other
                                                                    Emergency Operations   financial assistance
                                                                                           The purpose    of the for       ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Center                 Emergency Operations            /       /
                                                                                           Center (EOC) Grant              sam.g www.
       Department of Homeland Security                     97.056   Port Security Grant    Program
                                                                                           Port Security   improve
                                                                                                     is to Grant           ov/fal/
                                                                                                                           https:/ usasp
                                                                                                                                   https:/
                                                                    Program                   Program (PSGP) is one        /       /
                                                                                              of four grant programs       sam.g www.
       Department of Homeland Security                     97.057   Intercity Bus Security    that constitute
                                                                                              The             DHS/
                                                                                                   objective of the FY             usasp
                                                                                                                           ov/fal/ https:/
                                                                                                                           https:/
                                                                    Grants                    2023 IBSGP is to             /       /
                                                                                              provide funds to eligible    sam.g www.
                                                                                              private operators of         ov/fal/ usasp




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       Department of Homeland Security                         97.061   Centers for Homeland      DHS S&T seeks to             https:/ https:/
                                                                        Security                  establish a university-      /       /
                                                                                                  led consortium that          sam.g www.
       Department of Homeland Security                         97.062   Scientific Leadership     work
                                                                                                  In   closely
                                                                                                     support of with
                                                                                                                the DHS                usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Awards                    Science and                  /       /
                                                                                                  Technology                   sam.g www.
       Department of Homeland Security                         97.067   Homeland Security         Directorate's
                                                                                                  The objectivemission  to
                                                                                                                of the FY      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Grant Program          2023 HSGP is to fund            /       /
                                                                                               SLTT efforts to prevent         sam.g www.
                                                                                               terrorism                       ov/fal/ usasp
       Department of Homeland Security                         97.075   Rail and Transit       The objective of the FY         https:/ https:/
                                                                        Security Grant Program 2023 TSGP is to                 /       /
                                                                                               provide funds to eligible       sam.g www.
       Department of Homeland Security                         97.076   CyberTipline                   transportation
                                                                                               publicprogramâ€™s
                                                                                               This                                    usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                                                  objectives are to            /       /
                                                                                                  promote public               sam.g www.
       Department of Homeland Security                         97.077   Homeland Security         awareness     the
                                                                                                  Support theofPPD-8           ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Research,                 objective of prevention      /       /
                                                                        Development, Testing,     related to terrorist acts    sam.g www.
                                                                        Evaluation and            involving nuclear or         ov/fal/ usasp
       Department of Homeland Security                         97.082   Earthquake State          The National                 https:/ https:/
                                                                        Assistance                Earthquake Hazards           /       /
                                                                                                  Reduction Program            sam.g www.
       Department of Homeland Security                         97.083   Staffing for Adequate     (NEHRP)
                                                                                                  The goal ofis the  Federal
                                                                                                                 the SAFER     ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Fire and Emergency        Grant Program is to          /       /
                                                                        Response (SAFER)          assist local fire            sam.g www.
                                                                                                  departments with             ov/fal/ usasp
       Department of Homeland Security                         97.088   Disaster Assistance       This category is not for     https:/ https:/
                                                                        Projects                  unsolicited proposals.       /       /
                                                                                                  Provides funding that        sam.g www.
       Department of Homeland Security                         97.089   Driver's License          has been
                                                                                                  This       designated
                                                                                                       program    providesby           usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Security Grant Program funding to prevent              /       /
                                                                                               terrorism, reduce fraud         sam.g www.
       Department of Homeland Security                         97.091   Homeland Security      and
                                                                                               The improve
                                                                                                    BioWatchthe
                                                                                                              program          ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Biowatch Program      is a federally managed,          /       /
                                                                                              locally operated early           sam.g www.
                                                                                              warning system that is           ov/fal/ usasp
       Department of Homeland Security                         97.102   Case Management Pilot The objective of the             https:/ https:/
                                                                        Program               Case Management Pilot            /       /
                                                                                              Program (CMPP) is to             sam.g www.
       Department of Homeland Security                         97.106   Securing the Cities   ensure
                                                                                              The DHS  that noncitizens
                                                                                                         Secretary             ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Program                   established the STC          /       /
                                                                                                  Program, managed             sam.g www.
                                                                                                  through the Assistant        ov/fal/ usasp
       Department of Homeland Security                         97.107   National Incident         The purpose of the           https:/ https:/
                                                                        Management System         Fiscal Year (FY) 2023        /       /
                                                                        (NIMS)                    National incident            sam.g www.
       Department of Homeland Security                         97.108   Public Safety and         Management
                                                                                                  S&T  seeks to System
                                                                                                                support                usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Violence Prevention       foundational research        /       /
                                                                        Research, Evaluation,     that contributes to          sam.g www.
       Department of Homeland Security                         97.111   and  Implementation
                                                                        Regional  Catastrophic    advancing
                                                                                                  The goal ofthe
                                                                                                               thestate
                                                                                                                   RCPGPof     ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Preparedness Grant       is to build regional          /       /
                                                                        Program (RCPGP)          capacity and enhance          sam.g www.
                                                                                                 community resilience in       ov/fal/ usasp
       Department of Homeland Security                         97.120   Rural Emergency          The Homeland Security         https:/ https:/
                                                                        Medical                  Act of 2002 (HSA)             /       /
                                                                        Communications           assigns CISA with the         sam.g www.
       Department of Homeland Security                         97.123   Demonstration   Project
                                                                        State, Local, Tribal and responsibilities of
                                                                                                 The mission of CISA   is      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Territorial Security     to lead the national          /       /
                                                                        Operations Center/       effort to understand and      sam.g www.
       Department of Homeland Security                         97.127   Information Sharing and Section
                                                                        Cybersecurity            manage2220cyberofand
                                                                                                                   the                 usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Education and Training Homeland Security Act           /       /
                                                                                               of 2002 (codified as            sam.g www.
       Department of Homeland Security                         97.128   CISA Cyber Security    amended at mission
                                                                                               CISAâ€™s    6 U.S.C.is                  usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Awareness Campaign        to lead the national         /       /
                                                                                                  effort to understand,        sam.g www.
       Department of Homeland Security                         97.130   National Nuclear          manage,    and reduce
                                                                                                  The objectives  of this      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Forensics Expertise      program are: (1) to           /       /
                                                                        Development Program      provide a stable              sam.g www.
                                                                                                 foundation from which         ov/fal/ usasp
       Department of Homeland Security                         97.131   Emergency                The purpose of the FY         https:/ https:/
                                                                        Management Baseline 2023 EMBAG                         /       /
                                                                        Assessments Grant        cooperative agreement         sam.g www.
       Department of Homeland Security                         97.132   (EMBAG)
                                                                        Financial Assistance for is
                                                                                                 The   support
                                                                                                    to TVTP    the use of
                                                                                                            Grant              ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Targeted Violence and  Program has six                 /       /
                                                                        Terrorism Prevention   objectives:                     sam.g www.
       Department of Homeland Security                         97.133   Preparing for Emerging The      The local
                                                                                               â€¢ FY 2016   Program                   usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Threats and Hazards    to Prepare                      /       /
                                                                                               Communities for                 sam.g www.
                                                                                               Complex Coordinated             ov/fal/ usasp
       Department of Homeland Security                         97.134   Presidential Residence The purpose of FEMA's           https:/ https:/
                                                                        Protection Security    PRPA grant program is           /       /
                                                                        Grant                  to provide assistance           sam.g www.
       Department of Homeland Security                         97.135   National Nonprofit     and
                                                                                               The support
                                                                                                    mission for the
                                                                                                            of the             ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Organization              National RBS Program         /       /
                                                                        Recreational Boating      is to ensure the public      sam.g www.
                                                                        Safety Grant Program      has a safe, secure, and      ov/fal/ usasp
       Department of Homeland Security                         97.136   Boating Safety Data       The Boating Safety           https:/ https:/
                                                                        Collection and Analysis   Data Collection and          /       /
                                                                        Grant Program             Analysis Grant is            sam.g www.
       Department of Homeland Security                         97.137   State and Local           designed
                                                                                                  The goal of   collect
                                                                                                            to the      data
                                                                                                                    State      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Cybersecurity Grant   and Local Cybersecurity /        /




A143
                                                                        Program Tribal        Grant Program            sam.g www.
       Department of Homeland Security                         97.138   Cybersecurity
                                                                        Next          Grant
                                                                             Generation       (SLCGP) and the Tribal ov/fal/
                                                                                              Objectives                       usasp
                                                                                                                       https:/ https:/
                                                                        Warning System Grant  To have in place a       /       /
                                                                        Program               public alert and warning sam.g www.
                                                                                              system that provides     ov/fal/ usasp
       Department of Homeland Security                         97.139   Safeguarding Tomorrow The Safeguarding         https:/ https:/
                                                                        Revolving Loan Fund   Tomorrow Revolving       /       /
                                                                        Program               Loan Fund (RLF)          sam.g www.
       Department of Homeland Security                         97.140                         Program   provides
                                                                        National Coast Guard The U.S. Coast Guard      ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                        Museum Construction       (USCG) will award a          /       /
                                                                                                  Congressionally              sam.g www.
                                                                                                  directed $50 million         ov/fal/ usasp
       Department of Homeland Security                         97.141   Shelter and Services      â€¢       To provide         https:/ https:/
                                                                        Program                   funding to non-federal       /       /
                                                                                                  entities that serve          sam.g www.
       Department of Homeland Security                         97.142   National Computer         noncitizen  migrants
                                                                                                  The objective   is the       ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Forensics Institute     expansion of the               /       /
                                                                        Facility Expansion      National Computer              sam.g www.
       Department of Homeland Security                         97.143   Grant Program
                                                                        Pre-Disaster Mitigation Forensics Institute's
                                                                                                The Pre-Disaster                       usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        (PDM) Congressionally Mitigation (PDM)                 /       /
                                                                        Directed Spending       Congressionally                sam.g www.
                                                                        (CDS)                   Directed Spending              ov/fal/ usasp
       Department of Homeland Security                         97.144   Flood Mitigation        The Flood Mitigation           https:/ https:/
                                                                        Assistance (FMA) Swift Assistance (FMA) Swift          /       /
                                                                        Current                 Current grant program          sam.g www.
       Department of Homeland Security                         97.145   National Domestic       makes  federal
                                                                                                The goal and mission
                                                                                                               funds of        ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Preparedness              the NDPC is to enable  /       /
                                                                        Consortium                communities to address sam.g www.
       Department of Homeland Security                         97.146   Alliance for System      specific
                                                                                                 The      evolving
                                                                                                      mission  and and
                                                                                                                   goal          usasp
                                                                                                                         ov/fal/ https:/
                                                                                                                         https:/
                                                                        Safety of Unmanned       of the CTG ASSURE             /       /
                                                                        Aircraft Systems         program is to enable          sam.g www.
                                                                        through Research         communities to address        ov/fal/ usasp
       Department of Homeland Security                         97.147   National Earthquake      The National                  https:/ https:/
                                                                        Hazards Reduction        Earthquake Hazards            /       /
                                                                        Program (NEHRP)          Reduction Program             sam.g www.
       Department of Homeland Security                         97.148   Multi-State
                                                                        National  Cybersecurity  (NEHRP)
                                                                                    and National The        Multi-State
                                                                                                      National                         usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Preparedness              Cybersecurity                /       /
                                                                        Consortium                Preparedness                 sam.g www.
                                                                                                  Consortium program           ov/fal/ usasp
       Department of Homeland Security                         97.149   Shelter and Services      SSP provides funding to      https:/ https:/
                                                                        Program â€                non-federal entities that    /       /
                                                                        “ Competitive             serve noncitizen             sam.g www.
       Department of Homeland Security                         97.150   Tribal Homeland           migrants recently
                                                                                                  The objective of the FY      ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Security Grant Program 2024 Tribal Homeland            /       /
                                                                                               Security Grant Program          sam.g www.
       Department of Homeland Security                         97.151   Fire Prevention &      (THSGP)
                                                                                               The goal of  to provide
                                                                                                         is the Fire                   usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Safety                  Prevention and Safety          /       /
                                                                                                (FP&S) Program is to           sam.g www.
                                                                                                enhance the safety of          ov/fal/ usasp
       Department of Homeland Security                         97.152   Rehabilitation of High  Rehabilitation of High         https:/ https:/
                                                                        Hazard Potential Dams Hazard Potential Dams            /       /
                                                                        Grant Program           (HHPD) Grant Program:          sam.g www.
       Department of Homeland Security                         97.154   Citizenship Integration The
                                                                                                The Office
                                                                                                     HHPD ofgrant                      usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Training Academy        Citizenship, Partnership       /       /
                                                                                                and Engagement                 sam.g www.
                                                                                                (OCPE), within US.             ov/fal/ usasp
       Department of Homeland Security                         97.155   Cybersecurity           The goals of the CWD           https:/ https:/
                                                                        Workforce Development Program are to                   /       /
                                                                        and Training for        decrease the                   sam.g www.
       Department of Homeland Security                         97.156   Underserved
                                                                        Tribal Cybersecurity    cybersecurity workforce
                                                                                                The goal of the Tribal         ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                        Grant Program             Cybersecurity Grant          /       /
                                                                                                  Program (TCGP) is to         sam.g www.
       Department of Housing and Urban Development             14.021   Green and Resilient       assist
                                                                                                  The Green
                                                                                                         tribal and                    usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Retrofit Program          Resilient Retrofit           /       /
                                                                                                  Program offers loans         sam.g www.
                                                                                                  and grants for HUD-          ov/fal/ usasp
       Department of Housing and Urban Development             14.022   Housing Counseling        The Homeownership            https:/ https:/
                                                                        Program                   Initiative (HI) helps to     /       /
                                                                        Homeownership             bridge the                   sam.g www.
       Department of Housing and Urban Development             14.023   Initiative
                                                                        Community                 homeownership
                                                                                                  PRO    (Pathways gap
                                                                                                                     to by             usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                        Development Block         Removing Obstacles) to /       /
                                                                        Grant- PRO Housing        Housing provides       sam.g www.
       Department of Housing and Urban Development             14.024   Competition
                                                                        Community               competitive grant funds
                                                                                                The Community            ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                        Development Block       Development Block              /     /
                                                                        Grant- PRICE            Grant - Preservation           sam.g www.
       Department of Housing and Urban Development             14.108   Competition
                                                                        Rehabilitation Mortgage and Reinvestment
                                                                                                FHA's  203(k)             ov/fal/
                                                                                                                          https:/ usasp
                                                                                                                                  https:/
                                                                        Insurance                Rehabilitation Mortgage /        /
                                                                                                 program is HUD's         sam.g www.
       Department of Housing and Urban Development             14.110   Manufactured Home        primary
                                                                                                 To       program for the ov/fal/
                                                                                                     help people                  usasp
                                                                                                                          https:/ https:/
                                                                        Loan Insurance (Title I) purchase a               /       /
                                                                                                 manufactured home or sam.g www.
                                                                                                 refinance an existing    ov/fal/ usasp




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       Department of Housing and Urban Development             14.117   Mortgage Insurance       Helps enable people to       https:/ https:/
                                                                        Homes                    purchase a home or           /       /
                                                                                                 refinance an existing        sam.g www.
       Department of Housing and Urban Development             14.119   Mortgage Insurance       mortgage.
                                                                                                 To help victims of a                 usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Homes for Disaster       Presidentially-declared      /       /
                                                                        Victims                  disaster whose home          sam.g www.
       Department of Housing and Urban Development             14.122   Mortgage Insurance       was destroyed
                                                                                                 To help eligible entities    ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Homes in Urban           to purchase and/or           /       /
                                                                        Renewal Areas            rehabilitate homes in        sam.g www.
                                                                                                 urban renewal areas.         ov/fal/ usasp
       Department of Housing and Urban Development             14.126   Mortgage Insurance       Enables nonprofit            https:/ https:/
                                                                        Cooperative Projects     cooperative ownership        /       /
                                                                                                 housing corporations or      sam.g www.
       Department of Housing and Urban Development             14.128   Mortgage Insurance       trusts
                                                                                                 To     to develop
                                                                                                    facilitate the or                 usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Hospitals                affordable financing of      /       /
                                                                                                 hospitals for the care       sam.g www.
       Department of Housing and Urban Development             14.129   Mortgage Insurance       and  treatment
                                                                                                 To provide      of
                                                                                                             mortgage         ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Nursing Homes,           insurance to HUD-            /       /
                                                                        Intermediate Care        approved lenders to          sam.g www.
                                                                        Facilities, Board and    facilitate the               ov/fal/ usasp
       Department of Housing and Urban Development             14.133   Mortgage Insurance       To enable individuals        https:/ https:/
                                                                        Purchase of Units in     and families to              /       /
                                                                        Condominiums             purchase or refinance        sam.g www.
       Department of Housing and Urban Development             14.134   Mortgage Insurance       eligible  units in
                                                                                                 HUD insures      mortgage    ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Rental Housing         loans to finance the           /       /
                                                                                               construction or                sam.g www.
                                                                                               rehabilitation of a broad      ov/fal/ usasp
       Department of Housing and Urban Development             14.135   Mortgage Insurance     Section 221(d)(4)              https:/ https:/
                                                                        Rental and Cooperative insures mortgage loans         /       /
                                                                        Housing for Moderate to facilitate the new            sam.g www.
       Department of Housing and Urban Development             14.138   Income Families
                                                                        Mortgage        and
                                                                                  Insurance    construction
                                                                                               To            or
                                                                                                  provide quality  rental             usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Rental Housing for the   housing for the elderly.     /       /
                                                                        Elderly                                               sam.g www.
       Department of Housing and Urban Development             14.139   Mortgage Insurance      To provide quality rental     ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Rental Housing in       housing in urban              /       /
                                                                        Urban Renewal Areas     renewal areas, code           sam.g www.
                                                                                                enforcement areas, and        ov/fal/ usasp
       Department of Housing and Urban Development             14.142   Property Improvement To facilitate the                https:/ https:/
                                                                        Loan Insurance for      financing of                  /       /
                                                                        Improving All Existing  improvements to homes         sam.g www.
       Department of Housing and Urban Development             14.151   Structures and Building
                                                                        Supplemental Loan       and  other
                                                                                                Section    property
                                                                                                        241(a)   insures      ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Insurance Multifamily   lenders against loss on       /       /
                                                                        Rental Housing          mortgage defaults on          sam.g www.
                                                                                                projects already insured      ov/fal/ usasp
       Department of Housing and Urban Development             14.155   Mortgage Insurance for To provide mortgage            https:/ https:/
                                                                        the Purchase or         insurance to HUD-             /       /
                                                                        Refinancing of Existing approved lenders for          sam.g www.
       Department of Housing and Urban Development             14.157   Multifamily Housing
                                                                        Supportive  Housing for To  purchase
                                                                                                theexpand   theorsupply of            usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        the Elderly           multifamily housing with        /       /
                                                                                              supportive services for         sam.g www.
       Department of Housing and Urban Development             14.162   Mortgage Insurance    very low income
                                                                                              To make   possibleelderly       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Combination and       reasonable financing for        /       /
                                                                        Manufactured Home Lot the purchase of a               sam.g www.
                                                                        Loans                 manufactured home               ov/fal/ usasp
       Department of Housing and Urban Development             14.169   Housing Counseling    Provide funds to HUD-           https:/ https:/
                                                                        Assistance Program    approved housing                /       /
                                                                                              counseling agencies             sam.g www.
       Department of Housing and Urban Development             14.171   Manufactured Housing that
                                                                                              Administers  counseling
                                                                                                   provide the                ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                                                 National Manufactured        /     /
                                                                                                 Housing Construction         sam.g www.
       Department of Housing and Urban Development             14.175   Adjustable Rate          andprovide
                                                                                                 To         Standards
                                                                                                     Safety mortgage   ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                        Mortgages              insurance for an        /       /
                                                                                               adjustable rate         sam.g www.
       Department of Housing and Urban Development             14.181                          mortgage
                                                                        Supportive Housing for To expandwhich
                                                                                                          the supply
                                                                                                                may of https:/ usasp
                                                                                                                       ov/fal/ https:/
                                                                        Persons with           supportive housing for  /       /
                                                                        Disabilities           very low-income         sam.g www.
       Department of Housing and Urban Development             14.183   Home Equity            persons  with
                                                                                               To enable elderly       ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                        Conversion Mortgages     homeowners to convert        /       /
                                                                                                 equity in their homes to     sam.g www.
                                                                                                 monthly streams of           ov/fal/ usasp
       Department of Housing and Urban Development             14.188   Housing Finance          Under Section 542(c),        https:/ https:/
                                                                        Agencies (HFA) Risk      HUD provides credit          /       /
                                                                        Sharing                  enhancement for              sam.g www.
       Department of Housing and Urban Development             14.191   Multifamily Housing      mortgages   for
                                                                                                 To link elderly,             ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Service Coordinators     especially frail and         /       /
                                                                                                 disabled, or disabled        sam.g www.
       Department of Housing and Urban Development             14.195   Project-Based Rental     non-elderly
                                                                                                 To           assisted
                                                                                                    provide rental                    usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Assistance (PBRA)        assistance to very low       /       /
                                                                                                 income individuals and       sam.g www.
                                                                                                 families enabling them       ov/fal/ usasp
       Department of Housing and Urban Development             14.198   Good Neighbor Next       The purpose of the           https:/ https:/
                                                                        Door Sales Program       Good Neighbor Next           /       /
                                                                                                 Door Sales Program is        sam.g www.
       Department of Housing and Urban Development             14.218   Community                to
                                                                                                 To improve
                                                                                                     develop the quality
                                                                                                              viable     of
                                                                                                                     urban    ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Development Block      communities by                 /       /
                                                                        Grants/Entitlement     providing decent               sam.g www.
                                                                        Grants                 housing, a suitable            ov/fal/ usasp
       Department of Housing and Urban Development             14.225   Community              To provide community           https:/ https:/
                                                                        Development Block      development assistance         /       /
                                                                        Grants/Special Purpose to the Pacific Islands of      sam.g www.
       Department of Housing and Urban Development             14.228   Grants/Insular
                                                                        Community      Areas   American  Samoa,
                                                                                               The primary   objective of     ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Development Block      this program is the            /       /




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                                                                        Grants/State's program development of viable          sam.g www.
       Department of Housing and Urban Development             14.231   and Non-Entitlement
                                                                        Emergency  Solutions   urban
                                                                                               The    communities
                                                                                                    ESG   program by                  usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Grant Program          provides funding to: (1)       /       /
                                                                                               engage homeless                sam.g www.
                                                                                               individuals and families       ov/fal/ usasp
       Department of Housing and Urban Development             14.239   Home Investment        To expand the supply of        https:/ https:/
                                                                        Partnerships Program affordable housing,              /       /
                                                                                               particularly rental            sam.g www.
       Department of Housing and Urban Development             14.241   Housing Opportunities housing,
                                                                                               To provide    low and
                                                                                                         forStates, units     ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        for Persons with AIDS    of local government, or      /       /
                                                                                                 nonprofit organizations      sam.g www.
                                                                                                 with the resources and       ov/fal/ usasp
       Department of Housing and Urban Development             14.247   Self-Help                To facilitate and            https:/ https:/
                                                                        Homeownership            encourage innovative         /       /
                                                                        Opportunity Program      homeownership                sam.g www.
       Department of Housing and Urban Development             14.248   Community                opportunities  through
                                                                                                 To provide communities       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Development Block     with a source of         /       /
                                                                        Grants Section 108    financing for economic   sam.g www.
       Department of Housing and Urban Development             14.249   Loan Guarantees
                                                                        Section 8 Moderate    development,
                                                                                              The   Section 8 housing
                                                                                                              Moderate ov/fal/ usasp
                                                                                                                       https:/ https:/
                                                                        Rehabilitation Single Rehabilitation Single    /       /
                                                                        Room Occupancy        Room Occupancy           sam.g www.
                                                                                              Program provides rental ov/fal/ usasp
       Department of Housing and Urban Development             14.251   Economic Development The annual                https:/ https:/
                                                                        Initiative, Community appropriation of funds   /       /
                                                                        Project Funding, and  to the Department and    sam.g www.
       Department of Housing and Urban Development             14.252   Miscellaneous  grants
                                                                        Section 4 Capacity    the  accompanying        ov/fal/
                                                                                              The Section 4 program https:/ usasp
                                                                                                                               https:/
                                                                        Building for Community builds the capacity of         /       /
                                                                        Development and        Community                      sam.g www.
       Department of Housing and Urban Development             14.256   Affordable Housing
                                                                        Neighborhood           Development
                                                                                               Neighborhood                           usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Stabilization Program  stabilization through          /       /
                                                                        (Recovery Act Funded) acquisition and                 sam.g www.
                                                                                               rehabilitation, land           ov/fal/ usasp
       Department of Housing and Urban Development             14.259   Community Compass      Community Compass              https:/ https:/
                                                                        Technical Assistance   brings together                /       /
                                                                        and Capacity Building technical assistance            sam.g www.
       Department of Housing and Urban Development             14.261   National Homeless      funding appropriations
                                                                                               National  Homeless                     usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Data Analysis Project   Data Analysis Project         /       /
                                                                        (NHDAP)                 (NHDAP) provides              sam.g www.
                                                                                                critical resources to         ov/fal/ usasp
       Department of Housing and Urban Development             14.265   Rural Capacity Building The Rural Capacity            https:/ https:/
                                                                        for Community           Building program              /       /
                                                                        Development and         enhances the capacity         sam.g www.
       Department of Housing and Urban Development             14.267   Affordable Housing
                                                                        Continuum of Care       and
                                                                                                The ability
                                                                                                      programof rural
                                                                                                                is            ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Program                 designed to promote           /       /
                                                                                                community-wide                sam.g www.
       Department of Housing and Urban Development             14.269   Hurricane Sandy         commitment
                                                                                                The            to the goal
                                                                                                      overall CDBG                    usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Community              program objective is to        /       /
                                                                        Development Block      develop viable urban           sam.g www.
                                                                        Grant Disaster         communities, by                ov/fal/ usasp
       Department of Housing and Urban Development             14.272   National Disaster      The overall CDBG               https:/ https:/
                                                                        Resilience Competition program objective is to        /       /
                                                                                               develop viable urban           sam.g www.
       Department of Housing and Urban Development             14.275   Housing Trust Fund     communities,
                                                                                               To expand andbypreserve                usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                                              the supply of affordable        /       /
                                                                                              housing, particularly           sam.g www.
                                                                                              rental housing, for             ov/fal/ usasp
       Department of Housing and Urban Development             14.276   Youth Homelessness    The goal of the Youth           https:/ https:/
                                                                        Demonstration Program Homeless                        /       /
                                                                                              Demonstration Program           sam.g www.
       Department of Housing and Urban Development             14.277   Youth Homeless        (YHDP)   is to support
                                                                                              The objectives   of the         ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        System Improvement       Youth Homeless               /       /
                                                                        Grants                   System Improvement           sam.g www.
       Department of Housing and Urban Development             14.278   Veterans Housing         Grants
                                                                                                 The    (YHSIG),
                                                                                                     purpose      HUD
                                                                                                             of the                   usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Rehabilitation and       Veterans Housing             /       /
                                                                        Modification Program     Rehabilitation and           sam.g www.
                                                                                                 Modification Program is      ov/fal/ usasp
       Department of Housing and Urban Development             14.311   Single Family Property   To sell HUD single           https:/ https:/
                                                                        Disposition              family Real Estate           /       /
                                                                                                 Owned (REO)                  sam.g www.
       Department of Housing and Urban Development             14.313   Dollar Home Sales        properties
                                                                                                 To expand in a manner
                                                                                                             HUD's                    usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                                                 partnership with local       /       /
                                                                                                 governments in helping       sam.g www.
       Department of Housing and Urban Development             14.316   Housing Counseling       to foster
                                                                                                 This      housing
                                                                                                      program  supports,      ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Training Program         under cooperative            /       /
                                                                                                 agreements with HUD,         sam.g www.
       Department of Housing and Urban Development             14.322   Tenant Education and     the
                                                                                                 Thedelivery      broad
                                                                                                     purposeofofathe          ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Outreach Program         Tenant Education and         /       /
                                                                                                 Outreach (TEO)               sam.g www.
       Department of Housing and Urban Development             14.326   Project Rental           Program
                                                                                                 The      is to
                                                                                                     Project    support
                                                                                                              Rental                  usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Assistance               Assistance (PRA)             /       /
                                                                        Demonstration (PRA       provides funding to          sam.g www.
                                                                        Demo) Program of         state housing agencies       ov/fal/ usasp




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       Department of Housing and Urban Development             14.327   Performance Based         It is the policy of the     https:/ https:/
                                                                        Contract Administrator    United States to            /       /
                                                                        Program                   promote the general         sam.g www.
       Department of Housing and Urban Development             14.401                            welfare of
                                                                        Fair Housing Assistance Provide     the Nation
                                                                                                         assistance   toby            usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Program                  State and local fair         /       /
                                                                                                 housing enforcement          sam.g www.
       Department of Housing and Urban Development             14.408   Fair Housing Initiatives agencies
                                                                                                 To develop,   complaint
                                                                                                           forimplement,      ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Program                   carry out, or coordinate    /       /
                                                                                                  programs and/or             sam.g www.
                                                                                                  activities to educate the   ov/fal/ usasp
       Department of Housing and Urban Development             14.416   Education and             To assist organizations     https:/ https:/
                                                                        Outreach Initiatives      that are regional and       /       /
                                                                                                  local, community based      sam.g www.
       Department of Housing and Urban Development             14.417   Fair Housing                   National
                                                                                                  andassist
                                                                                                  To             programs,
                                                                                                             organizations            usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Organization Initiatives that are regional and        /       /
                                                                                                 local, community based       sam.g www.
       Department of Housing and Urban Development             14.418   Private Enforcement      and  National
                                                                                                 To assist     programs,
                                                                                                           private non-       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Initiatives               profit fair housing         /       /
                                                                                                  enforcement                 sam.g www.
                                                                                                  organizations in the        ov/fal/ usasp
       Department of Housing and Urban Development             14.506   General Research and      What all funding does       https:/ https:/
                                                                        Technology Activity       this listing include? All   /       /
                                                                                                  Core R&T activities (per    sam.g www.
       Department of Housing and Urban Development             14.536   Research, Evaluation,     the
                                                                                                  ThisPDR     Congressional
                                                                                                         is a Notice of       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        and Demonstrations        Funding Availability        /       /
                                                                                                  (NOFA) from the             sam.g www.
                                                                                                  Department of Housing       ov/fal/ usasp
       Department of Housing and Urban Development             14.537   Eviction Protection       The overall purpose of      https:/ https:/
                                                                        Grant Program             the Eviction Protection     /       /
                                                                                                  Grant Program is to         sam.g www.
       Department of Housing and Urban Development             14.850   Public Housing            support
                                                                                                  To      experienced
                                                                                                     provide  and operate             usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Operating Fund            cost-effective, decent,     /       /
                                                                                                  safe and affordable         sam.g www.
       Department of Housing and Urban Development             14.856   Lower Income Housing      dwellings for lower
                                                                                                  The Moderate                ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Assistance Program        Rehabilitation (Mod         /       /
                                                                        Section 8 Moderate        Rehab) program was          sam.g www.
                                                                        Rehabilitation            designed in 1978 to be      ov/fal/ usasp
       Department of Housing and Urban Development             14.862   Indian Community          The purpose of the          https:/ https:/
                                                                        Development Block         Indian Community            /       /
                                                                        Grant Program             Development Block           sam.g www.
       Department of Housing and Urban Development             14.865   Public and Indian         Grant (ICDBG)
                                                                                                  To provide      program
                                                                                                              access to       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Housing Indian Loan       sources of private          /       /
                                                                        Guarantee Program         financing so Native         sam.g www.
                                                                                                  American families can       ov/fal/ usasp
       Department of Housing and Urban Development             14.866   Demolition and            Revitalization Grants       https:/ https:/
                                                                        Revitalization of         enable PHAs to              /       /
                                                                        Severely Distressed       improve the living          sam.g www.
       Department of Housing and Urban Development             14.867   Public Housing
                                                                        Indian Housing Block      environment
                                                                                                  The           for public
                                                                                                       Indian Housing                 usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Grants                    Block Grants (IHBG)         /       /
                                                                                                  program is authorized       sam.g www.
       Department of Housing and Urban Development             14.869   Title VI Federal          under the Native
                                                                                                  To provide access to        ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Guarantees for            sources of private          /       /
                                                                        Financing Tribal          financing to Indian         sam.g www.
                                                                        Housing Activities        Housing Block Grant         ov/fal/ usasp
       Department of Housing and Urban Development             14.870   Resident Opportunity      To address the              https:/ https:/
                                                                        and Supportive            economic and housing        /       /
                                                                        Services - Service        self-sufficiency needs of   sam.g www.
       Department of Housing and Urban Development             14.871   Coordinators
                                                                        Section 8 Housing         public and Indian
                                                                                                  The housing   choice        ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Choice Vouchers           voucher program is the      /       /
                                                                                                  federal government's        sam.g www.
       Department of Housing and Urban Development             14.872   Public Housing Capital          program
                                                                                                  majorCapital
                                                                                                  The            for
                                                                                                               Fund                   usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Fund                      provides funds annually     /       /
                                                                                                  to Public Housing           sam.g www.
       Department of Housing and Urban Development             14.873   Native Hawaiian           Agencies
                                                                                                  To provide(PHAs)  for
                                                                                                             funds to                 usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Housing Block Grants      carry out affordable        /       /
                                                                                                  housing activities,         sam.g www.
       Department of Housing and Urban Development             14.874   Loan Guarantees for       including
                                                                                                  To providerental
                                                                                                              access to       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Native Hawaiian           sources of private          /       /
                                                                        Housing                   financing on Hawaiian       sam.g www.
                                                                                                  home lands.                 ov/fal/ usasp
       Department of Housing and Urban Development             14.878   Affordable Housing        To assist small             https:/ https:/
                                                                        Development in Main       communities with            /       /
                                                                        Street Rejuvenation       populations of 50,000 or    sam.g www.
       Department of Housing and Urban Development             14.879   Projects
                                                                        Mainstream Vouchers       less and 100 Public
                                                                                                  The Mainstream              ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                                                  Vouchers (previously        /       /
                                                                                                  referred to as the          sam.g www.
       Department of Housing and Urban Development             14.880   Family Unification        Mainstream
                                                                                                  To aid: (1) Families
                                                                                                               5-Year for             usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Program (FUP)         whom the lack of                /       /
                                                                                              adequate housing is a           sam.g www.
                                                                                              primary factor in: a. The       ov/fal/ usasp
       Department of Housing and Urban Development             14.881   Moving to Work        Moving to Work (MTW)            https:/ https:/
                                                                        Demonstration Program is a demonstration              /       /
                                                                                              program for public              sam.g www.
       Department of Housing and Urban Development             14.888   Lead-Based Paint      housing  authorities
                                                                                              The Lead-Based     Paint        ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Capital Fund Program  and Housing-Related             /       /
                                                                                              Hazards are for Public          sam.g www.
                                                                                              Housing Authorities             ov/fal/ usasp
       Department of Housing and Urban Development             14.889   Choice Neighborhoods Choice Neighborhoods             https:/ https:/
                                                                        Implementation Grants Implementation Grants           /       /
                                                                                              provide funds to                sam.g www.
       Department of Housing and Urban Development             14.892   Choice Neighborhoods implement
                                                                                              Choice Neighborhoods            ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Planning Grants           Planning Grants             /       /




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                                                                                                  support the                 sam.g www.
       Department of Housing and Urban Development             14.893   Office of Native           development
                                                                                                   To             of
                                                                                                       provide technical              usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        American Programs          assistance for Indian      /       /
                                                                        Training and Technical tribes, Alaska Native          sam.g www.
                                                                        Assistance for Indian      villages, and Tribally     ov/fal/ usasp
       Department of Housing and Urban Development             14.895   Jobs-Plus Pilot Initiative The Jobs Plus program      https:/ https:/
                                                                                                   develops locally based,    /       /
                                                                                                   job-driven approaches      sam.g www.
       Department of Housing and Urban Development             14.896   Family Self-Sufficiency that
                                                                                                   To promote     earnings
                                                                                                        increasethe           ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Program               development of local            /       /
                                                                                              strategies to coordinate        sam.g www.
                                                                                              the use of assistance           ov/fal/ usasp
       Department of Housing and Urban Development             14.899   Tribal HUD-VA         The Tribal HUD-VASH             https:/ https:/
                                                                        Supportive Housing    program combines                /       /
                                                                        Program               rental assistance from          sam.g www.
       Department of Housing and Urban Development             14.900   Lead Hazard Reduction the Department
                                                                                              Lead-Based       of
                                                                                                            Paint             ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Grant Program             Hazard Control grants       /       /
                                                                                                  assist State, Tribal, and   sam.g www.
       Department of Housing and Urban Development             14.901   Healthy Homes             local governments
                                                                                                  HUD,   through this to              usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Weatherization        Healthy Homes and               /       /
                                                                        Cooperation           Weatherization                  sam.g www.
                                                                        Demonstration Grants  Cooperation                     ov/fal/ usasp
       Department of Housing and Urban Development             14.902   Lead Technical StudiesTo fund technical               https:/ https:/
                                                                        Grants                studies to improve              /       /
                                                                                              methods for detecting           sam.g www.
       Department of Housing and Urban Development             14.905   Lead Hazard Reduction and
                                                                                              Leadcontrolling lead-
                                                                                                    Hazard Reduction          ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Demonstration Grant       Demonstration Grant         /       /
                                                                        Program                   assist State, Tribal, and   sam.g www.
       Department of Housing and Urban Development             14.906   Healthy Homes             local
                                                                                                  To    governments
                                                                                                     fund technical to                usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Technical Studies         studies to improve          /       /
                                                                        Grants                    methods for detecting       sam.g www.
                                                                                                  and controlling housing-    ov/fal/ usasp
       Department of Housing and Urban Development             14.912   Lead Hazard Control       The purpose of the          https:/ https:/
                                                                        Capacity Building         Lead Hazard Reduction       /       /
                                                                                                  Capacity Building Grant     sam.g www.
       Department of Housing and Urban Development             14.913   Healthy Homes             Program
                                                                                                  The  purpose    assist
                                                                                                            is toof the               usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Production Program        Healthy Homes               /       /
                                                                                                  Production Program is       sam.g www.
                                                                                                  to comprehensively          ov/fal/ usasp
       Department of Housing and Urban Development             14.914   Radon Interventions in    None. The program is        https:/ https:/
                                                                        Public and Assisted       defunct                     /       /
                                                                        Multifamily Housing                                   sam.g www.
       Department of Housing and Urban Development             14.920   Lead Hazard Control for This funding will be          ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        High Risk Areas         made available to public /       /
                                                                                                housing agencies that    sam.g www.
       Department of Housing and Urban Development             14.921   Older Adults Home       operate
                                                                                                The     the housing
                                                                                                     purpose of the      ov/fal/ usasp
                                                                                                                         https:/ https:/
                                                                        Modification Grant      Older Adults Home        /       /
                                                                        Program                 Modification Grant       sam.g www.
                                                                                                Program is to enhance ov/fal/ usasp
       Department of Justice                                   16.001   Law Enforcement         To provide technical     https:/ https:/
                                                                        Assistance Narcotics    assistance to dully      /       /
                                                                        and Dangerous Drugs constituted state,           sam.g www.
       Department of Justice                                   16.003   Laboratory
                                                                        Law        Analysis
                                                                            Enforcement         county,
                                                                                                To      and municipal
                                                                                                   disseminate                   usasp
                                                                                                                         ov/fal/ https:/
                                                                                                                         https:/
                                                                        Assistance Narcotics      scientific information on   /       /
                                                                        and Dangerous Drugs       the detection and           sam.g www.
                                                                        Technical Laboratory      analysis of narcotics       ov/fal/ usasp
       Department of Justice                                   16.004   Law Enforcement           To acquaint appropriate     https:/ https:/
                                                                        Assistance Narcotics      professional and            /       /
                                                                        and Dangerous Drugs       enforcement personnel       sam.g www.
       Department of Justice                                   16.015   Training
                                                                        Missing Alzheimer's       with (1) techniques
                                                                                                  The goal             in
                                                                                                             of the program   ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Disease Patient         is to support local       /       /
                                                                        Assistance Program      jurisdictionsâ€™ efforts sam.g www.
       Department of Justice                                   16.016   Culturally and          to reduce
                                                                                                To  enhance     number of ov/fal/
                                                                                                            theculturally         usasp
                                                                                                                          https:/ https:/
                                                                        Linguistically Specific specific services for     /       /
                                                                        Services Program        victims of domestic       sam.g www.
                                                                                                violence, dating          ov/fal/ usasp
       Department of Justice                                   16.017   Sexual Assault Services To increase               https:/ https:/
                                                                        Formula Program         intervention, advocacy, /         /
                                                                                                accompaniment,            sam.g www.
       Department of Justice                                   16.019   Tribal Registry         support
                                                                                                To        services,
                                                                                                    develop   and and             usasp
                                                                                                                          ov/fal/ https:/
                                                                                                                          https:/
                                                                                                  maintain a national         /       /
                                                                                                  tribal sex offender         sam.g www.
       Department of Justice                                   16.021   Justice Systems           registry
                                                                                                  The Grants    a tribal
                                                                                                           and to Support     ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Response to Families    Families in the Justice       /       /
                                                                                                System program                sam.g www.
       Department of Justice                                   16.023   Sexual Assault Services (referred to as
                                                                                                To increase     Justice
                                                                                                             culturally       ov/fal/
                                                                                                                              https:/ usasp
                                                                                                                                      https:/
                                                                        Culturally Specific       specific intervention,      /       /
                                                                        Program                   advocacy,                   sam.g www.
       Department of Justice                                   16.024   Tribal Sexual Assault     accompaniment,
                                                                                                  To support programs or              usasp
                                                                                                                              ov/fal/ https:/
                                                                                                                              https:/
                                                                        Services Program          projects in Indian tribal   /       /
                                                                                                  lands and Alaska native     sam.g www.
                                                                                                  villages that increase      ov/fal/ usasp




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       Department of Justice             16.025   Special Domestic          To assist tribal              https:/ https:/
                                                  Violence Criminal         governments in                /       /
                                                  Jurisdiction              implementing the              sam.g www.
       Department of Justice             16.026   Implementation
                                                  OVW Research and          Special
                                                                            The purpose
                                                                                    TribalofCriminal
                                                                                             the                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Evaluation Program      Research and                    /       /
                                                                          Evaluation (R&E)                sam.g www.
       Department of Justice             16.027   National Clearinghouse Program
                                                                          To provide    to further
                                                                                    is training  and      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  on Sexual Assault of    technical assistance on         /       /
                                                  American Indian and     issues relating to sexual       sam.g www.
                                                  Alaska Native Women assault of American                 ov/fal/ usasp
       Department of Justice             16.028   Resource Center on      To provide for                  https:/ https:/
                                                  Workplace Response to establishment and                 /       /
                                                  Domestic Violence,      operation of a national         sam.g www.
       Department of Justice             16.029          Violence,
                                                  Datingon
                                                  Office   Violence       resource
                                                                   Sexual To promotecenter    on
                                                                                         promising                usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Against Women Special or innovative practices           /       /
                                                  Projects              to respond to violence            sam.g www.
       Department of Justice             16.030   National Center on    against
                                                                        Goal(s):women,
                                                                                 The primary              ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Restorative Justice    goals of the National            /       /
                                                                         Center on Restorative            sam.g www.
                                                                         Justice are to: (1)              ov/fal/ usasp
       Department of Justice             16.031   Emmett Till Cold Case The Emmett Till                   https:/ https:/
                                                  Investigations Program Program provides                 /       /
                                                                         support to state, local          sam.g www.
       Department of Justice             16.032   Academic-based Drug andNote:tribal
                                                                                 Program
                                                                                     law is               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Field Testing and      inactive and pending        /       /
                                                  Training Initiative    archival.                   sam.g www.
                                                                                                     ov/fal/ usasp
       Department of Justice             16.034   Coronavirus Emergency The program is no            https:/ https:/
                                                  Supplemental Funding longer funded. This was /             /
                                                  Program                   a one-time funding       sam.g www.
       Department of Justice             16.035                             opportunity
                                                  Preventing Trafficking of The  purposeawarded
                                                                                          of this in ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                  Girls                     program is to support    /       /
                                                                            the prevention and early sam.g www.
       Department of Justice             16.036   Comprehensive             intervention services,
                                                                            The goals of this        ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                  Forensic DNA Analysis comprehensive                     /       /
                                                  Grant Program            program are to assist          sam.g www.
                                                                           eligible states and units      ov/fal/ usasp
       Department of Justice             16.037   Strengthening the        The goals of the               https:/ https:/
                                                  Medical Examiner -       Strengthening the              /       /
                                                  Coroner System           Medical Examiner-              sam.g www.
       Department of Justice             16.038   National Decertification Coroner   System
                                                                           The purpose    of this         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Index                     funding is to assist with     /       /
                                                                            the implementation of         sam.g www.
                                                                            the â€œExecutive              ov/fal/ usasp
       Department of Justice             16.039   Rural Violent Crime       The goal of Rural             https:/ https:/
                                                  Initiative                Violent Crime Reduction       /       /
                                                                            Initiative (RVCRI)            sam.g www.
       Department of Justice             16.040   Matthew Shepard and       program
                                                                            The   goalsisof  assist and
                                                                                          tothe                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  James Byrd, Jr. Hate      Matthew Shepard and           /       /
                                                  Crimes Education,         James Byrd, Jr. Hate          sam.g www.
       Department of Justice             16.041   Investigation
                                                  National Ashanti
                                                                andAlert    Crimes  Program
                                                                            This program  is are to       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Network Training and      specifically directed         /       /
                                                  Technical Assistance      toward the                    sam.g www.
                                                  Program                   development,                  ov/fal/ usasp
       Department of Justice             16.042   Security Assistance       The purpose of the            https:/ https:/
                                                  Reimbursement Grant       Security Assistance           /       /
                                                  Program                   Reimbursement Grant           sam.g www.
       Department of Justice             16.043   Veterans Treatment        Program
                                                                            Goal: To is  to reimburse
                                                                                       provide            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Court Discretionary    veterans treatment               /       /
                                                  Grant Program          courts and criminal              sam.g www.
       Department of Justice             16.044                          justice
                                                  Forensics Training and The     professionals
                                                                              goal of the                         usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Technical Assistance   Forensic Science                 /     /
                                                  Program                Federal, State, and              sam.g www.
       Department of Justice             16.045   Community-Based               Projects
                                                                         Local The
                                                                         Goal:      mainisgoal
                                                                                           to of      ov/fal/ usasp
                                                                                                      https:/ https:/
                                                  Violence Intervention     CVIPI is the prevention /         /
                                                  and Prevention Initiative and reduction of violent sam.g www.
       Department of Justice             16.046   Drug Data Research        crime in communities
                                                                            The goal  of the Drug by ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Center to Combat the      Data Research Center      /       /
                                                  Opioid Crisis             (DDRC) to Combat the sam.g www.
                                                                            Opioid Crisis program     ov/fal/ usasp
       Department of Justice             16.047   Community-Based           Goal(s): The goals of     https:/ https:/
                                                  Approaches to             the Community-based       /       /
                                                  Advancing Justice         Approaches to Prevent sam.g www.
       Department of Justice             16.048   Khalid Jabara and         and
                                                                            The Address
                                                                                primary goal
                                                                                           Hateis for ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Heather Heyer NO          state agencies to          /       /
                                                  HATE Act                  establish and run state- sam.g www.
       Department of Justice             16.049   Supporting Vulnerable     run hate
                                                                            The   goal crime
                                                                                       of thereporting
                                                                                               program ov/fal/ usasp
                                                                                                       https:/ https:/
                                                  and At-Risk Youth         is to promote positive     /       /
                                                  Transitioning out of      youth outcomes and         sam.g www.
                                                  Foster Care               public safety for at-risk  ov/fal/ usasp
       Department of Justice             16.050   Missing and               Administered by the        https:/ https:/
                                                  Unidentified Human        Office of Justice          /       /
                                                  Remains (MUHR)            Programsâ€™ (OJP)          sam.g www.
       Department of Justice             16.051   Program
                                                  Crime Gun Intelligence    Bureau   of  Justice       ov/fal/
                                                                            Goal: To develop leads https:/ usasp
                                                                                                               https:/
                                                  Training and Education to swiftly identify              /       /
                                                                           unlawfully used firearms       sam.g www.
                                                                           and their sources and to       ov/fal/ usasp
       Department of Justice             16.052   Restorative Practices to The restorative                https:/ https:/
                                                  Address Domestic         Practices Program is           /       /
                                                  Violence, Dating         designed to assist             sam.g www.
       Department of Justice             16.053   Violence, Sexual
                                                  Sexual Assault Forensic eligible entities to
                                                                           This program                   ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Examinations              establishes or expands        /       /




A146
                                                                            sexual assault                sam.g www.
       Department of Justice             16.054   Virtual Reality De-       examination
                                                                            Goal:        programs,
                                                                                   To prepare                     usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  escalation Training      officers to safely and         /       /
                                                                           effectively respond to         sam.g www.
                                                                           the range of situations        ov/fal/ usasp
       Department of Justice             16.055   Tribal Special Assistant Tribal SAUSA is an             https:/ https:/
                                                  United States Attorneys initiative to support           /       /
                                                                           cross-designation of           sam.g www.
       Department of Justice             16.056   National Deaf Services tribal   prosecutors
                                                                           To provide   remoteas          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Line                  services to Deaf victims          /       /
                                                                        of domestic violence,             sam.g www.
                                                                        dating violence, sexual           ov/fal/ usasp
       Department of Justice             16.057   OVW LGBT Specific     (A) The maintenance               https:/ https:/
                                                  Services Program      and replication of                /       /
                                                                        existing successful               sam.g www.
       Department of Justice             16.058   Demonstration Program LGBT
                                                                        The Attorney    domestic
                                                                               specificGeneral            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  on Trauma-Informed,       shall award grants on a       /       /
                                                  Victim Centered           competitive basis to          sam.g www.
       Department of Justice             16.059   Training
                                                  Tribal   for Law
                                                         Special Criminal   eligible
                                                                            The      entities
                                                                                 purpose    of to
                                                                                                this              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Jurisdiction           program is to reimburse          /       /
                                                  Reimbursement          Tribal governments for           sam.g www.
                                                                         expenses incurred in             ov/fal/ usasp
       Department of Justice             16.060   Local Law Enforcement To assist law                     https:/ https:/
                                                  Grants for Enforcement enforcement with the             /       /
                                                  of Cybercrimes         prevention, prosecution,         sam.g www.
       Department of Justice             16.061   National Resource      and
                                                                         The enforcement
                                                                              establishmentofand          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Center on Cybercrimes maintenance of a                  /       /
                                                  Against Individuals   National Resource                 sam.g www.
       Department of Justice             16.062   Grants to State and   Center
                                                                        An      on Cybercrimes
                                                                           eligible entity that                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Tribal Courts to          receives a grant under        /       /
                                                  Implement Protection      this section shall use        sam.g www.
                                                  Order Pilot Programs      the grant funds, in           ov/fal/ usasp
       Department of Justice             16.063   Financial Assistance to The objective of the            https:/ https:/
                                                  Victims of Domestic       program is to provide         /       /
                                                  Violence, Dating          financial assistance to       sam.g www.
       Department of Justice             16.064   Violence,
                                                  Sexual    Sexual
                                                          Assault           victims
                                                                   Forensic By      of domestic
                                                                                statute, grants are               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Exam Training and         for the following             /       /
                                                  Services                  purposes:                     sam.g www.
                                                                            (A) To establish              ov/fal/ usasp
       Department of Justice             16.065   Training to Improve       The Training to Improve       https:/ https:/
                                                  Police-Based              Police-Based                  /       /
                                                  Responses to the          Responses to People           sam.g www.
       Department of Justice             16.066   People  with Mental
                                                  Officer Robert Wilson III with  Mental Illness
                                                                            The VALOR     Initiative      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Preventing Violence       uses a multifaceted           /       /
                                                  Against Law               approach to address           sam.g www.
       Department of Justice             16.067   Enforcement Officers
                                                  Family-Based              officer
                                                                            The     safety
                                                                                 goal is toand
                                                                                            establish             usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Alternative Justice       new and enhance               /       /
                                                  Program                   existing family-based         sam.g www.
                                                                            alternative justice           ov/fal/ usasp
       Department of Justice             16.123   Community-Based           Goals: To eliminate           https:/ https:/
                                                  Violence Prevention       youth gun and gang            /       /
                                                  Program                   violence                      sam.g www.
       Department of Justice             16.300   Law Enforcement           To provide advanced                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Assistance FBI            training to experienced       /       /
                                                  Advanced Police           personnel of local,           sam.g www.
                                                  Training                  county, State, and            ov/fal/ usasp
       Department of Justice             16.301   Law Enforcement           To provide forensic           https:/ https:/
                                                  Assistance FBI Crime      services to the FBI and       /       /
                                                  Laboratory Support        any other duly                sam.g www.
       Department of Justice             16.302   Law Enforcement           constituted
                                                                            To develop law
                                                                                         the              ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                  Assistance FBI Field      professional skills of        /       /
                                                  Police Training           criminal justice              sam.g www.
       Department of Justice             16.303   Law Enforcement            personnel.
                                                                             To provide fingerprint               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Assistance FBI             and arrest-record            /       /
                                                  Fingerprint Identification services to U.S.             sam.g www.
                                                                             Government and               ov/fal/ usasp
       Department of Justice             16.304   Law Enforcement            The FBI National Crime       https:/ https:/
                                                  Assistance National        Information Center           /       /
                                                  Crime Information          (NCIC) is designed to        sam.g www.
       Department of Justice             16.305   Center
                                                  Law Enforcement            complement
                                                                             To furnish data
                                                                                           thewhich               usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                  Assistance Uniform        will assist heads of law      /     /
                                                  Crime Reports             enforcement agencies          sam.g www.
       Department of Justice             16.307   Combined DNA Index        in
                                                                            Toadministration  and
                                                                                develop or improve     ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                  System                    forensic DNA analysis      /       /
                                                                            capabilities in State and sam.g www.
       Department of Justice             16.308   Indian Country            local
                                                                            To provide   laboratories.
                                                                                  crime training to    ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                  Investigations            the Bureau of Indian       /       /
                                                                            Affairs (BIA) and Tribal   sam.g www.
       Department of Justice             16.309   Law Enforcement                 Enforcement
                                                                            Lawprovide
                                                                            To          a system so https:/    usasp
                                                                                                       ov/fal/ https:/
                                                  Assistance National       that any Federal              /       /
                                                  Instant Criminal          Firearm Licensee (FFL)        sam.g www.
                                                  Background Check          could receive an              ov/fal/ usasp




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       Department of Justice             16.320   Services for Trafficking Specific goals vary by        https:/ https:/
                                                  Victims                  solicitation, but the         /       /
                                                                           overarching goal of the       sam.g www.
       Department of Justice             16.321   Antiterrorism            Services
                                                                           To support     Victims of
                                                                                      foreligible     ov/fal/ usasp
                                                                                                      https:/ https:/
                                                  Emergency Reserve        victims of criminal mass /         /
                                                                           violence and terrorism     sam.g www.
       Department of Justice             16.524   Legal Assistance for     with
                                                                           Theseappropriate
                                                                                  grants are for      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Victims                  increasing the             /       /
                                                                           availability of            sam.g www.
                                                                           comprehensive civil and ov/fal/ usasp
       Department of Justice             16.525   Grants to Reduce         To develop and             https:/ https:/
                                                  Domestic Violence,       strengthen effective       /       /
                                                  Dating Violence, Sexual security and                sam.g www.
       Department of Justice             16.526   Assault,
                                                  OVW   Technical          investigation
                                                           and Stalking on To provide communities
                                                                                           strategies https:/ usasp
                                                                                                      ov/fal/ https:/
                                                  Assistance Initiative      with critical resources     /       /
                                                                             that help them forge        sam.g www.
       Department of Justice             16.528   Enhanced Training and partnerships      across
                                                                          To provide training,           ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Services to End         services, and                  /       /
                                                  Violence and Abuse of collaboration to address         sam.g www.
                                                  Women Later in Life     the needs of victims of        ov/fal/ usasp
       Department of Justice             16.529   Education, Training,    To provide training,           https:/ https:/
                                                  and Enhanced Services consultation, and                /       /
                                                  to End Violence Against information on domestic        sam.g www.
       Department of Justice             16.540   and Abuse
                                                  Juvenile   of Women
                                                           Justice and    violence,
                                                                          The Title IIdating
                                                                                       Formula           ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Delinquency Prevention Grants Program                  /       /
                                                                         provides funding to             sam.g www.
                                                                         support state and local         ov/fal/ usasp
       Department of Justice             16.543   Missing Children's     1)         Goal(s): To          https:/ https:/
                                                  Assistance             support research,               /       /
                                                                         training, technical             sam.g www.
       Department of Justice             16.548                          assistance,
                                                  Delinquency Prevention Provide  funding
                                                                                      and to                     usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Program                    implement evidence-         /       /
                                                                             based strategies to         sam.g www.
       Department of Justice             16.550   State Justice Statistics   combat  youth
                                                                             Goal: This program          ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Program for Statistical    provides funds to each      /       /
                                                  Analysis Centers           state to coordinate         sam.g www.
                                                                             statistical activities      ov/fal/ usasp
       Department of Justice             16.554   National Criminal          GOAL(S): Ensuring the       https:/ https:/
                                                  History Improvement        quality and                 /       /
                                                  Program (NCHIP)            completeness of the         sam.g www.
       Department of Justice             16.556   State Domestic             nationâ€™s
                                                                             To coordinatecriminal
                                                                                              State      ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Violence and Sexual      victim services activities    /       /
                                                  Assault Coalitions       and collaborate and           sam.g www.
                                                                           coordinate with Federal,      ov/fal/ usasp
       Department of Justice             16.557   Tribal Domestic          To increase awareness         https:/ https:/
                                                  Violence and Sexual      of domestic violence          /       /
                                                  Assault Coalitions Grant and sexual assault            sam.g www.
       Department of Justice             16.560   Program Institute of
                                                  National                         American
                                                                           against Foster
                                                                           GOAL:          the Indian             usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Justice Research,          development of new          /       /
                                                  Evaluation, and            knowledge and tools         sam.g www.
       Department of Justice             16.571   Development   Project
                                                  Public Safety Officers'    that
                                                                             To provide  applied to
                                                                                  can bedeath            ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Benefits Program        benefits to the eligible       /       /
                                                                          survivors of federal,          sam.g www.
                                                                          state, or local public         ov/fal/ usasp
       Department of Justice             16.575   Crime Victim Assistance The Office for Victims of      https:/ https:/
                                                                          Crime provides an              /       /
                                                                          annual grant from the          sam.g www.
       Department of Justice             16.576   Crime Victim            Crime  Victims
                                                                          The primary   purpose
                                                                                          Fund toof      ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Compensation               these grants is to         /       /
                                                                             supplement state efforts sam.g www.
       Department of Justice             16.578   Public Benefit                        financial
                                                                             to provideThe
                                                                             Goal(s):        effective  ov/fal/ usasp
                                                                                                        https:/ https:/
                                                  Conveyance Program         use of real property       /       /
                                                                             owned by the federal       sam.g www.
       Department of Justice             16.582   Crime Victim               government
                                                                             The  Office forand
                                                                                             Victims
                                                                                                 the of https:/ usasp
                                                                                                        ov/fal/ https:/
                                                  Assistance/                Crime (OVC)                 /       /
                                                  Discretionary Grants       administers a               sam.g www.
       Department of Justice             16.583   Children's Justice Act     discretionary grant
                                                                             The goal of the             ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Partnerships for Indian    Childrenâ€™s Justice        /       /
                                                  Communities                Act Partnerships for        sam.g www.
                                                                             Indian Communities          ov/fal/ usasp
       Department of Justice             16.585   Treatment Court            Goal(s): To provide         https:/ https:/
                                                  Discretionary Grant        adult treatment courts      /       /
                                                  Program                    and professionals in the    sam.g www.
       Department of Justice             16.587   Violence Against           criminal justice
                                                                             To increase       system
                                                                                           tribal        ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Women Discretionary      capacity to respond to        /       /
                                                  Grants for Indian Tribal violent crimes against        sam.g www.
       Department of Justice             16.588   Governments
                                                  Violence Against         Indian
                                                                           To      women,
                                                                               assist States,and  to
                                                                                              Indian             usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Women Formula Grants tribal governments,               /       /
                                                                           tribal courts, State and      sam.g www.
                                                                           local courts, and units       ov/fal/ usasp
       Department of Justice             16.589   Rural Domestic           (1) to identify, assess,      https:/ https:/
                                                  Violence, Dating         and appropriately             /       /
                                                  Violence, Sexual         respond to child, youth,      sam.g www.
       Department of Justice             16.590   Assault,
                                                  Grants toand Stalking
                                                            Encourage      and
                                                                           To assist
                                                                                adult States,  of
                                                                                      victims Indian     ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Arrest Policies and        Tribal governments,         /       /
                                                  Enforcement of             State and local courts      sam.g www.
                                                  Protection Orders          (including juvenile         ov/fal/ usasp
       Department of Justice             16.593   Residential Substance      The goal of the RSAT        https:/ https:/
                                                  Abuse Treatment for        for State Prisoners         /       /
                                                  State Prisoners            Program is to assist        sam.g www.
       Department of Justice             16.596   Trible Justice             state,
                                                                             Goal: The     and tribal
                                                                                    local,overall goal   ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Assistance            of BJAâ€™s Tribal                /       /




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                                                                        Justice Assistance               sam.g www.
       Department of Justice             16.601   Corrections Training  Program
                                                                        To deviseisand
                                                                                    to conduct                   usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  and Staff Development in various geographical          /       /
                                                                        locations, seminars,             sam.g www.
                                                                        workshops, and training          ov/fal/ usasp
       Department of Justice             16.602   Corrections Research To conduct, encourage,            https:/ https:/
                                                  and Evaluation and    and coordinate                   /       /
                                                  Policy Formulation    research relating to             sam.g www.
       Department of Justice             16.603   Corrections Technical corrections
                                                                        To encourageincluding
                                                                                       and               ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Assistance/                assist Federal, State,      /       /
                                                  Clearinghouse              and local government        sam.g www.
                                                                             programs and services,      ov/fal/ usasp
       Department of Justice             16.606   State Criminal Alien       The State Criminal Alien    https:/ https:/
                                                  Assistance Program         Assistance Program          /       /
                                                                             (SCAAP) is a payment        sam.g www.
       Department of Justice             16.607   Bulletproof Vest           program  designed
                                                                             The objective of theto      ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Partnership Program        Patrick Leahy               /       /
                                                                             Bulletproof Vest            sam.g www.
       Department of Justice             16.608   Tribal Justice Systems     Partnership
                                                                             Program  now (BVP)
                                                                                            funded               usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                                             under Assistance            /       /
                                                                             Listing 16.596 and          sam.g www.
                                                                             Assistance Listing is       ov/fal/ usasp
       Department of Justice             16.609   Project Safe               The Project Safe            https:/ https:/
                                                  Neighborhoods              Neighborhood (PSN)          /       /
                                                                             formula grant program       sam.g www.
       Department of Justice             16.610   Regional Information       awards   funds
                                                                             Goals: The  goal
                                                                                            to is to     ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Sharing Systems            assist agencies in          /       /
                                                                             reducing violent crime      sam.g www.
       Department of Justice             16.614   State and Local Anti-      and support
                                                                             The goal of the
                                                                                          lawState               usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Terrorism Training      and Local Anti-                /       /
                                                                          Terrorism Training             sam.g www.
                                                                          (SLATT) initiative is to       ov/fal/ usasp
       Department of Justice             16.615   Public Safety Officers' The PSOEA Program,             https:/ https:/
                                                  Educational Assistance an expansion of the             /       /
                                                                          Federal Law                    sam.g www.
       Department of Justice             16.710   Public Safety           Enforcement
                                                                          The COPS Office was                    usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Partnership and         established in 1994 to         /       /
                                                  Community Policing      assist state, local and        sam.g www.
                                                  Grants                  tribal law enforcement         ov/fal/ usasp
       Department of Justice             16.726   Juvenile Mentoring      To improve outcomes            https:/ https:/
                                                  Program                 for at-risk and high-risk      /       /
                                                                          youth, and reduce              sam.g www.
       Department of Justice             16.731   Tribal Youth Program    negative   outcomes
                                                                          Through this   program,        ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                                             the Department seeks        /       /
                                                                             to assist tribes in         sam.g www.
       Department of Justice             16.734   Special Data               responding
                                                                             GOAL:         to myriad
                                                                                     To produce    and           usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Collections and            disseminate relevant,       /       /
                                                  Statistical Studies        accurate, timely,           sam.g www.
                                                                             reliable, and objective     ov/fal/ usasp
       Department of Justice             16.735   PREA Program:              The goal of this            https:/ https:/
                                                  Strategic Support for      program is to support       /       /
                                                  PREA Implementation        efforts in the              sam.g www.
       Department of Justice             16.736   Transitional Housing       confinement
                                                                             To             facilities
                                                                                 provide transitional            usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Assistance for Victims housing assistance and          /       /
                                                  of Domestic Violence, related support services         sam.g www.
                                                  Dating Violence,       to minors, adults, and          ov/fal/ usasp
       Department of Justice             16.738   Edward Byrne Memorial Goal: Provide states,            https:/ https:/
                                                  Justice Assistance     tribes, and units of local      /       /
                                                  Grant Program          government with                 sam.g www.
       Department of Justice             16.739   National Prison Rape   additional
                                                                         GOAL(S): personnel,
                                                                                    Deliver              ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Statistics Program         comprehensive               /       /
                                                                             statistical reviews and     sam.g www.
       Department of Justice             16.741   DNA Backlog Reduction Program   of the
                                                                        analyses now   funded                    usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Program               under Assistance                 /       /
                                                                        Listing 16.036.                  sam.g www.
                                                                                                         ov/fal/ usasp
       Department of Justice             16.742   Paul Coverdell Forensic Goal(s): The Paul              https:/ https:/
                                                  Sciences Improvement Coverdell Forensic                /       /
                                                  Grant Program           Science Improvement            sam.g www.
       Department of Justice             16.745   Criminal and Juvenile   Grants Program
                                                                          Goal(s):        (the
                                                                                   The Justice                   usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Justice and Mental         and Mental Health           /       /
                                                  Health Collaboration       Collaboration Program       sam.g www.
       Department of Justice             16.746   Program
                                                  Capital Case Litigation    (JMHCP)
                                                                             Goals: supports             ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Initiative                                             /       /
                                                                        Capital Case Litigation          sam.g www.
       Department of Justice             16.750   Support for Adam      Initiative
                                                                        Goals: To(CCLI)
                                                                                    assist states,       ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                  Walsh Act             the District of Columbia,        /       /
                                                  Implementation Grant principal U.S. territories,       sam.g www.
       Department of Justice             16.751   ProgramByrne Memorial To
                                                  Edward                      Tribes with
                                                                        andimprove   the                         usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                  Competitive Grant          functioning of the          /       /
                                                  Program                    criminal justice system,    sam.g www.
                                                                             such as activities          ov/fal/ usasp




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       Department of Justice             16.752   Economic, High-Tech,
                                                                     Goals:                             https:/ https:/
                                                  and Cyber Crime    The Economic, High-                /       /
                                                  Prevention         Technology, White                  sam.g www.
       Department of Justice             16.753   Congressionally    Collar,
                                                                     To provide
                                                                             and assistance
                                                                                 Internet in                    usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Recommended Awards improving the                      /       /
                                                                     functioning of the                 sam.g www.
       Department of Justice             16.754   Harold Rogers      criminal
                                                                     Goals: justice system,             ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Prescription Drug       To enhance the                /       /
                                                  Monitoring Program      capacity of regulatory        sam.g www.
                                                                          and law enforcement           ov/fal/ usasp
       Department of Justice             16.756   Court Appointed Special The goals of the CASA         https:/ https:/
                                                  Advocates               program are to serve          /       /
                                                                          and improve outcomes          sam.g www.
       Department of Justice             16.757   Judicial Training on    for improve
                                                                          To            in the
                                                                               children the  judicial           usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Child Maltreatment for    systemâ€™s handling         /       /
                                                  Court Personnel           of child abuse, neglect,    sam.g www.
       Department of Justice             16.758   Juvenile
                                                  ImprovingJustice
                                                             the         and related
                                                                         Improve   thecases,            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Investigation and      investigation and              /       /
                                                  Prosecution of Child   prosecution of child           sam.g www.
                                                  Abuse and the Regional abuse cases and                ov/fal/ usasp
       Department of Justice             16.812   Second Chance Act      There are currently over       https:/ https:/
                                                  Reentry Initiative     2.2 million individuals        /       /
                                                                         serving time in federal        sam.g www.
       Department of Justice             16.813   NICS Act Record        and state prisons,
                                                                         GOAL(S):            and
                                                                                     To improve         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Improvement Program       the FBIâ€™s National        /       /
                                                                            Instant Criminal            sam.g www.
                                                                            Background Check            ov/fal/ usasp
       Department of Justice             16.815   Tribal Civil and Criminal Goal: The goal of this      https:/ https:/
                                                  Legal Assistance          program is to build and     /       /
                                                  Grants, Training and      enhance capacity and        sam.g www.
       Department of Justice             16.816   Technical
                                                  John       Assistance
                                                        R. Justice          improve
                                                                            Goal: Fordelivery
                                                                                       all states
                                                                                               of and           usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Prosecutors and         territories to encourage      /       /
                                                  Defenders Incentive Act qualified individuals to      sam.g www.
       Department of Justice             16.817   Byrne Criminal Justice enter
                                                                          Goals:and continue            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Innovation Program        The goal of the BCJI is     /       /
                                                                            to reduce crime and         sam.g www.
                                                                            improve community           ov/fal/ usasp
       Department of Justice             16.818   Children Exposed to       The overall goal of the     https:/ https:/
                                                  Violence                  program is to build the     /       /
                                                                            capacity of families and    sam.g www.
       Department of Justice             16.820   Postconviction Testing    communities   to help
                                                                            This programâ€™s            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  of DNA Evidence        primary goal is to assist      /       /
                                                                         states and units of local      sam.g www.
                                                                         government with                ov/fal/ usasp
       Department of Justice             16.823   Emergency Planning for The purpose of this            https:/ https:/
                                                  Juvenile Justice       project is to provide          /       /
                                                  Facilities             funding to States to           sam.g www.
       Department of Justice             16.824   Emergency Law          develop
                                                                         Goal:  Thecomprehensive
                                                                                      Emergency                 usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Enforcement Assistance Federal Law               /       /
                                                  Grant                    Enforcement Assistance sam.g www.
       Department of Justice             16.825   Smart Prosecution        (EFLEA)
                                                                           Goal(s): Program        ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                                  Initiative                                       /       /
                                                                           The purpose of the      sam.g www.
                                                                           Innovative Prosecution ov/fal/ usasp
       Department of Justice             16.827   Justice Reinvestment     Goal:                   https:/ https:/
                                                  Initiative               Under the enacted       /       /
                                                                           appropriations          sam.g www.
       Department of Justice             16.828   Swift, Certain, and Fair language,
                                                                           The purposetheofJustice
                                                                                            the    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                                  Supervision Program: Swift, Certain, and Fair         /       /
                                                  Applying the Principles (SCF) Supervision             sam.g www.
       Department of Justice             16.830   Behind
                                                  Girls    Project
                                                        in the     HOPE Program
                                                               Juvenile    Increase is  to provide
                                                                                     protective                 usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Justice System           factors to prevent           /     /
                                                                           further delinquent           sam.g www.
       Department of Justice             16.831                            behavior
                                                  Children of Incarcerated The  goal by  girls
                                                                                     of this          ov/fal/ usasp
                                                                                                      https:/ https:/
                                                  Parents                 program is to assist        /       /
                                                                          states and localities in    sam.g www.
       Department of Justice             16.833   National Sexual Assault developing    or
                                                                          Goal(s): Funding      under ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Kit Initiative          this initiative is intended /       /
                                                                          to help law enforcement sam.g www.
                                                                          and prosecutors             ov/fal/ usasp
       Department of Justice             16.834   Domestic Trafficking    Under the Domestic          https:/ https:/
                                                  Victim Program          Trafficking Victim          /       /
                                                                          Program, OVC has            sam.g www.
       Department of Justice             16.835   Body Worn Camera        established
                                                                          Goal: Funding  the under    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Policy and                the program is intended     /       /
                                                  Implementation            to support law              sam.g www.
       Department of Justice             16.836   Indigent Defense          enforcement,
                                                                            This program supports               usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                                        states and localities in        /       /
                                                                        developing and                  sam.g www.
                                                                        implementing strategies         ov/fal/ usasp
       Department of Justice             16.838   Comprehensive Opioid, Goal: The                       https:/ https:/
                                                  Stimulant, and other  Comprehensive Opioid,           /       /
                                                  Substances Use        Stimulant, and other            sam.g www.
       Department of Justice             16.839   Program
                                                  STOP School Violence Substances
                                                                        The goal of the
                                                                                     UseSTOP            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                            School Violence             /       /
                                                                            Program is to improve       sam.g www.
                                                                            school security by          ov/fal/ usasp
       Department of Justice             16.840   Keep Young Athletes       Goals: To support           https:/ https:/
                                                  Safe                      oversight of the U.S.       /       /
                                                                            Olympic & Paralympic        sam.g www.
       Department of Justice             16.841   VOCA Tribal Victim        Committee   and each
                                                                            OVC administers   the       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Services Set-Aside        Tribal Victim Services      /       /




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                                                  Program                   Set-Aside to provide        sam.g www.
       Department of Justice             16.842   Opioid Affected Youth     support to AI/AN
                                                                            Objectives  include                 usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Initiative            implementing programs           /       /
                                                                        and services that               sam.g www.
                                                                        address public safety           ov/fal/ usasp
       Department of Justice             16.844   Combatting Contraband Program inactive and            https:/ https:/
                                                  Cell Phone Use in     pending archival.               /       /
                                                  Prisons                                               sam.g www.
       Department of Justice             16.888   Consolidated And      Goals:
                                                                        The Consolidated Youth          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Technical Assistance      Program supports            /       /
                                                  Grant Program to          comprehensive,              sam.g www.
                                                  Address Children and      community-based             ov/fal/ usasp
       Department of Justice             16.889   Grants for Outreach       To develop and              https:/ https:/
                                                  and Services to           implement outreach          /       /
                                                  Underserved               strategies targeted at      sam.g www.
       Department of Justice             16.922   Populations
                                                  Equitable Sharing         adult or youth victims
                                                                            The Department    of of     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Program                   Justice Asset Forfeiture /        /
                                                                            Program is a nationwide sam.g www.
       Department of Labor               17.002   Labor Force Statistics        enforcement
                                                                            lawprovide,
                                                                            To          analyze,      ov/fal/ usasp
                                                                                                      https:/ https:/
                                                                            and publish statistical   /       /
                                                                            data on payroll           sam.g www.
                                                                            employment and the        ov/fal/ usasp
       Department of Labor               17.003   Prices and Cost of        To provide, analyze,      https:/ https:/
                                                  Living Data               and publish statistical   /       /
                                                                            data for assisting in the sam.g www.
       Department of Labor               17.004   Productivity and          evaluation of consumer,
                                                                            To provide, analyze,      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                  Technology Data           and publish data on         /       /
                                                                            productivity trends in      sam.g www.
       Department of Labor               17.005   Compensation and              U.S. economy,
                                                                            theprovide,
                                                                            To          analyze,as              usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Working Conditions      and publish a diverse         /       /
                                                                          set of measures of            sam.g www.
                                                                          employee                      ov/fal/ usasp
       Department of Labor               17.150   Employee Benefits       The Employee Benefits         https:/ https:/
                                                  Security Administration Security Administration       /       /
                                                                          (EBSA) is responsible         sam.g www.
       Department of Labor               17.207   Employment Service/     for the
                                                                          The      administration
                                                                                Employment                      usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Wagner-Peyser Funded Service (ES) program             /       /
                                                  Activities              brings together               sam.g www.
                                                                          individuals looking for       ov/fal/ usasp
       Department of Labor               17.225   Unemployment            To implement and              https:/ https:/
                                                  Insurance               oversee unemployment          /       /
                                                                          insurance programs for        sam.g www.
       Department of Labor               17.235   Senior Community        eligible workers
                                                                          The Senior        through
                                                                                       Community        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Service Employment        Service Employment          /       /
                                                  Program                   Program (SCSEP) is a        sam.g www.
       Department of Labor               17.245   Trade Adjustment          community
                                                                            The       service and
                                                                                Trade Adjustment                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Assistance                Assistance (TAA) for        /       /
                                                                            Workers Program is a        sam.g www.
                                                                            federal entitlement         ov/fal/ usasp
       Department of Labor               17.258   WIOA Adult Program        Title I of the Workforce    https:/ https:/
                                                                            Innovation and              /       /
                                                                            Opportunity Act (WIOA)      sam.g www.
       Department of Labor               17.259   WIOA Youth Activities     authorized
                                                                            To  help lowthree of the
                                                                                          income                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                                         youth, between the             /       /
                                                                         ages of 14 and 24,             sam.g www.
                                                                         acquire the educational        ov/fal/ usasp
       Department of Labor               17.261   Workforce Data Quality Address national               https:/ https:/
                                                  Initiative (WDQI)      employment and                 /       /
                                                                         training issues through        sam.g www.
       Department of Labor               17.264   National Farmworker    demonstrations,
                                                                         To help low-incomepilot        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Jobs Program              individuals who are         /       /
                                                                            primarily employed in       sam.g www.
       Department of Labor               17.265   Native American           agricultural
                                                                            To           and fish
                                                                               support employment               usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Employment and            and training services for   /       /
                                                  Training                  Native Americans,           sam.g www.
                                                                            Alaska Natives, and         ov/fal/ usasp
       Department of Labor               17.268   H-1B Job Training         The H-1B Skills Training    https:/ https:/
                                                  Grants                    Grants provide training     /       /
                                                                            and related activities to   sam.g www.
       Department of Labor               17.270   Reentry Employment        workers
                                                                            This     to assist
                                                                                 program       them
                                                                                          includes              usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                  Opportunities             both reentry grants         /       /
                                                                            focused on serving          sam.g www.
       Department of Labor               17.271   Work Opportunity Tax      returning adults
                                                                            This federal     and
                                                                                         tax credit     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Credit Program            was designed to help        /       /
                                                  (WOTC)                    individuals from certain    sam.g www.
       Department of Labor               17.272   Permanent Labor           targeted
                                                                            To ensuregroups   who
                                                                                       that the         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                  Certification for Foreign admission of foreign        /     /
                                                  Workers                   workers into the United     sam.g www.
       Department of Labor               17.273   Temporary Labor           States
                                                                            To     does
                                                                               assure that
                                                                                         notthe               usasp
                                                                                                      ov/fal/ https:/
                                                                                                      https:/
                                                  Certification for Foreign admission of foreign      /       /
                                                  Workers                   workers into the United sam.g www.
                                                                            States will not adversely ov/fal/ usasp




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       Department of Labor             17.274   YouthBuild                Grant funds will be used https:/ https:/
                                                                          to equip underserved      /       /
                                                                          youth with the            sam.g www.
       Department of Labor             17.277   WIOA National             education
                                                                          DWGs     areand           ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                Dislocated Worker         supplemental, time-       /       /
                                                Grants / WIA National     limited funding           sam.g www.
       Department of Labor             17.278   Emergency  Grants
                                                WIOA Dislocated           assistance
                                                                          Title I of theprovided in
                                                                                         Workforce  ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                Worker Formula Grants Innovation and                    /       /
                                                                      Opportunity Act (WIOA)            sam.g www.
                                                                      authorized three of the           ov/fal/ usasp
       Department of Labor             17.280   WIOA Dislocated       To carry out                      https:/ https:/
                                                Worker National       demonstration and pilot           /       /
                                                Reserve Demonstration projects for the purpose          sam.g www.
       Department of Labor             17.281   GrantsDislocated
                                                WIOA                  of developing
                                                                      To support theand                         usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Worker National         coordination,                   /       /
                                                Reserve Technical       development, and                sam.g www.
       Department of Labor             17.285   Assistance
                                                Registered and Training provision
                                                                        The Officeofofappropriate       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Apprenticeship         Apprenticeship                   /       /
                                                                       promotes, engages and            sam.g www.
                                                                       assists industry in the          ov/fal/ usasp
       Department of Labor             17.287   Job Corps Experimental The goal of the                  https:/ https:/
                                                Projects and Technical demonstration is to              /       /
                                                Assistance             focus on creating IT-            sam.g www.
       Department of Labor             17.289   Community Project      based  training
                                                                       The goal  is to fund             ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Funding/                  projects in the amounts       /       /
                                                Congressionally           specified in the table        sam.g www.
                                                Directed Spending         titled â€œCommunity           ov/fal/ usasp
       Department of Labor             17.290   WIOA Adult, Dislocated    The WIOA Adult,               https:/ https:/
                                                Worker and Youth          Dislocated Worker and         /       /
                                                Outlying Areas            Youth Outlying Areas          sam.g www.
       Department of Labor             17.302   Consolidated
                                                Longshore    Grants
                                                           and Harbor     Consolidated
                                                                          To   provide   Grants,                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Workers' Compensation compensation for                  /       /
                                                                      disability or death               sam.g www.
       Department of Labor             17.307   Coal Mine Workers'    resulting
                                                                      To provide from
                                                                                   benefits
                                                                                      injury,to         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Compensation              coal miners who have          /       /
                                                                          become totally disabled       sam.g www.
                                                                          due to coal workers'          ov/fal/ usasp
       Department of Labor             17.310   Energy Employees          Part B provides lump-         https:/ https:/
                                                Occupational Illness      sum monetary                  /       /
                                                Compensation              payments and medical          sam.g www.
       Department of Labor             17.401   International Labor       benefits to covered
                                                                          The Bureau   of               ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Programs                  International Labor           /       /
                                                                          Affairs (ILAB) promotes       sam.g www.
                                                                          a fair global playing field   ov/fal/ usasp
       Department of Labor             17.502   Occupational Safety       To provide occupational       https:/ https:/
                                                and Health Susan          safety and health             /       /
                                                Harwood Training          training and education        sam.g www.
       Department of Labor             17.503   Grants
                                                Occupational Safety       to employees
                                                                          To              and
                                                                              fund federally                    usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                and Health State          approved                      /       /
                                                Program                   comprehensive State           sam.g www.
       Department of Labor             17.504   Consultation              occupational safety and
                                                                          To fund consultative          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Agreements             workplace safety and             /       /
                                                                       health services,                 sam.g www.
                                                                       targeting smaller                ov/fal/ usasp
       Department of Labor             17.600   Mine Health and Safety To assist States in              https:/ https:/
                                                Grants                 providing safety and             /       /
                                                                       health training and              sam.g www.
       Department of Labor             17.603   Brookwood-Sago Grant develop    programs
                                                                       To provide          to
                                                                                   mine safety          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                          and health training and       /       /
                                                                          education programs for        sam.g www.
       Department of Labor             17.604   Safety and Health         workers
                                                                          To      and
                                                                             provide   mine
                                                                                     mine  safety               usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Grants                    and health training and       /     /
                                                                          education to miners,          sam.g www.
       Department of Labor             17.700   Women's Bureau                 operators, and
                                                                          mineWomenâ€™s
                                                                          The                    ov/fal/ usasp
                                                                                                 https:/ https:/
                                                                        Bureau was created by /          /
                                                                        law in 1920 to formulate sam.g www.
       Department of Labor             17.701   Women in                standards
                                                                        This program
                                                                                   andispolicies ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                                Apprenticeship and      intended to award        /       /
                                                Nontraditional          grants to community-     sam.g www.
                                                Occupations             based organizations to ov/fal/ usasp
       Department of Labor             17.720   Disability Employment The Office of Disability   https:/ https:/
                                                Policy Development      Employment Policy        /       /
                                                                        (ODEP) provides          sam.g www.
       Department of Labor             17.801   Jobs for Veterans State national
                                                                        The Jobsleadership   on
                                                                                  for Veterans   ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                                Grants                  State Grants (JVSG)      /       /
                                                                        program provides         sam.g www.
       Department of Labor             17.805   Homeless                federal
                                                                        The  Homeless
                                                                                funding through https:/  usasp
                                                                                                 ov/fal/ https:/
                                                Veteransâ€™               Veteransâ€™                   /       /
                                                Reintegration Program     Reintegration Program         sam.g www.
                                                                          (HVRP) provides               ov/fal/ usasp
       Department of Labor             17.807   Transition Assistance     To provide employment         https:/ https:/
                                                Program                   instruction, information      /       /
                                                                          and assistance to             sam.g www.
       Department of State             19.009   Academic Exchange         separating
                                                                          As authorized
                                                                                      andby retiring
                                                                                              the       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Programs -                Fulbright-Hays Act, the       /       /
                                                Undergraduate             Bureau of Educational         sam.g www.
                                                Programs                  and Cultural Affairs          ov/fal/ usasp
       Department of State             19.010   Academic Exchange         As authorized by the          https:/ https:/
                                                Programs - Hubert H.      Fulbright-Hays Act, the       /       /
                                                Humphrey Fellowship       Bureau of Educational         sam.g www.
       Department of State             19.011   Program
                                                Academic Exchange         and Cultural Affairs
                                                                          As authorized by the          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Programs - Special        Fulbright-Hays Act, the       /       /




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                                                Academic Exchange         Bureau of Educational         sam.g www.
       Department of State             19.012   Programs
                                                Professional and              Cultural Affairs
                                                                          andauthorized
                                                                          As            by the                  usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Cultural Exchange         Fulbright-Hays Act, the       /       /
                                                Programs - Special        Bureau of Educational         sam.g www.
                                                Professional and          and Cultural Affairs          ov/fal/ usasp
       Department of State             19.013   Thomas R. Pickering       As authorized by              https:/ https:/
                                                Foreign Affairs           authorizations stated         /       /
                                                Fellowship Program        above. Pickering              sam.g www.
       Department of State             19.015   Cultural, Technical and   Program
                                                                          To assist offers
                                                                                    variousonly         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Educational Centers       organizations identified      /       /
                                                                          by Congress to achieve        sam.g www.
                                                                          objectives specified by       ov/fal/ usasp
       Department of State             19.017   Environmental and         To support sustainable        https:/ https:/
                                                Scientific Partnerships   growth across the             /       /
                                                and Programs              globe, the Bureau of          sam.g www.
       Department of State             19.018   Resettlement Support      Oceans,  Environment,
                                                                          The purpose  of the           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Centers (RSCs) for U.S. Resettlement Support            /       /
                                                Refugee Resettlement Centers (RSCs) is to               sam.g www.
       Department of State             19.019                           assist
                                                International Programs The     the Bureau
                                                                            mission  of theinTIP                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                to Combat Human           Office is to combat           /       /
                                                Trafficking               human trafficking (a/k/a      sam.g www.
                                                                          modern slavery) by            ov/fal/ usasp
       Department of State             19.020   Charles B. Rangel         To increase the number        https:/ https:/
                                                International Affairs     of minorities interested      /       /
                                                Program                   in and prepared for           sam.g www.
       Department of State             19.021   Investing in People in    international service,
                                                                          To support programs,          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                The Middle East and       projects and activities to /       /
                                                North Africa              include (but not limited   sam.g www.
       Department of State             19.022   Educational and         to) provide
                                                                        To            educational,
                                                                            cultural,assistance              usasp
                                                                                                     ov/fal/ https:/
                                                                                                     https:/
                                                Cultural Exchange       awards by U.S.                  /       /
                                                Programs Appropriation diplomatic missions              sam.g www.
                                                Overseas Grants         abroad made directly to         ov/fal/ usasp
       Department of State             19.023   Overseas Schools        The Office of Overseas          https:/ https:/
                                                Program                 Schools promotes                /       /
                                                                        quality educational             sam.g www.
       Department of State             19.024                           opportunities
                                                Soft Target Program for Improve        at the
                                                                                  physical                      usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Overseas Schools          security of overseas          /       /
                                                                          schools to deter or           sam.g www.
                                                                          lessen the impact of          ov/fal/ usasp
       Department of State             19.025   U.S. Ambassadors          1) Support the                https:/ https:/
                                                Fund for Cultural         preservation of cultural      /       /
                                                Preservation              heritage overseas             sam.g www.
       Department of State             19.026   Global Peace              The GPOI program              ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Operations Initiative     enhances international /           /
                                                                          capacity to effectively    sam.g www.
       Department of State             19.027   Energy Governance         conduct
                                                                          The U.S.UN   and
                                                                                    Department    of ov/fal/ usasp
                                                                                                     https:/ https:/
                                                and Reform Programs       Stateâ€™s Bureau of        /       /
                                                                          Energy Resources           sam.g www.
                                                                          (ENR) programs             ov/fal/ usasp
       Department of State             19.029   The U.S. President's      The Office of the U.S.     https:/ https:/
                                                Emergency Plan for        Global AIDS                /       /
                                                AIDS Relief Programs      Coordinator is             sam.g www.
       Department of State             19.033   Global Threat             responsible
                                                                          The          for
                                                                              U.S. Department     of https:/ usasp
                                                                                                     ov/fal/ https:/
                                                Reduction               State's Office of               /       /
                                                                        Cooperative Threat              sam.g www.
                                                                        Reduction (ISN/CTR),            ov/fal/ usasp
       Department of State             19.035   Cyber Capacity Building To enhance global               https:/ https:/
                                                                        cybersecurity                   /       /
                                                                                                        sam.g www.
       Department of State             19.036   Cultural Antiquities Task The Cultural Antiquities      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Force                     Task Force (CATF)             /       /
                                                                          comprises U.S. federal        sam.g www.
       Department of State             19.040   Public Diplomacy          agencies
                                                                          To supportthat
                                                                                      theshare a                usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Programs                  achievement of U.S.           /       /
                                                                          foreign policy goals and      sam.g www.
                                                                          objectives, advance           ov/fal/ usasp
       Department of State             19.087   International Fisheries   The commissions and           https:/ https:/
                                                Commissions               organizations funded by       /       /
                                                                          this appropriation            sam.g www.
       Department of State             19.108   Bureau of South and       enable
                                                                          To  support United
                                                                                  the the    State
                                                                                          goals of              usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                Central Asian Affairs    the U.S. Department of         /       /
                                                                         State, Bureau of South         sam.g www.
       Department of State             19.121   Conflict and             and
                                                                         The Central
                                                                              Bureau Asian
                                                                                       of Conflict      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Stabilization Operations and Stabilization              /       /
                                                                         Operations (CSO) is            sam.g www.
       Department of State             19.124   East Asia and Pacific    part of the
                                                                         Support   theUnder
                                                                                       foreign          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Grants Program            assistance goals and          /     /
                                                                          objectives of the             sam.g www.
       Department of State             19.204   Fishermen's Guaranty      Department
                                                                          To           of State,
                                                                             provide for                     usasp
                                                                                                     ov/fal/ https:/
                                                                                                     https:/
                                                Fund                      reimbursement of           /       /
                                                                          losses incurred as a       sam.g www.
                                                                          result of the seizure of a ov/fal/ usasp




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       Department of State             19.205   Foreign Affairs IT (FAIT) Develop new               https:/ https:/
                                                Fellowship                Information Technology /          /
                                                                          talent for the            sam.g www.
       Department of State             19.207   William D. Clarke, Sr.    Department
                                                                          Develop   newofDiplomatic ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                Fellowship                Security talent for the   /       /
                                                                          Department of             sam.g www.
       Department of State             19.209   Student Programs and Stateâ€™s          Foreign
                                                                          Attract and recruit       ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                Fellowships                highly talented and            /       /
                                                                           qualified candidates           sam.g www.
                                                                           who inclusively                ov/fal/ usasp
       Department of State             19.220   Ambassadors' Special       The U.S. Ambassadors'          https:/ https:/
                                                Self Help Fund             Special Self-Help              /       /
                                                                           program is a grass-            sam.g www.
       Department of State             19.221   Regional Democracy         roots
                                                                           To     assistance
                                                                              support   democracy                 usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Program                    and human rights in the        /       /
                                                                           Near East region.              sam.g www.
       Department of State             19.222   Trans-Sahara               The Trans-Sahara               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Counterterrorism           Counterterrorism               /       /
                                                Partnership (TSCTP)        Partnership (TSCTP)            sam.g www.
                                                                           policy objective is to         ov/fal/ usasp
       Department of State             19.223   South Sudan and            The goal of the Sudan          https:/ https:/
                                                Sudan Assistance           and South Sudan                /       /
                                                Program                    Assistance Program is          sam.g www.
       Department of State             19.224   Nonproliferation and       to
                                                                           Theadvance  U.S.
                                                                                Nonproliferation          ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Disarmament Fund           and Disarmament Fund           /       /
                                                                           (NDF) provides a               sam.g www.
                                                                           means for the U.S.             ov/fal/ usasp
       Department of State             19.225   Africa Regional            This program supports          https:/ https:/
                                                Democracy Fund             democratic processes           /       /
                                                                           and promotes strong            sam.g www.
       Department of State             19.300   Program for Study of       democratic
                                                                           Develop, support,
                                                                                      norms and                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Eastern Europe and the deepen American                    /       /
                                                Independent States of expertise in the                    sam.g www.
       Department of State             19.301   the
                                                TheFormer  Soviet
                                                    Secretary's Office countries of Eastern
                                                                       Support the  foreign               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                of the Global              assistance goals and           /       /
                                                Partnership Initiative (S/ objectives of the              sam.g www.
                                                GPI) Grant Programs        Department of State,           ov/fal/ usasp
       Department of State             19.303   Decrypting PRC             Funds will support a           https:/ https:/
                                                Industrial and             comprehensive                  /       /
                                                Technology Policy          research plan to               sam.g www.
       Department of State             19.322   Economic Statecraft        compile,
                                                                           To place categorize,
                                                                                    economics and         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                       market forces at the               /       /
                                                                       center of U.S. foreign             sam.g www.
                                                                       policy by both                     ov/fal/ usasp
       Department of State             19.334   Office of the Biological
                                                                       The Office of The                  https:/ https:/
                                                Policy Staff           Biological Policy Staff            /       /
                                                                       (ISN/BPS) works to                 sam.g www.
       Department of State             19.345                          impede
                                                International Programs DRL   funds  roll back
                                                                                andtargeted                       usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                to Support Democracy, democracy and human                 /       /
                                                Human Rights and       rights programs to                 sam.g www.
       Department of State             19.355   Labor
                                                International Programs address   human
                                                                       IRF programs      rights
                                                                                      counter             ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                to Support the Freedom government or societal             /       /
                                                of Religion or Belief  constraints on religious           sam.g www.
                                                                       freedom, particularly for          ov/fal/ usasp
       Department of State             19.400   Academic Exchange      As authorized by the               https:/ https:/
                                                Programs - Graduate    Fulbright-Hays Act, the            /       /
                                                Students               Bureau of Educational              sam.g www.
       Department of State             19.401   Academic Exchange      and Cultural Affairs
                                                                       As authorized  by the              ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Programs - Scholars        Fulbright-Hays Act, the        /       /
                                                                           Bureau of Educational          sam.g www.
       Department of State             19.402   Professional and             Cultural Affairs
                                                                         andauthorized
                                                                         As            by the                     usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Cultural Exchange        Fulbright-Hays Act, the          /       /
                                                Programs - International Bureau of Educational            sam.g www.
       Department of State             19.408   Visitor Leadership
                                                Academic   Exchange          Cultural Affairs
                                                                         andauthorized
                                                                         As            by the                     usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Programs - Teachers        Fulbright-Hays Act, the        /       /
                                                                           Bureau of Educational          sam.g www.
       Department of State             19.415   Professional and           and  Cultural
                                                                           Citizen       Affairs
                                                                                   Exchange               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Cultural Exchange          activities include             /       /
                                                Programs - Citizen         American Film                  sam.g www.
                                                Exchanges                  Showcase, American             ov/fal/ usasp
       Department of State             19.421   Academic Exchange          As authorized by the           https:/ https:/
                                                Programs - English         Fulbright-Hays Act, the        /       /
                                                Language Programs          Bureau of Educational          sam.g www.
       Department of State             19.432   Academic Exchange          and  Cultural Affairs
                                                                           As authorized   by the         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Programs - Educational Fulbright-Hays Act, the            /       /
                                                Advising and Student   Bureau of Educational              sam.g www.
       Department of State             19.440   Services
                                                ECA  U.S. Speaker          Cultural Affairs
                                                                       andauthorized
                                                                       As            by the                       usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Program                    Fulbright-Hays Act, the        /       /
                                                                           Office of the U.S.             sam.g www.
                                                                           Speaker Program of the         ov/fal/ usasp
       Department of State             19.441   ECA â€“ American           As authorized by the           https:/ https:/
                                                Spaces                     Fulbright-Hays Act,            /       /
                                                                           American Spaces are            sam.g www.
       Department of State             19.450   ECA Individual Grants      cultural
                                                                           To provide    information
                                                                                    andindividual         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                        assistance awards by              /       /
                                                                        the Bureau of                     sam.g www.
                                                                        Educational and                   ov/fal/ usasp
       Department of State             19.451   Special International   To provide special                https:/ https:/
                                                Exchange Grant          grants for international          /       /
                                                Programs                exchanges and other               sam.g www.
       Department of State             19.452   International Exchange activities that support
                                                                        As authorized   by the            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Alumni Programs         Fulbright-Hays Act, the           /       /




A150
                                                                        Bureau of Educational             sam.g www.
       Department of State             19.500                           and Cultural
                                                Middle East Partnership The           Affairs
                                                                            U.S.-Middle    East                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Initiative                 Partnership Initiative         /       /
                                                                           supports organizations         sam.g www.
                                                                           and individuals in their       ov/fal/ usasp
       Department of State             19.501   Public Diplomacy           The U.S. Government            https:/ https:/
                                                Programs for               (USG) is providing             /       /
                                                Afghanistan and            resources to promote           sam.g www.
       Department of State             19.502   Pakistan
                                                Middle East Regional       diplomatic
                                                                           The Middlesolutions,
                                                                                       East               ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Cooperation Program        Regional Cooperation           /       /
                                                                           (MERC) Program funds           sam.g www.
                                                                           peer-reviewed,                 ov/fal/ usasp
       Department of State             19.510   U.S. Refugee               Initial reception and          https:/ https:/
                                                Admissions Program         placement program for          /       /
                                                                           refugees approved for          sam.g www.
       Department of State             19.511   Overseas Refugee           admission
                                                                           The Bureauinof the United      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Assistance Programs        Population, Refugees,          /       /
                                                for East Asia              and Migration (PRM)            sam.g www.
       Department of State             19.515   Contributions to           supports NGO
                                                                           Provision of voluntary                 usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                International              and assessed                   /       /
                                                Organizations for          contributions to Public        sam.g www.
                                                Overseas Assistance        International                  ov/fal/ usasp
       Department of State             19.517   Overseas Refugee           Assistance will                https:/ https:/
                                                Assistance Programs        contribute to the basic        /       /
                                                for Africa                 needs of refugees and          sam.g www.
       Department of State             19.518   Overseas Refugee           conflict
                                                                           Bureau victims
                                                                                    supportspread
                                                                                            saves         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Assistance Programs        lives, eases suffering,        /       /
                                                for Western                and promotes human             sam.g www.
       Department of State             19.519   Hemisphere
                                                Overseas Refugee           dignity through
                                                                           Providing       efficient
                                                                                      protection                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Assistance Program for     and assistance to              /       /
                                                Middle East and North      Syrian and Iraqi               sam.g www.
                                                Africa Program             refugees, conflict             ov/fal/ usasp
       Department of State             19.520   Overseas Refugee           Funding of                     https:/ https:/
                                                Assistance Programs        organizations that assist      /       /
                                                for Europe                 refugees and internally        sam.g www.
       Department of State             19.522   Overseas Refugee           displaced
                                                                           Bureau    persons
                                                                                   support  under                 usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Assistance Programs    this program includes              /       /
                                                for Strategic Global   select support to unique           sam.g www.
                                                Priorities             programs of                        ov/fal/ usasp
       Department of State             19.523   Overseas Refugee       The Bureau will                    https:/ https:/
                                                Assistance Program for continue support for the           /       /
                                                South Asia             return and reintegration           sam.g www.
       Department of State             19.600   Bureau of Near Eastern programs
                                                                       Support the    Afghan
                                                                                  forforeign              ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Affairs                    assistance goals and           /       /
                                                                           objectives of the              sam.g www.
       Department of State             19.601   Syria Assistance           Department
                                                                           Support      of State,
                                                                                    the foreign                   usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Program                    assistance goals and           /       /
                                                                           objectives of the              sam.g www.
                                                                           Department of State,           ov/fal/ usasp
       Department of State             19.662   Fiscal Transparency        To help governments to         https:/ https:/
                                                Innovation Fund            improve budget                 /       /
                                                                           transparency and to            sam.g www.
       Department of State             19.663   Global                     support
                                                                           â€¢     civil
                                                                                Build    society
                                                                                      Connections:                usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Telecommunications     Expand and increase                /       /
                                                and Emerging           secure Internet access             sam.g www.
                                                Technology Training    in targeted emerging               ov/fal/ usasp
       Department of State             19.665   Cyberspace and Digital Build Connections by               https:/ https:/
                                                Policy                 promoting investments              /       /
                                                                       in secure, diverse, and            sam.g www.
       Department of State             19.666   EUR/ACE National       resilient
                                                                       To advanceICT democracy            ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Endowment for           in Europe, Eurasia and            /       /
                                                Democracy Small         Central Asia by                   sam.g www.
       Department of State             19.701   Grants                  providing
                                                Global Counterterrorism The       support
                                                                             Bureau of    to                      usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                Programs                   Counterterrorism (CT)          /       /
                                                                           builds foreign partner         sam.g www.
                                                                           law enforcement                ov/fal/ usasp
       Department of State             19.703   Criminal Justice           Institutionalize rule of       https:/ https:/
                                                Systems                    law by developing and          /       /
                                                                           expanding criminal             sam.g www.
       Department of State             19.704   Counter Narcotics          justice systems
                                                                           Disrupt           to
                                                                                    the overseas                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                                           production and                 /       /
                                                                           trafficking of illicit drugs   sam.g www.
       Department of State             19.705   Trans-National Crime       through
                                                                           Minimizetargeted
                                                                                      the impact of       ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                           transnational crime and        /       /
                                                                           criminal networks on           sam.g www.
       Department of State             19.706   Partnership for            the
                                                                           TheU.S.  and its
                                                                                objective of allies
                                                                                             this         ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                Regional East Africa   program is to build the            /       /
                                                Counterterrorism       capacity and resilience            sam.g www.
       Department of State             19.707                          of military,
                                                Assessed Contributions To support law
                                                                                    the goals of                  usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                for State Department       the U.S. Department of         /       /
                                                                           State. This is for             sam.g www.
                                                                           Assessed Contributions         ov/fal/ usasp




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       Department of State                    19.750   Bureau of Western       Support the foreign           https:/ https:/
                                                       Hemisphere Affairs      assistance goals and          /       /
                                                       (WHA) Grant Programs objectives of the                sam.g www.
       Department of State                    19.777              Energy
                                                       (includingStrong
                                                       100,000          in and
                                                                           the Department
                                                                               Increase theof
                                                                                            number
                                                                                              State, of              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Americas Innovation     grants available to HEIs      /       /
                                                       Fund                    throughout the Western        sam.g www.
       Department of State                    19.790   Contributions to        Hemisphere.
                                                                               US membershipFoster
                                                                                                 in          ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       International           organizations to which        /       /
                                                       Organizations- CIO      fees are given to             sam.g www.
                                                                               administer joint              ov/fal/ usasp
       Department of State                    19.791   Voluntary Contributions IO promotes U.S.              https:/ https:/
                                                       to International        foreign policy strategic      /       /
                                                       Organizations           goals and U.S. interests      sam.g www.
       Department of State                    19.792                           through
                                                       Assessed Contributions IO        multilateral
                                                                                  promotes   U.S.                    usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       to International        foreign policy strategic      /       /
                                                       Organizations           goals and U.S. interests      sam.g www.
       Department of State                    19.793   Bureau of International through
                                                                               Support multilateral
                                                                                           the foreign       ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Organization Affairs    assistance goals and          /       /
                                                       Grants Program          objectives of the             sam.g www.
                                                                               Department of State,          ov/fal/ usasp
       Department of State                    19.800   Weapons Removal and To reduce the threats             https:/ https:/
                                                       Abatement               posed to civilian             /       /
                                                                               security by at-risk,          sam.g www.
       Department of State                    19.801   Office of Global        illicitly proliferated, and
                                                                               The Secretaryâ€™s             ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Women's Issues           Office of Global             /       /
                                                                                Womenâ€™s Issues             sam.g www.
                                                                                (S/GWI) promotes the         ov/fal/ usasp
       Department of State                    19.808   Multilateral and Nuclear To support the goals of      https:/ https:/
                                                       Affairs                  the U.S. Department of       /       /
                                                                                State. This is for           sam.g www.
       Department of State                    19.878   EUR-Other                payments
                                                                                The        only
                                                                                     primary  goalby/for
                                                                                                    is to            usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                                             promote democratic              /       /
                                                                             and free market                 sam.g www.
       Department of State                    19.888   Global Defense Reform transitions  in the former
                                                                             Enhance security     sector     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Program               governance and build            /       /
                                                                             the institutional capacity      sam.g www.
                                                                             of select U.S.                  ov/fal/ usasp
       Department of State                    19.900   AEECA/ESF PD          To provide civil society        https:/ https:/
                                                       Programs              and democracy building          /       /
                                                                             public diplomacy                sam.g www.
       Department of State                    19.901   Export Control and    programs    within
                                                                             The U.S. Department      of     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Related Border Security Stateâ€™s Bureau of           /       /
                                                                               International Security        sam.g www.
                                                                               and Nonproliferation,         ov/fal/ usasp
       Department of State                    19.903   Cooperation on          The goal is to support        https:/ https:/
                                                       Peaceful Uses of        the Sustained Dialogue        /       /
                                                       Nuclear Energy          on Peaceful Uses, to          sam.g www.
       Department of State                    19.948   Organization of                  a continuing
                                                                               provideshall
                                                                               Funds        be for                   usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       American States        Organization of                /       /
                                                       Programs               American States                sam.g www.
       Department of State                    19.973   Assessed Contributions development    assistance
                                                                              IO promotes U.S.               ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       to International       foreign policy strategic       /       /
                                                       Organizations/CIPA     goals and U.S. interests       sam.g www.
                                                                              through multilateral           ov/fal/ usasp
       Department of State                    19.979   Regional Peace and     The Office of Security         https:/ https:/
                                                       Security               Affairs in the                 /       /
                                                                              Department of                  sam.g www.
       Department of State                    19.980   Partnership for        Stateâ€™s
                                                                              The objective Bureau
                                                                                             of thisof       ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Regional East Africa     program is to build the      /       /
                                                       Counterterrorism         capacity and resilience      sam.g www.
       Department of State                    19.989   (PREACT):                of military,
                                                       State/African Regional - This CFDAlaw number will             usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Other Economic            be for projects and         /       /
                                                       Support Funds (ESF)       programs funded             sam.g www.
       Department of State                    19.990   Projects/Programs
                                                       International Justice     through thejustice
                                                                                 Increased    Africaand              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       and Accountability        accountability              /       /
                                                       Programming               worldwide.                  sam.g www.
       Department of the Interior             15.011   Experienced Services      The Experienced             ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Program                   Services Program            /       /
                                                                                 (ESP) will provide          sam.g www.
                                                                                 support to the National     ov/fal/ usasp
       Department of the Interior             15.012   Outdoor Schools in        The collaboration           https:/ https:/
                                                       National Parks            between the NPS and         /       /
                                                                                 Outdoor Schools are         sam.g www.
       Department of the Interior             15.013   Alaska Native Science     highly effective
                                                                                 The Bureau       in
                                                                                               of Ocean      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       and Engineering           Energy Management           /       /
                                                                                 (BOEM) provides major       sam.g www.
       Department of the Interior             15.014   Supporting the Lower      economic
                                                                                 The      and energy
                                                                                     program                         usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Mississippi Delta         establishes financial       /       /
                                                       Initiative                assistance agreements       sam.g www.
                                                                                 between the National        ov/fal/ usasp
       Department of the Interior             15.015   Good Neighbor             The Good Neighbor           https:/ https:/
                                                       Authority                 Authority (GNA) is          /       /
                                                                                 intended to expand          sam.g www.
       Department of the Interior             15.016   Experienced Services      limited federal capacity
                                                                                 The Experienced             ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Program                   Services Program            /       /
                                                                                 (ESP) will provide          sam.g www.
                                                                                 services to the Bureau      ov/fal/ usasp
       Department of the Interior             15.017   Eastern Nevada            This program advances       https:/ https:/
                                                       Conservation,             the Department of the       /       /
                                                       Recreation and            Interiorâ€™s role as        sam.g www.
       Department of the Interior             15.018   Development
                                                       Energy Community          stewards     the public
                                                                                 To reduceofmethane   and    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Revitalization Program    other greenhouse gas     /       /




A151
                                                       (ECRP)                    emissions, help clean    sam.g www.
       Department of the Interior             15.019   Experienced Services      up water
                                                                                 The  ESP contamination,
                                                                                            program       ov/fal/ usasp
                                                                                                          https:/ https:/
                                                                                 provide funding that     /       /
                                                                                 allows agencies to enter sam.g www.
                                                                                 into agreements with     ov/fal/ usasp
       Department of the Interior             15.020   Aid To Tribal             To provide funds to      https:/ https:/
                                                       Governments               Indian tribal            /       /
                                                                                 governments to support sam.g www.
       Department of the Interior             15.021   Consolidated Tribal       general  tribal
                                                                                 To promote Indian self   ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                       Government             determination and              /       /
                                                                              improve the quality of         sam.g www.
                                                                              life in Tribal                 ov/fal/ usasp
       Department of the Interior             15.022   Tribal Self-Governance To further the goals of        https:/ https:/
                                                                              Indian Self-                   /       /
                                                                              Determination by               sam.g www.
       Department of the Interior             15.024   Indian Self-           providing
                                                                              To providefunds
                                                                                           fundstoto         ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Determination Contract Federally Recognized           /       /
                                                       Support                Indian Tribal                  sam.g www.
       Department of the Interior             15.025   Services to Indian     Governments
                                                                              To provide funds
                                                                                            andtoto                  usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Children, Elderly and     Federally Recognized        /       /
                                                       Families                  Indian Tribal               sam.g www.
                                                                                 Governments to              ov/fal/ usasp
       Department of the Interior             15.026   Indian Adult Education    To improve the              https:/ https:/
                                                                                 educational                 /       /
                                                                                 opportunities for Indian    sam.g www.
       Department of the Interior             15.027   Assistance to Tribally    adults
                                                                                 To provide  lack the
                                                                                        who grants  for      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Controlled Community      the operation and           /       /
                                                       Colleges and              improvement of Tribal       sam.g www.
       Department of the Interior             15.028   Universities
                                                       Tribally Controlled       Collegeshas
                                                                                 Funding  andnot been                usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Community College         provided for this           /       /
                                                       Endowments                program. The listing        sam.g www.
                                                                                 remains active in           ov/fal/ usasp
       Department of the Interior             15.029   Tribal Courts             To provide funds to         https:/ https:/
                                                                                 Federally Recognized        /       /
                                                                                 Indian Tribal               sam.g www.
       Department of the Interior             15.030   Indian Law                Governments
                                                                                 To provide funds
                                                                                                to to                usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Enforcement               Indian Tribal               /       /
                                                                                 Governments to              sam.g www.
                                                                                 operate police              ov/fal/ usasp
       Department of the Interior             15.031   Indian Community Fire     To provide funds to         https:/ https:/
                                                       Protection                perform fire protection     /       /
                                                                                 services for Indian         sam.g www.
       Department of the Interior             15.032   Indian Economic           Tribal Governments
                                                                                 To assist Federally that    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Development               Recognized Indian           /       /
                                                                                 Tribal Governments by       sam.g www.
       Department of the Interior             15.033   Road Maintenance          providing
                                                                                 To providethe  resources
                                                                                             limited                 usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Indian Roads              routine and preventive      /       /
                                                                                 maintenance on BIA          sam.g www.
                                                                                 transportation facilities   ov/fal/ usasp
       Department of the Interior             15.034   Agriculture on Indian     To protect and restore      https:/ https:/
                                                       Lands                     the agricultural            /       /
                                                                                 (cropland and               sam.g www.
       Department of the Interior             15.035   Forestry on Indian        rangeland)
                                                                                 To maintain,resources
                                                                                               protect,              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Lands                    enhance, and develop         /       /
                                                                                Indian forest resources      sam.g www.
                                                                                through the execution of     ov/fal/ usasp
       Department of the Interior             15.036   Indian Rights Protection To protect Indian rights     https:/ https:/
                                                                                guaranteed through           /       /
                                                                                treaty or statute by         sam.g www.
       Department of the Interior             15.037   Water Resources on       obtaining
                                                                                To supportthe  services
                                                                                            Indian tribes    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Indian Lands           in the effective and           /       /
                                                                              efficient management,          sam.g www.
       Department of the Interior             15.038                          planning,
                                                       Minerals and Mining on The        and use
                                                                                    objectives     of
                                                                                               of the                usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Indian Lands           Energy and Mineral             /       /
                                                                              Development Program            sam.g www.
                                                                              are to: (1) provide funds      ov/fal/ usasp
       Department of the Interior             15.040   Real Estate Programs To provide real property         https:/ https:/
                                                       Indian Lands           management,                    /       /
                                                                              counseling, and land           sam.g www.
       Department of the Interior             15.041   Environmental               planning services to
                                                                              usedetermine
                                                                              To                                     usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Management Indian       environmental impacts    /       /
                                                                               of Federal projects on   sam.g www.
       Department of the Interior             15.042   Indian School           Indian lands;
                                                                               To provide    to conduct
                                                                                          funding  for  ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       Equalization            primary and secondary /          /
                                                                               education.               sam.g www.
       Department of the Interior             15.043   Indian Child and Family The Family And Child     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       Education              Education (FACE)               /       /
                                                                              program is designed to         sam.g www.
       Department of the Interior             15.044                          serve
                                                       Indian Schools Student To    families
                                                                                 provide     with
                                                                                          funds to                   usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Transportation         each Bureau of Indian          /       /
                                                                              Education (BIE) funded         sam.g www.
                                                                              school for the round trip      ov/fal/ usasp




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       Department of the Interior             15.046   Administrative Cost       To provide grants to         https:/ https:/
                                                       Grants for Indian         tribes and tribal            /       /
                                                       Schools                   organizations operating      sam.g www.
       Department of the Interior             15.047   Indian Education          schools
                                                                                 To  provide   the purpose
                                                                                          for funds  to BIE           usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Facilities, Operations,  funded elementary             /       /
                                                       and Maintenance          schools, secondary            sam.g www.
       Department of the Interior             15.048   Bureau of Indian Affairs schools
                                                                                To provide    peripheral
                                                                                         andfunds  for        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Facilities Operations    basic operating services      /       /
                                                       and Maintenance          to Bureau-owned or            sam.g www.
                                                                                Bureau-operated non-          ov/fal/ usasp
       Department of the Interior             15.051   Endangered Species on To comply with the               https:/ https:/
                                                       Indian Lands             Endangered Species            /       /
                                                                                Act, the Northern             sam.g www.
       Department of the Interior             15.052   Litigation Support for   Spotted
                                                                                To establish  Recovery
                                                                                         Owl or defend                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Indian Rights             Indian property or treaty /       /
                                                                                 rights through judicial,  sam.g www.
       Department of the Interior             15.053   Attorney Fees Indian      administrative, or
                                                                                 To assist Federally       ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                       Rights                    Recognized Tribes in      /       /
                                                                                 protecting their treaty   sam.g www.
                                                                                 rights and other rights   ov/fal/ usasp
       Department of the Interior             15.057   Navajo-Hopi Indian        To implement those        https:/ https:/
                                                       Settlement                provisions of the         /       /
                                                                                 Navajo-Hopi Settlement sam.g www.
       Department of the Interior             15.058   Indian Post Secondary     Act of 1974, as
                                                                                 To provide                ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                       Schools                   postsecondary                /       /
                                                                                 educational                  sam.g www.
                                                                                 opportunities for            ov/fal/ usasp
       Department of the Interior             15.059   Indian Graduate           To provide financial aid     https:/ https:/
                                                       Student Scholarships      to eligible Indian           /       /
                                                                                 students to enable them      sam.g www.
       Department of the Interior             15.060   Indian Vocational         to obtain
                                                                                 To provideadvanced
                                                                                              vocational              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Training United Tribes    training to individual       /       /
                                                       Technical College         American Indians             sam.g www.
       Department of the Interior             15.061   Indian Job Placement      through
                                                                                 To provide    United
                                                                                          thejob              ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       United Sioux Tribes       development,                 /       /
                                                       Development               counseling, social           sam.g www.
                                                       Corporation               adjustment guidance,         ov/fal/ usasp
       Department of the Interior             15.062   Replacement and           Providing safe,              https:/ https:/
                                                       Repair of Indian          functional, code-            /       /
                                                       Schools                   compliant, economical,       sam.g www.
       Department of the Interior             15.063   Improvement and           and
                                                                                 To provide   efficient
                                                                                     energysafe,              ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Repair of Indian          functional, code and         /       /
                                                       Detention Facilities      standards compliant,         sam.g www.
                                                                                 economical, and              ov/fal/ usasp
       Department of the Interior             15.065   Safety of Dams on         To improve the               https:/ https:/
                                                       Indian Lands              structural integrity of      /       /
                                                                                 dams on Indian lands,        sam.g www.
       Department of the Interior             15.066   Tribal Great Lakes        including
                                                                                 The       operations
                                                                                      BIA Tribal GLRI                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Restoration Initiative    Program provides             /       /
                                                                                 financial assistance to      sam.g www.
       Department of the Interior             15.067   Strengthening Tribal      Great Lakes
                                                                                 To provide    tribes to
                                                                                             funding  to      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Nations                   advance nation-to-           /       /
                                                                                 nation relationships,        sam.g www.
                                                                                 support Indian families      ov/fal/ usasp
       Department of the Interior             15.068   Native Hawaiian           The Office of Native         https:/ https:/
                                                       Community Guest           Hawaiian                     /       /
                                                       Stewardship               Relationsâ€™ (ONHR)          sam.g www.
       Department of the Interior             15.069   Zoonotic Disease          Heritage
                                                                                 Assistance(Tourism)
                                                                                              will be         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Initiative                available for a range of /         /
                                                                                 activities with the focus sam.g www.
       Department of the Interior             15.070   Experienced Services      of the
                                                                                 The  ESPprogram
                                                                                            programbeing on ov/fal/ usasp
                                                                                                            https:/ https:/
                                                       Program                   provides funding that      /       /
                                                                                 allows agencies to enter sam.g www.
       Department of the Interior             15.071   Pacific Northwest and     into agreements
                                                                                 Provide   enhanced with            usasp
                                                                                                            ov/fal/ https:/
                                                                                                            https:/
                                                       Hawaiian Islands Arts     Pacific Northwest and        /       /
                                                                                 Hawaiian Islands art         sam.g www.
       Department of the Interior             15.072   USGS Experienced          programs
                                                                                 To implement      promote ov/fal/
                                                                                             that legislation https:/ usasp
                                                                                                                      https:/
                                                       Services Program          that authorizes              /       /
                                                                                 cooperative agreements sam.g www.
                                                                                 with eligible nonprofit      ov/fal/ usasp
       Department of the Interior             15.073   Earth Mapping             The primary purpose of https:/ https:/
                                                       Resources Initiative      the Earth Mapping            /       /
                                                                                 Resources Initiative is      sam.g www.
       Department of the Interior             15.074   Small Surface Water       to
                                                                                 Thefacilitate new
                                                                                      Bipartisan              ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       and Groundwater        Infrastructure Law,             /       /
                                                       Storage Projects       Public Law 117-58,              sam.g www.
       Department of the Interior             15.075                          established
                                                       Blackfeet Water Rights In 2016, the the Small
                                                                                            Blackfeet                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Settlement             Water Rights                    /       /
                                                                              Settlement passed (PL           sam.g www.
                                                                              114-322) and the                ov/fal/ usasp
       Department of the Interior             15.076   Musselshell-Judith     The purpose of this act         https:/ https:/
                                                       Rural Water System     is to ensure a safe and         /       /
                                                                              adequate municipal,             sam.g www.
       Department of the Interior             15.077   Rehabilitation,        rural,
                                                                              Sectionand industrial
                                                                                       40904(b)  of the       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Reconstruction, or        Bipartisan Infrastructure    /       /
                                                       Replacement of Carey      Law, also known as the       sam.g www.
                                                       Act Dams                  Infrastructure               ov/fal/ usasp
       Department of the Interior             15.078   Snow Water Supply         To fund activities to        https:/ https:/
                                                       Forecasting               improve the skill of         /       /
                                                                                 water supply forecasts       sam.g www.
       Department of the Interior             15.079   Experienced Services      via
                                                                                 Theenhancing
                                                                                      ESP programsnow         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program (ESP)             provide funding that       /       /




A152
                                                                                 allows agencies to enter sam.g www.
       Department of the Interior             15.088   Department of Interior    into agreements
                                                                                 Provide  funding towith
                                                                                                      local ov/fal/ usasp
                                                                                                            https:/ https:/
                                                       Wildfire Management -     governments with fire      /       /
                                                       Preparedness              protection                 sam.g www.
                                                                                 responsibilities to        ov/fal/ usasp
       Department of the Interior             15.089   DOI - HQ Experienced      The Experienced            https:/ https:/
                                                       Services Program          Services Program           /       /
                                                                                 (ESP) will provide         sam.g www.
       Department of the Interior             15.098   Native Hawaiian           support  to Department
                                                                                 The goal of the Native     ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                       Climate Resilience        Hawaiian Climate             /       /
                                                       Program                   Resilience Program is        sam.g www.
                                                                                 to enhance the ability of    ov/fal/ usasp
       Department of the Interior             15.099   Abandoned Hardrock        The U.S. Department of       https:/ https:/
                                                       Mine Reclamation          the Interior has been        /       /
                                                       (AHMR/AML) Grants         authorized to establish      sam.g www.
       Department of the Interior             15.108   Indian Employment         a
                                                                                 ToHardrock   Abandoned
                                                                                    provide vocational        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Assistance                training and                 /       /
                                                                                 employment                   sam.g www.
       Department of the Interior             15.113   Indian Social Services    opportunities to eligible
                                                                                 To provide financial                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Welfare Assistance      assistance for basic           /       /
                                                                               needs for eligible             sam.g www.
                                                                               American Indians who           ov/fal/ usasp
       Department of the Interior             15.114   Indian Education Higher To provide financial aid       https:/ https:/
                                                       Education Grant         to eligible Indian             /       /
                                                                               students to enable them        sam.g www.
       Department of the Interior             15.124   Indian Loans Economic toTo attend
                                                                                  provideaccredited
                                                                                            assistance to     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Development               Federally Recognized         /       /
                                                                                 Indian Tribal                sam.g www.
       Department of the Interior             15.130   Indian Education          Governments,
                                                                                 To            Native
                                                                                    fund programs that                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Assistance to Schools    meet the unique and           /       /
                                                                                specialized needs of          sam.g www.
                                                                                eligible Indian students.     ov/fal/ usasp
       Department of the Interior             15.133   Native American          Under its Native              https:/ https:/
                                                       Business Development American Business                 /       /
                                                       Institute                Development Institute         sam.g www.
       Department of the Interior             15.141   Indian Housing           (NABDI)
                                                                                To  use theconceived
                                                                                             Housing in               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Assistance               Improvement Program           /       /
                                                                                (HIP) resources of the        sam.g www.
                                                                                Bureau of Indian Affairs      ov/fal/ usasp
       Department of the Interior             15.144   Indian Child Welfare Act To promote the stability      https:/ https:/
                                                       Title II Grants          and security of               /       /
                                                                                American Indian tribes        sam.g www.
       Department of the Interior             15.146   Ironworker Training      and
                                                                                To provide     by
                                                                                     familiesironworker       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 vocational training,         /       /
                                                                                 apprenticeships, and         sam.g www.
       Department of the Interior             15.147   Tribal Courts Trust           placement
                                                                                 jobprovide
                                                                                 To          grant   eligible ov/fal/
                                                                                                 to funds             usasp
                                                                                                              https:/ https:/
                                                       Reform Initiative         to Federally                 /       /
                                                                                 Recognized Indian            sam.g www.
                                                                                 Tribal Governments that ov/fal/ usasp
       Department of the Interior             15.148   Tribal Energy             To provide development https:/ https:/
                                                       Development Capacity      grants to Indian tribes      /       /
                                                       Grants                    for use in developing        sam.g www.
       Department of the Interior             15.149   FOCUS on Student          and sustaining
                                                                                 The              the
                                                                                      FOCUS program                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Achievement               targets schools where        /       /
                                                                                 student achievement is       sam.g www.
                                                                                 close to meeting annual      ov/fal/ usasp
       Department of the Interior             15.150   Juvenile Detention        The Juvenile Detention       https:/ https:/
                                                       Education                 Education Program was        /       /
                                                                                 designed to provide          sam.g www.
       Department of the Interior             15.151   Education                 education
                                                                                 Education services
                                                                                            Programto         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Enhancements              Enhancements provide         /       /
                                                                                 resources for special        sam.g www.
       Department of the Interior             15.155   Office of the Special     studies,
                                                                                 The      projects,
                                                                                      objectives of new
                                                                                                    these             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Trustee for American      Office of the Special        /       /
                                                       Indians, Field            Trustee (OST) grants         sam.g www.
                                                       Operations                will be to support and       ov/fal/ usasp
       Department of the Interior             15.156   Tribal Climate            The Cooperative              https:/ https:/
                                                       Resilience                Landscape                    /       /
                                                                                 Conservation (CLC)           sam.g www.
       Department of the Interior             15.159   Cultural Resources        program
                                                                                 To  ensureprovides funds
                                                                                             the proper               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Management                management,                  /       /
                                                                                 protection, and              sam.g www.
       Department of the Interior             15.160   BIA Wildland Urban        preservation    cultural
                                                                                 To implementofthe            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Interface Community       National Fire Plan and       /       /
                                                       Fire Assistance           assist communities at        sam.g www.
       Department of the Interior             15.161   Native Language           risk
                                                                                 Provide   catastrophic
                                                                                      fromcapacity            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Immersion Grant           building grants for          /     /
                                                                                 Bureau-funded schools        sam.g www.
       Department of the Interior             15.162   Tiwahe Housing            to expand
                                                                                 Tiwahe  is aexisting
                                                                                              coordinated         usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                                                 service delivery model   /       /
                                                                                 that increases access to sam.g www.
                                                                                 family and social        ov/fal/ usasp




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       Department of the Interior             15.163   Tribal Education          Make grants and              https:/ https:/
                                                       Departments               provide technical            /       /
                                                                                 assistance to tribes for     sam.g www.
       Department of the Interior             15.164   Land Acquisition          the development
                                                                                 Assist federally and                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Funding Program           recognized Tribes in         /       /
                                                                                 acquiring land               sam.g www.
       Department of the Interior             15.165   Tribal Electrification    consistent with
                                                                                 Tribal Electrification       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program                Program through the             /       /
                                                                              Inflation Reduction Act         sam.g www.
                                                                              to provide zero                 ov/fal/ usasp
       Department of the Interior             15.214   Non-Sale Disposals of To permit free use of            https:/ https:/
                                                       Mineral Material       certain mineral material        /       /
                                                                              from federally owned            sam.g www.
       Department of the Interior             15.222                          lands
                                                       Cooperative Inspection To  provide    the
                                                                                      underfor the                    usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Agreements with States Bureau of Land                  /       /
                                                       and Tribes             Management (BLM) to             sam.g www.
       Department of the Interior             15.224   Cultural and           enter  into cooperative
                                                                              The purpose     of the          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Paleontological           program is to manage         /       /
                                                       Resources                 cultural and                 sam.g www.
                                                       Management                paleontological              ov/fal/ usasp
       Department of the Interior             15.225   Recreation and Visitor    The BLM makes it a           https:/ https:/
                                                       Services                  priority to enhance          /       /
                                                                                 access to the outdoors       sam.g www.
       Department of the Interior             15.228   BLM Fuels                 and  to promote
                                                                                 Wildland   Fire Fuels        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Management and            Management and               /       /
                                                       Community Fire            Community Assistance         sam.g www.
                                                       Assistance Program        Program activities           ov/fal/ usasp
       Department of the Interior             15.229   Wild Horse and Burro      The Bureau of Land           https:/ https:/
                                                       Resource Management       Management (BLM)             /       /
                                                                                 manages and protects         sam.g www.
       Department of the Interior             15.230   Invasive and Noxious      wild horses
                                                                                 This programand  burros
                                                                                               continues              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Plant Management          to advance the               /       /
                                                                                 Department of the            sam.g www.
       Department of the Interior             15.232   Joint Fire Science        Interiorâ€™s priorities
                                                                                 This program continues       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program               to advance the                   /       /
                                                                             Administrationâ€™s               sam.g www.
                                                                             priorities to to prioritize      ov/fal/ usasp
       Department of the Interior             15.233   Forest and Woodlands The Bureau of Land                https:/ https:/
                                                       Resource Management Management (BLM)                   /       /
                                                                             Forest and Woodland              sam.g www.
       Department of the Interior             15.234   Secure Rural Schools Resource     Management
                                                                             Since its initial passage        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       and Community Self-   in 2000, the Secure              /       /
                                                       Determination         Rural Schools (SRS)              sam.g www.
                                                                             and Community Self-              ov/fal/ usasp
       Department of the Interior             15.235   Southern Nevada       The Southern Nevada              https:/ https:/
                                                       Public Land           Public Land                      /       /
                                                       Management            Management Act                   sam.g www.
       Department of the Interior             15.236                         (SNPLMA)
                                                       Environmental Quality The  Bureauadvances
                                                                                            of Land                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       and Protection            Management (BLM)             /       /
                                                                                 and its cooperative          sam.g www.
       Department of the Interior             15.237   Rangeland Resource        government  and
                                                                                 The Bureau of  Land          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Management             Management (BLM)                /       /
                                                                              Rangeland                       sam.g www.
                                                                              Management Program              ov/fal/ usasp
       Department of the Interior             15.239   Management Initiatives To provide a variety of         https:/ https:/
                                                                              Bureau of Land                  /       /
                                                                              Management financial            sam.g www.
       Department of the Interior             15.241   Indian Self-           assistance awards not
                                                                              To provide maximum              ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Determination Act         Indian participation in      /       /
                                                       Contracts, Grants and     the government and           sam.g www.
       Department of the Interior             15.243   Cooperative
                                                       Youth Conservation      education    the Indian
                                                                               BLMâ€™sofcontinued                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Opportunities on Public commitment to reduce           /     /
                                                       Lands                   and streamline its             sam.g www.
       Department of the Interior             15.244   Aquatics Resources      processes
                                                                               The Bureauand
                                                                                           of Land      ov/fal/ usasp
                                                                                                        https:/ https:/
                                                       Management             Managementâ€™s            /       /
                                                                              Aquatic Resources         sam.g www.
       Department of the Interior             15.245   Plant Conservation and Program
                                                                              The Bureauconserves
                                                                                            of Land and ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       Restoration            Managementâ€™s            /       /
                                                       Management             Plant Conservation and sam.g www.
                                                                              Restoration Program       ov/fal/ usasp
       Department of the Interior             15.246   Threatened and         The T&E Species           https:/ https:/
                                                       Endangered Species     Program has an            /       /
                                                                              important role in         sam.g www.
       Department of the Interior             15.247   Wildlife Resource      furthering
                                                                              The Wildlife
                                                                                         theProgram     ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       Management                fulfills the Department      /       /
                                                                                 of the Interior visions of   sam.g www.
       Department of the Interior             15.248   National Landscape        improving
                                                                                 This   program
                                                                                              the aims to             usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Conservation System       increase the                 /       /
                                                                                 effectiveness of             sam.g www.
                                                                                 resource management          ov/fal/ usasp
       Department of the Interior             15.250   Regulation of Surface     To assist the States and     https:/ https:/
                                                       Coal Mining and           Tribes with active coal      /       /
                                                       Surface Effects of        mining in administering      sam.g www.
       Department of the Interior             15.252   Underground
                                                       Abandoned MineCoalLand    approved   regulatory
                                                                                 The objectives  of the       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Reclamation (AMLR)        Abandoned Mine Lands         /       /
                                                                                 (AML) Program are            sam.g www.
                                                                                 defined in the Surface       ov/fal/ usasp
       Department of the Interior             15.253   Not-for-Profit AMD        The Not-for-Profit, Acid     https:/ https:/
                                                       Reclamation               Mine Drainage (AMD)          /       /
                                                                                 Reclamation -                sam.g www.
       Department of the Interior             15.254   OSM/VISTA                 Watershed
                                                                                 The purpose Cooperative
                                                                                               of the         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       AmeriCorps                OSMRE Youth Program /            /




A153
                                                                                 is to carry out          sam.g www.
       Department of the Interior             15.255   Science and               appropriate
                                                                                 The goal of the OSMRE ov/fal/    usasp
                                                                                                          https:/ https:/
                                                       Technology Projects       Applied Science          /       /
                                                       Related to Coal Mining    Program is to develop    sam.g www.
                                                       and Reclamation           and demonstrate          ov/fal/ usasp
       Department of the Interior             15.406   National Park Service     The National Park        https:/ https:/
                                                       Centennial Challenge      Centennial Initiative is /       /
                                                                                 an effort to prepare     sam.g www.
       Department of the Interior             15.407   Keweenaw National         national  parks
                                                                                 The Keweenaw NHPfor      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                       Historical Park (NHP)     Preservation Grant           /       /
                                                       Preservation Grants       program is intended to       sam.g www.
                                                                                 provide annual ONPS          ov/fal/ usasp
       Department of the Interior             15.408   Bureau of Ocean           The Renewable Energy         https:/ https:/
                                                       Energy Management         Program oversees the         /       /
                                                       Renewable Energy          leasing of areas on the      sam.g www.
       Department of the Interior             15.421   Alaska Coastal Marine     outer continental
                                                                                 The Bureau        shelf
                                                                                              of Ocean        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Institute                 Energy Management            /       /
                                                                                 (BOEM) provides major        sam.g www.
       Department of the Interior             15.423   Bureau of Ocean           economic
                                                                                 The      and
                                                                                     Bureau of energy
                                                                                               Ocean                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Energy Management         Energy Management            /       /
                                                       (BOEM) Environmental      (BOEM) provides major        sam.g www.
                                                       Studies (ES)              economic and energy          ov/fal/ usasp
       Department of the Interior             15.424   Marine Minerals           BOEM provides                https:/ https:/
                                                       Activities                financial assistance to      /       /
                                                                                 qualified partners to        sam.g www.
       Department of the Interior             15.427   Federal Oil and Gas       identify
                                                                                 To ensure     evaluate
                                                                                          andthat all oil,    ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Royalty Management        gas, and solid minerals      /       /
                                                       State and Tribal          originated on the public     sam.g www.
       Department of the Interior             15.429   Coordination
                                                       State Select              lands and
                                                                                 ONRR       on the
                                                                                         shares 90 Outer              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                               percent of oil and gas         /       /
                                                                               royalties with the State       sam.g www.
                                                                               to be paid monthly             ov/fal/ usasp
       Department of the Interior             15.430   8(g) State Coastal Zone ONRR shares 27                 https:/ https:/
                                                                               percent of mineral             /       /
                                                                               leasing revenue derived        sam.g www.
       Department of the Interior             15.431   Alaska Settlement       from any
                                                                               ONRR    shares   issued
                                                                                         lease100                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Agreement               percent with the State         /       /
                                                                               of Alaska to be paid           sam.g www.
                                                                               monthly subject to late        ov/fal/ usasp
       Department of the Interior             15.432   California Refuge       ONRR shares 40.87              https:/ https:/
                                                       Account                 percent of Oil and Gas         /       /
                                                                               Rents, Royalties, and          sam.g www.
       Department of the Interior             15.433   Flood Control Act Lands Bonus
                                                                               ONRR Bids
                                                                                      shareswith
                                                                                               75the          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                            percent of mineral                /       /
                                                                            leasing revenue with              sam.g www.
       Department of the Interior             15.434                        the State,
                                                       Geothermal Resources ONRR   shares   monthly
                                                                                       paid 50                        usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                            percent of mineral                /       /
                                                                            leasing revenue with              sam.g www.
                                                                            the State, and 25                 ov/fal/ usasp
       Department of the Interior             15.435   GoMESA               ONRR shares 37.5                  https:/ https:/
                                                                            percent of selected               /       /
                                                                            revenue with Gulf                 sam.g www.
       Department of the Interior             15.436   Late Disbursement    producing
                                                                            ONRR   paysstates
                                                                                         late and                     usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Interest                  disbursement interest        /       /
                                                                                 on subject payments          sam.g www.
                                                                                 made to States after the     ov/fal/ usasp
       Department of the Interior             15.437   Minerals Leasing Act      As directed by the           https:/ https:/
                                                                                 Minerals Leasing Act,        /       /
                                                                                 the Office of Natural        sam.g www.
       Department of the Interior             15.438   National Forest           Resources
                                                                                 ONRR shares Revenue
                                                                                                25            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Acquired Lands            percent of minerals          /       /
                                                                                 leasing revenue with         sam.g www.
       Department of the Interior             15.439   National Petroleum        the State
                                                                                 ONRR      in which
                                                                                        shares  50 such               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Reserve - Alaska          percent of NPR-A oil         /       /
                                                                                 and gas mineral leasing      sam.g www.
                                                                                 revenue with the State       ov/fal/ usasp
       Department of the Interior             15.440   South Half of the Red     ONRR shares 37.5             https:/ https:/
                                                       River                     percent of mineral           /       /
                                                                                 leasing revenue with         sam.g www.
       Department of the Interior             15.441   Safety and                the State
                                                                                 The       of Oklahoma
                                                                                      Bureau  of Safety               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Environmental             and Environmental            /     /
                                                       Research and Data         Enforcement (BSEE)           sam.g www.
       Department of the Interior             15.442   Collection for Offshore
                                                       Alaska Native  Science    provides major
                                                                                 The Bureau of Safety    ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                       and Engineering           and Environmental       /       /
                                                                                 Enforcement (BSEE)      sam.g www.
       Department of the Interior             15.443   Not For Profit            program provides
                                                                                 The Bureau        major ov/fal/
                                                                                             of Ocean    https:/ usasp
                                                                                                                 https:/
                                                                                 Energy Management       /       /
                                                                                 (BOEM) provides major sam.g www.
       Department of the Interior             15.444   Take Pride                economic
                                                                                 The Bureauand
                                                                                             of energy
                                                                                                Ocean            usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                                                 Energy Management            /       /
                                                                                 (BOEM) provides major        sam.g www.
                                                                                 economic and energy          ov/fal/ usasp




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       Department of the Interior             15.504   Water Recycling and   To make funding             https:/ https:/
                                                       Desalination          available for water         /       /
                                                       Construction Programs recycling and               sam.g www.
       Department of the Interior             15.506   Water Desalination    desalination
                                                                             There         projects.
                                                                                    are three   goals To ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                       Research and          for the program: (1)        /       /
                                                       Development           augment the supply of       sam.g www.
       Department of the Interior             15.507   WaterSMART (Sustain usable    water
                                                                             To provide     in the
                                                                                         cost-shared     ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                       and Manage                  funding for various         /       /
                                                       Americaâ€™s                 types of water              sam.g www.
                                                       Resources for               management                  ov/fal/ usasp
       Department of the Interior             15.508   Providing Water to At-      All funding has been        https:/ https:/
                                                       Risk Natural Desert         obligated; no new           /       /
                                                       Terminal Lakes              projects expected           sam.g www.
       Department of the Interior             15.509   Title II, Colorado River    before
                                                                                   To      the Desert
                                                                                       provide financial and           usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Basin Salinity Control      technical assistance to: /         /
                                                                                   (1) identify salt source   sam.g www.
       Department of the Interior             15.510   Colorado Ute Indian         areas;
                                                                                   To supply
                                                                                          (2) municipal
                                                                                               develop and ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Water Rights                industrial water supply    /       /
                                                       Settlement Act              to the Ute Mountain        sam.g www.
                                                                                   Ute, Southern Ute          ov/fal/ usasp
       Department of the Interior             15.511   Cultural Resources          To manage and protect https:/ https:/
                                                       Management                  cultural resources on      /       /
                                                                                   Reclamation land;          sam.g www.
       Department of the Interior             15.512   Central Valley              provide
                                                                                   The purposes
                                                                                            for theofcuration
                                                                                                       the    ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Improvement Act, Title      Central Valley Project      /       /
                                                       XXXIV                       Improvement Act             sam.g www.
                                                                                   (CVPIA) are (1) to          ov/fal/ usasp
       Department of the Interior             15.514   Reclamation States          Funding under the           https:/ https:/
                                                       Emergency Drought           Drought Response            /       /
                                                       Relief                      Program will be             sam.g www.
       Department of the Interior             15.516   Fort Peck Reservation       provided
                                                                                   To ensureto: (1) develop
                                                                                             a safe  and               usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Rural Water System          adequate municipal,         /       /
                                                                                   rural and industrial        sam.g www.
       Department of the Interior             15.517   Fish and Wildlife           water  supply
                                                                                   To provide     for the
                                                                                               financial       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Coordination Act        assistance, through             /       /
                                                                               grants or cooperative           sam.g www.
                                                                               agreements, to public or        ov/fal/ usasp
       Department of the Interior             15.518   Garrison Diversion Unit To meet the water               https:/ https:/
                                                                               needs within the State          /       /
                                                                               of North Dakota by              sam.g www.
       Department of the Interior             15.519   Indian Tribal Water     providing
                                                                               To increasefunds on a           ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Resources               opportunities for Indian        /       /
                                                       Development,            tribes to develop,              sam.g www.
                                                       Management, and         manage, and protect             ov/fal/ usasp
       Department of the Interior             15.520   Lewis and Clark Rural To provide safe and               https:/ https:/
                                                       Water System            adequate municipal,             /       /
                                                                               rural, and industrial           sam.g www.
       Department of the Interior             15.521   Lower Rio Grande        water supplies,
                                                                               Awards   will be made to                usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Valley Water Resources investigate and identify /       /
                                                       Conservation and       opportunities to improve sam.g www.
       Department of the Interior             15.522   Improvement
                                                       Mni Wiconi Rural Water the
                                                                              To ensure      water
                                                                                  supply aofsafe andin ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                       Supply Project         adequate municipal,      /       /
                                                                              rural, and industrial    sam.g www.
                                                                              water supply for the     ov/fal/ usasp
       Department of the Interior             15.524   Recreation Resources To provide cost-share      https:/ https:/
                                                       Management             opportunities with non- /        /
                                                                              Federal recreation       sam.g www.
       Department of the Interior             15.525   Rocky Boy's/North      partners
                                                                              To ensure(e.g., state,
                                                                                          a safe and   ov/fal/
                                                                                                       https:/ usasp
                                                                                                               https:/
                                                       Central Montana       adequate rural,           /       /
                                                       Regional Water System municipal, and industrial sam.g www.
       Department of the Interior             15.526   San Gabriel Basin     water
                                                                             To     supply
                                                                                design,     for the
                                                                                         construct,    ov/fal/ usasp
                                                                                                       https:/ https:/
                                                       Restoration           operate, and maintain     /       /
                                                                             water quality projects    sam.g www.
       Department of the Interior             15.529   Upper Colorado and    within
                                                                             To     the San
                                                                                authorize  theGabriel
                                                                                                Bureau https:/ usasp
                                                                                                       ov/fal/ https:/
                                                       San Juan River Basins of Reclamation to                 /       /
                                                       Endangered Fish         provide cost sharing for        sam.g www.
       Department of the Interior             15.530   Recovery
                                                       Water Conservation      the
                                                                               Theendangered      fish
                                                                                    goal of the Water          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Field Services (WCFS) Conservation Field                /       /
                                                                               Services Program                sam.g www.
                                                                               (WCFSP) is to                   ov/fal/ usasp
       Department of the Interior             15.531   Yakima River Basin      Within the Yakima River         https:/ https:/
                                                       Water Enhancement       Basin: (1) to protect,          /       /
                                                       (YRBWE)                 mitigate, and enhance           sam.g www.
       Department of the Interior             15.532   Central Valley, Trinity fish and wildlife
                                                                               To address        through
                                                                                            impacts    of      ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       River Division, Trinity     the Central Valley          /       /
                                                       River Fish and Wildlife     Project (CVP) on fish,      sam.g www.
       Department of the Interior             15.533   Management
                                                       California Water            wildlife,
                                                                                   The       and associated
                                                                                        purpose   of the               usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Security and                CALFED Bay-Delta            /       /
                                                       Environmental               Authorization Act           sam.g www.
                                                       Enhancement                 authorizes the              ov/fal/ usasp
       Department of the Interior             15.535   Upper Colorado River        Assistance is provided      https:/ https:/
                                                       Basin Fish and Wildlife     to recipients to protect,   /       /
                                                       Mitigation                  restore and enhance         sam.g www.
       Department of the Interior             15.537   Middle Rio Grande           wetland
                                                                                   The Middle    upland
                                                                                            andRio  Grande     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Endangered Species          Endangered Species          /       /
                                                       Collaborative               Collaborative Program       sam.g www.
                                                                                   (Program) is a              ov/fal/ usasp
       Department of the Interior             15.538   Lower Colorado River        The MSCPâ€™s                https:/ https:/
                                                       Multi-Species               purposes are: (1)           /       /
                                                       Conservation                Protect the lower           sam.g www.
       Department of the Interior             15.539   Equus Beds Division         Colorado
                                                                                   To design River
                                                                                              and construct    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Acquifer Storage            the City of                 /       /




A154
                                                       Recharge                    Wichitaâ€™s Aquifer         sam.g www.
       Department of the Interior             15.540   Lake Mead/Las Vegas         Storage
                                                                                   The      and Recovery
                                                                                       objective of this               usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Wash                        program is to develop       /       /
                                                                                   and implement               sam.g www.
                                                                                   management strategies       ov/fal/ usasp
       Department of the Interior             15.541   Colorado River Basin        The Colorado River          https:/ https:/
                                                       Act of 1968                 Basin Project Act of        /       /
                                                                                   1968, authorized the        sam.g www.
       Department of the Interior             15.542   Arizona Water               Secretary
                                                                                   Pursuant to
                                                                                             ofthe Interior
                                                                                                theArizona     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Settlement Act of 2004Water Settlements Act             /       /
                                                                             of 2004, the Secretary            sam.g www.
                                                                             of the Interior was               ov/fal/ usasp
       Department of the Interior             15.543   Lake Tahoe Regional   To assist in addressing           https:/ https:/
                                                       Wetlands Development the past degradation of            /       /
                                                                             Lake Tahoe and its                sam.g www.
       Department of the Interior             15.544   Platte River Recovery watershed
                                                                             Implementation
                                                                                         by of the             ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Implementation              Platte River Recovery       /       /
                                                                                   Program Cooperative         sam.g www.
       Department of the Interior             15.546   Youth Conservation          Agreement
                                                                                   Promote     which
                                                                                             and stimulate             usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                                                   public purposes such as     /       /
                                                                                   education, job training,    sam.g www.
                                                                                   development of              ov/fal/ usasp
       Department of the Interior             15.550   FISH-ABLE Fun with          To provide opportunities    https:/ https:/
                                                       Reclamation                 for disabled and            /       /
                                                                                   disadvantaged children      sam.g www.
       Department of the Interior             15.552   Navajo-Gallup Water         to
                                                                                   To use
                                                                                       provide enjoy public
                                                                                           and financial       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Supply                      assistance to design        /       /
                                                                                   and construct portions      sam.g www.
       Department of the Interior             15.553   Eastern New Mexico          of the Navajo-Gallup
                                                                                   Provide potable surface             usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Rural Water System          water to communities in     /       /
                                                                                   Eastern New Mexico.         sam.g www.
                                                                                                               ov/fal/ usasp
       Department of the Interior             15.554   Cooperative Watershed Reclamationâ€™s                   https:/ https:/
                                                       Management            WaterSMART                        /       /
                                                                             Cooperative Watershed             sam.g www.
       Department of the Interior             15.555   San Joaquin River     Management
                                                                             The objective Program
                                                                                           of the                      usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Restoration            San Joaquin River                /       /
                                                                              Restoration Program              sam.g www.
                                                                              (SJRRP) is to                    ov/fal/ usasp
       Department of the Interior             15.557   Applied Science Grants The objective of the             https:/ https:/
                                                                              Applied Science Grants           /       /
                                                                              is to improve access to          sam.g www.
       Department of the Interior             15.558   White Mountain Apache and
                                                                              Pursuant
                                                                                   use oftohydrologic
                                                                                            the White          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Tribe Rural Water           Mountain Apache Tribe       /       /
                                                       System                      Water Rights                sam.g www.
       Department of the Interior             15.559   New Mexico Rio              Quantification
                                                                                   Rehabilitate and   of
                                                                                                  Actrepair            usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Grande Basin Pueblos irrigation infrastructure          /       /
                                                       Irrigation Infrastructure
                                                                            of the Rio Grande                  sam.g www.
                                                                            Pueblos to conserve                ov/fal/ usasp
       Department of the Interior             15.560   SECURE Water Act â€“ To fund research                   https:/ https:/
                                                       Research Agreements activities that are                 /       /
                                                                            designed to conserve               sam.g www.
       Department of the Interior             15.563   Suisun Marsh         water resources,
                                                                            Execute   and implement                    usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Preservation Agreement the agreement between            /       /
                                                                              the Department of the            sam.g www.
                                                                              Interior, the State of           ov/fal/ usasp
       Department of the Interior             15.564   Central Valley Project Provide financial                https:/ https:/
                                                       Conservation           support for activities to        /       /
                                                                              benefit federally listed         sam.g www.
       Department of the Interior             15.565   Implementation of the endangered      and
                                                                              The Claims Resolution            ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                       Taos Pueblo Indian     Act of 2010 was signed           /       /
                                                       water rights settlementinto law on December             sam.g www.
       Department of the Interior             15.566   Upper Klamath Basin    8, 2010,
                                                                              To  plan, implement,   the
                                                                                         authorizing and               usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                       Water Supply Alignment administer programs to           /       /
                                                                              align water supplies and         sam.g www.
                                                                              demand for irrigation            ov/fal/ usasp
       Department of the Interior             15.567   Colorado River System This program supports             https:/ https:/
                                                       Conservation Pilot     conservation projects            /       /
                                                                              that create â€œsystem            sam.g www.
       Department of the Interior             15.569                          waterâ€
                                                       Educational Outreach The     Water Education                    usasp
                                                                                                               ov/fal/ https:/
                                                                                                               https:/
                                                                                   Foundation has              /     /
                                                                                   developed several           sam.g www.
       Department of the Interior             15.570   Bay-Delta Restoration       programs
                                                                                   The CALFED
                                                                                            and Water      ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                       Program                     Use Efficiency Grant    /       /
                                                                                   program promotes        sam.g www.
       Department of the Interior             15.571   Salton Sea Program          projects that
                                                                                   Objectives  ofemphasize
                                                                                                  this     ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                                                   program are to develop /        /
                                                                                   and implement           sam.g www.
       Department of the Interior             15.572   Agricultural Water Use      restoration
                                                                                   The  objective
                                                                                               andof the           usasp
                                                                                                           ov/fal/ https:/
                                                                                                           https:/
                                                       Efficiency Program          Agricultural Water          /       /
                                                                                   Conservation Efficiency     sam.g www.
                                                                                   Program is to invite        ov/fal/ usasp




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       Department of the Interior             15.574   Water Storage            Section 4007 of Public       https:/ https:/
                                                       Enhancement              Law 114-322, also            /       /
                                                                                known as The Water           sam.g www.
       Department of the Interior             15.576   Yakima River Basin      Infrastructure
                                                                               To  fund grants or                    usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Water Enhancement       cooperative agreements        /       /
                                                       Phase III (Yakima Basin for the purpose of land       sam.g www.
       Department of the Interior             15.577   Integrated
                                                       Domestic Water
                                                                  Plan) Supply and   water transfers,
                                                                               To provide   funding for      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Projects                 planning, design, or         /       /
                                                                                construction of water        sam.g www.
                                                                                projects with the            ov/fal/ usasp
       Department of the Interior             15.580   Aquatic Ecosystem        The objective of the         https:/ https:/
                                                       Restoration Program      Aquatic Ecosystem            /       /
                                                                                Restoration Program is       sam.g www.
       Department of the Interior             15.605   Sport Fish Restoration   to work
                                                                                Sport   cooperatively
                                                                                      Fish Restoration               usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                                                funds support activities     /       /
                                                                                designed to restore,         sam.g www.
       Department of the Interior             15.608   Fish and Aquatic         conserve,  manage,
                                                                                Details vary by      or      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation - Aquatic   subprogram. Brief            /       /
                                                       Invasive Species         summaries provided           sam.g www.
                                                                                here. See the                ov/fal/ usasp
       Department of the Interior             15.611   Wildlife Restoration and The Pittman-Robertson        https:/ https:/
                                                       Basic Hunter Education Wildlife Restoration Act       /       /
                                                       and Safety               provides grants to           sam.g www.
       Department of the Interior             15.614   Coastal Wetlands         State, Commonwealth,
                                                                                To provide competitive       ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Planning, Protection     matching grants to           /       /
                                                       and Restoration          coastal States for           sam.g www.
                                                                                coastal wetlands             ov/fal/ usasp
       Department of the Interior             15.615   Cooperative              Cooperative                  https:/ https:/
                                                       Endangered Species       Endangered Species           /       /
                                                       Conservation Fund        Conservation Fund            sam.g www.
       Department of the Interior             15.616   Clean Vessel Act         grants
                                                                                This program   Federal
                                                                                       provideprovides               usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                                                funding to States, the       /       /
                                                                                District of Columbia,        sam.g www.
       Department of the Interior             15.619   Rhinoceros and Tiger     Commonwealths,     and
                                                                                To provide financial         ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation Fund        assistance for projects      /       /
                                                                                for the effective long-      sam.g www.
                                                                                term conservation of         ov/fal/ usasp
       Department of the Interior             15.620   African Elephant         To provide financial         https:/ https:/
                                                       Conservation Fund        assistance to support        /       /
                                                                                projects that will           sam.g www.
       Department of the Interior             15.621   Asian Elephant           enhance
                                                                                To providesustainable
                                                                                            financial        ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation Fund        assistance to support        /       /
                                                                                the effective long-term      sam.g www.
                                                                                conservation of Asian        ov/fal/ usasp
       Department of the Interior             15.622   Sportfishing and         This program provides        https:/ https:/
                                                       Boating Safety Act       funding to States, the       /       /
                                                                                District of Columbia,        sam.g www.
       Department of the Interior             15.623   North American           Commonwealths,
                                                                                To                 and
                                                                                   provide grant funds               usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Wetlands Conservation for wetlands                    /       /
                                                       Fund                  conservation projects in        sam.g www.
       Department of the Interior             15.626   Enhanced Hunter       the
                                                                             ThisUnited States,
                                                                                  program  provides          ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Education and Safety    funds for the                 /       /
                                                                               enhancement of hunter         sam.g www.
                                                                               and archery education         ov/fal/ usasp
       Department of the Interior             15.628   Multistate Conservation This program provides         https:/ https:/
                                                       Grant                   funding for sport fish        /       /
                                                                               and wildlife restoration      sam.g www.
       Department of the Interior             15.629   Great Ape Conservation projects  and
                                                                               To provide  financial         ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Fund - Africa            assistance for projects      /     /
                                                                                for the effective long-      sam.g www.
       Department of the Interior             15.630   Coastal                  term
                                                                                To    conservation
                                                                                    provide technicalof  ov/fal/ usasp
                                                                                                         https:/ https:/
                                                                                and financial assistance /       /
                                                                                to partners to           sam.g www.
       Department of the Interior             15.631   Partners for Fish and    implement
                                                                                Deliver  Department
                                                                                            voluntaryof  ov/fal/ usasp
                                                                                                         https:/ https:/
                                                       Wildlife                 the Interior priorities  /       /
                                                                                and US Fish and          sam.g www.
       Department of the Interior             15.634   State Wildlife Grants    Wildlife Service         ov/fal/
                                                                                The primary purpose of https:/ usasp
                                                                                                                 https:/
                                                                                the State Wildlife Grant     /       /
                                                                                (SWG) Program is to          sam.g www.
                                                                                help State, Territory,       ov/fal/ usasp
       Department of the Interior             15.635   Neotropical Migratory    To assist in the             https:/ https:/
                                                       Bird Conservation        conservation of              /       /
                                                                                neotropical migratory        sam.g www.
       Department of the Interior             15.636   Alaska Subsistence       birds by providing
                                                                                To identify and provide      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Management               information needed to        /       /
                                                                                sustain subsistence          sam.g www.
       Department of the Interior             15.637   Migratory Bird Joint     fisheries
                                                                                The       and wildlife
                                                                                     objectives of this              usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Ventures                 program are to support       /       /
                                                                                projects that protect,       sam.g www.
                                                                                restore, and enhance         ov/fal/ usasp
       Department of the Interior             15.639   Tribal Wildlife Grants   Support the                  https:/ https:/
                                                                                development and              /       /
                                                                                implementation of            sam.g www.
       Department of the Interior             15.640   Latin America and        programs
                                                                                The mission   the
                                                                                           forof   benefit
                                                                                                 the Latin   ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Caribbean Regional       America Regional             /       /
                                                                                Program is to provide        sam.g www.
                                                                                technical and financial      ov/fal/ usasp
       Department of the Interior             15.643   Alaska Migratory Bird    To facilitate and            https:/ https:/
                                                       Co-Management            administer regional          /       /
                                                       Council                  programs to involve          sam.g www.
       Department of the Interior             15.645   Marine Turtle            subsistence
                                                                                This programhunters
                                                                                                funds of     ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation Fund       Marine Turtle and        /       /




A155
                                                                               Tortoise and Freshwater sam.g www.
       Department of the Interior             15.647   Migratory Bird          Turtle
                                                                               To  maintain  projects.
                                                                                      (TFT) and         ov/fal/ usasp
                                                                                                        https:/ https:/
                                                       Conservation            enhance populations      /       /
                                                                               and habitats of          sam.g www.
                                                                               migratory bird species   ov/fal/ usasp
       Department of the Interior             15.648   Central Valley Project  To protect, restore, and https:/ https:/
                                                       Improvement Act         enhance fish, wildlife,  /       /
                                                       (CVPIA)                 and associated habitats sam.g www.
       Department of the Interior             15.651                           in the Central Valley
                                                       Central Africa Regional The Central Africa       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                                               Regional Program         /       /
                                                                               supports projects in     sam.g www.
                                                                               Central Africa that      ov/fal/ usasp
       Department of the Interior             15.652   Invasive Species        To encourage             https:/ https:/
                                                                               coordination and         /       /
                                                                               integration of efforts   sam.g www.
       Department of the Interior             15.653   National Outreach and between
                                                                               To improvethe U.S. Fish  ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                       Communication            communications with          /       /
                                                                                anglers, boaters, and        sam.g www.
       Department of the Interior             15.654   National Wildlife Refuge To
                                                                                theprovide    public
                                                                                     generaltechnical                usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       System Enhancements and financial assistance          /       /
                                                                                to identify, conserve,       sam.g www.
                                                                                manage, and enhance          ov/fal/ usasp
       Department of the Interior             15.655   Migratory Bird           Working with others to       https:/ https:/
                                                       Monitoring, Assessment conserve, enhance, and         /       /
                                                       and Conservation         better understand the        sam.g www.
       Department of the Interior             15.657   Endangered Species       ecology
                                                                                Recoveryand habitats of      ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Recovery                 Implementation: To        /       /
                                                       Implementation           provide federal financial sam.g www.
       Department of the Interior             15.658   Natural Resource         assistance
                                                                                The  purpose    secure
                                                                                             to of the    ov/fal/ usasp
                                                                                                          https:/ https:/
                                                       Damage Assessment        Natural Resource          /       /
                                                       and Restoration          Damage Assessment         sam.g www.
                                                                                and Restoration           ov/fal/ usasp
       Department of the Interior             15.660   Candidate Species        The objective is to       https:/ https:/
                                                       Conservation             secure candidate and      /       /
                                                                                other at-risk species     sam.g www.
       Department of the Interior             15.661   Lower Snake River        information
                                                                                To  mitigate for
                                                                                              or the              usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                       Compensation Plan        losses of fish and           /       /
                                                                                wildlife caused by the       sam.g www.
                                                                                construction of four         ov/fal/ usasp
       Department of the Interior             15.662   Great Lakes              To provide technical         https:/ https:/
                                                       Restoration              and financial assistance     /       /
                                                                                to implement the             sam.g www.
       Department of the Interior             15.663   NFWF-USFWS               highest  priority
                                                                                Partnering   with actions    ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation             individuals, government      /       /
                                                       Partnership              agencies, nonprofit          sam.g www.
       Department of the Interior             15.664   Fish and Wildlife        organizations
                                                                                The            and
                                                                                     FWS established                 usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Coordination and         this assistance listing to   /       /
                                                       Assistance               be used: 1) temporarily      sam.g www.
                                                                                by new financial             ov/fal/ usasp
       Department of the Interior             15.665   National Wetlands        Emergency Wetlands           https:/ https:/
                                                       Inventory                Resources Act -              /       /
                                                                                National Wetlands            sam.g www.
       Department of the Interior             15.666   Endangered Species       Inventory,
                                                                                To  provide16 U.S.C.
                                                                                            federal                  usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Conservation-Wolf      financial assistance to        /       /
                                                       Livestock Loss         livestock producers            sam.g www.
                                                       Compensation and       undertaking proactive,         ov/fal/ usasp
       Department of the Interior             15.667   Highlands Conservation To conserve priority           https:/ https:/
                                                                              lands and natural              /       /
                                                                              resources and                  sam.g www.
       Department of the Interior             15.668   Coastal Impact         recognize
                                                                              The USFWS  theis no            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Assistance               longer making awards    /       /
                                                                                under this program. The sam.g www.
       Department of the Interior             15.669                         Assistance
                                                       Cooperative Landscape The         Listing
                                                                                 Collaborative                  usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                       Conservation          Landscape                       /       /
                                                                             Conservation program            sam.g www.
                                                                             promotes an inclusive           ov/fal/ usasp
       Department of the Interior             15.670   Adaptive Science      The U.S. Fish and               https:/ https:/
                                                                             Wildlife Service                /       /
                                                                             (USFWS) uses a                  sam.g www.
       Department of the Interior             15.671   Yukon River Salmon    science-based,
                                                                             The U.S. Fish and                       usasp
                                                                                                             ov/fal/ https:/
                                                                                                             https:/
                                                       Research and             Wildlife Service         /       /
                                                       Management               (Service) receives funds sam.g www.
       Department of the Interior             15.674   Assistance
                                                       National Fire Plan-      for implementation
                                                                                To implement   the of    ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                       Wildland Urban           National Cohesive        /       /
                                                       Interface Community      Wildland Fire            sam.g www.
       Department of the Interior             15.676   Fire
                                                       YouthAssistance
                                                              Engagement,       Management     Strategy  ov/fal/
                                                                                To provide experiential, https:/ usasp
                                                                                                                 https:/
                                                       Education, and           education, and               /     /
                                                       Employment               employment                   sam.g www.
       Department of the Interior             15.677   Hurricane Sandy          opportunities
                                                                                To            for youth
                                                                                   provide technical             usasp
                                                                                                         ov/fal/ https:/
                                                                                                         https:/
                                                       Disaster Relief          and financial assistance /       /
                                                       Activities-FWS           to identify, protect,    sam.g www.
                                                                                conserve, manage,        ov/fal/ usasp




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       Department of the Interior             15.678   Cooperative Ecosystem The Cooperative                  https:/ https:/
                                                       Studies Units         Ecosystem Studies                /       /
                                                                             Units (CESU) Network             sam.g www.
       Department of the Interior             15.679   Combating Wildlife    is a national,
                                                                             The  goal of this grant                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Trafficking           program is to provide            /       /
                                                                             financial assistance to          sam.g www.
       Department of the Interior             15.680   Mexican Wolf Recovery innovative
                                                                             To provide projects
                                                                                         federal that         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                               financial assistance to        /       /
                                                                               secure Mexican Wolf            sam.g www.
                                                                               information, undertake         ov/fal/ usasp
       Department of the Interior             15.681   Cooperative Agriculture The objectives for the         https:/ https:/
                                                                               use of cooperative             /       /
                                                                               agriculture in the             sam.g www.
       Department of the Interior             15.682   Experienced Services To National
                                                                                   enableWildlife  Refuge
                                                                                            the agency   to           usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                                               work with select NGOs          /       /
                                                                               to fill a wide variety of      sam.g www.
       Department of the Interior             15.683   Prescott Marine         temporary
                                                                               To provide human
                                                                                             financial        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Mammal Rescue             assistance to eligible       /       /
                                                       Assistance                entities for: response,      sam.g www.
                                                                                 recovery, rescue,            ov/fal/ usasp
       Department of the Interior             15.684   White-nose Syndrome       To conserve and              https:/ https:/
                                                       National Response         recover bat species          /       /
                                                       Implementation            affected by the fungal       sam.g www.
       Department of the Interior             15.685   National Fish Passage     disease
                                                                                 To restorewhite-nose
                                                                                             native fish      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 and other aquatic            /       /
                                                                                 species to self-             sam.g www.
                                                                                 sustaining levels by         ov/fal/ usasp
       Department of the Interior             15.686   National Fish Habitat     To comprehensively           https:/ https:/
                                                       Partnership               address the causes of        /       /
                                                                                 fish habitat decline by      sam.g www.
       Department of the Interior             15.687   Great Lakes Sea           working
                                                                                 To       together
                                                                                     work with partners
                                                                                                    with to           usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Lamprey Control          assess sea lamprey            /       /
                                                                                abundance in the Great        sam.g www.
       Department of the Interior             15.688   Great Lakes Fish and     Lakes   by monitoring
                                                                                To provide   assistancethe
                                                                                                         to   ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Wildlife Restoration Act States, Indian Tribes,        /       /
                                                                                and other interested          sam.g www.
                                                                                entities to encourage         ov/fal/ usasp
       Department of the Interior             15.689   Great Ape Conservation To provide financial            https:/ https:/
                                                       Fund-Asia                assistance for projects       /       /
                                                                                for the effective long-       sam.g www.
       Department of the Interior             15.690   Rhinoceros               term  conservation
                                                                                Provide   financial of the    ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Conservation Fund-        assistance for projects      /       /
                                                       Africa                    for the effective, long-     sam.g www.
                                                                                 term conservation of         ov/fal/ usasp
       Department of the Interior             15.785   Nicodemus National        The town of                  https:/ https:/
                                                       Historic Site             Nicodemus, in Kansas,        /       /
                                                                                 has national                 sam.g www.
       Department of the Interior             15.805   Assistance to State       significance
                                                                                 To            as the only
                                                                                     provide financial                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Water Resources           support to Water             /       /
                                                       Research Institutes       Resources Research           sam.g www.
       Department of the Interior             15.807   Earthquake Hazards        Institutes
                                                                                 To supportlocated at
                                                                                             earthquake       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program Assistance     hazards research and            /       /
                                                                              monitoring in order to          sam.g www.
                                                                              develop information,            ov/fal/ usasp
       Department of the Interior             15.808   U.S. Geological Survey To support research             https:/ https:/
                                                       Research and Data      complementary to                /       /
                                                       Collection             USGS program efforts            sam.g www.
       Department of the Interior             15.810   National Cooperative   in
                                                                              Toclassification  of the
                                                                                 produce geologic             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Geologic Mapping       maps of areas in which          /     /
                                                                              knowledge of geology is         sam.g www.
       Department of the Interior             15.812   Cooperative Research Toimportant
                                                                                 work into  the
                                                                                         partnership      ov/fal/ usasp
                                                                                                          https:/ https:/
                                                       Units                   with States and            /       /
                                                                               universities to address    sam.g www.
       Department of the Interior             15.814   National Geological and To  information
                                                                               thepreserve   andneeds  of ov/fal/
                                                                                                 provide          usasp
                                                                                                          https:/ https:/
                                                       Geophysical Data        access to geological,      /       /
                                                       Preservation            geophysical, and           sam.g www.
       Department of the Interior             15.815                           engineering   samples      ov/fal/
                                                       National Land Remote To promote the uses of https:/ usasp  https:/
                                                       Sensing Education     space-based land                 /       /
                                                       Outreach and Research remote sensing data              sam.g www.
                                                                             and technologies                 ov/fal/ usasp
       Department of the Interior             15.817   National Geospatial   To promote the uses of           https:/ https:/
                                                       Program: Building The space-based land                 /       /
                                                       National Map          remote sensing data              sam.g www.
       Department of the Interior             15.818   Volcano Hazards       and technologies
                                                                             To advance the                   ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program Research and scientific understanding          /       /
                                                       Monitoring            of volcanic processes            sam.g www.
       Department of the Interior             15.820   National and Regional To   to lessen
                                                                             andenable   the the
                                                                                             National                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Climate Adaptation        and Regional Climate         /       /
                                                       Science Centers           Adaptation Science           sam.g www.
                                                                                 Centers (NRCASC) to          ov/fal/ usasp
       Department of the Interior             15.821   USGS Cooperative          To support risk              https:/ https:/
                                                       Landslide Hazard          communication,               /       /
                                                       Mapping and               planning and                 sam.g www.
       Department of the Interior             15.875   Assessment  Program
                                                       Economic, Social, and     coordination,
                                                                                 The Office of mapping
                                                                                               Insular        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Political Development of Affairs will pursue the       /       /
                                                       the Territories          Departmentâ€™s                sam.g www.
                                                                                mission of Fulfilling Our     ov/fal/ usasp
       Department of the Interior             15.904   Historic Preservation    To provide                    https:/ https:/
                                                       Fund Grants-In-Aid       congressionally               /       /
                                                                                mandated grants to            sam.g www.
       Department of the Interior             15.912   National Historic        States,
                                                                                The Secretary
                                                                                        Tribes, of the        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Landmark                  Interior, through the        /       /




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                                                                                 National Park Service,       sam.g www.
       Department of the Interior             15.916   Outdoor Recreation            the purpose
                                                                                 for provide
                                                                                 To                of
                                                                                              financial               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Acquisition,              assistance to the States     /       /
                                                       Development and           and their political          sam.g www.
                                                       Planning                  subdivisions projects        ov/fal/ usasp
       Department of the Interior             15.921   Rivers, Trails and        The Rivers, Trails and       https:/ https:/
                                                       Conservation              Conservation                 /       /
                                                       Assistance                Assistance Program           sam.g www.
       Department of the Interior             15.922   Native American           implements  the natural
                                                                                 To provide grants   to       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Graves Protection and     museums to assist in         /       /
                                                       Repatriation Act          the consultation on and      sam.g www.
                                                                                 documentation of             ov/fal/ usasp
       Department of the Interior             15.923   National Center for       The purposes of the          https:/ https:/
                                                       Preservation              Center shall be toâ€”        /       /
                                                       Technology and                                         sam.g www.
       Department of the Interior             15.925   Training
                                                       National Maritime         To provide matching          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Heritage Grants           grants for preservation      /       /
                                                                                 or education projects        sam.g www.
       Department of the Interior             15.926   American Battlefield      thatprovide
                                                                                 To            greater
                                                                                      foster aFederal                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Protection                financial assistance to      /       /
                                                                                 State, local and tribal      sam.g www.
                                                                                 governments, other           ov/fal/ usasp
       Department of the Interior             15.928   Battlefield Land          To assist States and         https:/ https:/
                                                       Acquisition Grants        local communities            /       /
                                                                                 acquire and preserve         sam.g www.
       Department of the Interior             15.929   Save America's            threatened  battlefield
                                                                                 To provide matching          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Treasures                grants for preservation    /       /
                                                                                or conservation work on sam.g www.
       Department of the Interior             15.930   Chesapeake Bay           nationally
                                                                                The         significant
                                                                                      National  Park       ov/fal/ usasp
                                                                                                           https:/ https:/
                                                       Gateways Network         Service â€                 /       /
                                                                                “ Chesapeake Bay           sam.g www.
                                                                                Office connects people ov/fal/ usasp
       Department of the Interior             15.931   Youth and Veteran        This program seeks to      https:/ https:/
                                                       Organizations            utilize qualified non-     /       /
                                                       Conservation Activities profit youth and veteran sam.g www.
       Department of the Interior             15.932                            serving
                                                       Preservation of Historic In 1988,organizations
                                                                                          the National to https:/  usasp
                                                                                                           ov/fal/ https:/
                                                       Structures on the        Park Service               /       /
                                                       Campuses of              established the            sam.g www.
                                                       Historically Black       Historically Black         ov/fal/ usasp
       Department of the Interior             15.933   Preservation of          To provide for the         https:/ https:/
                                                       Japanese American        preservation and           /       /
                                                       Confinement Sites        interpretation of historic sam.g www.
       Department of the Interior             15.935                            confinement     sites
                                                       National Trails System To preserve, protect,        ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                       Projects                  and develop the              /       /
                                                                                 components of the            sam.g www.
       Department of the Interior             15.938   Boston African-           National
                                                                                 As       Trails
                                                                                    set forth in System,              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       American National         authorizing legislation,     /       /
                                                       Historic Site             this programâ€™s             sam.g www.
                                                                                 objective is to enter into   ov/fal/ usasp
       Department of the Interior             15.939   Heritage Partnership      The purpose of the           https:/ https:/
                                                                                 Heritage Partnership         /       /
                                                                                 Program funding is to        sam.g www.
       Department of the Interior             15.941   Mississippi National            out programs and
                                                                                 carryMississippi
                                                                                 The                                  usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       River and Recreation      National River and           /       /
                                                       Area State and Local      Recreation Area is rich      sam.g www.
                                                       Assistance                with historical and          ov/fal/ usasp
       Department of the Interior             15.942   Environmental             Provide field-based          https:/ https:/
                                                       Outreach and              environmental outreach       /       /
                                                       Conservation - North      (focusing on natural and     sam.g www.
       Department of the Interior             15.943   Cascades
                                                       Challenge Cost Share      cultural history),
                                                                                 This program    does not     ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 award grants or              /       /
                                                                                 cooperative                  sam.g www.
       Department of the Interior             15.944   Natural Resource          agreements.
                                                                                 The         The
                                                                                     Natural Resource                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Stewardship           Stewardship program is           /       /
                                                                             the principle means              sam.g www.
                                                                             through which the                ov/fal/ usasp
       Department of the Interior             15.945   Cooperative Research To establish and                  https:/ https:/
                                                       and Training Programs maintain cooperative             /       /
                                                       â€“ Resources of the  study units, in                  sam.g www.
       Department of the Interior             15.946   National Resources
                                                       Cultural              partnership
                                                                Park System The   Nationalwith federal,
                                                                                            Park                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Management            Service (NPS) conducts           /     /
                                                                             cultural resource                sam.g www.
       Department of the Interior             15.948   National Fire Plan-   stewardship   largely at
                                                                             To assist communities           ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Wildland Urban            at risk from catastrophic /         /
                                                       Interface Community       wildland fires by           sam.g www.
       Department of the Interior             15.954   Fire Assistance
                                                       National Park Service     providing
                                                                                 This programassistance
                                                                                                  supportsin ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                       Conservation,             projects complementary /            /
                                                       Protection, Outreach,     to National Park Service sam.g www.
       Department of the Interior             15.955   and Education
                                                       Martin Luther King        program
                                                                                 The        efforts
                                                                                       Martin  Luther
                                                                                                    in King, https:/ usasp
                                                                                                             ov/fal/ https:/
                                                       Junior National Historic Junior, National Historic     /       /
                                                       Site and Preservation    Site and Preservation         sam.g www.
                                                       District                 District was established      ov/fal/ usasp




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       Department of the Interior             15.956   Cooperative           Objectives of this listing       https:/ https:/
                                                       Management of Ebey's include:                          /       /
                                                       Landing National                                       sam.g www.
       Department of the Interior             15.957   Historical Reserve.
                                                       Emergency             â€¢
                                                                             EmergencyManagement                      usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Supplemental Historic supplemental Historic            /       /
                                                       Preservation Fund     Preservation Fund                sam.g www.
       Department of the Interior             15.958   Route 66 Corridor     funding is intended
                                                                             To preserve           to
                                                                                           the cultural       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Preservation              resources of the Route       /       /
                                                                                 66 corridor and to           sam.g www.
                                                                                 authorize the Secretary      ov/fal/ usasp
       Department of the Interior             15.959   Education Program         To improve the               https:/ https:/
                                                       Management                administration and           /       /
                                                                                 management of                sam.g www.
       Department of the Interior             15.961   Federal Historic          education programs
                                                                                 Commonly    known as                 usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Preservation Tax          the Rehabilitation Tax       /       /
                                                       Incentive                 Credit or the Historic       sam.g www.
       Department of the Interior             15.962   National Wild and         Tax
                                                                                 The Credit,
                                                                                     Secretary   program
                                                                                             the of the       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Scenic Rivers System    Interior shall assist,         /       /
                                                                               advise, and cooperate          sam.g www.
                                                                               with States or their           ov/fal/ usasp
       Department of the Interior             15.963   Southwest Border        Provide financial              https:/ https:/
                                                       Resource Protection     assistance to                  /       /
                                                       Program                 educational institutions,      sam.g www.
       Department of the Interior             15.964   9/11 Memorial Act Grant nonprofit  organizations,
                                                                               The 9/11 Memorial     Act      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program                   Grant Program provides       /       /
                                                                                 competitive grants for       sam.g www.
                                                                                 the continued operation,     ov/fal/ usasp
       Department of the Interior             15.965   Groundwork -              Groundwork furthers          https:/ https:/
                                                       Brownfield to             the mission of the           /       /
                                                       Greenspace                National Park Service        sam.g www.
       Department of the Interior             15.966   Historic Preservation     by extending
                                                                                 The  objectivesthe
                                                                                                  of the              usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Fund Grants-in-Aid for    competitive grant            /       /
                                                       Competitive Grants        programs under this          sam.g www.
       Department of the Interior             15.969   National Wildland Fire Assistance
                                                                               The goal of Listing
                                                                                            this listing
                                                                                                     are is   ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Management and          to provide financial           /       /
                                                       Natural Resource        assistance to reduce           sam.g www.
                                                       Training and Workforce and mitigate the risk of        ov/fal/ usasp
       Department of the Interior             15.978   Upper Mississippi River To provide decision            https:/ https:/
                                                       Restoration Long Term makers with information          /       /
                                                       Resource Monitoring     needed to maintain the         sam.g www.
       Department of the Interior             15.980   National Ground-Water Upper    Mississippi
                                                                               To support  data River         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Monitoring Network        providers for the            /       /
                                                                                 National Ground-Water        sam.g www.
                                                                                 Monitoring Network.          ov/fal/ usasp
       Department of the Interior             15.981   Water Use and Data        To support State water       https:/ https:/
                                                       Research                  resource agencies in         /       /
                                                                                 developing water use         sam.g www.
       Department of the Interior             15.984   NPS Alaska                and availability
                                                                                 Through  a       datasets            usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Subsistence            multidisciplinary               /       /
                                                       Management             collaborative program,          sam.g www.
       Department of the Interior             15.991   September 11 National identify
                                                                              This listing
                                                                                       andsupports
                                                                                            provide the       ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Memorial Trail         designation of the              /       /
                                                                              â€˜â€˜September 11th            sam.g www.
                                                                              National Memorial Trail         ov/fal/ usasp
       Department of the Treasury             21.004   Exchange of Federal    To increase state tax           https:/ https:/
                                                       Tax Information With   revenues and taxpayer           /       /
                                                       State Tax Agencies     compliance, and to              sam.g www.
       Department of the Treasury             21.006   Tax Counseling for the reduce
                                                                              Authorizeduplicate
                                                                                          the Internal        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Elderly                   Revenue Service to        /       /
                                                                                 enter into an agreement sam.g www.
       Department of the Treasury             21.008   Low Income Taxpayer       with private
                                                                                 This         or public
                                                                                      assistance           ov/fal/ usasp
                                                                                                           https:/ https:/
                                                       Clinics                   opportunity provides a    /       /
                                                                                 matching grant of up to sam.g www.
       Department of the Treasury             21.009   Volunteer Income Tax      $200,000
                                                                                 This grantper
                                                                                            authorizes
                                                                                                grant year https:/ usasp
                                                                                                           ov/fal/ https:/
                                                       Assistance (VITA)         the Internal Revenue         /       /
                                                       Matching Grant            Service to provide a         sam.g www.
       Department of the Treasury             21.011   Program
                                                       Capital Magnet Fund       matching  grant
                                                                                 The Capital     to
                                                                                              Magnet          ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                                                 Fund helps to create         /       /
                                                                                 and preserve affordable      sam.g www.
                                                                                 housing for low-income       ov/fal/ usasp
       Department of the Treasury             21.012   Native Initiatives        To promote economic          https:/ https:/
                                                                                 revitalization and           /       /
                                                                                 community                    sam.g www.
       Department of the Treasury             21.014   Community                 development    through
                                                                                 To support community         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Development Financial development lending              /       /
                                                       Institutions Bond       and investment by              sam.g www.
       Department of the Treasury             21.015   Guarantee Program
                                                       Resources    and        providing a source of
                                                                               Treasury administers                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Ecosystems              the Direct Component           /       /
                                                       Sustainability, Tourist program and Centers of         sam.g www.
                                                       Opportunities, and      Excellence Research            ov/fal/ usasp
       Department of the Treasury             21.016   Equitable Sharing       The Department of the          https:/ https:/
                                                                               Treasury Asset                 /       /
                                                                               Forfeiture Program is a        sam.g www.
       Department of the Treasury             21.017   Social Impact           nationwide
                                                                               The purposeslawof this         ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Partnerships to Pay for program are the                /       /
                                                       Results Act (SIPPRA) following:                        sam.g www.
                                                                               (1) To improve the lives       ov/fal/ usasp
       Department of the Treasury             21.018   Coronavirus Relief -    The Payroll Support            https:/ https:/
                                                       Pandemic Relief for     Program (PSP1),                /       /
                                                       Aviation Workers        Payroll Support                sam.g www.
       Department of the Treasury             21.019   Coronavirus Relief      Program  Extension
                                                                               Section 5001  of the           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Fund                  Coronavirus Aid, Relief,         /       /




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                                                                             and Economic Security            sam.g www.
       Department of the Treasury             21.020   Community                 ("CARES
                                                                             Actpromote
                                                                             To              Act")
                                                                                           economic                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Development Financial revitalization and               /       /
                                                       Institutions Program  community                        sam.g www.
                                                                             development through              ov/fal/ usasp
       Department of the Treasury             21.021   Bank Enterprise Award The Bank Enterprise              https:/ https:/
                                                       Program               Award Program (BEA               /       /
                                                                             Program) provides                sam.g www.
       Department of the Treasury             21.023   Emergency Rental      monetary
                                                                             The funding awards
                                                                                            provided
                                                                                                 to by        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Assistance Program        Emergency Rental             /       /
                                                                                 Assistance (ERA) will        sam.g www.
                                                                                 among other things,          ov/fal/ usasp
       Department of the Treasury             21.024   Community                 To support the ability of    https:/ https:/
                                                       Development Financial     Community                    /       /
                                                       Institutions Rapid        Development Financial        sam.g www.
       Department of the Treasury             21.025   Response
                                                       Small DollarProgram
                                                                     Loan        Institutions
                                                                                 Through the(CDFIs)
                                                                                              Small to        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Program                   Dollar Loan Program,   /       /
                                                                                 the CDFI Fund provides sam.g www.
       Department of the Treasury             21.026                        (1) grants
                                                       Homeowner Assistance Section     to enable
                                                                                     3206   of the a            usasp
                                                                                                        ov/fal/ https:/
                                                                                                        https:/
                                                       Fund                 American Rescue Plan              /       /
                                                                            Act of 2021, (the                 sam.g www.
                                                                            â€œActâ€                          ov/fal/ usasp
       Department of the Treasury             21.027   CORONAVIRUS STATE Sections 602 and 603                 https:/ https:/
                                                       AND LOCAL FISCAL     of the Social Security            /       /
                                                       RECOVERY FUNDS       Act as added by section           sam.g www.
       Department of the Treasury             21.028   Coronavirus Economic 9901  of the
                                                                            Division     American
                                                                                      N, Title IV,            ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Relief for Transportation Section 421 of the           /       /
                                                       Services Act              Consolidated                 sam.g www.
       Department of the Treasury             21.029   Coronavirus Capital       Appropriations
                                                                                 Section 604 of Act,
                                                                                                the                   usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Projects Fund             Social Security Act, as      /       /
                                                                                 added by section 9901        sam.g www.
                                                                                 of the American Rescue       ov/fal/ usasp
       Department of the Treasury             21.030   Emergency Capital         Under the ECIP,              https:/ https:/
                                                       Investment Program        Treasury invested            /       /
                                                                                 $8,570,109,000 in            sam.g www.
       Department of the Treasury             21.031   State Small Business      capital directly
                                                                                 Section            175
                                                                                          3301 ofinthe                usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Credit Initiative       American Rescue Plan           /       /
                                                       Technical Assistance    Act of 2021 (ARPA),            sam.g www.
                                                       Grant Program           Public Law No. 117-2           ov/fal/ usasp
       Department of the Treasury             21.032   Local Assistance and    Section 605 of the             https:/ https:/
                                                       Tribal Consistency Fund Social Security Act (the       /       /
                                                                               Act), as added by              sam.g www.
       Department of the Treasury             21.033   Community               section 9901
                                                                               To provide   of the
                                                                                          grants to           ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                       Development Financial Community                        /       /
                                                       Institutions Fund      Development Financial           sam.g www.
       Department of the Treasury             21.034   Equitable
                                                       State  SmallRecovery
                                                                     Business Institutions
                                                                              Through the(CDFIs)
                                                                                              State for               usasp
                                                                                                              ov/fal/ https:/
                                                                                                              https:/
                                                       Credit Initiative      Small Business Credit           /       /
                                                       Competitive Technical Initiative (SSBCI)               sam.g www.
                                                       Assistance Program     Investing in America            ov/fal/ usasp
       Department of the Treasury             IN.001   Interest on the Public The federal government
                                                       Debt                   is charged interest for
                                                                              the use of lendersâ€™
       Department of the Treasury             TC.001   Exclusion of benefits  money,the
                                                                              Under     in the
                                                                                           baseline way
                                                                                               sametax
                                                       and allowances to      system, all
                                                       armed forces personnel compensation, including
                                                                              dedicated payments
       Department of the Treasury             TC.002   Exclusion of income    Under the baseline tax
                                                       earned abroad by U.S. system, all
                                                       citizens               compensation received
       Department of the Treasury             TC.003   Exclusion of certain   by U.S. citizens
                                                                              In general, all and
                                                       allowances for Federal    compensation received
                                                       employees abroad          by U.S. citizens and
       Department of the Treasury             TC.004   Reduced tax rate on      residents
                                                                                Under  theisbaseline
                                                                                             properlytax
                                                       active income of         system, worldwide
                                                       controlled foreign       income forms the tax
                                                       corporations (normal     base of U.S.
       Department of the Treasury             TC.005   Deduction for foreign- Under the baseline tax
                                                       derived intangible       system, the United
                                                       income derived from      States taxes income
       Department of the Treasury             TC.006   trade or Charge
                                                       Interest business within Under
                                                                                earnedthe   U.S.
                                                                                        by baseline  tax
                                                       Domestic International system, taxpayer
                                                       Sales Corporations (IC- earnings are subject to
       Department of the Treasury             TC.007   DISCs)
                                                       Expensing of research tax
                                                                               Theusing the regular
                                                                                   baseline tax     tax
                                                       and experimentation       system allows a
                                                       expenditures (normal      deduction for the cost of
       Department of the Treasury             TC.008   tax method)
                                                       Credit for increasing     producing income.
                                                                                 The baseline  tax It
                                                       research activities       system would uniformly
                                                                                 tax all returns to
       Department of the Treasury             TC.009   Expensing of              investments
                                                                                 Under   the baseline
                                                                                               and nottax
                                                       exploration and           system, the costs of
                                                       development costs, oil    exploring and
                                                       and gas                   developing oil and gas




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       Department of the Treasury             TC.010   Expensing of            This is similar to the
                                                       exploration and         above provision but
                                                       development costs, coal limited to coal. Current
       Department of the Treasury             TC.011   Excess of percentage Thelaw allows  immediate
                                                                                    baseline  tax
                                                       over cost depletion, oil   system would allow
                                                       and gas                    recovery of the costs of
       Department of the Treasury             TC.012   Excess of percentage       developing   certain
                                                                                  This is similar to theoil
                                                       over cost depletion,       above provision but
                                                       coal                       limited to coal.
       Department of the Treasury             TC.013   Exception from passive The baseline tax
                                                       loss limitation for       system accepts current
                                                       working interests in oil lawâ€™s general rule
       Department of the Treasury             TC.014   and gas properties
                                                       Enhanced     oil recovery limiting
                                                                                 A credit taxpayersâ€™
                                                                                           is provided
                                                       credit                    equal to 15 percent of
                                                                                 the taxpayerâ€™s
       Department of the Treasury             TC.015   Marginal wells credit     costs
                                                                                 A credit
                                                                                        forisenhanced  oil
                                                                                              provided for
                                                                                  crude oil and natural
                                                                                  gas produced from a
                                                                                  qualified marginal well.
       Department of the Treasury             TC.016   Amortize all geological    The baseline tax
                                                       and geophysical            system allows
                                                       expenditures over 2        taxpayers to deduct the
       Department of the Treasury             TC.017   years
                                                       Capital gains treatment    decline
                                                                                  The baseline    economic
                                                                                          in the tax
                                                       of royalties on coal     system generally would
                                                                                tax all income under the
                                                                                regular tax rate
       Department of the Treasury             TC.018   Exclusion of interest on The baseline tax
                                                       energy facility bonds    system generally would
                                                                                tax all income under the
       Department of the Treasury             TC.019   Qualified energy         regular
                                                                                The       tax rate
                                                                                     baseline   tax
                                                       conservation bonds       system would uniformly
                                                                                tax all returns to
       Department of the Treasury             TC.020   Exclusion of utility     investments
                                                                                The baselineandtax not
                                                       conservation subsidies system generally takes
                                                                                a comprehensive view
                                                                                of taxable income that
       Department of the Treasury             TC.021   Credit for holding clean The baseline tax
                                                       renewable energy         system would uniformly
                                                       bonds                    tax all returns to
       Department of the Treasury             TC.022   Energy production        investments
                                                                                The baselineandtax not
                                                       credit                     system would not allow
                                                                                  credits for particular
                                                                                  activities, investments,
       Department of the Treasury             TC.023   Energy investment          The baseline tax
                                                       credit                     system would not allow
                                                                                  credits for particular
       Department of the Treasury             TC.024   Advanced nuclear           activities,
                                                                                  The         investments,
                                                                                       baseline   tax
                                                       power production credit system would not allow
                                                                               credits or deductions for
       Department of the Treasury             TC.025   Zero-emission nuclear particular   activities,
                                                                               The baseline   tax
                                                       power production credit system would not allow
                                                                               credits or deductions for
                                                                               particular activities,
       Department of the Treasury             TC.026   Reduced tax rate for    The baseline tax
                                                       nuclear                 system would uniformly
                                                       decommissioning funds tax all returns to
       Department of the Treasury             TC.027   Alcohol fuel credits    investments
                                                                               The baselineandtax not
                                                                               system would not allow
                                                                               credits for particular
       Department of the Treasury             TC.028   Bio-Diesel and small    activities,
                                                                               The         investments,
                                                                                    baseline   tax
                                                       agri-biodiesel producer system would not allow
                                                       tax credits             credits for particular
       Department of the Treasury             TC.029   Clean fuel production   activities,
                                                                               The         investments,
                                                                                    baseline   tax
                                                       credit                     system would not allow
                                                                                  credits for particular
       Department of the Treasury             TC.030   Clean hydrogen             activities,
                                                                                  The baselineinvestments
                                                                                                  tax
                                                       production credit         system would not allow
                                                                                 credits for particular
                                                                                 activities, investments,
       Department of the Treasury             TC.031   Tax credit for clean      The baseline tax
                                                       vehicles                  system would not allow
                                                                                 credits for particular
       Department of the Treasury             TC.032   Tax credits for refueling activities,
                                                                                 The baselineinvestments,
                                                                                                 tax
                                                       property                  system would not allow
                                                                                 credits for particular
       Department of the Treasury             TC.033   Tax credits for clean-    activities,
                                                                                 The         investments,
                                                                                      baseline   tax
                                                       fuel burning vehicles   system would not allow
                                                       and refueling property  credits for particular
                                                                               activities, investments,
       Department of the Treasury             TC.034   Allowance of deduction The baseline tax
                                                       for certain energy      system would not allow
                                                       efficient commercial    deductions in lieu of
       Department of the Treasury             TC.035   building  property
                                                       Credit for construction normal   depreciation
                                                                               The baseline    tax
                                                       of new energy efficient system would not allow
                                                       homes                   credits for particular
                                                                               activities, investments,
       Department of the Treasury             TC.036   Credit for energy       The baseline tax
                                                       efficiency improvements system would not allow
                                                       to existing homes       credits for particular
       Department of the Treasury             TC.037   Credit for residential  activities,
                                                                               The baselineinvestments,
                                                                                               tax
                                                       energy efficient property system would uniformly




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                                                                                 tax all returns to
       Department of the Treasury             TC.038   Advanced energy           investments
                                                                                 The  baselineand
                                                                                                tax not
                                                       property credit            system would not allow
                                                                                  credits for particular
                                                                                  activities, investments,
       Department of the Treasury             TC.039   Advanced                   The baseline tax
                                                       manufacturing              system would not allow
                                                       production credit          credits for particular
       Department of the Treasury             TC.040   Expensing of               activities,
                                                                                  The baselineinvestments,
                                                                                                  tax
                                                       exploration and          system allows the
                                                       development costs,       taxpayer to deduct the
                                                       nonfuel minerals         depreciation of an asset
       Department of the Treasury             TC.041   Excess of percentage     The baseline tax
                                                       over cost depletion,     system allows the
                                                       nonfuel minerals         taxpayer to deduct the
       Department of the Treasury             TC.042   Exclusion of interest on decline
                                                                                The baseline    economic
                                                                                        in the tax
                                                       bonds for water,         system generally would
                                                       sewage, and hazardous tax all income under the
       Department of the Treasury             TC.043   waste facilities
                                                       Capital                  regular
                                                               gains treatment The      tax rate
                                                                                     baseline  tax
                                                       of certain timber income system generally would
                                                                                tax all income under the
                                                                                regular tax rate
       Department of the Treasury             TC.044   Expensing of             The baseline tax
                                                       multiperiod timber       system requires the
                                                       growing costs            taxpayer to capitalize
       Department of the Treasury             TC.045   Tax incentives for       costs  associated
                                                                                The baseline  tax with
                                                       preservation of historic   system would not allow
                                                       structures                 credits for particular
       Department of the Treasury             TC.046   Carbon oxide               activities,
                                                                                  The         investments,
                                                                                       baseline   tax
                                                       sequestration credit       system would uniformly
                                                                                  tax all returns to
                                                                                  investments and not
       Department of the Treasury             TC.047   Deduction for              The baseline tax
                                                       endangered species         system would not allow
                                                       recovery expenditures      deductions in addition
       Department of the Treasury             TC.048   Expensing of certain       to normal
                                                                                  The         depreciation
                                                                                       baseline  tax
                                                       capital outlays            system requires the
                                                                                  taxpayer to capitalize
                                                                                  costs associated with
       Department of the Treasury             TC.049   Expensing of certain       The baseline tax
                                                       multiperiod production     system requires the
                                                       costs                      taxpayer to capitalize
       Department of the Treasury             TC.050   Treatment of loans         costs associated
                                                                                  Because  loan     with
                                                       forgiven for solvent     forgiveness increases a
                                                       farmers                  debtors net worth the
       Department of the Treasury             TC.051                            baseline
                                                       Capital gains treatment The         tax system
                                                                                     baseline   tax
                                                       of certain agriculture   system generally would
                                                       income                   tax all income under the
                                                                                regular tax rate
       Department of the Treasury             TC.052   Income averaging for     The baseline tax
                                                       farmers                  system generally taxes
                                                                                all earned income each
       Department of the Treasury             TC.053   Deferral of gain on sale The   at the rate
                                                                                year baseline   tax
                                                       of farm refiners           system generally
                                                                                  subjects capital gains to
                                                                                  taxes the year that they
       Department of the Treasury             TC.054   Expensing of               The baseline tax
                                                       reforestation              system requires the
                                                       expenditures               taxpayer to capitalize
       Department of the Treasury             TC.055   Exemption of credit        costs
                                                                                  Underassociated   with
                                                                                         the baseline  tax
                                                       union income               system, corporations
                                                                                  pay taxes on their
       Department of the Treasury             TC.056   Exclusion of life                  under
                                                                                  profits the
                                                                                  Under         the regular
                                                                                              baseline tax
                                                       insurance death           system, individuals and
                                                       benefits                  corporations would pay
                                                                                 taxes on their income
       Department of the Treasury             TC.057   Exemption or special      The baseline tax
                                                       alternative tax for small system would require
                                                       property and casualty     corporations to pay
       Department of the Treasury             TC.058   insurance
                                                       Tax        companies
                                                            exemption   of       taxes
                                                                                 Underon thetheir
                                                                                              baseline
                                                                                                   profitstax
                                                       insurance income          system, corporations
                                                       earned by tax-exempt pay taxes on their
       Department of the Treasury             TC.059   organizations
                                                       Exclusion of interest     profits under the
                                                                                 The baseline     tax regular
                                                       spread of financial        system generally would
                                                       institutions               tax all income under the
       Department of the Treasury             TC.060   Exclusion of interest on   regular   tax rate
                                                                                  The baseline    tax
                                                       owner-occupied             system generally would
                                                       mortgage subsidy           tax all income under the
       Department of the Treasury             TC.061   bonds
                                                       Exclusion of interest on   regular
                                                                                  The       tax rate
                                                                                       baseline   tax
                                                       rental housing bonds       system generally would
                                                                                  tax all income under the
                                                                                  regular tax rate




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       Department of the Treasury             TC.062   Deductibility of       Under the baseline tax
                                                       mortgage interest on   system, expenses
                                                       owner-occupied homes incurred in earning
       Department of the Treasury             TC.063   Deductibility of State        would
                                                                              incomethe
                                                                              Under     baseline
                                                                                           be tax
                                                       and local property tax  system, expenses
                                                       on owner-occupied       incurred in earning
       Department of the Treasury             TC.064   homes
                                                       Deferral of income from income
                                                                               The baseline   be
                                                                                       wouldtax
                                                       installment sales       system generally would
                                                                               tax all income under the
                                                                               regular tax rate
       Department of the Treasury             TC.065   Capital gains exclusion The baseline tax
                                                       on home sales           system would not allow
                                                                               deductions and
       Department of the Treasury             TC.066   Exclusion of net        exemptions
                                                                               Under         for certain
                                                                                        the baseline tax
                                                       imputed rental income     system, the taxable
                                                                                 income of a taxpayer
       Department of the Treasury             TC.067   Exception from passive who      is an owner-
                                                                                 The baseline   tax
                                                       loss rules for $25,000 of system accepts current
                                                       rental loss               lawâ€™s general rule
                                                                                 limiting taxpayersâ€™
       Department of the Treasury             TC.068   Credit for low-income     The baseline tax
                                                       housing investments       system would uniformly
                                                                                 tax all returns to
       Department of the Treasury             TC.069   Accelerated               investments   and not
                                                                                 Under a comprehensive
                                                       depreciation on rentaleconomic income tax,
                                                       housing (normal tax   the costs of acquiring a
                                                       method)               building are capitalized
       Department of the Treasury             TC.070   Discharge of mortgage Under the baseline tax
                                                       indebtedness          system, all income
                                                                             would generally be
       Department of the Treasury             TC.071                         taxed under
                                                       Premiums for mortgage Under         the regular
                                                                                    the baseline  tax
                                                       insurance deductible as system, expenses
                                                       interest                incurred in earning
       Department of the Treasury             TC.072   Discharge of business income    would
                                                                               Under the  baseline
                                                                                              be tax
                                                       indebtedness                 system, all income
                                                                                    would generally be
                                                                                    taxed under the regular
       Department of the Treasury             TC.073   Exceptions from              Under the baseline tax
                                                       imputed interest rules       system, holders
                                                                                    (issuers) of debt
       Department of the Treasury             TC.074   Treatment of qualified       instruments
                                                                                    The baselineare
                                                                                                  tax
                                                       dividends                 system generally would
                                                                                 tax all income under the
                                                                                 regular tax rate
       Department of the Treasury             TC.075   Capital gains (except     The baseline tax
                                                       agriculture, timber, iron system generally would
                                                       ore, and coal)            tax all income under the
       Department of the Treasury             TC.076                             regular
                                                       Capital gains exclusion The         tax rate
                                                                                      baseline   tax
                                                       of small corporation     system would not allow
                                                       stock                    deductions and
       Department of the Treasury             TC.077   Step-up basis of capital exemptions   or provide
                                                                                Under the baseline   tax
                                                       gains at death           system, unrealized
                                                                                capital gains would be
                                                                                taxed when assets are
       Department of the Treasury             TC.078   Carryover basis of       Under the baseline tax
                                                       capital gains on gifts   system, unrealized
                                                                                capital gains would be
       Department of the Treasury             TC.079   Ordinary income          taxed when assets
                                                                                The baseline  tax are
                                                       treatment of loss from system limits to $3,000
                                                       small business            the write-off of losses
       Department of the Treasury             TC.080   corporation
                                                       Deferral     stock sale
                                                                of capital gains The  capital assets,
                                                                                 frombaseline   tax    with
                                                       from like-kind               system generally would
                                                       exchanges                    tax all income under the
       Department of the Treasury             TC.081   Depreciation of              regularatax
                                                                                    Under       rate
                                                                                              comprehensive
                                                       buildings other than         economic income tax,
                                                       rental housing (normal       the costs of acquiring a
       Department of the Treasury             TC.082   tax method)
                                                       Accelerated                  building
                                                                                    Under a are  capitalized
                                                                                             comprehensive
                                                       depreciation of           economic income tax,
                                                       machinery and             the costs of acquiring
                                                       equipment (normal tax     machinery and
       Department of the Treasury             TC.083   Expensing of certain      Under the reference tax
                                                       small investments         law baseline, the costs
                                                       (normal tax method)       of acquiring tangible
       Department of the Treasury             TC.084   Exclusion of interest on property
                                                                                 The baselineand computer
                                                                                                 tax
                                                       small issue bonds         system generally would
                                                                                 tax all income under the
       Department of the Treasury             TC.085                             regular
                                                       Special rules for certain The       tax rate
                                                                                      baseline   tax
                                                       film and TV production       system generally would
                                                                                    tax all income under the
                                                                                    regular tax rate
       Department of the Treasury             TC.086   Allow 20-percent             The baseline tax
                                                       deduction to certain         system generally would
                                                       pass-through income          tax all income under the
       Department of the Treasury             TC.087   Advanced                     regular   tax rate
                                                                                    The baseline    tax
                                                       manufacturing                system would not allow
                                                       investment credit            credits for particular
                                                                                    activities, investments,
       Department of the Treasury             TC.088   Tonnage tax                  The baseline tax
                                                                                    system generally would
                                                                                    tax all profits and
       Department of the Treasury             TC.089   Deferral of tax on           income
                                                                                    The baseline
                                                                                             undertaxthe
                                                       shipping companies           system generally would




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                                                                                    tax all profits and
       Department of the Treasury             TC.090   Exclusion of reimbursed Under  under
                                                                               incomethe  baseline
                                                                                              the tax
                                                       employee parking        system, all
                                                       expenses                compensation, including
                                                                               dedicated payments
       Department of the Treasury             TC.091   Exclusion for employer- Under the baseline tax
                                                       provided transit passes system, all
                                                                               compensation, including
       Department of the Treasury             TC.092   Tax credit for certain  dedicated  payments
                                                                               The baseline  tax
                                                       expenditures for             system would not allow
                                                       maintaining railroad         credits for particular
                                                       tracks                       activities, investments,
       Department of the Treasury             TC.093   Exclusion of interest on     The baseline tax
                                                       bonds for Highway            system generally would
                                                       Projects and rail-truck      tax all income under the
       Department of the Treasury             TC.094   transfer
                                                       Exclusionfacilities
                                                                  of interest for   regular   tax rate
                                                                                    The baseline    tax
                                                       airport, dock, and           system generally would
                                                       similar bonds                tax all income under the
       Department of the Treasury             TC.095   Exemption of certain         regularthe
                                                                                    Under         rate
                                                                                              taxbaseline tax
                                                       mutuals' and              system, corporations
                                                       cooperatives' income      pay taxes on their
                                                                                 profits under the regular
       Department of the Treasury             TC.096   Empowerment zones         The baseline tax
                                                                                 system generally would
                                                                                 tax all income under the
       Department of the Treasury             TC.097   New markets tax credit regular      tax rate
                                                                                 The baseline    tax
                                                                                 system would not allow
                                                                                 credits for particular
       Department of the Treasury             TC.098                             activities,
                                                       Credit to holders of Gulf The         investments,
                                                                                      baseline   tax
                                                       and Midwest Tax Credit system would not allow
                                                       Bonds .                credits for particular
                                                                              activities, investments,
       Department of the Treasury             TC.099   Recovery Zone Bonds The baseline tax
                                                                              system would not allow
                                                                              credits for particular
       Department of the Treasury             TC.100   Tribal Economic        activities,
                                                                              The         investments,
                                                                                   baseline   tax
                                                       Development Bonds            system generally would
                                                                                    tax all income under the
                                                                                    regular tax rate
       Department of the Treasury             TC.101   Opportunity Zones            The baseline tax
                                                                                    system generally would
                                                                                    tax all income under the
       Department of the Treasury             TC.102   Disaster employee            regular   tax rate
                                                                                    The baseline    tax
                                                       retention credit             system would not allow
                                                                                    credits for particular
       Department of the Treasury             TC.103                             activities, investments,
                                                       Exclusion of scholarship Scholarships     and
                                                       and fellowship income fellowships are
                                                       (normal tax method)       excluded from taxable
                                                                                 income to the extent
       Department of the Treasury             TC.104   Tax credits for post-     The baseline tax
                                                       secondary education       system would not allow
                                                       expenses                  credits for particular
       Department of the Treasury             TC.105                             activities,
                                                       Deductibility of student- The         investments,
                                                                                      baseline   tax
                                                       loan interest            system accepts current
                                                                                lawâ€™s general rule
                                                                                limiting taxpayersâ€™
       Department of the Treasury             TC.106   Qualified tuition        The baseline tax
                                                       programs (includes       system generally would
                                                       Education IRA)           tax all income under the
       Department of the Treasury             TC.107   Exclusion of interest on regular   tax rate
                                                                                The baseline    tax
                                                       student-loan bonds       system generally would
                                                                                tax all income under the
       Department of the Treasury             TC.108                            regular
                                                       Exclusion of interest on The       tax rate
                                                                                      baseline  tax
                                                       bonds for private        system generally would
                                                       nonprofit educational    tax all income under the
                                                       facilities               regular tax rate
       Department of the Treasury             TC.109   Credit for holders of    The baseline tax
                                                       zone academy bonds       system would not allow
                                                                                credits for particular
       Department of the Treasury             TC.110                            activities,
                                                       Exclusion of interest on The         investments,
                                                                                     baseline   tax
                                                       savings bonds            system generally would
                                                       redeemed to finance      tax all income under the
       Department of the Treasury             TC.111   educational expenses
                                                       Parental personal        regular
                                                                                Under the     rate
                                                                                          taxbaseline tax
                                                       exemption for students system, a personal
                                                       age 19 or over         exemption would be
       Department of the Treasury             TC.112   Deductibility of       allowed
                                                                              The baseline
                                                                                      for thetax
                                                       charitable contributions system would not allow
                                                       to educational           a deduction for personal
       Department of the Treasury             TC.113   institutions
                                                       Exclusion of employer- expenditures.   In
                                                                                Under the baseline  tax
                                                       provided educational     system, all
                                                       assistance               compensation, including
                                                                                dedicated payments




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       Department of the Treasury             TC.114   Special deduction for      The baseline tax
                                                       teacher expenses           system would not allow
                                                                                  a deduction for personal
       Department of the Treasury             TC.115   Discharge of student       expenditures.
                                                                                  Under         In
                                                                                        the baseline  tax
                                                       loan indebtedness          system, all
                                                                                  compensation, including
       Department of the Treasury             TC.116   Qualified school           dedicated  payments
                                                                                  The baseline  tax
                                                       construction bonds      system would not allow
                                                                               credits for particular
                                                                               activities, investments,
       Department of the Treasury             TC.117   Work opportunity tax    The baseline tax
                                                       credit                  system would not allow
                                                                               credits for particular
       Department of the Treasury             TC.118                           activities,
                                                       Employer provided child Under   theinvestments,
                                                                                            baseline tax
                                                       care exclusion          system, all
                                                                               compensation, including
       Department of the Treasury             TC.119   Employer-provided child dedicated
                                                                               The baseline payments
                                                                                               tax
                                                       care credit             system would not allow
                                                                               credits for particular
                                                                               activities, investments,
       Department of the Treasury             TC.120   Assistance for adopted Under the baseline tax
                                                       foster children         system, all
                                                                               compensation, including
       Department of the Treasury             TC.121   Adoption credit and     dedicated
                                                                               The baseline payments
                                                                                               tax
                                                       exclusion                  system would not allow
                                                                                  credits for particular
                                                                                  activities. In contrast,
       Department of the Treasury             TC.122   Exclusion of employee      Under the baseline tax
                                                       meals and lodging          system, all
                                                       (other than military)      compensation, including
       Department of the Treasury             TC.123   Credit for child and       dedicated
                                                                                  The  baselinepayments
                                                                                                  tax
                                                       dependent care             system would not allow
                                                       expenses                   credits for particular
       Department of the Treasury             TC.124   Credit for disabled        activities or targeted
                                                                                  The baseline    tax    at
                                                       access expenditures       system would not allow
                                                                                 credits for particular
                                                                                 activities, investments,
       Department of the Treasury             TC.125   Deductibility of          The baseline tax
                                                       charitable contributions, system would not allow
                                                       other than education      a deduction for personal
       Department of the Treasury             TC.126   and health
                                                       Exclusion of certain      expenditures
                                                                                 The baseline including
                                                                                                 tax
                                                       foster care payments   system generally would
                                                                              tax all income under the
                                                                              regular tax rate
       Department of the Treasury             TC.127   Exclusion of parsonage Under the baseline tax
                                                       allowances             system, all
                                                                              compensation, including
       Department of the Treasury             TC.128   Indian employment      dedicated
                                                                              The         payments
                                                                                   baseline  tax
                                                       credit                  system would not allow
                                                                               credits for particular
       Department of the Treasury             TC.129   Employer-provided paid activities,
                                                                               The baselineinvestments,
                                                                                               tax
                                                       family and medical      system would not allow
                                                       leave credit            credits for particular
                                                                               activities, investments,
       Department of the Treasury             TC.130   Exclusion of employer Under the baseline tax
                                                       contributions for       system, all
                                                       medical insurance       compensation, including
       Department of the Treasury             TC.131   premiums   and medical
                                                       Self-employed   medical dedicated
                                                                               Under the payments
                                                                                            baseline tax
                                                       insurance premiums         system, all
                                                                                  compensation and
       Department of the Treasury             TC.132   Medical Savings            remuneration,
                                                                                  Under         including
                                                                                        the baseline tax
                                                       Accounts / Health        system, all
                                                       Savings Accounts         compensation, including
       Department of the Treasury             TC.133                            dedicated
                                                       Deductibility of medical The        payments
                                                                                    baseline  tax
                                                       expenses                 system would not allow
                                                                                a deduction for personal
       Department of the Treasury             TC.134   Exclusion of interest on expenditures.  In
                                                                                The baseline tax
                                                       hospital construction      system generally would
                                                       bonds                      tax all income under the
                                                                                  regular tax rate
       Department of the Treasury             TC.135   Refundable Premium         The baseline tax
                                                       Assistance Tax Credit      system would not allow
                                                                                  credits for particular
       Department of the Treasury             TC.136   Credit for employee        activities or targeted
                                                                                  The baseline    tax    at
                                                       health insurance           system would not allow
                                                       expenses of small          credits for particular
       Department of the Treasury             TC.137   business
                                                       Deductibility of         activities or targeted
                                                                                The baseline    tax    at
                                                       charitable contributions system would not allow
                                                       to health institutions   a deduction for personal
                                                                                expenditures including
       Department of the Treasury             TC.138   Tax credit for orphan    The baseline tax
                                                       drug research            system would not allow
                                                                                credits for particular
       Department of the Treasury             TC.139   Special Blue Cross/Blue activities,
                                                                                The baselineinvestments,
                                                                                                tax
                                                       Shield tax benefits        system generally would
                                                                                  tax all profits under the
                                                                                  regular tax rate
       Department of the Treasury             TC.140   Distributions from         Under the baseline tax
                                                       retirement plans for       system, all
                                                       premiums for health        compensation, including
       Department of the Treasury             TC.141   and  long-term
                                                       Credit          care
                                                              for family and      dedicated
                                                                                  The baseline     deferred
                                                                                              andtax
                                                       sick leave taken by self- system would not allow




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                                                       employed individuals      credits for particular
       Department of the Treasury             TC.142   Child credit              activities
                                                                                 The        or targeted
                                                                                      baseline   tax    as
                                                                                  system would not allow
                                                                                  credits for particular
                                                                                  activities or targeted at
       Department of the Treasury             TC.143   Other Dependent Tax        The baseline tax
                                                       Credit                     system would not allow
                                                                                  credits for particular
       Department of the Treasury             TC.144   Exclusion of railroad      activities
                                                                                  Under theorbaseline    at
                                                                                                targetedtax
                                                       retirement (Social         system, all
                                                       Security equivalent)       compensation, including
                                                       benefits                   dedicated and deferred
       Department of the Treasury             TC.145   Exclusion of workers'      Under the baseline tax
                                                       compensation benefits      system, all
                                                                                  compensation, including
       Department of the Treasury             TC.146   Exclusion of public        dedicated
                                                                                  Under the payments
                                                                                             reference tax
                                                       assistance benefits        law baseline, gifts and
                                                       (normal tax method)        transfers are not treated
       Department of the Treasury             TC.147   Exclusion of special       as income
                                                                                  Under  the baseline
                                                                                             to the tax
                                                       benefits for disabled      system, all
                                                       coal miners                compensation, including
                                                                                  dedicated payments
       Department of the Treasury             TC.148   Exclusion of military      Under the baseline tax
                                                       disability pensions        system, all
                                                                                  compensation, including
       Department of the Treasury             TC.149   Net exclusion of           dedicated
                                                                                  Under the payments
                                                                                             baseline tax
                                                       pension contributions      system, all
                                                       and earnings: Defined      compensation, including
       Department of the Treasury             TC.150   benefit
                                                       Net     employer
                                                           exclusion of plans   deferred
                                                                                Under theand dedicated
                                                                                           baseline tax
                                                       pension contributions    system, all
                                                       and earnings: Defined compensation, including
                                                       contribution employer    deferred and dedicated
       Department of the Treasury             TC.151   Net exclusion of         Under the baseline tax
                                                       pension contributions    system, all
                                                       and earnings: Individual compensation, including
       Department of the Treasury             TC.152   Retirement
                                                       Net         Accounts
                                                           exclusion of         deferred
                                                                                The      and dedicated
                                                                                    baseline tax
                                                       pension contributions  system would not allow
                                                       and earnings: Low and credits for particular
                                                       moderate income        activities or targeted at
       Department of the Treasury             TC.153   Net exclusion of       Under the baseline tax
                                                       pension contributions  system, all
                                                       and earnings: Self-    compensation, including
       Department of the Treasury             TC.154   Employed  plans
                                                       Small employer pension deferred   and dedicated
                                                                              The baseline    tax
                                                       plan startup credit        system would not allow
                                                                                  credits for particular
       Department of the Treasury             TC.155   Exclusion of other         activities
                                                                                  Under   theorbaseline  at
                                                                                                targetedtax
                                                       employee benefits:         system, all
                                                       Premiums on group          compensation, including
                                                       term life insurance        deferred and dedicated
       Department of the Treasury             TC.156   Exclusion of other         Under the baseline tax
                                                       employee benefits:         system, all
                                                       Premiums on accident       compensation, including
       Department of the Treasury             TC.157   and disability
                                                       Income         insurance
                                                                of trusts to      dedicated
                                                                                  Under  the payments
                                                                                             baseline tax
                                                       finance supplementary system, all
                                                       unemployment benefits compensation, including
                                                                             dedicated payments
       Department of the Treasury             TC.158   Income of trusts to   Under the baseline tax
                                                       finance voluntary     system, all
                                                       employee benefits     compensation, including
       Department of the Treasury             TC.159   associations
                                                       Special Employee      dedicated
                                                                             Under the payments
                                                                                        baseline tax
                                                       Stock Ownership Plan       system, all
                                                       (ESOP) rules               compensation, including
       Department of the Treasury             TC.160                             dedicated
                                                       Additional deduction for Under   the payments
                                                                                            baseline tax
                                                       the blind                 system, the standard
                                                                                 deduction is allowed. An
                                                                                 additional standard
       Department of the Treasury             TC.161   Additional deduction for Under the baseline tax
                                                       the elderly               system, the standard
                                                                                 deduction is allowed. An
       Department of the Treasury             TC.162                             additional
                                                       Deductibility of casualty Under  the standard
                                                                                            baseline tax
                                                       losses                     system, neither the
                                                                                  purchase of property
       Department of the Treasury             TC.163   Earned income tax          nor
                                                                                  Theinsurance  premiums
                                                                                      baseline tax
                                                       credit                  system would not allow
                                                                               credits for particular
       Department of the Treasury             TC.164   Recovery rebate credits activities or targeted
                                                                               The baseline    tax    at
                                                                               system would not allow
                                                                               credits for particular
       Department of the Treasury             TC.165   Exclusion of social     activities
                                                                               The        or targeted
                                                                                    baseline   tax    at
                                                       security benefits: Social system would tax Social
                                                       Security benefits for     Security benefits to the
                                                       retired and disabled      extent that contributions




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       Department of the Treasury               TC.166   Exclusion of social       Under the baseline tax
                                                         security benefits: Credit system, employer
                                                         for certain employer      contributions to Social
       Department of the Treasury               TC.167   contributions
                                                         Exclusion  of veterans    Security
                                                                        to social Under     represent
                                                                                          the baselinelabor
                                                                                                       tax
                                                         death benefits and      system, all
                                                         disability compensation compensation, including
       Department of the Treasury               TC.168   Exclusion of veterans   dedicated
                                                                                 Under the payments
                                                                                            baseline tax
                                                         pensions                 system, all
                                                                                  compensation, including
                                                                                  dedicated payments
       Department of the Treasury               TC.169   Exclusion of GI bill     Under the baseline tax
                                                         benefits                 system, all
                                                                                  compensation, including
       Department of the Treasury               TC.170                            dedicated
                                                         Exclusion of interest on The  baselinepayments
                                                                                                  tax
                                                         veterans housing bonds system generally would
                                                                                  tax all income under the
       Department of the Treasury               TC.171   Exclusion of interest on regular   tax rate
                                                                                  The baseline    tax
                                                         public purpose State      system generally would
                                                         and local bonds           tax all income under the
                                                                                   regular tax rate
       Department of the Treasury               TC.172   Build America Bonds       The baseline tax
                                                                                   system would not allow
                                                                                   credits for particular
       Department of the Treasury               TC.173   Deductibility of          activities
                                                                                   Under theorbaseline
                                                                                                targetingtax
                                                         nonbusiness State and     system, a deduction for
                                                         local taxes other than    personal consumption
                                                         on owner-occupied         expenditures would not
       Department of the Treasury               TC.174   Deferral of interest on   The baseline tax
                                                         U.S. savings bonds        system would uniformly
                                                                                   tax all returns to
       Department of Transportation             20.106   Airport Improvement       investments
                                                                                   The  Federal and   not
                                                                                                 Aviation        https:/ https:/
                                                         Program, Infrastructure Administration (FAA)            /       /
                                                         Investment and Jobs       has several strategic         sam.g www.
       Department of Transportation             20.108   Act Programs,
                                                         Aviation        and
                                                                   Research        goals: Safety, People,
                                                                                   To encourage   and            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Grants                    support innovative,           /       /
                                                                                   advanced, and applied         sam.g www.
                                                                                   research and                  ov/fal/ usasp
       Department of Transportation             20.109   Air Transportation        Conduct long term             https:/ https:/
                                                         Centers of Excellence research in critical and          /       /
                                                                                   specific areas of             sam.g www.
       Department of Transportation             20.111   Aircraft Pilots Workforce aviation
                                                                                   The goalrelated
                                                                                             of the Aircraft     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Development Grant         Pilots Workforce              /       /
                                                         Program                   Development Program           sam.g www.
                                                                                   is to support the             ov/fal/ usasp
       Department of Transportation             20.112   Aviation Maintenance      The goal of the Aviation      https:/ https:/
                                                         Technical Workforce       Maintenance Technical         /       /
                                                         Grant Program             Workforce Grant               sam.g www.
       Department of Transportation             20.115   Fueling Aviationâ€™s      Program
                                                                                   The       is to support
                                                                                         objective is to                 usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Sustainable Transition make investments            /       /
                                                         via Sustainable Aviation through a new FAST        sam.g www.
       Department of Transportation             20.200   Fuels (FAST-SAF)
                                                         Highway  Researchandand Grant
                                                                                  The objective
                                                                                        Programistoto carry ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                         Development Program out the highway                /       /
                                                                                  research and              sam.g www.
                                                                                  development program       ov/fal/ usasp
       Department of Transportation             20.205   Highway Planning and This Assistance Listing https:/ https:/
                                                         Construction             encompasses several       /       /
                                                                                  transportation            sam.g www.
       Department of Transportation             20.215   Highway Training and programs:
                                                                                  This Assistance Listing ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                         Education                 encompasses several           /       /
                                                                                   transportation training       sam.g www.
       Department of Transportation             20.218   Motor Carrier Safety      and education
                                                                                   The  Motor Carrier                    usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Assistance                Safety Assistance             /       /
                                                                                   Program (MCSAP) is a          sam.g www.
       Department of Transportation             20.219   Recreational Trails       Federal
                                                                                   The     formula
                                                                                       purpose      grant
                                                                                                of this                  usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Program                   program is to provide         /       /
                                                                                   funds to the States to        sam.g www.
       Department of Transportation             20.223   Transportation            develop  and
                                                                                   To finance   maintain
                                                                                              projects of        ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Infrastructure Finance    national or regional          /       /
                                                         and Innovation Act        significance by filling       sam.g www.
                                                         (TIFIA) Program           market gaps and               ov/fal/ usasp
       Department of Transportation             20.224   Federal Lands Access      The goal of the Federal       https:/ https:/
                                                         Program                   Lands Access Program          /       /
                                                                                   is to improve                 sam.g www.
       Department of Transportation             20.231   Performance and           transportation facilities
                                                                                   This program links            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Registration Information Federal Motor Carrier          /       /
                                                         Systems Management Safety information                   sam.g www.
       Department of Transportation             20.232   Commercial Driver's      systems
                                                                                  Assist   with State
                                                                                         States in                       usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         License Program           complying with CDL            /       /
                                                         Implementation Grant      requirements and              sam.g www.
                                                                                   dedicate funding to           ov/fal/ usasp
       Department of Transportation             20.233   Border Enforcement        The Federal Motor             https:/ https:/
                                                         Grants                    Carrier Safety                /       /
                                                                                   Administrationâ€™s            sam.g www.
       Department of Transportation             20.234   Safety Data               objective is to ensure
                                                                                    050 Objectives:              ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Improvement Program                                     /       /
                                                                                 The Federal Motor               sam.g www.
                                                                                 Carrier Safety                  ov/fal/ usasp
       Department of Transportation             20.235   Commercial Motor        Expand the number of            https:/ https:/
                                                         Vehicle Operator Safety commercial driverâ€™s           /       /
                                                         Training Grants         license (CDL) holders           sam.g www.
       Department of Transportation             20.237   Motor Carrier Safety    possessing  enhanced
                                                                                 Support, enrich, and            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Assistance High Priority augment Commercial             /       /




A161
                                                         Activities Grants and    Motor Vehicle (CMV)            sam.g www.
       Department of Transportation             20.240   Cooperative
                                                         Fuel Tax Evasion-        safety
                                                                                  The    programs
                                                                                      purpose  of this                   usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Intergovernmental         program is to increase        /       /
                                                         Enforcement Effort        intergovernmental             sam.g www.
                                                                                   activities and                ov/fal/ usasp
       Department of Transportation             20.243   Commercial Motor          The objective of the HP-      https:/ https:/
                                                         Vehicle Enforcement       ETS grant program is to       /       /
                                                         Training and Support      train non-federal             sam.g www.
       Department of Transportation             20.301   Railroad Safety           employees
                                                                                   To improve who     conduct
                                                                                                railroad         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                               safety and reduce                 /       /
                                                                               railroad-related                  sam.g www.
                                                                               casualties and                    ov/fal/ usasp
       Department of Transportation             20.313   Railroad Research and To foster long-range              https:/ https:/
                                                         Development           enhancement of the                /       /
                                                                               Federal Railroad                  sam.g www.
       Department of Transportation             20.314   Railroad Development Administration's
                                                                               To provide financial              ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                                 assistance for: planning        /       /
                                                                                 and developing railroad         sam.g www.
       Department of Transportation             20.315   National Railroad       corridors
                                                                                 To provide(including
                                                                                             financial                   usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Passenger Corporation assistance to support             /       /
                                                         Grants                  the operation of and            sam.g www.
                                                                                 capital investment in           ov/fal/ usasp
       Department of Transportation             20.316   Railroad Rehabilitation The Railroad                    https:/ https:/
                                                         and Improvement         Rehabilitation and              /       /
                                                         Financing Program       Improvement Financing           sam.g www.
       Department of Transportation             20.317   Capital Assistance to   (RRIF)  program
                                                                                 To provide  financial           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         States - Intercity     assistance to fund               /       /
                                                         Passenger Rail Service capital improvements             sam.g www.
       Department of Transportation             20.318   Maglev Project         (and
                                                                                To provide    planning
                                                                                     relatedfinancial                    usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Selection Program -     assistance for a                /       /
                                                         SAFETEA-LU              demonstration magnetic          sam.g www.
                                                                                 levitation transportation       ov/fal/ usasp
       Department of Transportation             20.319   High-Speed Rail         To assist in financing          https:/ https:/
                                                         Corridors and Intercity the capital costs of            /       /
                                                         Passenger Rail Service facilities, infrastructure,      sam.g www.
       Department of Transportation             20.320   â€“ Capital
                                                         Rail Line Relocation
                                                                     Assistance To     equipment
                                                                                 andprovide   financial                  usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         and Improvement         assistance for rail line        /       /
                                                                                 relocation and                  sam.g www.
                                                                                 improvement projects.           ov/fal/ usasp
       Department of Transportation             20.321   Railroad Safety         To facilitate the               https:/ https:/
                                                         Technology Grants       deployment of train             /       /
                                                                                 control technologies,           sam.g www.
       Department of Transportation             20.323   Fiscal Year 2013        train control component
                                                                                 To provide                      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Hurricane Sandy         supplemental                    /       /
                                                         Disaster Relief Grants assistance to the                sam.g www.
       Department of Transportation             20.324   to the National
                                                         Restoration             National
                                                                     andRailroad This     Railroad
                                                                                      program  provides                  usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Enhancement               operating assistance          /       /
                                                                                   grants for initiating,        sam.g www.
                                                                                   restoring, or enhancing       ov/fal/ usasp
       Department of Transportation             20.325   Consolidated Rail         To fund projects that         https:/ https:/
                                                         Infrastructure and        improve the safety,           /       /
                                                         Safety Improvements       efficiency, and/or            sam.g www.
       Department of Transportation             20.326   Federal-State             reliability
                                                                                   To          of intercity
                                                                                       fund capital   projects           usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Partnership for Intercity that repair, replace, or      /       /
                                                         Passenger Rail            rehabilitate publicly-        sam.g www.
                                                                                   owned or controlled           ov/fal/ usasp
       Department of Transportation             20.327   Railroad Crossing         The goals of the              https:/ https:/
                                                         Elimination               Program are (1) to            /       /
                                                                                   eliminate highway-rail        sam.g www.
       Department of Transportation             20.328   Interstate Rail           grade  crossings
                                                                                   The purpose    of the   are
                                                                                                      thatIRC    ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                         Compacts                  program is to provide a       /       /
                                                                                   Federal funding               sam.g www.
       Department of Transportation             20.500   Federal Transit Capital   opportunity
                                                                                   The Capital to entities
                                                                                                Investment               usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Investment Grants       Grant Program is the            /       /
                                                                                 Federal                         sam.g www.
                                                                                 Governmentâ€™s                  ov/fal/ usasp
       Department of Transportation             20.505   Metropolitan            The purpose of the              https:/ https:/
                                                         Transportation Planning Metropolitan                    /       /
                                                         and State and Non-      Transportation Planning         sam.g www.
       Department of Transportation             20.507   Metropolitan
                                                         Federal      Planning
                                                                 Transit         and State
                                                                         Formula The       and Non-
                                                                                     Urbanized  Area                     usasp
                                                                                                                 ov/fal/ https:/
                                                                                                                 https:/
                                                         Grants                    Formula Funding               /     /
                                                                                   Program (49 U.S.C.            sam.g www.
       Department of Transportation             20.509   Formula Grants for        5307) makes
                                                                                   Pursuant to 49federal
                                                                                                   U.S.C. ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                         Rural Areas and Tribal  5311, FTA apportions or /        /
                                                         Transit Program         awards funds for         sam.g www.
       Department of Transportation             20.513   Enhanced Mobility of    planning,
                                                                                 To providepublic
                                                                                             financial    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                         Seniors and Individuals assistance in meeting    /       /
                                                         with Disabilities       the transportation       sam.g www.
       Department of Transportation             20.516   Job Access and          needs
                                                                                 This    of seniors
                                                                                       program      and
                                                                                                continues         usasp
                                                                                                          ov/fal/ https:/
                                                                                                          https:/
                                                         Reverse Commute         to be repealed. On       /       /
                                                         Program                 October 1, 2013, the     sam.g www.
                                                                                 Job Access and           ov/fal/ usasp




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       Department of Transportation             20.519   Clean Fuels               To assist in financing       https:/ https:/
                                                                                   the acquisition of clean     /       /
                                                                                   fuel vehicles and            sam.g www.
       Department of Transportation             20.520   Paul S. Sarbanes          related
                                                                                   The     facilities
                                                                                        Paul          for
                                                                                              S. Sarbanes               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Transit in the Parks    Transit in Parks               /       /
                                                                                 Program was                    sam.g www.
       Department of Transportation             20.521   New Freedom Program established      to address
                                                                                 The New Freedom                ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                                                 program (Section 5317)         /       /
                                                                                 provided grants for new        sam.g www.
                                                                                 capital and operating          ov/fal/ usasp
       Department of Transportation             20.524   Passenger Rail          To assist in financing         https:/ https:/
                                                         Investment and          part of the capital and        /       /
                                                         Improvement (PRIIA)     preventive maintenance         sam.g www.
       Department of Transportation             20.525   Projects
                                                         State    for Washington
                                                               of Good Repair    projects
                                                                                 The      included
                                                                                      State of Goodin the               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Grants Program            Repair Program (49         /       /
                                                                                   U.S.C. 5337) provides      sam.g www.
       Department of Transportation             20.526   Buses and Bus             formula
                                                                                   Providesfunding
                                                                                             capital to
                                                                                                      funding ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                         Facilities Formula,       to replace, rehabilitate, /        /
                                                         Competitive, and Low      purchase, or lease         sam.g www.
                                                         or No Emissions           buses and bus related      ov/fal/ usasp
       Department of Transportation             20.527   Public Transportation     The Emergency Relief       https:/ https:/
                                                         Emergency Relief          Program is intended to /           /
                                                         Program                   provide operating          sam.g www.
       Department of Transportation             20.528   Rail Fixed Guideway       assistance
                                                                                   To improve and   capital
                                                                                                public        ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                         Public Transportation     transportation safety by     /       /
                                                         System State Safety       assisting States with the    sam.g www.
                                                         Oversight Formula         financing of safety          ov/fal/ usasp
       Department of Transportation             20.529   Bus Testing               The purpose of the           https:/ https:/
                                                                                   program is to provide        /       /
                                                                                   assistance for testing       sam.g www.
       Department of Transportation             20.530   Public Transportation     new goals
                                                                                   The          bus models
                                                                                        transitand                      usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Innovation                 objectives of Public       /       /
                                                                                    Transportation             sam.g www.
       Department of Transportation             20.531   Technical Assistance       Innovation
                                                                                    The goals andprojects vary ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                         and Workforce              objectives for Technical /         /
                                                         Development                Assistance and             sam.g www.
                                                                                    Workforce Development ov/fal/ usasp
       Department of Transportation             20.532   Passenger Ferry Grant The Passenger Ferry             https:/ https:/
                                                         Program, Electric or       Grant Program provides /           /
                                                         Low-Emitting Ferry Pilot funding for passenger        sam.g www.
       Department of Transportation             20.533   Program,   and
                                                         All Stations   Ferry
                                                                      Accessibility ferries through
                                                                                    To assist         a
                                                                                               in financing    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                         Program                   capital and planning         /       /
                                                                                   projects to upgrade the      sam.g www.
                                                                                   accessibility of legacy      ov/fal/ usasp
       Department of Transportation             20.534   Community Project         Community Project            https:/ https:/
                                                         Funding                   Funding is made              /       /
                                                         Congressionally           available in amounts         sam.g www.
       Department of Transportation             20.600   Directed
                                                         State andSpending
                                                                   Community       specified
                                                                                   The  Stateby
                                                                                              andCongress               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Highway Safety           Community Highway             /       /
                                                                                  Safety funding program        sam.g www.
       Department of Transportation             20.606   National Driver Register is
                                                                                  Theadministered by the
                                                                                       NDR maintains   the      ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                                                  computerized database         /       /
                                                                                  known as the Problem          sam.g www.
                                                                                  Driver Pointer System         ov/fal/ usasp
       Department of Transportation             20.607   Alcohol Open Container To encourage States to          https:/ https:/
                                                         Requirements             enact and enforce a           /       /
                                                                                  compliant alcohol open        sam.g www.
       Department of Transportation             20.608   Minimum Penalties for container
                                                                                  To encourage
                                                                                            law. States
                                                                                                 Under to       ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Repeat Offenders for      enact and enforce            /     /
                                                         Driving While             Repeat Intoxicated           sam.g www.
       Department of Transportation             20.611   Intoxicated
                                                         Incentive Grant           Offender laws.
                                                                                   Encourage      Under
                                                                                              States to      ov/fal/ usasp
                                                                                                             https:/ https:/
                                                         Program to Prohibit      enact and enforce laws /           /
                                                         Racial Profiling         and programs that          sam.g www.
       Department of Transportation             20.614   National Highway         prohibit the
                                                                                  Provide  technical  racial ov/fal/
                                                                                               use ofand             usasp
                                                                                                             https:/ https:/
                                                         Traffic Safety           financial assistance to    /       /
                                                         Administration (NHTSA) State and local              sam.g www.
       Department of Transportation             20.616   Discretionary  Safety    government    agencies,
                                                         National Priority Safety The formula grant          ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                         Programs                 program is designed to        /       /
                                                                                  encourage States to           sam.g www.
                                                                                  address national              ov/fal/ usasp
       Department of Transportation             20.617   State Electronic Data    To objective of this          https:/ https:/
                                                         Collection (SEDC)        program is to support         /       /
                                                         Program Grant            States to upgrade and         sam.g www.
       Department of Transportation             20.618   Driver Alcohol Detection standardize  state
                                                                                  The goal of the    motor
                                                                                                   DADSS        ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         System for Safety         collaborative research       /       /
                                                                                   program is to research       sam.g www.
       Department of Transportation             20.619   Motor Vehicle Safety      and develop
                                                                                   This         alcohol
                                                                                        assistance  listing             usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Research                  encompasses: (1)             /       /
                                                                                   motor vehicle safety         sam.g www.
                                                                                   research, development,       ov/fal/ usasp
       Department of Transportation             20.620   Behavioral Traffic        The objective is to carry    https:/ https:/
                                                         Safety Cooperative        out a cooperative            /       /
                                                         Research                  research and evaluation      sam.g www.
       Department of Transportation             20.621   State Process for         program  to research
                                                                                   The objective is to          ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Informing Consumers of support States in               /       /
                                                         Recalls                developing a                    sam.g www.
                                                                                methodology for                 ov/fal/ usasp
       Department of Transportation             20.700   Pipeline Safety        To develop, support and         https:/ https:/
                                                         Program State Base     maintain inspection and         /       /
                                                         Grant                  enforcement activities          sam.g www.
       Department of Transportation             20.701   University             for
                                                                                TheState gas and
                                                                                    program  awards             ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Transportation Centers grants to nonprofit        /       /




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                                                         Program                 institutions of higher    sam.g www.
       Department of Transportation             20.703   Interagency Hazardous Hazardous       the purpose ov/fal/
                                                                                 learning for Materials            usasp
                                                                                                           https:/ https:/
                                                         Materials Public Sector Emergency                 /       /
                                                         Training and Planning Preparedness Grant          sam.g www.
                                                         Grants                  (HMEP): To increase       ov/fal/ usasp
       Department of Transportation             20.706   Pipeline Emergency      Advance the abilities of https:/ https:/
                                                         Response Grant          emergency responders /            /
                                                         (PERG)                  to manage pipeline        sam.g www.
       Department of Transportation             20.707   Hazardous Materials     emergencies
                                                                                 The HM State    through   ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                         State Inspection (HMSI) Inspection Grant               /       /
                                                         Grant                    provides training and         sam.g www.
                                                                                  financial support for         ov/fal/ usasp
       Department of Transportation             20.708   Natural Gas Distribution Grant funds will be           https:/ https:/
                                                         Infrastructure Safety    made available to             /       /
                                                         and Modernization        municipality or               sam.g www.
       Department of Transportation             20.710   Grant  Program
                                                         Technical Assistance     community
                                                                                  Advancement owned
                                                                                                  of            ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Grants                    pipeline safety through      /       /
                                                                                   the funding of local         sam.g www.
       Department of Transportation             20.720   State Damage              communities
                                                                                   The           and
                                                                                        PHMSA State                     usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Prevention Program    Damage Prevention                /       /
                                                         Grants                Program fosters                  sam.g www.
                                                                               improved damage                  ov/fal/ usasp
       Department of Transportation             20.721   PHMSA Pipeline Safety To provide funding to            https:/ https:/
                                                         Program One Call      State agencies in                /       /
                                                         Grant                 promoting damage                 sam.g www.
       Department of Transportation             20.723   PHMSA Pipeline Safety prevention, including
                                                                               To sponsor research              ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Research and           and development (R&D)           /       /
                                                         Development            projects that focus on          sam.g www.
       Department of Transportation             20.724   â€œOther
                                                         Pipeline Safety        providing
                                                                    Transaction The   CAAPnear-term
                                                                                             initiative is              usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Research Competitive intended to spur                  /       /
                                                         Academic Agreement     innovation by enabling          sam.g www.
                                                         Program (CAAP)         an academic research            ov/fal/ usasp
       Department of Transportation             20.725   PHMSA Pipeline Safety Participating state              https:/ https:/
                                                         Underground Natural    entities, through annual        /       /
                                                         Gas Storage Grant      Certification/                  sam.g www.
       Department of Transportation             20.802                          Agreements
                                                         Federal Ship Financing To             with
                                                                                   finance eligible                     usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Guarantees             vessels and shipyards           /       /
                                                                                to promote the growth           sam.g www.
                                                                                and modernization of            ov/fal/ usasp
       Department of Transportation             20.803   Maritime War Risk      To provide war risk             https:/ https:/
                                                         Insurance              insurance to U.S.-flag          /       /
                                                                                and foreign vessels             sam.g www.
       Department of Transportation             20.806   State Maritime Schools whenever      appears
                                                                                To educateit and  train to      ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                                                future merchant marine          /       /
                                                                                officers at the State           sam.g www.
       Department of Transportation             20.807                          Maritime
                                                         U.S. Merchant Marine The    USMMAAcademies
                                                                                               is a                     usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Academy                   Federal Service              /       /
                                                                                   Academy and an               sam.g www.
                                                                                   accredited institution of    ov/fal/ usasp
       Department of Transportation             20.808   Capital Construction      To provide for               https:/ https:/
                                                         Fund                      replacement vessels,         /       /
                                                                                   additional vessels or        sam.g www.
       Department of Transportation             20.812   Construction Reserve      reconstructed
                                                                                   To promote thevessels,               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Fund                    construction,                  /       /
                                                                                 reconstruction,                sam.g www.
                                                                                 reconditioning, or             ov/fal/ usasp
       Department of Transportation             20.813   Maritime Security Fleet The MSP helps sustain          https:/ https:/
                                                         Program or Ship         a fleet of 60 active,          /       /
                                                         Operations Cooperation commercially viable,            sam.g www.
       Department of Transportation             20.814   Program
                                                         Assistance to Small     militarily
                                                                                 To awarduseful,
                                                                                            grants for          ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Shipyards                 capital improvements         /       /
                                                                                   and related                  sam.g www.
       Department of Transportation             20.816   United States Marine      infrastructure
                                                                                   Mitigate landside                    usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Highway Grants          congestion, expand             /       /
                                                                                 transportation options,        sam.g www.
                                                                                 and realize public             ov/fal/ usasp
       Department of Transportation             20.817   Air Emissions and       MARAD will use                 https:/ https:/
                                                         Energy Initiative       projects results and           /       /
                                                                                 data for a variety of          sam.g www.
       Department of Transportation             20.819   Ballast Water Treatment MARAD      including
                                                                                 purposeswill  use the                  usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Technologies              projects results and         /       /
                                                                                   data for a variety of        sam.g www.
       Department of Transportation             20.820   Maritime Studies and      purposes
                                                                                   The purposeincluding
                                                                                                  of this to    ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         Innovations               program is to provide        /       /
                                                                                   assistance for projects      sam.g www.
       Department of Transportation             20.821   Women on the Water        involving studies
                                                                                   The purpose        and
                                                                                                 of the         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                         (WOW)                     WOW program is to            /       /
                                                                                   promote diversity in the     sam.g www.
       Department of Transportation             20.823   Port Infrastructure       maritime
                                                                                   The      industry.
                                                                                       program  makes The               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                         Development Program       discretionary grants to      /       /
                                                                                   improve port facilities at   sam.g www.
                                                                                   coastal seaports, inland     ov/fal/ usasp




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       Department of Transportation               20.824   Cable Security Fleet      The CSF helps sustain        https:/ https:/
                                                           Program                   a fleet of cable vessels     /       /
                                                                                     active, commercially         sam.g www.
       Department of Transportation               20.825   Tanker Security           viable,
                                                                                     The     privately-owned
                                                                                          Tanker  Security                usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Program                  Program (TSP) will            /       /
                                                                                    ensure that a core fleet      sam.g www.
       Department of Transportation               20.901   Payments for Essential ofTheU.S.-based   product
                                                                                         program provides         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Air Services             subsidies to air carriers     /       /
                                                                                    to serve eligible             sam.g www.
                                                                                    communities as                ov/fal/ usasp
       Department of Transportation               20.909   Transportation           The USDOT seeks               https:/ https:/
                                                           Research and             competitively selected        /       /
                                                           Technology               cooperative agreements        sam.g www.
       Department of Transportation               20.910   Advancement
                                                           Assistance               or grant
                                                                       to Small and To enter recipients from
                                                                                              into successful             usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Disadvantaged           partnerships between           /       /
                                                           Businesses              OSDBU and chambers             sam.g www.
       Department of Transportation               20.930   Payments for Small      of
                                                                                   Thecommerce,
                                                                                        SCASDP program            ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Community Air Service is designed to provide           /       /
                                                           Development             financial assistance to        sam.g www.
                                                                                   small communities, on a        ov/fal/ usasp
       Department of Transportation               20.931   Transportation          To provide funds to            https:/ https:/
                                                           Planning, Research and conduct research and            /       /
                                                           Education               development on                 sam.g www.
       Department of Transportation               20.933   National Infrastructure innovative
                                                                                   RAISE (formerly                ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Investments               BUILD) grants are for        /       /
                                                                                     capital investments in       sam.g www.
                                                                                     surface transportation       ov/fal/ usasp
       Department of Transportation               20.934   Nationally Significant    The Nationally               https:/ https:/
                                                           Freight and Highway       Significant Multimodal       /       /
                                                           Projects                  Freight and Highway          sam.g www.
       Department of Transportation               20.936   Transportation            Projects (NSMFHP)
                                                                                     Transportation                       usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Demonstration Program Demonstration grants           /       /
                                                                                   are for infrastructure       sam.g www.
       Department of Transportation               20.937   National Infrastructure projects
                                                                                   The goalthat    expand
                                                                                               of the  National ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                           Project Assistance      Infrastructure Project       /       /
                                                           (Mega Projects)         Assistance (Mega             sam.g www.
                                                                                   Projects) program is to ov/fal/ usasp
       Department of Transportation               20.938   Rural Surface           The Rural Surface            https:/ https:/
                                                           Transportation Grant    Transportation Grant         /       /
                                                           Program                 Program will provide         sam.g www.
       Department of Transportation               20.939   Safe Streets and Roads Federal    financial
                                                                                   The purpose      of SS4A     ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                           for All                   grants is to improve         /       /
                                                                                     roadway safety by            sam.g www.
                                                                                     significantly reducing or    ov/fal/ usasp
       Department of Transportation               20.940   Reconnecting              The Reconnecting             https:/ https:/
                                                           Communities Pilot         Communities Pilot            /       /
                                                           (RCP) Discretionary       Program provides             sam.g www.
       Department of Transportation               20.941   Grant ProgramMobility
                                                           Strengthening             technical assistance
                                                                                     Strengthening   Mobility             usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           and Revolutionizing       and Revolutionizing          /       /
                                                           Transportation            Transportation               sam.g www.
       Department of Transportation               20.942   (SMART)   Grants
                                                           Thriving Communities      (SMART)
                                                                                     4 Capacityfunds  for
                                                                                                 Builders         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Program Capacity          were selected for FY22       /       /
                                                           Builders Cooperative      and 9 Capacity Builders      sam.g www.
                                                           Agreements                (6 Regional and 3            ov/fal/ usasp
       Department of Transportation               20.943   Rural and Tribal          The intent of this           https:/ https:/
                                                           Assistance Pilot          Program is to advance        /       /
                                                           Program                   transportation               sam.g www.
       Department of Transportation               20.944   Autonomous Vehicle        infrastructure
                                                                                     The Autonomous projects in   ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Research in Rural     Vehicle Research in         /       /
                                                           Communities Program   Rural Communities           sam.g www.
       Department of Transportation               20.945                         Program,
                                                           Asset Concessions and The  objective
                                                                                            alsoof known
                                                                                                     this as ov/fal/ usasp
                                                                                                             https:/ https:/
                                                           Innovative Finance    program is to facilitate    /       /
                                                           Assistance            access to expert            sam.g www.
       Department of Transportation               20.946                         services
                                                           Research Partnership The   climate   and to
                                                                                           for, and          ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                           on Climate Change and transportation research /           /
                                                           Transportation        center shall advance        sam.g www.
       Department of Transportation               20.947   Advanced Bridge       the following   research    ov/fal/
                                                                                 Rutgers University has https:/ usasphttps:/
                                                           Technology                been awarded a               /       /
                                                           Clearinghouse (ABTC)      cooperative agreement        sam.g www.
                                                           Development               to develop and               ov/fal/ usasp
       Department of Transportation               20.948   MOBILITY EQUITY           The Mobility Equity          https:/ https:/
                                                           RESEARCH                  Research Initiative shall    /       /
                                                           INITIATIVE                advance research and         sam.g www.
       Department of Transportation               20.949   RESEARCH                  technology
                                                                                     The research  expand
                                                                                                to study  will    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           INITIATIVE ON THE         advance the                  /       /
                                                           USE OF STEEL SLAG         Decarbonization              sam.g www.
       Department of Transportation               20.950   IN CONCRETE
                                                           Bridge         AND
                                                                  and Other        Research   Priority
                                                                                   As stated in  the and                  usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Transportation          Consolidated                   /       /
                                                           Infrastructure Research Appropriations Act,            sam.g www.
                                                           Program                 2024, ARPA-I may fund          ov/fal/ usasp
       Department of Veterans Affairs             64.005   Grants to States for    To assist States to            https:/ https:/
                                                           Construction of State   acquire or construct           /       /
                                                           Home Facilities         State home facilities for      sam.g www.
       Department of Veterans Affairs             64.014   Veterans State          furnishing
                                                                                   To providedomiciliary
                                                                                               financial or       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Domiciliary Care       assistance to States            /       /
                                                                                  furnishing domiciliary          sam.g www.
                                                                                  care to eligible veterans       ov/fal/ usasp
       Department of Veterans Affairs             64.015   Veterans State Nursing To provide financial            https:/ https:/
                                                           Home Care              assistance to States            /       /
                                                                                  furnishing nursing home         sam.g www.
       Department of Veterans Affairs             64.024   VA Homeless Providers care
                                                                                  The VAto eligible
                                                                                           Homeless veterans      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Grant and Per Diem        Providers Grant and          /       /




A163
                                                           Program                   Per Diem (GPD)               sam.g www.
       Department of Veterans Affairs             64.026   Veterans State Adult      Program
                                                                                     To provide
                                                                                              is aVAâ€™s                  usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Day Health Care        community-based                 /       /
                                                                                  program designed to             sam.g www.
                                                                                  meet the needs of               ov/fal/ usasp
       Department of Veterans Affairs             64.028   Post-9/11 Veterans     To assist beneficiaries         https:/ https:/
                                                           Educational Assistance in receiving educational        /       /
                                                                                  benefits and training           sam.g www.
       Department of Veterans Affairs             64.031   Life Insurance for     and
                                                                                  To provide   service
                                                                                       to helpdirect              ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Veterans - Direct      insurance payments,             /       /
                                                           Payments for Insurance including advance               sam.g www.
                                                                                  payments disbursed as           ov/fal/ usasp
       Department of Veterans Affairs             64.032   Montgomery GI Bill     To encourage                    https:/ https:/
                                                           Selected Reserve       membership in units of          /       /
                                                                                  the Selected Reserve of         sam.g www.
       Department of Veterans Affairs             64.033   VA Supportive Services the  Ready Reserve
                                                                                  To provide           and
                                                                                              supportive          ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           for Veteran Families      services grants to           /       /
                                                           Program                   private non-profit           sam.g www.
       Department of Veterans Affairs             64.034                           organizations
                                                           VA Grants for Adaptive To   provide grants
                                                                                                   and to                 usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Sports Programs for     eligible adaptive sports       /       /
                                                           Disabled Veterans and entities to plan,                sam.g www.
                                                           Disabled Members of     develop, manage, and           ov/fal/ usasp
       Department of Veterans Affairs             64.035   Veterans Transportation This program furthers          https:/ https:/
                                                           Program                 the Departmentâ€™s             /       /
                                                                                   mission by establishing        sam.g www.
       Department of Veterans Affairs             64.037   VA U.S. Paralympics     a
                                                                                   Toprogram      provide
                                                                                       promotetothe lifelong      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Monthly Assistance        health and to motivate,      /       /
                                                           Allowance Program         encourage and sustain        sam.g www.
       Department of Veterans Affairs             64.039   CHAMPVA                   participationisand
                                                                                     CHAMPVA         health               usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                                                  care program that               /       /
                                                                                  shares the cost of              sam.g www.
                                                                                  health care services            ov/fal/ usasp
       Department of Veterans Affairs             64.051   Specially Adapted      Pursuant to the                 https:/ https:/
                                                           Housing Assistive      Veteransâ€™ Benefit             /       /
                                                           Technology Grant       Act of 2010, the                sam.g www.
       Department of Veterans Affairs             64.053                          Secretary
                                                           Program to States for In
                                                           Payments                           of Veterans
                                                                                     accordance    with the               usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Programs to Promote    provisions of 38 U.S.C.         /       /
                                                           the Hiring and         1744, this part sets forth      sam.g www.
                                                           Retention of Nurses at the mechanism for a             ov/fal/ usasp
       Department of Veterans Affairs             64.054   Research and           In accordance with the          https:/ https:/
                                                           Development            provisions of Title 38          /       /
                                                                                  U.S.C. 7303, this part          sam.g www.
       Department of Veterans Affairs             64.055   Staff Sergeant Parker  sets forth the
                                                                                  To provide   resources          ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Gordon Fox Suicide        toward community-            /       /
                                                           Prevention Grant          based suicide                sam.g www.
       Department of Veterans Affairs             64.056   Program
                                                           Legal Services for        prevention
                                                                                     To         efforts to
                                                                                        provide legal                     usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Veterans Grants           services grants to public    /       /
                                                                                     and non-profit private       sam.g www.
                                                                                     entities who will provide    ov/fal/ usasp
       Department of Veterans Affairs             64.057   Suicide Mortality         This funding supports        https:/ https:/
                                                           Review Cooperative        States, territories, and     /       /
                                                           Agreements                Tribal entities in           sam.g www.
       Department of Veterans Affairs             64.058   Veteran and Spouse        establishing,
                                                                                     The Secretary of                     usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Transitional Assistance   Veterans Affairs will        /       /
                                                           Grant Program             make grants available        sam.g www.
                                                           (VSTAGP)                  to eligible organizations    ov/fal/ usasp
       Department of Veterans Affairs             64.100   Automobiles and           Provide financial            https:/ https:/
                                                           Adaptive Equipment for    assistance to certain        /       /
                                                           Certain Disabled          disabled servicepersons      sam.g www.
       Department of Veterans Affairs             64.101   Veterans  and Members
                                                           Burial Expenses           and
                                                                                     If theVeterans
                                                                                            Veteran toward
                                                                                                     died on or   ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           Allowance for Veterans after October 1, 2024,     /       /
                                                                                   VA will provide a         sam.g www.
       Department of Veterans Affairs             64.104   Pension for Non-        monetary
                                                                                   To          allowance not ov/fal/
                                                                                      assist wartime                 usasp
                                                                                                             https:/ https:/
                                                           Service-Connected       veterans in need whose /          /
                                                           Disability for Veterans non-service- connected sam.g www.
                                                                                   disabilities are          ov/fal/ usasp
       Department of Veterans Affairs             64.105   Pension to Veterans     To assist needy           https:/ https:/
                                                           Surviving Spouses, and surviving spouses, and /           /
                                                           Children                children of deceased      sam.g www.
       Department of Veterans Affairs             64.106   Specially Adapted       war-time
                                                                                   To         veterans
                                                                                      help certain  severely https:/ usasp
                                                                                                             ov/fal/ https:/
                                                           Housing for Disabled  disabled veterans                /       /
                                                           Veterans              acquire a home which is          sam.g www.
       Department of Veterans Affairs             64.109   Veterans Compensation suitably adapted
                                                                                 Compensate          to
                                                                                                 Veterans         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           for Service-Connected for disabilities incurred        /       /
                                                           Disability            in or aggravated during          sam.g www.
       Department of Veterans Affairs             64.110   Veterans Dependency military   service
                                                                                 To compensate                    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                           and Indemnity             surviving spouses,           /       /
                                                           Compensation for          children and parents for     sam.g www.
       Department of Veterans Affairs             64.114   Service-Connected
                                                           Veterans Housing          theassist
                                                                                     To        of any
                                                                                         deathveterans,                   usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                           Guaranteed and            certain service              /       /
                                                           Insured Loans             personnel, and certain       sam.g www.
                                                                                     unmarried surviving          ov/fal/ usasp




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       Department of Veterans Affairs              64.116   Veteran Readiness and To provide all services         https:/ https:/
                                                            Employment            and assistance                  /       /
                                                                                  necessary to enable             sam.g www.
       Department of Veterans Affairs              64.117   Survivors and         Veterans
                                                                                  To providewith service-
                                                                                             educational                  usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Dependents             opportunities to the           /       /
                                                            Educational Assistance dependents of certain          sam.g www.
       Department of Veterans Affairs              64.118   Veterans Housing       disabled and
                                                                                   To provide    deceased
                                                                                              veterans            ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Direct Loans for Certain who are eligible for a       /       /
                                                            Disabled Veterans        Specially Adapted            sam.g www.
                                                                                     Housing grant with a         ov/fal/ usasp
       Department of Veterans Affairs              64.120   Post-Vietnam Era         To provide educational       https:/ https:/
                                                            Veterans' Educational assistance to persons           /       /
                                                            Assistance               entering the Armed           sam.g www.
       Department of Veterans Affairs              64.124   All-Volunteer Force      Forces
                                                                                     To help after December
                                                                                             servicepersons               usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Educational Assistance readjust to civilian life      /       /
                                                                                   after their separation         sam.g www.
       Department of Veterans Affairs              64.125   Vocational and         from  military
                                                                                   To offer       service.
                                                                                            vocational   and      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Educational Counseling educational counseling         /       /
                                                            for Servicemembers     to service members             sam.g www.
                                                            and Veterans           within 180 days of their       ov/fal/ usasp
       Department of Veterans Affairs              64.126   Native American        To provide direct loans        https:/ https:/
                                                            Veteran Direct Loan    to certain veterans who        /       /
                                                            Program                are, or whose spouses          sam.g www.
       Department of Veterans Affairs              64.127   Monthly Allowance for are,
                                                                                   To provide   Americans
                                                                                        Native financial          ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Children of Vietnam       assistance to certain       /       /
                                                            Veterans Born with        children born with spina    sam.g www.
                                                            Spina Bifida              bifida who are children     ov/fal/ usasp
       Department of Veterans Affairs              64.128   Vocational Training and   To provide services to      https:/ https:/
                                                            Rehabilitation Benefits   children of Vietnam         /       /
                                                            for Children of Vietnam   Veterans born with          sam.g www.
       Department of Veterans Affairs              64.130   Veteran   and Certain
                                                            VeteransRapid                    bifida (except
                                                                                      spinaVeteran
                                                                                      The            Rapid for            usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Retraining Assistance     Retraining Assistance      /       /
                                                            Program                   Program (VRRAP) was sam.g www.
       Department of Veterans Affairs              64.201   National Cemeteries       enacted
                                                                                      To verify on  March
                                                                                                military   11,
                                                                                                         service ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                                      and determine eligibility /        /
                                                                                      for burial in a VA         sam.g www.
                                                                                      national cemetery. To      ov/fal/ usasp
       Department of Veterans Affairs              64.202   Procurement of            Provide Government-        https:/ https:/
                                                            Headstones and            furnished headstones       /       /
                                                            Markers and/or            and markers to mark        sam.g www.
       Department of Veterans Affairs              64.203   Presidential Memorial
                                                            Veterans Cemetery         the graves
                                                                                      To assist  States
                                                                                                   of andand     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                            Grants Program         federally recognized           /       /
                                                                                   tribal governments in          sam.g www.
                                                                                   the establishment,             ov/fal/ usasp
       Department of Veterans Affairs              64.204   Veterans Legacy Grants Veterans Legacy Grants         https:/ https:/
                                                            Program                Program will provide           /       /
                                                                                   grants to eligible entities    sam.g www.
       Department of Veterans Affairs              64.205   VA Casket or Urn           the purpose
                                                                                   for provide
                                                                                   To                of
                                                                                               a monetary                 usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Allowance Program         allowance for the           /       /
                                                                                      purchase of a casket or     sam.g www.
       Department of Veterans Affairs              64.206   VA Outer Burial           urn used to
                                                                                      Monetary    inter
                                                                                                allowance for     ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Receptacle Allowance    an outer burial               /       /
                                                            Program                 receptacle (OBR) for          sam.g www.
                                                                                    any casketed burial in a      ov/fal/ usasp
       Environmental Protection Agency             66.001   Air Pollution Control   The objectives of the         https:/ https:/
                                                            Program Support         Â§105 program are to          /       /
                                                                                    assist state, tribal,         sam.g www.
       Environmental Protection Agency             66.032   State and Tribal Indoor municipal,
                                                                                    EPA assists states and        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Radon Grants            federally recognized          /       /
                                                                                    tribes to provide radon       sam.g www.
       Environmental Protection Agency             66.033   Ozone Transport         risk reduction
                                                                                    The             through
                                                                                          overall goal of the             usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Commission                Ozone Transport             /       /
                                                                                      Commission (OTC)            sam.g www.
       Environmental Protection Agency             66.034   Surveys, Studies,               is to facilitate
                                                                                      grantobjectives
                                                                                      The               of this           usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Research,                 assistance listing are to   /       /
                                                            Investigations,           fund surveys, research,     sam.g www.
       Environmental Protection Agency             66.037   Demonstrations,   and
                                                            Internships, Training     investigations,
                                                                                      To provide, Internships,    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            and Workshops for the Training, Workshops,            /       /
                                                            Office of Air and         and Technical               sam.g www.
                                                            Radiation                 Monitoring in support of    ov/fal/ usasp
       Environmental Protection Agency             66.038   Training, Investigations, To support Federally-       https:/ https:/
                                                            and Special Purpose       recognized Indian           /       /
                                                            Activities of Federally- Tribes' efforts to           sam.g www.
       Environmental Protection Agency             66.039   Recognized    Indian
                                                            Diesel Emission           understand,  assess and
                                                                                      The Diesel Emissions        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Reduction Act (DERA)  Reduction Act, 42        /       /
                                                            National Grants       U.S.C. 16132 et seq.,    sam.g www.
       Environmental Protection Agency             66.040   Diesel Emissions      as amended,
                                                                                  The           authorizes ov/fal/
                                                                                       Diesel Emissions            usasp
                                                                                                           https:/ https:/
                                                            Reduction Act (DERA)  Reduction Act, 42        /       /
                                                            State Grants          U.S.C. 16131 et seq.,    sam.g www.
                                                                                  as amended, authorizes ov/fal/ usasp
       Environmental Protection Agency             66.042   Temporally Integrated EPA will award           https:/ https:/
                                                            Monitoring of         interagency and          /       /
                                                            Ecosystems (TIME) and cooperative agreements sam.g www.
       Environmental Protection Agency             66.044   Long-Term  Monitoring
                                                            Wildfire Smoke        to study the chemical    ov/fal/
                                                                                  EPA is providing grants https:/ usasp
                                                                                                                   https:/
                                                            Preparedness in           to States, federally        /       /
                                                            Community Buildings       recognized Tribes,          sam.g www.
                                                            Grant Program             public pre-schools, local   ov/fal/ usasp
       Environmental Protection Agency             66.045   Clean School Bus          Title XI, Section 71101     https:/ https:/
                                                            Program                   of the Infrastructure       /       /
                                                                                      Investment and Jobs         sam.g www.
       Environmental Protection Agency             66.046   Climate Pollution         Act
                                                                                      EPA(or   The Bipartisan
                                                                                            is providing grants   ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Reduction Grants       to States, Locals,             /       /




A164
                                                                                   Federally Recognized           sam.g www.
       Environmental Protection Agency             66.047   Hydrofluorocarbon      Indian Tribal
                                                                                   Section  60109(a)(3) of                usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Reclaim and Innovative the Inflation Reduction        /       /
                                                            Destruction Grants     Act provided EPA with          sam.g www.
                                                                                   $15 million for                ov/fal/ usasp
       Environmental Protection Agency             66.048   Greenhouse Gas and     EPA is providing grants        https:/ https:/
                                                            Zero Emission On-road to support state                /       /
                                                            Mobile Source          governments that are           sam.g www.
       Environmental Protection Agency             66.049   Standards
                                                            Clean Heavy-Duty       interested  in adopting
                                                                                   Section 60101    of the        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Vehicles Program          Inflation Reduction Act     /       /
                                                                                      of 2022 (or IRA)            sam.g www.
                                                                                      amended the Clean Air       ov/fal/ usasp
       Environmental Protection Agency             66.051   Clean Ports Program       Section 60102 of the        https:/ https:/
                                                                                      Inflation Reduction Act     /       /
                                                                                      of 2022 (or IRA)            sam.g www.
       Environmental Protection Agency             66.110   Healthy Communities       amended
                                                                                      The Healthythe Clean Air    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Grant Program           Communities Grant             /       /
                                                                                    Program is a                  sam.g www.
       Environmental Protection Agency             66.121                           competitive
                                                            Geographic Programs - Puget    Soundgrant
                                                                                                  has been                usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Puget Sound Protection designated as one of 28        /       /
                                                            and Restoration: Tribal estuaries of National         sam.g www.
                                                            Implementation          Significance under            ov/fal/ usasp
       Environmental Protection Agency             66.123   Geographic Programs - Puget Sound has been            https:/ https:/
                                                            Puget Sound Action      designated as one of 28       /       /
                                                            Agenda: Technical       estuaries of National         sam.g www.
       Environmental Protection Agency             66.124   Investigations and
                                                            Geographic Programs     Significance under
                                                                                    The EPA Region    6           ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            â€“ Coastal Wetlands Coastal Wetlands                 /       /
                                                            Planning Protection and Planning, Protection          sam.g www.
       Environmental Protection Agency             66.125   Restoration Act
                                                            Geographic              and Restoration
                                                                        Programs - The              Act
                                                                                        purpose of the                    usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Lake Pontchartrain        Clean Water Act             /       /
                                                            Basic Restoration         Section 121 (33 U.S.C.      sam.g www.
                                                            Program (PRP)             1273) Lake                  ov/fal/ usasp
       Environmental Protection Agency             66.126   Geographic Programs -     The goals of the SF Bay     https:/ https:/
                                                            San Francisco Bay         Restoration Program         /       /
                                                            Water Quality             (formally SF Bay Grant      sam.g www.
       Environmental Protection Agency             66.129                 Fund
                                                            ImprovementPrograms
                                                            Geographic          -     Program)
                                                                                      To  developare
                                                                                                  andto support           usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Southeast New England the Southeast New               /       /
                                                            Coastal Watershed     England Program                 sam.g www.
                                                            Restoration Program   (SNEP) for coastal              ov/fal/ usasp
       Environmental Protection Agency             66.130   Geographic Programs - The primary objective of        https:/ https:/
                                                            Gulf Coast Ecosystem this program is to               /       /
                                                            Restoration Council   disburse funds to               sam.g www.
       Environmental Protection Agency             66.202   Comprehensive
                                                            Congressionally Plan  eligible
                                                                                  To implement
                                                                                           entitiesspecial        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Mandated Projects      Congressionally                /       /
                                                                                   mandated spending for          sam.g www.
       Environmental Protection Agency             66.203                          projects
                                                            Environmental Finance The        or programs
                                                                                        Environmental                     usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Center Grants          Finance Center Grant           /       /
                                                                                   Program provides               sam.g www.
                                                                                   funding to support             ov/fal/ usasp
       Environmental Protection Agency             66.204   Multipurpose Grants to Multipurpose Grants            https:/ https:/
                                                            States and Tribes      (MPGs) are intended to         /       /
                                                                                   be used at state and           sam.g www.
       Environmental Protection Agency             66.305                          tribal discretion,
                                                            Compliance Assistance Since    1996, in for                   usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Support for Services to   partnership with            /       /
                                                            the Regulated             industry associations,      sam.g www.
                                                            Community and Other       universities and other      ov/fal/ usasp
       Environmental Protection Agency             66.306   Environmental Justice     The Environmental           https:/ https:/
                                                            Collaborative Problem-    Justice Collaborative       /       /
                                                            Solving Cooperative       Problem-Solving             sam.g www.
       Environmental Protection Agency             66.309   Agreement   Program
                                                            Surveys, Studies,         (EJCPS)   Cooperative
                                                                                      The program's   objective   ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Investigations, Training is to provide funding in     /       /
                                                            and Special Purpose      support of surveys,          sam.g www.
       Environmental Protection Agency             66.312   Activities Relating
                                                            Environmental       to
                                                                             Justice studies
                                                                                     The purpose
                                                                                              and of this                 usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Government-to-           cooperative agreement        /       /
                                                            Government (EJG2G) program is to support              sam.g www.
                                                            Program                  and/or create model          ov/fal/ usasp
       Environmental Protection Agency             66.313   International            The primary purpose of       https:/ https:/
                                                            Compliance and           this program is to           /       /
                                                            Enforcement Projects     support projects that        sam.g www.
       Environmental Protection Agency             66.418                            protect
                                                            Construction Grants for To        human
                                                                                         assist      health
                                                                                                and serve as              usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            Wastewater Treatment    an incentive in               /       /
                                                            Works                   construction of               sam.g www.
       Environmental Protection Agency             66.419   Water Pollution Control municipal  wastewater
                                                                                    To assist States              ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            State, Interstate, and  (including territories and    /       /
                                                            Tribal Program Support the District of                sam.g www.
       Environmental Protection Agency             66.424   Surveys, Studies,       Columbia),  Indian
                                                                                    To support developing,        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Investigations,           expanding, planning,        /       /
                                                            Demonstrations, and       implementing, and           sam.g www.
       Environmental Protection Agency             66.432   Training
                                                            State    Grants
                                                                  Public    -
                                                                         Water        improving
                                                                                      The objective of these              usasp
                                                                                                                  ov/fal/ https:/
                                                                                                                  https:/
                                                            System Supervision        grants is to provide        /       /
                                                                                      financial assistance to     sam.g www.
                                                                                      eligible States and         ov/fal/ usasp




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       Environmental Protection Agency             66.433   State Underground          To foster development        https:/ https:/
                                                            Water Source               and implementation of        /       /
                                                            Protection                 underground injection        sam.g www.
       Environmental Protection Agency             66.436   Surveys, Studies,          control
                                                                                       To      (UIC)
                                                                                          support  theprograms              usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Investigations,            coordination and             /       /
                                                            Demonstrations, and        acceleration of              sam.g www.
       Environmental Protection Agency             66.437   Training Grants
                                                            Geographic      and
                                                                         Programs      research,
                                                                                       The Long Island Sound        ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            â€“ Long Island Sound Program: (1)                      /       /
                                                            Program               implements the Long               sam.g www.
                                                                                  Island Sound Study                ov/fal/ usasp
       Environmental Protection Agency             66.441   Healthy Watersheds    To support strategically          https:/ https:/
                                                            Consortium Grant      protecting healthy                /       /
                                                            Program               watersheds across the             sam.g www.
       Environmental Protection Agency             66.442   Water Infrastructure  country.
                                                                                  The      The focus
                                                                                       objective is to of                   usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Improvements for the       assist small and             /       /
                                                            Nation Small and           underserved                  sam.g www.
       Environmental Protection Agency             66.443   Underserved
                                                            Reducing Lead in        communities    to comply
                                                                                    The grant program               ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Drinking Water (SDWA funds activities to                /       /
                                                            1459B)                  reduce lead in drinking         sam.g www.
                                                                                    water in disadvantaged          ov/fal/ usasp
       Environmental Protection Agency             66.444   Voluntary School and    Funding is awarded to           https:/ https:/
                                                            Child Care Lead Testing states, territories, and        /       /
                                                            and Reduction Grant     Tribal Consortia to             sam.g www.
       Environmental Protection Agency             66.445   Program
                                                            Innovative(SDWA
                                                                        Water       assist local
                                                                                    To inform  theeducational
                                                                                                    public          ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Infrastructure Workforce about the role of water        /       /
                                                            Development Program and wastewater                      sam.g www.
                                                            (SDWA 1459E)             systems in their               ov/fal/ usasp
       Environmental Protection Agency             66.446   Technical Assistance for The objective is to            https:/ https:/
                                                            Treatment Works          provide technical              /       /
                                                            (Clean Water Act [CWA] assistance and training          sam.g www.
       Environmental Protection Agency             66.447   Sewer    104(b)(8))
                                                            SectionOverflow  and     to rural,
                                                                                     The  objective   and
                                                                                               small,of thetribal           usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Stormwater Reuse       OSG Program is to                /       /
                                                            Municipal Grant        award grants to the              sam.g www.
       Environmental Protection Agency             66.448   Program
                                                            Drinking Water System states,   the District
                                                                                   The purpose    of thisof         ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Infrastructure         grant program is to              /       /
                                                            Resilience and         increase drinking water          sam.g www.
                                                            Sustainability Program system resilience to             ov/fal/ usasp
       Environmental Protection Agency             66.454   Water Quality          This program assists             https:/ https:/
                                                            Management Planning States (including                   /       /
                                                                                   territories and the              sam.g www.
       Environmental Protection Agency             66.456   National Estuary       District of Columbia),
                                                                                   The National   Estuary           ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Program                    Program (NEP) goal is        /       /
                                                                                       to protect and restore       sam.g www.
                                                                                       the water quality and        ov/fal/ usasp
       Environmental Protection Agency             66.458   Clean Water State          To create State              https:/ https:/
                                                            Revolving Fund             Revolving Funds              /       /
                                                                                       (SRFs) through a             sam.g www.
       Environmental Protection Agency             66.460   Nonpoint Source            program
                                                                                       To assist of
                                                                                                 States, the                usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Implementation Grants District of Columbia,             /       /
                                                                                  American Samoa,                   sam.g www.
       Environmental Protection Agency             66.461   Regional Wetland      Guam,
                                                                                  To assistNorthern
                                                                                             state, territory,      ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Program Development   tribal, and/or local              /       /
                                                            Grants                government agencies               sam.g www.
                                                                                  in building programs              ov/fal/ usasp
       Environmental Protection Agency             66.462   National Wetland      To assist state, Tribal,          https:/ https:/
                                                            Program Development territory and/or local              /       /
                                                            Grants and Five-Star  government agencies               sam.g www.
       Environmental Protection Agency             66.466   Restoration Training
                                                            Geographic Programs - in
                                                                                  Thebuilding programs
                                                                                       Chesapeake      Bay is       ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Chesapeake Bay        a national treasure and           /       /
                                                            Program               unique as North                   sam.g www.
       Environmental Protection Agency             66.468   Drinking Water State  America's
                                                                                  To  providelargest   and
                                                                                              a low-cost,                   usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Revolving Fund         long-term source of              /       /
                                                                                   drinking water                   sam.g www.
       Environmental Protection Agency             66.469                          infrastructure
                                                            Geographic Programs - The             financing,
                                                                                        Great Lakes                         usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Great Lakes            Restoration Initiative           /       /
                                                            Restoration Initiative (GLRI) was launched in           sam.g www.
       Environmental Protection Agency             66.472   Beach Monitoring and 2010
                                                                                   To assist
                                                                                         as aCoastal and            ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Notification Program  Great Lakes States,               /       /
                                                            Implementation Grants Territories, and Tribes           sam.g www.
                                                                                  eligible under Section            ov/fal/ usasp
       Environmental Protection Agency             66.473   Direct Implementation Direct Implementation             https:/ https:/
                                                            Tribal Cooperative    Tribal Cooperative                /       /
                                                            Agreements            Agreements (DITCAs)               sam.g www.
       Environmental Protection Agency             66.475   Geographic Programs enable     EPA to award
                                                                                  The objectives  of the            ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            â€“ Gulf of Mexico         Gulf of Mexico               /       /
                                                            Program                    Program, housed within       sam.g www.
       Environmental Protection Agency             66.481   Geographic Programs        the Gulf
                                                                                       The  goalofofMexico
                                                                                                    this                    usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            â€“ Lake Champlain     program is to implement          /       /
                                                            Basin Program          the Lake Champlain               sam.g www.
                                                                                   Basin Management                 ov/fal/ usasp
       Environmental Protection Agency             66.484   Geographic Programs - The EPA South Florida             https:/ https:/
                                                            South Florida          Program provides                 /       /
                                                            Geographic Initiatives competitive grants to            sam.g www.
       Environmental Protection Agency             66.485   Program
                                                            Support for the Gulf   address  the immediate
                                                                                   The Infrastructure               ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Hypoxia Action Plan    Investment and Jobs              /       /
                                                                                   Act (Public Law 117-58)          sam.g www.
                                                                                   which is generally               ov/fal/ usasp
       Environmental Protection Agency             66.486   Underground Injection The Infrastructure                https:/ https:/
                                                            Control Program        Investment and Jobs              /       /
                                                            Grants: Class VI       Act (Public Law 117-58,          sam.g www.
       Environmental Protection Agency             66.487   Carbon  Sequestration
                                                            Non-State  Member      Nov. 15, 2021), also
                                                                                   The Infrastructure               ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Support for the Gulf       Investment and Jobs          /       /




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                                                            Hypoxia Action Plan        Act (Public Law 117-58)      sam.g www.
       Environmental Protection Agency             66.489   Response to            which
                                                                                   To     is generally
                                                                                       assist in responding                 usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Emergency Situations to and alleviating                 /       /
                                                            Affecting Public Water emergency situations             sam.g www.
                                                            Systems (SDWA 1442b) affecting public water             ov/fal/ usasp
       Environmental Protection Agency             66.490   Centers of Excellence To improve the                    https:/ https:/
                                                            for Stormwater Control effectiveness, cost              /       /
                                                            Infrastructure         efficiency, and                  sam.g www.
       Environmental Protection Agency             66.508   Technologies   Grant
                                                            Senior Environmental   protection
                                                                                   To use the oftalents
                                                                                                  publicof          ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Employment Program         Americans 55 years of        /       /
                                                                                       age or older to provide      sam.g www.
                                                                                       technical assistance to      ov/fal/ usasp
       Environmental Protection Agency             66.509   Science To Achieve         The Science to Achieve       https:/ https:/
                                                            Results (STAR)             Results (STAR)               /       /
                                                            Research Program           Program's goal is to         sam.g www.
       Environmental Protection Agency             66.510   Surveys, Studies,          stimulate
                                                                                       The Officeand  support
                                                                                                  of Research       ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Investigations and       and Development                /       /
                                                            Special Purpose Grants (ORD) supports                   sam.g www.
       Environmental Protection Agency             66.511   within the
                                                            Office of Research       surveys,
                                                                       Office of and The      studies,
                                                                                         Office        and
                                                                                                of Research                 usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Development            and Developmentâ€™s              /       /
                                                            Consolidated Research/ (ORD) Consolidated               sam.g www.
                                                            Training/Fellowships   Research/Training/               ov/fal/ usasp
       Environmental Protection Agency             66.516   P3 Award: National     The P3 program                   https:/ https:/
                                                            Student Design         supports research,               /       /
                                                            Competition for        development, and                 sam.g www.
       Environmental Protection Agency             66.518   Sustainability
                                                            State Senior           design
                                                                                   To use of
                                                                                          theinnovative
                                                                                               talents of           ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Environmental              Americans 55 years of        /       /
                                                            Employment Program         age or older to provide      sam.g www.
       Environmental Protection Agency             66.521   Innovative Water           technical
                                                                                       The       assistance
                                                                                           purpose   of this to             usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Technology Grant        program is to accelerate        /       /
                                                            Program                 the development and             sam.g www.
                                                                                    deployment of                   ov/fal/ usasp
       Environmental Protection Agency             66.522   Enhanced Aquifer Use The purpose of this                https:/ https:/
                                                            and Recharge Program program is to carry out            /       /
                                                                                    groundwater research            sam.g www.
       Environmental Protection Agency             66.600   Environmental           on enhanced
                                                                                    The  Omnibus aquifer
                                                                                                   Territories              usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Protection Consolidated Act (OTA) allows the            /       /
                                                            Grants for the Insular  Insular Areas to                sam.g www.
                                                            Areas - Program         consolidate their               ov/fal/ usasp
       Environmental Protection Agency             66.604   Environmental Justice The Environmental                 https:/ https:/
                                                            Small Grant Program     Justice Small Grants            /       /
                                                                                    (EJSG) Program                  sam.g www.
       Environmental Protection Agency             66.605   Performance             provides
                                                                                    Fosteringfunding
                                                                                              EPAâ€™s               ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Partnership Grants         partnership with the         /       /
                                                                                       states and Tribes is         sam.g www.
       Environmental Protection Agency             66.608   Environmental          critical
                                                                                   The      to accelerating
                                                                                         National                           usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Information Exchange Environmental                      /       /
                                                            Network Grant Program Information Exchange              sam.g www.
                                                            and Related Assistance Network (EN) is an               ov/fal/ usasp
       Environmental Protection Agency             66.609   Protection of Children To support efforts by            https:/ https:/
                                                            from Environmental     organizations;                   /       /
                                                            Health Risks           educational institutions;        sam.g www.
       Environmental Protection Agency             66.610   Surveys, Studies,      and/or
                                                                                   The      State,
                                                                                         goals      local, and
                                                                                                of these                    usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Investigations and       assistance programs            /       /
                                                            Special Purpose Grants are to: (1) support              sam.g www.
                                                            within the Office of the surveys, studies,              ov/fal/ usasp
       Environmental Protection Agency             66.611   Environmental Policy     The goals of this              https:/ https:/
                                                            and Innovation Grants assistance program are            /       /
                                                                                     to (1) support analyses,       sam.g www.
       Environmental Protection Agency             66.614   Financial Assistance     studies, evaluations,
                                                                                     The objective  of this         ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            For Community Support program is to provide             /       /
                                                            Activities To Address   financial assistance to         sam.g www.
       Environmental Protection Agency             66.615   Environmental Justice
                                                            Environmental           eligible
                                                                            Justice The      entities
                                                                                         goals        to
                                                                                                of this                     usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Thriving Communities       program are to make          /       /
                                                            Grantmaking Program        awards for the design        sam.g www.
                                                            (EJ TCGM)                  and management of a          ov/fal/ usasp
       Environmental Protection Agency             66.616   Environmental and          The objective of this        https:/ https:/
                                                            Climate Justice            program is to provide        /       /
                                                            Community Change           financial assistance to      sam.g www.
       Environmental Protection Agency             66.700   Grants Program
                                                            Consolidated  Pesticide    eligibleterritorial,
                                                                                       State,   entities toand              usasp
                                                                                                                    ov/fal/ https:/
                                                                                                                    https:/
                                                            Enforcement                tribal agencies              /       /
                                                            Cooperative                participating in this        sam.g www.
       Environmental Protection Agency             66.701   Agreements
                                                            Toxic Substances       cooperative  agreement
                                                                                   The objectives  of this          ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Compliance Monitoring program are to: 1)                /       /
                                                            Cooperative            assist Grantees,                 sam.g www.
       Environmental Protection Agency             66.707   Agreements
                                                            TSCA Title IV State    including States,
                                                                                   The goal of  EPA'sthe
                                                                                                       lead-        ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                            Lead Grants            based paint program is           /     /
                                                            Certification of Lead- to eliminate childhood           sam.g www.
       Environmental Protection Agency             66.708   Based Paint
                                                            Pollution  Prevention        poisoning.
                                                                                   lead P2
                                                                                   The              The
                                                                                            grant program               usasp
                                                                                                                ov/fal/ https:/
                                                                                                                https:/
                                                            Grants Program             was enacted under the /          /
                                                                                       Pollution Prevention Act sam.g www.
                                                                                       of 1990 to: 1) Provide   ov/fal/ usasp




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       Environmental Protection Agency                        66.714   Pesticide Environmental The objective of this        https:/ https:/
                                                                       Stewardship Program program is to                    /       /
                                                                       (PESP) Grants           encourage smart,             sam.g www.
       Environmental Protection Agency                        66.716   Research,                        and
                                                                                               sensibleare
                                                                                               Grants      awarded to               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Development,             support research,           /       /
                                                                       Monitoring, Public       development,                sam.g www.
       Environmental Protection Agency                        66.717   Education, Outreach,
                                                                       Source Reduction         monitoring,
                                                                                                The goal of public
                                                                                                            the Source      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Assistance               Reduction Assistance        /       /
                                                                                                (SRA) program is to         sam.g www.
                                                                                                award grants that           ov/fal/ usasp
       Environmental Protection Agency                        66.720   PRIA 5: Farm Worker      Grants are awarded to       https:/ https:/
                                                                       and Health Care          support education,          /       /
                                                                       Provider Training and    outreach, training, and     sam.g www.
       Environmental Protection Agency                        66.721              Grants
                                                                       Education Embodied
                                                                       Reducing                 technical
                                                                                                The       assistance
                                                                                                    goal of the       to            usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Greenhouse Gas           Reducing Embodied           /       /
                                                                       Emissions for            Greenhouse Gas              sam.g www.
       Environmental Protection Agency                        66.722   Construction Materials
                                                                       Pesticide Registration   Emissions
                                                                                                The objective
                                                                                                           for of this      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Improvement Act          program, required by        /       /
                                                                       Employee Training        TITLE VIâ€”                 sam.g www.
                                                                                                PESTICIDES, Subtitle        ov/fal/ usasp
       Environmental Protection Agency                        66.801   Hazardous Waste          To assist State             https:/ https:/
                                                                       Management State         governments in the          /       /
                                                                       Program Support          development and             sam.g www.
       Environmental Protection Agency                        66.802   Superfund State,         implementation
                                                                                                The goals of thisof an      ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Political Subdivision,   assistance listing are to   /       /
                                                                       and Indian Tribe Site-   (1) conduct site            sam.g www.
                                                                       Specific Cooperative     characterization            ov/fal/ usasp
       Environmental Protection Agency                        66.804   Underground Storage      To assist states,           https:/ https:/
                                                                       Tank (UST) Prevention,   territories, tribes, or     /       /
                                                                       Detection, and           intertribal consortia       sam.g www.
       Environmental Protection Agency                        66.805   Compliance
                                                                       Leaking      Program
                                                                                 Underground    (leaking
                                                                                                To        underground
                                                                                                    support   state                 usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Storage Tank Trust     (including territories that   /       /
                                                                       Fund Corrective Action are included in the           sam.g www.
       Environmental Protection Agency                        66.806   Program
                                                                       Superfund Technical    definition  of state
                                                                                              The statutory        in the
                                                                                                               authority    ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Assistance Grants      for this project is           /       /
                                                                       (TAG) for Community    CERCLA 117(e) as              sam.g www.
                                                                       Groups at National     amended by 42 USC             ov/fal/ usasp
       Environmental Protection Agency                        66.808   Solid Waste            To promote use of             https:/ https:/
                                                                       Management             integrated solid waste        /       /
                                                                       Assistance Grants      management systems            sam.g www.
       Environmental Protection Agency                        66.809   Superfund State and    to
                                                                                              To solve
                                                                                                  effectively  waste
                                                                                                        solid implement     ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Indian Tribe Core         the statutory              /       /
                                                                       Program Cooperative       requirements of            sam.g www.
                                                                       Agreements                CERCLA Section 121(f)      ov/fal/ usasp
       Environmental Protection Agency                        66.812   Hazardous Waste           The Hazardous Waste        https:/ https:/
                                                                       Management Grant          Management Grant           /       /
                                                                       Program for Tribes        Program for Tribes         sam.g www.
       Environmental Protection Agency                        66.813                             provides
                                                                       Alternative or Innovative To supportassistance for
                                                                                                             grants and             usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Treatment Technology     cooperative agreements /       /
                                                                       Research,                for (1) a program of   sam.g www.
       Environmental Protection Agency                        66.814   Demonstration,
                                                                       Brownfields Training,  research,
                                                                                              Brownfieldevaluation,    ov/fal/
                                                                                                          sites are real
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                       Research, and          property, the expansion,      /       /
                                                                       Technical Assistance   redevelopment, or             sam.g www.
                                                                       Grants and Cooperative reuse of which may be         ov/fal/ usasp
       Environmental Protection Agency                        66.815   Brownfields Job        Brownfield sites are real     https:/ https:/
                                                                       Training Cooperative   property, the expansion,      /       /
                                                                       Agreements             redevelopment, or             sam.g www.
       Environmental Protection Agency                        66.816   Headquarters and       reuse of which
                                                                                              This grant      may be
                                                                                                          program           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Regional Underground funds activities in both    /       /
                                                                       Storage Tanks Program the LUST prevention        sam.g www.
       Environmental Protection Agency                        66.817   State and Tribal      and cleanup
                                                                                             Brownfield    programs.
                                                                                                         sites are real ov/fal/ usasp
                                                                                                                        https:/ https:/
                                                                       Response Program      property, the expansion, /         /
                                                                       Grants                redevelopment, or          sam.g www.
       Environmental Protection Agency                        66.818   Brownfields           reuse of which
                                                                                             Brownfield  sitesmay
                                                                                                               are be
                                                                                                                   real https:/ usasp
                                                                                                                        ov/fal/ https:/
                                                                       Multipurpose,            property, the expansion,    /       /
                                                                       Assessment, Revolving redevelopment, or              sam.g www.
       Environmental Protection Agency                        66.820   Loan
                                                                       STATE Fund,  and
                                                                               PROGRAMS         reuse  of which
                                                                                                The overall  goalmay   be
                                                                                                                   of the   ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       FOR CONTROL OF           CCR Grant program is        /       /
                                                                       COAL COMBUSTION to provide grants to                 sam.g www.
                                                                       RESIDUALS                assist states in the        ov/fal/ usasp
       Environmental Protection Agency                        66.920   Solid Waste              The objectives of the       https:/ https:/
                                                                       Infrastructure for       Post-Consumer               /       /
                                                                       Recycling Infrastructure Materials Management        sam.g www.
       Environmental Protection Agency                        66.921   Grants
                                                                       Reduce, Reuse,           Infrastructure
                                                                                                The objective Grant
                                                                                                               of the       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Recycling Education      grant program is to         /       /
                                                                       and Outreach Grants      improve the                 sam.g www.
       Environmental Protection Agency                        66.926   Indian Environmental     effectiveness
                                                                                                EPA  provides of
                                                                                                              Indian                usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       General Assistance      Environmental General        /       /
                                                                       Program (GAP)           Assistance Program           sam.g www.
                                                                                               (GAP) financial and          ov/fal/ usasp
       Environmental Protection Agency                        66.931   International Financial The Office of                https:/ https:/
                                                                       Assistance Projects     International and Tribal     /       /
                                                                       Sponsored by the Office Affairs (OITA) engages       sam.g www.
       Environmental Protection Agency                        66.950   of International and
                                                                       National Environmental both   bilaterally
                                                                                               The purpose     ofand
                                                                                                                  the       ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Education Training     teacher training              /       /
                                                                       Program                program is to train           sam.g www.
                                                                                              education professionals       ov/fal/ usasp
       Environmental Protection Agency                        66.951   Environmental          The Environmental             https:/ https:/
                                                                       Education Grants       Education Grants              /       /
                                                                       Program                Program supports              sam.g www.
       Environmental Protection Agency                        66.956   Targeted Airshed Grant projects  to design,
                                                                                              The overall    goal of the    ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Program                Targeted Airshed Grant        /       /




A166
                                                                                              program is to reduce air      sam.g www.
       Environmental Protection Agency                        66.957   Greenhouse Gas         pollution
                                                                                              The        in the
                                                                                                   Inflation  Reduction             usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Reduction Fund:          Act (IRA) amends the        /       /
                                                                       National Clean           Clean Air Act to include    sam.g www.
                                                                       Investment Fund          Section 134 (42 USC         ov/fal/ usasp
       Environmental Protection Agency                        66.958   Water Infrastructure     To accelerate               https:/ https:/
                                                                       Finance and Innovation   investment in our           /       /
                                                                       (WIFIA)                  nation's water and          sam.g www.
       Environmental Protection Agency                        66.959   Greenhouse Gas           wastewater
                                                                                                The Inflation Reduction     ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Reduction Fund: Solar    Act amends the Clean        /       /
                                                                       for All                  Air Act to include          sam.g www.
                                                                                                Section 134 (42 USC         ov/fal/ usasp
       Environmental Protection Agency                        66.960   Greenhouse Gas           The Inflation Reduction     https:/ https:/
                                                                       Reduction Fund: Clean    Act amends the Clean        /       /
                                                                       Communities              Air Act to include          sam.g www.
       Environmental Protection Agency                        66.961   Investment Accelerator
                                                                       Superfund State and      Section  134 (42
                                                                                                To effectively    USC
                                                                                                               implement    ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Indian Tribe Combined the statutory                  /       /
                                                                       Cooperative            requirements of               sam.g www.
       Environmental Protection Agency                        66.962                (Site-
                                                                       Agreements Programs
                                                                       Geographic           - CERCLA         state or
                                                                                              To supportforthe                      usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Columbia River Basin protection and                  /       /
                                                                       Restoration (CRBR)     restoration of the            sam.g www.
                                                                       Program                Columbia River Basin          ov/fal/ usasp
       Environmental Protection Agency                        66.964   Geographic Programs - The Chesapeake Bay is          https:/ https:/
                                                                       Chesapeake Bay         a national treasure and       /       /
                                                                       Program                unique as North               sam.g www.
       Environmental Protection Agency                        66.965   Implementation,
                                                                       CONTAMINATED           America's  largest and
                                                                                              Congress appropriated         ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       ALASKA NATIVE     funding starting in fiscal         /       /
                                                                       CLAIMS SETTLEMENT year 2023 for EPA to               sam.g www.
       Equal Employment Opportunity Commission                30.005   ACT LANDS
                                                                       Employment        establish
                                                                                         a)        and
                                                                                            To assist individuals                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Discrimination Private   who have filed a charge     /       /
                                                                       Bar Program              with the Commission, or     sam.g www.
                                                                                                on whose behalf a           ov/fal/ usasp
       Executive Office of the President                      95.001   High Intensity Drug      To reduce drug              https:/ https:/
                                                                       Trafficking Areas        trafficking and drug        /       /
                                                                       Program                  production in the United    sam.g www.
       Executive Office of the President                      95.003   DFC NATIONAL             States
                                                                                                Per   theby-- (A)
                                                                                                          authorizing               usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       COMMUNITY               legislation, for the Drug-   /       /
                                                                       ANTIDRUG                Free Communities             sam.g www.
                                                                       COALITION               (DFC) Support                ov/fal/ usasp
       Executive Office of the President                      95.004   Anti-Doping Activities  The Office of National       https:/ https:/
                                                                                               Drug Control Policy          /       /
                                                                                               (ONDCP), Executive           sam.g www.
       Executive Office of the President                      95.005   Drug Court Training and Office of the President,
                                                                                               The Administration           ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       Technical Assistance     supports a combined         /       /
                                                                                                public health and public    sam.g www.
       Executive Office of the President                      95.006   Model Acts Program       safety
                                                                                                The    approach
                                                                                                     purpose      to
                                                                                                              of the                usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                                                Model Acts Program          /       /
                                                                                                includes: A) advising       sam.g www.
                                                                                                states on establishing      ov/fal/ usasp
       Executive Office of the President                      95.007   Research and Data        The purpose of              https:/ https:/
                                                                       Analysis                 research and data           /       /
                                                                                                analysis is to inform       sam.g www.
       Executive Office of the President                      95.010   Congressional            policy
                                                                                                To     formulation
                                                                                                   implement        and
                                                                                                                special             usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Directives        Congressionally                    /       /
                                                                                         directed projects or               sam.g www.
                                                                                         programs identified in             ov/fal/ usasp
       Export - Import Bank of the United States              31.007   Export - Loan     The Export-Import Bank             https:/ https:/
                                                                       Guarantee/Insured of the United States               /       /
                                                                       Loans             (Ex-Im Bank or the                 sam.g www.
       Federal Communications Commission                      32.002   UNIVERSAL SERVICE Bank)  is an
                                                                                         Universal  service has             ov/fal/
                                                                                                                            https:/ usasp
                                                                                                                                    https:/
                                                                       FUND - HIGH COST  been defined by                    /       /
                                                                                         Congress as â€œan                  sam.g www.
       Federal Communications Commission                      32.003                     evolving level
                                                                       UNIVERSAL SERVICE Universal  service
                                                                                                        of has                      usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       FUND - LIFELINE    been defined by                   /       /
                                                                                          Congress as â€œan                 sam.g www.
                                                                                          evolving level of                 ov/fal/ usasp
       Federal Communications Commission                      32.004   UNIVERSAL SERVICE The schools and                    https:/ https:/
                                                                       FUND - SCHOOLS and libraries universal               /       /
                                                                       LIBRARIES          service support                   sam.g www.
       Federal Communications Commission                      32.005                      program,
                                                                       UNIVERSAL SERVICE The   Ruralcommonly
                                                                                                      Health Care                   usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       FUND - RURAL             Program, one of the     /       /
                                                                       HEALTH CARE              FCCâ€™s Universal       sam.g www.
       Federal Communications Commission                      32.006   COVID-19 Telehealth      Service
                                                                                                In response
                                                                                                        Fundtoprograms,
                                                                                                               the      ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                       Program                  coronavirus disease     /       /
                                                                                                2019 (COVID-19)         sam.g www.
       Federal Communications Commission                      32.007   Connected Care Pilot     pandemic,  communities
                                                                                                Telehealth has          ov/fal/
                                                                                                                        https:/ usasp
                                                                                                                                https:/
                                                                       Program                 assumed a critical role      /       /
                                                                                               in health care delivery      sam.g www.
       Federal Communications Commission                      32.008   Affordable Connectivity as
                                                                                               Ontechnology
                                                                                                   December and
                                                                                                              27, 2020,             usasp
                                                                                                                            ov/fal/ https:/
                                                                                                                            https:/
                                                                       Program                 the Consolidated             /       /
                                                                                               Appropriations Act,          sam.g www.
                                                                                               2021 (Consolidated           ov/fal/ usasp




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       Federal Communications Commission                                                        32.009   Emergency                 In section 7402 of the       https:/ https:/
                                                                                                         Connectivity Fund         American Rescue Plan         /       /
                                                                                                         Program                   Act (Act), Congress          sam.g www.
       Federal Communications Commission                                                        32.010   Supply Chain              established
                                                                                                                                   On          a $7.171
                                                                                                                                       March 12, 2020, the              usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Reimbursement           Secure and Trusted             /       /
                                                                                                         Program                 Communications                 sam.g www.
       Federal Communications Commission                                                        32.011   Affordable Connectivity Networks
                                                                                                                                 Millions ofAct  of 2019
                                                                                                                                              low-income        ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Outreach Grant          households experience          /       /
                                                                                                         Program                 difficulty paying for          sam.g www.
                                                                                                                                 broadband service              ov/fal/ usasp
       Federal Communications Commission                                                        32.012   Cybersecurity Pilot     As broadband                   https:/ https:/
                                                                                                         Program                 connectivity and               /       /
                                                                                                                                 Internet access have           sam.g www.
       Federal Financial Institutions Examination Council Appraisal Subcommittee                38.006                           become
                                                                                                         State Appraiser Agency To   provideessential
                                                                                                                                               State for                usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Support Grants            Appraiser Regulatory         /       /
                                                                                                                                   Agencies with funds to       sam.g www.
       Federal Financial Institutions Examination Council Appraisal Subcommittee                38.008   Training and Technical    advance the appraiser
                                                                                                                                   The objectives of this       ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Assistance for State      federal assistance are       /       /
                                                                                                         Appraiser Regulatory      to expand and provide        sam.g www.
                                                                                                         Agencies                  training and technical       ov/fal/ usasp
       Federal Financial Institutions Examination Council Appraisal Subcommittee                38.009   Board Support and         The Appraisal                https:/ https:/
                                                                                                         Innovation Grant          Subcommittee is              /       /
                                                                                                                                   making funds available       sam.g www.
       Federal Permitting Improvement Steering Council                                          90.800   Federal Permitting        to the Appraisal
                                                                                                                                   Providing  financial         ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Improvement Steering      assistance to Tribal         /       /
                                                                                                         Council Environmental     governments to               sam.g www.
                                                                                                         Review Improvement        facilitate timely and        ov/fal/ usasp
       General Services Administration                                                          39.002   Disposal of Federal       To assist State and          https:/ https:/
                                                                                                         Surplus Real Property     local governments, and       /       /
                                                                                                                                   certain eligible (501(c)     sam.g www.
       General Services Administration                                                          39.003   Donation of Federal           tax-exempt
                                                                                                                                   (3) donate
                                                                                                                                   To                status)
                                                                                                                                                Federal                 usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Surplus Personal        personal property no           /       /
                                                                                                         Property                longer required for            sam.g www.
       General Services Administration                                                          39.007   Sale of Federal Surplus Federal   use to eligible
                                                                                                                                 To sell personal               ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Personal Property       property no longer             /       /
                                                                                                                                 needed by the                  sam.g www.
                                                                                                                                 Government in an               ov/fal/ usasp
       Gulf Coast Ecosystem Restoration Council                                                 87.051   Gulf Coast Ecosystem The primary objective of          https:/ https:/
                                                                                                         Restoration Council     this program is to             /       /
                                                                                                         Comprehensive Plan      disburse funds to              sam.g www.
       Gulf Coast Ecosystem Restoration Council                                                 87.052   Component   Program
                                                                                                         Gulf Coast Ecosystem    eligible entities
                                                                                                                                 The primary    objective
                                                                                                                                                   for the of   ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Restoration Council Oil this program is to             /       /
                                                                                                         Spill Impact Program    disburse funds to              sam.g www.
                                                                                                                                 eligible entities for the      ov/fal/ usasp
       Inter-American Foundation                                                                85.750   IAF Assistance for      The primary objectives         https:/ https:/
                                                                                                         Overseas Programs       of the IAF Assistance          /       /
                                                                                                                                 for Programs Overseas          sam.g www.
       Inter-American Foundation                                                                85.751   IAF Assistance for      in Latin
                                                                                                                                 The      America
                                                                                                                                      primary        and the
                                                                                                                                                objectives              usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Overseas Programs         of the IAF Assistance       /       /
                                                                                                                                   for Programs Overseas sam.g www.
       Japan-U.S. Friendship Commission                                                         90.300   Japan-U.S. Friendship     in
                                                                                                                                   to Latin America
                                                                                                                                      promote          and the ov/fal/
                                                                                                                                                educational,   https:/ usasp
                                                                                                                                                                       https:/
                                                                                                         Commission Grants         intellectual, artistic and /        /
                                                                                                                                   cultural exchange and       sam.g www.
                                                                                                                                   research between            ov/fal/ usasp
       Library of Congress                                                                      42.010   Teaching with Primary     Teaching with Primary       https:/ https:/
                                                                                                         Sources                   Sources (TPS) grants        /       /
                                                                                                                                   seek to fulfill the         sam.g www.
       Library of Congress                                                                      42.011   Library of Congress       mission  of the
                                                                                                                                   To provide        Library
                                                                                                                                                grants   to of ov/fal/
                                                                                                                                                               https:/ usasp
                                                                                                                                                                       https:/
                                                                                                         Grants                    individuals and            /       /
                                                                                                                                   organizations.             sam.g www.
       Library of Congress                                                                      42.012   Connecting                The Connecting             ov/fal/ usasp
                                                                                                                                                              https:/ https:/
                                                                                                         Communities Digital       Communities Digital        /       /
                                                                                                         Initiative                Initiative (CCDI)          sam.g www.
       Library of Congress                                                                      42.013   Of the People:            encourages
                                                                                                                                   The           creators
                                                                                                                                         Library of        in ov/fal/
                                                                                                                                                    Congress  https:/ usasp
                                                                                                                                                                      https:/
                                                                                                         Community Collections seeks to award grants          /       /
                                                                                                         Grants                    to support                 sam.g www.
       Library of Congress                                                                      42.014                             contemporary     cultural  ov/fal/
                                                                                                         Affiliate Centers for the Through a gift from the https:/ usasp
                                                                                                                                                                      https:/
                                                                                                         Book Programming          John Y. Cole and Nancy /           /
                                                                                                         Grants                    E. Gwinn Trust Fund,       sam.g www.
                                                                                                                                   the Library will support   ov/fal/ usasp
       Library of Congress                                                                      42.015   Lewis-Houghton Civics With this notice, the          https:/ https:/
                                                                                                         and Democracy             Library of Congress        /       /
                                                                                                         Initiative                invites education-         sam.g www.
       Millennium Challenge Corporation                                                         85.002   MCC Foreign               focused
                                                                                                                                   To provideorganizations
                                                                                                                                                United        ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                         Assistance for            States assistance for        /       /
                                                                                                         Overseas Programs         global development           sam.g www.
       Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation   85.400   Morris K. Udall           through
                                                                                                                                   The     the Millennium
                                                                                                                                       Udall                            usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Scholarship Program       Undergraduate                /       /
                                                                                                                                   Scholarship identifies       sam.g www.
                                                                                                                                   future leaders in            ov/fal/ usasp
       Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation   85.401   Morris K. Udall           The Native American          https:/ https:/
                                                                                                         Fellowship Program        Graduate Fellowship          /       /
                                                                                                                                   Program supports             sam.g www.
       Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation   85.402   Morris K. Udall Native    outstanding  Native
                                                                                                                                   The Native American          ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         American                  Congressional                /       /
                                                                                                         Congressional             Internship Program           sam.g www.
                                                                                                         Internship Program        identifies future leaders    ov/fal/ usasp
       National Aeronautics and Space Administration                                            43.001   Science                   The Science Mission          https:/ https:/
                                                                                                                                   Directorate (SMD)            /       /
                                                                                                                                   pursues NASA's               sam.g www.
       National Aeronautics and Space Administration                                            43.002   Aeronautics               strategic
                                                                                                                                   The NASA  objectives,
                                                                                                                                                Mission         ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                                                   draws support from           /       /




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                                                                                                                                   NASAâ€™s world-              sam.g www.
       National Aeronautics and Space Administration                                            43.003   Exploration                     capability for
                                                                                                                                   classExploration
                                                                                                                                   The                                  usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                                                   Systems Development          /       /
                                                                                                                                   Mission Directorate          sam.g www.
                                                                                                                                   (ESDMD) defines and          ov/fal/ usasp
       National Aeronautics and Space Administration                                            43.007   Space Operations          NASAâ€™s Space               https:/ https:/
                                                                                                                                   Operations Mission           /       /
                                                                                                                                   Directorate is the heart     sam.g www.
       National Aeronautics and Space Administration                                            43.008   Office of Stem            of the agencyâ€™s
                                                                                                                                   NASAâ€™s      journeys       ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Engagement (OSTEM) have propelled                      /       /
                                                                                                                            technological                       sam.g www.
                                                                                                                            breakthroughs, pushed               ov/fal/ usasp
       National Aeronautics and Space Administration                                            43.009   Mission Support    Provides effective and              https:/ https:/
                                                                                                                            efficient institutional             /       /
                                                                                                                            support to enable                   sam.g www.
       National Aeronautics and Space Administration                                            43.012   Space Technology   successful
                                                                                                                            NASAâ€™s Space                      ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                                                   Technology Mission           /       /
                                                                                                                                   Directorate (STMD)           sam.g www.
       National Aeronautics and Space Administration                                            43.014   Congressionally           leads the
                                                                                                                                   NASA      development,
                                                                                                                                          Community                     usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Directed Programs         Projects/NASA Special        /       /
                                                                                                                                   Projects are provided        sam.g www.
                                                                                                                                   by Congress for specific     ov/fal/ usasp
       National Archives and Records Administration                                             89.001   National Archives         Objectives: To provide       https:/ https:/
                                                                                                         Reference Services        professional reference       /       /
                                                                                                         Historical Research       service to members of        sam.g www.
       National Archives and Records Administration                                             89.003   National Historical       the general public
                                                                                                                                   To undertake       and
                                                                                                                                                 a wide-        ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Publications and          range of activities          /       /
                                                                                                         Records Grants            related to the               sam.g www.
       National Council on Disability                                                           92.002   National Council on       preservation,
                                                                                                                                   NCD is an independent                usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Disability             federal agency charged          /       /
                                                                                                                                with advising the               sam.g www.
                                                                                                                                President, Congress,            ov/fal/ usasp
       National Credit Union Administration                                                     44.002   Community              The purpose of the              https:/ https:/
                                                                                                         Development Revolving Community                        /       /
                                                                                                         Loan Fund Program for Development Revolving            sam.g www.
       National Endowment for the Arts                                                          45.024   Credit Unions
                                                                                                         Promotion  of the Arts Loan
                                                                                                                                To support  (CDRLF) is
                                                                                                                                      Fund opportunities                usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Grants to Organizations for all people to              /       /
                                                                                                         and Individuals         participate in the arts        sam.g www.
                                                                                                                                 and arts education,            ov/fal/ usasp
       National Endowment for the Arts                                                          45.025   Promotion of the Arts   To develop and                 https:/ https:/
                                                                                                         Partnership Agreements maintain partnerships           /       /
                                                                                                                                 with the state and             sam.g www.
       National Endowment for the Arts                                                          45.201   Arts and Artifacts      jurisdictional
                                                                                                                                 To provide forarts             ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Indemnity                 indemnification against      /       /
                                                                                                                                   loss or damage for           sam.g www.
       National Endowment for the Humanities                                                    45.129   Promotion of the          eligible art works,
                                                                                                                                   Federal/State                        usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Humanities Federal/       Partnerships promote         /       /
                                                                                                         State Partnership         local, statewide, and        sam.g www.
                                                                                                                                   regional humanities          ov/fal/ usasp
       National Endowment for the Humanities                                                    45.130   Promotion of the          To strengthen                https:/ https:/
                                                                                                         Humanities Challenge      institutional base and       /       /
                                                                                                         Grants                    organizational capacity      sam.g www.
       National Endowment for the Humanities                                                    45.149   Promotion of the          for work in theand
                                                                                                                                   Preservation                         usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Humanities Division of Access grants ensure            /       /
                                                                                                         Preservation and       the long-term and wide          sam.g www.
                                                                                                         Access                 availability of primary         ov/fal/ usasp
       National Endowment for the Humanities                                                    45.160   Promotion of the       Fellowships and                 https:/ https:/
                                                                                                         Humanities Fellowships Stipends provide                /       /
                                                                                                         and Stipends           support for individual          sam.g www.
       National Endowment for the Humanities                                                    45.161   Promotion of the       scholars
                                                                                                                                Humanities to produce
                                                                                                                                              Research          ov/fal/
                                                                                                                                                                https:/ usasp
                                                                                                                                                                        https:/
                                                                                                         Humanities Research       awards advance               /       /
                                                                                                                                   knowledge and                sam.g www.
       National Endowment for the Humanities                                                    45.162   Promotion of the          understanding
                                                                                                                                   Teaching      of the
                                                                                                                                            and Learning                usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Humanities Teaching       Resources and                /       /
                                                                                                         and Learning              Curriculum                   sam.g www.
                                                                                                         Resources and             Development programs         ov/fal/ usasp
       National Endowment for the Humanities                                                    45.163   Promotion of the          The Institutes program       https:/ https:/
                                                                                                         Humanities                promotes better              /       /
                                                                                                         Professional              teaching and research        sam.g www.
       National Endowment for the Humanities                                                    45.164   Development
                                                                                                         Promotion of the          in the humanities
                                                                                                                                   Public            for
                                                                                                                                          Programs grants               usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Humanities Public         provide opportunities for /       /
                                                                                                         Programs                  the American public to    sam.g www.
       National Endowment for the Humanities                                                    45.169   Promotion of the          explore  human
                                                                                                                                   The Office        history
                                                                                                                                               of Digital    ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                         Humanities Office of      Humanities supports       /       /
                                                                                                         Digital Humanities        innovative humanities     sam.g www.
       National Science Foundation                                                              47.041   Engineering               projects that utilize
                                                                                                                                   "The NSF Directorate  or  ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                                                   for Engineering (ENG)        /       /
                                                                                                                                   seeks to improve the         sam.g www.
       National Science Foundation                                                              47.049   Mathematical and          quality
                                                                                                                                   To  promote      and the
                                                                                                                                           of lifethe                   usasp
                                                                                                                                                                ov/fal/ https:/
                                                                                                                                                                https:/
                                                                                                         Physical Sciences         progress of the              /       /
                                                                                                                                   mathematical and             sam.g www.
                                                                                                                                   physical sciences and        ov/fal/ usasp




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       National Science Foundation                                  47.050   Geosciences               To strengthen and            https:/ https:/
                                                                                                       enhance the national         /       /
                                                                                                       scientific enterprise        sam.g www.
       National Science Foundation                                  47.070   Computer and              through
                                                                                                       To support    expansion ov/fal/
                                                                                                                 theinvestigator-      usasp
                                                                                                                               https:/ https:/
                                                                             Information Science     initiated research and    /       /
                                                                             and Engineering         education in all areas of sam.g www.
       National Science Foundation                                  47.074   Biological Sciences     computing,
                                                                                                     To promote the            ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                                                     progress of the           /       /
                                                                                                     biological sciences and sam.g www.
                                                                                                     thereby strengthen the    ov/fal/ usasp
       National Science Foundation                                  47.075   Social, Behavioral, and To contribute to the      https:/ https:/
                                                                             Economic Sciences       scientific strength and   /       /
                                                                                                     welfare of the Nation     sam.g www.
       National Science Foundation                                  47.076   STEM Education          through
                                                                                                     To  provide   promotion
                                                                                                               theleadership           usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                             (formerly Education and and ensure the vitality        /       /
                                                                             Human Resources)        of the Nation's science,       sam.g www.
       National Science Foundation                                  47.078   Polar Programs          technology, engineering
                                                                                                     To strengthen  and             ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                                       enhance the national         /       /
                                                                                                       scientific enterprise        sam.g www.
                                                                                                       through the expansion        ov/fal/ usasp
       National Science Foundation                                  47.079   Office of International   To enable the U.S. to        https:/ https:/
                                                                             Science and               maintain its leadership      /       /
                                                                             Engineering               within the global            sam.g www.
       National Science Foundation                                  47.083   Integrative Activities    scientific
                                                                                                       Enhance community
                                                                                                                  the        by     ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                                       competitiveness of the       /       /
                                                                                                       Nationâ€™s research          sam.g www.
                                                                                                       through activities that      ov/fal/ usasp
       National Science Foundation                                  47.084   NSF Technology,           The Directorate for          https:/ https:/
                                                                             Innovation, and           Technology, Innovation,      /       /
                                                                             Partnerships              and Partnerships (TIP)       sam.g www.
       Northern Border Regional Commission                          90.601   Northern Border           seeks
                                                                                                       The   to (i) advance
                                                                                                            Northern  Border                usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                             Regional Development Regional Commission is /       /
                                                                                                   a Federal-State       sam.g www.
       Nuclear Regulatory Commission                                77.007   U.S. Nuclear          governmental   agency
                                                                                                   The Minority Serving  ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                             Regulatory Commission Institutions Grants   /       /
                                                                             Minority Serving      Program (MSIGP) funds sam.g www.
                                                                             Institutions Program  nuclear and/or STEM-  ov/fal/ usasp
       Nuclear Regulatory Commission                                77.008   U.S. Nuclear          This Scholarship and  https:/ https:/
                                                                             Regulatory Commission Fellowship program    /       /
                                                                             Scholarship and       provides funding for  sam.g www.
       Nuclear Regulatory Commission                                77.009   Fellowship
                                                                             U.S. Nuclear Program  undergraduate
                                                                                                   The Office of Nuclear ov/fal/
                                                                                                                         https:/ usasp
                                                                                                                                 https:/
                                                                             Regulatory Commission Regulatory Research              /       /
                                                                             Office of Research     (RES) furthers the              sam.g www.
                                                                             Financial Assistance   regulatory mission of           ov/fal/ usasp
       Office of the Director Of National Intelligence              54.001   Intelligence Community The Intelligence                https:/ https:/
                                                                             Centers for Academic   Community Centers for           /       /
                                                                             Excellence             Academic Excellence             sam.g www.
       Pension Benefit Guaranty Corporation                         86.001   Pension Plan              CAE) Program
                                                                                                    (ICencourage
                                                                                                    To             the is                   usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                             Termination Insurance     continuation and           /       /
                                                                                                       maintenance of             sam.g www.
       Railroad Retirement Board                                    57.001   Social Insurance for      voluntary
                                                                                                       Provide income
                                                                                                                  privatesecurity ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                             Railroad Workers          for retired and disabled /         /
                                                                                                       railroad workers, their    sam.g www.
                                                                                                       family members, and        ov/fal/ usasp
       Railroad Retirement Board                                    57.006   Social Insurance for      Provide income security https:/ https:/
                                                                             Railroad Workers          for retired and disabled /         /
                                                                                                       railroad workers, their    sam.g www.
       Small Business Administration                                59.006   8(a) Business             family  members,
                                                                                                       To foster  businessand     ov/fal/
                                                                                                                                  https:/ usasp
                                                                                                                                          https:/
                                                                             Development Program       ownership by             /       /
                                                                                                       individuals who are both sam.g www.
       Small Business Administration                                59.007   7(j) Technical            socially
                                                                                                       The  purpose
                                                                                                                and of the      ov/fal/ usasp
                                                                                                                                https:/ https:/
                                                                             Assistance                program is to provide    /       /
                                                                                                       Business Development sam.g www.
       Small Business Administration                                59.008   Disaster Assistance       Assistance
                                                                                                       To          for Small
                                                                                                          provide loans to the https:/  usasp
                                                                                                                                ov/fal/ https:/
                                                                             Loans                survivors of declared             /       /
                                                                                                  disasters for uninsured           sam.g www.
       Small Business Administration                                59.011   Small Business       or
                                                                                                  To otherwise
                                                                                                      establish privately           ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Investment Companies owned and managed                 /       /
                                                                                                  Small Business                    sam.g www.
                                                                                                  Investment Companies              ov/fal/ usasp
       Small Business Administration                                59.012   7(a) Loan Guarantees To provide guaranteed             https:/ https:/
                                                                                                  loans from lenders to             /       /
                                                                                                  eligible for profit small         sam.g www.
       Small Business Administration                                59.016   Surety Bond          businesses
                                                                                                  To guarantee  which  are
                                                                                                                  surety            ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Guarantees                bonds issued by              /       /
                                                                                                       Treasury listed surety       sam.g www.
       Small Business Administration                                59.026   SCORE                     companies
                                                                                                       To          for small
                                                                                                          provide mentoring                 usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                                                       and workshops to             /       /
                                                                                                       potential and existing       sam.g www.
                                                                                                       small business owners        ov/fal/ usasp
       Small Business Administration                                59.037   Small Business            To provide management        https:/ https:/
                                                                             Development Centers       counseling, training,        /       /
                                                                                                       and technical                sam.g www.
       Small Business Administration                                59.041   504 Certified             assistance  to the
                                                                                                       To assist small    small
                                                                                                                        business    ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Development Loans         concerns by providing        /       /
                                                                                                       long-term, fixed-rate        sam.g www.
                                                                                                       financing for fixed          ov/fal/ usasp
       Small Business Administration                                59.043   Women's Business          To fund private,             https:/ https:/
                                                                             Ownership Assistance      nonprofit organizations      /       /
                                                                                                       to assist, through           sam.g www.
       Small Business Administration                                59.044   Veterans Outreach         training and counseling,
                                                                                                       In accordance    with        ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Program                   Public Law 110-186, the /         /




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                                                                                                       organizations will        sam.g www.
       Small Business Administration                                59.046   Microloan Program         provide
                                                                                                       To assistinformation on
                                                                                                                  women, low-    ov/fal/ usasp
                                                                                                                                 https:/ https:/
                                                                                                       income, and minority      /       /
                                                                                                       entrepreneurs, business sam.g www.
                                                                                                       owners, and other         ov/fal/ usasp
       Small Business Administration                                59.050   Prime Technical           To increase the number https:/ https:/
                                                                             Assistance                of microenterprises and /         /
                                                                                                       to enhance the            sam.g www.
       Small Business Administration                                59.052   Native American           management     capability
                                                                                                       To fund economic          ov/fal/
                                                                                                                                 https:/ usasp
                                                                                                                                         https:/
                                                                             Outreach                  development projects         /       /
                                                                                                       that will provide small      sam.g www.
                                                                                                       business opportunities       ov/fal/ usasp
       Small Business Administration                                59.053   Ombudsman and             To assure equity and         https:/ https:/
                                                                             Regulatory Fairness       fairness in federal          /       /
                                                                             Boards                    regulation of small          sam.g www.
       Small Business Administration                                59.054   7(a)Export Loan           business   by receiving
                                                                                                       Provides aid   and           ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Guarantees                assistance to small-         /       /
                                                                                                       businesses to increase       sam.g www.
       Small Business Administration                                59.055   HUBZone Program           their purpose
                                                                                                       The             compete
                                                                                                             ability toof the               usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                                                    HUBZone program is to           /       /
                                                                                                    provide federal                 sam.g www.
                                                                                                    contracting assistance          ov/fal/ usasp
       Small Business Administration                                59.058   Federal and State      The purpose of the              https:/ https:/
                                                                             Technology Partnership FAST program is to              /       /
                                                                             Program                strengthen the                  sam.g www.
       Small Business Administration                                59.059   Congressional Grants technological
                                                                                                    Provide funding for             ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                                   small business                   /       /
                                                                                                   development and                  sam.g www.
       Small Business Administration                                59.061                         entrepreneurship
                                                                             State Trade Expansion Grants made to state                     usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                                                   governments to                   /       /
                                                                                                   increase the number of           sam.g www.
                                                                                                   small businesses that            ov/fal/ usasp
       Small Business Administration                                59.062   Intermediary Loan     Three year pilot                 https:/ https:/
                                                                             Program               program in which SBA             /       /
                                                                                                   made direct loans of up          sam.g www.
       Small Business Administration                                59.065   Growth Accelerator    to $1 million
                                                                                                   Growth        at an
                                                                                                           Accelerators                     usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                             Fund Competition          provide focused              /       /
                                                                                                       assistance to STEM/          sam.g www.
                                                                                                       R&D entrepreneurs to         ov/fal/ usasp
       Small Business Administration                                59.066   Transition Assistance     Boots to Business            https:/ https:/
                                                                             â€“ Entrepreneurship      (B2B) grant/                 /       /
                                                                             Track (Boots to           cooperative agreement        sam.g www.
       Small Business Administration                                59.067   Business)
                                                                             Regional Innovation       funding enables
                                                                                                       The purpose      eligible
                                                                                                                    of this         ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                             Clusters             program is to connect             /       /
                                                                                                  and expand regional               sam.g www.
       Small Business Administration                                59.069   SBA Emerging Leaders Emerging
                                                                                                  innovationLeaders
                                                                                                             clusters is
                                                                                                                       to a                 usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                             initiative           free educational series           /       /
                                                                                                  that provides executives          sam.g www.
                                                                                                  with the organizational           ov/fal/ usasp
       Small Business Administration                                59.072   Economic Injury      In response to the                https:/ https:/
                                                                             Disaster Loan        Coronavirus                       /       /
                                                                             Emergency Advance    (COVID-19) pandemic,              sam.g www.
       Small Business Administration                                59.073   Paycheck Protection        business owners
                                                                                                  smallPaycheck
                                                                                                  The                                       usasp
                                                                                                                                    ov/fal/ https:/
                                                                                                                                    https:/
                                                                             Loan Program (PPP)        Protection Program           /       /
                                                                                                       established by the           sam.g www.
                                                                                                       CARES Act is                 ov/fal/ usasp
       Small Business Administration                                59.075   Shuttered Venue           The SVOG Program             https:/ https:/
                                                                             Operators Grant           provided funds to            /       /
                                                                             Program                   support the ongoing          sam.g www.
       Small Business Administration                                59.076   Lab-to-Market             operations  of eligible
                                                                                                       Highlight successful         ov/fal/
                                                                                                                                    https:/ usasp
                                                                                                                                            https:/
                                                                                                     examples of innovation /           /
                                                                                                     ecosystems, particularly sam.g www.
       Small Business Administration                                59.077   Community Navigator     existing
                                                                                                     Per       resources that
                                                                                                          the American          ov/fal/ usasp
                                                                                                                                https:/ https:/
                                                                             Pilot Program           Rescue Plan, the SBA       /       /
                                                                                                     is authorized to create    sam.g www.
                                                                                                     and administer a $100      ov/fal/ usasp
       Small Business Administration                                59.078   Restaurant              This program provided      https:/ https:/
                                                                             Revitalization Fund     emergency assistance       /       /
                                                                                                     for eligible restaurants, sam.g www.
       Small Business Administration                                59.079   Cybersecurity for Small Funding     other
                                                                                                     bars, andopportunity   for https:/ usasp
                                                                                                                                ov/fal/ https:/
                                                                             Business Pilot Program state governments to        /       /
                                                                                                     assist small business      sam.g www.
       Social Security Administration                               96.001   Social Security         concerns    address
                                                                                                     Social Security   pays     ov/fal/
                                                                                                                                https:/ usasp
                                                                                                                                        https:/
                                                                             Disability Insurance      benefits to people who  /       /
                                                                                                       canâ€™t work because sam.g www.
       Social Security Administration                               96.002   Social Security           they
                                                                                                       The Social   medical
                                                                                                            have aSecurity     ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                             Retirement Insurance      Retirement benefit is a /       /
                                                                                                       monthly payment that    sam.g www.
       Social Security Administration                               96.004   Social Security           replaces
                                                                                                       Social Security   your
                                                                                                                 part ofhelps          usasp
                                                                                                                               ov/fal/ https:/
                                                                                                                               https:/
                                                                             Survivors Insurance       survivors by providing       /       /
                                                                                                       income for the families      sam.g www.
                                                                                                       of workers who die.          ov/fal/ usasp




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       Social Security Administration                                           96.006   Supplemental Security     To ensure a minimum          https:/ https:/
                                                                                         Income                    level of income to           /       /
                                                                                                                   persons who have             sam.g www.
       Social Security Administration                                           96.007   Social Security           attained
                                                                                                                   (1) To conduct   or are
                                                                                                                             age 65social,              usasp
                                                                                                                                                ov/fal/ https:/
                                                                                                                                                https:/
                                                                                         Research and              economic, and                /       /
                                                                                         Demonstration             demographic research         sam.g www.
       Social Security Administration                                           96.008   Social Security - Work    on topics important
                                                                                                                   To comply  with the to       ov/fal/
                                                                                                                                                https:/ usasp
                                                                                                                                                        https:/
                                                                                         Incentives Planning and Ticket-to-Work and             /       /
                                                                                         Assistance Program       Work Incentives               sam.g www.
                                                                                                                  Improvement Act               ov/fal/ usasp
       Social Security Administration                                           96.009   Social Security State    Support State                 https:/ https:/
                                                                                         Grants for Work          designated Protection         /       /
                                                                                         Incentives Assistance to and Advocacy (P&A)            sam.g www.
       Social Security Administration                                           96.011   Disabled Beneficiaries
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                                                                                         between Disability,       program is to foster new /       /
                                                                                         Rehabilitation, and       analysis of work,        sam.g www.
       Social Security Administration                                           96.012   Work
                                                                                         Interventional         rehabilitation,
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                                                                                         Cooperative Agreement economic, and                    /       /
                                                                                         Program                demographic research            sam.g www.
                                                                                                                on topics important to          ov/fal/ usasp
       Social Security Administration                                           96.013   Strengthening          Support State                   https:/ https:/
                                                                                         Protections for Social designated Protection           /       /
                                                                                         Security Beneficiaries and Advocacy (P&A)              sam.g www.
       Social Security Administration                                           96.020   Special Benefits for   systems.   The
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                                                                                                               eligible for                     ov/fal/ usasp
       Southeast Crescent Regional Commission                                   90.705   Southeast Crescent    The mission of the               https:/ https:/
                                                                                         Regional Commission - Commission is to help            /       /
                                                                                         Economic and          build sustainable                sam.g www.
       The Institute of Museum and Library Services                             45.031   Infrastructure
                                                                                         American   Latino     communities
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                                                                                         Museum Internship and designed to provide              /       /
                                                                                         Fellowship Initiative opportunities for                sam.g www.
       The Institute of Museum and Library Services                             45.032   21st Century Museum internships   and
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                                                                                                                 (21MP) program has             sam.g www.
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       The Institute of Museum and Library Services                             45.033   Museum Grants for       This program supports          https:/ https:/
                                                                                         American Latino History projects that build the        /       /
                                                                                         and Culture             capacity of American           sam.g www.
       The Institute of Museum and Library Services                             45.301   Museums for America Latino
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                                                                                                                            for America         ov/fal/
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                                                                                                                individual museums to           ov/fal/ usasp
       The Institute of Museum and Library Services                             45.308   Native American/Native The Native American/            https:/ https:/
                                                                                         Hawaiian Museum        Native Hawaiian                 /       /
                                                                                         Services Program       Museum Services                 sam.g www.
       The Institute of Museum and Library Services                             45.309   Museum Grants for      program (NANH)
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       The Institute of Museum and Library Services                             45.310   Grants to States          (AAHC)   is designed
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       The Institute of Museum and Library Services                             45.311   Native American and     The Native American            https:/ https:/
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                                                                                         Services                Library Services               sam.g www.
       The Institute of Museum and Library Services                             45.312   National Leadership     programs   (NANH-L)
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                                                                                         Grants                    that address critical        /       /
                                                                                                                   needs of the museum          sam.g www.
       The Institute of Museum and Library Services                             45.313   Laura Bush 21st           and library
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       U.S. Agency for Global Media                                             90.500   International             supports
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       U.S. Election Assistance Commission                                      90.400   Organizations
                                                                                         Help America Vote         through multimedia
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                                                                                         College Program        program is: (1) to              /       /
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       U.S. Election Assistance Commission                                      90.401   Help America Vote Act HAVA Section 251                 https:/ https:/
                                                                                         Requirements           authorizes requirements         /       /
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       U.S. Election Assistance Commission                                      90.404   HAVA Election Security States (including
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       United States Institute of Peace                                         91.005   Priority Grant         2002 (Public
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                                                                                                                   of the Instituteâ€™s         sam.g www.
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       United States International Development Finance Corporation              87.004   Equity Investments        The U.S. International       https:/ https:/
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       United States International Development Finance Corporation              87.005   Debt Financing            partners
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       United States International Development Finance Corporation              87.006   Political Risk Insurance The U.S. International        https:/ https:/
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       United States International Development Finance Corporation              87.101   Technical Assistance     partners
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                            EXECUTIVE OFFICE OF THE PRESIDENT
                                OFFICE OF MANAGEMENT AND BUDGET
                                         WASHINGTON, D.C. 20503


      THE DIRECTOR




                                           January 29, 2025

       M-25-14

       MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

       FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget

       SUBJECT: Rescission of M-25-13


              OMB Memorandum M-25-13 is rescinded. If you have questions about implementing the
       President’s Executive Orders, please contact your agency General Counsel.




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                              EXECUTIVE OFFICE OF THE PRESIDENT
                                  OFFICE OF MANAGEMENT AND BUDGET
                                            WASHINGTON, D.C. 20503




       In implementing President Trump’s Executive Orders, OMB issued guidance requesting that
       agencies temporarily pause, to the extent permitted by law, grant, loan or federal financial
       assistance programs that are implicated by the President’s Executive Orders.
       Any program not implicated by the President’s Executive Orders is not subject to the
       pause.
       The Executive Orders listed in the guidance are:
              Protecting the American People Against Invasion

              Reevaluating and Realigning United States Foreign Aid
              Putting America First in International Environmental Agreements

              Unleashing American Energy

              Ending Radical and Wasteful Government DEI Programs and Preferencing

              Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
              the Federal Government
              Enforcing the Hyde Amendment
       Any program that provides direct benefits to individuals is not subject to the pause.
       The guidance establishes a process for agencies to work with OMB to determine quickly whether
       any program is inconsistent with the President’s Executive Orders. A pause could be as short as
       day. In fact, OMB has worked with agencies and has already approved many programs to
       continue even before the pause has gone into effect.
       Any payment required by law to be paid will be paid without interruption or delay.
       Q: Is this a freeze on all Federal financial assistance?
       A: No, the pause does not apply across-the-board. It is expressly limited to programs, projects,
       and activities implicated by the President’s Executive Orders, such as ending DEI, the green new
       deal, and funding nongovernmental organizations that undermine the national interest.
       Q: Is this a freeze on benefits to Americans like SNAP or student loans?
       A: No, any program that provides direct benefits to Americans is explicitly excluded from the
       pause and exempted from this review process. In addition to Social Security and Medicare,
       already explicitly excluded in the guidance, mandatory programs like Medicaid and SNAP will
       continue without pause.



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        Funds for small businesses, farmers, Pell grants, Head Start, rental assistance, and other similar
        programs will not be paused. If agencies are concerned that these programs may implicate the
        President’s Executive Orders, they should consult OMB to begin to unwind these objectionable
        policies without a pause in the payments.
         Q: Is the pause of federal financial assistance an impoundment?
         A: No, it is not an impoundment under the Impoundment Control Act. It is a temporary pause
         to give agencies time to ensure that financial assistance conforms to the policies set out in the
         President’s Executive Orders, to the extent permitted by law.
         Temporary pauses are a necessary part of program implementation that have been ordered by
         past presidents to ensure that programs are being executed and funds spent in accordance with a
         new President’s policies and do not constitute impoundments.
         Q: Why was this pause necessary?
         A: To act as faithful stewards of taxpayer money, new administrations must review federal
         programs to ensure that they are being executed in accordance with the law and the new
         President’s policies.




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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                                    )
        STATE OF NEW YORK; STATE OF                 )
        CALIFORNIA; STATE OF ILLINOIS;              )
        STATE OF RHODE ISLAND; STATE OF             )
        NEW JERSEY; COMMONWEALTH OF                 )
        MASSACHUSETTS; STATE OF
                                                    )
        ARIZONA; STATE OF COLORADO;
                                                    )
        STATE OF CONNECTICUT; STATE OF
        DELAWARE; THE DISTRICT OF                   )
        COLUMBIA; STATE OF HAWAI’I;                 )
        STATE OF MAINE; STATE OF                    )
        MARYLAND; STATE OF MICHIGAN;                )
        STATE OF MINNESOTA; STATE OF                )
        NEVADA; STATE OF NORTH                      )
        CAROLINA; STATE OF NEW MEXICO;              )
        STATE OF OREGON; STATE OF                   )
        VERMONT; STATE OF WASHINGTON;               )
        and STATE OF WISCONSIN,
                                                    )
                                                    )
              Plaintiffs,
                                                    )
        v.                                          )
                                                    )     C.A. No. 25-cv-39-JJM-PAS
        DONALD TRUMP, in his Official               )
        Capacity as President of the United         )
        States; U.S. OFFICE OF                      )
        MANAGEMENT AND BUDGET;                      )
        MATTHEW J. VAETH, in his Official           )
        Capacity as Acting Director of the U.S.     )
        Office of Management and Budget; U.S.       )
        DEPARTMENT OF THE TREASURY;
                                                    )
        SCOTT BESSENT, in his Official
        Capacity as Secretary of the Treasury;      )
        PATRICIA COLLINS, in her Official           )
        Capacity as Treasurer of the U.S.; U.S.     )
        DEPARTMENT OF HEALTH AND                    )
        HUMAN SERVICES; DOROTHY A.                  )
        FINK, M.D., in her Official Capacity As     )
        Acting Secretary Of Health And Human        )
        Services; U.S. DEPARTMENT OF                )
        EDUCATION; DENISE CARTER, in her            )
        Official Capacity as Acting Secretary of    )
        Education; U.S. FEDERAL
                                                    )
        EMERGENCY MANAGEMENT
        AGENCY; CAMERON HAMILTON, in                )




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        his Official Capacity as Acting          )
        Administrator of the U.S. Federal        )
        Emergency Management Agency; U.S.        )
        DEPARTMENT OF                            )
        TRANSPORTATION;
                                                 )
        JUDITH KALETA, in her Official
                                                 )
        Capacity as Acting Secretary of
        Transportation; U.S. DEPARTMENT OF )
        LABOR; VINCE MICONE, in his Official )
        Capacity as Acting Secretary of Labor;   )
        U.S. DEPARTMENT OF ENERGY;               )
        INGRID KOLB, in her Official Capacity    )
        as Acting Secretary of the U.S.          )
        Department of Energy; U.S.               )
        ENVIRONMENTAL PROTECTION                 )
        AGENCY; JAMES PAYNE, in his Official )
        Capacity as Acting Administrator of the  )
        U.S. Environmental Protection Agency;
                                                 )
        U.S. DEPARTMENT OF HOMELAND
        SECURITY; KRISTI NOEM, in her            )
        Capacity as Secretary of the U.S.        )
        Department of Homeland Security; U.S.    )
        DEPARTMENT OF JUSTICE; JAMES R. )
        McHENRY III, in his Official Capacity as )
        Acting Attorney General of the U.S.      )
        Department of Justice; THE NATIONAL )
        SCIENCE FOUNDATION; and DR.              )
        SETHURAMAN PANCHANATHAN, in              )
        his Capacity as Director of the National
                                                 )
        Science Foundation,
                                                 )
               Defendants.                       )
                                                 )

                             TEMPORARY RESTRAINING ORDER

              The legal standard for a Temporary Restraining Order (“TRO”) mirrors that of

       a preliminary injunction. The Plaintiff States must show that weighing these four

       factors favors granting a TRO:

                              1. likelihood of success on the merits;
                              2. potential for irreparable injury;
                              3. balance of the relevant equities; and




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                               4. effect on the public interest if the Court grants or denies
                                  the TRO.


       Planned Parenthood League v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981). The

       traditional equity doctrine that preliminary injunctive relief is an extraordinary and

       drastic remedy that is never awarded as of right guides the Court. Id. The Court is

       also fully aware of the judiciary’s role as one of the three independent branches of

       government, and that the doctrine of separation of powers restricts its reach into the

       Executive Branch. The Court now turns to the four factors.

                                 Likelihood of Success on the Merits

              We begin with what courts have called a key factor—a consideration of the

       movant’s likelihood of success on the merits.

              In Count I, the States allege that the Executive’s actions by the Office of

       Management and Budget (“OMB”) 1 violate the Administrative Procedure Act

       (“APA”) 2 because Congress has not delegated any unilateral authority to the

       Executive to indefinitely pause all federal financial assistance without considering

       the statutory and contractual terms governing these billions of dollars of grants.

              In Count II, the States allege that the Executive’s actions violate the APA

       because the failure to spend funds appropriated by Congress is arbitrary and

       capricious in multiple respects.




              1 See supra for discussion of mootness.
              2 5 U.S.C. § 551 et seq.



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              In Count III, the States allege that the failure to spend funds appropriated by

       Congress violates the separation of powers because the Executive has overridden

       Congress’ judgments by refusing to disburse already-allocated funding for many

       federal grant programs.

              In Count IV, the States allege a violation of the Spending Clause of the U.S.

       Constitution. U.S. Const. art. I, § 8, cl. law 1.

              And in Count V, the States allege a violation of the presentment (U.S. Const.

       art. I, § 7, cl. 2), appropriations (U.S. Const. art. I, § 7), and take care clauses (U.S.

       Const. art. II, § 3, cl. 3) (the Executive must “take care that the laws be faithfully

       executed . . .”).

              Because of the breadth and ambiguity of the “pause,” the Court must consider

       the States’ TRO motion today based on the effect it will have on many—but perhaps

       not all—grants and programs it is intended to cover. Are there some aspects of the

       pause that might be legal and appropriate constitutionally for the Executive to take?

       The Court imagines there are, but it is equally sure that there are many instances in

       the Executive Orders’ wide-ranging, all-encompassing, and ambiguous “pause” of

       critical funding that are not. The Court must act in these early stages of the litigation

       under the “worst case scenario” because the breadth and ambiguity of the Executive’s

       action makes it impossible to do otherwise.

              The Court finds that, based on the evidence before it now, some of which is set

       forth below, the States are likely to succeed on the merits of some, if not all, their

       claims. The reasons are as follows:




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          •   The Executive’s action unilaterally suspends the payment of federal funds to

              the States and others simply by choosing to do so, no matter the authorizing or

              appropriating statute, the regulatory regime, or the terms of the grant itself.

              The Executive cites no legal authority allowing it to do so; indeed, no federal

              law would authorize the Executive’s unilateral action here.

          •   Congress has instructed the Executive to provide funding to States based on

              stated statutory factors—for example, population or the expenditure of

              qualifying State funds. By trying to impose certain conditions on this funding,

              the Executive has acted contrary to law and in violation of the APA.

          •   The Executive Orders threaten the States’ ability to conduct essential

              activities and gave the States and others less than 24 hours’ notice of this

              arbitrary pause, preventing them from making other plans or strategizing how

              they would continue to function without these promised funds.

          •   Congress appropriated many of these funds, and the Executive’s refusal to

              disburse them is contrary to congressional intent and directive and thus

              arbitrary and capricious.

          •   Congress has not given the Executive limitless power to broadly and

              indefinitely pause all funds that it has expressly directed to specific recipients

              and purposes and therefore the Executive’s actions violate the separation of

              powers.

              Judge Bruce M. Selya of the First Circuit succinctly set out the black letter law

       about appropriated funds and Executive powers:




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                  When an executive agency administers a federal statute, the agency’s
                  power to act is “authoritatively prescribed by Congress.” City of
                  Arlington v. FCC, 569 U.S. 290, 297, 133 S. Ct. 1863, 185 L. Ed. 2d 941
                  (2013). It is no exaggeration to say that “an agency literally has no
                  power to act ... unless and until Congress confers power upon it.” La.
                  Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374, 106 S. Ct. 1890, 90 L. Ed.
                  2d 369 (1986). Any action that an agency takes outside the bounds of
                  its statutory authority is ultra vires, see City of Arlington, 569 U.S.
                  at 297, 133 S. Ct. 1863, and violates the Administrative Procedure Act,
                  see 5 U.S.C. § 706(2)(C).

       City of Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020).

                  The Executive’s statement that the Executive Branch has a duty “to align

       Federal spending and action with the will of the American people as expressed

       through Presidential priorities,” (ECF No. 48-1 at 11) (emphasis added) is a

       constitutionally flawed statement. The Executive Branch has a duty to align federal

       spending and action with the will of the people as expressed through congressional

       appropriations, not through “Presidential priorities.” U.S. Const. art. II, § 3, cl. 3

       (establishing that the Executive must “take care that the laws be faithfully executed

       . . .”).     Federal law specifies how the Executive should act if it believes that

       appropriations are inconsistent with the President’s priorities–it must ask Congress,

       not act unilaterally.      The Impoundment Control Act of 1974 specifies that the

       President may ask that Congress rescind appropriated funds. 3 Here, there is no

       evidence that the Executive has followed the law by notifying Congress and thereby

       effectuating a potentially legally permitted so-called “pause.”



                  3 If both the Senate and the House of Representatives have not approved a

       rescission proposal (by passing legislation) within forty-five days of continuous
       session, any funds the Executive is withholding must be made available for
       obligation.


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              Justice Brett Kavanaugh wrote when he was on the D.C. Circuit:

              Like the Commission here, a President sometimes has policy reasons (as
              distinct from constitutional reasons, cf. infra note 3) for wanting to
              spend less than the full amount appropriated by Congress for a
              particular project or program. But in those circumstances, even the
              President does not have unilateral authority to refuse to spend the
              funds. Instead, the President must propose the rescission of funds, and
              Congress then may decide whether to approve a rescission bill. See 2
              U.S.C. § 683; see also Train v. City of New York, 420 U.S. 35, 95 S. Ct.
              839, 43 L. Ed. 2d 1 (1975); Memorandum from William H. Rehnquist,
              Assistant Attorney General, Office of Legal Counsel, to Edward L.
              Morgan, Deputy Counsel to the President (Dec. 1, 1969), reprinted in
              Executive Impoundment of Appropriated Funds: Hearings Before the
              Subcomm. on Separation of Powers of the S. Comm. on the Judiciary,
              92d Cong. 279, 282 (1971) (“With respect to the suggestion that the
              President has a constitutional power to decline to spend appropriated
              funds, we must conclude that existence of such a broad power is
              supported by neither reason nor precedent.”)

       In re Aiken Cnty., 725 F.3d 255, 261, n.1 (D.C. Cir. 2013).

              The Court finds that the record now before it substantiates the likelihood of a

       successful claim that the Executive’s actions violate the Constitution and statutes of

       the United States.

              The Court now moves on to the remaining three injunction considerations.

                                             Irreparable Harm

              The States have put forth sufficient evidence at this stage that they will likely

       suffer severe and irreparable harm if the Court denies their request to enjoin

       enforcement of the funding pause.

          •   All the States rely on federal funds to provide and maintain vital programs and

              services and have introduced evidence that the withholding of federal funds




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              will cause severe disruption in their ability to administer such vital services–

              even if it is for a brief time.

          •   The States detail many examples of where the Executive’s overarching pause

              on funding that Congress has allocated will harm them and their citizens.

              These programs range from highway planning and construction, childcare,

              veteran nursing care funding, special education grants, and state health

              departments, who receive billions of dollars to run programs that maintain

              functional health systems. See, e.g., ECF No. 3-1 at 56 (highway construction

              programs in Delaware), at 73 (childcare programs in Michigan), at 113

              (veterans nursing care funding in Washington state), at 77 (special education

              programs in Minnesota), and at 100–01 (health care programs in New Mexico).

          •   The pause in federal funding will also hurt current disaster relief efforts. The

              States assert that the pause applies to federal actions directing federal

              financial assistance to North Carolina to address the damage inflicted by

              Hurricane Helene and to any Federal Emergency Management Agency grant

              money not yet disbursed, including key support for California’s ongoing

              response to the fires. ECF No. 1 ¶¶ 80–81.

          •   A January 28, 2025, email from Shannon Kelly, the Director of the National

              High Intensity Drug Case Trafficking Areas (HIDTA) program, who aids law

              enforcement in high drug-trafficking areas, shows that payments to state-

              based HIDTA programs have been paused, putting the public’s safety at risk.

              Id. ¶ 83.



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               The States have set forth facts showing that the Executive’s abrupt “pause” in

       potentially trillions of dollars of federal funding will cause a ripple effect that would

       directly impact the States and other’s ability to provide and administer vital services

       and relief to their citizens. Thus, the federal grants to States and others that are

       impounded through the Executive’s pause in disbursement will cause irreparable

       harm.

               And it is more than monetary harm that is at stake here. As Justice Anthony

       Kennedy reminds us, “Liberty is always at stake when one or more of the branches

       seek to transgress the separation of powers.” Clinton v. City of New York, 524 U.S.

       417, 449–50 (1998) (Kennedy, J. concurring)

                               Balance of the Equities and Public Interest

               As the Court considers the final two factors, the record shows that the balance

       of equities weighs heavily in favor of granting the States’ TRO.

          •    If the Defendants are prevented from enforcing the directive contained in the

               OMB Directive, they merely would have to disburse funds that Congress has

               appropriated to the States and others.

          •    On the other hand, if the Court denies the TRO, the funding that the States

               and others are presumably due under law is in an indefinite limbo—a hardship

               worsened by the fact that the States had less than 24 hours’ notice to act in

               anticipation of the funding shortfall.

          •    The fact that the States have shown a likelihood of success on the merits

               strongly suggests that a TRO would serve the public interest. Moreover, the




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              public interest further favors a TRO because absent such an order, there is a

              substantial risk that the States and its citizens will face a significant

              disruption in health, education, and other public services that are integral to

              their daily lives due to this pause in federal funding.

              The evidence in the record at this point shows that, despite the rescission of

       the OMB Directive, the Executive’s decision to pause appropriated federal funds

       “remains in full force and effect.” ECF No. 44.

                                              Mootness

              The Defendants now claim that this matter is moot because it rescinded the

       OMB Directive. But the evidence shows that the alleged rescission of the OMB

       Directive was in name-only and may have been issued simply to defeat the

       jurisdiction of the courts. The substantive effect of the directive carries on.

              Messaging from the White House and agencies proves the point. At 2:04 EST,

       less than an hour before the Court’s hearing on the States’ motion on Wednesday, the

       Defendants filed a Notice saying, “OMB elected to rescind that challenged

       Memorandum. See OMB Mem. M-25-14, Rescission of M-25-13 (Jan. 28, 2025) (‘OMB

       Memorandum M-25-13 is rescinded.’).” ECF No. 43. Yet about twenty minutes before

       the Defendants filed the Notice, the President’s Press Secretary sent a statement via

       the X platform that said: “The President’s [Executive Orders] EO’s on federal funding

       remain in full force and effect and will be rigorously implemented.” ECF No. 44. And

       then the following day (January 30, 2025 at 7:50 MST and again at 5:27 p.m. EST)

       after the so-called rescission, the Environmental Protection Agency, in an email to




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       federal grant recipients, said that the awarded money could not be disbursed while it

       worked “diligently to implement the [OMB] Memorandum, Temporary Pause of

       Agency Grant, Loan, and Other Financial Assistance Programs, to align Federal

       spending and action with the will of the American people as expressed through

       President Trump’s priorities. The agency is temporarily pausing all activities related

       to the obligation or disbursement of EPA Federal financial assistance at this time.

       EPA is continuing to work with OMB as they review processes, policies, and

       programs, as required by the memorandum.” ECF No. 48-1 at 6, 11.

              Based on the Press Secretary’s unequivocal statement and the continued

       actions of Executive agencies, the Court finds that the policies in the OMB Directive

       that the States challenge here are still in full force and effect and thus the issues

       presented in the States’ TRO motion are not moot.

                                             Conclusion

              Consistent with the findings above, and to keep the status quo, the Court

       hereby ORDERS that a TEMPORARY RESTRAINING ORDER is entered in this

       case until this Court rules on the States’ forthcoming motion for a preliminary

       injunction, which the States shall file expeditiously.

              During the pendency of the Temporary Restraining Order, Defendants shall

       not pause, freeze, impede, block, cancel, or terminate Defendants’ compliance with

       awards and obligations to provide federal financial assistance to the States, and

       Defendants shall not impede the States’ access to such awards and obligations, except

       on the basis of the applicable authorizing statutes, regulations, and terms.




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              If Defendants engage in the “identif[ication] and review” of federal financial

       assistance programs, as identified in the OMB Directive, such exercise shall not affect

       a pause, freeze, impediment, block, cancellation, or termination of Defendants’

       compliance with such awards and obligations, except on the basis of the applicable

       authorizing statutes, regulations, and terms.

              Defendants shall also be restrained and prohibited from reissuing, adopting,

       implementing, or otherwise giving effect to the OMB Directive under any other name

       or title or through any other Defendants (or agency supervised, administered, or

       controlled by any Defendant), such as the continued implementation identified by the

       White House Press Secretary’s statement of January 29, 2025. ECF No. 44.

              Defendants’ attorneys shall provide written notice of this Order to all

       Defendants and agencies and their employees, contractors, and grantees by Monday,

       February 3, 2025, at 9 a.m. Defendants shall file a copy of the notice on the docket

       at the same time.

              Defendants shall comply with all notice and procedural requirements in the

       award, agreement, or other instrument relating to decisions to stop, delay, or

       otherwise withhold federal financial assistance programs.

              The TRO shall be in effect until further Order of this Court. A preliminary

       hearing, at which time the States will have to produce specific evidence in support of

       a preliminary injunction, will be set shortly at a day and time that is convenient to

       the parties and the Court.




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       IT IS SO ORDERED.


       s/John J. McConnell, Jr.
       _________________________________
       John J. McConnell, Jr.
       Chief Judge
       United States District Court for the District of Rhode Island

       January 31, 2025




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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                        Plaintiffs,

                v.
                                                                  C.A. No. 1:25-cv-00039
        DONALD TRUMP, IN HIS OFFICIAL CAPACITY
        AS PRESIDENT OF THE UNITED STATES, et al.,                REQUEST FOR EMERGENCY
                                                                  RELIEF TO ENFORCE
                        Defendants.                               TEMPORARY RESTRAINING
                                                                  ORDER OF JANUARY 31, 2025,
                                                                  UPON EVIDENCE OF
                                                                  VIOLATION



           PLAINTIFF STATES’ MOTION FOR ENFORCEMENT OF THE TEMPORARY
                                RESTRAINING ORDER

              On January 31, 2025, this Court issued a Temporary Restraining Order enjoining

       Defendants, including the President of the United States, Donald J. Trump, the United States Office

       of Management and Budget, and the United States Treasury Department, from “reissuing,

       adopting, implementing, or otherwise giving effect to the OMB Directive under any other name or

       title or through any other Defendants (or agency supervised, administered, or controlled by any

       Defendant)” by any means, including through oblique means “such as the continued

       implementation identified by the White House Press Secretary’s statement of January 29, 2025.”

       TRO 12, ECF No. 50 (“Order”). Yet Plaintiff States and entities within the Plaintiff States

       continue to be denied access to federal funds. These denials continue to cause immediate

       irreparable harm as demonstrated in the temporary restraining order proceedings and will be

       further demonstrated in support of the Plaintiff States’ request for preliminary injunction, filed

       simultaneously with this motion. Jobs, lives, and the social fabric of life in the Plaintiff States are

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       at risk from the disruptions and uncertainty that have continued now a full week after entry of the

       Order. As this Court noted, executive action that is “in name-only and may have” proceeded

       “simply to defeat the jurisdiction of the courts” weighs in favor of temporary but decisive action.

       Order, 10. Unfortunately, such action is once again necessary on an urgent basis.

               The sands have only continued to shift since January 31. As explained below, there has

       been an ever-changing kaleidoscope of federal financial assistance that has been suspended,

       deleted, in transit, under review, and more since entry of the Order. These conditions persist today.

       In particular, Defendants have—for the first time this week—taken the position that certain federal

       funds, including federal financial assistance under the Inflation Reduction Act (“IRA”) and the

       Infrastructure Improvement and Jobs Act (“IIJA”), is outside the scope of the Court’s Order, a

       position contradicted by the plain text of the Order and the notice Defendants previously filed with

       the Court explaining their view of the scope of the Order. See Order 11-12.

               And, while it is imaginable that a certain amount of machinery would need to be re-tooled

       in order to undo the breadth of the Federal Funding Freeze, there is no world in which these

       scattershot outages, which as of this writing impact billions of dollars in federal funding across the

       Plaintiff States, can constitute compliance with this Court’s Order. Defendants contemplated an

       all-of-government “pause” on federal funding could be implemented in the less than 24 hours

       between when the OMB Directive issued and when it took effect. Yet, as to a number of funding

       sources that provide critical services in Plaintiffs’ States, the situation has not changed at all nearly

       a week after the Court’s Order, which noted that “[t]he evidence in the record at this point shows

       that . . . the Executive’s decision to pause appropriated federal funds [for at least some federal

       programs] ‘remains in full force and effect.’” Order 10.




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              Defendants also seek resort to unspecified administrative and operational delays—but

       these are the delays the Defendants are enjoined from imposing. This Court should enforce the

       plain text of its temporary restraining order and order Defendants to immediately restore funds and

       desist from the federal funding pause until the preliminary injunction motion can be heard and

       decided, a process which is proceeding expeditiously in separate proceedings before this Court.

         I.        FACTUAL BACKGROUND

              A.      Court Order
              This Court’s Order restrained three types of conduct. First, Defendants shall “not pause,

       freeze, impede, block, cancel, or terminate Defendants’ compliance with awards and obligations

       to provide federal financial assistance to the States, and Defendants shall not impede the States’

       access to such awards and obligations, except on the basis of the applicable authorizing statutes,

       regulations, and terms.” Order 11. Second, the Defendants shall not accomplish any of the listed

       prohibited activities during “‘identif[ication] and review’ of federal financial assistance programs,

       as identified in the OMB Directive.” Order 12. Third, the Federal Funding Freeze is not to be

       reinstituted under any name—Defendants are “restrained and prohibited from reissuing, adopting,

       implementing, or otherwise giving effect to the OMB Directive under any other name or title or

       through any other Defendants (or agency supervised, administered, or controlled by any

       Defendant).” Id. Moreover, the Court required affirmative action of the Defendants—that is, if

       any grant needed to be stopped, delayed, or otherwise withheld in the regular order, Defendants

       are required to “comply with all notice and procedural requirements in the award, agreement, or

       other instrument” governing the federal financial assistance at issue. Id.

              In addition, in recognition that the scope of the Federal Funding Freeze was vast, the Court

       ordered Defendants’ attorneys to “provide written notice of this Order to all Defendants and



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       agencies and their employees, contractors, and grantees by Monday, February 3, 2025, at 9 a.m.”

       and file a copy with the Court at the same time. Id.

              B.      Defendants’ Subsequent Conduct

                      1.      Notice of Court Order

              Defendants filed the Notice of Court Order on Monday, February 3, 2025. In it, Defendants

       stated their understanding of the scope of the Court’s Order, telling all of their “employees,

       contractors, and grantees” that “Federal agencies cannot pause, freeze, impede, block, cancel, or

       terminate any awards or obligations on the basis of the OMB Memo, or on the basis of the

       President’s recently issued Executive Orders.” Notice of Ct. Order 1, ECF No. 51-1. Defendants

       accompanied their filing of the Notice with a brief cover memorandum to the Court, which

       elaborated on their views that:

              •    the Order did not restrain the “President or his advisors from communicating with
                   federal agencies or the public about the President’s priorities regarding federal
                   spending.”

              •    the Order did not enjoin “the President’s Executive Orders, which are plainly lawful
                   and unchallenged in this case.”

              •    the Order did not “impos[e] compliance obligations on federal agencies that are not
                   Defendants in this case.”

                      2.      Noncompliance with Court Order

              Despite the Court’s order, Defendants have failed to resume disbursing federal funds in

       multiple respects.

              IRA/IIJA funds. First, Defendants have failed to fully resume disbursing federal funds

       appropriated by the IRA and IIJA. Plaintiff States’ agencies that receive IRA/IIJA-appropriated

       funds under final grant agreements have been regularly refreshing federal payment portals—in

       particular, the Automated Standard Application for Payments (“ASAP”)—to check whether their

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       grants have been restored. For some IRA/IIJA grants, grant accounts have reappeared over the

       course of the week in ASAP, and federal grantor agencies have communicated to the States that

       grant accounts are or will shortly be un-suspended. For other IRA/IIJA grants, as of the evening

       of Wednesday, February 5, grant accounts continue to be missing in ASAP and unavailable for

       drawing down disbursements; other grant accounts are still flagged as suspended or held “per

       executive order” or “for agency review.” In these cases, federal grantor agencies have replied to

       state agency inquiries with receipt-acknowledging non-answers or not replied at all—and often

       meetings with agency grant offices remain cancelled. The following grants are illustrative,

       although not exhaustive—many states have had these and other important grants frozen or paused:

           •   The Climate Pollution Reduction Grant program, administered by EPA and funded by a
               $5 billion IRA appropriation, supports States, tribes, and local governments in planning
               and implementing greenhouse-gas reduction measures. For example, the regional air
               district covering Los Angeles, California received a $500 million award, subject to a final
               grant agreement, to clean up the highly polluting goods movement corridor between the
               Imperial Valley’s logistics hubs and warehouses to the Port of Los Angeles. (Ex. 42 to
               Thomas-Jensen Aff. ¶ 8.) 1 As of February 5, this grant and other Climate Pollution
               Reduction Grants remained inaccessible in ASAP. (Ex. 42 to Thomas-Jensen Aff. ¶¶ 8, 25;
               Ex. 28 to Thomas-Jensen Aff. ¶¶ 8, 11, 18–19; Ex. 84 to Thomas-Jensen Aff. ¶¶ 10, 11, 15;
               Ex. 106 to Thomas-Jensen Aff. ¶¶ 41–44; Ex. 83 to Thomas-Jensen Aff. ¶¶ 2, 25; Ex. 56
               to Thomas-Jensen Aff. ¶ 12; see also Ex. 20 to Thomas-Jensen Aff. ¶¶ 19, 23 (as of Feb.
               4); Ex. 44 to Thomas-Jensen Aff. ¶¶ 35–36 (same); Ex. 49 to Thomas-Jensen Aff. ¶ 19
               (same); Ex. 97 to Thomas-Jensen Aff. ¶¶ 4(B), 5, 14 (same); Ex. 61 to Thomas-Jensen Aff.
               ¶¶ 8, 10 (same)).

           •   For sixty years, EPA has administered a national air monitoring network and research
               program under Clean Air Act sections 103 to 105. The IRA appropriated $117.5 million to
               fund air monitoring grants under this program to increase States’ abilities to detect
               dangerous pollution like particulate matter (soot) and air toxics, including in disadvantaged
               communities. These pollutants create a particular public health emergency in areas
               recovering from wildfires. As of February 5, air monitoring grants remained inaccessible
               in ASAP. (Ex. 28 to Thomas-Jensen Aff. ¶¶ 7, 18-19; Ex. 97 to Thomas-Jensen Aff. ¶¶ 12,

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        Simultaneous with this filing, Plaintiff States are filing a Motion for Preliminary Injunction to
       which the Affidavit of Molly Thomas-Jensen is an appended exhibit. All of the exhibits and other
       contents of the motion for preliminary injunction are hereby incorporated by cross-reference.
       Exhibits to this motion will be denoted by letters.
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               15; Ex. 42 to Thomas-Jensen Aff. ¶¶ 12-13, 25; Ex. 84 to Thomas-Jensen Aff. ¶¶ 12-13,
               15; Ex. 106 to Thomas-Jensen Aff. ¶¶ 58-71; Ex. 73 to Thomas-Jensen Aff. ¶ 8; see also
               Ex. 23 to Thomas-Jensen Aff. ¶ 12 (as of Feb. 4)).

           •   The IRA appropriates $4.5 billion to the Department of Energy for the Home
               Electrification and Appliances Rebates Program. The rebate program, administered by
               state energy offices under final federal grants, subsidizes low- and moderate-income
               households’ purchase and installation of electric heat pump water heaters, electric heat
               pump space heating and cooling systems, and other home electrification projects.
               Thousands of homeowners across Plaintiff States have signed up for Plaintiff States’
               programs, received approvals, and even started installation in reliance on these rebates, and
               are stuck paying their contractors an extra $8,000 if state energy offices cannot draw down
               funds. As of February 5, that remained the case: the home rebate grants are held “for agency
               review” in ASAP. (Ex. 40 to Thomas-Jensen Aff. ¶¶ 8, 11, 37; Ex. 95 to Thomas-Jensen
               Aff. ¶¶ 23, 37-40, 55; Ex. 20 to Thomas-Jensen Aff. ¶¶ 6, 22 (as of Feb. 4); see also Ex.
               108 to Thomas-Jensen Aff. ¶¶ 33, 35; Ex. 85 to Thomas-Jensen Aff., Ex. J).

           •   The Solar for All program, administered by the Environmental Protection Agency (“EPA”)
               and funded by the IRA’s Greenhouse Gas Reduction Fund, awarded $7 billion to 60
               grantees to install rooftop and community solar energy projects in low-income and
               disadvantaged communities. These awards—all with final grant agreements in place—
               support the construction of cheap, resilient power in underserved neighborhoods, and
               provide particular protection to communities in which wildfire risk regularly causes
               utilities to de-energize transmission lines. As of February 5, numerous Plaintiff States were
               unable to access their Solar For All grant accounts in ASAP. (Ex. 108 to Thomas-Jensen
               Aff. ¶¶ 19–21 (Rhode Island); Ex. 44 to Thomas-Jensen Aff. ¶ 14 (Connecticut); Ex. 52 to
               Thomas-Jensen Aff. ¶ 12 (Hawai‘i); Ex. 73 to Thomas-Jensen Aff. ¶ 8 (Michigan); Ex. 71
               to Thomas-Jensen Aff. ¶¶ 2, 7 (Maine); Ex. 85 to Thomas-Jensen Aff. ¶¶ 5, 10 (New
               Jersey); Ex. 95 to Thomas-Jensen Aff. ¶¶ 6, 55 (New York)). As of the time of filing, it
               appears that access in ASAP has at least begun to be restored in many of the Plaintiff States.

               Other funds. Defendants have failed to follow the Court’s order with respect to other funds,

       too. On February 3, the National Institutes of Health abruptly cancelled an advisory committee

       review meeting with Brown University’s School of Public Health for a $71 million grant on

       dementia care research, saying “all federal advisory committee meetings had been cancelled.” 2 Ex.



       2
        Defendants have asserted that the National Institutes for Health (“NIH”) is not a Defendant. Ex.
       C at 1. But NIH is a component of the United Department of Health and Human Services. See 42
       U.S.C. § 281(a); 42 U.S.C. § 202.

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       107 to Thomas-Jensen Aff. ¶¶ 6, 10. Head Start programs in Michigan and Vermont were, as of

       February 5, still unable to access federal funds from the Department of Education. Ex. 111 to

       Thomas-Jensen Aff. ¶ 5; Ex. 76 to Thomas-Jensen Aff. ¶ 12. On February 5 and 6, the Centers for

       Disease Control and Prevention and the Health Resources and Services Administration renewed

       stop work orders to a University of Washington program doing global HIV prevention work. Decl.

       of Maya Beal (Feb. 7, 2025) ¶¶ 4, 10–11, 14–15, attached as Exhibit A. As Plaintiff States’

       preliminary injunction motion details, since the entry of the Court’s Order, their agencies have

       received inconsistent guidance, cancelled and un-cancelled meetings, and inexplicably patchwork

       restorations of some grants but not others. Plaintiff’s Motion for Preliminary Injunction 18, 20, 21,

       24, 32.

                        3.      Attempts to Remedy

                 Plaintiff States attempted to remedy these issues on Wednesday, February 5, but were not

       successful. See Exhibits B and C. As part of that conferral process, Defendants have identified two

       grounds to excuse noncompliance.

                 First, in correspondence to Plaintiff State Oregon, Defendants explained that, in their view,

       certain IRA/IIJA funds lie outside the Order’s scope. Specifically, Defendants explained that such

       funding “was paused pursuant to OMB Memorandum M-25-11, which is not challenged in New

       York v. Trump and preceded issuance of the challenged OMB Memorandum M-25-13.” Exhibit B

       at 1.

                 As background, OMB Memorandum M-25-11 (“OMB Unleashing Guidance”), which

       predated the OMB Directive, instructed agencies that the “directive in section 7 of the Executive

       Order entitled Unleashing American Energy requires agencies to immediately pause disbursement

       of funds appropriated under the Inflation Reduction Act of 2022 (Public Law 117-169) [(IRA)] or


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       the Infrastructure Investment and Jobs Act (Public Law 117-58) [(IIJA)],” but that pause applied

       only to “funds supporting the Green New Deal”—a term the OMB Unleashing Guidance defines

       as “supporting programs, projects, or activities that may be implicated by the policy established in

       Section 2 of the order.” Ex. 13 to Thomas-Jensen Aff. The Guidance provides no further

       explanation of how federal agencies are to make that determination.

              Defendants thus appear to now take the position that the “freeze” set out in the Unleashing

       Guidance is distinct from the “freeze” set out days later in the OMB Directive, and that they remain

       free to freeze funds pursuant to the Unleashing Guidance. That position would appear to allow

       Defendants to continue to freeze any funds under either the IIJA or IRA that the federal grantor

       agency might characterize as “supporting the Green New Deal.” 3

              Second, Defendants have taken the position that, as a categorical matter, “the mere fact of

       a pause in funding does not inherently violate the Court’s Order,” and that the payment delays and

       blockages the Plaintiff States have endured for the past week despite the Order are excusable

       because there “are operational and administrative reasons for payments taking longer than

       normal.” As discussed below, certain federal funding streams have resumed, and others have not;

       consequently, key programs are at risk in the Plaintiff States because of Defendants’ failure to

       timely comply with this Court’s Order.

                                             LEGAL STANDARD

              Courts may issue further orders to obtain “compliance with a court order.” United States

       v. Saccoccia, 433 F.3d 19, 27 (1st Cir. 2005) (citing McComb v. Jacksonville Paper Co., 336 U.S.



       3
         Defendants subsequently took a third view of the applicability of the Order to such funds, stating
       in further correspondence with Plaintiff States that the EPA, the grantor agency for a large majority
       of the IRA and IIJA funding streams, was “still working through the administrative process of
       ‘unsuspending’ grants.” Exhibit C at 1.

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       187, 191 (1949)). In the First Circuit, to remedy violations of court orders, there are four factors

       to satisfy: (1) notice of the court order; (2) clarity and unambiguity of the order; (3) ability to

       comply; and (4) violation of the order. Letourneau v. Aul, No. CV 14-421JJM, 2024 WL 1364340,

       at *2 (D.R.I. Apr. 1, 2024) (citing Hawkins v. Dep’t of Health & Hum. Servs., 665 F.3d 25, 31 (1st

       Cir. 2012)).

              “[T]he ‘clear and unambiguous’ standard applies to the language of the relevant court order,

       not to its effectiveness.” Cashman Dredging & Marine Contracting Co., LLC v. Belesimo, No. CV

       21-11398-DJC, 2022 WL 3227535, at *4 (D. Mass. May 17, 2022) (quoting Goya Foods, Inc. v.

       Wallack Mgmt. Co., 290 F.3d 63, 76 (1st Cir. 2002)). When evaluating whether a court order is

       “clear and unambiguous,” the question is “not whether the order is clearly worded as a general

       matter.” Saccoccia, 433 F.3d at 28. Instead, the “clear and unambiguous” prong “requires that the

       words of the court’s order have clearly and unambiguously forbidden the precise conduct” giving

       rise to the need for enforcement. Id. (emphasis omitted) (citing Perez v. Danbury Hosp., 347 F.3d

       419, 424 (2d Cir. 2003)).

                                                 ARGUMENT

       I.     The Court Should Order Defendants to Immediately Restore Frozen Funding
              Pursuant to the Court’s Temporary Restraining Order.
              Clear and convincing evidence demonstrates that all four elements for further enforcement

       of the Order are met. Defendants had notice of the Order, the Order was clear and unambiguous,

       Defendants had the ability to comply with the Order, and Defendants have violated and continue

       to violate the Order. See Letourneau v. Aul, No. CV 14-421JJM, 2024 WL 1364340, at *2 (D.R.I.

       Apr. 1, 2024) (citing Hawkins v. Dep’t of Health & Hum. Servs., 665 F.3d 25, 31 (1st Cir. 2012)).

       There can be no dispute as to the first, third, and fourth elements. First, Defendants had notice of

       the Order, as they appeared at the hearing on the motion for a temporary restraining order, received

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       the subsequent Order, filed the required Notice of the Order they intended to distribute to “all

       Defendants and agencies and their employees, contractors, and grantees,” Order 12, in fact

       distributed the Order, and have communicated with Plaintiffs about the Order.

              Second, and as explained further below, the language applicable to Defendants’ assertions

       is plain and unambiguous and compels the result opposite from Defendants’ assertion. That is, the

       plain language of the Order sweeps in all incorporated articulations of the Federal Funding Freeze

       that are patent in the OMB Directive and the Order requires compliance without exception for

       administrative or operational difficulties, especially for any that extend a multiple of the length of

       time it took to implement the Federal Funding Freeze in the first instance.

              Third, Defendants had the ability to comply with the Order.             Simply put, because

       Defendants were able to cut off funding streams, they are equally able to turn those streams back

       on. Plaintiff States of course appreciate the need to allow Defendants a short period of time to

       operationalize the Order, but that time has long since passed. Defendants managed to implement

       widespread and disruptive funding freezes immediately after the OMB Directive was distributed,

       yet they have somehow now required a week or more to restore only some of the withheld funding.

       As described in Plaintiff States’ Motion for Preliminary Injunction 24–34, many of the programs

       for which funds were still frozen days after entry of the Order conspicuously mirror the President’s

       policy attacks on funding for environmental projects, foreign aid, university research, and services

       for low-income families. Defendants’ partial compliance demonstrates that they have the ability

       to fully comply, and the Order does not allow for selective compliance.

              Fourth, Defendants have violated the Order. The evidence is overwhelming, as described

       supra Section B.2 and in the Motion for Preliminary Injunction 24–34, that Plaintiff States

       continue to experience widespread disruption in funds without notice or other procedural



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       requirements of the relevant award, agreement, or other instrument. Defendants appear to contend

       that their conduct is permissible under the Order. Supra Section B.3. But Defendants are wrong.

       Under the plain and unambiguous text of the Order, which bars Defendants from “implementing,

       or otherwise giving effect to the OMB Directive under any other name or title or through any other

       Defendants,” Defendants’ conduct violates the Order. Order 12.

              A.      The Order Plainly Encompasses Categorical Funding Freezes Tied to
                      Executive Orders (Including the Unleashing American Energy
                      Executive Order)
              Defendants apparently take the position that they can implement at least one of the funding

       freezes called for by the “series of Executive Orders” issued by the President “during the initial

       days of his Administration,” including “Unleashing American Energy (Jan. 20, 2025),” Ex. 9 to

       Thomas-Jensen Aff.. But the plain text of the Order does not allow for such an interpretation; “the

       words of the court’s order have clearly and unambiguously forbidden th[is] precise conduct.”

       United States v. Saccoccia, 433 F.3d 19, 28 (1st Cir. 2005) (emphasis omitted) (citing Perez v.

       Danbury Hosp., 347 F.3d 419, 424 (2d Cir. 2003)).

              The Order requires Defendants to cease “implementing, or otherwise giving effect to the

       OMB Directive under any other name or title or through any other Defendants (or agency

       supervised, administered, or controlled by any Defendant).” Order 12 (emphasis added). The text

       of the Court’s Order must be read in conjunction with the substance of the OMB Directive, which

       required agencies to “implement” the Executive Orders issued by the President during the initial

       days of his administration by “temporarily paus[ing] all activities related to obligation or

       disbursement of all Federal financial assistance, and other relevant agency activities that may be

       implicated by the executive orders, including, but not limited to, financial assistance for foreign

       aid, nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” OMB

       Directive, Compl. Ex. A. Any categorical pause of obligations or disbursements to implement the
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       Executive Orders is exactly “implementing, or otherwise giving effect to the OMB Directive.”

       Order 12.

              The OMB Directive acknowledges that it is the implementation of prior action. In the

       Unleashing American Energy Executive Order, the President announced a categorical, immediate,

       and indefinite pause on federal funds under the IRA and IIJA. Ex. 1 to Thomas-Jensen Aff. at 8353

       Specifically, Section 7(a) of the Unleashing American Energy Executive Order, entitled

       “Terminating the Green New Deal,” ordered all federal agencies to “immediately pause the

       disbursement of funds appropriated through the [IRA] or the [IIJA].” Id. at 8357. The next day,

       OMB issued a memorandum clarifying that Section 7(a) of the Unleashing American Energy

       Executive Order only paused funding that the agencies identified as “Green New Deal” funding,

       i.e., “funds supporting programs, projects, or activities that may be implicated” by a set of

       Executive Branch priorities on energy and environmental regulation announced in Section 2 of

       that Executive Order. Ex. 13 to Thomas-Jensen Aff.. The OMB Directive used equivalent

       language, express referencing the Unleashing American Energy Executive Order and announcing

       a categorical pause on disbursing “financial assistance for ... the green new deal.” Compl. Ex. A.

              Defendants’ apparent argument that they are permitted to continue to freeze federal funds

       by reference to the Unleashing Guidance, as long as they do not formally do so pursuant to the

       OMB Directive, is unavailing. That an earlier directive also directed a categorical funding freeze

       does not alter or amend the text of this Court’s Order, which restrains Defendants from

       categorically freezing duly appropriated and obligated funds. After that Order, the OMB Directive

       may not be given effect, “under any other name or title.” Order 12. That “title” includes the OMB

       Unleashing Guidance. Indeed, Defendants’ own prior statements reflect that they previously

       understood the Court’s Order to have that effect: The Notice that Defendants circulated to federal



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       employees and filed with this Court instructed employees not to “pause, freeze, impede, block,

       cancel, or terminate any awards or obligations on the basis of the OMB Memo, or on the basis of

       the President’s recently issued Executive Orders.” Notice of Ct. Order 1, ECF No. 51-1 (emphasis

       added). Neither that Notice nor the document that accompanied it to this Court identified a

       carveout for other memoranda or guidance documents that implemented functionally the same

       policy and with functionally the same effect. Indeed, Defendants’ prior, broader understanding of

       the Court’s Order is, as discussed supra Section B.1, the only plausible one, given that the Court

       specifically enjoined Defendants from carrying out the same policy “under any other name or

       title.”

                 Defendants’ multiple actions to pause IRA/IIJA funds implement the OMB Directive, even

       if those actions also were also consistent with the OMB Unleashing Guidance. For example, in

       Rhode Island, the first denial of the Solar for All grant fund drawdown request occurred on January

       27, 2025, the same day OMB 25-13 was published. Ex. 108 to Thomas-Jensen Aff. at 14. And

       the account in the grants administration system was entirely suspended January 28, 2025, at

       5:44pm. Id. at 17. Even if the initial draw was rejected as a result of the OMB Unleashing

       Guidance (and it is not clear that it was), the account suspension was clearly undertaken pursuant

       to the OMB Directive, going into effect right on time to meet the deadline articulated there. That

       account suspension, or the act taken pursuant to the OMB Directive, persisted as of February 5.

       Ex. 108 to Thomas-Jensen Aff. ¶ 19. No explanation that the grant was out of compliance or

       authority for the suspension of the account was given. Similarly, EPA’s suspension of a Southern

       California air district’s $500 million award under the Climate Pollution Reduction Grant program

       went into effect on January 28th precisely—that is, the grant account was available for

       disbursement on the morning of the 28th, but it disappeared the same afternoon—the day after the



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       OMB Directive was published, but an entire week after OMB’s Unleashing Guidance. Ex. 42 to

       Thomas-Jensen Aff. ¶¶ 18–19 & Exs. B, C.

              In addition, the President continued to order new extensions of the Federal Funding Freeze

       simultaneous with the OMB Directive taking effect. These Executive Orders are also covered by

       the Order. In an Executive Order issued January 28, the President ordered federal agencies “that

       provide[] research or education grants to medical institutions” to “take appropriate steps to ensure”

       (or, in other words, cut off vital funding) that those institutions immediately discontinue ongoing

       gender affirming care to existing minor patients and cease to serve minor patients. Ex. 8 to

       Thomas-Jensen Aff. § 4. That edict issued without regard to the harm to minor patients that would

       be inflicted by such a cessation or delay of care, in violation of settled law. This continued effort

       to, in concert with OMB, pause vital funding first without establishing any basis in law is similarly

       conduct prohibited by the Order.

              As these facts demonstrate, Defendants now seek to dress up their actions taken as a result

       of the OMB Directive and the blanket command contained therein in a new guise. But doing that

       is what the Court has prohibited: Defendants may not “implement or give effect to” the commands

       of “the OMB Directive” even if “under any other name or title.” Ascribing action to an Executive

       Order or a prior Guidance when the action is squarely within scope of OMB 25-13 is giving effect

       to the OMB Directive under a different name.

              B.      The Plain Text of the Order Made No Provision for Day After Day of
                      Administrative Pauses and Delays


              The Defendants have responded to Plaintiff States’ alerts that some essential federal

       financial assistance is still inexplicably paused with empty assurances. When Plaintiff States

       raised examples of the continued freeze of federal financial assistance in the face of the Court’s

       order, counsel for Defendants suggested “operational and administrative reasons for payments
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       taking longer than normal” as an explanation for days-long delays. Ex. C, 1. “Operational and

       administrative reasons” is a phrase so vague as to not be helpful at all in understanding whether

       the Defendants understand and intend to comply with the plain text of this Court’s Order. This is

       an essential quandary, because from the Plaintiff States’ perspective, the only evidence available

       is evidence of nonpayment. Defendants were instructed not to leave Plaintiff States in the dark,

       and in those limited exceptions where some sort of pause or freeze could be supported by

       applicable legal authority, Defendants must give the appropriate notice and procedural safeguards

       meant to prevent the disruption here. Order 12.

               Without explanation or substantiation, “operational and administrative reasons” for lengthy

       delays in restoring funding is incredible, particularly given the speed and efficiency with which

       hundreds of funding streams were frozen in the immediate wake of the OMB Directive. When

       OMB issued the Directive in the evening on January 27, 2025, it required the temporary pause to

       “become effective on January 28, 2025, at 5:00 PM.” Compl. Ex. A. Contemporaneous reporting

       and Plaintiffs’ evidence demonstrate that funding shutoffs began almost immediately after the

       OMB Directive issued.        It is inexplicable why the federal government, which apparently

       determined it feasible to pause almost all federal funding within 24 hours, has not universally

       restored access to funds after nearly a week. As explained in the Plaintiff States’ Motion for

       Preliminary Injunction 34, even a momentary delay in the intricate accounting dance that

       underpins our cooperative federal system can result in failures to make payroll and the potential

       shuttering of programs and nonprofit entities that provide vital health and human services to the

       residents of the Plaintiff States.

               Defendants’ assertion that “the mere fact of a pause in funding does not inherently violate

       the Court’s Order,” Ex. C, also cannot be squared with the plain text of the Order, which states that



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       Defendants “shall not pause” federal financial assistance to the Plaintiff States. Order 11. Of

       course, as set forth in the Order, there could be an instance where a specific applicable statute,

       regulation or term of the grant allowed a pause—but in that case, the Defendants must “comply

       with all notice and procedural requirements in the award, agreement, or other instrument relating

       to decisions to stop, delay, or otherwise withhold federal financial assistance programs” before

       funding could be paused.      Order 12. Across the Plaintiff States, there is no evidence that

       Defendants have made any attempt at this compliance as to the funding still paused.


                                               CONCLUSION

              For the reasons provided above, the Court should enforce the clear and unambiguous text

       of its temporary restraining order and order Defendants to immediately restore funds until the

       preliminary injunction motion can be heard and decided. Plaintiff States do not request any

       sanction at this time. The Court should further Order that Defendants immediately take every step

       necessary to effectuate the Order, including clearing any administrative, operational, or technical

       hurdles to implementation. In addition, the Court should Order compliance with the plain text of

       the existing Order not to pause any funds on the basis of pronouncements pausing funding

       incorporated into the OMB Directive, like Section 7(a) of the Unleashing Executive Order and the

       OMB Unleashing Guidance.




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                                                      Respectfully submitted,

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       ECF System to counsel of record on this 7th day of February, 2025.


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                        Thomas-Jensen
                         Affirmation



                             Exhibit # 10




                                          A207
Case: 25-1236   Document: 00118290991
       Case 1:25-cv-00039-JJM-PAS      Page:68-10
                                   Document  142                  Date
                                                                  Filed Filed: 05/27/2025
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                                                                                               3 PageID
                                         #: 1081

                              EXECUTIVE OFFICE OF THE PRESIDENT
                                  OFFICE OF MANAGEMENT AND BUDGET
                                            WASHINGTON, D.C. 20503




       In implementing President Trump’s Executive Orders, OMB issued guidance requesting that
       agencies temporarily pause, to the extent permitted by law, grant, loan or federal financial
       assistance programs that are implicated by the President’s Executive Orders.
       Any program not implicated by the President’s Executive Orders is not subject to the
       pause.
       The Executive Orders listed in the guidance are:
              Protecting the American People Against Invasion

              Reevaluating and Realigning United States Foreign Aid
              Putting America First in International Environmental Agreements

              Unleashing American Energy

              Ending Radical and Wasteful Government DEI Programs and Preferencing

              Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
              the Federal Government
              Enforcing the Hyde Amendment
       Any program that provides direct benefits to individuals is not subject to the pause.
       The guidance establishes a process for agencies to work with OMB to determine quickly whether
       any program is inconsistent with the President’s Executive Orders. A pause could be as short as
       day. In fact, OMB has worked with agencies and has already approved many programs to
       continue even before the pause has gone into effect.
       Any payment required by law to be paid will be paid without interruption or delay.
       Q: Is this a freeze on all Federal financial assistance?
       A: No, the pause does not apply across-the-board. It is expressly limited to programs, projects,
       and activities implicated by the President’s Executive Orders, such as ending DEI, the green new
       deal, and funding nongovernmental organizations that undermine the national interest.
       Q: Is this a freeze on benefits to Americans like SNAP or student loans?
       A: No, any program that provides direct benefits to Americans is explicitly excluded from the
       pause and exempted from this review process. In addition to Social Security and Medicare,
       already explicitly excluded in the guidance, mandatory programs like Medicaid and SNAP will
       continue without pause.



                                                     A208
Case: 25-1236     Document: 00118290991
       Case 1:25-cv-00039-JJM-PAS                 Page:68-10
                                            Document      143     Date
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                                                                         02/07/25      Page 3 ofEntry   ID: 6724072
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                                                     #: 1082
        Funds for small businesses, farmers, Pell grants, Head Start, rental assistance, and other similar
        programs will not be paused. If agencies are concerned that these programs may implicate the
        President’s Executive Orders, they should consult OMB to begin to unwind these objectionable
        policies without a pause in the payments.
         Q: Is the pause of federal financial assistance an impoundment?
         A: No, it is not an impoundment under the Impoundment Control Act. It is a temporary pause
         to give agencies time to ensure that financial assistance conforms to the policies set out in the
         President’s Executive Orders, to the extent permitted by law.
         Temporary pauses are a necessary part of program implementation that have been ordered by
         past presidents to ensure that programs are being executed and funds spent in accordance with a
         new President’s policies and do not constitute impoundments.
         Q: Why was this pause necessary?
         A: To act as faithful stewards of taxpayer money, new administrations must review federal
         programs to ensure that they are being executed in accordance with the law and the new
         President’s policies.




                                                       A209
Case: 25-1236   Document: 00118290991
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                                   Document  144    Date
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                        Thomas-Jensen
                         Affirmation



                             Exhibit # 13




                                          A210
Case:
2/5/25,    25-1236
            Case
        12:26        Document: 00118290991
              PM 1:25-cv-00039-JJM-PAS      Page:
                                        Document  145M-25-11Date
                                                 68-13
                                             OMB Memo        – The Filed:
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                                                      BRIEFINGS & STATEMENTS




                     MEMORANDUM
                    TO THE HEADS OF
                     DEPARTMENTS
                     AND AGENCIES
                                              OFFICE OF MANAGEMENT AND BUDGET


                                                               January 21, 2025




 January 21, 2025
 M-25-11
 MEMORANDUM TO THE HEADS OF DEPARTMENTS AND AGENCIES
 FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget

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https://www.whitehouse.gov/briefings-statements/2025/01/omb-memo-m-25-11/                                1/3
Case:
2/5/25,    25-1236
            Case
        12:26        Document: 00118290991
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                                        Document  146M-25-11Date
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                                             OMB Memo        – The Filed:
                                                            Filed  02/07/25
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                                                                         House   Page 3 ofEntry ID: 6724072
                                                                                           4 PageID
                                                                    #: 1924
 Kevin Hassett, Assistant to the President for Economic Policy and Director of
 the National Economic Council
 SUBJECT: Guidance Regarding Section 7 of the Executive Order Unleashing
 American Energy
 The directive in section 7 of the Executive Order entitled Unleashing American
 Energy requires agencies to immediately pause disbursement of funds
 appropriated under the Inflation Reduction Act of 2022 (Public Law 117-169) or
 the Infrastructure Investment and Jobs Act (Public Law 117-58). This pause only
 applies to funds supporting programs, projects, or activities that may be
 implicated by the policy established in Section 2 of the order. This interpretation
 is consistent with section 7’s heading (“Terminating the Green New Deal”) and
 its reference to the “law and the policy outlined in section 2 of th[e] order.”
 For the purposes of implementing section 7 of the Order, funds supporting the
 “Green New Deal” refer to any appropriations for objectives that contravene the
 policies established in section 2. Agency heads may disburse funds as they
 deem necessary after consulting with the Office of Management and Budget.




                                                                    News

                                                           Administration

                                                                   Issues

                                                               Contact Us




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https://www.whitehouse.gov/briefings-statements/2025/01/omb-memo-m-25-11/                                2/3
Case:
2/5/25,    25-1236
            Case
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                                        Document  147M-25-11Date
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                                                        1600 Pennsylvania Ave NW
                                                          Washington, DC 20500




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                        Thomas-Jensen
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                             Exhibit # 14




                                          A214
Case: 25-1236   Document: 00118290991
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                                   Document  149                    Date
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                                         #: 1927




                                      THE CHIEF FINANCIAL OFFICER
                                           WASHINGTON , D.C. 20460


                                                 January 27, 2025


                                              CUI//SP-BUDG
    MEMORANDUM

    SUBJECT:       Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action
                   Pause

    FROM:          Gregg Treml, Chief Financial Officer (Acting)        GREGG           Digitally signed by
                                                                                        GREGG TREML
                                                                                        Date: 2025.01.27
                                                                        TREML           16:59:02 -05'00'
    TO:            Deputy Assistant Administrators
                   Deputy Associate Administrators
                   Deputy Regional Administrators

    This message is being provided based on instruction from OMB.

    In accordance with the Executive Order Unleashing American Energy, unobligated funds (including
    unobligated commitments) appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the
    Infrastructure Investment and Jobs Act (P.L. 117-58) are paused. Pursuant to this pause, the Compass
    financial system will temporarily not allow obligations to be made in these lines of accounting. EPA is in
    discussions with the Office of Management and Budget on the continuation of payroll in IIJA and IRA.

    Additionally, all disbursements for unliquidated obligations funded by any line of accounting including
    funds appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the Infrastructure
    Investment and Jobs Act (P.L. 117-58), are paused. Additional details on the pause in disbursements
    will be provided separately by the Office of the Controller.

    This pause will allow for the review of processes, policies and programs as required by Section 7 of the
    Order.

    All related actions, including new contract, grant, rebate and interagency actions, to include
    drawdowns, for IIJA and IRA are paused. Offices are not to put IIJA or IRA lines of accounting on any
    actions and all current actions are paused. Further, no IIJA or IRA funded travel is permissible at this
    time and all upcoming travel funded from either should be cancelled.




                                                      A215
Case: 25-1236   Document: 00118290991
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                                         #: 1928

    A process has been established at OMB for their review and approval of obligations and disbursements
    based on the Order. We will continue to update the community. We appreciate your work to ensure
    compliance with the Order.

    cc: Lek Kadeli
        Meshell Jones-Peeler
        Paige Hanson
        Senior Resource Officials
        Senior Budget Officers
        Regional Comptrollers
        Funds Control Officers



                Controlled by U.S. Environmental Protection Agency




                                                     2

                                                   A216
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                                   Document  151    Date
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                             Exhibit # 15




                                          A217
Case: 25-1236   Document: 00118290991
       Case 1:25-cv-00039-JJM-PAS      Page:68-15
                                   Document  152    Date
                                                     Filed Filed: 05/27/2025
                                                           02/07/25     Page 2 ofEntry  ID: 6724072
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                                         #: 1930
                                        EERE T 540.127-01: Selection Notification Letter –
                                                                      Award Negotiations
                                           Department of Energy
                                               Golden Field Office
                                           15013 Denver West Parkway
                                                Golden CO 80401


                                                  January 27, 2025

        MEMORANDUM FOR ALL DOE FUNDING AGREEMENTS OR AWARDS

        FROM:          SARA WILSON
                       ACQUISITION DIRECTOR                            Sara                Digitally signed by
                                                                                           Sara Wilson
                       ACTING HEAD OF CONTRACTING ACTIVITY
                       ENERGY EFFICIENCY & RENEWABLE ENERGY            Wilson              Date: 2025.01.27
                                                                                           12:48:28 -07'00'

        SUBJECT:       Cease all activities associated with DEI and CBP

        The President has issued 43 Executive Orders, Presidential Memoranda, and Proclamations,
        including an Executive Order entitled Ending Radical and Wasteful Government DEI Programs
        and Preferencing. DOE is moving aggressively to implement this Executive Order by directing
        the suspension of the following activities in any loans, loan guarantees, grants, cost sharing
        agreements, contracts, contract awards, or any other source of DOE funding:

                ● diversity, equity, and inclusion (DEI) programs and activities involving or relating to
                  DEI objectives and principles; and
                ● Community Benefits Plans (CBP); and
                ● Justice40 requirements, conditions, or principles.

        Recipients and subrecipients must cease any activities, including contracted activities, and stop
        incurring costs associated with DEI and CBP activities effective as of the date of this letter for all
        DOE grants, cooperative agreements, loans, loan guarantees, cost sharing agreements, or other
        DOE funding of any kind. Recipients are responsible for communicating and enforcing this
        direction with all subrecipients and contractors. Costs incurred after the date of this letter will
        not be reimbursed. This letter will be incorporated into your award with the next modification.

        Additional guidance will be forthcoming. Recipients who have DEI and CBP activities in their
        awards will be contacted by their Grants Officer to initiate award modifications consistent with
        this Order.




                                                        A218
Case: 25-1236   Document: 00118290991
       Case 1:25-cv-00039-JJM-PAS      Page:68-58
                                   Document  153    Date
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                        Thomas-Jensen
                         Affirmation



                             Exhibit # 58




                                          A219
Case 1:25-cv-00039-JJM-PAS             Document 68-58          Filed 02/07/25       Page 2 of 6 PageID
                                             #: 4015




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND




                                                                                                         Case: 25-1236
   STATE OF NEW YORK; et al.,

                  Plaintiffs,

           v.                                                C.A. No. 1:25-cv-00039-JJM-PAS




                                                                                                         Document: 00118290991
   DONALD TRUMP, in his official capacity as
   President of the United States; et al.,

                  Defendants.



                      DECLARATION OF SALEM STATE UNIVERSITY
                 I, Rita P. Colucci, declare as follows:
          I.     I am a resident of the Commonwealth of Massachusetts. I am over the age of 18




                                                                                                         Page: 154
  and have personal knowledge of all the facts stated herein, except to those matters stated upon

  information and belief; as to those matters, I believe them to be true. If called as a witness, I




                                                                                                         Date Filed: 05/27/2025
  could and would testify competently to the matters set forth below.

         2.      I am currently employed by Salem State University ("SSU") as Vice President

  and General Counsel.

         3.      SSU is a regional public university located in the North Shore region of

  Massachusetts and awards both bachelor's and master's degrees. As a comprehensive university,

  Salem State prepares students of diverse backgrounds and interests to achieve their educational
                                                                                                         Entry ID: 6724072
  and career goals and to contribute to a global society as ethical and engaged community

  members. As a public university, Salem State also makes critical contributions to civic life,

  environmental sustainability, and the cultural, social, and economic vitality of the North Shore.

         4.      As Vice President and General Counsel, I have been informed through the V ice

  President for Finance and Facilities (Karen House) about certain matters pertaining to federal




                                                  A220
                         Case 1:25-cv-00039-JJM-PAS                                                                              Document 68-58                      Filed 02/07/25   Page 3 of 6 PageID
                                                                                                                                       #: 4016



                          funding received or due to the university. An attempt was made on January 28, 2025 at 2:01pm

                          to draw down NSF Grant funding in the amount of $33,846.78 on the NSF website,
Entry ID: 6724072




                          Research.gov, Award Cash Management $ervice (ACM$). SSU was subsequently notified via

                          email that ACM$ would be unavailable beginning Tuesday, Januaiy 28, 2025 at 5:00pm while

                          NSF "performs a comprehensive review of the award portfolio to ensure compliance with recent

                          Executive Orders, pursuant to [0MB M-25-13]" and therefore all payments under active award s
Date Filed: 05/27/2025




                          would be paused. The email notified us that we would be receiving cancellation notices for any

                          pending payments. A screen capture was made of this notification:
                            External: ACMS Unavailable Starting Tuesday 1/28/2025
                            A . t.CMS Finar.ciiW Pilir,ts•of•ConliKt <AO.AS..POCellSTSERVJ,Sf.C-< I@I<") ,~p'J I ~ r.tS•i~" I➔ re,..,,., ) ~ D
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                           The Award Cash Management 5'n1te (ACM$)wi1J. be tempo,arily un.,-,,11\eb'.o beg:Mln.g Tues.day January 28, 202S at 5:00 p.m. EST,
                           v,tille USF performs a comprrhenst.~ rev.cw of the sward J>Oftlollo lo eor.urc comp!i1nce w;th recent Eucull\-c Orders. pursuant to
                           011.u of t-lanegemtnt and Bud~el (0MB) MemorandumM,25-13, IS$utd on Janu,uy27, 2025. The1e~o,e. au p:J)ments undf:r 11c11\-e
                           awtrds \',tu be paused as the • s:ency conducts the required ,~•i.EWS God ona¥.ilt.
Page: 155




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                                                5.                    SSU currently has two active federal grant awards totaling $526,922 from the
Document: 00118290991




                          National Science Foundation ("NSF"). This includes I) Award 2200918, Designing

                           Computationa l Modeling Curricula across Science Subjects to Study How Repeated Engagement

                           Impacts Student Learning throughout High School , and 2) Award 2314916, Advancing

                           Collaborations for Equity in Marine and Climate Sciences through Racial Equity.

                                                6.                    The NSF grants are for the following purposes. 1) Designing Computational
Case: 25-1236




                           Model ing Curricula across Science Subjects to Study How Repeated Engagement Impacts

                          Student Learning throughout High School through improving access and addressing gaps in

                           research lite rature (DC Mode ls K12 NSF Grant) . The project aims to address two problems of

                           practice in DCPS high schools: A lack of access to computing and computer science education

                                                                                                                                          2


                                                                                                                                        A221
                         Case 1:25-cv-00039-JJM-PAS            Document 68-58         Filed 02/07/25       Page 4 of 6 PageID
                                                                     #: 4017



                           for all students, and a lack of access to NGSS-based curricular resources and PD for teachers.

                           and 2) Advancing Collaborations for Equity in Marine and Climate Sciences through Racial
Entry ID: 6724072




                           Equity in STEM Education (NSF ACE-MCS Grant) The purpose of this research project is to

                           examine how Woods Hole Colla.borative Network (WHCN) researchers and administrators

                           advance collaborations for equity in MCS and what processes are employed for developing

                           equity-driven and anti-racist educational collaborations, infrastructures, and pathways. Project
Date Filed: 05/27/2025




                           outcomes will span individual, institutional, and disciplinary level transformations.

                                  7.      SSU's budget for this year has relied on the NSF funding, and we made plans and

                           allocated funding for staffing and Travel, Dissemination of Research, Data Collection and

                           Analysis, and Publication Costs, and Indirect costs based on the anticipated receipt of Federal

                           funding promised for these NSF grants.
Page: 156




                                  8.      Any pause in our federal funding would create an unofficial "loan" from the

                           university to the Federal government as the terms and conditions of the grant require us to pursue

                           the work as described.
Document: 00118290991




                                  9.      Potential lapse in funding could call into question the ability to support Pl's time

                           spent on this project, pay Graduate Research Assistants for time spent on this project,

                           reimbursement for contracted services on project, and reimbursement for travel costs

                           associated with this project.

                                  10.     In the next 24-48 hours, SSU is scheduled to receive reimbursement
Case: 25-1236




                           disbursements of $34,808.11 under these current federal NSF grants. The NSF ACM$ portal

                           shows this drawdown transaction is "Accepted" per the screen capture below as of February 4,




                                                                            3


                                                                          A222
                         Case 1:25-cv-00039-JJM-PAS                                                      Document 68-58                                               Filed 02/07/25                       Page 5 of 6 PageID
                                                                                                               #: 4018



                           2025 at 2:35pm:
Entry ID: 6724072




                            nansacuon     Date Certified I            Certifiedl Prepared            Total# of                Payment Transaction                    Payment Date          Transaction
                            ID            Prepored                    By                             Awords                   Total                                  Requested             st,tus
                            433387        02/03/2025 11:05:17         Newbegln, Jenna                2                                           S34,808.11 02'03/2025                     Accepled

                            431725        01/28/202514:01:41          Newbegln. Jenna                2                                           $33,846.78 01/28/2025                     Cancened



                          Additionally, there is $124,084.29 Net Available Funds remaining on the DC Models K12 NSF Grant, and

                           $266,238.81 Net Available Funds remaining on the NSF ACE-MCS Grant. These funds are currently

                           appropriated, obligated and budgeted at Salem State University.
Date Filed: 05/27/2025




                                     11.            We expect the next drawdowns to occur on a Monthly basis. If SSU does not

                           receive such disbursements, it will create receivables for costs incurred by the University,

                          jeopardize status of student (Grad. Resea rch Asst.) employment, and jeopardize status of

                           course releases and summer pay for Pl.

                                     12.           Below are transmissions received by our institution that described or effected any
Page: 157




                           pause or impediments for disbursements

                                                      External: ACM $ Unavailable Starting Tuesday 1/28/2025

                                                     . . ACM S Financial Points·of·Contact <ACMS_POC@USTSERV.NSF.GC
                                                                                                                                                                  I@I ,, •.,,, I (() R,p►/All I ➔ Fo, .... I ~ □
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                                                    The Award Cash Management Servtco (ACM$) w11t be temporarily unavallable beginning Tuesday Janu ary 28, 2025 at 5:00 p.m. EST,
                                                    white USF p erforms a comprchenstve review of t he oword portfoUo to ensure compUance with recent Executtve Orders, pursuant to
                                                    Olflce of Management ond Budget (0MB) Mcmorondum M-25-13, Issued on Jonuory27, 2025. Therefore, alt poyments under octive
                                                    awards will be paused as the agency conducts the required review s and analysis.

                                                    You wm be rccoMng conccllotlon notices for ony pending payment tronsoctlons to enabl e resubmission, pending addi tional guldoncc,
                                                    to ensure only eUglble activities ore Included In future payment requests.

                                                     NSF has created on Executive O1der lmolcmentnUooweboUe to ensure tho widest dissemination of Information a nd up dates. We
                                                     \viii continue to communicate \'ilth you os we receive oddltionol guidance.

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Case: 25-1236




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                                        13.         SSU draws down funds from the NSF grant via the NSF website. On Januaiy 28,

                           2025, SSU attempted, but was unable, to draw down the grant funds from the NSF, as payments

                           were frozen and the website was not accessible. O n January 29, 2025, SSU again was unable to

                                                                                                                                         4


                                                                                                                                    A223
                         Case 1:25-cv-00039-JJM-PAS                                           Document 68-58                               Filed 02/07/25   Page 6 of 6 PageID
                                                                                                    #: 4019


                         draw down the funds and obse1ved a notification on the NSF website indicating that "all NSF

                         grantees must comply" with all relevant executive orders "by ceasing non-compliant grant and
Entry ID: 6724072




                         award activities." To date, SSU has not received this funding. A screen capture was made of this

                         notification:

                                       Message to the NSF principal investigator community
                                    Jan. 29, 2025
                                    Our top prio,ity is ,esuming our fund ing actions and services to the research community and our
                                    stakeho!ders. We are working expeditiously to conduc.t a comprehensive review of our projects,
                                    programs and acti\itics to be compliant with the existing executive orders.
Date Filed: 05/27/2025




                                    We will continue to uy and communica te with you as these changes are happening in real time.

                                    All NSF grant~s must compfyv.ith these executive orders. and any other relevant executive orders
                                    issued, tr-J ceasing all non•compliant grant and award a<lMties. Executive orders are posted
                                    at ~gcri/presideolial-actions.1n particular, this may inch1de, but Is not limite<J to
                                    conferences, trainings, wo rkshops. considerations for staffing and participant selection, and arry
                                    other grant activity that uses or promotes lhe use of diversity, equity. indusion and accessibility
                                    (DEIA) j)(inciples and frameworks or vio!ates federal anti .discrimination laws..

                                       Please work with your institutional ,esearch office to assist you in complying with the executive
                                    orders. You can also direct your que~tions through ~ - We are receiving a large volume of
                                    submissions, and we vlill not be able to respond individually. As we cotlect your questions. we will
                                    compile and post frequently asked questions (FAQs) on this page. Please check back regularly to
                                    access these FAQs.

                                    Thank you for your work advancing science, engineering. tedmology and innovation for our nation.
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                                 15.            We continue to be concerned that the funding will again be delayed or denied

                         because the notifications and messages are ve1y broadly stated, which is not consistent with past

                         Federal instrnctions which apply to specific research projects.
Document: 00118290991




                               I declare under penalty of pe1jmy that the foregoing is trne and correct.

                                                Executed on Februaiy 5, 2025, at Salem, MA




                                                                                                                                Declaration of Rita P. Colucci
Case: 25-1236




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                         Thomas-Jensen
                          Affirmation
                           (redacted)


                             Exhibit # 61




                                          A225
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK; STATE OF CALIFORNIA;
        STATE OF ILLINOIS; STATE OF RHODE ISLAND;
        STATE OF NEW JERSEY; COMMONWEALTH OF
        MASSACHUSETTS; STATE OF ARIZONA; STATE
        OF COLORADO; STATE OF CONNECTICUT;
        STATE OF DELAWARE; THE DISTRICT OF
        COLUMBIA; STATE OF HAWAI’I; STATE OF
        MAINE; STATE OF MARYLAND; STATE OF
        MICHIGAN; STATE OF MINNESOTA; STATE OF
        NEVADA; STATE OF NORTH CAROLINA; STATE
        OF NEW MEXICO; STATE OF OREGON; STATE OF
        VERMONT; STATE OF WASHINGTON; STATE OF
        WISCONSIN,

        Plaintiffs,
        v.

        DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
        PRESIDENT OF THE UNITED STATES; U.S.       C.A. No. 1:25-cv-00039
        OFFICE OF MANAGEMENT AND BUDGET;
        MATTHEW J. VAETH, IN HIS OFFICIAL CAPACITY
        AS ACTING DIRECTOR OF THE U.S. OFFICE OF
        MANAGEMENT AND BUDGET; U.S.
        DEPARTMENT OF THE TREASURY; SCOTT
        BESSENT, IN HIS OFFICIAL CAPACITY AS
        SECRETARY OF THE TREASURY; PATRICIA
        COLLINS IN HER OFFICIAL CAPACITY AS
        TREASURER OF THE U.S.; U.S. DEPARTMENT OF
        HEALTH AND HUMAN SERVICES; DOROTHY A.
        FINK, M.D., IN HER OFFICIAL CAPACITY AS
        ACTING SECRETARY OF HEALTH AND HUMAN
        SERVICES; U.S. DEPARTMENT OF EDUCATION;
        DENISE CARTER, IN HER OFFICIAL CAPACITY
        AS ACTING SECRETARY OF EDUCATION; U.S.
        FEDERAL EMERGENCY MANAGEMENT
        AGENCY; CAMERON HAMILTON, IN HIS
        OFFICIAL CAPACITY AS ACTING
        ADMINISTRATOR OF THE U.S. FEDERAL
        EMERGENCY MANAGEMENT,

        Defendants.



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                                  DECLARATION OF DAVID MOHLER

       I, David Mohler, hereby depose and state as follows:

              1.      I am the Executive Director of the Office Transportation Planning at the

       Massachusetts Department of Transportation (“MassDOT”). I make this declaration as a

       representative of MassDOT, in part based on the business records of MassDOT, and in part based

       on my personal knowledge and experience. In my official capacity and based on my personal

       knowledge and other sources of information that I have obtained and reviewed in that official

       capacity, I am familiar with, and if called upon to do so would be competent to testify to, the

       facts and circumstances set forth herein.

              2.      On April 28, 2023, the Commonwealth applied for a Climate Pollution Reduction

       Grant (“CPRG”) from the U.S. Environmental Protection Agency (“EPA”). The Commonwealth

       received its CPRG award on August 9, 2023.

              3.      The Commonwealth’s CPRG funds have been and continue to be used for

       deliverables required by EPA’s CPRG Formula Grants for Planning Program Guidance for States,

       Municipalities, and Air Pollution Control Agencies (March 1, 2023). The CPRG is also used to

       pay personnel charges of employees working on these issues, including in the Office of Climate

       Innovation and Resilience (“OCIR”).

              4.      On November 9, 2023, the Commonwealth received notification from EPA that

       the grant had been enrolled in the Automated Standard Application for Payments (“ASAP”)

       system. The notification stated: “You may now access the grant for draw down of needed funds

       at your discretion. Please keep in mind that the drawdown should be requested for immediate

       needs to cover expenses incurred or forecasted expenses for no more than a period of 3-5




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       business days. Funds can be drawn as often as necessary but not in excess to avoid overpayment

       and/or cash on hand."

                   5.                To complete the deliverables, the Commonwealth, following a competitive

       bidding process, contracted with AECOM. AECOM has been actively perfonning under that

       contract for seven months.

                   6.                Nationally, the CPRG program works on a reimbursement model: states pay

       allowable expenses under the grant and then submit those expenses to the federal government

       through EPA's ASAP system for reimbursement.

                   7.                Since April 3, 2024, the Commonwealth has expended $74,095.34 for

       reimbursable char·ges under the grant and has been reimbursed the foll arnount. The

       Commonwealth's most recent reimbursement was received on Janua1y 17, 2025.

                   8.                On Febmary 4, 2025, at approximately 2:30 PM, employees at the Massachusetts

       Office of the Comptroller accessed the ASAP system to check the status ofMassDOT's CPRG.

       The ASAP system indicated that the CPRG had been suspended:

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          AlC/Reglon:                                    Agen<y Short Name:                                           Account 10:
          68128933
          Recipient 10 :                                 Recipient Short Name:
                                                         Ma.ssDOT

          Inquiry Results:


           ACCOUNT DETAILS                                                            GRANT DETAILS
                     Requestor lD : -                                                                 Grant : Yes
                       Ace:ountlD :                                                          Fede~IAwud
                                                                                      ldentfflcation Number
             Account Oescr1ptlon : CLIMATE POLLUTION REOUX
                                                                                                      (FAIN) :
               1031/LOC Account : No                                                         CFDA Number :
                    Accou n t Type : RQ,sul:u Attou nt                                Total Estimated G.rant
                           GrouplO : -                                                             Amount : $0.00
                  Control A«ount : No
                  Account Si.tu,
                           lndic•tor : Suspended ◄♦..,_-•                                   >\&ency Review : No
                Avallable BIi• ~ : S2_.921,203.66                                        Threshold Amount :
                      Create Date : 11/09/2023                                           Ruson for Review :

                       Beiln D•te : 07/01/2023
              Performance Period
                           End D•t• : 06/30/2027                                           Maic Total Draw Amount :
                           End D•t• : 10/30/2027                                           Max Dally Onw Amount :
                  TAS Distribution                                                     Ma.x Monthly Draw Amount :




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              9.      MassDOT was provided with the above-shown screenshot, taken by

       representatives of the Comptroller’s Office, as confirmation that the CPRG grant is currently

       suspended in the ASAP system.

              10.     As of February 4, 2025, the Commonwealth continues to incur allowable

       expenses under the grant and is preparing to submit a request for reimbursement in the amount of

       $172,321.86 for already paid charges. The Commonwealth expects to receive an invoice this

       week from AECOM in the amount of $109,860 for which the Commonwealth will attempt to

       seek reimbursement after payment. Should the CPRG remain suspended, the Commonwealth

       will not be able to receive reimbursement for these expenses.

              11.     If the Commonwealth is unable to access CPRG funds for a significant period of

       time, it will not be able to use CPRG funds to pay its project consultant, AECOM, for expenses

       already accrued, and it may be forced to modify its contract with AECOM.

              12.     On June 10, 2004, MassDOT submitted an application for a Low-Carbon

       Transportation Materials (LCTM) Grant.

              13.     The LCTM program is administered by the Federal Highway Administration

       (FHWA) using funding provided under the Inflation Reduction Act.

              14.     On November 14, 2024, MassDOT was notified that it had been selected for an

       award of $31,933,577.

              15.     MassDOT entered in negotiations with FHWA on the grant agreement.

              16.     On January 24, 2025, during a monthly check-in the MassDOT Project Manager

       for the grant was orally informed by his FHWA counterpart that the negotiations were on-hold

       due to a freeze in funding.

              17.     As of today, the project is still on-hold and negotiations cannot progress.



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               18.   This grant is intended to support testing of low-carbon cement to supplement

       traditional cement on bridge abutments, bridge decks and concrete pavement and to test its

       efficacy. The grant will be implemented through a contract with the cement maker, as well as

       contracts with the Massachusetts Institute of Technology and the University of Massachusetts. If

       this grant is not executed, MassDOT may have to modify its planned contracts with those

       entities.

       Signed under penalties of perjury this 5th day of February, 2025.



                                                   David Mohler
                                                   Executive Director of the Office Transportation &
                                                   Planning, MassDOT




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                         Thomas-Jensen
                          Affirmation



                             Exhibit # 92




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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK et al.,

                       Plaintiffs,

               v.
                                                            C.A. No. 25-CV-39-JJM-PAS
        DONALD TRUMP, IN HIS OFFICIAL
        CAPACITY AS PRESIDENT OF THE
        UNITED STATES, et al.,

                       Defendants.


                             DECLARATION OF KATHERINE CALOGERO

              I, Katherine Calogero, hereby depose and state as follows:

              1.      I am the Division Director of the Division of Fiscal Management for the New

       York State Department of Environmental Conservation (“NYSDEC”). I have held that position

       since July 1, 2024. I make this declaration as a representative of NYSDEC, in part based on the

       business records of NYSDEC and in part based on my personal knowledge and experience. In

       my official capacity and based on my personal knowledge and other sources of information I

       have obtained and reviewed in that official capacity, I am familiar with, and if called upon to do

       so, would be competent to testify to the facts and circumstances set forth herein.

              2.      This declaration describes the general scope and scale of programs implemented

       or administered by NYSDEC that are supported by federal funds appropriated by Congress under

       the Inflation Reduction Act (“IRA”) and Infrastructure Investment and Jobs Act (“IIJA”). I

       discuss one example of a grant-funded program that has already suffered a funding disruption as

       a result of the impoundment of funds under recent Executive Orders and related federal agency

       actions, and an example of a program that is at risk of similar disruption. Those programs—

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       involving the plugging of orphaned oil and gas wells and improving the health of urban and

       community forests—are delivering important public health and environmental benefits to New

       Yorkers who live in urban and rural communities. Finally, I discuss the Climate Smart

       Commodities Program, which although not funded pursuant to the IRA or IIJA, nonetheless

       suffered a funding disruption shortly after the new Presidential Administration took office.

              IRA and IIJA Funded Programs

              3.      NYSDEC receives substantial funding under the IRA and the IIJA to support

       numerous programs to protect public health and the environment in New York. For example,

       between 2022 and 2024, NYSDEC received grant awards in the amount of $26 million under the

       IRA and $385.4 million under the IIJA to be spent over the next few years. As of January 20,

       2025, under the IRA, DEC has spent $400,000 out of its total awards and has been reimbursed

       for $280,841; and under the IIJA, NYSDEC has spent $175.1 million out of its total awards and

       has been reimbursed for $171,833,436.

              Plugging of Orphaned Oil and Gas Wells

              4.      As a first example, NYSDEC has received funding through both statutes to plug

       oil and gas wells in the state. NYSDEC is using IIJA funds for the plugging of high-priority

       orphaned oil and gas wells in central and western New York to help tackle pollution from this

       legacy energy infrastructure, while providing jobs in the oil and gas economic sector. In 2022,

       the U.S. Department of Interior (“DOI”) awarded NYSDEC $25 million for this work. As of

       January 20, 2025, NYSDEC has disbursed $22.9 million under this program and has been

       reimbursed for just over $19 million by the federal government. In 2024, DOI awarded

       NYSDEC an additional $25 million to continue this work but has no disbursements to date.

       Currently, NYSDEC is seeking reimbursement of approximately $3.7 million for well plugging



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       work performed through the Fourth Quarter of 2024 and will be seeking additional

       reimbursement for work performed through the First Quarter of 2025.

              5.      And in December 2023, NYSDEC received an $8.1 million grant from the U.S.

       Department of Energy (“DOE”) under the IRA’s Methane Emissions Reduction Program

       (“MERP”) for plugging marginal (low producing) conventional oil and gas wells. In New York

       State, approximately 75% of marginal conventional well operators produce gas for home use

       only and often lack sufficient resources to maintain or properly plug these wells. NYSDEC will

       use the MERP funding to mitigate environmental and public health and safety risks by

       permanently closing these oil and gas wells, thereby preventing methane and hydrogen sulfide

       emissions, oil and brine spills, and fire and explosive hazards, while creating good paying jobs.

       NYSDEC has worked extensively with DOE’s National Energy Technology Lab on software to

       prioritize wells for inclusion in the program and to build cost effective plugging projects based

       on each candidate well’s potential risk to the environment, public health, and public safety.

       NYSDEC is currently in the well plugging planning process under the MERP grant and has

       obligated $800,000 to a contractor for this purpose. NYSDEC has publicized this program and

       has received inquiries from operators who wish to have their well plugged. If the MERP funding

       is canceled, New Yorkers will lose these important environmental and economic benefits.

              6.      On February 4, 2025, after NYSDEC fiscal staff received an error message while

       attempting to submit a reimbursement request for disbursements under the IIJA well plugging

       grant, NYSDEC staff contacted a DOI representative for guidance. The DOI representative’s

       reply to NYSDEC stated: “Please refer to the following memo, Unleashing American Energy –

       OMB Memo M-25-11, regarding the funding pause.” The DOI representative’s email included a

       link to a federal Office of Management and Budget memorandum dated January 21, 2025, titled



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       “Guidance Regarding Section 7 of the Executive Order Unleashing American Energy.” A true

       and accurate copy of that email chain is attached hereto as Exhibit A.

              Improving the Health of Urban and Community Forests

              7.      As an example of another program at risk of funding disruption, in July 2023,

       NYSDEC was awarded $13.5 million in IRA funding for an Urban and Community Forest

       Program. NYSDEC plans to use the funding to jumpstart Community Forest Management Plans

       in disadvantaged communities, including preventing and addressing harm from the invasive

       Emerald Ash Borer and training local staff and those who care for municipal trees. NYSDEC is

       currently procuring tree planting and maintenance services under the program and expects to

       have contracts in place as soon as May 2025. Interruption to this funding would result in

       cancellation of these procurements, even though the State publicly announced in September 2024

       the grant award and the State’s intent to retain these services in disadvantaged communities.

       NYSDEC is currently in the process of contracting with 24 grantees in communities across the

       State. When work is underway, the grantees would be able to request reimbursement from

       NYSDEC quarterly, and in turn NYSDEC would request reimbursement form USDA quarterly.

       If the funds for these programs are suspended or canceled, disadvantaged communities

       throughout the State would lose out on the important benefits provided by healthy urban and

       community forests.

              USDA Climate-Smart Commodities Partnership

              8.      The U.S. Department of Agriculture (“USDA”) funds a program called

       Partnerships for Climate-Smart Commodities, which aims to improve resiliency to climate

       change in the agricultural and forestry sectors. The period for the grant program is January 1,

       2023 through December 31, 2027.



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                9.    On May 6, 2022, NYSDEC applied to the USDA for funding under the

       Partnerships for Climate-Smart Commodities program.

                10.   On April 24, 2023, NYSDEC received confirmation from USDA that NYSDEC

       had been awarded a grant in the amount of $60 million under the Partnerships for Climate-Smart

       Commodities program.

                11.   NYSDEC’s Climate-Smart Commodities grant will fund (a) establishment,

       restoration, and protection of forest lands in New York; (b) financial and technical assistance for

       New York farmers to improve the resiliency of their lands and operations to disruptions related to

       global climate change through adoption of “climate-smart” practices; (c) work to measure

       metrics on climate change-related benefits, costs, and landowner barriers related to climate-smart

       practices; and (d) promotion of large-scale development of markets for commodities produced

       using climate-smart practices. NYSDEC will fund these program areas through a mix of direct

       grants to landowners and distribution of funds to sub-awardees—the New York State Department

       of Agriculture and Markets (“NYSAGM”) and the State University of New York’s College of

       Environmental Science and Forestry (“SUNY ESF”)—who in turn will use the funds to make

       grants and fund research, development, and technical assistance work.

                12.   Once the projects under the grant begin, NYSDEC will receive funds from the

       USDA on a reimbursement basis. NYSDEC will spend in the first instance, then report spending

       to the USDA, which would reimburse NYSDEC by drawing down from the remaining grant

       funds.

                13.   NYSDEC has suballocated $35.2 million to NYSAGM with $10.5 million

       encumbered with no disbursements; and $11.8 million to SUNY ESF with no encumbrances or

       disbursements. NYSDEC manages the remaining $13 million with no encumbrances or



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       disbursements at this time. On October 30, 2024, NYSDEC released the invitation for bid for

       tree planting for farmers and landowners to create new forests, which closed on January 7, 2025.

       NYSDEC intends to make awards in the next couple of months.

              14.     On January 22, 2025, program staff in NYSDEC' s Division of Lands and Forests

       received an email from USDA stating that as of January 21, 2025, the federal administration had

       placed a temporary suspension on all actions related to grants, including Partnerships for

       Climate-Smart Commodities grants. A true and accurate copy of that email is attached hereto as

       Exhibit B.

              15.     On January 23, 2025, NYSDEC program staff received another email from USDA

       stating that work can continue on existing awards until otherwise directed but that "[t]he above

       direction is subject to change pending updates from the current administration." A true and

       accurate copy of that email is attached hereto as Exhibit C. These communications have created

      confusion and uncertainty about the future of the program.

              16.    If the federal administration were to impound the funds remaining in NYSDEC' s

      Climate-Smart Commodities award, the staff and work of funded programs at NYSAGM and

      SUNY ECF would be in jeopardy. Furthermore, NYSDEC and its subgrantees would be unable

      to provide financial and technical assistance to New York farmers and forest landowners for

      climate-smart development absent alternative funding, which would both leave the benefits of

      climate-smart practices for farmers and forest landowners unrealized and undermine NYSDEC' s

      hard-won relationship with landowners.

      SIGNED UNDER THE PENALTIES OF PERJURY THIS '~t~
                                                 \J
                                                 _   DAY OF FEBRUAR Y, 202S.



                                       i~~~w
                                        DIRECTOR, DIVISION OF FISCAL MANAGEMENT


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                                    EXHIBIT A




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                                     EXHIBIT B




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                          Thomas-Jensen
                           Affirmation



                            Exhibit # 124




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                                                             The Secretary of Energy
                                                                    Washington, DC 20585

                                                                      January 20, 2025
Entry ID: 6724072




                            MEMORANDUM FOR HEADS OF DEPARTMENTAL ELEMEN~

                            FROM:                        INGRID C. KOLB
                                                                                                  -J e.~
                                                                                                 ,-
                                                         ACTING SECRETAR

                            SUBJECT:                    Agency-wide Review of Program and Administrative Activities


                            As we navigate through this transition period for a new Administration within the
Date Filed: 05/27/2025




                            Department of Energy (DOE), it is imperative to ensure a deliberate approach to the
                            Administration's programmatic and administrative policies and priorities. To that end,
                            effective immediately and until further notice, prior to any actions or decisions on all
                            herein described activities, a review under varying criteria will be undertaken to ensure
                            all such actions are consistent with cmTent Administration policies and priorities,
                            including budgetary priorities. 1 The broad spectrum of actions include but are not limited
                            to: personnel actions; awarding of grants, loans, funding opp01tunities, and cost sharing
                            agreements; contracting, procurement announcements, and actions; rulings, decisions or
                            other actions on any applications, enforcement action, or settlements of any contested
                            matter; submissions to the Federal Register for publication; and the publication or
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                            announcement of reports, studies, congressional conespondence, and public statements.
                            This includes all studies or reports that are either ongoing, set to be released, are already
                            under review, or have not yet begun.

                            The reviews are necessary to facilitate a comprehensive review of the Depaitment's
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                            ongoing activities and to align these effo1ts with Congressional authorizations and the •
                            Administration's priorities, to ensure that resources are allocated efficiently, and that the
                            Departn:ient's initiatives are in line with the statutory mission of DOE and the priorities of
                            the Administration.

                            As discussed below, a process will be in place for the submission of requests for action
                            by the Secretary (acting) to ensure the important work of the Depaitment continues to
                            serve the American people.

                            Scope of Actions:
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                                1. Personnel Actions: All personnel actions, including appointments, promotions,
                                   arid transfers, are to be halted. This includes both internal staff movements and
                                   external hiring processes, unless expressly and unambiguously authorized with
                                   the prior approval of the acting Secretary, after the date of issuance of this order.


                            1
                              With respect to NNSA, nothing herein is intended to contradict 50 USC Ch. 41 but to be construed
                            broadly consistent with the Secretary's authority thereunder, include §2402(d).




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                               2. Procurement Announcements and Actions: Any announcements or awards
                                  regarding procurement opportunities and contracts are to be put on hold, other
                                  than for routine building operations and supplies for contracts with a value of less
                                  than $100,000. This includes, but is not limited to, requests for proposals (RFPs),
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                                  requests for quotations (RFQs), and contract negotiations. Such approvals will be
                                  made in writing by the Secretary ( acting) or the Head of Depattmental Element
                                  with the prior approval of the Secretary (acting).

                               3. Funding Actions: All funding and financial assistance activities including loans,
                                  loan guarantees, grants, cost sharing agreements, funding opportunity
                                  announcements, and contracts shall not be announced, approved, finalized,
                                  modified, or provided until a review of such takes place to ensure compliance
                                  with Congressional authorization and Administration policy. Such approvals will
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                                  be made in writing by the Secretary (acting) or the program head with the prior
                                  approval of the Secretary (acting).

                               4. Release of Reports, Studies, Congressional Correspondence, and Public
                                  Announcements: Submission of actions to the Secretary (acting) for approval
                                  shall be completed through relevant program heads prior to continuation of
                                  development and dissemination of any reports, studies, requests for information
                                  (RFis) or congressional correspondence, including both finalized documents and
                                  those in draft form; conducting and scheduling public meetings related to any
                                  studies or reports. Relative to studies and reports being conducted by the National
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                                  Laboratories, approvals must be obtained by the Head of Departmental Element
                                  with concurrence by the Administration designee within the Departmental
                                  Element. If reports or studies are subject to statutory or other requirements, a
                                  request for waiver from the reviews may be made to the Secretary (acting), who
                                  may grant the waiver. Submission of actions to the Secretary (acting) for
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                                  approval shall be completed before publishing any Department social media
                                  posts, press releases, or other public announcements including website changes,
                                   even if previously scheduled and approved.

                                5. Federal Register Notices: Nothing should be sent to the Federal Register (FR)
                                   for publication without written approval of the Secretary (acting) or designee.
                                   The Office of the General Counsel is directed to: (i) immediately withdraw all
                                   items that have been submitted to the FR but have not yet been published, and (ii)
                                   provide the Secretary (acting) by noon on January 23 a list of all items that have
                                   been published but have not yet reached the date by which any such item is
                                   considered final (including the date such item becomes final).
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                                6. Actions under the National Environmental Policy Act (NEPA): NEPA work
                                   may continue. However, the Secretary (acting) shall be informed of all NEPA
                                   work by January 24, 2025; or if new action is taken, at least 10 days before
                                   initiated. The scope of the NEPA reviews shall be reviewed by the Principal
                                   Deputy General Counsel or other person as designated by the Secretary (acting).
                                   Final Environmental Assessments and Environmental Impact Statements shall be




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                                   reviewed and approved by the Principal Deputy General Counsel or other person
                                   as designated by the Secretary (acting).

                            The reviews shall be conducted by all DOE offices, field offices, National Laboratories,
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                            and NNSA. There are no exemptions other than for routine building operations and
                            supplies for contracts with a value of less than $100,000 without prior approval by the
                            Secretary (acting).

                            Rescinding of Signature Authority.

                            To ensure compliance with this Directive, all signature authority for any of the actions
                            provided herein are rescinded. Any actions requiring signature authority should not
                            proceed until explicit authorization is provided in writing by the Secretary (acting) or
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                            designee.

                            The heads or administrators of each of the program, administrative, and support offices,
                            National Laboratory Directors, field offices, and NNSA shall immediately disseminate
                            this memorandum within their respective organizations and ensure full compliance with
                            the directives as applicable.

                            Further guidance regarding the full resumption of activities, results of the review process,
                            additional changes in DOE priorities, interagency collaboration, and legal compliance
                            guidance will be forthcoming. Your cooperation and understanding are greatly
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                            appreciated as we work to enhance the effectiveness and efficiency of the Department.
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                          Thomas-Jensen
                           Affirmation



                            Exhibit # 126




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                         Thomas-Jensen
                          Affirmation



                            Exhibit # 127




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                    PRESS BRIEFING BY
                    PRESS SECRETARY
                       0LINE LEAVITT
                                                                January 29, 2025




         1:06 P.M . EST
            MS. LEAVITT: Good afternoon, everybody.
         Q Good afternoon.
         MS. LEAVITT: How are we? Good to see all of you. It's an honor to be here
         with all of you. A lot of familiar faces in the room, a lot of new faces.
         And President Trump is back, and the golden age of America has most
         definitely begun.
         The Senate has already confirmed five of President Trump's exceptional
         Cabinet nominees: Secretary of State Marco Rubio, Defense Secretary Pete
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         Hegseth, CIA Director John Ratcliffe, Homeland Security Secretary Kristi
         Noem, and Treasury Secretary Scott Bessent. It is imperative that the Senate
         continues to confirm the remainder of the president's well-qualified
         nominees as quickly as possible.
         As you have seen during the past week, President Trump is hard at work
         fulfilling the promises that he made to the American people on the campaign
         trail. Since taking the oath of office, President Trump has taken more than
         300 executive actions; secured nearly $1 trillion in U.S. investments; deported
         illegal alien rapists, gang members, and suspected terrorists from our
         homeland; and restored common sense to the federal government.
         I want to take a moment to go through some of these extraordinary actions.
         On day one, President Trump declared a national emergency at our southern
         border to end the four-year-long invasion of illegal aliens under the previous
         administration. Additionally, President Trump signed an executive order to
         end catch and release and finish construction of his effective border wall. By
         using every lever of his federal power, President Trump has sent a loud and
         clear message to the entire world: America will no longer tolerate illegal
         immigration.
         And this president expects that every nation on this planet will cooperate
         with the repatriation of their citizens, as proven by this weekend , when
         President Trump swiftly directed his team to issue harsh and effective
         sanctions and tariffs on the Colombian government upon hearing they were
         denied a U.S. military aircraft full of their own citizens who were deported by
         this administration. Within hours, the Colombian government agreed to all of
         President Trump's demands, proving America is once again respected on the
         world stage.
         So, to foreign nationals who are thinking about trying to illegally enter the
         United States, think again. Under this president, you will be detained, and you
         will be deported.

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            Every day, Americans are safer because of the violent criminals that
         President Trump's administration is removing from our communities.
         On January 23rd , ICE New York arrested a Turkish national for entry without
         inspection who is a known or suspected terrorist. On January 23rd, ICE San
         Francisco arrested a citizen of Mexico unlawfully present in the United States
         who has been convicted of continuous sexual abuse of a child aged 14 years
         or younger. ICE Saint Paul has arrested a citizen of Honduras who was
         convicted of fourth-degree criminal sexual conduct with a minor. ICE Buffalo
         arrested a citizen of Ecuador who has been convicted of rape.
         ICE Boston arrested a citizen of the Dominican Republic who has a criminal
         conviction for second-degree murder. This criminal was convicted of murder
         for beating his pregnant wife to death in front of her five-year-old son.


            And ICE Saint Paul also arrested a citizen of Mexico who was convicted of
         possessing pornographic material of a minor on a work computer.
         These are the heinous individuals that this administration is removing from
         American communities every single day. And to the brave state and local law
         enforcement officers, CBP, and ICE agents who are helping in the facilitation
         of this deportation operation, President Trump has your back and he is
         grateful for your hard work.
         On the economic front, President Trump took immediate action to lower
         costs for families who are suffering from four long years of the Biden
         administration's destructive and inflationary policies. President Trump
         ordered the heads of all executive departments and agencies to help deliver
         emergency price relief to the American people, untangle our economy from
         Biden's regulatory constraints, and end the reckless war on American energy.
         President Trump also signed sweeping executive orders to end the
         weaponization of government and restore common sense to the federal
         bureaucracy. He directed all federal agencies to terminate illegal diversity,
         equity, and inclusion programs to help return America to a merit-based
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        society.
        President Trump also signed an executive order declaring it is now the policy
        of the federal government that there are only two sexes: male and female.
        Sanity has been restored.
        Before I take your questions, I would like to point out to - all of you once again
        have access to the most transparent and accessible president in American
        history. There has never been a president who communicates with the
        American people and the American press corps as openly and authentically
        as the 45th and now 47th president of the United States.
        This past week, President Trump has held multiple news conferences,
        gaggled on Air Force One multiple times, and sat down for a two-part
        interview on Fox News, which aired last week. As Politico summed it up best,
        "Trump is everywhere again," and that's because President Trump has a great
        story to tell about the legendary American revival that is well underway.
        And in keeping with this revolutionary media approach that President Trump
        deployed during the campaign, the Trump White House will speak to all
        media outlets and personalities, not just the legacy media who are seated in
        this room, because apporting - according to recent polling from Gallup,
        Americans' trust in mass media has fallen to a record low. Millions of
        Americans, especially young people, have turned from traditional television
        outlets and newspapers to consume their news from podcasts, biogs, social
        media, and other independent outlets.
        It's essential to our team that we share President Trump's message
        everywhere and adapt this White House to the new media landscape in 2025.
        To do this, I am excited to announce the following changes will be made to
        this historic James S. Brady Briefing Room, where Mr. Brady's legacy will
        endure.
        This White House believes strongly in the First Amendment, so it's why our
        team will work diligently to restore the press passes of the 440 journalists
        whose passes were wrongly revoked by the previous administration.
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         We're also opening up this briefing room to new media voices who produce
         news-related content and whose outlet is not already represented by one of
         the seats in this room. We welcome independent journalists, podcasters,
         social media influencers, and content creators to apply for credentials to
         cover this White House. And you can apply now on our new website,
         WhiteHouse.gov/NewMedia.
         Starting today, this seat in the front of the room, which is usually occupied by
         the press secretary staff, will be called the "new media" seat. My team will
         review the applications and give credentials to new media applicants who
         meet our criteria and pass United States Secret Service requirements to enter
         the White House complex.
         So, in light of these announcements, our first questions for today's briefing
         will go to these new media members whose outlets, despite being some of
         the most viewed news websites in the country, have not been given seats in
         this room.
         And before I turn to questions, I do have news directly from the president of
         the United States that was just shared with me in the Oval Office from
         President Trump directly - an update on the New Jersey drones: After
         research and study, the drones that were flying over New Jersey in large
         numbers were authorized to be flown by the FAA for research and various
         other reasons.
         Many of these drones were also hobbyists - recreational and private
         individuals that enjoy flying drones. In meanti- - in the - in time, it got
         worse, due to curiosity. This was not the enemy. A - a statement from the
         president of the United States to start this briefing with some news.
         And with that, I will turn it over to questions, and we will begin with our new
         media members: Mike Allen from Axios, Matt Boyle from Breitbart.


            Mike, why don't you go ahead.
         Q Thank you very much. Karoline, does the president see anything fishy
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         about DeepSeek, either its origins or its cost? And could China's ability to
         make these models quicker, cheaper affect our thinking about expanding
         generation data centers, chip manufacturing?
         MS. LEAVITT: Sure. The president was asked about DeepSeek last night on
         Air Force One when he gaggled for, I think, the third or fourth time
         throughout the weekend with members of the traveling press corps. The
         president said that he believes that this is a wake-up call to the American Al
         industry. The last administration sat on their hands and allowed China to
         rapidly develop this Al program.
         And so, President Trump believes in restoring American Al dominance, and
         that's why he took very strong executive action this past week to sign
         executive orders to roll back some of the onerous regulations on the Al
         industry. And President Trump has also proudly appointed the first Al and
         crypto czar at this White House, David Sacks, whom I spoke with yesterday -
         very knowledgeable on this subject. And his team is here working every
         single day to ensure American Al dominance.
         As for the national security implications, I spoke with NSC this morning. They
         are looking into what those may be, and when I have an update, I will share it
         with you, Mike.
         Q    And, Karoline, you say "restore" U.S. dominance. Is there fear that the U.S.
         either is falling or has fallen behind? And how would the president make sure
         the U.S. stays ahead?
         MS. LEAVITT: No. The president is confident that we will restore American
         dominance in Al.
         Matt.
         Q    Yeah. So, Karoline, first off, thank you to you and President Trump for
         actually giving voices to new media outlets that represent millions and
         millions of Americans. The thing I would add - the - I've got a two-part
         question for you. The first is just: Can you expand upon what steps the White
         House is going to take to bring more voices, not less - which is what our
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         founder, Andrew Breitbart, believed in - into this room, where they rightly
         belong?
         MS. LEAVITT: Yeah, absolutely. And as I said in my opening statement, Matt,
         it is a priority of this White House to honor the First Amendment. And it is a
         fact that Americans are consuming their news media from various different
         platforms, especially young people. And as the youngest press secretary in
         history, thanks to President Trump, I take great pride in opening up this room
         to new media voices to share the president's message with as many
         Americans as possible.
         In doing so, number one, we will ensure that outlets like yours - Axios and
         Breitbart, which are widely respected and viewed outlets - have an actual
         seat in this room every day. We also, again, encourage anybody in this
         country - whether you are a TikTok content creator, a blogger, a podcaster -
         if you are producing legitimate news content, no matter the medium, you will
         be allowed to apply for press credentials to this White House.
         And as I said earlier, our new media website is WhiteHouse.gov/NewMedia,
         and so we encourage people to apply. Again, as long as you are creating
         news-related content of the day and you're a legitimate independent
         journalist, you're welcome to cover this White House.
         Q And secondly, Karoline, you sa- - you laid out several of the actions that
         President Trump has taken. Obviously, it's a stark contrast to the previous
         administration and a breakneck speed from President Trump. Can we expect
         that pace to continue as the hun- - the - you know, the first 100 days moves
         along here and beyond that?
         MS. LEAVITT: Absolutely. There is no doubt President Trump has always
         been the hardest working man in politics. I think that's been proven over the
         past week. This president has, again, signed more than 300 executive
         orders. He's taken historic action.
         I gaggled aboard Air Force One to mark the first 100 days of this
         administration - 4:00 p.m. last Friday - first 100 hours, rather. And this
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         president did more in the first 100 hours than the previous president did in
         the first 100 days.
         So, President Trump, I think you can all expect to - for him to continue to
         work at this breakneck speed. So, I hope you're all ready to work very hard. I
         know that we are.
         Zeke Miller.
         Q Thanks, Karoline. A question that we've asked your predecessors of both
         parties in this job. When you're up here in this briefing room speaking to the
         American public, do you view yourself and your role as speaking on -
         advocating on behalf of the president, or providing the unvarnished truth that
         is, you know, not to lie, not to obfuscate to the American people?
         MS. LEAVITT: I commit to telling the truth from this podium every single day.
         I commit to speaking on behalf of the president of the United States. That is
         my job.
         And I will say it's very easy to speak truth from this podium when you have a
         president who is implementing policies that are wildly popular with the
         American people, and that's exactly what this administration is doing. It's
         correcting the lies and the wrongs of the past four years, many of the lies that
         have been told to your faces in this very briefing room. I will not do that.
         But since you brought up truth, Zeke, I would like to point out, while I vow to
         provide the truth from this podium, we ask that all of you in this room hold
         yourselves to that same standard. We know for a fact there have been lies
         that have been pushed by many legacy media outlets in this country about
         this president, about his family, and we will not accept that. We will call you
         out when we feel that your reporting is wrong or there is misinformation
         about this White House.
         So, yes, I will hold myself to the truth, and I expect everyone in this room to do
         the same.
         Q And, Karoline, just on a substantive question. Yesterday, the White House
         Office of Management and Budget directed an across-the-board freeze with
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         - with some exceptions for individual assistance. We understand just federal
         grants.
         MS. LEAVITT: Right.
         Q    It's caused a lot of confusion around the country among Head Start
         providers, among providers - from services to homeless veterans, provid- -
         you know, Medicaid providers, states saying they're having trouble accessing
         the portal. Could you put - help us clear up some confusion -
         MS. LEAVITT: Yes.
         Q    - give some certainty to folks? And then also, is that uncertainty - how
         does that uncertainty service the president's voters?
         MS. LEAVITT: Well, I think there's only uncertainty in this room amongst the
         media. There's no uncertainty in this building.
         So, let me provide the certainty and the clarity that all of you need. This is not
         a blanket pause on federal assistance in grant programs from the Trump
         administration. Individual assistance, that includes - I'm not naming
         everything that's included, but just to give you a few examples - Social
         Security benefits, Medicare benefits, food stamps, welfare benefits -
         assistance that is going directly to individuals will not be impacted by this
         pause.
         And I want to make that very clear to any Americans who are watching at
         home who may be a little bit confused about some of the media reporting:
         This administration - if you are receiving individual assistance from the
         federal government, you will still continue to receive that.
         However, it is the responsibility of this president and this administration to be
         good stewards of taxpayer dollars. That is something that President Trump
         campaigned on. That's why he has launched DOGE, the Department of
         Government Efficiency, who is working alongside 0MB. And that's why 0MB
         sent out this memo last night, because the president signed an executive
         order directing 0MB to do just this. And the reason for this is to ensure that
         every penny that is going out the door is not conflicting with the executive
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          orders and actions that this president has taken.
          So, what does this pause mean? It means no more funding for illegal DEi
          programs. It means no more funding for the Green New Scam that has ta- -
          cost American taxpayers tens of billions of dollars. It means no more funding
          for transgenderism and wokeness across our federal bureaucracy and
          agencies. No more funding for Green New Deal social engineering policies.
          Again, people who are receiving individual asintan- - assistance, you will
          continue to receive that.
          And President Trump is looking out for you by issuing this pause because he
          is being good steward of your taxpayer dollars.
          Q   Thanks, Karoline.
          MS. LEAVITT: Sure.
          Q   How long is this pause going to last? And how is the Trump
          administration recommending that organizations that rely on federal funding
          make payroll, pay their rent in the meantime?
          MS. LEAVITT: It is a temporary pause, and the Office of Management and
          Budget is reviewing the federal funding that has been going out the door,
          again, not for individual assistance, but for all of these other programs that I
          mentioned.
          I also spoke with the incoming director of 0MB this morning, and he told me
          to tell all of you that the line to his office is open for other federal government
          agencies across the board , and if they feel that programs are necessary and
          in line with the president's agenda, then the Office of Management and
          Budget will review those policies.
          I think this is a very responsible measure. Again, the past four years, we've
          seen the Biden administration spend money like drunken sailors. It's a big
          reason we've had an inflation crisis in this country, and it's incumbent upon
          this administration to make sure, again, that every penny is being accounted
          for honestly.
          Q   Why impose this pause with so little notice? Why not give organizations
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          more time to plan for the fact that they are about to lose, in some cases, really
          crucial federal funding -
          MS. LEAVITT: There was -
          Q   - at least for a - for a period of time?
          MS. LEAVITT: There was notice. It was the executive order that the president
          signed.
          There's also a freeze on hiring, as you know; a regulatory freeze; and there's
          also a freeze on foreign aid. And this is a - again, incredibly important to
          ensure that this administration is taking into consideration how hard the
          American people are working. And their tax dollars actually matter to this
          administration.
          You know, just during this pause, DOGE and 0MB have actually found that
          there was $37 million that was about to go out the door to the World Health
          Organization, which is an organization, as you all know, that President Trump,
          with the swipe of his pen in that executive order, is - no longer wants the
          United States to be a part of. So, that wouldn't be in line with the president's
          agenda.
          DOGE and 0MB also found that there was about to be 50 million taxpayer
          dollars that went out the door to fund condoms in Gaza. That is a
          preposterous waste of taxpayer money.
          So, that's what this pause is focused on: being good stewards of tax dollars.
          Q   And so, this doesn't affect -
          MS. LEAVITT: Jennifer.
          Q   - Meals on Wheels or Head Start or disaster aid?
          MS. LEAVITT: Again, it does not affect individual assistance that's going to
          Americans.
          Q   To follow up on Nancy, do you think there will be a list of who is affected
          and how much money is affected? How - how will these contractors and
          organizations know if they are actually being - having their funding frozen?
          And then, secondly, if you're willing, can you just clarify, is the end goal of this
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          to essentially challenge Congress or to - to prove that the president can
          withhold federal funding? Is - in other words, is this an attempt to pick a
          fight to prove that he can do this?
          MS. LEAVITT: No, absolutely not. As it says right here in the memo, which I
          have - and I'd encourage all of you to read it - it says, "The American people
          elected President Trump to be the president of the United States and gave
          him a mandate to increase the impact of every federal dollar." "This memo
          requires federal agencies to identify and review all Federal financial
          assistance programs and supporting activities consistent with the president's
          policies and requirements."
          The American people gave President Trump an overwhelming mandate on
          November 5th, and he's just trying to ensure that the tax money going out the
          door in this very bankrupt city actually aligns with the will and the priorities of
          the American people.
          (Cross-talk.)
          Brian Glenn.
          Q   Yes. Welcome.
          MS. LEAVITT: Thank you.
          Q   You look great. You're doing a great job.
          MS. LEAVITT: Thank you.
          Q   You talked about transparency. And some of us in this room know how
          just transparent President Trump has been the last five or six years; I think
          you'll do the same.
          My question is, do you think this latest incident with the president of
          Colombia is indicative of the global, powerful respect they have for President
          Trump moving forward not only to engage in - in economic diplomacy with
          these countries but also world peace?
          MS. LEAVITT: Absolutely. I'll echo the answer that the president gave on Air
          Force One last night when he was asked a very similar question by one of your
          colleagues in the media: This signifies peace through strength is back, and
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          this president will not tolerate illegal immigration into America's interior.
          And he expects every nation on this planet, again, to cooperate with the
          repatriation of their citizens who illegally entered into our country and broke
          America's laws. Won't be tolerated.
          And as you saw, the Colombian government quickly folded and agreed to all
          of President Trump's demands. Flights are underway once again.
          (Cross-talk.)
          Diana.
          Q   Two questions on deportations, if I may. President Trump had said on the
          campaign trail that he would deport pro-Hamas students who are here on
          visas, and on his first day in office, he signed an executive order that said,
          quote, "The U.S. must ensure that admitted aliens and aliens otherwise
          already present in the U.S. do not bear hostile attitudes toward its citizens,
          culture, government, institutions, or founding principles." So, should we take
          this executive order as Trump saying he would be open to de- - deporting
          those students who are here on visas, but, you know, hold pro-Hamas
          sympathies?
          MS. LEAVITT: The president is open to deporting individuals who have
          broken our nation's immigrations laws. So, if they are here illegally, then
          certainly he is open to deporting them, and that's what this administration is
          hard at work at doing.
          We receive data from DHS and from ICE every single day. From what we hear
          on the ground, ICE agents are feeling incredibly empowered right now
          because they actually have a leader in this building who is supporting them in
          doing their jobs that they were hired to do, which is to detain, arrest, and
          deport illegal criminals who have invaded our nation's borders over the past
          four years. That's what the president is committed to seeing.
          Q   One more.
          MS. LEAVITT: Peter.

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              Q     Just following up on that, Karoline -
          Q       Karoline, if I could ask you very quickly, just following up on the question
          on immigration. First, President Trump, during the course of the campaign in
          2024, said the following about illegal im- - immigration. He said, "They're
          going back home where they belong, and we start with the criminals. There
          are many, many criminals." NBC News has learned that ICE arrested 1,179
          undocumented immigrants on Sunday, but nearly half of them - 566 of the
          migrants - appear to have no prior criminal record besides entering the
          country illegally.
          MS. LEAVITT: (Laughs.)
          Q       Is the president still focused exclusiv- - which is a civil crime, not a - not
          a - it's not criminal -
          MS. LEAVITT: It's a federal crime.
          Q   It's a fed- - so, I'm asking though, he said he was going to focus on those
          violent offenders first. So, is violent offenders no longer the predicate for
          these people to be deported?
          MS. LEAVITT: The president has said countless times on the campaign trail -
          I've been with him at the rallies; I know you've been there covering them too,
          Peter - that he is focused on launching the largest mass deportation
          operation in American history of illegal criminals.
          And if you are an individual, a foreign national, who illegally enters the United
          States of America, you are, by definition, a criminal. And so, therefore -
          Q   So, to be clear, it's not exclusively -
          MS. LEAVITT: -you are subject deportation.
          Q   I apologize for interrupting. So, to be clear, it's not - violent criminals do
          not receive precedence in terms of the deportations taking place?
          MS. LEAVITT: The president has also said - two things can be true at the
          same time. We want to deport illegal criminals, illegal immigrants from this
          country. But the president has said that, of course, the illegal dr- - criminal
          drug dealers, the rapists, the murderers, the individuals who have committed
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          heinous acts on the interior of our country and who have terrorized law-
          abiding American citizens, absolutely, those should be the priority of ICE. But
          that doesn't mean that the other illegal criminals who entered our nation's
          borders are off the table.
          Q   Understood. Then let me ask you a separate question about the
          confusion that still exists across the country right now as it relates to the -
          the freeze - or the pause, as it's described. President Trump, of course, ran -
          one of the key policy items was that he was going to lower prices, lower the
          cost of everything from groceries, as he often said. But in many of the cases,
          it would seem that some of these moves could raise prices for real Americans
          on everything from low-income heating - that program; childcare programs.
          Will nothing that the president is doing here, in terms of the freeze in these
          programs, raise prices on ordinary Americans?
          MS. LEAVITT: What particular actions are you referring to that would -
          Q   I'm referring to LHEAP right now. That's the low-income heating program,
          for example. We can talk about - there's no clarity, so I could refer to a lot of
          them. We don't know what they are specifically. Can you tell us that LHEAP
          - that LI HEAP is not one of those affected?
          MS. LEAVITT: So, you're asking a hypoc- - -thetical based on programs that
          you can't even identify?
          Q   No, I just identified - I -
          MS. LEAVITT: What I can tell you is that the -
          Q   Well, just to be - just to be clear, since you guys haven't identified, let's do
          it together, just for Americans at home. Medicaid, is that affected?
          MS. LEAVITT: I gave you a list of examples - Social Security, Medicare,
          welfare benefits -
          Q   Medicaid too, correct?
          MS. LEAVITT: - food stamps - that will not be impacted by this federal
          pause. I can get you the full list after this briefing from the Office of
          Management and Budget.
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          But I do want to address the cost cutting, because that's certainly very
          important, and - and cutting the cost of living in this country. President
          Trump has taken historic action over the past week to do that. He actually
          signed a memorandum to deliver emergency price relief for American
          families, which took a number of actions. I can walk you through those.
          He also repealed many onerous Biden administration regulations. We know,
          over the past four years, American households has been essentially taxed
          $55,000 in regulations from the previous administration. President Trump,
          with the swipe of his pen, rescinded those, which will ultimately put more
          money back in the pockets of the American people. So, deregulation is a big
          deal.
          And then, when it comes to energy, I mean, the president signed an executive
          order to declare a national energy emergency here at home, which is going to
          make America energy dominant. We know that energy is one of the number-
          one drivers of inflation, and so that's why the president wants to increase our
          energy supply: to bring down costs for Americans. The Trump energy boom
          is incoming, and Americans can expect that.
          Q   Please share that memo. Thank you.
          MS. LEAVITT: I will.
          (Cross-talk.)
          Q   Karoline, I think - some of the confusion, I think, may be here with this
          pause on federal funding . You've made it clear you're not stopping funds that
          go directly to individuals, but there certainly are lots of organizations that
          receive funding and then may pass along a benefit - Meals on Wheels, for
          one. They provide meals for over 2.2 million seniors.
          What is the president's message to Americans out there, many of whom
          supported him and voted for him, who are concerned that this is going to
          impact them directly, even if, as you said, the funding isn't coming directly to
          their wallet?
          MS. LEAVITT: I have now been asked and answered this question four times.
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          To individuals at home who receive direct assistance from the federal
          government, you will not be impacted by this federal freeze. In fact, 0MB just
          sent out a memo to Capitol Hill with Q and A to - to clarify some of the
          questions and the answers that all of you are a- - are asking me right now.
          Again, direct assistance will not be impacted. I've been asked and answered
          about this 0MB memo. There's many other topics of the day.
          Jacqui Heinrich.
          Q But on indirect assistance, Karoline -
          Q Thank you, Karoline.
          Q - if it's going to another organization and then trickling down?
          MS. LEAVITT: Direct assistance that is in the hands of the American people
          will not be impacted.
          Again, as I said to Peter, we will continue to provide that list as it comes to
          fruition. But 0MB right now is focused on analyzing the federal government's
          spending, which is exactly what the American people elected President
          Trump to do.
          (Cross-talk.)
          Q Thank you, Karoline.
          Q And one question on immigration, Karoline. On immigration.
          Q Thank you, Karo- -
          Q Of the 3,500 arrests ICE has made so far since President Trump came
          back into office, can you just tell us the numbers? How many have a criminal
          record versus those who are just in the country illegally.
          MS. LEAVITT: All of them, because they illegally broke our nation's laws, and ,
          therefore, they are criminals, as far as this administration goes. I know the last
          administration didn't see it that way, so it's a big culture shift in our nation to
          view someone who breaks our immigration laws as a criminal. But that's
          exactly what they are.
          Jacqui.
          (Cross-talk.)
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          Q Karoline, on tariffs.
          Q But you made a point of going with the worst first.
          Q On tariffs.
          Q They all have a criminal record?
          Q And welcome to the briefing room.
          MS. LEAVITT: If they broke our nation's laws, yes, they are a criminal.
          Yes.
          Q Thank you. On stripping security details for figures like John Bolton,
          Pompeo, Brian Hook. Senator Tom Cotton said that he's seen the intelligence
          and the threat from Iran is real for anyone who played a role in the Soleimani
          strike. He voiced concern it wouldn't just impact those individuals but
          potentially their family, innocent bystanders, friends - anyone who is near
          them when they're out in public. Is the president open to reconsidering his
          decision?
          MS. LEAVITT: The president was asked and answered this yesterday, and he
          was firm in his decision, despite some of the comments that you had
          referenced. And he's made it very clear that he does not believe American
          taxpayers should fund security details for individuals who have served in the
          government for the rest of their lives. And there's nothing stopping these
          individuals that you mentioned from obtaining private security.
          That's where the president stands on it. I have no updates on that.
          Q Is there any concern that this decision might jeopardize the
          administration's ability to hire the best advisers for these kinds of positions in
          the future?
          MS. LEAVITT: No. In fact, I've talked to the Presidential Personnel Office who
          has told me directly that there is such an influx of resumes for this
          administration that it's incredibly overwhelming. There is no lack of talent for
          the Trump administration.
          Reagan Ree- -
          Q And would he - would he take any responsibility -
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          Q Thanks, Karoline.
          Q - if anything happened to these people? Would he feel at all that his
          decision was a factor in that?
          MS. LEAVITT: The president was asked and answered this yesterday. I'd defer
          you to his comments.
          Q Thanks, Karoline.
          Q Karoline-
          MS. LEAVITT: Reagan, since you're in the back row, I hear y- - the back row
          hasn't gotten much attention in the last four years -
          Q Yes, thank you.
          MS. LEAVITT: - so I'm happy to answer your question.
          Q And I can project. (Laughter.)
          Does the president intend to permanently cut off funding to NGOs that are
          bringing illegal foreign nationals to the country, such as Catholic Charities?
            MS. LEAVITT: I am actually quite certain that the president signed an
          executive order that did just that, and I can point you to that.
            Q One more, Karoline.
          MS. LEAVITT: Yeah.
          Q President Trump issued an executive order on increased vetting for
          refugees in visa applications.
          MS. LEAVITT: That's right.
          Q Part of that order was considering an outright ban for countries that have
          deficient screening processes. Has the president considered yet which
          countries might fall into this category? Are countries like Afghanistan or Syria
          under consideration for a full ban?
          MS. LEAVITT: Yeah. So, the president signed an executive order to
          streamline the vetting for visa applicants and for illegal immigrants in this
          country who are coming, of course, from other nations.
          It also directed the secretary of State to review the process and make sure
          that other countries around the world are being completely transparent with
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          our nation and the individuals that they are sending here. And so, the
          secretary of State has been directed to report back to the president. I haven't
          seen that report yet. We've only been here for a few days.
          (Cross-talk.)
          Q   Karoline, two questions for you. One on the freeze in federal funding.
          Who advised the president on the legality of telling government agencies
          that they don't have to spend money that was already appropriated by
          Congress?
          MS. LEAVITT: Well, as the 0MB memo states, this is certainly within the
          confines of the law.
          So, White House Counsel's Office believes that this is within the pe- -
          president's power to do it, and therefore, he's doing it.
          Q   Okay. So, they disagree with lawmakers who say that they don't have the
          power to - to freeze this funding?
          MS. LEAVITT: Again, I would point you to the language in the memo that
          clearly states this is within the law.
          Q   And on what happened on Friday night. The - the administration fired
          several inspectors general without giving Congress the 30-day legally
          required notification that they were being fired. I think only two were left at
          DO- - DHS and the DOJ. And then, yesterday, we saw several prosecutors -
          I believe 12 - fired from the Justice Department who worked on the
          investigations into the president. As you know, they are career prosecutors;
          therefore, they are afforded civil service protections. How is the
          administration deciding which laws to follow and which ones to ignore?
          MS. LEAVITT: So, it is the belief of this White House and the White House
          Counsel's Office that the president was within his exe- - executive authority
          to do that. He is the executive of the executive branch, and, therefore, he has
          the power to fire anyone within the executive branch that he wishes to.
          There's also a case that went before the Supreme Court in 2020: Scaila [Seila]
          Law LLC, v. the Customs - the [Consumer Financial Protection] Bureau
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          Protection. I would advise you to look at that case, and that's the legality that
          this White House has rested on.
          Q     So, you're confident that if they bring lawsuits against you - those
          prosecutors who were fired - that - that they will succeed?
          MS. LEAVITT: We will win in court, yes.
          Q     And did he personally direct this, given they worked on the classified
          documents investigation and the election interference investigation?
          MS. LEAVITT: This was a memo that went out by the Presidential Personnel
          Office, and the president is the leader of this White House. So, yes.
          Q     So, it did come from him?
          MS. LEAVITT: Yes, it came from this White House.
          (Cross-talk.)
          Q     Karoline.
          MS. LEAVITT: Sir.
          Q     Thank you. Congrats on your first day behind the podium.
          MS. LEAVITT: Thank you.
          Q     President Trump ended funding for UNRWA and also designated the
          Houthis a foreign terrorist organization.
          MS. LEAVITT: That's right.
          Q     Both were decisions that the previous administration had reversed. So,
          here's my question: Will there be an investigation into who gave the previous
          administration this terrible advice?
          MS. LEAVITT: Well, that's a very good point. I haven't heard discussions
          about such an ins- - investigation, but it wouldn't be a bad idea, considering
          that the Houthis ccr- - certainly arc terrorists. They have launched attacks
          on U.S. naval ships across this world, and so I think it was a very wise move by
          this administration to rcdcsignatc them as a terrorist group, because they
          arc. And I think it was a foolish decision by the previous administration to do
          so.
          As for an investigation, I'm not sure about that, but it's not a bad idea.
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          (Cross-talk.)
          Josh.
          Q   Thank you for the question. I appreciate it. Can you give us an update on
          the president's plan for his tariff agenda? He spoke a lot about this yesterday,
          and there's a couple of dates coming up that -
          MS. LEAVITT: Sure.
          Q - he's spoken to. Number one, February 1st. He's alluded to both the
          potential for tariffs for Canada and Mexico but also China to take effect on
          those days. Where is - what's he thinking about that?
          MS. LEAVITT: Yeah.
          Q   Should those countries expect that on the 1st?
          MS. LEAVITT: Again, he was asked and answered this question this past
          weekend when he took a lot of questions from the press, and he said that the
          February 1st date for Canada and Mexico still holds.
          Q   And what about the China 10 percent tariff that he also had mused about
          last Tuesday going into effect on the same date?
          MS. LEAVITT: Yeah, the president has said that he is very much still
          considering that for February 1st.
          Q   And then, separately, yesterday, he talked also about sectoral tariffs on,
          for instance, pharmaceuticals, as well as semiconductor computer chips. He
          talked about steel, aluminum, and copper. What's the timeline on those? Is
          that a similar sort of "coming days" thing or -
          MS. LEAVITT: Yeah, so when the president talked about that in his speech
          yesterday, that actually wasn't a new announcement. That was within a
          presidential memorandum that he signed in one of the first days here in the
          White House on his America First trade agenda. So, there's more details on
          those tariffs in there.
          As far as a date, I don't have a specific date to read out to you, but the
          president is committed to implementing tariffs effectively, just like he did in
          his first term.
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          Q   And then - and then, finally, he also was asked on the plane when he
          gaggled about the potential for a universal tariff. He was asked maybe about
          two and a half percent.
          MS. LEAVITT: Yeah.
          Q   There was a report about that. He said he wanted "much bigger than
          that." Should we understand that these tariffs would add up? You know, in
          other words, you might have country-specific tariffs like Canada, Mexico,
          China. You might have sectoral tariffs, like on pharmaceuticals, as well as a
          potential universal tariff on top of that. Do these stack on one or the other, or
          would one sort of take precedence over another?
          MS. LEAVITT: All I can point you to is what the president has said on this
          front: the February 1st date for Canada and Mexico and also the China tariff
          that he has discussed.
          He rejected the 2.5 percent tariff. He said that was a little bit too low. He
          wants it to be higher.
          I'll leave it to him to make any decisions on that front.
          Q   Do you have any comment on what the -
          (Cross-talk.)
          Q   - what the Mexicans and Canadians -
          MS. LEAVITT: Phil.
          Q   - have done so far? Do you have any comment on whether that has met
          the bar of what he wants to see on fentanyl? Thank you.
          MS. LEAVITT: I - I won't get ahead of the president, again, on advocating to
          foreign nations on what they should or shouldn't do to get away from these
          tariffs. The president has made it very clear, again, that he expects every
          nation around this world to cooperate with the repatriation of their citizens.
          And the president has also put out specific statements in terms of Canada
          and Mexico when it comes to what he expects in terms of border security.
          We have seen a historic level of cooperation from Mexico. But, again, as far as
          I'm still tracking - and that was last night talking to the president directly -
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          February 1st is still on the books.
          Q Thankyou.
          MS. LEAVITT: Phil.
          Q Thank you, Karoline. Quick programming note, and then a question on
          taxes.
          MS. LEAVITT: A programming note.
          Q Well, in terms of programming, should -
          MS. LEAVITT: That sounds fun.
          Q - we expect to see you here every day? How frequently will these -
          Q That's a good question.
          Q - press briefings be?
          MS. LEAVITT: It is a good question, April.
          So, look, the president, as you know, is incredibly accessible. First day here,
          he wanted all of you in the Oval Office. You got a 60-minute press
          conference with the leader of the free world - while he was simultaneously
          signing executive orders, I may add . That's pretty impressive. I don't think the
          previous office holder would be able to pull such a thing off.
          So, look, the president is the best spokesperson that this White House has,
          and I can assure you that you will be hearing from both him and me as much
          as possible.
          Q And then a question about tax cuts. You know, the president has
          promised to extend the tax cuts from the previous term. I'm curious, you
          know, does the president support corresponding spending cuts, as some
          Republicans have called for in Congress? And will the new Treasury secretary
          be leading those negotiations with the Hill, as Mnuchin did during the first
          administration?
          MS. LEAVITT: The president is committed to both tax cuts and spending
          cuts.
          And he has a great team negotiating on his behalf, but there's no better
          negotiator than Donald Trump, and I'm sure he'll be involved in this
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          reconciliation process as it moves forward.
          (Cross-talk.)
          Q   Karoline, in the announcement that you made last night on the Iron Dome,
          it said the president had directed that the United States will build this Iron
          Dome.
          MS. LEAVITT: Yeah.
          Q When you read into the executive order, it seemed short of that. It asked
          for a series of studies -
          MS. LEAVITT: Yeah.
          Q   - and reports back on - can you tell us whether the president has
          directed this and, if he is this concerned on this issue, why the suspensions
          that we saw listed by 0MB included so many different nuclear programs,
          nonproliferation programs, programs to blend down nuclear weapons, ands-
          - and so forth?
          MS. LEAVITT: First of all, when it comes to the Iron Dome, the executive order
          directed the implementation of the - of an Iron Dome. It also, as you said,
          kind of directed research and studies to see if - or - or how the United
          States can go about doing this, particularly the Department of Defense.
          When it comes to the other question that you asked about those specific
          programs, again, I would say, this is not a - a ban; this is a temporary pause
          and a freeze to ensure that all of the money going out from Washington, D.C.,
          is in align with the president's agenda.
          And as the Office of Management and Budget has updates on what will be
          kick-started, once again, I will provide those to you.
          Q   Can you clarify for a sec what you were saying before on Medicaid? It
          wasn't clear to me whether you were saying that no Medicaid would be cut
          off. Obviously, a lot of this goes to states before it goes to individuals and so
          forth. So, are you guaranteeing here that no individual now on Medicaid
          would see a cutoff because of the pause?
          MS. LEAVITT: I'll check back on that and get back to you.
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          Jon.
          Q   Thanks a lot, Karoline. As you know, in the first week that the president
          was in office, signed an executive order as it relates to birthright citizenship -
          trying to eliminate that. Now, 22 state attorney generals have said that this is
          unconstitutional. A federal judge has just agreed with their argument.
          What's the administration's argument for doing away with birthright
          citizenship?
          MS. LEAVITT: The folks that you mentioned have a right to have that legal
          opinion, but it is in disagreement with the legal opinion of this administration.
          This administration believes that birthright citizenship is unconstitutional,
          and that is why President Trump signed that executive order. Illegal
          immigrants who come to this country and have a child are not subject to the
          laws of this jurisdiction. That's the opinion of this administration.
          We have already appealed the rul- - the lawsuit that was filed against this
          administration, and we are prepared to fight this all the way to the Supreme
          Court if we have to, because President Trump believes that this is a necessary
          step to secure our nation's borders and protect our homeland.
          Monica.
          Q   And then on foreign policy - on foreign policy, Karoline -
          Q   Thank you, Karoline. It's great to see you, and you're doing a great -
          Q   - on foreign policy, if I may. The president's commitment to the NATO
          defense Alliance, is it as strong as the prior administration? Is it the same as
          when he served as president in his first term in office?
          MS. LEAVITT: As long as NATO pays their fair share.
          And President Trump has called on NATO Allies to increase their defense
          spending to 5 percent. You actually saw the head of NATO at Davos last week
          on Bloomberg Television saying that President Trump is right and if Europe
          wants to keep itself safe, they should increase their defense spending.
          I would just add that there was no greater ally to our European allies than
          President Trump in his first term. The world, for all nations in Europe, and, of
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          course, here at home was much safer because of Presidents Tru- - Trump's
          peace through strength diplomatic approach.
          Monica.
          Q   Karoline-
          O Thank you. Thank you, Karoline. And it's great to finally be called on as
          well in the briefing room. I appreciate that.
          MS. LEAVITT: You're welcome.
          Q   Of course, we know President Trump just got back from North Carolina
          and California meeting with victims of natural disasters. There's the two-year
          anniversary of the East Palestine, Ohio, toxic train derailment. Does the
          president have any plans to go visit the victims of that toxic spill or just visit in
          general?
          MS. LEAVITT: Not - no plans that I can read out for you here. If that changes,
          I will certainly keep you posted.
          What I can tell you is that President Trump still talks about his visit to East
          Palestine, Ohio. That was one of the turning points, I would say, in the
          previous election campaign, where Americans were reminded that President
          Trump is a man of the people. And he, as a candidate, visited that town that
          was just derailed by the train derailment - no pun intended - and he offered
          support and hope, just like I saw the president do this past week.
          It was a purposeful decision by this president, on his first domestic trip, to go
          to North Carolina and to California to visit with Americans who were
          impacted by Hurricane Helene and also by the deadly fires - a red state and a
          blue state, both of which feel forgotten by the previous administration and
          the federal government. That has now - that has now ended under
          President Trump.
          He will continue to put Americans first, whether they're in East Palestine, in
          Pacific Palisades, or in North Carolina.
          (Cross-talk.)
          Sure.
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          Q   Thank you, Karoline. On California, could you please clarify what the
          military did with the water last night, as referenced in the president's Truth
          Social post?
          MS. LEAVITT: The water has been turned back on in California, and this
          comes just days after President Trump visited Pacific Palisades and, as you all
          saw, applied tremendous pressure on state and local officials in Pacific
          Palisades, including Los Angeles Mayor Karen Bass, to turn on the water and
          to direct that water to places in the south and in the middle of the state that
          have been incredibly dry, which has led to the expansion - the rapid
          expansion of these fires.
          Q   So, could you clarify what the military's role was, where the water came
          from, and how it got there?
          MS. LEAVITT: Again, the Army Corps of Engineers has been on the ground in
          California to respond to the devastation from these wildfires. And I would
          point out that just days after President Trump visited the devastation from
          these fires, the water was turned on. That is because of the pressure
          campaign he put on state and local officials there, who clearly lack all
          common sense.
          And I will never forget being at that round table with the president last week
          and hearing the frustration in the voices of Pacific Palisades residents who
          feel as though their government has just gone insane. Before President
          Trump showed up on the scene, Karen Bass was telling private property
          owners that they would have to wait 18 months to access their private
          property.
          So, this administration, the president and his team that's on the ground in
          California - Ric Grenell, who he has designated to oversee this great crisis -
          ha- - will continue to put pressure on Karen Bass and state and local officials
          to allow residents to access their properties.
          This is a huge part of it. These residents want to take part in their own
          clearing out of their properties. They should be able to do that. It's the United
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          States of America. What happened to our freedom? Clearly, it's gone in
          California, but not anymore under President Trump.
          Q   Karoline-
          MS. LEAVITT: April.
          Q   Karoline, welcome to the briefing room.
          MS. LEAVITT: Thank you.
          Q Several questions. One on the pause. Will minority-serving institutions,
          preferably colleges and universities, have those monies held back temporarily
          at this moment?
          MS. LEAVITT: Again, I have not seen the entire list, because this memo was
          just sent out So, I will provide you all with updates as we receive them. Okay?
          Q   Karoline-
          O And secondly - als- -
          Q   Karoline.
          Q   Also, secondly, when it comes to immigration, there is this southern
          border focus. What happens to those who have overstayed their visas? That
          is part of the broken immigration system. In 2023, there was a report by the
          Biden administration, the Homeland Security Department, that said
          overstays of visas were three times more than usual. Will there be a focus on
          the overstays for visas as well?
          MS. LEAVITT: If an individual is overstaying their visa, they are therefore an
          illegal immigrant residing in this country, and they are subject to
          deportation.
          Q   And also, lastly -
          MS. LEAVITT: Yes.
          Q   Lastly, as we're dealing with anti-DEi, anti-woke efforts, we understand
          this administration could - is thinking about celebrating Black History
          Month. Have you got any word on that? Anything that you can offer to us?
          MS. LEAVITT: As far as I know, this White House certainly still intends to
          celebrate, and we will continue to celebrate American history and the
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          contributions that all Americans, regardless of race, religion, or creed, have
          made to our great country. And America is back.
          Christian Datoc.
          Q   Thanks, Karoline. Just real quick. You mentioned the inflation executive
          order the president signed, but egg prices have skyrocketed since President
          Trump took office. So, what specifically is he doing to lower those costs for
          Americans?
          MS. LEAVITT: Really glad you brought this up, because there is a lot of
          reporting out there that is putting the onus on this White House for the
          increased cost of eggs. I would like to point out to each and every one of you
          that, in 2024, when Joe Biden was in the Oval Office - or upstairs in the
          residence sleeping; I'm not so sure - egg prices increased 65 percent in this
          country. We also have seen the cost of everything, not just eggs - bacon,
          groceries, gasoline - have increased because of the inflationary policies of
          the last administration.
          As far as the egg shortage, what's also contributing to that is that the Biden
          administration and the Department of Agriculture directed the mass killing of
          more than 100 million chickens, which has led to a lack of chicken supply in
          this country, therefore a lack of egg supply, which is leading to the shortage.
          So, I will leave you with this point. This is an example of why it's so incredibly
          important that the Senate moves swiftly to confirm all of President Trump's
          nominees, including his nominee for the United States Department of
          Agriculture, Brooke Rollins, who is already speaking with Kevin Hassett, who
          is leading the economic team here at the White House, on how we can
          address the egg shortage in this country.
          As for cots, I laid out - costs - I laid out the plethora of ways that President
          Trump has addressed saving costs for the American people over the past
          week. He looks forward to continuing to doing that -
          Q   Karoline, what -
          MS. LEAVITT: - in the days ahead.
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          (Cross-ta Ik.)
          Thank you, guys, so much. I'll see you soon.
                                                                                                END                  1:52 P.M. EST




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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                                    )
        STATE OF NEW YORK; STATE OF                 )
        CALIFORNIA; STATE OF ILLINOIS;              )
        STATE OF RHODE ISLAND; STATE OF             )
        NEW JERSEY; COMMONWEALTH OF                 )
        MASSACHUSETTS; STATE OF
                                                    )
        ARIZONA; STATE OF COLORADO;
                                                    )
        STATE OF CONNECTICUT; STATE OF
        DELAWARE; THE DISTRICT OF                   )
        COLUMBIA; STATE OF HAWAI’I;                 )
        STATE OF MAINE; STATE OF                    )
        MARYLAND; STATE OF MICHIGAN;                )
        STATE OF MINNESOTA; STATE OF                )
        NEVADA; STATE OF NORTH                      )
        CAROLINA; STATE OF NEW MEXICO;              )
        STATE OF OREGON; STATE OF                   )
        VERMONT; STATE OF WASHINGTON;               )
        and STATE OF WISCONSIN,
                                                    )
                                                    )
              Plaintiffs,
                                                    )
        v.                                          )
                                                    )     C.A. No. 25-cv-39-JJM-PAS
        DONALD TRUMP, in his Official               )
        Capacity as President of the United         )
        States; U.S. OFFICE OF                      )
        MANAGEMENT AND BUDGET;                      )
        MATTHEW J. VAETH, in his Official           )
        Capacity as Acting Director of the U.S.     )
        Office of Management and Budget; U.S.       )
        DEPARTMENT OF THE TREASURY;
                                                    )
        SCOTT BESSENT, in his Official
        Capacity as Secretary of the Treasury;      )
        PATRICIA COLLINS, in her Official           )
        Capacity as Treasurer of the U.S.; U.S.     )
        DEPARTMENT OF HEALTH AND                    )
        HUMAN SERVICES; DOROTHY A.                  )
        FINK, M.D., in her Official Capacity As     )
        Acting Secretary Of Health And Human        )
        Services; U.S. DEPARTMENT OF                )
        EDUCATION; DENISE CARTER, in her            )
        Official Capacity as Acting Secretary of    )
        Education; U.S. FEDERAL
                                                    )
        EMERGENCY MANAGEMENT
        AGENCY; CAMERON HAMILTON, in                )




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        his Official Capacity as Acting          )
        Administrator of the U.S. Federal        )
        Emergency Management Agency; U.S.        )
        DEPARTMENT OF                            )
        TRANSPORTATION;
                                                 )
        JUDITH KALETA, in her Official
                                                 )
        Capacity as Acting Secretary of
        Transportation; U.S. DEPARTMENT OF )
        LABOR; VINCE MICONE, in his Official )
        Capacity as Acting Secretary of Labor;   )
        U.S. DEPARTMENT OF ENERGY;               )
        INGRID KOLB, in her Official Capacity    )
        as Acting Secretary of the U.S.          )
        Department of Energy; U.S.               )
        ENVIRONMENTAL PROTECTION                 )
        AGENCY; JAMES PAYNE, in his Official )
        Capacity as Acting Administrator of the  )
        U.S. Environmental Protection Agency;
                                                 )
        U.S. DEPARTMENT OF HOMELAND
        SECURITY; KRISTI NOEM, in her            )
        Capacity as Secretary of the U.S.        )
        Department of Homeland Security; U.S.    )
        DEPARTMENT OF JUSTICE; JAMES R. )
        McHENRY III, in his Official Capacity as )
        Acting Attorney General of the U.S.      )
        Department of Justice; THE NATIONAL )
        SCIENCE FOUNDATION; and DR.              )
        SETHURAMAN PANCHANATHAN, in              )
        his Capacity as Director of the National
                                                 )
        Science Foundation,
                                                 )
               Defendants.                       )
                                                 )

                                              ORDER

              The Plaintiff States’ Motion for Enforcement of the Temporary Restraining

       Order (“TRO”) (ECF No. 66) is GRANTED.

              [It is a] basic proposition that all orders and judgments of courts must
              be complied with promptly.           * * * Persons who make private
              determinations of the law and refuse to obey an order generally risk
              criminal contempt even if the order is ultimately ruled incorrect. The
              orderly and expeditious administration of justice by the courts requires
              that an order issued by a court with jurisdiction over the subject matter



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              and person must be obeyed by the parties until it is reversed by orderly
              and proper proceedings.

       Maness v. Meyers, 419 U.S. 449, 458–59 (1975) (citations and quotations omitted)

       (emphasis added). The Defendants issued a broad, categorical, all-encompassing

       directive freezing federal funding. The plain language of the TRO entered in this case

       prohibits all categorical pauses or freezes in obligations or disbursements based on

       the OMB Directive or based on the President’s 2025 Executive Orders. 1             The

       Defendants received notice of the TRO, the Order is clear and unambiguous, and

       there are no impediments to the Defendants’ compliance with the Order.

              The States have presented evidence in this motion that the Defendants in some

       cases have continued to improperly freeze federal funds and refused to resume

       disbursement of appropriated federal funds. See Exhibits A-C of the States’ motion,

       (ECF Nos. 66-1, 66-2, and 66-3). The Defendants now plea that they are just trying

       to root out fraud. See ECF No. 70. But the freezes in effect now were a result of the

       broad categorical order, not a specific finding of possible fraud. The broad categorical

       and sweeping freeze of federal funds is, as the Court found, likely unconstitutional

       and has caused and continues to cause irreparable harm to a vast portion of this

       country. These pauses in funding violate the plain text of the TRO. 2 In response to



              1 The Defendants acknowledged that they understood what the TRO required:

       “Federal agencies cannot pause, freeze, impede, block, cancel, or terminate any
       awards or obligations on the basis of the OMB Memo, or on the basis of the President’s
       recently issued Executive Orders.” ECF No. 51-1 at 1 (emphasis added).
              2 The Court disagrees with the Defendants’ Notice (ECF No. 51), particularly

       paragraph 2. The Court’s TRO is clear and unambiguous in its scope and effect, which
       is inconsistent with the Defendant’s interpretation contained in the Notice. ECF
       No. 51 at 2.


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       the Defendants’ arguments, they can request targeted relief from the TRO from this

       Court where they can show a specific instance where they are acting in compliance

       with this Order but otherwise withholding funds due to specific authority.

              Therefore, consistent with the United States Constitution, United States

       statutes, United States Supreme Court precedent, and the TRO, the Defendants are

       hereby further ORDERED as follows:

              1.    The Defendants must immediately restore frozen funding during the

       pendency of the TRO until the Court hears and decides the Preliminary Injunction

       request.

              2.    The Defendants must immediately end any federal funding pause

       during the pendency of the TRO.

              3.    The Defendants must immediately take every step necessary to

       effectuate the TRO, including clearing any administrative, operational, or technical

       hurdles to implementation.

              4.    The Defendants must comply with the plain text of the TRO not to pause

       any funds based on pronouncements pausing funding incorporated into the OMB

       Directive, like Section 7(a) of the Unleashing Executive Order, and the OMB

       Unleashing Guidance. The TRO requirements include any pause or freeze included

       in the Unleashing Guidance.

              5.    The Defendants must immediately restore withheld funds, including

       those federal funds appropriated in the Inflation Reduction Act and the




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       Infrastructure Improvement and Jobs Act.        The directives in OMB M-25-11 are

       included in the TRO.

              6.    The Defendants must resume the funding of institutes and other

       agencies of the Defendants (for example the National Institute for Health) that are

       included in the scope of the Court’s TRO.




       IT IS SO ORDERED.


       /s/John J. McConnell, Jr.
       _________________________________
       John J. McConnell, Jr.
       Chief Judge
       United States District Court for the District of Rhode Island

       February 10, 2025




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                        United States Court of Appeals
                                          For the First Circuit
                                             _____________________

        No. 25-1138

                                          STATE OF NEW YORK, et al.,

                                                Plaintiffs, Appellees,

                                                          v.

              DONALD J. TRUMP, in his official capacity as President of the United States, et al.,

                                              Defendants, Appellants.
                                              __________________

                                                       Before

                                              Barron, Chief Judge,
                                    Montecalvo and Rikelman, Circuit Judges.
                                             __________________

                                              ORDER OF COURT
                                            Entered: February 11, 2025

                         On January 31, 2025, the United States District Court for the District of Rhode
        Island issued an order granting the plaintiffs' Motion for a Temporary Restraining Order ("TRO").
        On February 6, 2025, the District Court entered a text order extending the TRO. And, on February
        10, 2025, the District Court granted the plaintiffs' Motion for Enforcement of the Temporary
        Restraining Order ("February 10 Order"). The defendants have appealed these orders. They have
        also filed with this Court two motions (contained within a single document) for, respectively, (1)
        a stay pending appeal, which they ask us to resolve by February 14, 2025, and (2) an administrative
        stay pending resolution of their motion for a stay pending appeal.1 The sole motion we address in
        this order is the motion for an administrative stay.

                        This Circuit has not addressed whether or when an administrative stay of the sort
        being requested here may be issued, and there is well-recognized uncertainty as to what standards
        guide the decision to issue one or not. See United States v. Texas, 144 S. Ct. 797, 798 (2024)
        (Barrett, J., concurring). Here, the defendants have requested a stay pending appeal from the
        District Court, which has not yet ruled on their motion. See Fed. R. App. P. 8(a)(1)(A) ("A party

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                The defendants also state that "[e]ven if this Court were to conclude that the order is
        unappealable, the Court should exercise its discretion to treat this motion as a petition for a writ of
        mandamus."



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        must ordinarily move first in the district court for . . . a stay of the judgment or order of a district
        court pending appeal . . . ."); id. 8(a)(2)(A)(ii) (requiring, in the absence of a showing that "moving
        first in the district court would be impracticable," that the party moving for a stay pending appeal
        must "state that . . . the district court denied the motion or failed to afford the relief requested and
        state any reasons given by the district court for its action"). Moreover, a centerpiece of the dispute
        between the parties in this appeal concerns the proper way to construe the February 10 Order.
        Finally, insofar as we have jurisdiction to consider this request for an administrative stay arising
        out of a temporary restraining order, cf. Off. of Pers. Mgmt. v. Am. Fed'n of Gov't Emps., AFL-
        CIO, 473 U.S. 1301, 1306 (1985) (Burger, C.J., in chambers) ("[S]ince the Court of Appeals was
        without jurisdiction over the appeal from the District Court's order denying the temporary
        restraining order, the motions panel was necessarily without authority to grant such a stay."), the
        defendants do not cite any authority in support of their administrative stay request or identify any
        harm related to a specific funding action or actions that they will face without their requested
        administrative stay.

                        In these circumstances, we assume we have jurisdiction, see Doe v. Town of
        Lisbon, 78 F.4th 38, 44-45 (1st Cir. 2023), and deny the motion for an administrative stay without
        prejudice. We are confident the District Court will act with dispatch to provide any clarification
        needed with respect to, among other things, the defendants' contention that the February 10 Order
        "bars both the President and much of the Federal Government from exercising their own lawful
        authorities to withhold funding without the prior approval of the district court." We note in this
        regard the plaintiffs' statement in their Opposition to Defendants' Motion for Administrative Stay
        Pending Appeal that, consistent with the TRO, the February 10 Order "does not stop defendants
        from limiting access to funds without any 'preclearance' from the district court 'on the basis of the
        applicable authorizing statutes, regulations, and terms.'" The parties may file any further
        memoranda in support of their positions on the motion for a stay pending appeal in this court by
        5:00 PM on Thursday, February 13, 2025.

                                                                       By the Court:

                                                                       Anastasia Dubrovsky, Clerk


        cc: Hon. John J. McConnell, Hanorah Tyer-Witek, Clerk, United States District Court for the
        District of Rhode Island, Zachary A. Cunha, Eric Dean McArthur, Daniel Tenny, Brett Allen
        Shumate, Daniel S. Schwei, Brian James Springer, Andrew F. Freidah, Eitan R. Sirkovich,
        Freedom Cheteni, Kathryn M. Sabatini, Michael J. Myers, Rabia Muqaddam, Sarah Rice, Mark
        Stephen Grube, Leonard Giarrano IV, Colleen K. Faherty, Molly Thomas-Jensen, Zoe Levine,
        Christine Chuang, Christopher J. Kissel, Kenneth J. Sugarman, Lara Haddad, Marie E. Logan,
        Nicholas R. Green, Theodore McCombs, Laura Faer, Carly J. Munson, Alex Hemmer, Jeremy
        Feigenbaum, Angela Cai, Shankar Duraiswamy, Katherine B. Dirks, Turner Smith, Anna Esther
        Lumelsky, Joshua Bendor, Nathan T. Arrowsmith, Shannon Wells Stevenson, Jill Lacedonia,
        Michael Kenneth Skold, Vanessa L. Kassab, Andrew C. Mendrala, David D. Day, Kalikoonalani
        D. Fernandes, Jason David Anton, Adam D. Kirschner, Neil Giovanatti, Linus Banghart-Linn,
        Elizabeth Kramer, Heidi Parry Stern, Daniel P. Mosteller, Anjana Samant, Christina L. Beatty-
        Walters, Jonathan T. Rose, Andrew R.W. Hughes, Leah Brown, Aaron Bibb, Arthur West

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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                                                 )
        STATE OF NEW YORK; STATE OF              )
        CALIFORNIA; STATE OF ILLINOIS; )
        STATE OF RHODE ISLAND; STATE )
        OF NEW JERSEY;                           )
        COMMONWEALTH OF                          )
        MASSACHUSETTS; STATE OF                  )
        ARIZONA; STATE OF COLORADO;              )
        STATE OF CONNECTICUT; STATE )
        OF DELAWARE; THE DISTRICT OF )
        COLUMBIA; STATE OF HAWAI’I;              )
        STATE OF MAINE; STATE OF                 )
        MARYLAND; STATE OF                       )
        MICHIGAN; STATE OF                       )
        MINNESOTA; STATE OF NEVADA; )
        STATE OF NORTH CAROLINA;                 )
        STATE OF NEW MEXICO; STATE               )
        OF OREGON; STATE OF                      )
        VERMONT; STATE OF                        )
        WASHINGTON; and STATE OF                 )
                                                      C.A. No. 25-cv-39-JJM-PAS
        WISCONSIN,                               )
                                                 )
               Plaintiffs,                       )
                                                 )
        v.                                       )
                                                 )
        DONALD TRUMP, in his Official            )
        Capacity as President of the United      )
        States; U.S. OFFICE OF                   )
        MANAGEMENT AND                           )
        BUDGET; Russell Vought, in his           )
        Official Capacity as Director of the     )
        U.S. Office of Management and            )
        Budget; U.S. DEPARTMENT OF               )
        THE TREASURY; SCOTT BESSENT, )
        in his Official Capacity as Secretary of )
        the Treasury; PATRICIA COLLINS,          )
        in her Official Capacity as Treasurer    )
        of the U.S.; U.S. DEPARTMENT OF          )
        HEALTH AND HUMAN SERVICES; )
        DOROTHY A. FINK, M.D., in her            )




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        Official Capacity As Acting Secretary )
        Of Health And Human Services; U.S.    )
        DEPARTMENT OF EDUCATION;              )
        DENISE CARTER, in her Official        )
        Capacity as Acting Secretary of       )
        Education; U.S. FEDERAL               )
        EMERGENCY MANAGEMENT                  )
        AGENCY; CAMERON HAMILTON,             )
        in his Official Capacity as Acting    )
        Administrator of the U.S. Federal     )
        Emergency Management Agency; U.S. )
        DEPARTMENT OF                         )
        TRANSPORTATION;                       )
        SEAN P. DUFFY, in his Official        )
        Capacity as Secretary of              )
        Transportation; U.S. DEPARTMENT )
        OF LABOR; VINCE MICONE, in his        )
        Official Capacity as Acting Secretary )
        of Labor; U.S. DEPARTMENT OF          )
        ENERGY; CHRISTOPHER ALLEN             )
        WRIGHT, in his Official Capacity as   )
        Secretary of the U.S. Department of   )
        Energy; U.S. ENVIRONMENTAL            )
        PROTECTION AGENCY; LEE                )
        MICHAEL ZELDIN, in his Official       )
        Capacity as Administrator of the U.S. )
        Environmental Protection Agency;      )
        U.S. DEPARTMENT OF                    )
        HOMELAND SECURITY; KRISTI             )
        NOEM, in her Capacity as Secretary    )
        of the U.S. Department of Homeland    )
        Security; U.S. DEPARTMENT OF          )
        JUSTICE; JAMES R. McHENRY III,        )
        in his Official Capacity as Acting    )
        Attorney General of the U.S.          )
        Department of Justice; THE            )
        NATIONAL SCIENCE                      )
        FOUNDATION; and DR.                   )
        SETHURAMAN PANCHANATHAN,              )
        in his Capacity as Director of the    )
        National Science Foundation,          )
                                              )
               Defendants.                    )
                                              )




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                                                ORDER

               First, to be clear and to reaffirm the Court’s Orders, the Temporary

       Restraining Order (“TRO”) permits the Defendants to limit access to federal funds

       “on the basis of the applicable authorizing statutes, regulations, and terms.” ECF

       No. 50 at 12. The February 10, 2025 Order (ECF No. 96) does not “bar[] both the

       President and much of the Federal Government from exercising their own lawful

       authorities to withhold funding without the prior approval of the district court.” ECF

       No. 102 at 2. Neither the TRO (ECF No. 50), nor the Court’s subsequent Order (ECF

       No. 96) require the Defendants to seek “preclearance” from the Court before acting to

       terminate funding when that decision is based on actual authority in the applicable

       statutory, regulatory, or grant terms.

               Second, the Court will act with alacrity in issuing an Order on the Defendants’

       Motion to Stay (ECF No. 100).

               Third, the Defendants have filed two additional motions relating to the TRO:

       the “Emergency Motion Requesting Ruling by 11 a.m. on February 12 for Permission

       to Continue Withholding [Federal Emergency Management Agency (“FEMA”)] and

       Other    Funding” (ECF     No. 102)   and   the   “Supplemental    Motion Requesting

       Permission to Continue Payment Review Processes” (ECF No. 103). As to FEMA

       funds to New York City, the Defendants represent that they intend to provide “notice

       to New York City regarding the funding pause and will provide the information and

       process required by regulation and the terms and conditions of the award.” ECF No.

       102-1 at ¶ 13. Because the Defendants are seeking to terminate funding “on the basis




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       of the applicable authorizing statutes, regulations, and terms,” ECF No. 50 at 12

       (emphasis added), the Court sees no need for further clarification. Finally, nothing

       in the TRO prevents the Defendants from continuing to use routine processes that

       the Payment Management Services (PMS) asserts it has used “for decades,” ECF No.

       103-1 at ¶ 4, before the Defendants imposed the categorical funding freeze that is the

       subject of the TRO.

             Therefore, the Court REAFFIRMS the TRO, DENIES the Defendants’

       “Emergency Motion Requesting Ruling by 11 a.m. on February 12 for Permission to

       Continue Withholding FEMA and Other Funding” (ECF No. 102) and DENIES as

       moot the Defendants’ “Supplemental Motion Requesting Permission to Continue

       Payment Review Processes” (ECF No. 103).



       IT IS SO ORDERED.


       /s/John J. McConnell, Jr.
       _________________________________
       John J. McConnell, Jr.
       Chief Judge
       United States District Court for the District of Rhode Island
       February 12, 2025




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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                    Plaintiffs,

                    v.                                 Civil Action No. 1:25-cv-39 (JJM)

        DONALD TRUMP, IN HIS OFFICIAL
        CAPACITY AS PRESIDENT OF THE
        UNITED STATES, et al.,

                                  Defendants.

           DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
                   MOTION FOR PRELIMINARY INJUNCTION




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                                         INTRODUCTION

              Plaintiffs here seek to portray the Executive Branch’s actions in extreme

       terms, as imposing an indefinite pause on all federal funding, occurring “via

       unilateral action untethered to the specific statutes, regulations, and grant or

       contract terms that govern each funding stream.” Mot. for Prelim. Inj. (ECF No. 67)

       at 1 (“PI Mot.”).   In reality, this case is about something far more modest—the

       Executive’s ability to instruct agencies to temporarily pause discrete categories of

       funding, to the extent doing so is consistent with their underlying statutory

       authorities, to ensure that such funding aligns with a new Administration’s priorities.

       That authority is well-settled, and even Plaintiffs do not appear to dispute the legality

       of such an action. They instead portray the Executive’s actions here in the broadest

       possible terms, thereby justifying their request for the broadest possible relief.

              This Court need not address the outer bounds of the Executive’s authority to

       pause funding, because the only action at issue here—an instruction to temporarily

       pause funding, to the extent permissible by law—is plainly lawful and essentially

       unchallenged. Nor should the Court accept Plaintiffs’ invitation to become an ongoing

       superintendent over the funding decisions of almost a dozen federal agencies.

       Plaintiffs’ claims do not warrant such intrusive relief, particularly in this preliminary

       posture when the only action challenged in this case has already been withdrawn.

       For numerous reasons, this Court should deny Plaintiffs’ motion.

              First, Plaintiffs’ claims are moot. Their Complaint seeks relief against only

       one action—OMB Memorandum M-25-13, Temporary Pause of Agency Grant, Loan,

       and Other Financial Assistance Programs (Jan. 27, 2025) (“OMB Memo”)—which has


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       now been withdrawn. They cannot demonstrate a need for continued relief, and

       certainly not emergency preliminary relief, in light of that rescission. Nor can they

       seek to litigate the legality of temporary pauses in funding through broad claims,

       untethered to any of the underlying statutory authorities, appropriations measures,

       or other grant agreement terms; such claims are not ripe for review.

              Even if this Court allowed Plaintiffs to expand this suit beyond solely a

       challenge to the now-rescinded OMB Memo, Plaintiffs’ claims would still fail. They

       cannot seek relief directly against the President or his Executive Orders, as the

       Supreme Court confirmed over 150 years ago that courts have “no jurisdiction . . . to

       enjoin the President in the performance of his official duties.” Mississippi v. Johnson,

       71 U.S. (4 Wall.) 475, 501 (1867). And their attempt to challenge a broader “Funding

       Freeze” beyond just the OMB Memo is an impermissible programmatic challenge that

       is inconsistent with the Administrative Procedure Act (APA) and the separation of

       powers; there is no lawful basis for this Court to superintend every funding decision

       of a dozen federal agencies.

              Plaintiffs’ claims also all fail on the merits. They portray this case as being

       about whether the Executive can unilaterally ignore all validly enacted

       appropriations laws, but that is not what the OMB Memo required—as is apparent

       from the text of the Memo, as well as guidance issued the following day, agencies

       were instructed to temporarily pause funding only to the extent doing so was

       consistent with their underlying statutory authorities.        The President’s recent

       Executive Orders contain the same instructions. Far from being a case where the




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                                            ARGUMENT

       I.    The Court Lacks Jurisdiction to Enter Preliminary Relief

             A.     Rescission of the OMB Memo Has Mooted Plaintiffs’ Claims, Or
                    At Least Mooted Their Demand for Preliminary Relief

             Plaintiffs’ Complaint challenges one action—the OMB Memo—which has now

       been rescinded. Plaintiffs’ claims are therefore moot, despite their efforts to broaden

       their claims to challenge other actions not properly within this suit.

             1. There is no doubt that Plaintiffs’ claims in this case are directed solely

       against the OMB Memo, as is the relief they seek in their Complaint. See, e.g., Compl.

       ¶ 1 (“This action seeks declaratory and injunctive relief and vacatur under the

       Administrative Procedure Act (‘APA’) with respect to the Office of Management and

       Budget’s January 27, 2025, Directive for Heads of Executive Departments and

       Agencies (M-25-13), with the subject, “Temporary Pause of Agency Grant, Loan, and

       Other Financial Assistance Programs[.]’”); id. ¶¶ 101, 110 (identifying the “OMB

       Directive” as the alleged agency action for purposes of Plaintiffs’ APA claims); id.

       ¶¶ 121, 127, 134 (alleging that the “OMB Directive” allegedly violates various

       constitutional provisions); id. at 35-36 (prayer for relief seeking relief solely against

       the “OMB Directive”).

             Now that the OMB Memo has been rescinded, Plaintiffs’ claims are therefore

       moot. See Harris v. Univ. of Massachusetts Lowell, 43 F.4th 187, 192 (1st Cir. 2022)

       (“claims for injunctive relief are inescapably moot” when a “polic[y] no longer

       appl[ies]”); Fund for Animals, Inc. v. Bureau of Land Mgmt., 460 F.3d 13, 18 (D.C.

       Cir. 2006) (“Because the memo has expired, this claim is moot.”); Christian Knights



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       determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S.

       154, 177-78 (1997) (citations omitted). Additionally, these final agency actions must

       be “circumscribed [and] discrete.” Norton v. Southern Utah Wilderness Alliance

       (SUWA), 542 U.S. 55, 62 (2004). The APA does not provide for “general judicial

       review of [an agency’s] day-to-day-operations,” Lujan v. Nat’l Wildlife Fed’n, 497 U.S.

       871, 899 (1999), like “constructing a building, operating a program, or performing a

       contract,” Vill. of Bald Head Island v. U.S. Army Corps. of Eng’rs, 714 F.3d 186, 193

       (4th Cir. 2013).

             1. With respect to Plaintiffs’ claims against the OMB Memo (and any other

       over-arching guidance about how to implement the President’s priorities), those

       claims fail because they are not challenging final agency action. As discussed further

       below, the OMB Memo did not itself determine which funds or grants should be

       paused; instead, it required agencies to make that determination, consistent with

       their own authorities. See Part III.A, infra. Those agencies’ subsequent decisions to

       pause funding for particular grants or awards might be final agency action. But that

       would permit only a grant- or program-specific lawsuit, not a facial attack directly

       against the OMB Memo itself, as Plaintiffs seek to bring here.

             The OMB Memo’s instruction that agencies pause funding, to the extent

       permissible within the agency’s own authorities, is conditional unless and until the

       grant-administering agency determines it has such discretion.           This type of

       conditional instruction is not, on its own, a final agency action. See Berkshire Env’t

       Action Team, Inc. v. Tennessee Gas Pipeline Co., LLC, 851 F.3d 105, 112 (1st Cir.




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       2017) (holding that “an initial letter granting a water quality certification subject to

       Condition 15 . . . is not a final agency action” (emphasis added)); cf. Louisiana v.

       Biden, 64 F.4th 674, 684 (5th Cir. 2023) (“Plaintiffs contemplate harms that are

       several steps removed from—and are not guaranteed by—the challenged Executive

       Order or the Interim Estimates. The states cannot do away with their alleged parade

       of horribles in a single swipe at the duly elected executive.”).

             2. Plaintiffs’ claims also fail because they are not challenging discrete agency

       action; instead, they are bringing a broad, programmatic challenge to agency

       functioning as a whole.

             “Under the terms of the APA, respondent must direct its attack against some

       particular ‘agency action’ that causes it harm.” Nat’l Wildlife Fed’n, 497 U.S. at 891.

       Again, the APA might allow Plaintiffs to challenge specific withholdings of funds

       under a particular grant. But here, Plaintiffs have made expressly clear that they

       are not seeking to bring those types of claims. See, e.g., TRO Hrg. Tr. at 11 (“[W]e

       cannot proceed in the regular order of normal APA review of an agency decision

       because . . . we can’t go program by program, bring to you the statute, bring to you

       the regulation, bring to you the grant agreement, bring to you all the things that

       courts would normally look at[.]”); id. at 12 (asserting that it is “simply impossible”

       to “present to you what I think courts normally like to see, which is a more agency-

       by-agency, grant-by-grant”). Indeed, Plaintiffs describe their claims here as seeking

       relief as to “thousands and thousands of programs across multiple States.” Id. at 8.

             Plaintiffs’ PI motion, and their attempt to recharacterize their claims away




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       III.   Plaintiffs’ Challenges Are Meritless

              Even if the Court were willing to review Plaintiffs’ claims on the merits, none

       of the Executive Branch’s actions was unlawful.        It is well established that, to

       effectuate his discretion and policy objectives, the President may direct agencies to

       take actions to pause or freeze funding pursuant to the authority those agencies

       possess under their organic statutes and regulations. Plaintiffs do not take issue with

       that legal proposition, and this Court has recognized that Defendants may “limit

       access to federal funds on the basis of the applicable authorizing statutes,

       regulations, and terms.” ECF No. 107 at 3 (quotation marks omitted). That should

       end the matter, for that is all the OMB Memo sought to accomplish.

              Plaintiffs’ claims all rest on a serious misreading of the OMB Memo. Their

       constitutional claims are essentially recycled versions of their statutory claims, which

       fail for all these same reasons. And the OMB Memo amply satisfies the minimal

       standard for arbitrary and capricious review under the APA. Thus, none of Plaintiffs’

       claims warrants the extraordinary relief of a preliminary injunction.

              A.    All of Plaintiffs’ Claims Rest on an Incorrect Reading of the OMB
                    Memo

              Plaintiffs’ claims in this case all rest on a single flawed premise—that the OMB

       Memo and the President’s Executive Orders direct an immediate pause in funding

       without regard to the underlying legal framework governing that funding. Contrary

       to Plaintiffs’ characterization, however, each Executive action expressly instructs

       agencies to implement a pause only to the extent permissible by law, which is critical

       language that cannot simply be ignored.



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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK; STATE OF CALIFORNIA;
        STATE OF ILLINOIS; STATE OF RHODE ISLAND;
        STATE OF NEW JERSEY; COMMONWEALTH OF
        MASSACHUSETTS; STATE OF ARIZONA; STATE OF
        COLORADO; STATE OF CONNECTICUT; STATE OF
        DELAWARE; THE DISTRICT OF COLUMBIA; STATE                     C.A. No. 1:25-cv-00039-JJM-PAS
        OF HAWAI’I; OFFICE OF THE GOVERNOR ex rel.
        Andy Beshear, in his official capacity as Governor of the
        Commonwealth of Kentucky; STATE OF MAINE; STATE
        OF MARYLAND; STATE OF MICHIGAN; STATE OF
        MINNESOTA; STATE OF NEVADA; STATE OF NEW                      FIRST AMENDED COMPLAINT
        MEXICO; STATE OF NORTH CAROLINA; STATE OF                     FOR DECLARATORY AND
        OREGON; STATE OF VERMONT; STATE OF                            INJUNCTIVE RELIEF
        WASHINGTON; and STATE OF WISCONSIN,

                      Plaintiffs,

               v.

        DONALD TRUMP, in his official capacity as President of
        the United States; U.S. OFFICE OF MANAGEMENT
        AND BUDGET; RUSSELL VOUGHT, in his official
        capacity as Director of the U.S. Office of Management and
        Budget; U.S. DEPARTMENT OF THE TREASURY;
        SCOTT BESSENT, in his official capacity as Secretary of
        the Treasury; PATRICIA COLLINS, in her official capacity
        as Treasurer of the United States; U.S. DEPARTMENT OF
        HEALTH AND HUMAN SERVICES; DOROTHY A.
        FINK, M.D., in her official capacity as Acting Secretary of
        Health and Human Services; U.S. DEPARTMENT OF
        EDUCATION; DENISE CARTER, in her official capacity
        as Acting Secretary of Education; U.S. DEPARTMENT OF
        TRANSPORTATION; SEAN DUFFY, in his official
        capacity as Secretary of Transportation; U.S.
        DEPARTMENT OF LABOR; VINCE MICONE, in his
        official capacity as Acting Secretary of Labor; U.S.
        DEPARTMENT OF ENERGY; CHRIS WRIGHT, in his
        official capacity as Secretary of Energy; U.S.
        ENVIRONMENTAL PROTECTION AGENCY; LEE
        ZELDIN, in his official capacity as Administrator of the
        U.S. Environmental Protection Agency; U.S.
        DEPARTMENT OF THE INTERIOR; DOUG BURGUM,

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        in his official capacity as Secretary of the Interior; U.S.
        DEPARTMENT OF HOMELAND SECURITY; KRISTI
        NOEM, in her capacity as Secretary of Homeland Security;
        U.S. DEPARTMENT OF JUSTICE; PAMELA BONDI, in
        her official capacity as Attorney General of the U.S.
        Department of Justice; THE NATIONAL SCIENCE
        FOUNDATION; DR. SETHURAMAN
        PANCHANATHAN, in his capacity as Director of the
        National Science Foundation; U.S. DEPARTMENT OF
        AGRICULTURE; GARY WASHINGTON, in his official
        capacity as Acting Secretary of Agriculture; U.S.
        DEPARTMENT OF HOUSING AND URBAN
        DEVELOPMENT; SCOTT TURNER, in his official
        capacity as Secretary of Housing and Urban Development;
        U.S. DEPARTMENT OF STATE; U.S. AGENCY FOR
        INTERNATIONAL DEVELOPMENT; MARCO RUBIO,
        in his official capacities as Secretary of State and Acting
        Administrator of the United States Agency for
        International Development; U.S. DEPARTMENT OF
        DEFENSE; PETER HEGSETH, in his official capacity as
        Secretary of Defense; U.S. DEPARTMENT OF
        VETERANS AFFAIRS; DOUG COLLINS, in his official
        capacity as Secretary of Veterans Affairs; U.S.
        DEPARTMENT OF COMMERCE; JEREMY PELTER, in
        his official capacity as Acting Secretary of Commerce;
        NATIONAL AERONAUTICS AND SPACE
        ADMINISTRATION; JANET PETRO in her official
        capacity as Acting Administrator of National Aeronautics
        and Space Administration; CORPORATION FOR
        NATIONAL AND COMMUNITY SERVICE; JENNIFER
        BASTRESS TAHMASEBI, in her official capacity as
        Interim Head of the Corporation for National and
        Community Service; U.S. SOCIAL SECURITY
        ADMINISTRATION; MICHELLE KING, in her official
        capacity as Acting Commissioner of United States Social
        Security Administration; U.S. SMALL BUSINESS
        ADMINISTRATION; and EVERETT WOODEL, in his
        official capacity as Acting Administrator of U.S. Small
        Business Administration,

                      Defendants.




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                                                INTRODUCTION

               1.      This action seeks declaratory and injunctive relief against the federal government’s

       categorical, immediate, and indefinite freeze on trillions of dollars of Congressionally authorized

       and appropriated federal funding (Federal Funding Freeze). Defendants’ actions—beginning with

       certain Executive Orders (EOs) issued on or after January 20, 2025, followed by the EOs’

       implementation at federal agencies, and continuing through and beyond the issuance of a directive

       by the Office of Management and Budget (OMB) to pause virtually all federal disbursements to

       federal funding recipients—froze critical federal funding, including billions of dollars committed

       to Plaintiff States and benefitting their residents.

               2.      The Federal Funding Freeze began with a January 20 EO entitled Unleashing

       American Energy, in which the President directed that all federal agencies impose a categorical,

       immediate, and indefinite pause on federal funds under the Infrastructure Improvement and Jobs

       Act (IIJA) (commonly known as the Bipartisan Infrastructure Law) and the Inflation Reduction

       Act of 2022 (IRA) pending review by those agencies of all such funding against the President’s

       energy policy priorities. Exec. Order 14154, 90 Fed. Reg. 8353 (Jan. 29, 2025) (Unleashing EO).

       The day after that EO, OMB issued a directive stating that agencies must “immediately pause

       disbursement of funds appropriated under the [IRA] or the [IIJA].” Off. of Mgmt. & Budget, Exec.

       Off. of the President, M-25-11, Guidance Regarding Section 7 of the Executive Order Unleashing

       American Energy (Jan. 21, 2025) (Unleashing Directive).

               3.      The Federal Funding Freeze continued through the following week when, on

       January 27, OMB issued a directive implementing an across-the-board Federal Funding Freeze—

       extending to nearly all federal funding streams nationwide—citing the Unleashing EO as well as

       several other EOs issued by the President in the previous week. Specifically, OMB ordered the



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       head of every executive branch department and agency to “temporarily pause all activities related

       to obligation or disbursement of all Federal financial assistance,” as well as any “other relevant

       agency activities” that “may be implicated by” recent executive orders, “including, but not limited

       to, financial assistance for foreign aid, nongovernmental organizations, DEI, woke gender

       ideology, and the green new deal.” Off. of Mgmt. & Budget, Exec. Off. of the President, M-25-13,

       Temporary Pause of Agency Grant, Loan, & Other Financial Assistance Programs 2 (Jan. 27,

       2025) (OMB Directive) (emphasis in original). 1

                4.     OMB purported to rescind that across-the-board OMB Directive shortly after

       Plaintiff States filed this lawsuit, and just before a hearing on Plaintiff States’ motion for a

       temporary restraining order in this action. But that rescission was in name only. Defendants

       continued to implement the Federal Funding Freeze across myriad federal funding programs, as

       demonstrated through their repeated actions and communications, resulting in substantial

       disruptions across State agencies—both before and after OMB purported to rescind its Directive.

       These disruptions only stopped (and even then, only partially) following a temporary restraining

       order from this Court.

                5.     The Federal Funding Freeze, effectuated through EOs, the Unleashing Directive,

       the OMB Directive, and other agency actions implementing them as detailed herein, is

       unconstitutional and exceeds statutory authority, and those agency actions violate the

       Administrative Procedure Act (APA).

                6.     Defendants’ actions to unlawfully withhold funds have caused substantial

       confusion and resulted in—and will continue to result in—immediate and devastating harm to

       Plaintiff States and their residents. The Federal Funding Freeze purports to allow federal agencies



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              A copy of the OMB Directive is appended to this Complaint as Exhibit A.
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       to rescind hundreds of millions of dollars they have committed to pay, and on which Plaintiff

       States’ budgets rely—monies that are necessary for the Plaintiff States to ensure that their residents

       have access to childcare, quality healthcare, a clean and safe environment, the protections of law

       enforcement, the benefit of safe roads, access to workforce development, and assistance in the

       aftermath of natural disasters, among many other key services. Indeed, the confusion caused by

       the Federal Funding Freeze itself constitutes immediate harm by impeding planning, wasting

       resources to mitigate potential impacts, and unnecessarily stopping work. Without the timely

       disbursement of this funding, the Plaintiff States will be unable to provide these essential services

       for residents, pay public employees, satisfy obligations, and carry on the important business of

       government.

              7.        The Plaintiff States accordingly seek declaratory and injunctive relief to put an end

       to the Federal Funding Freeze and ensure that access to critical funds by the Plaintiff States and

       their residents continues, under the applicable statutes, regulations, and terms governing such

       disbursements.

                                         JURISDICTION AND VENUE

              8.        This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

       2201(a). Jurisdiction is also proper under the judicial review provisions of the APA. 5 U.S.C. § 702.

              9.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1).

       Defendants are United States agencies or officers sued in their official capacities. The State of

       Rhode Island is a resident of this district, and a substantial part of the events or omissions giving

       rise to this Complaint occurred and continues to occur within the District of Rhode Island.




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                                                     PARTIES

           A. Plaintiffs

               10.      The State of New York is a sovereign state in the United States of America. New

       York is represented by Attorney General Letitia James, who is the chief law enforcement officer

       of New York.

               11.      The State of California is a sovereign state in the United States of America.

       California is represented by Attorney General Rob Bonta, who is the chief law enforcement officer

       of California.

               12.      The State of Illinois is a sovereign state in the United States of America. Illinois is

       represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

       Illinois.

               13.      The State of Rhode Island is a sovereign state in the United States of America.

       Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

       enforcement officer of Rhode Island.

               14.      The State of New Jersey is a sovereign state in the United States of America. New

       Jersey is represented by Attorney General Matthew Platkin, who is the chief law enforcement

       officer of New Jersey.

               15.      The Commonwealth of Massachusetts is a sovereign state in the United States of

       America. Massachusetts is represented by Attorney General Andrea Joy Campbell, who is the chief

       law enforcement officer of Massachusetts.

               16.      The State of Arizona is a sovereign state in the United States of America. Arizona

       is represented by Attorney General Kris Mayes, who is the chief law enforcement officer of

       Arizona.



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                17.   The State of Colorado is a sovereign state in the United States of America. Colorado

       is represented by Attorney General Phil Weiser, who acts as the chief legal representative of the

       state.

                18.   The State of Connecticut is a sovereign state in the United States of America.

       Connecticut is represented by Attorney General William Tong, who is the chief law enforcement

       officer of Connecticut.

                19.   The State of Delaware is a sovereign state in the United States of America.

       Delaware is represented by Attorney General Kathleen Jennings, who is the chief law enforcement

       officer of Delaware.

                20.   The District of Columbia is a municipal corporation organized under the

       Constitution of the United States. It is empowered to sue and be sued, and it is the local government

       for the territory constituting the permanent seat of the federal government. The District is

       represented by and through its chief legal officer, the Attorney General for the District of

       Columbia, Brian L. Schwalb.

                21.   The State of Hawai’i is a sovereign state of the United States of America. Hawai’i

       is represented by Attorney General Anne Lopez who is the chief law enforcement officer of

       Hawai’i.

                22.   Plaintiff Office of the Governor ex rel. Andy Beshear brings this suit his official

       capacity as Governor of the Commonwealth of Kentucky. The Kentucky Constitution makes the

       Governor the Chief Magistrate with the “supreme executive power of the Commonwealth,” Ky.

       Const. § 69, and gives the Governor, and only the Governor, the duty to “take care that the laws

       be faithfully executed,” id. § 81. In taking office, Governor Beshear swears an oath that he will

       support the Constitution of the United States and the Kentucky Constitution. Id. § 228. The



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       Governor is the head of his General Cabinet and his Executive Cabinet. Ky. Rev. St. § 11.060; Ky.

       Rev. St. § 11.065; Ky. Rev. St. § 12.255; Ky. Rev. St. § 12.270.

              23.     The State of Maine is a sovereign state of the United States of America. Maine is

       represented by Attorney General Aaron Frey who is the chief law enforcement officer of Maine.

              24.     The State of Maryland is a sovereign state of the United States of America.

       Maryland is represented by Attorney General Anthony G. Brown who is the chief law enforcement

       officer of Maryland.

              25.     The State of Michigan is a sovereign state of the United States of America.

       Michigan is represented by Attorney General Dana Nessel who is the chief law enforcement officer

       of Michigan.

              26.     The State of Minnesota is a sovereign state of the United States of America.

       Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

       officer of Minnesota.

              27.     The State of Nevada is a sovereign state of the United States of America. Nevada

       is represented by Attorney General Aaron Ford who is the chief law enforcement officer of Nevada.

              28.     The State of North Carolina is a sovereign state of the United States of America.

       North Carolina is represented by Attorney General Jeff Jackson who is the chief law enforcement

       officer of North Carolina.

              29.     The State of New Mexico is a sovereign state of the United States of America. New

       Mexico is represented by Attorney General Raúl Torrez who is the chief law enforcement officer

       of New Mexico.

              30.     The State of Oregon is a sovereign state of the United States of America. Oregon is

       represented by Attorney General Dan Rayfield who is the chief law enforcement officer of Oregon.



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               31.     The State of Vermont is a sovereign state of the United States of America. Vermont

       is represented by Attorney General Charity Clark who is the chief law enforcement officer of

       Vermont.

               32.     The State of Washington is a sovereign state in the United States of America.

       Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of

       Washington is the chief legal adviser to the State and is authorized to act in federal court on behalf

       of the State on matters of public concern.

               33.     The State of Wisconsin is a sovereign state of the United States of America.

       Wisconsin is represented by Attorney General Josh Kaul who is the chief law enforcement officer

       of Wisconsin.

               34.     The Plaintiff States each receive billions of dollars annually from the federal

       government for services that range from providing essential healthcare and free or low-cost school

       meals to low-income children, to supporting law enforcement efforts to combat violence against

       children, elders and other vulnerable groups, to maintaining highways and roads, to pollution

       reduction efforts and critical infrastructure improvements. The Federal Funding Freeze jeopardizes

       all of this funding—funding that Congress designated and appropriated for the Plaintiff States.

           B. Defendants

               35.     Defendant Donald J. Trump is the President of the United States. He is responsible

       for the actions and decisions that are being challenged by Plaintiff States in this action and is sued

       in his official capacity.

               36.     Defendant the United States OMB is a cabinet agency within the executive branch

       of the United States government. OMB is responsible for oversight of federal agencies’

       performance and the administration of the federal budget. 31 U.S.C. §§ 501–07.



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              37.     Defendant Russell Vought is the Director of the OMB and that agency’s highest

       ranking official. In that capacity, he oversees OMB and provides direction and leadership to the

       executive branch on financial management matters by establishing financial management policies

       and requirements. The OMB Director authored the OMB Directive and other OMB directives

       detailed herein and is responsible for ensuring that its directions are implemented by all federal

       agencies that provide relevant funding and support. He is sued in his official capacity. 31 U.S.C.

       §§ 502, 503.

              38.     Defendant the United States Department of the Treasury is a cabinet agency within

       the executive branch of the United States government. 31 U.S.C. § 301(a). The Department of the

       Treasury is responsible for ensuring the financial security of the United States.

              39.     Defendant Scott Bessent is the Secretary of the Department of the Treasury,

       responsible for the operations of the Department of the Treasury and management of the finances

       of the United States. 31 U.S.C. § 301(b). He is sued in his official capacity.

              40.     Defendant Patricia Collins is the Treasurer of the United States, responsible for the

       management of the finances of the United States. 31 U.S.C. § 301(d). She is sued in her official

       capacity.

              41.     Defendant the United States Department of Health and Human Services (HHS) is

       a cabinet agency within the executive branch of the United States government. 42 U.S.C. § 3501.

       The National Institutes of Health is an agency of the United States within the HHS. 42 U.S.C.

       § 281(a).

              42.     Defendant Dorothy A. Fink, M.D., is the Acting Secretary of HHS and that agency’s

       highest ranking official. Exec. Off. of the President, President Trump Announces Acting Cabinet

       and Cabinet-Level Positions (Jan. 20, 2025), https://www.whitehouse.gov/presidential-



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       actions/2025/01/designation-of-acting-leaders/ (Acting Designations Directive). She is charged

       with the supervision and management of all decisions and actions of that agency. 42 U.S.C. § 3501.

       She is sued in her official capacity.

              43.     Defendant the United States Department of Education is a cabinet agency within

       the executive branch of the United States government. 20 U.S.C. § 3411.

              44.     Defendant Denise Carter is the Acting Secretary of the United States Department

       of Education and that agency’s highest ranking official. Acting Designations Directive. She is

       charged with the supervision and management of all decisions and actions of that agency. 20 U.S.C.

       § 3412. She is sued in her official capacity.

              45.     Defendant United States Department of Transportation is a cabinet agency within

       the executive branch of the United States government. 49 U.S.C. § 102.

              46.     Defendant Sean Duffy is the Secretary of the United States Department of

       Transportation and that agency’s highest ranking official. He is charged with the supervision and

       management of all decisions and actions of that agency. 49 U.S.C. § 102. He is sued in his official

       capacity.

              47.     Defendant United States Department of Labor (DOL) is a cabinet agency within

       the executive branch of the United States government. 29 U.S.C. § 551.

              48.     Defendant Vincent Micone is the Acting Secretary of DOL and that agency’s

       highest ranking official. Acting Designations Directive. He is charged with the supervision and

       management of all decisions and actions of that agency. 29 U.S.C. § 551. He is sued in his official

       capacity.

              49.     Defendant United States Department of Energy (DOE) is a cabinet agency within

       the executive branch of the United States government. 42 U.S.C. § 7131.



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               50.     Defendant Chris Wright is the Secretary of the DOE and that agency’s highest

       ranking official. He is charged with the supervision and management of all decisions and actions

       of that agency. 42 U.S.C. § 7131. He is sued in his official capacity.

               51.     Defendant United States Environmental Protection Agency (EPA) is an

       independent agency within the executive branch of the United States government. 42 U.S.C.

       § 4321.

               52.     Defendant Lee Zeldin is the Administrator of the EPA and that agency’s highest

       ranking official. He is charged with the supervision and management of all decisions and actions

       of that agency. 42 U.S.C. § 4321. He is sued in his official capacity.

               53.     Defendant United States Department of the Interior is a cabinet agency within the

       executive branch of the United States government. 43 U.S.C. § 1451. The United States Geological

       Survey (USGS) is an agency within the United States Department of the Interior. 43 U.S.C. § 31.

               54.     Defendant Doug Burgum is the Secretary of the Department of the Interior, and that

       agency’s highest-ranking official. 43 U.S.C. § 1451. He is sued in his official capacity.

               55.     Defendant United States Department of Homeland Security is a cabinet agency

       within the executive branch of the United States government. 6 U.S.C. § 111. The United States

       Federal Emergency Management Agency (FEMA) is an agency within the Department of

       Homeland Security. 6 U.S.C. § 313.

               56.     Defendant Kristi Noem is the Secretary of the United States Department of

       Homeland Security and that agency’s highest ranking official. She is charged with the supervision

       and management of all decisions and actions of that agency. 6 U.S.C. § 112. She is sued in her

       official capacity.




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              57.     Defendant United States Department of Justice is a cabinet agency within the

       executive branch of the United States government. 28 U.S.C. § 501.

              58.     Defendant Pamela Bondi is the Attorney General for the United States Department

       of Justice and that agency’s highest ranking official. She is charged with the supervision and

       management of all decisions and actions of that agency. 28 U.S.C. § 503. She is sued in her official

       capacity.

              59.     Defendant the National Science Foundation is an independent agency within the

       executive branch of the United States government. 42 U.S.C. § 1861.

              60.     Defendant Dr. Sethuraman Panchanathan is the Director of the National Science

       Foundation and that agency’s highest ranking official. He is charged with the supervision and

       management of all decisions and actions of that agency. 42 U.S.C. § 1864. He is sued in his official

       capacity.

              61.     Defendant United States Department of Agriculture (USDA) is a cabinet agency

       within the executive branch of the United States government. 7 U.S.C. § 2201. The United States

       Forest Service is an agency within the United States Department of Agriculture. 16 U.S.C. § 553.

       The Natural Resources Conservation Service is an agency within the United States Department of

       Agriculture. 7 U.S.C. § 6936.

              62.     Defendant Gary Washington is the Acting Secretary of USDA and that agency’s

       highest-ranking official. 7 U.S.C. § 2202; Acting Designations Directive. He is sued in his official

       capacity.

              63.     Defendant United States Department of Housing and Urban Development (HUD)

       is a cabinet agency within the executive branch of the United States government. 42 U.S.C.

       § 3532(a).



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              64.     Defendant Scott Turner is the Secretary of HUD and that agency’s highest-ranking

       official. He is charged with the supervision and management of all decisions and actions of that

       agency. 42 U.S.C. § 3532(a)–(b). He is sued in his official capacity.

              65.     Defendant United States Department of State is a cabinet agency within the

       executive branch of the United States government. 22 U.S.C. § 2651.

              66.     Defendant United States Agency for International Development is an independent

       agency within the executive branch of the United States government. 22 U.S.C. § 6563(a).

              67.     Defendant Marco Rubio is Secretary of the United States Department of State, and

       that agency’s highest-ranking official. He is charged with supervision and management of all

       decisions and actions of that agency, 22 U.S.C. § 2651, and is sued in his official capacity.

       Defendant Marco Rubio is also the acting Administrator of the United States Agency for

       International Development and that agency’s highest-ranking official. He is charged with the

       supervision and management of all decisions and actions of that agency. He is sued in his official

       capacity.

              68.     Defendant United States Department of Defense is a cabinet agency within the

       executive branch of the United States government. 10 U.S.C. § 111.

              69.     Defendant Peter Hegseth is the Secretary of the United States Department of

       Defense and that agency’s highest-ranking civilian official. He is charged with the supervision and

       management of all decisions and actions of that agency. Id. He is sued in his official capacity.

              70.     Defendant United States Department of Veterans Affairs is a cabinet agency within

       the executive branch of the United States government. 38 U.S.C. § 301.




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               71.     Defendant Doug Collins is the Secretary of the United States Department of

       Veterans Affairs. He is charged with the supervision and management of all decisions and actions

       of that agency. Id. He is sued in his official capacity.

               72.     Defendant United States Department of Commerce is a cabinet agency within the

       executive branch of the United States government. 40 U.S.C. § 1501. The National Oceanic and

       Atmospheric Administration is a bureau within the United States Department of Commerce. 42

       U.S.C. § 1511(1).

               73.     Defendant Jeremy Pelter is Acting Secretary of the United States Department of

       Commerce, and that agency’s highest-ranking official. Acting Designations Directive. He is

       charged with the supervision and management of all decisions and actions of that agency. 40 U.S.C.

       § 1501. He is sued in his official capacity.

               74.     Defendant National Aeronautics and Space Administration is an independent

       agency within the United States government. 51 U.S.C. § 20111(a).

               75.     Defendant Janet Petro is Acting Administrator of the National Aeronautics and

       Space Administration and that agency’s highest-ranking official. She is charged with the

       supervision and management of all decisions and actions of that agency. 51 U.S.C. § 20111(a). She

       is sued in her official capacity.

               76.     Defendant Corporation for National and Community Service, operating as

       AmeriCorps, is an independent agency within the United States government. 42 U.S.C. § 12651.

               77.     Defendant Jennifer Bastress Tahmasebi is Interim Head of the Corporation for

       National and Community Service, operating as AmeriCorps, and that agency’s highest-ranking

       official. She is sued in her official capacity.




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              78.     Defendant United States Social Security Administration is an independent agency

       within the United States government. 42 U.S.C. § 901.

              79.     Defendant Michelle King is the Acting Commissioner of the United States Social

       Security Administration and that agency’s highest-ranking official. Acting Designations Directive.

       She is charged with the supervision and management of all decisions and actions of that agency.

       42 U.S.C. § 902. She is sued in her official capacity.

              80.     Defendant United States Small Business Administration is an independent agency

       within the United States government. 15 U.S.C. § 633.

              81.     Defendant Everett Woodel is the Acting Administrator of United States Small

       Business Administration and that agency’s highest-ranking official. Acting Designations Directive.

       He is charged with the supervision and management of all decisions and actions of that agency. 15

       U.S.C. § 633(a)(1). He is sued in his official capacity.

                                           LEGAL BACKGROUND

       Constitutional and Statutory Provisions Governing Federal Funding

              82.     The Constitution gives the “power of the purse” to Congress. Specifically, the

       Constitution grants to Congress the authority to levy taxes, to finance government operations

       through appropriations, and to set the terms and conditions on the use of those appropriations. U.S.

       Const. art. I, § 9, cl. 7 (“No Money shall be drawn from the Treasury, but in Consequence of

       Appropriations Made by Law; and a regular Statement and Account of the Receipts and

       Expenditures of all public Money shall be published from time to time.”); art. I, § 8, cl. 1 (Congress

       has authority “[t]o lay and collect Taxes, Duties, Imposts and Excises; to pay the Debts and provide

       for the common Defence and general Welfare of the United States . . . .”).




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               83.     The Constitution also vests in Congress all legislative powers and prescribes a

       specific procedure by which laws may be enacted, which include the requirements of bicameralism

       and presentment. U.S. Const. art. I, § 1 (“All legislative Powers herein granted shall be vested in

       a Congress of the United States . . . .”); U.S. Const. art. I, § 7, cls. 2, 3. Bicameralism requires that

       both Houses of Congress pass an identical bill, and presentment requires that the proposed law be

       presented to the President for signature or veto. U.S. Const. art. I, § 7, cls. 2, 3.

               84.     The President may recommend laws for Congress’s consideration, including those

       related to spending. U.S. Const. art. II, § 3. Upon presentment with a bill, the President may sign

       it into law, veto it, or take no action on it for a period of ten days, after which time it becomes law.

       U.S. Const. art. I, § 7, cl. 2. Once a spending law is enacted, the Constitution imposes on the

       President a duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

       Appropriations Law

               85.     Congress authorizes federal spending not through one single piece of legislation

       but through many. To finance federal programs and activities, Congress authorizes an agency to

       incur financial obligations that will result in immediate or future disbursements of federal funds

       from the United States Treasury. See 2 U.S.C. § 622(2)(A)(i).

               86.     One such authorization is an appropriation, which creates the legal authority to

       “make funds available for obligation” and to make “expenditure[s]” for the purposes, during the

       time periods, and in the amounts specified in the law authorizing the appropriations. See 2 U.S.C.

       § 622(2)(A)(i). An “obligation” is a “definite commitment that creates a legal liability of the

       government for the payment of goods and services ordered or received, or a legal duty on the part

       of the United States that could mature into” such a liability; an “expenditure,” also known as a

       “disbursement,” is the actual spending of federal funds. U.S. Gov’t Accountability Off., A Glossary



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       of Terms Used in the Federal Budget Process, GAO-05-734SP, at 45, 48, 70 (Sept. 2005),

       https://www.gao.gov/assets/gao-05-734sp.pdf (“Budget Glossary”).

              87.     Congress has enacted multiple overarching framework statutes that affirm

       congressional control over federal spending. First, the so-called “purpose statute” states that

       “[a]ppropriations shall be applied only to the objects for which the appropriations were made

       except as otherwise provided by law,” 31 U.S.C. § 1301(a)—that is, funds can only be used for the

       purposes that Congress has designated.

              88.     Second, the Antideficiency Act, prevents agencies from obligating or spending

       funds absent congressional appropriation. 31 U.S.C. § 1341.

              89.     Finally, the Congressional Budget and Impoundment Control Act of 1974, 2 U.S.C.

       §§ 681 et seq. (Impoundment Control Act), permits the Executive Branch to “impound” (or decline

       to spend) federal funds under a small set of highly circumscribed conditions.

              90.     Under the Impoundment Control Act, the President must indicate his intention

       either to defer (delay) or rescind (cancel) a congressional appropriation by transmitting a “special

       message” to both Houses of Congress and the Comptroller General, which also must be published

       in the Federal Register. 2 U.S.C. §§ 681, 683 (rescissions), 684 (deferrals), 685 (transmission of

       messages; publication). The special message must justify the deferral or rescission, including its

       amount and likely fiscal consequences. Id. §§ 683(a) (rescissions), 684(a) (deferrals).

              91.     Under the Impoundment Control Act, deferrals are required to be consistent with

       “legislative policy.” 2 U.S.C. § 684(b). They are permissible only “to provide for contingencies”;

       “to achieve savings made possible” through “changes in requirements or greater efficiency of

       operations”; or “as specifically provided by law.” 2 U.S.C. § 684(b). Deferrals for any other

       purpose are prohibited. 2 U.S.C. § 684(b).



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              92.     In the case of a proposed rescission, once the President transmits the requisite

       special message, Congress has 45 days to consider the President’s proposal and approve it by

       passing a “rescission bill,” which rescinds the agency’s authorization to incur financial obligations,

       in whole or in part. 2 U.S.C. § 682(3). If Congress does not act within 45 days to approve the

       President’s proposal, the funds are not rescinded and “shall” be made available for obligation. 2

       U.S.C. § 683(b).

       Laws Governing Federal Funding to States

              93.     Many of the most significant funding streams to the Plaintiff States are so-called

       categorical or “formula” grants, which Congress has through specific statutory provisions

       instructed the federal agencies or officials to provide to States on the basis of enumerated statutory

       factors, such as population or the expenditure of qualifying state funds. See, e.g., City of Los

       Angeles v. Barr, 941 F.3d 931, 935 (9th Cir. 2019). Congress authorized and appropriated other

       significant funding streams for specific purposes, or using specific statutory commands. For

       example:

              94.     Medicaid Funding. Congress has directed the Secretary of Health and Human

       Services to “pay to each State” a fixed portion of their annual Medicaid expenditures, 42 U.S.C.

       § 1396b(a)—an amount totaling over $800 billion annually, and amounting to one of the Plaintiff

       States’ most significant sources of federal funds.

              95.     Highway Funding. Congress established a statutory formula by which the

       Secretary of Transportation is required to distribute federal highway funds to States, see 23 U.S.C.

       § 104(a)(1), (b), (c), totaling hundreds of millions of dollars annually in the coming two fiscal

       years, 23 U.S.C. §§ 104(a)–(e). The distribution methodology is mandatory and does not permit

       the Secretary to deviate from the formula. Id. §§ 104(b) (“The Secretary shall distribute the amount



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       of the base apportionment . . . .”), 104(c)(1) (“[T]he amount for each State shall be determined as

       follows . . . .”) (emphases added).

              96.     Special Education Services. Congress also instructed federal agencies to give

       States the funds they need to support the health and safety of children in their jurisdictions. The

       Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400 et seq., for instance, states that

       “[t]he Secretary [of Education] shall make grants to States . . . to assist them to provide special

       education and related services to children with disabilities” according to a statutory formula, id.

       § 1411(a)(1); see id. § 1411(d) (setting amounts of grants based on prior funding levels and

       population data).

              97.     Mental Health and Substance Abuse Treatment. In another example, Congress

       has directed the Secretary of HHS to provide nondiscretionary block grants to states for mental

       health and substance abuse treatment and appropriates over $2 billion annually to fund those

       grants. The Secretary “shall make” or “shall determine the amount of” grants according to fixed

       statutory formulas, 42 U.S.C. §§ 300x(a), 300x-7(a), 300x-21(a), 300x-33(a), and lacks the

       discretion to unilaterally withhold funds absent compliance with statutory procedures that afford

       the states notice and an opportunity to be heard, see, e.g., id. §§ 300x-26(b)(1), 300x-55(e).

              98.     Power and Heating for Low-Income Residents. Congress also established the

       Low-Income Home Energy Assistance Program (LIHEAP), likewise administered by the HHS

       Secretary, to support the Plaintiff States in their efforts to ensure low-income residents are able to

       obtain electricity and heat in the winter. 42 U.S.C. § 8621(a). Congress has appropriated billions

       of dollars for LIHEAP, which established a set formula by which the Secretary must provide

       funding to the states, id. §§ 8623(a), 8626(a)(1); and sharply limited the Secretary’s discretion to




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       withhold those funds (again, by requiring notice to the state and an opportunity for a hearing), id.

       § 8627.

               99.     The IIJA and IRA. More recently, Congress enacted two federal statutes that

       authorize and direct federal agencies to make significant investments in, among other things,

       energy and infrastructure projects across the Nation—the IIJA, Pub. L. No. 117-58, 135 Stat. 429

       (2021), and the IRA, Pub. L. No. 117-169, 136 Stat. 1818 (2022). Collectively, the IIJA and IRA

       directed over $2 trillion in spending on projects ranging from highways, to broadband access, to

       pollution reduction, to increasing the reliability of the electric grid.

               100.    For example, section 50210 of the IIJA appropriated $14.65 billion in grants for

       States’ Clean Water revolving funds for 2022 to 2026. IIJA § 50210, 135 Stat. at 1169. These funds

       were originally created through a separate statute, the Federal Clean Water Act, which directs that

       EPA “shall make capitalization grants to each State” to establish and support those States’ water

       pollution control revolving funds for wastewater and sewage treatment, stormwater management

       and treatment, and water conservation and recycling projects using formula grants. 33 U.S.C.

       §§ 1381(a), (b); 1383(c); 1384(a), (c)(2) (mandating reallocation of any unallotted funds to State

       programs). Several of the Plaintiff States received Clean Water revolving fund awards under the

       IIJA appropriation that are subject to final, binding grant agreements.

               101.    The IIJA also reauthorized and appropriated an additional $14.65 billion from 2022

       to 2026 for Drinking Water State revolving funds. IIJA § 50102, 135 Stat. at 1136. Congress

       created these revolving funds in the Federal Safe Drinking Water Act, which provides that EPA

       “shall offer to enter into agreements with eligible States to make capitalization grants” via formula

       grants. 42 U.S.C. § 300j-12(a)(1)(A), (D); see also id. § 300j-12(a)(1)(E) (mandating reallocation

       of any unallotted funds to state programs). These funds provide loans and other financial assistance



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       to public water systems, including for the replacement or rehabilitation of aging treatment, storage,

       and distribution facilities. 42 U.S.C. § 300j-12(a)(2)(B). Multiple Plaintiff States have received

       Safe Drinking Water revolving fund awards obligated through final, binding grant agreements.

              102.    As another example, the IRA also appropriated $117.5 million to EPA to award

       grants under an existing air monitoring program established in the 1963 Clean Air Act, 42 U.S.C.

       §§ 7401(a)(4), 7403(a)–(c), 7405. EPA “shall,” Congress instructed, “provide financial assistance

       to air pollution control agencies” in conducting their activities, id. § 7403(a)(2), including the

       mandatory establishment of a national air monitoring network and research program, id. § 7403(c).

       EPA has awarded such grants to multiple Plaintiff States that are obligated under final, binding

       grant agreements with EPA.

              103.    The IRA also created the Climate Pollution Reduction Grant (CPRG) program, in

       which Congress appropriated $5 billion to EPA and directed that EPA “shall competitively award

       grants to eligible entities to implement” greenhouse gas pollution reduction plans and “shall make

       funds available” to grantees. 42 U.S.C. §§ 7437(a)(1), (a)(2), (b), (c)(1), (c)(3). EPA awarded

       grants to multiple Plaintiff States which are obligated under final, binding grant agreements with

       EPA.

              104.    The IRA also appropriated to EPA $7 billion to make grants to states and other

       eligible recipients “to enable low-income and disadvantaged communities to deploy or benefit

       from zero-emission technologies,” including rooftop solar panels and storage systems. 42 U.S.C.

       § 7434(a)(1). EPA awarded these $7 billion through the “Solar for All” program to 60 grantees,

       including many Plaintiff States, all of which are also obligated under final, binding agreements

       with EPA.




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              105.      Another section of the IRA, entitled the High-Efficiency Electric Home Rebate Act,

       provides that the Secretary of Energy “shall award grants to State energy offices . . . to establish a

       high-efficiency electric home rebate program under which rebates shall be provided” for heat

       pump heating and cooling and other electrification projects for low- and moderate-income

       households and appropriated $4.5 billion through 2031 for a home rebate program. 42 U.S.C.

       § 18795a(a)(1), (c), (d)(1), (d)(6); § 18795a(a)(2)(A)(i). DOE awarded several Plaintiff States

       grants under this formula grant program which are subject to final, binding grant agreements.

                                          FACTUAL ALLEGATIONS

       Executive Orders

              106.      Between January 20 and 28, 2025, the President issued a series of executive orders

       directing federal agencies to review funding recipients in connection with widespread policy

       changes. Two of the EOs also direct agencies to withhold funds pending that review, in certain

       circumstances.

                107. Unleashing EO. On January 20, 2025, the President issued the Unleashing EO.

       Exec. Order 14154, 90 Fed. Reg. 8353 (Jan. 29, 2025). The Unleashing EO announces a

       categorical, immediate, and indefinite pause on federal funds under the IIJA and IRA. See id.

       Section 7(a) of the Unleashing EO, entitled “Terminating the Green New Deal,” orders all federal

       agencies to “immediately pause the disbursement of funds appropriated through the [IRA] or the

       [IIJA].” Id. at 8357.

              108.      Section 7(a) of the Unleashing EO further directs all agencies to “review their

       processes, policies, and programs for issuing grants, loans, contracts, or any other financial

       disbursements of such appropriated funds for consistency with the law and policy outlined in

       section 2 of this order,” id., which in turn articulates the President’s energy policy priorities. Those



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       priorities include encouraging fossil fuel and minerals exploration and production, eliminating “the

       electric vehicle (EV) mandate,” and protecting the “freedom to choose from a variety of goods and

       appliances.” Id. at 8353 (internal quotations omitted). The Unleashing EO orders agency heads to

       submit a report detailing this review and resulting recommendations to OMB and the National

       Economic Council (“NEC”) within 90 days of the order and directs that: “[N]o funds [appropriated

       under the IRA or IIJA] shall be disbursed by a given agency until the Director of OMB and

       Assistant to the President for Economic Policy have determined that such disbursements are

       consistent with any review recommendations they have chosen to adopt.” Id. at 8357.

              109.    Invasion EO. On January 20, 2025, the President issued an executive order entitled

       “Protecting the American People Against Invasion” (Invasion EO). Exec. Order 14159, 90 Fed.

       Reg. 8443 (Jan. 29, 2025). This EO asserts that an “unprecedented flood of illegal immigration”

       over the last four years resulted in the entry of people who “present significant threats to national

       security and public safety,” “are engaged in hostile activities, including espionage, economic

       espionage, and preparations for terror-related activities,” or have “abused the generosity of the

       American people.” Id. at 8443. To achieve a policy of “total and efficient enforcement” of the

       nation’s immigration laws, id., the Invasion EO calls for a “Funding Review” in which the Attorney

       General and Secretary of Homeland Security are to review “all contracts, grants or other

       agreements providing federal funding to non-governmental organizations” that support or provide

       services, “directly or indirectly,” to “removable or illegal aliens” and “[p]ause distribution of all

       further funds pursuant to such agreements pending the results of” this review. Id. at 8447. The

       Invasion EO also directs the Attorney General and the Secretary of Homeland Security to ensure

       that “so-called ‘sanctuary’ jurisdictions” do not receive federal funds. Id. at 8446.




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              110.    DEI EO. On January 20, 2025, the President issued an executive order, entitled

       “Ending Radical and Wasteful Government DEI Programs and Preferencing” (DEI EO). Exec.

       Order 14151, 90 Fed. Reg. 8339 (Jan. 29, 2025). This EO declares an intention to “terminat[e] . . .

       all . . . ‘diversity, equity, inclusion, and accessibility’ (DEIA) . . . programs.” Id. at 8339. In

       addition, the DEI EO orders federal agencies to provide the OMB Director with a list of all federal

       grantees who received federal funding “to provide or advance DEI, DEIA, or ‘environmental

       justice’” programs since January 20, 2021. Id. at 8339–40.

              111.    Gender EO. On January 20, 2025, the President issued an executive order, entitled

       “Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

       Federal Government” (Gender EO). Exec. Order 14168, 90 Fed. Reg. 8615 (Jan. 30, 2025). This

       EO defines federal policy to recognize “two sexes, male and female” determined only by “an

       individual’s immutable biological classification . . . .” Id. The Gender EO requires that federal

       agencies “take all necessary steps, as permitted by law, to end the Federal funding of gender

       ideology” and “assess grant conditions and grantee preferences and ensure grant funds do not

       promote gender ideology.” Id. at 8616.

              112.    Gender-Affirming Care EO. On January 28, 2025, the President issued an

       executive order, entitled “Protecting Children from Chemical and Surgical Mutilation” (Gender-

       Affirming Care EO). Exec. Order 14187, 90 Fed. Reg. 8771 (Feb. 3, 2025). This EO asserts as the

       “policy of the United States that it will not fund, sponsor, promote, assist, or support the so-called

       ‘transition’ of a child from one sex to another.” Id. Section 4 of the Gender-Affirming Care EO

       directs agencies that provide research or education grants to medical institutions to “immediately

       take appropriate steps to ensure that institutions receiving Federal research or education grants end

       the chemical and surgical mutilation of children.” Id. at 8772.



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              113.    Foreign Aid EO. On January 20, 2025, the President also issued an executive order

       entitled “Reevaluating and Realigning United States Foreign Aid” (Foreign Aid EO). Exec. Order

       14169, 90 Fed. Reg. 8619 (Jan. 30, 2025). This EO asserts that “[t]he United States foreign aid

       industry and bureaucracy are not aligned with American interests and in many cases antithetical to

       American values,” and announces that it is “the policy of United States that no further United

       States foreign assistance shall be disbursed in a manner that is not fully aligned with the foreign

       policy of the President of the United States.” The EO orders a 90-day pause in all U.S. foreign

       development assistance “for assessment of programmatic efficiencies and consistency with United

       States foreign policy,” further specifying that “[a]ll department and agency heads with

       responsibility for United States foreign development assistance programs shall immediately pause

       new obligations and disbursements of development assistance funds to foreign countries and

       implementing non-governmental organizations, international organizations, and contractors,”

       pending review of those programs. Id. The Foreign Aid EO further instructs department and agency

       heads, the Secretary of State, and the Director of OMB to participate in a review of the programs,

       which is to culminate in a decision as to whether each program should be continued, modified, or

       ended. Id.

              114.    Other EOs. The President issued two other Executive Orders between January 20

       and 28, 2025, that declare changes in policies that relate to federal funding decisions but did not

       by themselves pause funding or expressly refer to federal grants. See “Putting America First in

       International Environmental Agreements,” Exec. Order 14162, 90 Fed. Reg. 8455 (Jan. 30, 2025);

       “Enforcing the Hyde Amendment,” Exec. Order 14182, 90 Fed. Reg. 8751 (Jan. 31, 2025).

       Initial Funding Disruptions Following the Executive Orders

              115.    Following these Executive Orders, major funding disruptions ensued, as the

       following non-exhaustive examples illustrate.
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                116.   For example, on January 20—the same day as the Unleashing EO—DOE issued a

       memorandum ordering that, “effective immediately and until further notice,” “[a]ll funding and

       financial assistance . . . shall not be announced, approved, finalized, modified, or provided” until

       reviewed “to ensure compliance with Congressional authorization and Administration policy.” See

       Memorandum from Ingrid C. Kolb, Acting Secretary, Agency-wide Review of Program and

       Administrative Activities (Jan. 20, 2025). 2 On January 23, DOE informed the Colorado Energy

       Office that it was pausing further communication while it evaluated information from the new

       administration.

                117.   That same day, USDA advised grantees that payments would continue to be

       processed under existing awards, “provided that they are not funded using IIJA and IRA funding

       sources.”

                118.   On January 21, 2025, OMB Acting Director Matthew J. Vaeth and Kevin Hassett,

       Assistant to the President for Economic Policy and Director of the NEC, issued the Unleashing

       Directive, titled “Guidance Regarding Section 7 of the Executive Order Unleashing American

       Energy.” OMB Mem. M-25-11.3 This Directive reiterates the terms in Unleashing EO itself,

       directing that “section 7 of the [Unleashing EO] requires agencies to immediately pause

       disbursement of funds appropriated under the [IRA] or the [IIJA].” Id. It goes on to specify that

       the “pause” applies to “funds supporting the ‘Green New Deal,’” meaning, “any appropriations

       for objectives that contravene the policies established in section 2” and that agencies may disburse

       funds only after consulting with OMB. Id.




          2
              A copy of this DOE memorandum is appended to this Complaint as Exhibit B.
          3
              A copy of the Unleashing Directive is appended to this Complaint as Exhibit C.
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              119.    On January 24, the Federal Highway Administration cancelled contract

       negotiations with the Massachusetts Department of Transportation for an awarded Low-Carbon

       Transportation Materials grant, citing a funding freeze; as recently as February 5, the grant

       remained on hold.

              120.    On January 26, USAID issued stop work orders that appeared to unilaterally

       suspend grant awards, citing the Executive Order titled, “Reevaluating and Realigning U.S.

       Foreign Aid.” Among the recipients who received this order was the State of Washington Water

       Research Center, which is administered through the Washington State University Office of

       Research. Other suspensions followed, affecting many research universities in Plaintiff States.

       Subsequently, a Declaration filed by the Deputy Assistant Commissioner for Federal Disbursement

       Services at the Bureau of Fiscal Services in the U.S. Department of Treasury revealed that, on

       January 26, Treasury leadership directed the Bureau to “identify” and “flag” “all USAID payment

       files” within the Bureau’s payment system before they could be paid, apparently because they were

       “potentially implicated by the President’s foreign aid Executive Order.” By January 27, Treasury

       leadership “informed [the Bureau] that State Department had decided to intercept the USAID files

       prior to the initial submission.”

              121.    On the morning of January 27, Rhode Island’s Office of Energy Resources received

       notification that a drawdown of $26,510.21 from Rhode Island’s Solar for All grant had been

       rejected.

              122.    And in the late afternoon of January 27, the acting Chief Financial Officer of the

       EPA issued a memorandum, entitled “Inflation Reduction Act and Infrastructure Investment and

       Jobs Act Funding Action Pause.” See Mem. from Gregg Treml, Acting Chief Financial Officer, to

       Deputy Administrators, re: Inflation Reduction Act and Infrastructure Investment and Jobs



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       Funding Action Pause (Jan. 27, 2025) (Jan. 27 EPA Memo). 4 Stating that it is “based on instruction

       from OMB,” the Jan. 27 EPA Memo explains: (i) “[i]n accordance with the [Unleashing EO],

       unobligated funds (including unobligated commitments) appropriated by” the IIJA and IRA “are

       paused”; (ii) “all disbursements for unliquidated obligations funded by any line of accounting

       including funds appropriated by” the IIJA and IRA likewise “are paused”; and (iii) “[a]ll related

       actions, including new contract, grant, rebate, and interagency actions, to include drawdowns, for

       IIJA and IRA are paused.” Id.

       Issuance and Purported Rescission of the OMB Directive

                123.   On January 27, OMB Acting Director Vaeth issued the OMB Directive (M-25-13).

       Ex. A. The OMB Directive targeted a broader swath of federal fund disbursements for a near-

       immediate freeze. OMB Directive. This directive stated that all federal agencies “must complete a

       comprehensive analysis of all of their Federal financial assistance programs to identify programs,

       projects, and activities that may be implicated by any of the President’s executive orders.” Id. at 2.

       While this analysis is ongoing, “[i]n the interim, to the extent permissible under applicable law,

       Federal agencies must temporarily pause all activities related to obligation or disbursement of

       all Federal financial assistance, and other relevant agency activities that may be implicated by the

       executive orders, including, but not limited to, financial assistance for foreign aid,

       nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” Id.

       (emphasis original). The OMB Directive ordered that the temporary pause take effect the following

       day, on January 28, 2025, at 5:00 PM. Id.

                124.   The OMB Directive appeared to suspend all federal financial assistance, with few

       exceptions—by its terms, it was not limited to funds that may be related to “foreign aid,



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              A copy of the Jan. 27 EPA Memo is appended to this Complaint as Exhibit D.
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       nongovernmental organizations, DEI, woke gender ideology, and the green new deal,” but rather

       applied to “all activities related to obligation or disbursement of all Federal financial assistance.”

       Id. at 2.5 And it expressly stated that its list of “other relevant agency activities” that may be

       implicated by the EOs was merely illustrative and not exhaustive. Id.

              125.    The blanket freeze required by the OMB Directive was also unambiguously

       indefinite. The OMB Directive stated that agencies must “submit to OMB detailed information on

       any programs, projects or activities subject to this pause”by February 10, 2025. Id. But it did not

       specify when OMB had to or planned to complete its review of the agencies’ submissions or release

       funding pursuant to its findings. Id.

              126.    Following the transmittal of the OMB Directive to federal agencies, OMB

       circulated a document labeled “Instructions for Federal Financial Assistance Program Analysis in

       Support of M-25-13.”6 This document contains a chart listing federal funding lines, with columns

       that ask whether the funding line “promote[s] gender ideology,” “provide[s] Federal funding to

       non-governmental organizations supporting or providing services, either directly or indirectly, to

       removable or illegal aliens,” or “relate[s] to ‘environmental justice’ programs or ‘equity-related’

       grants,” among other inquiries. Id. The OMB Spreadsheet also asks whether the funding, “[i]f not

       covered in the preceding columns,” supports “any activities that must not be supported based on

       executive orders issued on or after January 20, 2025 (including executive orders released following

       the dissemination of this spreadsheet).” Id.




          5
             The OMB Directive relied upon a potentially broad definition of affected federal funds. See
       id. at 1 n.1 (“For the purposes of this Memorandum, Federal financial assistance includes: (i) all
       forms of assistance listed in paragraphs (1) and (2) of the definition of this term at 2 CFR 200.1;
       and (ii) assistance received or administered by recipients or subrecipients of any type except for
       assistance received directly by individuals.” (emphasis added)).
           6
             A copy of this document is appended to this Complaint as Exhibit E.
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                127.   On January 28, the U.S. District Court for the District of Columbia ordered an

       administrative stay of the OMB Directive pending a hearing on a motion for a temporary

       restraining order. Order of Administrative Stay (ECF No. 13), Nat’l Council of Nonprofits, et al. v.

       Trump, et al., No. 1:25-cv-00239-LLA (D.D.C. filed Jan. 28, 2025). At approximately 1:00 PM

       Eastern Time on January 29, OMB issued M-25-14, a memorandum purportedly rescinding the

       OMB Directive in two sentences: “OMB Memorandum M-25-13 is rescinded. If you have

       questions about implementing the President’s Executive Orders, please contact your agency

       General Counsel.” 7

                128.   Shortly after OMB purported to rescind the OMB Directive, however, White House

       Press Secretary Karoline Leavitt stated that the Federal Funding Freeze remained in place,

       notwithstanding the rescission of the OMB Memorandum. Leavitt announced on social media:

       “This is NOT a rescission of the federal funding freeze. It is simply a rescission of the OMB memo.

       Why? To end any confusion created by the court’s injunction. The President’s EO’s on federal

       funding remain in full force and effect, and will be rigorously implemented.”

                129.   At a press conference that same day, Leavitt stated: “So, what does this pause mean?

       It means no more funding for illegal DEI programs. It means no more funding for the Green New

       Scam that has . . . cost American taxpayers tens of billions of dollars. It means no more funding

       for transgenderism and wokeness across our federal bureaucracy and agencies. No more funding

       for Green New Deal social engineering policies.”

       Continued Implementation of the Federal Funding Freeze

                130.   Following the issuance of the OMB Directive but even before it was slated to go

       into effect, many Plaintiff States were unable to draw down vast swaths of appropriated and



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              A copy of OMB Memorandum M-25-14 is appended to this Complaint as Exhibit F.
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       awarded funding using federal funding portals, like the Payment Management Services (PMS)

       portal used by HHS and DOL, and the EPA’s payment portal, the Automatic Standard Application

       for Payments (ASAP).

              131.    For example, Oregon was unable to access its Medicaid federal funding system on

       Tuesday, January 28, even before the OMB Directive was set to take effect at 5:00 pm, causing the

       Oregon Health Authority to lose a day of work.

              132.    As another example, New Mexico’s Early Childhood Education and Care

       Department found PMS not operational at approximately 8:00 am on January 28, 2025.

              133.    And from January 27 to January 28, New York’s Office of the State Comptroller

       was not able to draw any of over $70 million in obligated funds needed across state agencies.

              134.    Similarly, after Arizona’s Department of Homeland Security (AZDHS) submitted

       draw requests to FEMA’s Payment and Reporting System (PARS) on January 28, 2025, for “critical

       homeland security needs,” the Deputy Director of AZDHS contacted FEMA to inquire about the

       OMB Directive and received an email indicating that, “FEMA is actively reviewing President

       Trump’s memo directing agencies to pause grants and other types of federal assistance issued

       Monday, January 27. We are working quickly to understand the exact implications across the full

       range of FEMA equities. We will provide additional guidance to stakeholders as soon as possible.”

              135.    On January 28, 2025, Oregon’s Department of Emergency Management, which

       depends heavily on federal emergency management grants for disaster preparedness, response,

       mitigation, and recovery, was unable to withdraw federal funds for payroll because the federal

       payment system in use was offline. As a result, the Oregon Department of Emergency Management

       was unable to cover payroll with federal funds that day.




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              136.    On January 28, 2025, California’s Employment Development Department (EDD)

       requested $1.8 million in Workforce Innovation and Opportunity Act (WIOA) funds, which EDD

       distributes to 45 regional Local Workforce Development Areas to support job search assistance,

       career services, and training opportunities. EDD had to stop sub-granting WIOA funds to the Local

       Workforce Development Areas for these programs as its payment request remained pending

       throughout the day.

              137.    On January 28, 2025, Maryland’s Department of Education attempted to submit a

       $31 million reimbursement request for Child Care Scholarship funds, which help low-income

       families pay for high-quality child care and early education programs. The PMS portal, however,

       was not initially accessible. Instead, the webpage included a banner stating: “Due to Executive

       Orders regarding potentially unallowable grant payments, PMS is taking additional measures to

       process payments. Reviews of applicable programs and payments will result in delays and/or

       rejections of payments.”

              138.    Even after the purported rescission of the OMB Directive on January 28, the

       Federal Funding Freeze has continued to manifest through chaotic actions, including frozen grant

       funding, by federal agency defendants (Agency Defendants), resulting in widespread and

       significant disruptions of funding and related activities across the Plaintiff States’ agencies—in

       many instances continuing to the present—and interfering with the Plaintiff States’ ability to plan

       for provision of and provide essential services to their residents.

              139.    For example, on both January 27 and 29, 2025, Massachusetts’s Department of

       Environmental Protection attempted to draw down grants funded by IIJA and IRA, but no

       reimbursements were issued.




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              140.    As another example, Illinois’s available funds in EPA’s payment portal, ASAP,

       decreased from $1 billion on January 28 to $52 million on January 29, with entire accounts, like

       CPRG, deleted and still inaccessible as of February 5.

              141.    And as another example, Rhode Island has received a Specialty Crop Block Grant

       to improve competitiveness of specialty crops from the USDA for each of the past four years, but

       USDA froze those funds on January 30 and as of February 12 had still not released them, pending

       “further guidance.”

              142.    Salem State University in Massachusetts attempted to draw down grant funding

       from the National Science Foundation on January 28 and received a notice via email on the same

       day that while that agency “perform[ed] a comprehensive review of the award portfolio to ensure

       compliance with recent Executive Orders, pursuant to” the OMB Directive, “all payments under

       active awards will be paused.”

              143.    Beginning on January 27, various Plaintiff States found that grants they had been

       awarded pursuant to the IRA’s Solar for All program were suspended in the federal payment portal.

       Solar for All grants remained suspended for other states on January 30.

              144.    Then, following this Court’s January 31 restraining order, Temporary Restraining

       Order, New York v. Trump (1:25-cv-00039-JJM-PAS) (Jan. 31, 2025), on or about February 4, EPA

       issued an “Update” on the IIJA and IRA funding pause, explaining that, “pursuant to the recent

       Court directive,” the agency would now “enable the obligation of financial assistance” including

       some, but not all, “programs within the [IIJA] and [IRA],” to be specified on a forthcoming

       “detailed list.” Mem. from Gregg Treml, Acting Chief Financial Officer, to Deputy Administrators,

       re: Update on Inflation Reduction Act and Infrastructure Investment and Jobs Funding Action




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       Pause (Feb. 4, 2025) (Feb. 4 EPA Memo). 8 But the referenced list included only twenty-eight IIJA

       grant programs—many of them small grant programs targeted at specific localities—and only one

       IRA program. U.S. Env’t Prot. Agency, List of EPA IIJA and IRA Grants Referenced in Feb. 4 EPA

       Memo. 9

               145.   But only two days later, on February 6, EPA Acting Deputy Administrator Chad

       McIntosh tried a different approach to freeze funding, ordering a review of all “issued grants”

       including “payments on all grant programs and awards where Agency personnel suspect that the

       grant is unlawful or contrary to Agency policy priorities,” or “fraudulent, abusive, duplicative, or

       implemented in a way that failed to safeguard Agency dollars.” Mem. from Chad McIntosh, Acting

       Deputy Administrator, “Review of Financial Assistance Programs” (Feb. 6, 2025) (Feb. 6 EPA

       Memo) (emphasis added). 10 The Feb. 6 EPA Memo purported to instruct that disbursements paused

       by the OMB Directive and any EOs it implemented “shall continue to be immediately released.”

       Id. at 2.

               146.   Despite that caveat, the very next day, EPA’s Office of Budget and Planning

       announced by email to EPA staff that, “pending a review for compliance with applicable

       administrative rules and policies,” twenty-eight IIJA and IRA programs—including CPRG and air

       monitoring grants—“are temporarily paused for new obligations or disbursements for assistance

       agreements, loans, rebates, interagency agreements, procurements, and no-cost actions.” Email

       from Budget & Planning re: Additional Information on IIJA and IRA – program review pause (Feb.

       7, 2025).




           8
             A copy of the Feb. 4 EPA Memo is appended to this Complaint as Exhibit G.
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             A copy of this document is appended to this Complaint as Exhibit H.
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              A copy of the Feb. 6 EPA Memo is appended to this Complaint as Exhibit I.
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              147.    On February 4, 2025, the California State University received a phone call from the

       U.S. Economic Development Administration (a bureau within Defendant the Department of

       Commerce), in which it was informed that the Administration would receive reimbursement

       requests but had been directed not to process and pay reimbursements for a program relating to the

       Monterey Bay Small Business Assistance and Resilience Program.

              148.    Further, Los Angeles County attempted to draw down $25.7 million in federal funds

       from the Payment Management System on January 28, as reimbursements for crucial services

       related to HIV programs, which was initially denied. Upon resubmission, the request was

       designated to be under “pending review,” and the requested funds had not been reflected in Los

       Angeles County’s accounts as of February 5.

              149.    On February 10 and 11, 2025, accounts for many programs continued to be

       suspended or were re-suspended, including, just to name a few examples: EPA Clean Air Act air

       sensors and air monitoring grants to the Massachusetts Department of Environmental Protection,

       the Rhode Island Department of Environmental Management, the Michigan Department of

       Environment, Great Lakes, and Energy, and the Kentucky Energy and Environment Cabinet;

       wildlife prevention and response funding from USDA, FEMA, the U.S. Forest Service, and the

       USGS, to the Washington Department of Natural Resources; Home Efficiency Rebates and Home

       Electrification and Appliance Rebates Program grants from DOE to the New York State Energy

       Research and Development Authority and the Kentucky Energy and Environment Cabinet; and

       DOI Abandoned Mine Land Reclamation Fund Grants to the Maryland Department of the

       Environment and the Kentucky Energy and Environment Cabinet. As of February 11, the Kentucky

       Department for Local Government, which is attached to the Office of the Governor, still was

       unable to access $733,256.19 in appropriated and obligated funds from the U.S. Department of



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       Commerce for the Economic Development Administration Partnership Planning Grant. And

       though Solar for All grant accounts were reopened in the payment portal for many Plaintiff States

       by February 7, they were suspended once again for many Plaintiff States on the afternoon of

       February 10.

       Harms to the Plaintiff States from the Federal Funding Freeze

               150.   The Federal Funding Freeze has already harmed and will continue to harm the

       Plaintiff States and their residents in myriad ways. While a full account of the impacts of the

       countless interrupted federal grant programs (surpassing $1 trillion in fiscal year (FY) 202411) that

       benefit the Plaintiff States is impossible here, the following examples demonstrate the Federal

       Funding Freeze’s alarming toll.

               151.   The impact of the Federal Funding Freeze on the State of Washington is one

       example. For the most recent fiscal year—FY2024, running from July 1, 2023, to June 30, 2024—

       Washington received over $27 billion in federal funding. This comprised approximately 32% of

       Washington’s total budget for FY2024.

               152.   More than $14 billion of these funds are threatened by the Federal Funding Freeze,

       including such critically important programs as: highway planning and construction funds (over

       $952 million in FY2024 state expenditures); Child Care and Development Block Grants (over

       $393 million in FY2024 state expenditures); National School Lunch Program (over $361 million

       in FY2024 state expenditures); Title I education grants ($310 million in FY2024 state

       expenditures); Special Education grants (over $275 million in FY2024 state expenditures); child




          11
              Rebecca Thiess, Kate Watkins & Justin Theal, “Record Federal Grants to States Keep
       Federal Share of State Budgets High,” Pew Charitable Trust (Sept. 10, 2024),
       https://www.pewtrusts.org/en/research-and-analysis/articles/2024/09/10/record-federal-grants-to-
       states-keep-federal-share-of-state-budgets-high.
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       support enforcement (over $134 million in FY2024 state expenditures); allergy and infectious

       disease research (over $121 million in FY2024 state expenditures); LIHEAP (over $96 million in

       FY2024 state expenditures); substance abuse treatment block grants (over $65 million in FY2024

       state expenditures); veterans nursing care funding (over $59 million in FY2024 state

       expenditures); and hundreds or thousands of other programs, covering everything from

       immunizations to clean water to adoption assistance to transit to childcare to global AIDS

       prevention to National Guard operations to crime victim assistance to immigration and refugee

       assistance to wildlife restoration, and on and on.

               153.    Washington simply does not have funds to cover all of these necessary programs

       that are currently funded through federal dollars. Nor does it have the funds to backfill federal

       dollars while continuing to pay for the many state-funded programs on which its residents rely.

       Thus, pausing or terminating federal funds necessarily entails cuts—likely drastic cuts—to key

       services provided by state agencies on which Washington residents depend. This threat to federal

       funding comes at a precarious time for Washington. Due to factors like inflation, higher projected

       caseloads in several safety net programs, and revenue declines, Washington is facing a forecasted

       budget deficit of over $12 billion over the next four years.

               154.    Washington’s Legislature is currently in session trying to address this budget

       shortfall and pass a budget for the FY2025–2027 biennium. Many Washington state agencies are

       facing budget cuts of between three and six percent to account for the lack of funding.

               155.    As in Washington, the Federal Funding Freeze interferes with critical programs in

       all of the Plaintiff States and makes it nearly impossible for state agencies intelligently to prioritize

       budgeting needs.




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              156.    For example, state health systems rely on federal grant programs to provide

       essential health services to millions of residents. State Departments of Health alone receive billions

       in federal grant funding. HHS grants support hospital facilities, community health centers, lab

       testing, addiction treatment centers, services for people living with disabilities, and facilities for

       aging people. The New York Department of Health alone has nearly $40 billion in federal funding

       obligated for FY2025. For California’s fiscal year ending June 30, 2025, the state’s federal

       Medicaid funding is $107.5 billion, and California’s Department of Health Care Services receives

       more than $125 million in other federal funds annually for other health care services. Hundreds of

       millions of dollars from these federal funds support the facilities that provide community

       healthcare, including in rural and other under-resourced areas. The Federal Funding Freeze

       impedes the Plaintiff States from providing critical healthcare—from lifesaving measures to

       Medicaid and basic health care services for low-income, elderly, pregnant, and disabled

       individuals. The Federal Funding Freeze thus harms the health and safety of the Plaintiff States’

       residents and requires the Plaintiff States to incur significant expenses to attempt to cover the most

       pressing gaps in healthcare coverage.

              157.    Plaintiff States also rely on federal funds for disaster relief and management. For

       example, California is relying heavily on FEMA’s assistance to recover from recent devasting fires.

       Funds authorized by President Biden’s declaration of a major disaster pursuant to the Stafford Act

       are critical to helping the state recover from a disaster whose economic losses are estimated at

       upwards of $150 billion. Similarly, North Carolina is still reeling from the catastrophic damages

       sustained during Hurricane Helene in September 2024, and needs federal assistance to rebuild

       homes, businesses, roads, bridges, and other critical infrastructure. Indeed, both President Biden

       and President Trump authorized expenditures of FEMA funding to assist North Carolina’s



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       recovery. Kentucky currently has 14 presidentially declared disasters for which it is relying on

       FEMA for assistance and reimbursement. The Federal Funding Freeze impedes these critical

       disbursements and will continue to harm disaster relief, management, and recovery.

              158.    Federal infrastructure funding often provides emergency augmentation of state

       budgeted and planned funds when disaster strikes. For example, Rhode Island experienced the

       unexpected failure of a bridge span carrying a major interstate highway, the Washington Bridge,

       that has a daily traffic volume of 90,000 vehicles and has been closed since December 2023. Rhode

       Island’s Congressional Delegation wrote to Acting Director Vaeth on January 27, 2025, inquiring

       after the $220 million in competitive grant funding allocated for the bridge and the balance of the

       $600 million in competitive grant funding for other critical infrastructure, including bridges along

       I-95, currently awarded to Rhode Island. As of February 12, there has been no response to clarify

       that this money would not be impacted.

              159.    The Plaintiff States’ ability to provide for public safety and law enforcement are

       also hindered by the Federal Funding Freeze. In FY2024, the Federal Edward Byrne JAG grant

       program gave over $180 million in funding to the states to fund essential law enforcement and

       criminal justice programs, including programs that prevent and prosecute hate crimes, address the

       opioid crisis, and support mental health treatment services. Other grant programs administered by

       the U.S. Department of Justice fund initiatives to combat violence against women and internet

       crimes against children, support community policing, and provide services to victims of crimes.

       The High Intensity Drug Trafficking Areas program provides assistance to federal, state, local, and

       Tribal law enforcement agencies operating in areas determined to be critical drug-trafficking

       regions of the United States. The Federal Funding Freeze significantly impedes state and local

       government efforts to address violent crime and the proliferation of illegal drugs.



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              160.    State education systems also suffer due to the Federal Funding Freeze. The

       Department of Education has $2.1 billion obligated for FY2025 public education in New York

       alone. Included in that funding are formula grants for local education agencies to improve teaching

       and learning in high-poverty schools for children failing, or most at-risk of failing, to meet

       academic standards. Because this is a formula grant, the allocation is to be made automatically

       based on a statutory formula. Such grants serve millions of children nationwide.

              161.    School districts nationwide receive billions of dollars in special education funding

       from the federal government to support critical services for millions of students with disabilities

       nationwide. For the school year 2024–25, for example, California is receiving $1.5 billion.

       Because this is also a formula grant, the allocation is to be made automatically. Without these

       funds, there would be disruption to educational services provided to students with disabilities, loss

       of related services (such as physical therapy, speech therapy, occupational therapy, and services

       for deaf or blind students), and delayed or reduced payments to staff and potential layoffs.

              162.     The Plaintiff States also rely on federal funding to provide free and low-cost meals

       to low-income children, professional development for teachers, academic interventions such as

       tutoring, after-school programs and early childhood education, and anti-bullying programming,

       among many other critical services. California draws approximately $40 to $50 million in federal

       funds per week for school nutrition services. The Federal Funding Freeze thus has catastrophic

       impacts on student learning in the Plaintiff States.

              163.    State institutions of higher education also receive billions of dollars in grants from

       Defendants—including the Department of Health and Human Services, the Department of

       Education, the National Science Foundation, the National Aeronautics and Space Administration,

       and USAID—not including direct student aid, that fund essential research in every conceivable



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       area of study. For instance, the University of California has multiple active USAID grants totaling

       millions of dollars. The Federal Funding Freeze chills research and undermines the Plaintiff States’

       ability to provide higher education, especially to students who cannot independently afford the

       costs of private colleges.

              164.    The Plaintiff States’ job training and workforce development programs also suffer

       due to the Federal Funding Freeze. For example, the New Mexico Department of Workforce

       Solutions receives approximately 89% of its funding from the federal government, including

       funding for all personnel and operations for the State’s Unemployment Insurance program.

       Without this funding, New Mexico can neither provide the benefits to newly unemployed workers

       to which they are entitled, nor provide job training to returning veterans who lack critical

       workplace skills.

              165.    The Federal Funding Freeze hampers the Plaintiff States’ ability to provide services

       to older Americans and adults with disabilities. Federal funding currently supports services that

       help older Americans remaining in their homes and communities, rather than in nursing homes and

       similar facilities. The Federal Funding Freeze jeopardizes these services, including meal delivery

       and transportation to medical appointments, for the Plaintiff States’ residents.

              166.    The Federal Funding Freeze also would prevent the Plaintiff States from

       completing much needed transportation infrastructure projects, including repairs and upgrades.

       For example, the Maryland Transportation Authority is awaiting $60 million in promised

       reimbursement in the coming months for the costs of removal and salvage of debris from the

       collapsed Francis Scott Key Bridge. Plaintiff States may be unable to complete necessary repair

       projects without federal assistance, leaving old infrastructure in place and increasing the risk of

       catastrophic events.



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               167.    The Federal Funding Freeze, including the Unleashing EO and agency actions

       implementing it, impede the Plaintiff States’ ability to provide essential services to protect the

       health, safety, and welfare of their residents through critical IIJA- and IRA-funded programs.

               168.    For example, IRA funding provides significant resources to the Plaintiff States to

       remediate contamination and pollution, including the cleanup of sites contaminated with hazardous

       waste and plugging orphaned oil and gas wells. The Federal Funding Freeze also jeopardizes

       initiatives to develop clean energy resources and realize associated reliability, bill savings, job

       creation, and other benefits for the Plaintiff States and their residents. It similarly impedes Plaintiff

       States’ efforts to ensure clean air and water for their residents, by interfering with projects that help

       states monitor air quality, improve water quality, and ensure availability of clean drinking water.

       Further, the Federal Funding Freeze thwarts the Plaintiff States’ plans to implement waste

       management, reduction, and recycling plans. And the freeze also causes the loss of workforce

       training programs, career opportunities, and community education opportunities within the

       Plaintiff States.

               169.    The Federal Funding Freeze also has caused significant budgetary confusion,

       uncertainty, and risk among agencies of the Plaintiff States that administer IIJA- and IRA-funded

       programs and services. Dozens, if not hundreds, of Plaintiff States’ agencies have experienced

       confusion and budgetary uncertainty as they have been cut off from access to funds to which they

       are entitled. These agencies’ inability to access these funds and fear of non-reimbursement are

       already interfering with their ability to budget and plan, including with respect to planned hiring.

       The Federal Funding Freeze has harmed their ability to work with and reimburse subgrantees,

       potentially risking cancellation or modification of contracts with state vendors and subgrantees,




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       and it will continue to harm their goodwill and reputation among project partners and participants,

       making it more difficult to recruit project partners in the future.

              170.    The lack of notice for the Federal Funding Freeze compounds these injuries. The

       Plaintiff States were unable to prepare for or mitigate the pause in federal funding, creating chaos

       and confusion. For example, given the less than 24-hours notice before the OMB Directive took

       effect, Plaintiff States were unable to set aside funding for the anticipated shortfall in response,

       work with their legislatures to appropriate funds, or take other similar measures to lessen the blow.

       And both the breadth of the Federal Funding Freeze and the speed with which the Defendants

       imposed it renders implausible any claim, in any of the EOs or any subsequent agency actions, that

       funding is halted only “to the extent permissible by law” or any allowance, as in the OMB

       Directive, for exceptions on a case-by-case basis.

              171.    The Federal Funding Freeze has sown chaos and confusion around whether Plaintiff

       States can continue to receive disbursements of funding already obligated to them. And this

       uncertainty surrounds all grant programs, without regard to the specific statutes that authorize

       particular grant programs or what regulations or terms govern their award and use. For example,

       the OMB Directive references categories of funding with no clear reference to federal law,

       including categories like “woke gender ideology,” terms not appearing in any statute governing

       the grant of federal financial assistance, and “green new deal social engineering policies,” an

       apparent reference to proposed legislation that was never enacted.

              172.    State agencies also administer numerous federal grants and direct grant programs

       of their own—some of which pass through federal funding. State agencies in the Plaintiff States

       do not know when or if disbursements and obligations may resume, complicating the important

       work they do to ensure that state residents have access to healthcare services, education support,



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       appropriate law enforcement, reliable infrastructure, among many other missions. They are also

       now unable to evaluate whether they need to take action under their own sub-agreements or

       contracts to mitigate any downstream effects of the pause.

               173.   Thousands of nongovernmental and nonprofit organizations operating within the

       Plaintiff States also rely on federal funding to provide services to the Plaintiff States’ residents, to

       the benefit of the Plaintiff States. Such organizations are engaged in federally funded projects such

       as improving heat resilience in cities disproportionately impacted by heat and poor air quality,

       promoting local sourcing of food, improving food accessibility and sustainability, and subgranting

       to public health and environmental projects. For such organizations, the Federal Funding Freeze

       could result in laid off workers as well as significant harms to the communities they serve,

       including at-risk populations. And such harms would have ripple effects within the Plaintiff States,

       increasing health care costs and regulatory burdens to make up for the loss of the pollution

       reduction, food security, and other benefits attributable to these organizations’ reliance on federal

       funding.

               174.   In sum, across all Plaintiff States, the Federal Funding Freeze has caused severe

       harm across a range of programs and services, and will continue to cause such harm if it remains

       in effect.

                                             CAUSES OF ACTION

                                                     COUNT I

        Substantive Violation of the Administrative Procedure Act—Contrary to Law, Ultra Vires
                                      (Against Agency Defendants)

               175.   Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

               176.   Agency Defendants are “agenc[ies]” under the APA. 5 U.S.C. § 551(1).

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               177.    Under the APA, a court must “hold unlawful and set aside agency action, findings,

       and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

       “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

       § 706(2)(B)–(C).

               178.    Congress enacted the APA “as a check upon administrators whose zeal might

       otherwise have carried them to excesses not contemplated in legislation creating their offices.”

       Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (quoting U.S. v. Morton Salt, 338

       U.S. 632, 644 (1950)). In Loper Bright, the Supreme Court clarified that historical principles of

       “respect” did not equate to deference, and that “Section 706 makes clear that agency interpretations

       of statutes—like agency interpretations of the Constitution—are not entitled to deference.” Id. at

       392 (emphasis in original). Rather, it “remains the responsibility of the court to decide whether the

       law means what the agency says.” Id. (quoting Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 109

       (2015) (Scalia, J., concurring in judgment)).

               179.    An agency may not take any action that exceeds the scope of its constitutional or

       statutory authority.

               180.    No constitutional or statutory authority authorizes OMB to order federal agencies

       to refrain from fulfilling their statutory duties, or to violate federal law.

               181.    No constitutional or statutory authority authorizes federal agencies to refrain from

       fulfilling their statutory duties, or to violate federal law.

               182.    The Agency Defendants lack authority to impose and maintain the Federal Funding

       Freeze, which is an across-the-board pause on disbursement of categories of federal funds without

       regard to the individual authorizing statutes, regulations, and terms that govern each funding

       stream. This Freeze is unauthorized, unprecedented, and not entitled to deference by this Court.



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              183.     As a general matter, the “purpose statute” requires that “[a]ppropriations shall be

       applied only to the objects for which the appropriations were made except as otherwise provided

       by law,” 31 U.S.C. § 1301(a), meaning that funds can only be used for the purposes that Congress

       has designated. Federal agencies therefore lack authority to freeze funds immediately,

       categorically, and indefinitely, particularly where the stated purpose of that freeze is to pause,

       cancel, or reallocate funding to sources which do not align with the purpose for which those funds

       were appropriated by Congress.

              184.     Moreover, in implementing the Federal Funding Freeze, the Agency Defendants

       have acted contrary to the statutes and regulations governing the disbursement of federal funds for

       the impacted programs.

              185.     For example, in the IIJA and IRA, Congress appropriated billions of dollars to

       federal programs that support critical energy and infrastructure projects, among other legislative

       priorities, and used mandatory language to describe many of the most significant funding decisions

       that it made. For instance, the IIJA appropriated almost $30 billion for use in constructing and

       rehabilitating state water, wastewater, and sewage facilities, and directed that EPA “shall make

       capitalization grants to each State” for water pollution control pursuant to a statutory formula. 33

       U.S.C. §§ 1381(a), 1384(a), (c)(2); see also 42 U.S.C. § 300j-12(a)(1)(A), (D) (similar for drinking

       water grant).

              186.     Similarly, the IRA established a program to subsidize low- and moderate-income

       households’ purchase of heat pump systems—and directed the Secretary of Energy to “reserve

       funds . . . for each State energy office” based on an allotment formula, 42 U.S.C.

       § 18795a(a)(2)(A)(i), that does not give the Secretary the power to decline to expend funds.




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              187.    Congress has elsewhere appropriated mandatory funds to the Plaintiff States to fund

       programs for their residents ranging from special education to mental health and substance abuse

       treatment to power and heat for low-income individuals, and imposed specific limits on the

       relevant agencies’ power to withhold such funds (generally requiring notice and a hearing). See 20

       U.S.C. §§ 1411, 1412, 1416 (Individuals with Disabilities Education Act); 42 U.S.C. §§ 300x(a),

       300x-7(a), 300x-21(a), 300x-33(a) (mental health and substance abuse treatment); 42 U.S.C.

       §§ 8621, 8623, 8626, 8627 (LIHEAP).

              188.    Federal agencies lack the authority to immediately, categorically, and indefinitely

       pause obligated grant funding in a purported effort to root out waste and fraud, as EPA claimed to

       do in its Feb. 7 EPA Memo.

              189.    Moreover, the Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et seq.,

       circumscribes the Agency Defendants’ authority to immediately, categorically, and indefinitely

       pause obligated grant funding. The Impoundment Control Act permits the Executive Branch to

       impound (i.e., decline to spend) federal funds only under a very narrow set of specific

       circumstances. The Impoundment Control Act does not permit the Executive Branch to defer

       appropriated funds based on policy disagreement with Congressional priorities, nor rescind them

       without Congressional approval. Nor does the Impoundment Control Act permit agencies to

       unilaterally, categorically, immediately, and indefinitely freeze disbursement of federal funds.

              190.    The Federal Funding Freeze thus violates the express terms and purpose of

       appropriations law, authorizing and appropriating statutes, governing regulations, and terms and

       conditions of operative grant agreements obligated pursuant to those authorities.

              191.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

       declaration that the Agency Defendants lack legal authority to categorically pause or freeze the



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       disbursement of federal funds contrary to congressional directive and intent, and have, in so doing,

       acted contrary to law, outside of statutory authority, and in violation of the APA.

               192.   Plaintiff States are also entitled to vacatur of the OMB Unleashing Directive, the

       OMB Directive, and Agency Defendants’ other actions implementing and maintaining the Federal

       Funding Freeze pursuant to 5 U.S.C. § 706, and a preliminary and permanent injunction preventing

       the Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including

       through implementation of EOs, such as the Unleashing EO, and agency actions implementing

       them.

                                                   COUNT II

          Substantive Violation of the Administrative Procedure Act—Arbitrary & Capricious
                                      (Against Agency Defendants)

               193.   Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

               194.   Defendants include “agenc[ies]” under the APA 5 U.S.C. § 551(1).

               195.   The APA requires that a court “hold unlawful and set aside agency action, findings,

       and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

       accordance with law.” 5 U.S.C. § 706(2)(A).

               196.   An agency action is arbitrary or capricious where it is not “reasonable and

       reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). An agency

       must provide “a satisfactory explanation for its action[,] including a rational connection between

       the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm

       Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks omitted).

               197.   That “reasoned explanation requirement of administrative law . . . is meant to

       ensure that agencies offer genuine justifications for important decisions, reasons that can be

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       scrutinized by courts and the interested public.” Dep’t of Commerce v. New York, 588 U.S. 752,

       785 (2019). Agencies may not rely on explanations that are “contrived” or “incongruent with what

       the record reveals about the agency’s priorities and decisionmaking process.” Id.

              198.    An action is also arbitrary and capricious if the agency “failed to consider . . .

       important aspect[s] of the problem” before it. Dep’t of Homeland Sec. v. Regents of the Univ. of

       Calif., 591 U.S. 1, 25 (2020) (quoting Motor Vehicle Mfrs., 463 U.S. at 43).

              199.    Because the Agency Defendants provided no reasoned basis for pausing the

       disbursement and obligation of trillions of federal dollars and failed to consider the consequences

       of those actions, those actions were arbitrary and capricious. Neither the OMB Unleashing

       Directive, the OMB Directive, nor Agency Defendants’ other directives implementing and

       maintaining the Federal Funding Freeze contain any reasoning regarding their immediate,

       categorical, and indefinite scope or regarding the impact and chaos they have caused, including as

       to the Plaintiff States and their residents, who rely on federal funding for key programs and

       services.

              200.    Moreover, neither the OMB Unleashing Directive, the OMB Directive, nor Agency

       Defendants’ other directives implementing and maintaining the Federal Funding Freeze provide

       any reasoned basis for refusing to disburse funds authorized and appropriated by Congress contrary

       to congressional intent and directive. Agency Defendants’ actions in implementing the Federal

       Funding Freeze are thus arbitrary and capricious.

              201.    Defendants have recently characterized the freezing of some funding streams for

       compliance reasons or for reasons related to budget periods, which is implausible given the timing

       of the immediate, categorical, and indefinite nature of the Federal Funding Freeze, and the massive

       number of funding streams affected.



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              202.    Agency Defendants’ recent efforts to immediately, categorically, and indefinitely

       pause obligated grant funding purportedly to root out waste and fraud, as EPA claimed to do in its

       Feb. 7 EPA Memo, is a pretextual effort to achieve the Federal Funding Freeze, and is thus also

       arbitrary and capricious.

              203.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

       declaration that the OMB Unleashing Directive, the OMB Directive, and Agency Defendants’

       other actions implementing and maintaining the Federal Funding Freeze violate the APA because

       they are arbitrary and capricious.

              204.    Plaintiff States are also entitled to vacatur of the OMB Unleashing Directive, the

       OMB Directive, and Agency Defendants’ other actions implementing and maintaining the Federal

       Funding Freeze pursuant to 5 U.S.C. § 706, and a preliminary and permanent injunction preventing

       Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including through

       implementation of EOs, such as the Unleashing EO, and agency actions implementing them.

                                                  COUNT III

                            Equitable Ultra Vires—Conduct Outside the Scope of
                              Statutory Authority Conferred on the Executive
                                          (Against All Defendants)

              205.    Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

              206.    Federal courts possess the power in equity to grant injunctive relief “with respect

       to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

       U.S. 320, 326–27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief

       against federal officials who act “beyond th[e] limitations” imposed by federal statute. Larson v.

       Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).



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              207.    Defendants’ conduct in initiating and maintaining the Federal Funding Freeze

       without regard to the individual authorizing statutes, regulations and terms that govern each

       funding stream is contrary to law and outside of Defendants’ authority. See also ¶¶ 182–90, supra.

       For example, implementation of the categorical, immediate, and indefinite pause on federal funds

       under the IRA and IIJA announced in the Unleashing EO exceeded Defendants’ authority.

              208.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

       Federal Funding Freeze—including as implemented through the Unleashing EO—is contrary to

       law and outside of Defendants’ authority.

              209.    Plaintiff States are further entitled to a preliminary and permanent injunction

       preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

       including through implementation of EOs, such as the Unleashing EO, and agency actions

       implementing them.

                                                   COUNT IV

                Violation of the Separation of Powers—Usurping the Legislative Function
                                         (Against All Defendants)

              210.    Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

              211.    Federal courts possess the power in equity to grant injunctive relief “with respect

       to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

       U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

       Franklin v. Mass., 505 U.S. 788, 801 (1992) (citations omitted). Plaintiff States are “entitled to

       invoke the equitable jurisdiction to restrain enforcement” of unconstitutional acts by federal

       officials, including “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).




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              212.    The Constitution “grants the power of the purse to Congress, not the President.”

       City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th Cir. 2018); see U.S. Const. art.

       I, § 9, cl. 7 (Appropriations Clause); U.S. Const. art. I, § 8, cl. 1 (Spending Clause).

              213.    Congress also possesses exclusive power to legislate. Article I, Section 1 of the

       Constitution enumerates that: “[a]ll legislative Powers herein granted shall be vested in a Congress

       of the United States, which shall consist of a Senate and a House of Representatives.” U.S. Const.

       art. I, § 1; see also Clinton v. City of New York, 524 U.S. 417, 438 (1998) (“There is no provision

       in the Constitution that authorizes the President to enact, to amend, or to repeal statutes.”).

              214.    Consistent with these principles, the executive acts at the lowest ebb of his

       constitutional authority and power when he acts contrary to the will of Congress by attempting to

       unilaterally decline to spend appropriated funds. See Youngstown Sheet & Tube Co. v. Sawyer, 343

       U.S. 579, 637–38 (1952) (Jackson, J., concurring).

              215.    The Federal Funding Freeze violates the separation of powers because the executive

       branch has overridden the careful judgments of Congress by refusing to disburse funding for

       innumerable federal grant programs. See also ¶¶ 182–90, supra. For example, implementation of

       the categorical, immediate, and indefinite pause on federal funds under the IIJA and IRA

       announced in the Unleashing EO is a clear violation of the separation of powers.

              216.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the Federal

       Funding Freeze—including through the EOs, including the Unleashing EO, and agency actions

       implementing them—violates the constitutional separation of powers doctrine, and impermissibly

       arrogates to the executive power that is reserved to Congress.

              217.    Plaintiff States are further entitled to a preliminary and permanent injunction

       preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,



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       including through implementation of EOs, such as the Unleashing EO, and agency actions

       implementing them.

                                                    COUNT V

                            Violation of the Spending Clause and Tenth Amendment
                                             (Against All Defendants)

               218.     Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

               219.     Federal courts possess the power in equity to grant injunctive relief “with respect

       to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

       U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

       Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable

       jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

       “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

               220.     The Spending Clause of the U.S. Constitution provides that Congress—not the

       Executive—“shall have Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the

       Debts and provide for the common Defence and general Welfare of the United States . . . .” U.S.

       Const. art. I, § 8, cl. 1.

               221.     The Tenth Amendment of the U.S. Constitution provides that “The powers not

       delegated to the United States by the Constitution, nor prohibited by it to the States, are reserved

       to the States respectively, or to the people.” U.S. Const. amend. X.

               222.     When actions by the federal government come in the form of “threats to terminate

       . . . significant independent grants,” the actions “are properly viewed as a means of pressuring the

       States to accept policy changes” and are barred by the Tenth Amendment. Nat’l Fed’n of Indep.

       Bus. v. Sebelius, 567 U.S. 519, 580 (2012).

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              223.    States must also have fair notice of the terms that apply to the disbursement of funds

       to them. See Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17, 25 (1981); Nat’l Fed’n

       of Indep. Bus. v. Sebelius, 567 U.S. 519, 583–84 (2012).

              224.    The Federal Funding Freeze has altered the terms upon which grants were obligated

       and disbursed contrary to Congressional authority. These alterations are coercive, retroactive,

       ambiguous, and unrelated to the purpose of the myriad grants affected.

              225.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

       Federal Funding Freeze—including through the EOs, such as the Unleashing EO, and agency

       actions implementing them—violates the Spending Clause.

              226.    Plaintiff States are also entitled to a preliminary and permanent injunction barring

       the Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including

       through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                                  COUNT VI

                                    Violation of the Presentment Clauses
                                          (Against All Defendants)

              227.    Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

              228.    Federal courts possess the power in equity to grant injunctive relief “with respect

       to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

       U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

       Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable

       jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

       “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).




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               229.    The Constitution prescribes a “single, finely wrought and exhaustively considered[]

       procedure” for enacting legislation: passage of a bill by both houses of Congress and presentment

       to the President for his signature or veto. Immigration & Naturalization Serv. v. Chadha, 462 U.S.

       919, 951 (1983); see U.S. Const. art. I, § 7, cls. 2, 3.

               230.    This procedure is an exclusive one. Therefore, the President’s attempt to

       unilaterally decline to expend funds violates the Presentment Clauses by attempting to repeal

       federal laws that the President dislikes without following the “finely wrought” procedures for

       doing so. Chadha, 462 U.S. at 951

               231.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

       Federal Funding Freeze—including through the EOs, including the Unleashing EO, and agency

       actions implementing them—violates the Presentment Clauses of the U.S. Constitution.

               232.    Plaintiff States are further entitled to a preliminary and permanent injunction

       preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

       including through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                                    COUNT VII

                                     Violation of the Appropriations Clause
                                            (Against All Defendants)

               233.    Plaintiffs incorporate by reference the allegations contained in the preceding

       paragraphs.

               234.    Federal courts possess the power in equity to grant injunctive relief “with respect

       to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

       U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

       Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable




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       jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

       “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

                 235.   The Appropriations Clause provides that “[n]o Money shall be drawn from the

       Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. Art. I, § 9, cl. 7. The

       Appropriations Clause is a “straightforward and explicit command” that “no money can be paid

       out of the Treasury unless it has been appropriated by an act of Congress.” Office of Pers. Mgmt.

       v. Richmond, 496 U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S.

       308, 321 (1937)).

                 236.   Defendants’ unilateral executive action to decline to expend appropriated funds, see

       supra at ¶¶ 109–49 (describing Federal Funding Freeze), therefore infringes on Congress’s

       appropriations power and is unconstitutional.

                 237.   Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

       Federal     Funding    Freeze—including     through    implementation     of   EOs,   including   the

       Unleashing EO, and agency actions implementing them—violates the Appropriation Clause of the

       U.S. Constitution.

                 238.   Plaintiff States are further entitled to a preliminary and permanent injunction

       preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

       including through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                                   COUNT VIII

                                        Violation of the Take Care Clause
                                             (Against All Defendants)

                 239.   The Plaintiff States reallege and reincorporate the foregoing allegations.

                 240.   Plaintiff States incorporate by reference the allegations contained in the preceding

       paragraphs.

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                 241.   The Take Care Clause provides that the Executive must “take Care that the Laws

       be faithfully executed.” U.S. Const. Art. II, § 3; Utility Air Reg. Grp. v. Env’t Prot. Agency, 573

       U.S. 302, 327 (2014) (“Under our system of government, Congress makes laws and the President

       . . . ‘faithfully execute[s]’ them.”).

                 242.   The Executive violates the Take Care Clause where it declines to execute or

       otherwise undermines statutes enacted by Congress and signed into law or duly promulgated

       regulations implementing such statutes. See In re United Mine Workers of Am. Int’l Union, 190

       F.3d 545, 551 (D.C. Cir. 1999) (“the President is without authority to set aside congressional

       legislation by executive order”); Kendall v. United States, 37 U.S. 524, 613 (1838) (rejecting

       argument that by charging the President with faithful execution of the laws, the Take Care clause

       “implies a power to forbid their execution”).

                 243.   Defendants’ conduct in initiating and maintaining the Federal Funding Freeze

       without regard to the individual authorizing statutes, regulations and terms that govern each

       funding stream was contrary to the Executive’s duty to faithfully execute the laws enacted by

       Congress.

                 244.   For example, implementation of the categorical, immediate, and indefinite pause

       on federal funds under the IRA and IIJA announced in the Unleashing EO violated the Take Care

       Clause.

                 245.   Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

       Federal Funding Freeze—including through the EOs, such as the Unleashing EO, and agency

       actions implementing them—violates the Take Care Clause of the U.S. Constitution.




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              246.   Plaintiff States are further entitled to a preliminary and permanent injunction

       preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

       including through the EOs, such as the Unleashing EO, and agency actions implementing them.


                                            PRAYER FOR RELIEF

       WHEREFORE, Plaintiff States pray that this Court:

             i.   Issue a judicial declaration that the Federal Funding Freeze, effected through the

                  Executive Orders, agency actions implementing them, and OMB directives, is

                  unconstitutional and/or unlawful because it violates the APA and the United States

                  Constitution;

            ii.   Pursuant to 5 U.S.C. § 706, vacate Agency Defendants’ actions implementing the

                  Federal Funding Freeze;

           iii.   Preliminarily and permanently enjoin the Agency Defendants from implementing the

                  Federal Funding Freeze;

           iv.    Issue a writ of mandamus compelling the Agency Defendants to immediately cease

                  implementing the Federal Funding Freeze without further delay and to release funds

                  withheld under the Federal Funding Freeze;

            v.    Award the Plaintiff States their reasonable fees, costs, and expenses, including

                  attorneys’ fees, pursuant to 28 U.S.C. § 2412; and

           vi.    Grant other such relief as this Court may deem proper.




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                      United States Court of Appeals
                                      For the First Circuit
                                     ____________________________

       No. 25-1138

         STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF ILLINOIS; STATE OF
       RHODE ISLAND; STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS;
        STATE OF ARIZONA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
          DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAII; STATE OF MAINE;
        STATE OF MARYLAND; STATE OF MICHIGAN; STATE OF MINNESOTA; STATE OF
          NEVADA; STATE OF NORTH CAROLINA; STATE OF NEW MEXICO; STATE OF
        OREGON; STATE OF VERMONT; STATE OF WASHINGTON; STATE OF WISCONSIN,

                                           Plaintiffs - Appellees,

                                                     v.

        DONALD J. TRUMP, in their official capacity as President of the United States; U.S. OFFICE
          OF MANAGEMENT AND BUDGET; RUSSELL THURLOW VOUGHT, in their official
        capacity as Director of the U.S. Office of Management and Budget; U.S. DEPARTMENT OF
        THE TREASURY; SCOTT BESSENT, in their official capacity as Secretary of the Treasury;
       PATRICIA COLLINS, in their official capacity as Treasurer of the U.S.; U.S. DEPARTMENT
        OF HEALTH AND HUMAN SERVICES; DR. DOROTHY A. FINK, in their official capacity
        as Acting Secretary of Health and Human Services; U.S. DEPARTMENT OF EDUCATION;
           DENISE CARTER, in their official capacity as Acting Secretary of Education; FEDERAL
           EMERGENCY MANAGEMENT AGENCY; CAMERON HAMILTON, in their official
               capacity as Acting Administrator of the U.S. Federal Emergency Management; US
       DEPARTMENT OF TRANSPORTATION; SEAN PATRICK DUFFY, in their official capacity
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             CHRISTOPHER ALLEN WRIGHT, in their official capacity as Secretary of the U.S.
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        DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in their official capacity as
        Secretary of the U.S. Department of Homeland Security; U.S. DEPARTMENT OF JUSTICE;
          PAMELA J. BONDI, in their official capacity as Attorney General; NATIONAL SCIENCE
           FOUNDATION; DR. SETHURAMAN PANCHANATHAN, in their official capacity as
                                   Director of the National Science Foundation,

                                          Defendants - Appellants.

                                     ____________________________

                                               JUDGMENT



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                                          Entered: February 13, 2025
                                         Pursuant to 1st Cir. R. 27.0(d)

              Upon consideration of appellants' assented-to motion, it is hereby ordered that this appeal
       be voluntarily dismissed pursuant to Fed. R. App. P. 42(b)(2) with each party to bear its own costs.

              Mandate to issue forthwith.


                                                     By the Court:

                                                     Anastasia Dubrovsky, Clerk



       cc:
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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF RHODE ISLAND


           STATE OF NEW YORK, et al.,

                          Plaintiffs,

                  v.
                                                                   C.A. No. 1:25-cv-00039
           DONALD TRUMP, IN HIS OFFICIAL CAPACITY
           AS PRESIDENT OF THE UNITED STATES, et al.,

                          Defendants.



           SECOND MOTION TO ENFORCE THE COURT’S JANUARY 31, 2025, TEMPORARY
                                RESTRAINING ORDER
                 Plaintiff States, through this motion, respectfully request that the Court use its inherent

       authority to enforce the Temporary Restraining Order entered on January 31, 2025, ECF No. 50,

       subsequent orders regarding the TRO entered on February 10, 2025 (ECF No. 96) and February

       12, 2025 (ECF No. 107), or any preliminary injunction entered by the Court. Plaintiff States

       specifically request that the Court order Defendant the Federal Emergency Management Agency

       (“FEMA”) to provide information on its compliance with the Court’s orders promptly showing

       either that access to the funds identified below has been restored or that FEMA is otherwise

       complying with the TRO. 1 If FEMA is unable to establish compliance, Plaintiff States respectfully

       request that the Court order FEMA to cease freezing obligated funds and that the Court direct that

       notice of such order, along with notice of the court’s TRO, February 10 order, February 12 order

       (ECF No. 50, 96, and 107, respectively), or any other forthcoming Order the Court deems relevant,

       be provided to FEMA’s leadership and staff, as described below, see infra p. 8.



       1
           Plaintiff States are not moving for contempt at this time.
                                                          1

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                The Court’s intervention is necessary because, following the Court’s February 10 order,

       Plaintiff States have continued to experience significant obstacles to accessing federal funds.

       Although Plaintiff States have successfully worked with Defendants to fully or partially restore

       access to certain funds without the Court’s involvement, the parties have reached an impasse as to

       millions of dollars in obligated FEMA awards, which are and have remained frozen dating to as

       early as February 7. The Court should enforce the TRO.

                                         FACTUAL BACKGROUND

           I.      The Court’s Orders

                The Court’s January 31, 2025, TRO prohibited Defendants from “paus[ing], freez[ing],

       imped[ing], block[ing], cancel[ling], or terminat[ing] Defendants’ compliance with awards and

       obligations to provide federal financial assistance to the States,” and provided that “Defendants

       shall not impede the States’ access to such awards and obligations, except on the basis of the

       applicable authorizing statutes, regulations, and terms.” ECF No. 50, at 11. That order expressly

       prohibited the Defendants from using “‘identif[ication] and review’ of federal financial assistance

       programs” to implement a “pause, freeze, impediment, block, cancellation, or termination of

       Defendants’ compliance with such awards and obligations, except on the basis of the applicable

       authorizing statutes, regulations and terms.” Id. at 12. Included among the Defendants for purposes

       of the TRO was the Federal Emergency Management Agency, a defendant named in the original

       Complaint. ECF No. 01, ¶ 41.2

                Following the entry of that order, Plaintiffs conferred with counsel for Defendants about

       ongoing freezes of numerous grants and awards but were unable to reach agreement. ECF No. 66,




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        FEMA remains a defendant in the Amended Complaint because the Department of Homeland
       Security is a defendant.
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       at 7-8. Plaintiffs moved to enforce the TRO on February 7, 2025. ECF No. 66. On February 10,

       2025, the Court granted that motion, ordering among other things that:

                1.     The Defendants must immediately restore frozen funding during the
                pendency of the TRO until the Court hears and decides the Preliminary Injunction
                request.
                2.     The Defendants must immediately end any federal funding pause during
                the pendency of the TRO.
                3.     The Defendants must immediately take every step necessary to effectuate
                the TRO, including clearing any administrative, operational, or technical hurdles
                to implementation.
       ECF No. 96, at 4.
                The Court subsequently issued an order affirming that the TRO “permits the Defendants to

       limit access to federal funds ‘on the basis of the applicable authorizing statutes, regulations, and

       terms’” and clarifying that neither the TRO nor the February 10 order instituted a “preclearance”

       or “prior approval” requirement. ECF No. 107 at 3.

          II.      Federal Grants and Awards Remain Frozen

                Since the Court’s February 10 order, Plaintiff States have worked diligently with counsel

       for Defendants to address compliance issues with the Court’s orders, including providing counsel

       with lists of awards spanning multiple agencies that remained inaccessible even after the Court’s

       orders. See Correspondence between Kate Sabatini and Daniel Schwei, attached as Exhibit D to

       the Affirmation of Theodore McCombs (“McCombs Aff.”). As a result of Plaintiff States’ efforts,

       many funds frozen as of the Court’s February 10 order have now been made available. Id.

                Nevertheless, the parties have reached an impasse as to millions of dollars of FEMA funds

       that have been awarded and obligated but have remained inaccessible to Plaintiff States—some for

       almost three weeks. As of February 28, 2025, at least 140 FEMA grants from at least twenty

       different FEMA grant programs have been frozen or otherwise rendered inaccessible in sixteen



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       Plaintiff States, including Arizona, California, Colorado, Connecticut, Hawaii, Illinois, Maryland,

       Maine, Michigan, North Carolina, New Jersey, New York, Rhode Island, Vermont, Washington,

       and Wisconsin. Funds have been reported frozen as early as February 7, with an increasing number

       of grants reported frozen during the weeks of February 17 and 24. In several cases, the freezes

       apply to multiple grants in the same grant programs spanning several fiscal years. The FEMA grant

       programs subject to freezes include, but are not limited to, the following:

              •       Assistance to Firefighters Grant Program
              •       Building Resilient Infrastructure and Communities (incl. FYs 2020-2023)
              •       Community Assistance Program – State Support Services Element
              •       Cooperating Technical Partners
              •       Emergency Management Performance Grant (incl. FYs 2022-2024)
              •       Emergency Operations Center (incl. FYs 2022-2024)
              •       Emergency Management Preparedness Grant
              •       Flood Mitigation Assistance
              •       Floodplain Mapping Program - Cooperating Technical Partnership Award
              •       Hazard Mitigation Grant Program
              •       Hazard Mitigation Grant Program Post Fire
              •       Homeland Security Grant Program (incl. FYs 2021-2024)
              •       Legislative Pre-Disaster Mitigation (incl. FYs 2022-2023)
              •       Nonprofit Security Grant Program (incl. FYs 2021-2024)
              •       Port Security Grant Program
              •       Pre-Disaster Mitigation (incl. FYs 2019-2024)
              •       Regional Catastrophic Preparedness Grant Program
              •       Safeguarding Tomorrow Revolving Loan Fund Program
              •       Shelter and Services Program Grant
              •       State and Local Cybersecurity Grant Program (incl. FYs 2022-2024)
              •       Targeted Violence and Terrorism Prevention Grant Program
              •       Cooperating Technical Partners (CTP)

       These grants comprise millions of dollars in essential health, safety and welfare funds for wildfire

       prevention response, flood mitigation, and emergency management that are not timely flowing to

       the States. And some states cannot even submit a request for reimbursement, because the system

       blocks them from doing so.

              Plaintiff States have worked diligently with Defendants’ counsel to obtain clarity as to the

       status of these funds. Ex. D to McCombs Aff. On February 18, Counsel initially sent to Plaintiffs’


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       counsel redacted copies of emails dated February 10 and 11 from FEMA. Id. The February 10

       email from the Director of FEMA’s Office of Grants Administration, titled “URGENT: Holds on

       awards,” instructs, “put financial holds on all your awards – all open awards, all years.” Ex. D-1

       to McCombs Aff. (emphasis in original). The February 11 email, from the same director, instructs

       FEMA staff to amend “existing awards” to institute a novel payment review process, taking up to

       30 days, whereby “reimbursement requests will be manually reviewed and manually processed

       upon approval by program/financial staff.” Ex. D-2 to McCombs Aff. This email states,

                      Note that these are not “holds.” We are modifying our programs
                      so that payment requests are now reviewed manually and processed
                      manually. “Holds” implies what we were directed to originally [do]
                      with OMB M-25-13, which was rescinded and a TRO injunction
                      placed. We are not holding on awards, we will still be processing
                      our awards but will be adding a level of internal controls to ensure
                      that payment requests are reviewed prior to payments be[ing]
                      released to recipients.

       Id. (emphasis in original). Notwithstanding this directive, FEMA grants in at least Arizona,

       California, Colorado, Hawaii, Illinois, Maryland, Maine, Michigan, New York, North Carolina,

       Rhode Island, Vermont, Washington, and Wisconsin were frozen, with FEMA’s Payment and

       Reporting System (“PARS”) listing all of these grants as subject to a “Hold” and/or “under review”

       as of February 27. Draw-downs submitted as early as February 7 are still unpaid, and the system

       it generates an error message for many if state agencies attempt to submit a request for

       reimbursement. E.g., McCombs Aff. ¶¶ 6, 17; Ex. A, C to McCombs Aff. (Arizona, California,

       Colorado and New York screen captures).

              Following Defendants’ February 18 email, Plaintiffs tried to resolve the FEMA issues twice

       more, on February 21 and 25. Ex. E to McCombs Aff. While Defendants’ Counsel responded with

       some additional information about the status of the FEMA disbursements, Defendants’ Counsel

       maintained that the delays in these disbursements were not in violation of the TRO. Id.


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                                             LEGAL STANDARD

              Courts may issue further orders to obtain “compliance with a court order.” United States

       v. Saccoccia, 433 F.3d 19, 27 (1st Cir. 2005) (citing McComb v. Jacksonville Paper Co., 336 U.S.

       187, 191 (1949)). In the First Circuit, a party seeking such an order must show: (1) notice of the

       court order; (2) clarity and lack of ambiguity of the order; (3) ability to comply; and (4) violation

       of the order. Letourneau v. Aul, No. CV 14-421JJM, 2024 WL 1364340, at *2 (D.R.I. Apr. 1, 2024)

       (citing Hawkins v. Dep’t of Health & Hum. Servs., 665 F.3d 25, 31 (1st Cir. 2012)).

                                                  ARGUMENT

              Plaintiffs have satisfied the first two factors: FEMA had notice of the Court’s order, and

       the Court has now twice made clear the extent and scope of the TRO. Similarly, the third factor is

       satisfied because FEMA is plainly able to comply with the TRO by releasing frozen funds in

       existing automated payment systems.

              As to the fourth factor, FEMA appears to have violated the TRO. To reiterate, the TRO

       prohibits FEMA from “paus[ing], freez[ing], imped[ing], block[ing], cancel[ling], or terminat[ing]

       [its] compliance with awards and obligations to provide federal financial assistance to the States,”

       except on the basis of the applicable statutes, regulations, and terms. ECF No. 50, at 11. The TRO

       further states that, if an agency “engage[s] in the ‘identif[ication] and review’ of federal financial

       assistance programs, as identified in the OMB Directive, such exercise shall not [e]ffect a pause,

       freeze, impediment, block, cancellation, or termination of [its] compliance with such awards and

       obligations, except on the basis of the applicable authorizing statutes, regulations, and terms.” ECF

       No. 50, at 12.

              FEMA appears to be violating the TRO. FEMA has admitted that it is “engag[ing]” in a

       “review” of federal financial assistance, which is why critical funds are inaccessible to Plaintiff



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       States. The institution of this review coupled with its practical outcome—a categorical and

       indefinite freeze of many FEMA grants—reflects a TRO violation. Moreover, the delays prompted

       by FEMA’s manual review process are significant and indefinite. Some States have requested

       disbursements of funds as long ago as February 7—three weeks ago. Most affected States have

       been unable to access funds for multiple weeks running. And the PARS system that governs access

       to these funds does not even allow Plaintiff States to submit disbursement requests at all. FEMA’s

       insistence that “these are not ‘holds,’” Ex. D-2 to McCombs Aff., is belied by its own disbursement

       system, which informs Plaintiff States attempting to submit requests that there is a “hold” on their

       funds. McCombs Aff. ¶¶ 6, 17; Exs. A, C to McCombs Aff. On these facts, FEMA’s manual review

       process is simply a freeze by another name, and it violates the TRO.

               FEMA has identified no “basis [in] applicable authorizing statutes, regulations, and terms,”

       ECF No. 50, at 11, that could justify its decision to freeze access to these funds. Although the

       February 11 email refers generally to “2 CFR Part 200 principles”—an apparent reference to the

       regulations generally governing federal financial assistance—that passing reference identifies no

       authority that could justify a weeks-long funding freeze of this sort. Ex. D-2 to McCombs Aff. To

       the extent FEMA’s view is that the freeze is authorized by 2 C.F.R. § 200.305(b), that section at

       most applies to non-State recipients, and does not authorize the indefinite suspension of payments

       to States. Cf. Ex. F to McCombs Aff. And neither FEMA nor its counsel has identified any other

       legal authority that might justify freezing Plaintiff States’ access to these funds for fire prevention,

       emergency management, and flood mitigation. The Court should issue an order enforcing its TRO.

                                                RELIEF SOUGHT

               Plaintiff States move the Court, under its inherent powers, to require FEMA, by a date

       certain, to provide to the Court evidence of their compliance with this Court’s January 31, 2025,



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       Temporary Restraining Order and February 10, 2025, Order, or any subsequent orders the Court

       deems relevant, promptly showing either that access to the funds identified herein has been

       restored or that FEMA is otherwise complying with the TRO. If FEMA is unable to establish

       compliance, Plaintiff States respectfully request that the Court order FEMA to immediately halt

       the challenged practice and that the Court direct that notice of such order, along with notice of the

       court’s TRO, February 10 order, February 12 order (ECF No. 50, 96, and 107, respectively), or

       any forthcoming orders the Court deems relevant, be provided to FEMA’s leadership, as well as

       all FEMA staff who administer these grants and other federal financial assistance, with

       confirmation of such notice, including the names of recipients of the notice, no later than 48 hours

       after such order.



       Dated: February 28, 2025                              Respectfully Submitted,

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       **Pro Hac Vice Motion forthcoming




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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND



        STATE OF NEW YORK; et al.,

                       Plaintiffs,

                v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

        DONALD TRUMP, in his official capacity as President
        of the United States; et al.,

                       Defendants.




                               AFFIRMATION OF THEODORE MCCOMBS

              THEODORE MCCOMBS, an attorney admitted to practice pro hac vice before this

       Court and admitted to practice before the courts of the State of California, does hereby state the

       following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

               1.     I am Theodore McCombs, Deputy Attorney General in the Office of the Attorney

       General for the State of California, and I appear on behalf of the State of California in this action.

              2.      I submit this declaration in support of Plaintiff States' Second Motion to Enforce

       the Court's January 31, 2025, Temporary Restraining Order (ECF No. 50), and subsequent

       orders regarding the TRO entered on February 10, 2025 (ECF No. 96) and February 12, 2025

       (ECF No. 107). The facts set forth herein are based upon my personal knowledge and/or a review

       of the files in my possession.

              3.      In this declaration, I highlight several grants from the Federal Emergency

       Management Agency (FEMA) to state agencies in Arizona, California, Colorado, Hawaii,

       Illinois, Maine, Maryland, Michigan, New Jersey, New York, Vermont, Washington, and

       Wisconsin that remain frozen and unavailable for drawdown.



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              4.      The Arizona Department of Emergency and Military Affairs is the recipient of an

       Emergency Management Performance Grant for Fiscal Year 2024. As of February 20, 2025,

       award of the grant is delayed pending review and approval of the Office of the Chief Counsel for

       compliance with the President's Executive Order.

              5.      The Arizona Department of Homeland Security is the recipient of a grant under

       the Nonprofit Security Grant Program for Fiscal Years 2022 (grant number EMW-2022-UA-

       00008) and 2023 (grant number EMW-2023-UA-00017). On February 19, 2025, a hold was

       placed on both the 2022 and 2023 grants. A true and correct screen capture of the Payment and

       Reporting System ("PARS") portal reflecting freezes of the 2022 and 2023 grants is attached as

       Exhibit A.

              6.      The California Governor's Office of Land Use & Climate Innovation (LCI),

       formerly the Office of Planning & Research, is the recipient of a Cooperative Technical

       Partnership grant (grant number CA-EMF-2022-00014) under the National Flood Insurance

       Program. On February 21, 2025, a hold was placed on LCI's grant. On February 24, FEMA staff

       responded to LCI's inquiry, "No FEMA funding is paused but the agency does continue to

       review program delivery to ensure alignment with all White House directions and Executive

       Orders." A true and correct screen capture of the PARS portal reflecting the freeze is reproduced

       below, and a true and correct copy ofFEMA's February 24, 2025 email is attached as Exhibit B.

                         GRANT INFORMATION for: EMF-2022-CA-00014
                                      Grant Number: EMF-2022-CA-00014
                                      Grantee Name: GOVERNORS OFFICE OF PLANNING & RESEARCH
                                    Acceptance Date: 09/27/2022

                                              Holds?    U,.M"1••·"M"M•
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                                                         02/21/2025         $ 254000



                                       Grant Amount            254,000.00
                         Amount Pravlously Dispensed:          204,299.53 ~1a1ymen1 history,
                                     Amount On Hold:            254000.00
                                    Amount Available:                   0.0 0 ~                     ~




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Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:160-1
                                   Document  320               Date 02/28/25
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                                                                                 Page 3 ofEntry ID: 6724072
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                                         #: 7970



              7.      The Colorado Department of Natural Resources is the recipient of thirty-four

       grants under the Floodplain Mapping Program - Cooperating Technical Partnership Award from

       Fiscal Years 2018 through 2022, all of which have been on hold in PARS since February 21

       (grant numbers EMD-2022-CA-00022, EMD-2022-CA-00027, EMD-2022-CA-00024, EMD-

       2022-CA-00028, EMD-2022-CA-00018, EMD-2022-CA-00020, EMD-2020-CA-00020, EMD-

       2022-CA-00024, EMD-2020-CA-00021, EMD-2019-CA-00049, EMD-2022-CA-00023, EMD-

       2019-CA-00037, EMD-2019-CA-00038, EMD-2020-CA-00025, EMD-2019-CA-00057, EMD-

       2018-CA-00014, EMD-2021-CA-0027, EMD-2021-CA-0025, EMD-2019-CA-00050, EMD-

       2022-CA-00021, EMD-2021-CA-0029, EMD-2021-CA-0026, EMD-2022-CA-00018, EMD-

       2019-CA-00034, EMD-2020-CA-00027, EMD-2018-CA-00011, EMD-2019-CA-00028, EMD-

       2020-CA-00021, EMD-2021-CA-0025, EMD-2019-CA-00031, EMD-2021-CA-0024, EMD-

       2021-CA-0029, EMD-2022-CA-00023, and EMD-2021-CA-0028) A true and correct screen

       capture of the PARS portal reflecting the freeze for 2022 grant number EMD-2022-CA-00022 is

       attached as Exhibit C.

              8.      The Colorado Division of Homeland Security & Emergency Management is the

       recipient of Emergency Operations Center Grant Program grants for Fiscal Years 2023 and 2022

       (grant numbers EMD-2023-EO-00003 and EMD-2022-EO-00001), Homeland Security Grant

       Program grants for Fiscal Years 2023, 2022, 2021 (grant numbers EMW-2023-SS-00050, EMW-

       2022-SS-00041, EMW-2021-SS-00044), Nonprofit Security Grant Program grants for Fiscal

       Years 2023, 2022, and 2021 (grant numbers EMW-2023-UA-00047, EMW-2022-UA-00040,

       and EMW-2021-UA-00081), State and Local Cybersecurity Grant Program grants for Fiscal

       Years 2023 and 2022 (grant numbers EMW-2023-CY-00061, EMW-2022-CY-00045), and

       Targeted Violence and Terrorism Prevention Grant Program grants for Fiscal Year 2023 (EMW-




                                                    A386
Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:160-1
                                   Document  321               Date 02/28/25
                                                               Filed Filed: 05/27/2025
                                                                                 Page 4 ofEntry ID: 6724072
                                                                                           37 PageID
                                         #: 7971



       2023-GR-00129). These grants have been reported as becoming inaccessible for payment

       between February 19th and 2ist and remain frozen.

              9.      The Colorado Division of Homeland Security & Emergency Management is also

       the recipient of a Shelter and Services Program Grant. The agency has received correspondence

       from FEMA claiming that it is out of compliance with various requirements of federal law, and

       that FEMA intends to claw back the grant funds.

              10.     The Hawaii Department of Law Enforcement is a recipient of Homeland Security

       Grant Program grants for Fiscal Years 2021, 2022, 2023, and 2024 (grant numbers EMW-2021-

       SS-00030, EMW-2022-SS-00026, EMW-2023-SS-00026, and EMW-2024-SS-05015);

       Nonprofit Security Grant Program grants for Fiscal Years 2022, 2023, and 2024 (grant numbers

       EMW-2022-UA-00027, EMW-2023-UA-00028, and EMW-2024-UA-05010); and State and

       Local Cybersecurity Grant Program grants for Fiscal Years 2022, 2023, and 2024 (grant numbers

       EMW-2022-CY-00024, EMW-2023-CY-00021, and EMW-2024-CY-05274). These funds have

       been reported to be inaccessible in PARS since at least February 25, 2025.

              11.     The Illinois Emergency Management Agency-Office of Homeland Security is the

       recipient of Homeland Security Grant Program grants for Fiscal Years 2021, 2022, and 2023

       (grant numbers EMW-2021-SS-0001, EMW-2022-SS-00025, and EMW-2023-SS-00013), and

       Nonprofit Security Grant Program grants for Fiscal Years 2021, 2022, and 2023 (grant numbers

       EMW-2021-UA-0002, EMW-2022-UA-00013, and EMW-2023-UA-00013. As of February 20,

       2025, these grants appeared as "On Hold" in PARS. The Maine Emergency Management

       Agency is the recipient of Homeland Security Grant Program grants for Fiscal Years 2021, 2022

       and 2023 (grant numbers EMW-2021-UA-00065, EMW-2022-UA-00032, and EMW-2023-UA-

       00012) and Nonprofit Security Grant Program Grants for 2021, 2022, and 2023 (grant numbers




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       EMW-2021-UA-00057, EMW-2022-UA-00032, and EMW-2023-UA-00012), as well as a

       Emergency Management Performance Grant (EMB-2023-EP-00004) and a Pre-Disaster

       Mitigation grant (EMB-2023-PD-004). No funds have been received since February 10 to cover

       regular reimbursed expenses and "holds" were placed on these grants in PARS between February

       18 and 21.

              12.    The Maryland Department of Emergency Management is the recipient of

       Homeland Security Grant Program grants for Fiscal Years 2021, 2022, and 2023 (grant numbers

       EMW-2021-SS-00047, EMW-2022-SS-00009, EMW-2022-SS-00009, EMW-2023-SS-00011,

       EMW-2023-SS-00011), Nonprofit Security Grant Program grants for Fiscal Years 2022 and

       2023 (grant numbers EMW-2022-UA-00006-S0l and EMW-2023-UA-00010), and State and

       Local Cybersecurity Grant Program grants for Fiscal Years 2022 and 2023 (grant numbers

       EMW-2022-CY-00028-501 and EMW-2023-CY-00006), as well as a Targeted Violence

       Prevention Program grant (grant number EMW-2022-GR-00056-S0l), a Regional Catastrophic

       Preparedness Grant Program grant (grant number EMP-2022-CA-00011), and an Emergency

       Management Performance Grant (grant number EMP-2023-EP-0001). Holds were placed on

       each of these grants between February 21 and 27.

              13.    The Michigan State Police are recipients of Homeland Security Grant Program

       grants for Fiscal Years 2022 and 2023 (grant numbers EMW-2022-SS-00031 and EMW-2023-

       SS-00022) and Nonprofit Security Grant Program Grants for 2021, 2022, and 2023 (grant

       numbers EMW-2021-UA-00050, EMW-2022-UA-00031, and EMW-2023-UA-00039). Draws

       were submitted for the Nonprofit Security Grant on February 7; for the 2022 Homeland Security

       Grant Program grant on February 12; and for the 2023 Homeland Security Grant Program grant




                                                   A388
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       on February 14. None of the grants have been disbursed in PARS. On February 19, a hold was

       placed on the Nonprofit Security Grant Program grants in PARS.

              14.     The Michigan State Police are also recipients of a Safeguarding Tomorrow

       Revolving Loan Program grant for Fiscal Year 2024. The grant had initially been approved in

       September 2024 and since then had been in "final review." On February 18, 2025, the Regional

       Administrator stated that the terms and conditions of the grant were "being reviewed to ensure

       consistency with the President's Executive Orders."

              15.     The New Jersey Department of Environmental Protection (NJDEP) is the

       recipient of a grant under the Community Assistance Program - State Support Services Element

       (CAP-SSSE), established by the National Flood Insurance Act of 1968. The grant number is

       EMN-2024-GR-05017. On February 18, 2025, NJDEP received a stop work order from the

       FEMA CAP-SSSE Program Lead for all activities relating to the terms "Disadvantaged,

       Marginalized, Underserved, Low-Income, Environmental Justice, Climate, Equity, Equitable,

       Inclusion, Diversity, Minority, Affrrmative Action, Accessibility, Culture, Federal Flood Risk

       Management Standard (FFRMS), and Justice 40."

              16.     The New York Department of Environmental Conservation is the recipient of a

       CAP-SSSE grant. New York has received a stop work order from the FEMA CAP-SSSE

       Program Lead for all activities relating to the terms "Disadvantaged, Marginalized, Underserved,

       Low-Income, Environmental Justice, Climate, Equity, Equitable, Inclusion, Diversity, Minority,

       Affirmative Action, Accessibility, Culture, Federal Flood Risk Management Standard (FFRMS),

       and Justice 40."

              17.     The New York Division of Homeland Security and Emergency Services

       administers Preparedness and Disaster Recovery grants from FEMA. Between February 18 and




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      Case 1:25-cv-00039-JJM-PAS       Page:160-1
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       21 , 2025, DHSES learned that all FEMA Preparedness Grants for FY 2020, FY 2021, FY 2022,

       and FY2023 have holds that prevent DHSES from submitting drawdown requests on PARS.

       Similarly, DHSES learned on February 21 that all Hazard Mitigation Assistance Grants for FY

       2019-2024 had holds on drawdowns. Among the Preparedness grants that are affected are:

       Homeland Security Grant Program (HSGP), Nonprofit Security Grant Program (NSGP),

       Regional Catastrophic Grant Program (RCPGP), Emergency Management Performance Grant

       (EMPG), Emergency Management Performance Grant-American Rescue Plan Act (EMPG-

       ARPA), Emergency Operations Center Grant Program (EOCGP) and Targeted Violence and

       Terrorism Prevention (TVTP). Among the Hazard Mitigation Assistance Grants that are on hold

       are pre-Disaster Mitigation, Flood Mitigation Assistance, SWIFT Current (subset ofFMA),

       Revolving Loan Fund (STORM Act), and Legislative Pre-Disaster Mitigation (Congressional

       Community Grants). All told, New York has hundreds of millions of dollars in FEMA grants that

       are inaccessible. When New York attempts to submit a drawdown request they have gotten error

       messages, of which the below true and correct screen capture is an example:
                                                       J     l     .I           I

                      then click the "Submit Payment Request" button.

                      The following errors have occurred:
                          INVALID PAYMENT AMOUNT REQUESTED! This grant has S0 .00
                          available. You may only request up to an amount of 0.00. Please enter a
                          valid payment request amount and try again.

                       GRANT INFORMATION for: EMN-2020-PC-000,1
                                     Grant Number: EMN-2020-PC-0001
                                     Graniee Name: HOMELAND SECURITY AND EMERGENCY SER
                                   Acceptance Dal!!: 07/20/2021

                                                           ■IMH•MM
                                            Holds?
                                                                  Hold Amount
                                                           02/21 /2025       :f> 11861145.55


                                      Grant Amoont           11.861, 145..55
                       Amount ·Previously DlspenS8d:                10,747.57 view P-fil'.menl history
                                   Amount On Hold:               11361145..55
                                  Amounl Avalable:                       0.00 cancel PJ!Y.ment reguesl




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                          Payment RflQUl!IS'! Amount $ 111461.00
                                                       '--------'
                                                                                    IEnter the requested amount in dollars.



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      Case 1:25-cv-00039-JJM-PAS       Page:160-1
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                                                                                   Page 8 ofEntry ID: 6724072
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                                         #: 7975



              18.     The Vermont Agency of Natural Resources is the recipient of a CAP-SSSE grant.

       The agency has received a stop work order from the FEMA CAP-SSSE Program Lead for all

       activities relating to the terms "Disadvantaged, Marginalized, Underserved, Low-Income,

       Environmental Justice, Climate, Equity, Equitable, Inclusion, Diversity, Minority, Affirmative

       Action, Accessibility, Culture, Federal Flood Risk Management Standard (FFRMS), and Justice

       40."

              19.     The Washington Military Department Emergency Management Division is the

       recipient of multiple FEMA public assistance grants. As of February 17, 2025, reimbursement of

       the funds were being held "under review" by FEMA.

              20.     The Wisconsin Department of Military Affairs is the recipient of Homeland

       Security grants for 2021, 2022, and 2023 (grant numbers EMW-2021-SS-00068, EMW-2022-

       SS-00035, and EMW 2023-SS-00041), and Nonprofit Security Grant Program grants for 2021,

       2022, and 2023 (grant numbers EMW-2021-UA-00060, EMW-2022-UA-00039, and EMW-

       2023-UA-00023). As of February 21, 2025, the Wisconsin Department of Military Affairs has

       been unable to draw down these grants.

              21.     Counsel for the parties has conferred extensively on these FEMA grants, as well

       as other disruptions to awarded funding. On February 11, Plaintiffs counsel sent a chart of still-

       frozen awards under the Infrastructure Investment and Jobs Act ("IIJA") and Inflation Reduction

       Act ("IRA"). In the same email, Plaintiffs counsel raised public reporting that the Director of

       the Office of Grant Administration for FEMA has directed her team to put financial holds on all

       awards for fiscal years 2021, 2022, 2023, and 2024. In emails dated February 12, 13, and 14,

       counsel continued to confer on whether FEMA had instituted a categorical freeze on awards, and

       on February 18, Defendants' counsel provided redacted copies of two communications from the




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                                                                   Filed Filed: 05/27/2025
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                                         #: 7976



       Director of the Office of Grants Administration, dated February 10 and 11. A true and correct

       copy of the February 11 to 18 emails is attached as Exhibit D, with true and correct copies of the

       February 10 and 11 redacted emails attached as Exhibits D-1 and D-2, respectively.

                22.     Over February 21 to 26, Plaintiffs' counsel continued to confer on FEMA grants

       as well as a similar issue with the Department of Energy's payment review process for IIJA/IRA

       funds. On the FEMA grants, the parties appear to have reached an impasse, with Defendants'

       counsel asserting that the manual payment review process resulting in widespread holds in PARS

       is neither a "hold" nor a "freeze." A true and correct copy of the February 21 to 26

       correspondence is attached as Exhibit E.

                23.     On February 28, shortly before filing the present motion, several Plaintiff States,

       including California, Illinois, and New York, received an email from the FEMA Recovery

       Directorate, stating that FEMA is implementing "an additional review process of allocations

       before releasing funds for all grants" and that "payment requests may take up to 30 days to

       process." The email cites "2 C.F.R. Part 200." A true and correct copy of the FEMA Recovery

       Directorate's email is attached as Exhibit F.



       I declare under penalty of perjury under the laws of the State of California and the United

       States of America that the foregoing is true and correct.



       Dated:         San Diego, California
                      February 28, 2025




                                                                                   ombs
                                                              Offic           torney General
                                                              State of California




                                                       A392
Case: Case
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           1:25-cv-00039-JJM-PAS        Page:
                                   Document   327
                                            160-1    Date02/28/25
                                                    Filed Filed: 05/27/2025
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                                                                                37 PageID
                                          #: 7977




                             Exhibit A




                                           A393
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   328
                                            160-1                             Date02/28/25
                                                                             Filed Filed: 05/27/2025
                                                                                              Page 11 ofEntry ID: 6724072
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                                          #: 7978




                      Ma in


Grant       Grant Maintenance
Maintenance
Payment      Request a Payment
Requests     This section allows you to request a payment from your grant.


Your Vendor
              STEP 2:
Number is:    Enter the dollar amount of your payment request in the space provided below.
866004801     then click the "Submit Payment Request" button.

              GRANT INFORMATION for: EMW-2022-UA-00008
                           Grant Number: EMW-2022-UA-00008
                           Grantee Name: HOMELAND SECURITY, ARIZONA OFFICE OF
                         Acceptance Date: 09/28/2022
                                  Holds?
                                              i@H·@M    Hold Amount

                                               02/19/2025    $   528053.27


                              Grant Amount:       2,906,542.10
              Amount Previously Dispensed:        2,378,488.83 view gayment history
                          Amount On Hold:           528053.27
                         Amount Available:                0.00 cancel ggyment reguest




                 Payment Request Amount: $ o.oo                    Enter the requested amount in dollars.
                    Period Covered FROM:
                                              L
                       Period Covered TO:
                                              L        _J O

                                              SUBMIT PAYMENT REQUEST



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Case: Case
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                                   Document   329
                                            160-1                            Date02/28/25
                                                                            Filed Filed: 05/27/2025
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Grant       Grant Maintenance
Maintenance
Payment      Request a Payment
Requests     This section allows you to request a payment from your grant.


Your Vendor
              STEP 2:
Number is:    Enter the dollar amount of your payment request in the space provided below.
866004801     then click the "Submit Payment Request" button.

              GRANT INFORMATION for: EMW-2023-UA-00017
                           Grant Number: EMW-2023-UA-00017
                           Grantee Name: HOMELAND SECURITY, ARIZONA OFFICE OF
                         Acceptance Date: 08/31/2023
                                  Holds?
                                              i@H·@M    Hold Amount

                                               02/19/2025    $ 1291146.67


                              Grant Amount:       4,075,729.00
              Amount Previously Dispensed:        2,784,582.33 view gayment history
                          Amount On Hold:          1291146.67
                         Amount Available:                0.00 cancel ggyment reguest




                 Payment Request Amount: $ o.oo                    Enter the requested amount in dollars.
                    Period Covered FROM:
                                              L
                       Period Covered TO:
                                              L        _J O

                                              SUBMIT PAYMENT REQUEST



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                                   Document   330
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                                                    Filed Filed: 05/27/2025
                                                                     Page 13 ofEntry ID: 6724072
                                                                                37 PageID
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                             Exhibit B




                                           A396
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   331
                                            160-1                             Date02/28/25
                                                                             Filed Filed: 05/27/2025
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                                                                                                         37 PageID
                                          #: 7981

        From:
        To:
        Cc:                FEMA-R9-Grants-Services-Action-Office;
        Subject:           RE: Revision Needed: SF-425 for Award EMF-2022-CA-00014
        Date:              Monday, February 24, 2025 2:33:10 PM
        Attachments:       image001.png
                           image002.png


        Hi

        No FEMA funding is paused but the agency does continue to review program delivery to ensure
        alignment with all White House directions and Executive Orders.

        Thank you,


        Grants Management Specialist | Grants Management Division | Region 9
        Mobile:



        From:
        Sent: Monday, February 24, 2025 10:58 AM
        To: FEMA-R9-Grants-Services-Action-Office
        Cc:
        Subject: Re: Revision Needed: SF-425 for Award EMF-2022-CA-00014

        CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize
        and/or trust the sender. Please select the Phish Alert Report button on the top right of your screen to report this
        email if it is unsolicited or suspicious in nature.


        Hi

        I hope this email finds you well. I was just informed by my accounting team that our award,
        EMF-2022-CA-00014 was placed on hold, effective 02/21. Can you share any insight on why
        this hold was placed?

        Best,




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           1:25-cv-00039-JJM-PAS        Page:
                                   Document   332
                                            160-1    Date02/28/25
                                                    Filed Filed: 05/27/2025
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                             Exhibit C




                                           A398
Case: Case
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                                   Document   333
                                            160-1                                                               Date02/28/25
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                                                        Main

  Grant Maintenance        Grant Maintenance
  Payment Requests
                             Request a Payment
                             This section allows you to request a payment from your grant.
  Your Ven.dor Number is
  840644739E
                             STEP 2:
                             Enter the dollar amount of your payment request in the space provided below.
                             then click the · s u bm~ Pay ment Request" butto n.

                             GRANT INFORMATION for: EMD-2022-CA-00022
                                           Grant Numbef:    EMD-2022-cA-00022
                                           Grantee Name: DEPARTMENT OF NATURAL RESOURCES COLORADO
                                        Aa:eplarx:e Dale: 1004/2023

                                                  Hdds?      ■IWMM■IMfri::1+1:11
                                                               02/2112025    $ 1887751



                                           Grant Amoont          1.887.751.00
                             Amount PreYlously Dtspensed:          417.903.00 view 11.a vment histo[Y
                                         Amounl On Hold:          1887751.00
                                        Amount Avalable:                 0.00 cancel ~v.ment reguest




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Case: Case
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           1:25-cv-00039-JJM-PAS        Page:
                                   Document   334
                                            160-1    Date02/28/25
                                                    Filed Filed: 05/27/2025
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                             Exhibit D




                                           A400
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   335
                                            160-1                                            Date02/28/25
                                                                                            Filed Filed: 05/27/2025
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                                                                                                                        37 PageID
                                          #: 7985




        From: Schwei, Daniel S. (CIV)
        Sent: Tuesday, February 18, 2025 5:03 PM
        To: Kate Sabatini
        Cc: Sarah Rice                    ; Muqaddam, Rabia                                     ; Thomas-Jensen, Molly
                           ; Freidah, Andrew F. (CIV)                                 ; Sirkovich, Eitan R (CIV)
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        As noted in my e-mail below, attached are redacted copies of the two FEMA e-mails.

        From: Schwei, Daniel S. (CIV)
        Sent: Tuesday, February 18, 2025 5:02 PM
        To: 'Kate Sabatini'
        Cc: Sarah Rice                    ;                                ;                                  ; Freidah, Andrew F. (CIV)
                                       ; Sirkovich, Eitan R (CIV)
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Kate,

        Regarding FEMA, I still do not think there is any basis for your continued concerns. You have not identified any funding that has
        actually been “held” or otherwise paused, and as I’ve already explained, the press reports do not convey the full picture in light of the
        subsequent February 11 e-mail making clear that FEMA is “not holding on awards.” Thus, I do not think there is any basis for
        raising this issue with the Court, and certainly not on any sort of expedited timeline. Nonetheless, in an effort to demonstrate our
        good faith (and without conceding that any inquiry into Defendants’ internal processes or documents is warranted), I will attach
        redacted copies of the two communications in a follow-up message (to avoid any file-size issues). I believe that these should resolve
        the matter.

        For CDC, I believe this issue is now moot – I’m told that the relevant grants have been approved for release. All Notices of Awards
        should have been issued earlier this afternoon, though recipients may not see the awards until later tonight or tomorrow.

        Finally, on EPA IRA/IIJA grants, EPA has informed me that I can represent the following to you all: “EPA intends to clear any
        remaining pauses on IRA/IIJA funds disbursement. As of 10am on February 18, 2025, the Office of the Chief Financial Officer is
        still in the process of unlocking the relevant accounts. That work should be completed no later than the morning of February 19th.”

        Thank you,
        Daniel



        From: Kate Sabatini                       >
        Sent: Monday, February 17, 2025 7:43 PM
        To: Schwei, Daniel S. (CIV)                            >
        Cc: Sarah Rice <                >;                              ;                                     ; Freidah, Andrew F. (CIV)
                                     >; Sirkovich, Eitan R (CIV) <                           >
        Subject: [EXTERNAL] RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Daniel:

        Regarding FEMA, thank you for alerting us to the communications. If you are able to provide them to us, that would help us evaluate whether
        we can avoid motion practice on this matter.

        With respect to IRA/IIJA, we have yet to hear any reassurance from you that, as to a vast majority of the grants—including several highlighted in
        Plaintiff States’ first motion to enforce—those funds are not being paused or frozen in violation of the TRO. Indeed, we have received no
        information from you whatsoever regarding the reasons for these continued disruptions. Please confirm to us no later than 5 pm EST tomorrow
        (Tuesday) that all pauses or freezes of these funds have been ended, so that we can avoid further motion practice.




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        Anally, we would like to return to the issue of the CDC Rape Prevention and Education Grants. In addition to Californ ia, we have now learned
        that New York's RPE Grants are suspended. You previously said that this was being done independently as an exercise of "agency discretion."
        But the authorizing statute does not provide the agency with any discretion. See 42 U.S.C. § 280b-1 b (''The Secretary . . . shall award targeted
        grants to States . . . ."). This is squarely covered by the Court's TRO. As with the IRNIIJA grants, we ask that you confirm to us no later than 5
        pm EST tomorrow (Tuesday) that all such pauses or freezes have been ended, so that we can avoid motion practice.

        Best,
        Kate


           Kathryn M. Sabatini (she/her)
           Special Assistant Attorney General
           Chief I Civil Division
           Office of the Attorney General
                          •         Providence RI - 02903
                                                                                                                               Ii]

                                      www.nag.n.gov I


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        From : Schwei, Da niel S. (CIV)                              >
        Sent: Friday, February 14, 2025 6:12 PM
        To : Kate Sabatini                        >
        Cc: Sarah Rice                                                                                            ; Freidah, An drew F. {CIV)


        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Com pliance


        [External email: Use caution with links and attachments]
        Sony, one more technical clarification from DOE given the complexity of these programs. Payment to New York under the Methane
        Emissions Reduction Program (MERP) may not be ripe yet because there may still be some negotiations required between DOE and
        the State. So DOE's intent to make those payments is subject to the required negotiations.

        Thank you,
        Daniel

        From : Schwei, Da niel S. (CIV)
        Sent: Fri day, February 14, 2025 5 :32 PM




        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Com plia nce


        Sony, a couple slight corrections regarding DOE. First, the HER/HERE payment to NYSERDA has been approved, and I
        understand that HER/HERE payments for other states are in line for approval, but I'm not sure if those other states' payments have
        actually yet been approved. Second, regarding the spreadsheet, Solar for All is listed as a DOE program but it's an EPA program -
        so DOE "currently intend[ing] to make those payments," as stated in my email below, would not extend to Solar for All which is not
        their program.

        Thank you,
        Daniel

        From : Schwei, Daniel S. (CIV)
        Sent: Fri day, February 14, 2025 4:57 PM




        Subject: RE: CA2 5-39JJM State of NY, et al. v. Trump, et al. : TRO Com plia nce


        Kate,

        Following up on the Department of Energy grants, with reference to the spreadsheet you provided in your e-mail of Tuesday



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        (February 11) at 4:55pm, my understanding is that Department of Energy currently intends to make those payments. I’m told that the
        HER/HERE payment to New York (NYSERDA) has already been approved for payment ($25,935.84 most recently), as well as
        HER/HERE payments to other states.

        Regarding FEMA, I now have copies of two communications – both the February 10 e-mail (mentioned in news reports) and a
        follow-up February 11 e-mail making clear that “[w]e are not holding on awards, we will still be processing our awards but will be
        adding a level of internal controls to ensure that payment requests are reviewed prior to payments be released to recipients[.]” They
        are fairly programmatic in nature and I would not want them released publicly without review for potential redactions. But if
        providing copies would help avoid unnecessary motion practice, I am open to doing that – please let me know.

        Thank you,
        Daniel



        From: Schwei, Daniel S. (CIV)
        Sent: Friday, February 14, 2025 2:23 PM
        To: Kate Sabatini <                     >
        Cc: Sarah Rice <                 >;                                                                    Freidah, Andrew F. (CIV)
        <                             >; Sirkovich, Eitan R (CIV) <                            >
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Kate,

        Regarding “account suspensions in ASAP,” I am not entirely sure as to which agency or grants you’re referring. I assume that most
        of them are EPA grants (based on the spreadsheet you sent over earlier). We have again passed along your concerns to EPA and they
        are aware of the Court’s Orders. Unfortunately, I don’t have further information from EPA that I can share with you at this time.

        To the extent the account suspensions in ASAP are also the Department of Energy grants listed on your earlier spreadsheet, DOE is
        looking into those. I may have more information soon about payments on the accounts listed in that spreadsheet, and will pass along
        any further information when I receive it.

        For the CDC award referenced below, my understanding is that the program involved was paused based on a directive from the
        Acting Secretary on January 21, 2025 to pause issuing documents and public communications, which was done independently of the
        EOs and the OMB Memo. Because it was based on agency discretion separate from the OMB Memo and the EOs, it falls outside the
        scope of the TRO.

        On FEMA, my understanding continues to be that, outside of a small number of programs such as SSP (as noted below), the press
        reports are inaccurate as to a general pause on funding. Despite your concerns based on those news reports, you have not identified
        any funding that has actually been “held” or otherwise paused. If you can identify specific funding that the Plaintiffs have not been
        able to access from FEMA, we can try to resolve any concerns regarding those specific items.

        When I have further information to report, I’ll let you know.

        Thank you,
        Daniel



        From: Kate Sabatini                        >
        Sent: Thursday, February 13, 2025 9:21 PM
        To: Schwei, Daniel S. (CIV) <                           >
        Cc: Sarah Rice <                 >;                                                                   ; Freidah, Andrew F. (CIV)
                                      >; Sirkovich, Eitan R (CIV) <
        Subject: [EXTERNAL] RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Daniel:

        The account suspensions in ASAP the states and nonprofits within our states have been experiencing appear to be continuing today, days after
        we first notified you of this issue. The January 31, 2025 TRO specified that to the extent the Defendants were engaged in any “‘identif[ication]
        and review’ of federal financial assistance programs, . . . , such exercise shall not affect a pause, freeze, impediment, block, cancellation, or
        termination of Defendants’ compliance with such awards and obligations.” The Court has further clarified that “The Defendants must comply
        with the plain text of the TRO not to pause any funds based on pronouncements pausing funding incorporated into the OMB Directive, like
        Section 7(a) of the Unleashing Executive Order, and the OMB Unleashing Guidance. The TRO requirements include any pause or freeze
        included in the Unleashing Guidance,” and “The Defendants must immediately restore withheld funds, including those federal funds
        appropriated in the Inflation Reduction Act and the Infrastructure Improvement and Jobs Act. The directives in OMB M-25-11 are included in



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        theTRO."


        Plaintiff States still cannot access the federal funds appropriated in the Inflation Reduction Act and the Infrastructure Improvement and Jobs
        Act (nor the DERA clean diesel grants we mentioned in my previous email) in what seems to be a sweeping deletion of many of their grant
        accounts in ASAP. Furthermore, we are hearing that states may have to stop work on programs funded by these awarded grants. Given these
        facts, please explain why Defendants beUeve they are in compliance with the TRO. If there are any communications from EPA or other
        defendant agencies related to the account deletions in ASAP, please provide them.


        Further, the detail you have provided regarding FEMA does not reassure the Plaintiff States that there is compliance with the TRO.
        Public reporting referenced a communication that ordered a general pause in funding. Your answer that FEMA is developing a review
        process does not answer whether FEMA is in compliance with the Order - it only raises more questions. Moreover, we note that the
        Order prohibits any such review from delaying or impeding funding. Can you provide the publicly reported communication please? If
        there were subsequent communications withdrawing that communication or otherwise modifying it, please provide those as well


        Flnally, I wanted to share CA's CDC grant number: CDC-RFA-CE-24-0027


        Thank you,
        Kate


            Kathryn M. Sabatini (she/her)
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        From : Schwei, Dan iel S. (CIV)                              >
        Sent: Wednesday, Febru ary 12, 202 5 7:47 PM
        To: Kate Sabat ini                        >
        Cc : Sara h Rice                                                                                          ; Freidah, And rew F. (CIV)
                                                                                                   >
        Subject: RE: CA2 5-39JJM State of NY, et al. v. Trump, et al. : TRO Com plia nce


        [External email: Use caution with links and attachments]
        Kate,

        Regarding California's OJJDP Title II grant, I'm told that there is a hold in place on that grant and that the hold has been in effect
        since December 6, 2024, which is the same date that the award itself was made.

        My understanding is that, when reviewing California's application for Title II funding, OJJDP determined that the application lacked
        required information (or provided information that needed clarification in order for OJJDP to determine sufficiency). OJJDP
        nonetheless elected to make the award, but informed the State that drawdowns would be held under the award until such time as tlle
        State provided the missing information. The hold is still in effect because the State has not yet provided the required information to
        OJJDP. I'm told that OJJDP has been working with California to obtain tlle required information, and California is well aware of
        what the condition is and why tlle hold is in place.

        In light of the above, I don 't see how this hold relates to the issues in this case or any aspect of TRO compliance.

        --Daniel

        From : Schwei, Daniel S. (CIV)
        Sent: Wednesday, February 12, 202 5 6:05 PM


        Cc: Sarah Rice                                                                                              Freidah, And rew F. {CIV)


        Subject: RE: CA2 5-39JJ M State of NY, et al. v. Trump, et al. : TRO Co mplia nce


        Kate,



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        I have passed along your concerns (both in this email and from last night) to EPA and am trying to get more information that I can
        provide to you all.

        On FEMA, my understanding is that, with the exception of a small number of programs (such as the Shelter and Services Program,
        addressed in the Hamilton declaration filed last night), FEMA has not implemented a categorical pause or freeze on reimbursements
        for FEMA grants, but rather is developing a review process for payment requests, as part ofFEMA' s own statutory and regulatory
        authorities.

        My contact at DOJ-OJJDP said he was unaware of California' s Title II award being paused but is looking into it.

        On the California CDC grant, do you have the grant number available? I have passed along your message but the grant number
        would likely help expedite efforts to identify what' s happening there.

        I hope you all can appreciate that we are doing our best to look into these issues while also complete our filing due tonight. I'll let
        you know when I have more information I can share.

        Thanks,
        Daniel

        From : Ka t e Sabatini                        >
        Sent: Wednesday, February 12, 202 5 4 :49 PM


        Cc: Sarah Rice                                                                                               Freidah, Andrew F. {CIV)
                                                                                                    >
        Subject: [EXTERNAL) RE : CA25-39JJ M State of NY, et al. v. Trump, et al. : TRO Compliance


        Daniel:


        We are continuing to hear from state agencies and nonprofits located in our states that their grants related to IRA/IIJA are unavailable in ASAP.


        Additionally, Massachusetts is reporting that state Clean Diesel grants (Diesel Emissions Reduction Act Electric Solicitation Grants) have been
        suspended in ASAP. These grants fund important projects that accelerate the retirement of less efficient, more polluting diesel vehicles,
        engines, and equipment.


        California is also reporting that its USDOJ Office of Juvenile Justice Delinquency Prevention ntte II grant has been paused, and that there is no
        word on as to when the already awarded funds will be provided. This grant provides critical support for aftercare/reentry to avoid future
        recidivism, alternatives to juvenile detention and placement, and community-based programs (diversion, job training, mentoring, counseling,
        and training programs) that prevent crime and keep our communities safe.


        In addition, California's award of fund ing from CDC for Rape Prevention and Education as part of the national sexual violence prevention
        program has been delayed; funding should have been received by or about January 31, 2025. The CDC portal for grants is not accessible.


        Please share any information you have on these matters, or those raised last night in my email with respect to FEMA, as soon as possible.


        Best,
        Kate



           Kathryn M. Sabatini (she/her)
           Special Assistant Attorney General
           Chief I Civil Division
           Office of the Attorney General
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        From : Schwei, Dan iel S. (CIV)                               >
        Sent: Tuesday, February 11, 2025 8:16 PM
        To : Kate Sabatini                        >



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        Cc : Sarah Rice                                                                                            ; Freidah, Andrew F. {CIV)
        <                                                                                           >
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance


        [External email: Use caution with links and attachments]
        Kate,

        As you saw, we filed a motion regarding FEMA funding for one program, which I believe is the subject of some of the reporting in
        that NBCNews article. As noted in our motion, the funding for that program was paused as an exercise of the agency's own
        authorities. In terms of the broader alleged pause reported in that article, I was not aware of it prior to reading the article. I've
        contacted my colleagues at DHS and FEMA, and my preliminary understanding is that there is not actually a blanket pause or freeze
        on funding for FEMA grants, but rather a new review process before releasing funds for reimbursement. I'm trying to get more
        details but I wanted to pass along what I have now.

        As for EPA, I have also reached out to them and will let you know what I'm able to find out.

        Thank you,
        Daniel



        From : Kate Sabatini                          >
        Sent: Tuesday, February 11, 2025 4:55 PM


        Cc: Sarah Rice                                                                                               Freidah, Andrew F. {CIV)
                                                                                                    >
        Subject: [EXTERNAL) RE : CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance


        Daniel:


        Thank you for letting me know.


        We had been planning to bring to your attention immediately some reports that we are receiving in the news and from various
        Plaintiff states about continued non-compliance with the Court's TRO, including reports in the news that Stacey Street, Director of
        the Office of Grant Administration for FEMA has directed her team to put financial holds on all awards for fisca l years 2021, 2022,
        2023, and 2024. https-//www nbcnews com/politics/donald-twmp/fema-officiaHcoores-judce-order-freeze-craot-fundioc-
        rcnal91674


        We are also aware that EPA's Office of Budget and Planning announced to EPA staff that twenty-eight IIJA and IRA programs-
        including CPRG and air monitoring grants-"are temporarily paused for new obligations or disbursements for assistance agreements,
        loans, rebates, interagency agreements, procurements, and no-cost actions." Email from Budget & Planning re : Additiona l
        Information on IUA and IRA- program review pause (Feb. 7, 2025). https://hillheat.com/2025/02/10/trump-epa-again-freezes-all-
        biden-era-programs. Consistent with this, at least ten plaintiff states have reported experiencing interruptions accessing IRA and IIJA
        funds. A chart identifying these issues is attached.


        Please note that as we are sending you this communication, we are being advised of additional disruptions from additional states.

        Please advise on the Defendants' compliance with respect to these disruptions as soon as possible.


        Thank you,
        Kate



           Kathryn M. Sabatini (she/her)
           Special Assistant Attorney General
           Chief I Civil Division
           Office of the Attorney General
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        From : Schwei, Dan iel S. (CIV)                              >
        Sent : Tuesday, February 11, 2025 4:35 PM
                                                  >
        Cc: Sarah Rice                                                                                            ; Freidah, Andrew F. (CIV)
                                                                                                   >
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : Corrected Declaration


        [External email: Use caution with links and attachments]
        Kate,

        Thanks for explaining that filing. As a heads up, I wanted to let you know that Defendants will be filing an emergency motion as
        soon as possible, pertaining to certain FEMA funding and requesting the Court' s confirmation that Defendants may continue to
        withhold that funding.

        Thank you,
        Daniel

        From : Kate Sabat ini <                       >
        Sent : Tuesday, February 11, 2025 12:15 PM


        Cc: Sarah Rice                                                                                            ; Freidah, Andrew F. {CIV)
                                                                                                   >
        Subject: [EXTERNAL) CA25-39JJM State of NY, et al. v. Trump, et al. : Corrected Declaration


        Daniel:

        Wanted to let you know that we just filed a corrected declaration. Due to a technological issue when redacting, certain characters had been
        removed from the original declaration.

        Thank you,
        Kate

           Kathryn M. Sabatini (she/her)
           Special Assistant Attorney General
           Chief I Civil Division
           Office of the Attorney General
           150 South Main Street Providence RI - 02903
           Office:
                                  I www.riag.ri.gov I

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                          Exhibit D-1




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 ----------------------
 From:
 Sent:
 To:
 Cc:
 Subject:

 Importance:          High



 Good afternoon, all.

 AAD is handling for FEMA GO for FY24 awards- •        is putting hold toggles on all programs
 listed in the Daily Dash.

 For all awards FY23 and prior: put financial holds on all of your awards - all open awards, all
 years (2021, 2022, 2023, 2024).
     •                           you can toggle in FEMA GO and do so for all of your fire-related
         programs
     •                    your team will need to go in ND Grants and put individual holds on all
         HSGP and NSGP awards
     •                           your team will need to go in ND Grants and put individual holds
         on all EMPG, RCPGP, EOCGP, THSGP awards
     •                  , your team will need to go in ND Grants and put individual holds on all
         SLCGP and TCGP awards

 Please confirm once completed.



 -
 Director, Office of Grants Administration
 Grant Programs Directorate I Resilience
 Office :              I Mobile:


 Federal Emergency Management Agency
 fema.gov




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                          Exhibit D-2




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 From:
 Sent:
 To:
 Cc:

 Subject:          Follow-up

 Importance:       High



 Hi everyone, follow up to yesterday's verbal late afternoon discuss and to the subsequent
 Teams meeting we had just a short while ago. Here is our action plan going forward:

 Awards will be amended so that the following grant programs will result in reimbursement
 requests being manually reviewed and, when approved by staff, manually reimbursed to
 recipients:

 Already Standard Manual Approach Employed (no changes needed)
    • Assistance to Firefighters Grant (AFG) Program
    • Fire Prevention & Safety (FP&S) Grant Program
    • Staffing for Adequate Fire and Emergency Response (SAFER)
    • Shelter and Services Program (SSP)
    • State and Local Cybersecurity Grant Program (SLCGP) (FY24)

 Existing awards (FY2024/2023/2022/2021/2020) will be modified so that reimbursement
 requests will be manually reviewed and manually processed upon approval by
 program/financial staff Upon approval of reimbursement requestsJ GPO will have 30 days to
 process paymentJ per 2 CFR Part 200.
       •   PSGP
       •   TSGP
       •   IBSGP
       •   THSGP
       •   RCPGP
       •   EOCGP
       •   HSGP
       •   NSGP
       •   EMPG
       •   SLCGP
       •   TCGP


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 I am setting up a training meeting today with our system colleagues so that they can walk us
 through steps. PMO will also be able to add rights to staff to help in amending existing awards.

 I will set up a timeline action plan with timelines, roles, and responsibilities for all staff to
 complete the amendments. I will also coordinate with program colleague counterparts across
 Resilience and ORR to help ensure that they are aware and can also replicate across their grant
 program portfolios and will be asking our AAD-Mitigation team members to assist their
 program colleague counterparts in amending awards.

 I am working with -       to craft an Information Bulletin that will explain this approach to
 our grant program recipient stakeholders.

 Last but not least, -        and I will work to modify the CY25 performance plans to account
 for this scope of responsibility and ensure that, upon manual review approvals, payments will
 be made within the allotted 30-day maximum timeline noted by 2 CFR Part 200. We will also
 provide guidance very shortly on program office versus financial office roles and
 responsibilities with manual reviews and manual reimbursements. I expect that we will model
 the fire grants approach whereby program offices have primary lead on reimbursement
 reviews, approval determinations, and manual reimbursement release processings.

 Note that these are not "holds." We are modifying our programs so that payment requests
 are now reviewed manually and processed manually. "Holds" implies what we were directed
 to originally due with 0MB M-25-13, which was rescinded and a TRO injunction placed. We are
 not holding on awards, we will still be processing our awards but will be adding a level of
 internal controls to ensure that payment requests are reviewed prior to payments be released
 to recipients (in order to ensure that payments align to the award project, NOFO scope of
 allowability, 2 CFR Part 200 principles, etc.) For FY 2025, the intent is to have this approach as
 standard in the NOFOs.

 Happy to discuss, thank you.



-Director, Office of Grants Administration
 Grant Programs Directorate I Resilience
 Office:                I


 Federal Emergency M anage ment Agency
 fema.gov




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                                               A412
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                             Exhibit E




                                           A414
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                                   Document   349
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                                                                                                                                          37 PageID
                                          #: 7999

        From:             Schwei, Daniel S. (CIV)
        To:               Kate Sabatini; Theodore McCombs; Sirkovich, Eitan R (CIV)
        Cc:               Sarah Rice;                              ;                             ; Freidah, Andrew F. (CIV); Hall, Emily (CIV)
        Subject:          RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance
        Date:             Wednesday, February 26, 2025 8:48:42 AM
        Attachments:      image001.png


        EXTERNAL EMAIL: This message was sent from outside DOJ. Please do not click links or open attachments that appear suspicious.

        Kate,

        I’m writing to follow-up on the FEMA issue in your message below. We disagree that a “review” process is the same as a “freeze”
        on funding. Under a review process, the agency fully intends to issue payments but is simply ensuring that all payments are
        appropriate, and doing so under the terms of the grant program itself – which is fundamentally different than the type of “freeze” that
        Plaintiffs challenged in this case and that is governed by the TRO. Thus, we do not think that FEMA’s review process, implemented
        as part of the agency’s own statutory and regulatory authorities, violates the TRO.

        Regarding the February 10 e-mail, as I have already explained (and as the February 11 e-mail makes clear), FEMA did not intend to
        implement a “hold” in the sense of a pause or withholding of grant funds—i.e., the type of action at issue in this case. Instead, the
        “hold” referred to in that e-mail was part of implementing the manual review process pursuant to FEMA’s own authorities.

        That is the same answer for the screenshot you have provided, which simply reflects that the remaining balance is on “hold,” but does
        not reflect that FEMA is unwilling to pay that balance amount. FEMA has confirmed to me that, for the particular grant referenced
        in the screenshot (the Arizona Office of Homeland Security, number EMW-2022-UA-00008), FEMA will process payment requests
        and approve them for payment as appropriate. My understanding is that, within PARS itself, FEMA has included a description for
        the “hold” on funds, stating that the hold is for purposes of “Additional Manual Review” – not an unwillingness to make payments.

        I’ll circle back later today once I have more substantive information from DOE (probably even sooner than this evening).

        Thank you,
        Daniel


        From: Schwei, Daniel S. (CIV)
        Sent: Tuesday, February 25, 2025 8:52 PM
        To: Kate Sabatini <                      >; Theodore McCombs <                                                            >; Sirkovich, Eitan R (CIV)
        <                             >
        Cc: Sarah Rice <                  >;                                                                                         ; Freidah, Andrew F. (CIV)
        <                              >; Hall, Emily (CIV) <                     >
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Kate,

        I’m conferring with my clients on your e-mail, and will circle back tomorrow morning regarding FEMA.

        Regarding DOE, as noted in my prior email, DOE has been continually working to expedite its payments. Along those lines, my
        understanding is that DOE has recently implemented changes that should make its payment approval process faster, and that they
        think should eliminate your concerns going forward, with all programs directed to pay invoices. Given your list of sixteen accounts
        that are purportedly not available, obviously that is a concern as to whether the system is working. DOE would like to investigate
        those accounts but they are not able to do so before noon tomorrow (given that we did not receive your inquiry until after 4pm today,
        and given the inclusion of sixteen accounts on the list). DOE expects it should be able to provide a more substantive response by
        tomorrow evening, and hopefully avoid the need for motion practice on these issues.

        Thank you,
        Daniel


        From: Kate Sabatini <                       >
        Sent: Tuesday, February 25, 2025 4:12 PM
        To: Schwei, Daniel S. (CIV) <                          >; Theodore McCombs <                                                              >; Sirkovich, Eitan R (CIV)
        <                             >
        Cc: Sarah Rice <                  >;                                                                                           Freidah, Andrew F. (CIV)
        <                              >; Hall, Emily (CIV) <                     >
        Subject: [EXTERNAL] RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

        Daniel:

        Thank you for your email. We can confirm that DOE appears to have restored access to the five grants that Ted emailed about. California has




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        identified a sixth frozen DOE grant, the Weatherization Assistance Program funded under the IIJA, and other Plaintiff States have identified
        further frozen DOE grants (see attachment).


        In our view, DOE appears to have instituted an across-the-board funding freeze spanning multiple programs under the guise of a "review."
        Although we have attached a document that identifies affected grants in Plaintiff States, we disagree that we are under any obligation to
        identify specific grants to DOE in order to permit it to unfreeze the relevant funds. Rather, the TRO imposes an affirmative obligation on DOE to
        unfreeze those funds itself. We notice that many of the same programs are getting the same error messages in different States, so we assume
        the problems are more widespread among Plaintiff States than just those for which we are providing grant numbers for now. Indeed, at least
        one of our agencies has received a mass email from DOE attempting to suspend grants in which the email author wrote, "I am unable to
        provide your specific award number(s) as this email is going to all active awards for our office." If DOE isn't taking the t ime to identify which
        grants it is threatening by grant number, we are unsure why they are requ iring it now.


        It does not matter that DOE calls the freeze a " review." Many of our agencies' DOE grants have been frozen or missing in ASAP for three weeks
        or more, with some frozen or missing since the issuance of 0MB M-25- 13. A delay of this sort is unprecedented in our agencies' experience
        working with federal partners, and plainly reflects an express decision to freeze funding streams while reviewing federal programs for
        consistency with executive priorities. The freeze appears to be categorical in nature, and it applies only to " disfavored" programs, such as
        those funded by the IRA and IIJA. Under these facts, DO E's " review" process is simply a freeze by another name, and so it violates the TRO.


        The same appears to be true at FEMA. As the emails you sent reflect, on February 10 (shortly after the issuance of the TRO), a FEMA official
        imposed "financial holds on all .. . awards - all open awards, all years (2021, 2022, 2024, 2024)." The February 11 email attempts to relabel
        this across-the-board freeze as a manual " review" process but, again, that is a distinction w ithout a difference: many of our agencies have
        been wait ing over two weeks to obtain funding under these grants, and FEMA' s payment portal (see attached screenshot) states that these
        funds are still subject to " holds." Under these circumstances, too, FEMA's " review" process appears to be simply a freeze by another name,
        and it, too, violates the TRO.


        We continue to hope to avoid motion practice on these matters. We therefore ask that DOE and FEMA cease freezing funds and resume
        funding to Plaintiff States under all grant programs that are currently subject to manual " review" processes. Please let us know by noon
        tomorrow whether your clients will do so.


        Thank you,
        Kate



            Kathryn M. Sabatini (she/her)
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                                    www.nag.n.gov I


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           and delete the onginal message from your system.



        From : Schwei, Dan iel S. (CIV)                              >
        Se nt : M onday, February 24, 2025 3:57 PM
                                                                      >; Kate Sabatin i                         >; Sirkovich, Eitan R (CIV)

        Cc: Sa ra h Rice                                                                                            Frei dah, And rew F. (CIV)
                                                                                     >
        Subject: RE: CA25-39JJM Stat e of NY, et al. v. Trum p, et al. : TRO Com pliance



        [External email: Use caution with links and attachments]

        Kate, Ted,

        Regarding your message below, we've conferred with our clients and do not believe there is any need or basis for motion practice.

        In terms of the DOE grants, the only list of grant numbers we received was Ted's e-mail below-i.e. , listing five specific grants
        invol ving California agencies and entities. DOE has investigated those grants, and confirmed that all of them are available for
        Plaintiffs to receive funding from DOE . DOE therefore disagrees that those grants are or were " frozen." As you note, DOE is using
        a process for reviewing and approving payment requests, but that is not the same as a " freeze" on the relevant grants; to the contrary,
        DOE is continually working to expedite payments further.



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        Going forward, to the extent Plaintiffs identify other DOE funding that Plaintiffs believe is not properly available, DOE is willing to
        investigate – but their ability to do so requires knowing sufficient information about the relevant contract (e.g., the DOE Contract
        Number, the state involved, the name of the grant, etc.). And it would be most useful if Plaintiffs submit any queries on a rolling
        basis as they arise, rather than asking DOE to investigate numerous different funding streams all at once. As the parties have already
        demonstrated, we think that working cooperatively in this manner is the best path for resolving any issues, rather than unnecessary
        (and potentially premature) motion practice.

        As for the FEMA issue, FEMA has likewise informed us that none of the grant programs you list has been “suspended.” Again,
        FEMA has expanded its manual review process to additional grant programs, including some of the ones you list below. (My
        understanding is that, even before this Administration, the State and Local Cybersecurity Grant Program was subject to this manual
        review process, as noted in the February 11th FEMA e-mail I previously attached.) Just as with DOE, however, we do not
        understand this review process, implemented based on the agency’s own statutory and regulatory authorities, to violate the TRO. If
        there is specific FEMA funding that you believe has been improperly “suspended,” please let us know and we can provide a more
        specific response.

        Thank you,
        Daniel


        From: Theodore McCombs <                                       >
        Sent: Friday, February 21, 2025 1:15 PM
        To: Kate Sabatini                        ; Sirkovich, Eitan R (CIV) <E                          >
        Cc: Sarah Rice                    >;                                                                  ; Freidah, Andrew F. (CIV)
        <                              >; Schwei, Daniel S. (CIV)                             ; Hall, Emily (CIV)
        Subject: [EXTERNAL] RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance


        Eitan and Daniel,

        Below are the DOE-administered grants received by California state agencies and entities, which are still experiencing freezes:

                                                                      Home Electrification and
                                        CEC - California Energy
                   DOE                                                Appliance Rebates
                                            Commission
                                                                      (HEEHRA) Program                 DE-SE0000080
                                        CEC - California Energy
                   DOE
                                            Commission                State Energy Program (SEP) DEEE0010060
                                                                      Energy Efficiency and
                                        CEC - California Energy
                   DOE                                                Conservation Block Grant
                                            Commission
                                                                      (EECBG) Program            DESE0000299

                                        SDSU - San Diego State
                   DOE                                                Industrial Assessment            DE-EE0010197 (CFDA:
                                              University
                                                                      Centers, SDSU (ITACs)            81.117)
                                                                      Energy Efficiency and
                                                                      Renewable Energy
                                         SJSU - San Jose State        Information Dissemination,
                   DOE
                                              University              Outreach, Training, and
                                                                      Technical                        DE-EE001094 (CFDA:
                                                                      Analysis/Assistance Grant        81.117)



        Thanks,
        -Ted

        From: Kate Sabatini <                      >
        Sent: Friday, February 21, 2025 9:31 AM
        To: Sirkovich, Eitan R (CIV)                             >
        Cc: Sarah Rice <                 >;                                                                           ; Freidah, Andrew F. (CIV)
                                      >; Schwei, Daniel S. (CIV) <                                   >; Hall, Emily (CIV)                        ; Theodore
        McCombs
        Subject: RE: CA25-39JJM State of NY, et al. v. Trump, et al. : TRO Compliance

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        Eitan and Daniel:


        Thank you for your emails.


        With respect to the DOE grants, as a gesture of good faith, we w ill provide you with a list of the grant numbers that we are aware have been
        frozen in violation of the Court's TRO. At the same t ime, the TRO requires fill relevant grants to be unfrozen, not merely the grants whose
        grant numbers we provide to DOE. To t he extent these freezes are attributable to a newly instituted process of review and approva l by
        political appointees, that policy violates the TRO. We will send grant num bers as we have them in batches. We expect any grants we
        specifically identify today to be unfrozen no later than Monday at noon. If DOE does not unfreeze these specific grants, or if we identify
        further DOE grants that remain frozen as of 5 PM on Monday, we will proceed to seek relief from the Court.


        We are continu ing to hear about additiona l freezes from other agencies, wh ich we will compile and share when we are able.


        We also wanted to return to the FEMA issue. Several Plaintiff States are experiencing suspensions and delays of FEMA funds, in particular
        fun ds associated w ith the State and Local Cybersecu rity Grant Program, Homeland Security Grant Program, Nonprofit Security Grant Program,
        and Emergency Management Performance Grant Program . The February 11 email that you provided to us appears to have instructed staff to
        institute what amounts to a hold, by instructing staff to institute a new requirement to manually review and process payment requests. The
        freezes that result from th is new process are likewise an impediment to access obligated funds in violation of the TRO. These are essentia l
        health, safety and welfare funds that are not timely flowing to the states. We ask that you correct this violation immed iately, but no later
        than 5pm on Monday.


        Best,
        Kate



           Kathryn M. Sabatini (she/her)
           Special Assistant Attorney General
           Chief I Civil Division
           Office of the Attorney General
           150 South Main Street Providence RI - 02903
           Office:
                                  I www.riag.ri.gov I

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                             Exhibit F




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        From:               support.pagrants@fema.dhs.gov
        To:
        Subject:            [External] FEMA PA Notification - Message to Grant Recipients on Review Process Updates
        Date:               Friday, February 28, 2025 10:17:00 AM


        Dear Recipient,

        The Federal Emergency Management Agency (FEMA) is taking swift action to ensure the
        alignment of its grant programs with Secretary Noem’s direction. In accordance with this
        direction, FEMA and the Department of Homeland Security (DHS) are instituting additional
        reviews on the allowability of costs for all grant payments and obligations, as permitted by 2
        C.F.R Part 200, where applicable.

        Effective immediately, FEMA and DHS are implementing an additional review process of
        allocations before releasing funds for all grants. These actions will ensure that funding is
        obligated and disbursed in line with the Secretary’s direction.

        Upon completion of reviews, approved funding will be processed through the respective grant
        systems. Per 2 C.F.R. Part 200, payment requests may take up to 30 days to process depending
        on the size and scope of the submission. If additional information is needed, a request for
        information will be issued, and the timeline may be extended.

        For existing payment requests currently in the system, FEMA will reach out if additional
        information is needed.

        Thank you,
        FEMA Recovery Directorate

        If you require additional assistance with the FEMA Grants Portal, please contact the Grants
        Portal Hotline at (866) 337-8448 or FEMA-Recovery-PA-Grants@fema.dhs.gov

        Please do not respond to this e-mail. This mailbox is not monitored, and you will not receive a response.




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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF RHODE ISLAND


       STATE OF NEW YORK, et al.,

                    Plaintiffs,

                    v.                                    Civil Action No. 1:25-cv-39 (JJM)

       DONALD TRUMP, IN HIS OFFICIAL
       CAPACITY AS PRESIDENT OF THE
       UNITED STATES, et al.,

                                  Defendants.

                             DEFENDANTS’ NOTICE OF APPEAL

             PLEASE TAKE NOTICE that Defendants hereby appeal to the United States

       Court of Appeals for the First Circuit from this Court’s preliminary injunction, as set

       forth in the Memorandum and Order dated March 6, 2025 and docketed at ECF

       No. 161.



       Dated: March 10, 2025                    Respectfully submitted,

                                                YAAKOV M. ROTH
                                                Acting Assistant Attorney General

                                                ALEXANDER K. HAAS
                                                Director

                                                /s/ Daniel Schwei
                                                DANIEL SCHWEI
                                                Special Counsel (N.Y. Bar)
                                                ANDREW F. FREIDAH
                                                EITAN R. SIRKOVICH
                                                Trial Attorneys
                                                United States Department of Justice
                                                Civil Division, Federal Programs Branch



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                                            1100 L Street NW
                                            Washington, DC 20530
                                            Tel.: (202) 305-8693
                                            Fax: (202) 616-8460
                                            Email: daniel.s.schwei@usdoj.gov

                                            Counsel for Defendants




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                               CERTIFICATION OF SERVICE

              I hereby certify that on March 10, 2025, I electronically filed the within
       Certification with the Clerk of the United States District Court for the District of
       Rhode Island using the CM/ECF System, thereby serving it on all registered users in
       accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                                     /s/ Daniel Schwei
                                                     Daniel Schwei




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                                              A423
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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF RHODE ISLAND


       STATE OF NEW YORK et al.,

                        Plaintiffs,

                        v.                                      Civil Action No. 1:25-cv-39 (JJM)

       DONALD TRUMP, IN HIS OFFICIAL
       CAPACITY AS PRESIDENT OF THE
       UNITED STATES, et al..

                                      Defendants.


                                              DECLARATION

         I, Cameron Hamilton, hereby state as follows:

           1. l am the Senior Official Performing the Duties of the Administrator. Department of

              Homeland Security '(OHS or Department), Federal Emergency Management Agency

              (FEMA). The Senior Official Performing the Duties of the FEMA Administrator is the

              DHS official responsible for being the principal advisor to the President and the Secretary

              of Homeland Security for all matters relating to emergency management in the United

              States.

          2. Since being sworn in on January 25, 2025, the Secretary of Homeland Security (Secretary)

              has issued several written and verbal directives regarding payments made by the

              Department all of which were ;designed to ensure that any payments made by the

              Department are consistent with law and do not promote fraud, waste, or abuse. One such

              directive is a January 28, 2025, Direction on Grants to Non-governmental Organizations.

              (Memorandum). See Exhibit 1.




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          3. Pursuant to the Secretary's January 28, 2025, direction and for the reasons stated in my

              declaration filed with this Court on February 11, 2025, FEMA has paused funding to the

              Shelter and Services Program, Case Management Pilot Program, and Emergency Food and

              Shelter - Humanitarian program. See Exhibit 2.

          4. On Monday. February 10, 2025 at. 4:31 pm_ the Director of FEMA's Office of Grants

              Administration. Stacey Street, issued an email directing --putting hold toggles on all

              programs listed in the Daily Dash" for Fiscal Year (FY) 2024 grants in FEMA's grant

              system. FEMA Grants Outcomes ffEMA GO). In the same email, Ms. Street also directed

              four team members to ·'put financial holds on all of your awards - all open awards, all

             years (2021, 2022, 2023, 2024)" and provided specific direction to each of the four. See

              Exhibit 3.

          5. The regulations at 2 C.F.R. Pru1 200 establish the uniform administrative rules, cost

              principles, and audit requirements for Federal grants. Among other things, they establish

              requirements for a federal agency's management of grant programs before and throughout

              the lifecycle of the grant award. 2 C.F.R. §§ 200.I00(a), (_b). Pursuant to 2 C.F.R. §

              200.300(a), FEMA has an affirnmtive duty to "manage and administer [its] Federal

              award[s] in a manner so as to ensure that Federal funding is expended and associated

             programs arc implemented in full accordance with the U.S. Constitution. applicable

              Federal statutes and regulations." To effectively accomplish this, FEMA has inherent

             authority to manually review source documentation from a grant recipient and other

              information provided the process is otherwise consistent with the regulations at 2 C.F.R.

              Part 200 and other applicable requirements. Moreover, FEMA's authority to conduct a

              manual review process is bolstered by its inherent authority to monitor awards, review its




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              grant records and expenditures. and ensure payments to recipients are use_d only for

              allowable, allocable, and reasonable costs under the terms and conditions of the grant

              award before making payment to the grant recipient.

          6. It \Vas not Ms. Street's intention to freeze grant payments. The intention of her direction

              was to facilitate FEMA staff conducting a manual review process on grant payments.

              Putting a "'hold toggle" or individual hold on an award in FEMA 's grant systems referenced

              in the email is part of the process required in those systems to allow recipient payment

              requests to be reviewed manually. The term "hold" used by the system is not synonymous

              with a pause or withholding of grant funds as that term is used in 2 C.F.R. Part 200 or the

              te1ms and conditions of the grant mvarQs. It does not mean that the grant is being frozen,

              held, or not being distributed; in the padance used by FEMA 's grant systems, it means that

              the grant can be reviewed manually by staff

          7. Notwithstanding the meaning of "hold toggle" within FEMA, within an hour after Ms.

              Street sent this email, given the complexity of implementing this guidance, Ms. Street

              instrncted her team to stand down and that additional information would be provided the

              following day.

          8. In a follow up email on Tuesday, February 11 at 2: 10 p.111., Ms. Street reaffirmed the verbal

              discussion from Monday and clarified that the intent of her previous guidance was not a

              direction to freeze grant payments. She acknowledged that her use of the weird ·'hold" could

              be misconstrued as an action in violation of the temporary restraining order imposed by

              this Cami and explained, "we will still be processing our awards but will be adding a level

              of internal controls to ensure that payment requests are revie,ved prior to payments be [sic J

              released to recipients'' and that payments ·'will be made within the allotted 30~day




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              maximum timeline noted by 2 CFR Part 200." .)'ee Exhibit 4. Her email also described

              that several FEMA programs have historically been subject to a manual review process.

              which is permitted under 2 C.F.R. Part 200. An example of such a program is Exhibit 5.

          9. A manual review process is not a pause or withholding of grant funds as that term is used

              in C.F .R. Part 200 or the terms and conditions of the grant awards, nor does it mean that

              the grant is being frozen. held. or not being distributed. Instead, it is simply an internal

              control where FEMA staff manually review· all grant payment requests before disbursing

              payments to recipients. This means FEMA reviews grant projects, activities. and source

              documentation before releasing funds for reimbursement paid to its grant recipients. The

              process is intended to ensure reimbursement payment requests are allowable, al.locable_,

              and reasonable per each award's terms and conditions, including the respective program

              Notices of Funding Opportunity and 2 C.F.R. Part 200, and are free from fraud, waste, or

              abuse.

           10. FEMA's authority to conduct a manual review process for grant payments equally applies

              to all recipients, including States. Six FEMA programs have historically been subject to a

              manual review process:      the Assistance to Firefighters Grant Program (AFG); Fire

              Prevention & Safety Grant Program (FP&S), Staffing for Adequate Fire and Emergency

              Response (SAFER). Shelter and Services Program {SSP). Tribal Cybersecurity Grant

              Program (TCGP) and State and Local Cybersecurity Grant Program (SLCGP). AFG an,:!

              FP&S have used manual review since they \Vere established in Fiscal Year 2002 and Fiscal

              Year 2003. respecfively. SAFER began in Fiscal Year 2005 and FEMA has utilized manual

              review since their inception. SLCGP and TCGP were first awarded in Fiscal Year 2021




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              and Fiscal Year 2023, respectively, and FEMA has utilized manual review since their

              inception.

           11. To ensure Secretary Noern has an oppmtunity to review relevant obligations,

              disbursements, and payments consistent with the direction of her January 28, 2025,

              Memorandum, on February 14, 2025, I formalized the additional manual review process

              described in Paragraph 9of this Declaration through the issuance of the Grant Processing

              Guidance (Grant Processing Guidance or Guidance). On that same day, I notified FEMA

              officials of the immediate implementation of the additional manual review.           In this

              Guidance, I stated it "is necessary to ensure that funding is obligated, disbursed, and paid

              in line with Secretary Noem's direction, and that we can continue to support the

              communities and disaster survivors who rely on us for assistance." See Exhibit 6.

           12. Implementing the Gra_nt Processing Guidance is in furtherance of FEMA grant

             management obliga_tions described in this Declaration.

          13. Fmther, the issue of payments to recipients under this manual review process is permissible

              if it complies with the payment regulations governing Federal grant awards at 2 C.F.R. §

             200.305. The Grant Processing Guidance specifies that the manual review process must

             meet regulatory tirneframes for timely payments. S'ee Exhibit 6.

          14. FEMA must comply with regulations governing payments to grant recipients. See 2 C.F .R.

             §200.305. For grant recipients nther than States. 2 C.F.R. §200.305(6)(3) stipulates that

              FEMA is to make payments on a reimbursement basis within 30 calendar days after receipt

             of the payment request, unless-FEMA reasonably believes the request to be improper.

          15. For State recipients. 2 C.F.R. § 200.305(a) instructs that Federal grant payments are

              governed by Treasury-State Cash Management Improvement Act (CMlA) agreements




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              ("Treasury-State agreement") and default procedures codified at 31 C.F.R. pait 205 and

              Treasury Financial Manual (TFM) 4A-2000, "Overall Disbursing Rules for All Federal

              Agencies." See 2 C.F.R. § 200.305(a).

           16. Treasury-State agreements generally apply to "'major Federal assistance programs'· that are

              governed by 31 C.F.R. part 205_, subpart A and are identified in the Treasury-State

              agreement. 31 C.F.R. §§ 205.2, 205.6. Where a Federal assistance (grant) program is not

              governed by subpait A, payment and funds transfers from FEMA to the State are subject

              to 3 l. C.F.R. part 105. subpart B. Subpart B requires FEMA to '"limit a funds transfer to a

              State to the minimum amounts needed by the State and must time the disbursement to be

              in accord with the actual, immediate cash requirements of the State in carrying out a Federal

              assistance program or project. The timing and amount of funds transfers must be as close

              as is administratively feasible to a State's actual cash outlay for direct program costs and

              the proportionate share of any allowable indirect costs." 31 C.F.R. § 205.33(a). Nothing in

              3 l C.F.R. part 205. subpart B or the 1i·easury Financial Manual (TFM) 4A-2000 prohibits

              FEMA's manual review process. Nearly alI FEMA grants recently identified by the

              plaintiffs are not --major Federal assistance programs. "'As a result. payments to States for

              those grants are subject to the "defaulC rules of subpart B.

           17. By implementing this Grant Processing Guidance, in some ways. FEMA is merely

              expanding how it pays States to additional grant _programs. This will include the following

              programs which Plaintiffs recently inquired about: SLCGP, Homeland Security Grant

              Program (HSGP), Nonprofit Security Grant Program (NSGP), and the Emergency

              Management Performance Grant Program (EMPG). With respect to SLCGP, FEtvlA

              instituted a manual review process when the program was first authorized in the Fiscal




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              Year 2022. FEMA is now extending this practice to HSGP, NSGP, EMPG. and other

              programs subject to my direction in the Grant Processing Guidance.

           18. The grant programs identified in Paragraph 17 are generally not considered ·'major Federal

              assistance programs"' that are governed by 31 C.F .R. patt 205, subpart A. For example,

              they are not identified in the State of New York's FY 2025 Treasury-State agreement. See

              Exhibit 7. As a result those programs are subject to the ·'default'" rules in 31 C.F.R. pait

              205. subpart B.

           19-. There is at least one exception. The District of Columbia's (DC) FY 2025 Treasury-State

              agreement lists HSGP as a "major federal assistance program. 11 Like the "'default rules'' at

              Subpart B. nothing in DC's Treasury-State agreement prohibits FEMA's manual review

              process. For example, nothing in the agreement stipulates the amount of time for which

              FEMA must review the State·s source documentation to ensure all costs are allowable,

              allocable, and reasonable, before approving and processing a manual payment.

          20. On February 28, 2025, FEMA provided ,vritten notice to its grant recipients that it has

              instituted an additional manual review process for its grant programs (February 28, 2025,

              Manual Review Notice). See Exhibit 8. Specifically. FEMA notified grant recipients:

                      Effective immediately, FEMA and OHS are conducting additional reviews of
                      allocations before releasing funds for all grants. These actions will ensure that
                      funding is obligated and disbursed in line with the Secretary's direction so that we
                      can continue to support and prioritize communities and disaster survivors who
                      rely on FEMA for assistance. Upon completion of reviews, approved funding will
                      be processed through the respective grant systems. Per 2 C.F.R. Part 200.
                      payment requests may take up to 30 days to process depending on the size and
                      scope of the submission. If additional infonnation is needed, a request for
                      information will be issued, and the timeline may be extended.




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                    As part of the manual review of your payment request Ft::MA strongly encourages
                        recipients to include the following infommtion when submitting new payment
                        requests:
                           •   Will this disbursement go to any subrecipients, and if so, which ones'?
                           •   What is the total amount of funds going to each subrecipient?
                           a   What activities will be funded by this disbursement?
                           •   What is the time period covered by this payment request?
                    For existing payment requests currently in the system. FEMA will reach out if
                        additional infonnation is needed. Please note that if FEMA does not receive this
                       _infonnation~ payment requests will not be processed.
          21. The "hold'' from the Payment and Reporting System (PARS), appearing on the screenshots

              submitted by Plaintiff States, is not a pause or freeze of a grant but is instead a mechanism

              to assist FEMA with conducting the additional manual review described in Exhibit 8. It

              gives FEMA the ability to limit the drawdown of funds by a grah.tee. In PARS, the grantee

              can see the reason why a ce11ain amount is not available for immediate drawdown by

              nmning the Payment Hold Rep011 in Detail Mode. PARS will state ··hold", but it is a system

              tern1, and, in the description, it clearly states for ··additional manual review." FEMA

              created the new ""hold'' reason code in PARS on February 18. 2025. and PARS provides a

              short description that states: "Additional Manual Review:· Once the grants team completes

              the manual reviews the grants will be made available for drawn down post review. This

              ·'hold" does not appear for reimbursement requests submitted in the FEMA GO Payment

              system.

          22. In 2018, FEMA began to open new funding opportunities to select grant programs in the

              FEMA GO grants management system. Because FEMA GO also manages payment

              requests. recipients were no longer required to use the PARS system for payment requests.

              For example, FEMA has used FEMA GO to open funding opportunities for the following


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              grants from 20 l 8 to present: AFG, SAFER and FP&S. ln 2022, FEMA began using FEMA

              GO to support funding opp01tunities for Building Resilient Infrastructure and Communities

              (BRIC) Grant Program and Flood Mitigation Assistance (FMA).

          23. In 2023, an additional 14 non-disaster grant programs began using FEMA GO including:

                    •   Cooperating Technical Partners (CTP)
                    •   Community Assistance Program - State Support Services Element (CAP-SSSE)
                    •   Earthquake Consortium and State Suppoti. National Earthquake Hazard Reduction
                        Program (NEHRP)
                    •   Homeland Security National Training Program/Nati(~nal Do,ncstic Preparedness

                        Consortium (HSNTP-NDPC)
                    •   Homeland Security National Training Program/Continuing Training Grant
                        (HSNTP-CTG)
                    •   National Dam Safety Program (NDSP)
                    •   National Incident Management System (NLMS)
                    •   Shelter and Services Program (SSP)
                    •   State Fire Training System Grant (SFTS)
                    •   Emergency Management Baseline Assessments Grant (EMBAG),
                    •   High Hazard Potential Darns Rehabilitation Grant (HHPD)
                    •   Urban Search and Rescue Readiness Cooperative Agreements (US&R)
                    •   Homeland Security Preparedness Technical Assistance Program (HSPTAP)
                    •   Presidential Residence Protection Assistance Grant (PRPA).

          24. In 2024, 18 additional non-disaster grant programs opened funding opportunities in

              FEMA GO, including:

                    •   Emergency Food and Shelter Program (EFSP)
                    •   Emergency Management Perf01mance- Grants (EMPG)
                    •   Intercity Bus Security Grant Program (IBSGP)
                    •   Intercity Passenger Rail Program (IPR)
                    •   Port Security Grant Program (PSGP)



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                    •   Targeted Violence and Terrorism Prevention (_TVTP) Grant Program
                    •   Transit Security Grant Program (TSGP)
                    •   Tribal Homeland Security Grant Program (THSGP)
                    •   Emergency Operations Center (EOC)
                    •   Regional Catastrophic Preparedness Grant Program (RCPGP)
                    •   Nonprofit Security Grant Program (NSGP-UA)
                    •   Homeland Security Grant Program (HSGP)
                    •   Case Management Pilot Program (CMPP)
                    •   Next Generation Warning System (NGV./S)
                    •   Flood Mitigation Assistance SWIFT Current (SWIFT_)
                    •   Hazard Mitigation Grant Program (HMGP)
                    •   Hazard Mitigation Grant Program (HMGP) - Post Fire
                    •   Management Assistance Grant Program (FMAG)

          25. In 2025, FEMA will begin using FEMA GO for the following grant funding opp01tunities:

                    •   Disaster Case Management (DCM)
                    •   Safeguarding Tomorrow RLD (STORM)
                    •   Pre-Disaster Mitigation (PDM)

          26. Funding opportunities for the years prior to the years in which FEMA GO began supporting

              the non-disaster grant programs are still managed in the legacy grant systems that use

              PARS for payment processing. These non- disaster grants will be migrated to FEMA GO

              beginning in 1ate 2025. Following completion of the data migration, payment of older

              grants will be processed in FEMA GO. For example. in Paragraph 5 of Mr. McComb's

              Declaration. he asserts that Arizona's Nonprofit Security Grants for Fiscal Years 2022 and

              2023 are subj_ect to a hold or freeze. This is not a hold or a freeze of the grant. Rather, this

              is language from PARS which reflects the use of the additional manual review process for

              those grants.




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          27. PlaintiftS contend that they receive an error message when they attempt to submit a request

              for payment and that the system generates an error message ·when an attempt is made. This

              only occurs in PARS and as explained above only some of the grants identified by Plaintiffs

              are still subject to payment through PARS. As part of FE MA 's initiation of the additional

              manual review and given the technical limitations of the PARS system, to facilitate

              FEMA ·s ability to conduct the additional manual review, FEMA's Office of the Chief

              Financial Officer (OPCO) was required to reduce each grant award in PARS to a zero

              balance. When the OCFO made this change. it temporarily precluded those with grants still

              subject to PARS from submitting a request for payment. The Grants Programs Directorate

              (GPD), however, was not aware of this change until on March 3, 2025, and is currently

              taking steps to rectify the issue. To correct this issue, FEMA must reconfigure its PARS

              system and which is the reason why the recipients could not submit requests for payment

              through PARS. FEMA is updating the process by which recipients will be able to submit

              payments for manual review, through the Non-Disaster Grants System (ND Grants), the

              grants-system where awards in PARS-will be functional. by on or around March 14, 2025.

              FEMA will provide instructions to grant recipients through FEMA's ND Grant System

              explaining how to submit requests for the manual review process. For example, for the

              grants identified in Paragraph 5 Of the McCombs Declaration_ Arizona will be able to

              resubmit the request for payment follo,ving the instructions provided along with the

              additional information required set forth in the February 28, 2025, Manual Review Notice,

              (Exhibit 8) and FEMA then will detern1ine the amount eligible for payment, if any. This

              will apply to the additional grants identified in the McCombs Affidavit other than the grant

              identified in Paragraph 3 of this Declaration.




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          28 .. On January 3 I, 2025. it is 111Y understanding that the Court issued a Temporary Restraining

              Order and pursuant to the Court's direction that TRO was distributed to FEMA 's leadership

              and staff who _administer grants and other financial assistance. See Exhibit 9.

          29. On March 6, 2025, it is my understanding that the Court issued a Preliminary Injunction

              and ordered FEMA to file a status report informing it of the status ofFEMA 's compliance

              with the Preliminary Injunction. To the best of my knowledge. FEMA is complying with

             the Preliminary Injunction. fEMA ·s additional manual revie-w is based upon the

              Secretary's authority and FEMA 's inherent duty to ensure that grants are administered in

              a manner that is consistent with the US Constitution. applicable Federal statutes and

              regulations and with the terms and conditions of the grants.

          29. On March 9i 2025_. Plaintiff, through the Department of Justice, provided FEMA with a

              list of grants that they contend are ''experiencing disruption." Exhibit I 0. FEMA has

             reviewed this list and has determined that. of the 146 grants included:

              •     114 are CUITently undergoing the manual review only as described in this Declaration
                    (including the Colorado SSP award described below in Paragraph 30 and the
                    Wisconsin SSP award described in Paragraph 31 belo\Y);
              •     15, in addition to the manual reviev.1• also have a legacy hold 1 (defined below) on a
                    portion of the grant for reasons described in the table below;
              •     13 do not provide sufficient in-formation to make a determination (no grant award
                    number or incomplete grant number provided);
              •     three were duplicate grant award numbers, and


              1
                 A Legacy Hold means a hold that was previously in place on all or a p011ion of a grant award
             while FEMA was _awaiting additional information from a grant recipient. These holds can be in
             place for several reasons including programmatic reviews, budget reviews, Environmental and
             Historic Preservation reviews and approvals and other circumstances where the grant recipient
             is required to provide information to FEMA to ensure allowability, applicability, and eligibility of
             obligated grant funds.



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                 •   1 (FY 2022 Cooperating Technical Partners grant for the state of Colorado) had drawn
                     down all funds from the grant award.
               The table below notes the fiscal year, grant program, award number, recipient, and the

                 rationale for the legacy hold on the award in question.

        Fiscal       Grant        Award              Recipient                Reason for Legacy Hold
        Year         Program      Number
        2022         SLCGP        EMW-2022-          Hawaii Department       Legacy hold in the amount
                                  CY-00024           of Law Enforcement      of $2, 136,499: additional
                                                                             project details required
        2023         SLCGP        EMW-2023-          Hawaii Department       Legacy hold in the amount
                                  CY-00021           of Law Enforcement      of $4,338,969: additional
                                                                              project details required
        2024         SLCGP        EMW-2024-          Hawaii Depaitment        Legacy hold in the amount
                                  CY-05274           of Law Enforcement       of$3,307,731.85: additional
                                                                              project details required
        2023         SLCGP        EMW-2023-          Maryland                 Legacy hold in the amount
                                  CY-00006           Department of            of $6,172,838: additional
                                                     Emergency                project details required
                                                     Management
        2023         SLCGP        EMW-2023-          Michigan State           Legacy hold in the amount
                                  CY-00010           Police                   of $9, 129,053: additional
                                                                              project details required
        2022         SLCGP        EMW-2022-          Wisconsin                Legacy hold in the amount
                                  CY-00053           Depaitment of            of $257,513: additional
                                                     Military Affairs         project details and indirect
                                                                              costs (JDC) rate information
                                                                              required
        2023         SLCGP        EMW-2023-          Wisconsin                Legacy hold in the amount
                                  CY-00052           Department of            of $7,283,592: additional
                                                     Military Affairs         project details required
        2023         SLCGP        EMW-2024-          Wisconsin                Legacy hold in the amount
                                  CY-05240           Department of            of $5,596,110.85: additional
                                                     Military Affairs         project details required and
                                                                              JDC
        2021         NSGP         EMW-2021-          Maine Emergency          Legacy hold in the amount
                                  UA-00057           Management Agency        of $150,000: additional
                                                                              project details required
        2022          NSGP        EMW-2022-          Michigan State           Legacy hold in the amount
                                  UA-00031           Police                   of $150,000: additional
                                                                              project details required
        2024         NSGP         EMW-2024-          Michigan State           Legacy hold in the amount
                                  UA-05052           Police                   of $2,240,403: additional
                                                                              project details required


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        2 02 4        NSGP        EMW-2024-          Wisconsin                Legacy hold in the amount
                                  UA-05153           Department of            of$169.200: IDC rate
                                                     Military Affairs         information required
        2024         HSGP         EMW-2024-SS-       Wisconsin                Legacy hold in the amount
                                  05237              Department of            of $113,717.48: IDC rate
                                                     Military Affairs         information required
        2023          EMPG        EMB-2023-EP-       Maine Emergency          Legacy hold in the amount
                                  00004              Management Agency        of $48,000: IDC rate
                                                                              infom1ation required
        2023         EOC          EMP-2023-EO-       Maryland                 Legacy hold in the amount
                                  00001              Department of            of $5,736,108:
                                                     Emergency                Environmental and Historic
                                                     Management               Preservation review




           30. As to the Colorado SSP Grant on February l 8, 2025, I sent Colorado· s Director of the

                 Office of Grants Management a non-compl iance letter notifying it that DHS/FEMA was

                 temporarily withholding payment to Colorado of SSP Grants, pursuant to 2 C.F.R. §

                 200.339(a), and was instituting specific restrictions on Colorado's SSP grant awards,

                 pursuant to 2 CFR § 200.208 because OHS has significant concerns that the SSP funding

                 is going to entities engaged in or facilitating illegal activities. FEMA gave Colorado 30

                 days to provide additional info1mation described in the letter and 60 days to appeal. To my

                 knowledge, Colorado has neither provided the additional information nor appealed.

                 Exhibit 11 .

          31. As to the Wisconsin SSP Grant listed in Exhibit I :2, I sent a non-compliance letter on

                 March 11, 2025 to the Wisconsin Department of Military of Affairs explaining that

                 DHS/FEMA is temporarily withholding payments to Wisconsin for SSP Grant pursuant to

                 2 C.F.R. ~200.339(a) and is instituting specific conditions on these awards pursuant to 2

                 C.F.R. § 200.208 because DHS has significant concerns that the SSP funding is going to

                 entities engaged in or facilitating illegal activities. Exhibit 12. FEMA gave Wisconsin 30



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                  days to provide additional info1mation described in the letter an(i 60 days to appeal. Id.

                  Specifically, DHS is concerned that entities receiving SSP payments may be guilty of

                  encouraging or inducing an alien to come to. or enter, or reside in the United States in

                  violation of law. See Exhibit 12.

        I declare. under penalty of pe1jury, that the foregoing is true and correct based upon my personal

        knowledge, based upon the collective infonnation known within the Agency and provided by

        pertinent individuals within the Agency with direct knowledge of that information, and based upon

        a review of records and infonnation kept in the ordinary course of business pursuant to 28 U.S.C

        § 1746.

        Executed on this __ day of March 1025.


          ~~
        Cameron Hamilton
        Senior Official Performing the Duties of Administrator
        Federal Emergency Management Agency




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 From:
 Sent:
 To:
 Cc:
 Subject:

 Importance:            High



 Good afternoon, all.

 AAD is handling for FEMA GO for FY24 awards-•           is putting hold toggles on !!! programs
 listed in the Daily Dash.

 For all awards FY23 and prior: put fi nancia l holds on all of your awards - all open awards, all
 years (2021, 2022, 2023, 2024).
     •                          , you can toggle in FEMA GO and do so for all of your fire-re lat ed
         programs
     •                   , your team will need to go in ND Grants and put individua l holds on al l
         HSGP and NSGP awards
     •                          , your t eam will need to go in ND Grants and put individual holds
         on all EMPG, RCPGP, EOCGP, THSGP awards
     •                  , your team will need to go in ND Grants and put individua l holds on al l
         SLCGP and TCGP awards

 Please confi rm once completed.

 Stacey

 Stacey N. Street
 Director, Office of Grants Administration
 Grant Programs Directorate I Resilience
 Office :              I Mobile:


 Federa l Emergency Management Agency
 fema.gov



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 From:
 Sent:
 To:
 Cc:

 Subj ect:       Follow-up

 Importance:     High



 Hi everyone, follow up to yeste rday's verbal late afternoon discuss and to the subsequent
 Teams meeting we had j ust a short while ago. Here is our action plan going forwa rd:

 Awards w ill be amended so t hat the following grant programs wil l resu lt in reim bursement
 requests being manual ly reviewed and, when approved by staff, manual ly reimbursed to
 recipients :

 Already Standard Manual Approach Employed (no changes needed)
    • Assista nce to Firefighters Grant (AFG) Progra m
    • Fire Prevention & Safety (FP&S) Grant Progra m
    • Staffing for Adequate Fire and Emergency Respo nse (SAFER)
    • Shelter and Services Progra m (SSP)
    • State and Local Cybersecu rity Grant Program (SLCG P) (FY24)

 Existing awards (FY2024/2023/2022/2021/2020) will be modified so that reimbursement
 requests will be manually reviewed and manually processed upon approval by
 program/financial staff. Upon approval of reimbursement requests, GPO will have 30 days to
 process payment, per 2 CFR Part 200.
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     •   TSGP
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     •   EMPG
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 I am se ng up a training mee ng today with our system colleagues so that they can walk us
 through steps. PMO will also be able to add rights to staﬀ to help in amending exis ng awards.

 I will set up a meline ac on plan with melines, roles, and responsibili es for all staﬀ to
 complete the amendments. I will also coordinate with program colleague counterparts across
 Resilience and ORR to help ensure that they are aware and can also replicate across their grant
 program por olios and will be asking our AAD-Mi ga on team members to assist their
 program colleague counterparts in amending awards.

 I am working with
                      -    to cra an Informa on Bulle n that will explain this approach to
 our grant program recipient stakeholders.

 Last but not least,
                      -        and I will work to modify the CY25 performance plans to account
 for this scope of responsibility and ensure that, upon manual review approvals, payments will
 be made within the allo ed 30-day maximum meline noted by 2 CFR Part 200. We will also
 provide guidance very shortly on program oﬃce versus financial oﬃce roles and
 responsibili es with manual reviews and manual reimbursements. I expect that we will model
 the fire grants approach whereby program oﬃces have primary lead on reimbursement
 reviews, approval determina ons, and manual reimbursement release processings.

 Note that these are not “holds.” We are modifying our programs so that payment requests
 are now reviewed manually and processed manually. “Holds” implies what we were directed
 to originally due with OMB M-25-13, which was rescinded and a TRO injunc on placed. We are
 not holding on awards, we will s ll be processing our awards but will be adding a level of
 internal controls to ensure that payment requests are reviewed prior to payments be released
 to recipients (in order to ensure that payments align to the award project, NOFO scope of
 allowability, 2 CFR Part 200 principles, etc.) For FY 2025, the intent is to have this approach as
 standard in the NOFOs.

 Happy to discuss, thank you.

 Stacey

 Stacey N. Street
 Director, Oﬃce of Grants Administra on
 Grant Programs Directorate| Resilience
 Oﬃce:                 | Mobile:


 Federal Emergency Management Agency
 fema.gov



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        From:
        To:
        Subject:            FEMA PA Notification - Message to Grant Recipients on Review Process Updates
        Date:               Friday, February 28, 2025 4:14:13 PM



        From: support.pagrants@fema.dhs.gov <support.pagrants@fema.dhs.gov>
        Sent: Friday, February 28, 2025 10:16 AM
        To:
        Subject: FEMA PA Notification - Message to Grant Recipients on Review Process Updates


        Dear Recipient,

        The Federal Emergency Management Agency (FEMA) is taking swift action to ensure the
        alignment of its grant programs with Secretary Noem’s direction. In accordance with this
        direction, FEMA and the Department of Homeland Security (DHS) are instituting
        additional reviews on the allowability of costs for all grant payments and obligations, as
        permitted by 2 C.F.R Part 200, where applicable.

        Effective immediately, FEMA and DHS are implementing an additional review process of
        allocations before releasing funds for all grants. These actions will ensure that funding is
        obligated and disbursed in line with the Secretary’s direction.

        Upon completion of reviews, approved funding will be processed through the respective
        grant systems. Per 2 C.F.R. Part 200, payment requests may take up to 30 days to
        process depending on the size and scope of the submission. If additional information is
        needed, a request for information will be issued, and the timeline may be extended.

        For existing payment requests currently in the system, FEMA will reach out if additional
        information is needed.

        Thank you,
        FEMA Recovery Directorate

        If you require additional assistance with the FEMA Grants Portal, please contact the Grants
        Portal Hotline at (866) 337-8448 or FEMA-Recovery-PA-Grants@fema.dhs.gov

        Please do not respond to this e-mail. This mailbox is not monitored, and you will not receive a response.


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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                       Plaintiffs,                              C.A. No. 1:25-cv-00039

               v.

        DONALD TRUMP, in his official capacity as
        President of the United States, et al.,

                       Defendants.


                    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ STATUS REPORT

              1.      Plaintiff States offer this response to Defendants’ Status Report to provide further

       information regarding Defendants’ compliance with the Court’s Temporary Restraining Order

       (ECF No. 50) and Order of Preliminary Injunction (ECF No. 161).

              2.      On February 28, 2025, Plaintiff States filed a Second Motion to Enforce the

       Court’s Temporary Restraining Order. ECF No. 160. In that motion, Plaintiff States reported 140

       Federal Emergency Management Agency (“FEMA”) grants from at least twenty different FEMA

       grant programs to have been frozen or otherwise rendered inaccessible in sixteen Plaintiff States.

       Plaintiff States further reported FEMA grants been to have been frozen in FEMA’s Payment and

       Reporting System (“PARS”), with grants showing as subject to a “Hold” and/or “under review.”

       Draw-downs submitted as early as February 7 remained unpaid, with the system generating an

       error message when state agencies attempted to submit a request for reimbursement. E.g., ECF

       No. 160-1 (McCombs Aff.), ¶¶ 6, 17; id., Ex. A, C (Arizona and Colorado screen captures).




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              3.      On March 6, 2025, the Court granted Plaintiffs States’ Motion for a Preliminary

       Injunction, denied Plaintiff States’ Second Motion to Enforce the Court’s Temporary Restraining

       Order as moot, and ordered Defendant FEMA to file a status report by March 14, 2025,

       informing the Court of the status of FEMA’s compliance with the Court’s March 6 Preliminary

       Injunction Order. ECF No. 161.

              4.      As of March 12, 2025, none of the grants reported in the February 28 Motion

       have opened in the intervening two weeks since the Second Motion to Enforce was filed. See

       ECF No. 160-1 (McCombs Aff.), ¶¶ 4–20. Indeed, the number of frozen FEMA grants has

       increased. As of March 12, 2025, at least 215 FEMA grants to at least nineteen plaintiff states

       remain frozen or otherwise rendered inaccessible. This includes grants to the following states:

       Arizona, California, Colorado, Connecticut, Hawaii, Illinois, Kentucky, Maine, Maryland,

       Massachusetts, Michigan, Minnesota, New Jersey, New York, Oregon, Rhode Island, Vermont,

       Washington, and Wisconsin. In several cases, the freezes apply to multiple grants in the same

       grant programs spanning several fiscal years. This is a significant increase from the 140 grants

       reported on February 28, 2025.

              5.      The more than thirty FEMA grant programs subject to freezes include, but are not

       limited to, the following:

          •   Assistance to Firefighters Grant Program;
          •   Building Resilient Infrastructure and Communities (multiple fiscal years);
          •   Community Assistance Program – State Support Services Element;
          •   Cooperating Technical Partners;
          •   Dam Safety Grants;
          •   Disaster Case Management Program;
          •   Emergency Management Performance Grant (multiple fiscal years);
          •   Emergency Operations Center (multiple fiscal years);
          •   Emergency Management Preparedness Grant (multiple fiscal years);
          •   Fire Prevention & Safety Grant Program;
          •   Flood Mitigation Assistance;
          •   Floodplain Mapping Program – Cooperating Technical Partnership Award;

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          •   Hazard Mitigation Grant Program;
          •   Hazard Mitigation Grant Program Post Fire;
          •   Hazardous Material Emergency Preparedness Grants;
          •   High Hazard Potential Dam Grants;
          •   Homeland Security Grant Program (multiple fiscal years);
          •   Map & Modernization & Risk Mapping;
          •   National Dam Safety Program State Assistance Grant-Infrastructure;
          •   National Earthquake Hazards Reduction Program;
          •   Nonprofit Security Grant Program (multiple fiscal years);
          •   Port Security Grant Program;
          •   Pre-Disaster Mitigation (multiple fiscal years);
          •   Public Assistance Grants (multiple fiscal years);
          •   Regional Catastrophic Preparedness Grant Program;
          •   Safeguarding Tomorrow Revolving Loan Fund Program;
          •   Shelter and Services Program Grant;
          •   Staffing for Adequate Fire and Emergency Response;
          •   State and Local Cybersecurity Grant Program (multiple fiscal years);
          •   Targeted Violence and Terrorism Prevention Grant Program; and
          •   Transit Security Grant Program.

              6.      Consistent with information provided in Plaintiffs’ Second Motion to Enforce the

       Court’s Temporary Restraining Order, grants from the above-listed programs remain frozen in

       payment systems used by FEMA including the PARS portal, with holds dating back to February

       7 and others newly reported as of March 12. In some instances, States cannot submit requests to

       drawdown reimbursement, because the entire grant has been frozen.

              7.      Counsel for the Plaintiff States have continued to work with counsel for the

       Defendants to provide information regarding these ongoing disruptions and to achieve

       compliance with the Preliminary Injunction, including through email communications on March

       13 and 14, 2025.

              8.      In Defendants’ Status Report filed March 14, 2025, Defendants state that the

       delays in FEMA funding reported by the Plaintiff States relate to a “manual review process that

       FEMA is utilizing” and that “FEMA reviews grant projects, activities, and source documentation

       before releasing funds for reimbursement paid to its grant recipients.” ECF No. 166 at 1.


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       Defendants further state that this “manual review process” is authorized by FEMA’s “inherent

       authority to manually review source documentation from a grant recipient and other information

       relevant to confirming the requested funding.” Id. at 2.

              9.      As the basis for this “inherent authority,” Defendants cite 2 C.F.R. § 200.300(a),

       which provides as follows:

              The Federal agency or pass-through entity must manage and administer the Federal
              award in a manner so as to ensure that Federal funding is expended and associated
              programs are implemented in full accordance with the U.S. Constitution, applicable
              Federal statutes and regulations—including provisions protecting free speech, religious
              liberty, public welfare, and the environment, and those prohibiting discrimination—and
              the requirements of this part. The Federal agency or pass-through entity must
              communicate to a recipient or subrecipient all relevant requirements, including those
              contained in general appropriations provisions, and incorporate them directly or by
              reference in the terms and conditions of the Federal award.

              10.     Defendants’ Status Report attaches an undated declaration of Cameron Hamilton,

       FEMA’s “Senior Official Performing the Duties of the Administrator.” ECF No. 166-1 (Hamilton

       Decl.). In that declaration, Hamilton states that FEMA’s funding pause was implemented on

       February 10, id., ¶ 4, when Stacey Street, Director of FEMA’s Office of Grant Administration,

       instructed staff to “put financial holds on all of your awards – all open awards, for all years

       (2021, 2022, 2023, and 2024).” ECF No. 166-4.

              11.     On February 14, Hamilton issued a more detailed “Grant Processing Guidance”

       on the FEMA hold process. ECF No. 166-7. That guidance, however, does not identify the

       discrete legal violations that FEMA is attempting to identify during this manual review. For some

       grant programs, the review is for whether the program may “indirectly or incidentally aid illegal

       aliens”; for others, it is a hold “pending a compliance review,” without specifying to which

       obligation the compliance pertains; and for others, the review is simply a review “by Secretary

       Noem prior to issuance.” Id. at 2.



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              12.     Neither Hamilton’s February 14 guidance document nor his undated declaration

       filed in this litigation have provided an end date for the review process or any specifics as to how

       long a funding disbursement will be “held” pending review.

              13.     Plaintiff States’ experience directly contradicts the assertions made in FEMA’s

       status report, in particular Hamilton’s assertion that after March 14, 2025, “Arizona will be able

       to resubmit [its] requests for payments” previously identified in paragraph 5 of the McCombs

       Declaration. ECF No. 166-1, ¶ 27. As one example, PARS still shows that the entire remaining

       amount ($3,748,986.60) of Arizona’s 2022 Homeland Security Grant Program grant (EMW-

       2022-SS-00010) is “on hold” and that there is $0 available to withdraw. On March 16, 2025, the

       Arizona Department of Homeland Security submitted a $1.00 draw request in the PARS account

       for the 2022 HSGP grant. That request triggered the following error message: “INVALID

       PAYMENT AMOUNT REQUESTED! This grant has $0.00 available. You may only request up

       to an amount of 0.00. Please enter a valid payment request amount and try again.” Thus, Arizona

       cannot even submit a draw request to be reviewed under FEMA’s new “manual review process,”

       because the PARS system automatically rejects any draw requests for accounts with a $0

       balance. The consequences for FEMA’s continued non-compliance are significant and imminent.

       If PARS remains functionally inoperable, the Arizona Department of Homeland Security will be

       unable to draw down funds to meet its payroll obligations for the pay period that began on March

       15, 2025.

              14.     Contrary to Defendants’ assertions that a “financial hold” to permit a manual

       review process, for unspecified issues, “is not a ‘pause’ or ‘freeze’ on funding,” ECF No. 166 at

       3, the financial holds and pauses implemented by FEMA—as described by Defendants




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       themselves in their Status Report—were in violation of the Temporary Restraining Order, and are

       in violation of the Preliminary-Injunction Order, for several reasons.

              15.     First, the actions of FEMA are indisputably a pause on federal funding

       disbursements. Defendants’ own Status Report makes this clear. Hamilton states that FEMA “has

       paused” funding to entire programs, ECF No. 166-1 (Hamilton Decl.), ¶ 3, has put “hold

       toggles” on these programs in FEMA’s payment system, id., ¶ 4, and has put “financial holds” on

       these awards, id., ¶ 4. And while Hamilton has said that the use of the term “hold” in the PARS

       system “does not mean that the grant is being frozen, held, or not being distributed,” id., ¶ 6, a

       memorandum that he issued February 14, 2025 quite plainly calls for a “Hold of Funds” under

       some FEMA grants, ECF No. 166-7 at 2. The assertion that a “pause[]” is not a “pause” and that

       a “hold” is not a “hold” deserves no further discussion.

              16.     Second, the invocation of FEMA’s purported need for a “manual review” process

       does not turn this sweeping and indiscriminate pause of FEMA funding into a normal grant

       administration exercise. In its comprehensive scope and immediate effect, the “manual review”

       that FEMA describes has no meaningful difference from the review that OMB directed in

       connection with the January 27, 2025 OMB Directive (M-25-13) that gave rise to this action.

       After OMB called for agencies to freeze funding disbursements, it provided a spreadsheet of

       funding streams to facilitate an ostensibly individualized review of those funding streams for

       compliance with various policy objectives before payments could be authorized. See ECF No. 1

       (Compl.), Ex. B. Here, similarly, FEMA has frozen federal funding disbursements en masse in

       order to find irregularities it has not identified and has called for an individualized review of

       funding streams for grant recipients’ compliance with obligations it has not specified, while




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       providing no instructions to States on how to navigate the “manual review” process or when they

       might expect the process to be resolved.

              17.     Third, the Hamilton Declaration and documents attached to it mistakenly suggest

       at times that FEMA need only make payments to the States within thirty days. See, e.g., ECF No.

       166-1 (Hamilton Decl.), ¶ 20; ECF No. 166-5 (Email from Stacey Street, Feb. 11, 2025) (stating

       that FEMA “will have 30 days to process payment”). This is incorrect. The 30-day deadline

       applies to disbursements to non-states. 2 C.F.R. § 200.305(b)(3). The payments here are being

       held, for several weeks in some cases, without statutory authorization or clear justification. Even

       assuming that 31 C.F.R. Part 205 Subpart B controls here, FEMA’s indefinite pause exceeds the

       timeframe contemplated by those regulations as well. See 31 C.F.R. § 205.33(a) (requiring fund

       transfers to be “as close as is administratively feasible to a State’s actual cash outlay”). The

       indefinite pause also departs from past practice, in which payments were typically made within

       24 hours of the request.

              18.     Fourth, FEMA’s pause has no other legal basis, nor do Defendants cite to such a

       basis. Instead, Defendants refer to an “inherent authority” to impose these pauses, citing 2 C.F.R.

       § 200.300(a). See ECF No. 166 at 2; ECF No. 166-1 (Hamilton Decl.), ¶ 5. That regulation

       provides no basis for the funding pause that FEMA has placed in effect. Rather, 2 C.F.R. §

       200.300(a) is a regulation promulgated by the Office of Management and Budget for federal

       grants generally, and it simply provides that federal agencies must administer federal awards to

       ensure that programs are implemented “in full accordance with the U.S. Constitution, applicable

       Federal statutes and regulations.” 2 C.F.R. Part 200 specifies the mechanisms that federal

       agencies may use to manage performance and ensure appropriate controls, including Subpart D

       (Post Federal Award Requirements) and Subpart F (Audit Requirements). See especially 2



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       C.F.R. §§ 200.339(a) (specifying the circumstances when grantor agencies may temporarily

       withhold payments for noncompliance), 200.501 (grantee audit requirements). The general duties

       of § 200.300(a) do not add to these mechanisms and provide no authority to implement a freeze

       with no set end date.

              19.     For these reasons, FEMA’s ongoing pause failed to comply with the TRO and is

       now failing to comply with the Preliminary-Injunction Order. Plaintiff States again request that

       all holds on FEMA grant funds be lifted and that payments be processed without delay.


                                            Respectfully submitted,

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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                       Plaintiffs,

               v.
                                                                C.A. No. 1:25-cv-00039
        DONALD TRUMP, IN HIS OFFICIAL CAPACITY
        AS PRESIDENT OF THE UNITED STATES, et al.,

                       Defendants.



       RENEWED SECOND MOTION TO ENFORCE THE COURT’S ORDERS PERTAINING
                          TO FREEZE OF FEMA FUNDS
              Plaintiff States, through this motion, respectfully request that the Court use its inherent

       authority to enforce the Preliminary Injunction Order entered on March 6, 2025. Plaintiff States

       specifically request that the Court order Defendant the Federal Emergency Management Agency

       (“FEMA”) to cease freezing obligated funds and that the Court direct that notice of such order,

       along with notice of the court’s March 6, 2025 Order, be provided to FEMA’s leadership and staff,

       as described below.

              The Court’s intervention is necessary because, following the Court’s March 6 order,

       Plaintiff States have continued to experience significant obstacles to accessing federal funds. This

       is so despite the Court’s direction to Defendants to “file a status report on or before March 14,

       2025, informing the Court of the status of their compliance with” the March 6 Order. ECF No.

       161, at 45. The parties remain at an impasse as to millions of dollars in obligated FEMA awards,

       which are and have remained frozen dating to as early as February 7. Plaintiff States will need to

       wind down important programmatic emergency services, including disaster relief to people and

       communities affected by the Maui wildfires, in short order if funding is not immediately unfrozen.

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       Speer Decl. ¶ 18, attached as Exhibit 1. The Court should enforce its March 6 preliminary

       injunction with respect to FEMA.

                                         FACTUAL BACKGROUND

           I.      The Court’s Orders

                The Court’s January 31, 2025, TRO prohibited Defendants from “paus[ing], freez[ing],

       imped[ing], block[ing], cancel[ling], or terminat[ing] Defendants’ compliance with awards and

       obligations to provide federal financial assistance to the States,” and provided that “Defendants

       shall not impede the States’ access to such awards and obligations, except on the basis of the

       applicable authorizing statutes, regulations, and terms.” ECF No. 50, at 11. That order expressly

       prohibited the Defendants from using “‘identif[ication] and review’ of federal financial assistance

       programs” to implement a “pause, freeze, impediment, block, cancellation, or termination of

       Defendants’ compliance with such awards and obligations, except on the basis of the applicable

       authorizing statutes, regulations and terms.” Id. at 12. Included among the Defendants for purposes

       of the TRO was FEMA, a defendant named in the original Complaint. ECF No. 1, ¶ 41. 1

                Following the entry of that order, counsel for Plaintiff States conferred with counsel for

       Defendants about ongoing freezes of numerous grants and awards, but were unable to reach

       agreement. ECF No. 66, at 7–8. Plaintiff States moved to enforce the TRO on February 7, 2025.

       ECF No. 66. On February 10, 2025, the Court granted that motion, ordering among other things

       that:

                1.     The Defendants must immediately restore frozen funding during the
                pendency of the TRO until the Court hears and decides the Preliminary Injunction
                request.


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        FEMA remains a defendant in the First Amended Complaint because the Department of
       Homeland Security is a defendant, and FEMA is an agency within the Department of Homeland
       Security. ECF No. 114, ¶ 55.
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              2.     The Defendants must immediately end any federal funding pause during
              the pendency of the TRO.
              3.     The Defendants must immediately take every step necessary to effectuate
              the TRO, including clearing any administrative, operational, or technical hurdles
              to implementation.
       ECF No. 96, at 4.
              The Court subsequently issued an order affirming that the TRO “permits the Defendants to

       limit access to federal funds ‘on the basis of the applicable authorizing statutes, regulations, and

       terms’” and clarifying that neither the TRO nor the February 10 order instituted a “preclearance”

       or “prior approval” requirement. ECF No. 107, at 3.

              Plaintiff States continued to experience disruptions in federal funding, one of which was

       particularly acute and widespread—the funding freeze implemented by FEMA, which has

       impacted many public safety programs. Therefore, on February 28, Plaintiff States filed a Second

       Motion to Enforce based on continued inability to access these important funds. ECF No. 160.

              On March 6, the Court issued its preliminary injunction order. ECF No. 161. In relevant

       part, the Court enjoined Defendants, including FEMA, “from pausing, freezing, blocking,

       canceling, suspending, terminating, or otherwise impeding the disbursement of appropriated

       federal funds to the States under awarded grants, executed contracts, or other executed financial

       obligations based on the OMB Directive, . . . or any other materially similar order, memorandum,

       directive, policy, or practice under which the federal government imposes or applies a categorical

       pause or freeze of funding appropriated by Congress.” ECF No. 161, at 44. At the same time, the

       Court recognized that the Second Motion to Enforce was mooted by the decision on the

       preliminary injunction, but nevertheless ordered FEMA to submit a status report by March 14.

       ECF No. 161, at 45.




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          II.      FEMA Grants and Awards Remain Frozen, Endangering Important State
                   Disaster Relief Programs

                The issues raised in Plaintiff States’ Second Motion to Enforce continue largely unabated.

       As Plaintiff States reported on March 17, “[a]s of March 12, 2025, at least 215 FEMA grants to at

       least nineteen plaintiff states remain frozen or otherwise rendered inaccessible.” ECF No. 167, at

       2. Now, approaching the close of the quarter, lack of access to funding is poised to disrupt

       programs.

                For Hawai‘i, this means the imminent cessation of case management services for victims

       of the 2023 Maui wildfires, “including the wildfire-initiated urban conflagration that caused

       extreme damage to the historic town of Lahaina, killed over 100 people and displaced thousands

       of Hawaiʻi residents from their homes.” Speer Decl. ¶ 3. Before FEMA initiated its categorical,

       indefinite pause of funding, Hawai‘i usually received reimbursement within approximately one

       week of submitting a request, a time period that allowed for FEMA’s review and the mechanics of

       the fund transfer. Id. ¶ 13. As of today, Hawai‘i has waited nearly 30 days for reimbursement. Id.

       ¶ 12. This abrupt change in practice is near fatal because a key requirement of FEMA regarding

       these grant funds is that Hawaiʻi is precluded from maintaining more than three business days’

       worth of cash on hand. Id. ¶ 18. If Hawai‘i does not receive reimbursement by March 31, it will

       be forced to discontinue its “work with survivors to create unique disaster recovery plans that are

       individualized to each household, and . . . help survivors navigate their recovery and work with

       the myriad of resources available to meet their needs.” Id. ¶¶ 6, 18. Hawai‘i currently provides

       these services to more than 4,000 individual wildfire survivors, but that work will cease as of April

       4 if funds are not released. Id. ¶¶ 6, 8, 18. Hawai‘i has raised these serious issues with its

       counterpart grant administrators at FEMA. Id. ¶¶ 16, 18. Despite seeking reassurance or guidance




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       from FEMA, “there is no known timeline for when FEMA or the federal Department of Homeland

       Security will determine if, or when, it will approve” Hawai‘i’s pending funding requests. Id. ¶ 16.

               Oregon is waiting on $129.4 million in federal funds and has not received payment on any

       of its FEMA requests for more than 30 days. McMahon Decl. ¶ 20, attached as Exhibit 2. Most of

       Oregon’s grants are granted on to subrecipients such as local and tribal governments, id., which

       are facing issues with timely reimbursement, id. ¶ 21. Oregon’s Emergency Management

       Performance Grant coordinates local, state, and interstate resources to address life-safety needs

       through funding projects like auxiliary communications systems and joint training exercises. Id.

       ¶ 23. After the close of the first quarter on March 31, Oregon’s emergency management agency

       will not have the funds to continue supporting these activities, including staff salaries, without

       FEMA reimbursement. Id. ¶ 22.

               Colorado has experienced very similar disruption. From February 18 to March 24

       Colorado’s emergency management agency has requested or attempted to request over $33 million

       in reimbursement costs from FEMA under 14 grant programs. Haney Decl. ¶ 6, attached as Exhibit

       3. None of the requests have been approved. Id. Many of Colorado’s requests for payment were

       made more than 30 days ago. Id. ¶¶ 7–20. Colorado’s grants fund flood hazard mitigation and the

       development of local hazard mitigation plans, among other important emergency preparedness

       goals. Id.

               In their status report filed on March 14, Defendants asserted that this indefinite pause on

       obligated federal grant monies is not in violation of this Court’s orders, including the preliminary

       injunction. ECF No. 166. That is, instead of taking this Court’s order to provide a status report as

       an opportunity to inform the States of when they might expect an end to this widespread

       inaccessibility of funding administered by FEMA, Defendants provided no definite date by which



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       such pause might cease. Id. As described in Plaintiff States’ Response, ECF No. 167, at 6–8, and

       further below, Defendants are wrong in their contention that statute or regulation authorizes them

       to withhold funding for 30 days for any purported “manual review” process. But regardless of the

       legal merit of that contention (there is none), as a factual matter, multiple states have funding

       requests that have been pending for longer than 30 days. McMahon Decl. ¶ 20; Haney Decl. ¶¶ 7–

       20; Rice Decl. ¶¶ 5–7, attached as Exhibit 4.

              In addition, among Defendants’ other arguments, they have asserted that the FEMA manual

       review process is “not new,” implying some history of or relation to past manual review processes.

       ECF No. 166, at 3. But their own statements belie that claim: on March 18, FEMA asserted to

       Colorado that it would, “effective immediately” institute “an additional review process of

       allocations before releasing funds for all grants.” Rice Decl. Ex. A. This was followed on March

       19 with an announcement by FEMA of “additional reviews on all grant payments and obligations

       to ensure allowability in accordance with 2 C.F.R. § 200.305.” Rice Decl. Ex. B. None of this

       correspondence to recipients referenced any prior manual review or linked the newly applicable

       procedures to any past procedure. Rice Decl. Exs. A–B.

                                             LEGAL STANDARD

              Courts may issue further orders to obtain “compliance with a court order.” United States v.

       Saccoccia, 433 F.3d 19, 27 (1st Cir. 2005) (citing McComb v. Jacksonville Paper Co., 336 U.S.

       187, 191 (1949)). In the First Circuit, a party seeking such an order must show: (1) notice of the

       court order; (2) clarity and lack of ambiguity of the order; (3) ability to comply; and (4) violation

       of the order. Letourneau v. Aul, No. CV 14-421JJM, 2024 WL 1364340, at *2 (D.R.I. Apr. 1, 2024)

       (citing Hawkins v. Dep’t of Health & Hum. Servs., 665 F.3d 25, 31 (1st Cir. 2012)).




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                                                   ARGUMENT

               Plaintiffs have satisfied the first two factors: FEMA had notice of the Court’s order, and

       the Court has made numerous pronouncements about the scope and effect of its Orders. Similarly,

       the third factor is satisfied because FEMA is plainly able to comply with the preliminary injunction

       by lifting its pause on funding to Plaintiff States.

               As to the fourth factor, FEMA appears to be violating the preliminary injunction. To

       reiterate, the preliminary injunction prohibits FEMA “from pausing, freezing, blocking, canceling,

       suspending, terminating, or otherwise impeding the disbursement of appropriated federal funds to

       the States under awarded grants” if that action is “based on the OMB Directive, . . . or any other

       materially similar order, memorandum, directive, policy, or practice under which the federal

       government imposes or applies a categorical pause or freeze of funding appropriated by Congress.”

       ECF No. 161, at 44.

               As explained in Plaintiff States’ March 17, 2025 Response to Defendants’ Status Report,

       FEMA’s categorical and indefinite freeze of funding appears to be violating the preliminary

       injunction for at least four reasons. See ECF No. 167, at 6–8.

               First, FEMA’s own statements to this Court have characterized Plaintiff States’ inability to

       access funds as a “hold” or a “pause.” Specifically, defendants’ submissions state that FEMA “has

       paused” funding to entire programs, ECF No. 166-1 (Hamilton Decl.), ¶ 3, has put “hold toggles”

       on these programs in FEMA’s payment system, id. ¶ 4, and has put “financial holds” on these

       awards, id. ¶ 4. Moreover, a memorandum issued on February 14, 2025 quite plainly calls for a

       “Hold of Funds” under some FEMA grants, ECF No. 166-7, at 2.

               Second, regardless of whether a delay of limited duration would violate the Court’s orders,

       the sweeping, indiscriminate, and indefinite pause implemented by FEMA under the guise of a



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       purported “manual review” process is essentially the same funding pause pending purported

       review of grant programs that OMB directed each agency to carry out, and which this court

       enjoined. See ECF No. 1 (Compl.), Ex. B. After OMB called for agencies to freeze funding

       disbursements, it provided a spreadsheet of funding streams to review before payments could be

       authorized. Id. Here, similarly, FEMA has frozen federal funding disbursements en masse while it

       purports to review funding streams to find irregularities it has not identified or review grant

       recipients’ compliance with obligations it has not specified.

              Third, FEMA errs in arguing that a 30-day payment window that appears in 2 C.F.R. §

       200.305(b)(3) demonstrates that payments are not paused. See, e.g., Hamilton Decl. ¶ 20; ECF No.

       166-5 (Email from Stacey Street, Feb. 11, 2025) (stating that FEMA “will have 30 days to process

       payment”). As an initial matter, that deadline is plainly inapplicable to disbursements to States. 2

       C.F.R. § 200.305(b)(3); see 31 C.F.R. § 205.33(a) (requiring fund transfers to States to be “as close

       as is administratively feasible to a State’s actual cash outlay”). In any event, for many States,

       FEMA has been continuing to refuse to release requested funds for more than thirty days. Thus,

       even if 31 C.F.R. Part 205 Subpart B controlled here—which it does not—FEMA has exceeded

       the timeframe contemplated by those regulations. FEMA’s failure to abide by the (inapplicable)

       30-day window that it invoked further demonstrates that its actions are an indefinite pause of

       funding in violation of the Court’s preliminary injunction.

              Indeed, after FEMA filed its status report, the agency has started claiming that it is entitled

       to multiple 30-day review periods that have no set end, all while obligated funding remains paused.

       In particular, on March 19, 2025, FEMA wrote to Plaintiff States that it is entitled to a series of

       30-day reviews, relying on the same authorities discussed above. Rice Decl. Ex. B. FEMA has

       now asserted that it may deny a request for reimbursement “[i]f an adequate response is not



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       received” to its informational demands, in which case Plaintiff States “may need to submit a new

       reimbursement request; this will re-start the 30-day timeline.” Id. There is no basis, even in the

       inapplicable 2 C.F.R. § 200.305(b)(3) regulation, for a series of rolling 30-day windows for

       approval of reimbursement requests. FEMA’s actions essentially extend indefinitely a categorical

       pause on all grant funding it administers based on unarticulated criteria that are not based in any

       statute or regulation.

               Fourth, FEMA identified no other legal basis in its status report for its withholding of funds

       with no end date, invoking only “inherent authority” that it is not granted under statute, citing 2

       C.F.R. § 200.300(a). See ECF No. 166, at 2; Hamilton Decl. ¶ 5. That regulation provides no basis

       for the funding pause that FEMA has placed in effect. Rather, 2 C.F.R. § 200.300(a) is a regulation

       promulgated by the Office of Management and Budget for federal grants generally, and it simply

       provides that federal agencies must administer federal awards to ensure that programs are

       implemented “in full accordance with the U.S. Constitution, applicable Federal statutes and

       regulations.” 2 C.F.R. Part 200 specifies the mechanisms that federal agencies may use to manage

       performance and ensure appropriate controls, including Subpart D (Post Federal Award

       Requirements) and Subpart F (Audit Requirements). See especially 2 C.F.R. §§ 200.339(a)

       (specifying the circumstances when grantor agencies may temporarily withhold payments for

       noncompliance), 200.501 (grantee audit requirements). The general duties of § 200.300(a) do not

       add to these mechanisms and provide no authority to implement a freeze with no set end date.

               FEMA may not, consistent with the preliminary injunction, subject Plaintiff States to a

       pause without end to conduct a new process that is not authorized by law or regulation. FEMA’s

       current actions mean that at minimum five States have now been unable to access funds for more

       than 30 days, with states such as Hawai‘i now poised to discontinue critical programming.



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                                               RELIEF SOUGHT

               Plaintiff States move the Court, under its inherent powers, to order FEMA to immediately

       halt the challenged practice and to direct that notice of such order, along with notice of the court’s

       preliminary injunction, or any forthcoming orders the Court deems relevant, be provided to

       FEMA’s leadership, as well as all FEMA staff who administer these grants and other federal

       financial assistance, with confirmation of such notice, including the names of recipients of the

       notice, no later than 48 hours after such order.



       Dated: March 24, 2025                                   Respectfully Submitted,

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                      Exhibit 1




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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND



        STATE OF NEW YORK; et al.,

                       Plaintiffs,

                 v.                                              C.A. No. 1:25-cv-00039-JJM-PAS

        DONALD TRUMP, in his official capacity as
        President of the United States; et al.,

                       Defendants.



                                     DECLARATION OF TRISTA SPEER
                      I, Trista Speer, declare as follows:

                1.    I am a resident of the State of Hawaiʻi (State). I am over the age of 18 and have

       personal knowledge of all the facts stated herein, except those matters stated upon information

       and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

       testify competently to the matters set forth below.

                2.    I am currently employed by the State of Hawaiʻi, Department of Human Services

       as Deputy Director.

                3.    In August 2023, wildfires on the island of Maui (the 2023 Maui Wildfires),

       including the wildfire-initiated urban conflagration that caused extreme damage to the historic

       town of Lahaina, killed over 100 people and displaced thousands of Hawaiʻi residents from their

       homes.

                4.    The Department of Human Services is responsible for administering the Federal

       Emergency Management Agency (FEMA) funded Disaster Case Management Program (DCMP)

       on behalf of the State for the survivors of the 2023 Maui Wildfires.

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              5.      As a Deputy Director for the Hawaiʻi Department of Human Services, I was

       responsible for drafting and submitting the State’s September 2023 application for the FEMA

       DCMP grant and overseeing the administration of the program on behalf of the state.

              6.      The DCMP connects survivors of disasters with specially trained Disaster Case

       Managers (DCMs) to help assess and address their disaster-related unmet needs. To accomplish

       this, DCMs work with survivors to create unique disaster recovery plans that are individualized

       to each household, and include resources, decision-making priorities, guidance, and tools. The

       DCMs act as a “quarterback” to help survivors navigate their recovery and work with the myriad

       of resources available to meet their needs. Our DCMP services are available to all survivors

       impacted by the 2023 Maui Wildfires.

              7.      The DCMP is a team of more than 120 staff members across the Department of

       Human Services, its contracted provider, and the provider’s subcontracted local community-

       based organizations that provide these crucial recovery services to the more than 6,300 survivors

       we have assisted since November 2023.

              8.      The DCMP currently serves approximately 1,729 active cases, totaling more than

       4,431 individuals, and has made more than 9,000 referrals to community resources which has

       resulted in approximately $106 million of non-federal funds (Social Return On Investment) that

       have satisfied survivors’ disaster related needs, and has successfully assisted more than 180

       households to achieve their DCMP recovery plans.

              9.      To date, FEMA has awarded the State $25,210,370.39 for a period of

       performance from August 10, 2023, through August 10, 2025, for the purpose of administering

       the DCMP.




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               10.     The State has expended nearly all but approximately sixty (60) days of funds from

       the initial $5,738,960 obligation.

               11.     On February 21, 2025, in accordance with FEMA guidance, the State submitted a

       second obligation request for $5,738,959 (Second Obligation Request), and that request is still

       pending review with FEMA as of March 21, 2025, the date of the signing of this declaration.

               12.     On February 24, 2025, the State submitted a $475,423.62 drawdown

       reimbursement request through the federal Payment Management System (PMS) for essential

       expenses incurred in the administration of the DCMP, including payroll and invoices for direct

       services to survivors (PMS Request). That request is still pending with FEMA as of the signing

       of this declaration.

               13.     In the past, it typically took approximately 1 week for the state to receive federal

       funds from a PMS drawdown request. This process is a result of 1 to 3 business days for FEMA

       to review and approve a PMS drawdown request, and then another one to three business days for

       the transfer of federal funds to the State.

               14.     Based upon the unprecedented delay in approvals, it appears to me that the

       disbursement of federal funds for the DCMP has been paused, frozen, blocked, suspended, or

       otherwise impeded by FEMA.

               15.     The state intends to submit another drawdown request on or about March 21,

       2025, for approximately $463,550 to cover additional essential expenses associated with the

       DCMP.

               16.     Our assigned FEMA grant team has stated via email, and I understand also

       verbally in our monthly FEMA grant team meeting, that there is no known timeline for when




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       FEMA or the federal Department of Homeland Security will determine if, or when, it will

       approve our pending PMS Request or the Second Obligation Request.

              17.     The Department of Human Services’ budget for this year has relied on these

       FEMA grant funds, and we made plans and allocated funding for staffing, office space,

       telecommunications equipment, and entered into contractual agreements with non-profit

       organizations to manage and provide the direct disaster case management services to the more

       than 6,300 survivors assisted through this program—who lost nearly everything in devastating

       fires—based on the anticipated receipt of federal funding promised to be provided on a swift, and

       timely, reimbursable basis following grant fund drawdown requests.

              18.     Any pauses in our federal funding predictably result in the almost immediate

       cessation of the DCMP because a key requirement of FEMA regarding these grant funds is that

       the State is precluded from maintaining more than three (3) business days’ worth of cash on

       hand. Specifically, because of the current pause, the Department of Human Services has

       informed FEMA that if the State does not receive notice of approval for the Second Obligation

       Request on or before March 31, 2025, all services of the DCMP will cease on Friday, April 4,

       2025, due to insufficient funding.

              19.     The uncertainty of funding for this program has irreparably harmed this program

       in multiple ways, including: (1) our ability to hire additional staff and service providers as

       approved in the budget to meet the demand and capacity needed for these services for survivors;

       (2) our ability to timely cover expenses incurred by this program; (3) our ability to cover payroll

       for state employees hired and completely funded by these grant funds; and (4) our ability to

       provide assurances to the thousands of survivors served by this program that this critical

       assistance will continue as originally promised by FEMA.



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           I declare under penalty of perjury that the foregoing is true and correct.

                    Executed on March 21, 2025, at Honolulu, Hawaiʻi.




                                                   _____________________________________
                                                   TRISTA SPEER




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                      Exhibit 2




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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND



        STATE OF NEW YORK; et al.,

                       Plaintiffs,

                v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

        DONALD TRUMP, in his official capacity as
        President of the United States; et al.,

                       Defendants.



                                     DECLARATION OF ERIN MCMAHON
                      I, Erin McMahon, declare as follows:

              1.      I am a resident of the State of Oregon. I am over the age of 18 and have personal

       knowledge of all the facts stated herein, except to those matters stated upon information and

       belief; as to those matters, I believe them to be true. If called as a witness, I could and would

       testify competently to the matters set forth below.

              2.      I am the Director of the Oregon Department of Emergency Management (OEM).

              3.      As noted in my previous declaration, I oversee emergency management and

       homeland security services for the State of Oregon, including disbursing federal funds for

       emergency management and homeland security needs statewide. Federal funding plays a critical

       role in state-level emergency management by providing financial support to help the state and

       local jurisdictions prepare for, respond to, and recover from disasters. The Federal Emergency

       Management Agency (FEMA) is the primary agency responsible for providing this support.




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              4.      FEMA funds and OEM manages state and local emergency preparedness and

       hazard mitigation projects. FEMA also reimburses state and local agencies and some nonprofits

       for the cost of disaster response and recovery in presidentially-declared disasters.

              5.      Oregon’s emergency management system as built out over decades has relied on

       funding from FEMA. This funding facilitates communication and coordination between the

       federal government, state governments and local governments, a critical element of Oregon’s

       emergency response plans.

              6.      OEM currently administers 29 separate FEMA grants or lines of federal disaster

       assistance that FEMA has effectively frozen. These grants fund activities including disaster

       preparedness, disaster response and mitigation, and recovery planning and training. There have

       been delays in reimbursement to Oregon and to local partners for losses experienced during

       major disasters, delaying recovery efforts and reimbursement for critical infrastructure repair and

       other essential recovery activities. There have also been delays in obligating subrecipient

       projects so that losses incurred during a declared disaster can be recovered in a timely way. On

       information and belief, OEM is not the only Oregon agency with FEMA grants that are currently

       frozen. I understand both the Oregon Water Resources Department and the Oregon Department

       of Geology and Mineral Industries have been unable to draw funds on multiple FEMA grants as

       well, including High Hazard Potential Dam grants.

              7.      The awarded FEMA grants and lines of disaster assistance from which OEM is

       currently unable to draw funds include the following:

                          a. Public Assistance Grants along eight federal lines of disaster assistance for

                              disasters including severe winter storms, flooding, mudslides, landslides,

                              wildfires, and COVID-19



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                          b. Flood Mitigation Assistance fiscal year (FY) 2021 and 2023 grants

                          c. Seven Hazard Mitigation Grant Program grants

                          d. Building Resilient Infrastructure and Communities grants for fiscal years

                             2021, 2022, and 2023

                          e. Pre-Disaster Mitigation Competitive Grant Program FY 2018 grant

                          f. Cooperating Technical Partners (RiskMAP Program) FY 2022 grant

                          g. Legislative Pre-Disaster Mitigation grants, for fiscal years 2022 and 2024

                          h. Two Emergency Management Performance Grant Program grants

                          i. Emergency Operations Center Grant Program FY 2022 and 2023 grant

                          j. Four Homeland Security Grant Program grants

                          k. Two Nonprofit Security Grant Program grants

                          l. Two Individual State Earthquake Assistance grants

                          m. State and Local Cybersecurity Grant Program FY 2022 grant

              8.      Public Assistance grants are used to help communities recover from disasters that

       have impacted Oregon over the last several years. At this time over $120 Million in public

       assistance grant dollars are frozen – these dollars need to be put back into the communities to

       support recovery efforts.

              9.      All the federal funding committed to OEM in these programs supports critical

       services in Oregon. For example, the Emergency Management Performance Grant (EMPG)

       supports state, tribal, and local emergency management services. OEM distributes 80% of

       EMPG grant funds to local agencies (35 counties, 7 cities, and 7 tribal nations for FY24).

       Emergency management systems in rural areas of Oregon rely particularly heavily on these




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       federal grant funds. These funds specifically support OEM staff and local emergency manager

       personnel costs to support emergency response, planning, training and exercises and more.

              10.     The Hazard Mitigation Grant Program funds support specific projects designed to

       mitigate disasters such as earthquakes, flooding, tsunami, and wildfires. Hazard Mitigation

       Grant Program also funds natural hazard mitigation plans which are required to be FEMA

       approved and locally adopted for federal funding. For example, the Building Resilient

       Infrastructure and Communities FY 2022 grant program has approximately $120 Million in

       proposed projects that harden critical infrastructure such as Grants Pass’s Water Treatment

       facility, Columbia Memorial Hospital’s (Astoria) tsunami vertical evacuation structure, and the

       State of Oregon’s natural hazard mitigation plan.

              11.     The Flood Mitigation Assistance grant funds help to purchase properties that are

       severe repeated losses during flood events. These property acquisitions remove people from the

       dangers of flooding and return the property back to its natural state. Flooding is the most

       predictable of all natural hazards. Flood Mitigation Assistance grants also fund flood and other

       water inundation studies to protect communities.

              12.     The Homeland Security Grant Program, Nonprofit Security Grant Program and

       the State Local Cybersecurity Grant Program provide funds to state, local, and tribal

       governments and nonprofits to prevent, protect against, prepare for, and respond to terrorist or

       other extremist acts. Funded projects include physical security improvements, cybersecurity

       enhancements, and emergency equipment and preparation activities.

              13.     The Emergency Operations Center Grant Program provides funds to improve

       emergency management and preparedness capabilities by supporting flexible, sustainable,




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       secure, strategically located, and fully interoperable emergency operations centers to be used in

       times of crisis.

               14.        The Individual State Earthquake Assistance funds efforts to enhance and

       implement earthquake risk reduction at the state and local level.

               15.        FEMA’s Cooperative Technical Partners (CTP) grant funds Oregon’s RiskMAP

       program. This program is a community collaborator to map, assess, and plan for identified risks

       throughout the state. This funding includes staff salary and travel expenses.

               16.        FEMA uses three separate payment platforms to track and fund its grants and

       federal assistance—PARS, FEMAGO, and PMS. OEM’s general practice in drawing federal

       funds has been to draw funds once per week. FEMA has in the past typically provided requested

       funds within three business days.

               17.        OEM has several grants on the FEMAGO platform that are paused. FEMA,

       through that platform, currently allows only one funding request to be made on a grant or line of

       federal assistance at a time, and each such funding request is reportedly subject to a 30-day

       review. On its FEMAGO grants, OEM has been unable to draw any funds since February 20,

       2025. And OEM and its local partners have continued to incur costs for which OEM is unable to

       even request payment on the FEMAGO platform.

               18.        Many of OEM’s FEMA grants are hosted on the PARS platform. That platform

       shows that every such FEMA grant is on hold as of March 7. OEM has been unable to draw

       funds from any PARS-hosted grant since February 20, 2025.

               19.        Multiple of OEM’s paused FEMA grants are hosted on the PMS platform. On that

       platform, OEM is able to submit payment requests to the queue and has done so. But requests




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       have not been paid since February 20, 2025. These grants are all reportedly on a 30-day FEMA

       review.

                 20.   OEM has requested payment from FEMA on most of its paused grants but has not

       received payment from FEMA for more than 30 days. OEM has received no federal FEMA

       funds since February 20. OEM is waiting on approximately $129.4 million in federal funds,

       including $129.2 million in funding for subrecipients such as cities, counties, and tribal

       governments and $200K for OEM staff and administrative costs.

                 21.   The unavailability of committed FEMA funds has created significant uncertainty

       and risk for emergency management in Oregon. OEM funding operates on a reimbursement

       model. OEM expends funds and only after expending funds does it seek federal reimbursement.

       OEM has been able to continue its service delivery to date, but OEM cannot continue to do so

       indefinitely without the receipt of committed federal funds. FEMA’s funding pause has caused

       OEM to be unable to process reimbursements to its local partners in a timely way, which creates

       challenges for those local entities as well.

                 22.   As one example, the Emergency Management Performance Grant quarter closes

       March 31. OEM does not have funds to cover the costs of these services without receipt of

       FEMA funding. We are and will continue to be unable to reimburse local emergency

       management programs in which salaries are funded by these FEMA grant funds.

                 23.   At OEM and county, city and tribal level, EMPG and other preparedness grants

       fund:

                          a. Coordinating local, state and interstate emergency response resources to

                              address life-safety needs.




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                        b. Updating emergency operations plans and associated annexes that

                            provides the framework and outlines roles and responsibilities of

                            jurisdictions and agencies to respond to emergencies.

                        c. Maintaining the auxiliary communications systems utilized by the state

                            emergency coordination center and local Emergency Operations Centers

                            to ensure resilient communication with tribal, local, state, and federal

                            emergency response personnel.

                        d. Conducting training and exercises to ensure emergency managers and

                            whole community partners are able to fulfill their roles in response and

                            recovery operations to address disaster impacts ensuring direct and

                            immediate support to victims in our next disaster.

           I declare under penalty of perjury that the foregoing is true and correct.

                    Executed on March 24, 2025, at Washington, DC.




                                                   _____________________________________

                                                           Erin McMahon, Director




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                      Exhibit 3




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                                     UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF RHODE ISLAND




        STATE OF NEW YORK, et al.,

                       Plaintiffs,

                v.
                                                                  C.A. No. 1:25-cv-00039
        DONALD TRUMP, IN HIS OFFICIAL CAPACITY
        AS PRESIDENT OF THE UNITED STATES; et al.


                       Defendants.



        DECLARATION OF THE COLORADO DIVISION OF HOMELAND SECURITY AND
                      EMERGENCY MANAGEMENT IN SUPPORT OF
       THE STATES’ RENEWED SECOND MOTION TO ENFORCE THE COURT’S ORDERS
                       PERTAINING TO FREEZE OF FEMA FUNDS



       I, Michael Haney, declare and state as follows:

              1.      I am the Director of the Office of Grants Management at Colorado’s Department of

       Public Safety’s Division of Homeland Security and Emergency Management (“DHSEM”). I make

       this declaration based on my own personal knowledge. If called upon to testify, I could and would

       testify completely to the truth of the matters stated herein.

              2.      As the Director of the Office of Grants Management, I have personal knowledge of

       the matters set forth below, or have knowledge of the matters based on my review of information

       and records gathered by my staff.




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               3.      I am providing this declaration to explain the continued impacts of FEMA’s denial

       of access to funds that had been guaranteed to the State of Colorado under various grant programs,

       described below.

               4.      The DHSEM’s mission is to lead and support Colorado’s effort to prevent, protect,

       mitigate, respond to and recover from all hazardous events.

               5.      The DHSEM is responsible for administering grants and managing homeland

       security and emergency management programs. Approximately half of DHSEM’s funding comes

       from the federal government.

               6.      From February 18, 2025, to March 24, 2025, DHSEM has requested or attempted

       to request over $33 million in reimbursement costs from FEMA under 14 grant programs. None

       of the requests have been approved.

               7.      The FEMA Public Assistance program provides assistance so that communities can

       quickly respond to and recover from major disasters or emergencies. DHSEM is awaiting

       reimbursement from FEMA for $24,199,379.20 under this program, having submitted requests to

       FEMA that are still pending on February 19, March 5, and March 14, 2025.

               8.      The State Homeland Security Grant Program provides risk-based grants to assist

       state, local, tribal and territorial efforts in preventing, protecting against, mitigating, responding to

       and recovering from acts of terrorism and other threats. DHSEM is awaiting reimbursement from

       FEMA for $438,999.60 under this program, having either submitted requests to FEMA that are

       still pending or having been denied access to submit the requests on February 19, February 20,

       March 5, and March 17, 2025.

               9.      The Emergency Management Performance Grant provides state, local, tribal and

       territorial emergency management agencies with the resources required for implementation of the




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       National Preparedness System and works toward the National Preparedness Goal of a secure and

       resilient nation. The grant’s allowable costs support efforts to build and sustain core capabilities

       across the prevention, protection, mitigation, response and recovery mission areas. DHSEM is

       awaiting reimbursement from FEMA for $2,372,068.62 under this program, having either

       submitted requests to FEMA that are still pending or having been denied access to submit the

       requests on February 18, February 19, March 3, March 5, March 13, and March 17.

              10.     The Nonprofit Security Grant Program provides assistance to enhance security for

       nonprofit organizations that are at high risk of terrorist attack. DHSEM is awaiting reimbursement

       for $514,373.02 under this program, having either submitted requests to FEMA that are still

       pending or having been denied access to submit the requests on February 19, March 5, March 10,

       and March 17, 2025.

              11.     The Emergency Operations Center Grant improves emergency management and

       preparedness capabilities. DHSEM is awaiting reimbursement for $1,143.91 under this program,

       having either submitted requests to FEMA that are still pending or having been denied access to

       submit the requests on February 19 and March 17, 2025.

              12.     The State and Local Cybersecurity Grant program provides funding to eligible

       entities to address cybersecurity risks and threats to information systems owned or operated by or

       on behalf of state, local, or tribal governments. DHSEM is awaiting reimbursement for

       $4,513,194.65 under this program, having either submitted a request to FEMA that is still pending

       or having been denied access to submit the request on February 19, March 5, and March 17, 2025.

              13.     The Building Resilient Infrastructure and Communities program supports states,

       local communities, tribes and territories as they undertake hazard mitigation projects, reducing the

       risks they face from disasters and natural hazards. DHSEM is awaiting reimbursement for




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       $7832.43 under this program, having either submitted requests to FEMA that are still pending or

       having been denied access to submit the requests on February 19, March 5, and March 17, 2025.

              14.     The Flood Mitigation Assistance grant program provides funding to state, territory

       and local governments and federally recognized Tribal Nations for projects that reduce or eliminate

       the risk of repetitive flood damage to buildings insured by the National Flood Insurance Program.

       DHSEM is awaiting reimbursement for $136.54 under this program, having either submitted

       requests to FEMA that are still pending or having been denied access to submit the requests on

       February 19 and March 4, 2025.

              15.     The Hazardous Materials Emergency Preparedness grant program provides support

       to increase State, Territorial, Tribal, and local effectiveness in safely and efficiently handling

       hazardous materials incidents.    DHSEM is awaiting reimbursement for $938.41 under this

       program, having either submitted requests to FEMA that are still pending or having been denied

       access to submit the requests on February 19 and March 5, 2025.

              16.     The Pre-disaster Mitigation grant program provides funding to state, local, tribal,

       and territorial governments to plan for and implement sustainable cost-effective measures designed

       to reduce the risk to individuals and property from future natural hazards, while also reducing

       reliance on federal funding from future disasters.      DHSEM is awaiting reimbursement for

       $45,405.01 under the program, having either submitted requests to FEMA that are still pending or

       having been denied access to submit the requests on February 19, March 5, and March 17, 2025.

              17.     The Shelter and Services Program supports Customs and Border Protection in the

       safe, orderly, and humane release of noncitizen migrants from short-term holding facilities.

       DHSEM is awaiting reimbursement for $266,601.47 under the program, having either submitted




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       a request to FEMA that is still pending or having been denied access to submit a request on

       February 19, 2025.

              18.     The Targeted Violence and Terrorist Prevention grant program provides funding for

       state, local, tribal, and territorial governments; nonprofits; and institutions of higher education to

       establish or enhance capabilities to prevent targeted violence and terrorism. DHSEM is awaiting

       reimbursement for $61,077.79 under the program, having either submitted requests to FEMA that

       are still pending or having been denied access to submit the requests on February 19, March 5, and

       March 17, 2025.

              19.     The Urban Area Security Initiative grant program provides funding to enhance

       regional preparedness and capabilities in designated high-threat, high-density areas to prevent,

       protect against, mitigate, respond to, and recover from acts of terrorism and other threats. DHSEM

       is awaiting reimbursement for $735,642.68 under the program, having either submitted requests

       to FEMA that are still pending or having been denied access to submit the requests on February

       19, March 5, and March 17, 2025.

              20.     The Hazard Mitigation Grant Program provides funding to state, local, tribal and

       territorial governments so they can develop hazard mitigation plans and rebuild in a way that

       reduces, or mitigates, future disaster losses in their communities. This grant funding is available

       after a presidentially declared disaster. DHSEM is awaiting reimbursement for $542,909.11 under

       this program, having either submitted requests to FEMA that are still pending or having been

       denied access to submit the requests on February 21, March 5, and March 17, 2025.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.




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       Executed this 24th day of March, 2025, in Centennial, Colorado.


                                                     /s/
                                                     Michael Haney
                                                     Director, Office of Grants Management
                                                     Colorado Division of Homeland Security and
                                                     Emergency Management




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                      Exhibit 4




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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                        Plaintiffs,

                  v.
                                                                C.A. No. 1:25-cv-00039
        DONALD TRUMP, IN HIS OFFICIAL CAPACITY
        AS PRESIDENT OF THE UNITED STATES, et al.,

                        Defendants.


                                      AFFIRMATION OF SARAH W. RICE

                 SARAH W. RICE, an attorney admitted to practice before this Court and admitted to

       practice before the courts of the State of Rhode Island, does hereby state the following under

       penalty of perjury, pursuant to 28 U.S.C. § 1746:

                 1.    I am Sarah W. Rice, Assistant Attorney General in the Office of the Attorney

       General for the State of Rhode Island, and I appear on behalf of the State of Rhode Island in this

       action.

                 2.    I submit this declaration in support of Plaintiff States’ Renewed Second Motion to

       Enforce the Court’s Orders Pertaining to Freeze of FEMA Funds. The facts set forth herein are

       based upon my personal knowledge and/or a review of the files in my possession.

                 3.    On March 18, Colorado received an email from FEMA staff, stating that FEMA

       would “[e]ffective immediately” implement “an additional review process of allocations before

       releasing funds for all grants.” A true and correct copy of the March 18 FEMA email is attached

       as Exhibit A.




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              4.      On March 19, several Plaintiff States, including Colorado and Rhode Island,

       received an email from FEMA, announcing that FEMA was “instituting additional reviews on all

       grant payments and obligations to ensure allowability in accordance with 2 C.F.R. § 200.305.” In

       its email, FEMA also asserted that it may deny a request for reimbursement “[i]f an adequate

       response is not received,” to its informational demands, in which case the State “may need to

       submit a new reimbursement request; this will re-start the 30-day timeline.” A true and correct

       copy of the March 19 FEMA email is attached as Exhibit B.

              5.      Arizona has not received reimbursement for more than thirty days on a grant first

       mentioned in the State’s Second Motion to Enforce, ECF No. 160-1, ¶ 5. Arizona has additional

       reimbursement requests that have been pending for more than thirty days in five other grant

       programs.

              6.      Illinois has not received reimbursement on any of the grants first mentioned in the

       State’s Second Motion to Enforce, ECF No. 160-1, ¶ 11. It has been more than thirty days since

       these funds were available to Illinois.

              7.      Rhode Island’s FEMA grants have similarly been unavailable for more than thirty

       days, including the 2022 State and Local Cybersecurity Grant Program (EMW-2022-CY-00004),

       2023 State and Local Cybersecurity Grant Program (EMW-2023-CY-00049), 2022 Emergency

       Operations Center Grant Program (EMN-2022-EO-00001), 2023 Emergency Operations Center

       Grant Program (EMB-2023-EO-00001), 2022 Homeland Security Grant Program (EMW-2022-

       SS-00007), 2023 Homeland Security Grant Program (EMW-2023-SS-00020), 2022 Nonprofit

       Security Grant Program (EMW-2022-UA-00001), 2023 Nonprofit Security Grant Program

       (EMW-2023-UA-00021), 2022 Emergency Management Performance Grant (EMB-2022-EP-

       00001), and 2023 Emergency Management Performance Grant (EMB-2023-EP-00001).




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              I declare under penalty of perjury under the laws of the State of Rhode Island and the

       United States of America that the foregoing is true and correct.



                                                        Dated: March 24, 2025

                                                        By: _________________________________
                                                        Sarah W. Rice
                                                        Rhode Island Office of the Attorney General
                                                        State of Rhode Island




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                     Exhibit A




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                                         #: 8485

 Leonard Giarrano

 From:                                              @fema.dhs.gov>
 Sent:                            Tuesday, March 18, 2025 5:32 PM
 To:                                                - CDPS,
 Cc:

 Subject:                         RE: Colorado ARPA projects


 Hi         ,

 FEMA is taking swift action to ensure the alignment of its grant programs with Secretary Noem’s direction. In
 accordance with this direction, FEMA, and the Department of Homeland Security (DHS) are instituting additional
 reviews on the allowability of costs for all grant payments and obligations, as permitted by 2 C.F.R Part 200, where
 applicable.

 Effective immediately, FEMA and DHS are implementing an additional review process of allocations before
 releasing funds for all grants. These actions will ensure that funding is obligated and disbursed in line with the
 Secretary’s direction so that we can continue to support and prioritize communities and disaster survivors who
 rely on FEMA for assistance.

 If additional information becomes available, I will be happy to share it with you.

 Thank you,

 COVID Section Chief l Recovery Division l FEMA Region 8
 Mobile:
         @fema.dhs.gov

 Federal Emergency Management Agency
 fema.gov

 From:                         @fema.dhs.gov>
 Sent: Friday, March 14, 2025 12:05 PM
 To:         CDPS,

 Cc:


 Subject: RE: Colorado ARPA projects

 Hi         ,

 We haven’t talked in a long time. I hope you are doing well.

      and     are out of the office today. The 2/28/2025 email message from FEMA Grant Programs Directorate
 indicated due to the additional review payment requests may take up to 30 days to process depending on the size
 and scope of the submission. I am not aware of a funding hold but only the request to include the additional
 information when submitted payment requests. I understand your frustration in provided the additional

                                                            1
                                                         A498
Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:168-4
                                   Document  433    Date 03/24/25
                                                    Filed Filed: 05/27/2025
                                                                      Page 7 ofEntry ID: 6724072
                                                                                16 PageID
                                         #: 8486




                                          A499
Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:168-4
                                   Document  434    Date 03/24/25
                                                    Filed Filed: 05/27/2025
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                                         #: 8487




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Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:168-4
                                   Document  435    Date 03/24/25
                                                    Filed Filed: 05/27/2025
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                                         #: 8488




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Case: Case
      25-1236     Document: 00118290991
            1:25-cv-00039-JJM-PAS                Page:
                                          Document      436 Filed
                                                      168-4    Date03/24/25
                                                                     Filed: 05/27/2025
                                                                                  Page 10 ofEntry ID: 6724072
                                                                                             16 PageID
                                                    #: 8489
   I appreciate that a lot is changing and information is coming from all angles. Thank you for being patient
   as we figure out this shifting landscape!



   Take care,




   ______________________________________________________________________



   Emergency Management Specialist | Recovery Division | Region 8

   Mobile:

   Email:



   Federal Emergency Management Agency

   fema.gov




                                                      5
                                                   A502
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   437
                                            168-4    Date03/24/25
                                                    Filed Filed: 05/27/2025
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                                          #: 8490




                     Exhibit B




                                           A503
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   438
                                            168-4    Date03/24/25
                                                    Filed Filed: 05/27/2025
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                                          #: 8491




                                           A504
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   439
                                            168-4    Date03/24/25
                                                    Filed Filed: 05/27/2025
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                                          #: 8492




                                           A505
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   440
                                            168-4    Date03/24/25
                                                    Filed Filed: 05/27/2025
                                                                     Page 14 ofEntry ID: 6724072
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                                          #: 8493




                                           A506
Case: Case
      25-1236    Document: 00118290991
           1:25-cv-00039-JJM-PAS        Page:
                                   Document   441
                                            168-4    Date03/24/25
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Case: Case
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           1:25-cv-00039-JJM-PAS        Page:
                                   Document   442
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 This email was sent to                 @ema.ri.gov using GovDelivery Communications Cloud on behalf of FEMA · U.S.
 Department of Homeland Security · Washington, DC 20472                                                                            [links-
                                                                                                                      2.govdelivery.com]
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Case: 25-1236   Document: 00118290991
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                                   Document  443                    Date 03/26/25
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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


        STATE OF NEW YORK, et al.,

                        Plaintiffs,

                v.
                                                                   C.A. No. 1:25-cv-00039
        DONALD TRUMP, IN HIS OFFICIAL CAPACITY
        AS PRESIDENT OF THE UNITED STATES, et al.,

                        Defendants.


                                  AFFIRMATION OF R. HENRY WEAVER

               R. HENRY WEAVER, an attorney admitted pro hac vice to practice before this Court and

       admitted to practice before the courts of the State of Illinois, states the following under penalty of

       perjury, pursuant to 28 U.S.C. § 1746:

               1.      I am an Assistant Attorney General in the Office of the Illinois Attorney General,

       and I appear on behalf of the State of Illinois in this action.

               2.      I submit this declaration in support of Plaintiff States’ Renewed Second Motion to

       Enforce the Court’s Orders Pertaining to Freeze of FEMA Funds. The facts set forth herein are

       based upon my personal knowledge and/or a review of the files in my possession.

               3.      FEMA “administers the Earthquake State Assistance grant program which is

       designed to increase and enhance the effective implementation of earthquake risk reduction

       activities at the national, regional, state and local level.” SAM.gov, Earthquake State Assistance,

       https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view (captured on March 25, 2025)

       (Exhibit A), at 2. The program’s existence and its funding are mandated by statute. See id. at 9.




                                                          1
                                                       A509
Case: 25-1236   Document: 00118290991
      Case 1:25-cv-00039-JJM-PAS       Page:169-1
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                                         #: 8504



              4.      The Illinois Emergency Management Agency – Office of Homeland Security

       (“IEMA-OHS”) was awarded a Fiscal Year 2023 Individual State Earthquake Assistance (“ISEA”)

       grant (grant number EMC-2023-GR-05005) under the above program.

              5.      On February 20, 2025, IEMA-OHS submitted a payment request on its Fiscal Year

       2023 ISEA grant through the FEMA GO payment system. Then, on February 25, IEMA-OHS

       received an email from the FEMA GO system that stated: “This email is confirmation that your

       payment request for grant number EMC-2023-GR-05005 in the amount of $941.57 has been

       approved. Your payment was accepted by our financial system on 02/25/2025. Please expect an

       electronic payment to be made to your organization’s bank within 3 to 5 business days.” See

       Exhibit B. Despite this statement, IEMA-OHS has never received any transfer of funds in relation

       to this payment request.

              6.      On March 19, IEMA-OHS received from FEMA the same email about a new

       review process for grant payments that was received by other States and that was attached as

       Exhibit B to the Affirmation of Sarah W. Rice in this matter. See ECF 168-4 Ex. B.

              7.      The March 19 email stated that FEMA would be “instituting additional reviews on

       all grant payments and obligations to ensure allowability in accordance with 2 C.F.R. § 200.305.”

       Id. at 1. FEMA went on to list the additional information demands, id. at 2–3, and directed grant

       recipients to “[p]lease coordinate with your FEMA program officer for more guidance,” id. at 3.

              8.      Plaintiff States argued in their Renewed Second Motion to Enforce the Court’s

       Orders Pertaining to Freeze of FEMA Funds, filed on March 24, that “the sweeping,

       indiscriminate, and indefinite pause implemented by FEMA under the guise of a purported ‘manual

       review’ process is essentially the same funding pause pending purported review of grant programs

       that OMB directed each agency to carry out, and which this court enjoined.” ECF 168 at 7–8.




                                                      2
                                                    A510
Case: 25-1236   Document: 00118290991
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                                                                 Filed Filed: 05/27/2025
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              9.      In the afternoon of March 24, IEMA-OHS submitted another payment request on

       its Fiscal Year 2023 ISEA grant. See Email Correspondence Between IEMA-OHS and FEMA

       (Exhibit C).

              10.     Shortly after submitting the payment request, an IEMA-OHS employee reached out

       to FEMA program officers to alert them that IEMA-OHS had “followed the new manual review

       payment process to submit a payment request from the FFY 23 ISEA award.” Id.

              11.     The next morning, on March 25 at 10:34 AM, a FEMA Grant Program Specialist

       replied, thanking the IEMA-OHS employee “for letting us know that you submitted the request.”

       The FEMA program officer went on to provide further details: “Currently, all grants are still

       pending review for compliance with Executive Orders. We are waiting for further guidance for

       when we can approve payment requests. I’ll provide an update as soon as possible.” Id.

              12.     FEMA’s statement on March 25, the day after Plaintiff States filed their Renewed

       Second Motion to Enforce, that FEMA’s “review” of “all grants” serves to ensure “compliance

       with Executive Orders” confirms Plaintiff States’ position that this manual review “is essentially

       the same funding pause pending purported review of grant programs that OMB directed each

       agency to carry out, and which this court enjoined.” ECF 168 at 7–8.

              I declare under penalty of perjury under the laws of the State of Rhode Island and the

       United States of America that the foregoing is true and correct.



                                                        Dated: March 26, 2025


                                                        By: /s/ R. Henry Weaver___________
                                                        R. Henry Weaver
                                                        Office of the Illinois Attorney General




                                                        3
                                                     A511
Case: 25-1236   Document: 00118290991
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                             EXHIBIT A




                                          A512
Case:4:48
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         Case      Document: 00118290991
           PM 1:25-cv-00039-JJM-PAS       Page:169-1
                                      Document  447 SAM.gov
                                                      Date 03/26/25
                                                      Filed Filed: 05/27/2025
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                                                               #: 8507
          An official website of the United States government Here’s how you know




    Home          Search          Data Bank            Data Services         Help




                                                                                                          Follow



                                    ASSISTANCE LISTINGS

    Assistance Listing
                                    Earthquake State Assistance
      Overview                                Note: This Assistance Listing was not updated by the issuing agency in
                                              2025. Please contact the issuing agency listed under "Contact
      Authorizations
                                              Information" for more information.
      Financial
      Information

      Criteria for Applying
                                                                                                    Assistance Listing
      Applying for
                                           Popular Name
      Assistance
                                           Earthquake State Assistance
      Compliance                           Sub-tier
      Requirements
                                           FEDERAL EMERGENCY MANAGEMENT AGENCY
      Contact Information                  Assistance Listing Number
                                           97.082
      History
                                           Related Federal Assistance
                                           Not Applicable.
                                           View available opportunities on Grants.gov related to this
                                           Assistance Listing 




                                    Overview
                                    Objectives
                                                                A513
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                1/14
Case:4:48
3/25/25, 25-1236
         Case      Document: 00118290991
           PM 1:25-cv-00039-JJM-PAS       Page:169-1
                                      Document  448 SAM.gov
                                                      Date 03/26/25
                                                      Filed Filed: 05/27/2025
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                                                          #: 8508
                                    The National Earthquake Hazards Reduction Program (NEHRP) is the Federal
                                    Government’s coordinated approach to addressing earthquake risks. In support
                                    of NEHRP, the Federal Emergency Management Agency (FEMA) administers the
                                    Earthquake State Assistance grant program which is designed to increase and
                                    enhance the effective implementation of earthquake risk reduction activities at
                                    the national, regional, state and local level, by making funding available through
                                    annual, non-competitive and competitive grants. NEHRP implements the
                                    Department of Homeland Security (DHS) and Presidential Policy Directive (PPD
                                    -8) objective of hazard mitigation, to develop and maintain those capabilities
                                    necessary to reduce the loss of lives and property by lessening the impact of
                                    earthquakes. In an effort to provide eligible States and Territories with multiple
                                    funding and project management options, as well as to allow for multi-state
                                    coordination of projects, the Earthquake State Assistance grant program utilizes
                                    two separate funding opportunities: Individual State Earthquake Assistance
                                    (ISEA), and Multi-State and National Earthquake Assistance (MSNEA). The
                                    Individual State Earthquake Assistance funding opportunity provides funding
                                    directly to those States and Territories that have been determined to be at a
                                    high, or a very high risk of earthquakes, and who can provide the statutory 25
                                    percent cost-share. They must also be able to demonstrate that the assistance
                                    will result in enhanced seismic safety in the State. Funding is provided to eligible
                                    States and Territories through non-competitive grants that are administered by
                                    FEMA Regional earthquake program management staff. Allowable activities
                                    include: Support of seismic mitigation planning, developing inventories and
                                    conducting seismic safety inspections of critical structures and lifeline
                                    infrastructure, updating building codes, zoning codes, and ordinances to
                                    enhance seismic safety, increasing earthquake awareness and education,
                                    participation in emergency management exercises that substantially benefit
                                    earthquake mitigation efforts, and the promotion of earthquake insurance.
                                    Additionally, the Multi-State and National Earthquake Assistance funding
                                    opportunity is designed to facilitate the development and management of
                                    National, regional and multi-state earthquake risk reductions activities. Funding
                                    is made available through competitive grants to nonprofit organizations, as
                                    defined by 2 C.F.R. §200.70 and institutions of higher education as defined by 2
                                    C.F.R. §200.55. The grants are administered by FEMA Headquarters’ earthquake
                                    program management staff.



                                    Examples of Funded Projects

                                    Assistance Listing Description
                                                              A514
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                  2/14
Case:4:48
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                                                           #: 8509
                                    Earthquake State Assistance



                                    Authorizations
                                    Title Earthquake Hazards Reduction Act of 1977, Part 95-124

                                    The Earthquake Hazards Reduction Act of 1977, Pub. L. No. 95-124 (codified as
                                    amended at 42 U.S.C. §§ 7701-7709) (specifically 42 U.S.C. §§ 7704(a)(2)(B), (b)(2)
                                    (A)(i), (b)(2)(A)(iv) and (b)(2)(B).




                                    Financial Information
                                    These funding amounts do not reflect the award amounts that are displayed on
                                    USASpending.gov
                                                                                                     Obligation(s)
                                         $3,500,000
                                         $3,000,000
                                         $2,500,000
                                         $2,000,000
                                         $1,500,000
                                         $1,000,000
                                            $500,000
                                                  $0.0
                                                                       FY 22                            FY 23 (est.)


                                      Obligation(s)                      FY 22           FY 23 (est.)    FY 24 (est.)

                                        Cooperative Agreements
                                                                         $3,489,001      $3,203,650      $3,300,000
                                      Total

                                      Totals                             $3,489,001      $3,203,650      $3,300,000


                                    Range and Average of Financial Assistance
                                    Refer to the official Notice of Funding Opportunity on Grants.gov by year for

                                                             A515
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                 3/14
Case:4:48
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                                      Document  450 SAM.gov
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                                                             #: 8510
                                    actual target allocations by program by eligible applicant.



                                    Accomplishments

                                    Account Identification
                                    70-0711-0-1-453




                                    Criteria for Applying
                                    Types of Assistance
                                    B - Cooperative Agreements



                                    Credentials and Documentation
                                    Eligible States and Territories with High to Very High seismic risks as determined
                                    by the Program Office, non-profit organizations as defined by 2 C.F.R. §200.70,
                                    and institutions of higher education as defined by 2 C.F.R. §200.55. Subpart E -
                                    Cost Principles applies to this program. 2 CFR 200, Subpart E - Cost Principles
                                    applies to this program.



                                    Applicant Eligibility

                                       Designations
                                       Other public institution/organization


                                    The purpose of this funding is to support the earthquake mitigation efforts of
                                    States and Territories with High to Very High seismic risk as determined by the
                                    DHS, FEMA Program Office, non-profit organizations as defined by 2 C.F.R.
                                    §200.70 and institutions of higher education as defined by 2 C.F.R. §200.55.
                                    These efforts include 1) delivering and increasing awareness and education; 2)
                                    developing policies, tools, and products; and 3) implementing programs or
                                    projects to support risk reduction and resilience activities from earthquakes.
                                                             A516
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                4/14
Case:4:48
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                                      Document  451 SAM.gov
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                                                            #: 8511

                                    Beneficiary Eligibility

                                       Designations
                                       U.S. Territories, State, Local, Federally Recognized Indian Tribal
                                       Governments


                                    U.S. Territories, State, Local, Federally Recognized Indian Tribal Governments,
                                    eligible States and Territories with High to Very High seismic risks as determined
                                    by the DHS, FEMA Program Office, and eligible non-profit organizations and
                                    institutions of higher education.



                                    Length and Time Phasing of Assistance
                                    Up to 18 months for both Individual State Earthquake Assistance, and Multi-
                                    State and National Earthquake Assistance. Extensions to the period of
                                    performance will be considered only through formal requests to FEMA and will
                                    only be granted for specific and compelling reasons. All extension requests must
                                    be submitted to FEMA at least ninety (90) days prior to the expiration of the grant
                                    period of performance. Any unobligated funds will be de-obligated at the end of
                                    the 90-day close-out period. For more information on extensions and how
                                    assistance is awarded/released, refer to the official Notices of Funding
                                    Opportunity on Grants.gov. Method of awarding/releasing assistance: Refer to
                                    official Notice of Funding Opportunity on Grants.gov.



                                    Use of Assistance

                                       Designations
                                       Civil Defense/Disaster Prevention and Relief/Emergency Preparedness


                                    For costs associated with providing guidance, technology transfer, and
                                    assistance to eligible States and Territories, for earthquake hazard mitigation
                                    activities. The Individual State Earthquake Assistance NOFO is a non-competitive
                                    grant, and restricted to certain specialized/qualified organizations designated by
                                    FEMA. Funding may only be used for the purpose set forth in the grant and must
                                    be consistent with the statutory authority for the award. Grant funds may not be
                                                             A517
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                 5/14
Case:4:48
3/25/25, 25-1236
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                                    used for matching funds for other federal grants / cooperative agreements, or for
                                    lobbying or intervention in federal regulatory or adjudicatory proceedings. In
                                    addition, federal funds may not be used to sue the federal government or any
                                    other government entity. All financial and progress reports must be current at
                                    the time of application. Refer to the Notice of Funding Opportunity. Pre-award
                                    costs are not allowed. Refer to the Notice of Funding Opportunity.Refer to the
                                    Notice of Funding Opportunity.Refer to the Notice of Funding Opportunity.




                                    Applying for Assistance
                                    Deadlines
                                    All applications must be submitted in FEMA GO no later than 5:00:00 pm ET on
                                    Friday, May 31, 2023.



                                    Preapplication Coordination
                                    Preapplication coordination is required. An environmental impact statement is
                                    required for this listing. An environmental impact assessment is required for this
                                    listing. This program is excluded from coverage under E.O. 12372. Preapplication
                                    coordination is required. An environmental impact assessment is required for
                                    this listing. This program is excluded from coverage under Executive Order (EO)
                                    12372, Intergovernmental Review of Federal Programs, dated July 14, 1982.
                                    FEMA has prepared a Record of Environmental Consideration for both funding
                                    opportunities that documents EHP compliance for the range of activities eligible
                                    for funding under this program pursuant to FEMA’s Instructions on
                                    Implementation of the Environmental Planning and Historic Preservation
                                    Responsibilities and Program requirements, FEMA Instruction 108-1-1, dated
                                    October 10, 2018.



                                    Application Procedures
                                    2 CFR 200, Uniform Administrative Requirements, Cost Principles, and Audit
                                    Requirements for Federal Awards applies to this program.
                                    Refer to official Notice of Funding Opportunity on Grants.gov.



                                                             A518
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                                6/14
Case:4:48
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                                               169-1   Date03/26/25
                                                      Filed  Filed: 05/27/2025
                                                                        Page 11 ofEntry ID: 6724072
                                                                                   23 PageID
                                                            #: 8513
                                    Criteria for Selecting Proposals
                                    Refer to official Notices of Funding Opportunity on Grants.gov.




                                    Award Procedure
                                    Refer to official Notices of Funding Opportunity on Grants.gov.



                                    Date Range for Approval/Disapproval
                                    Refer to official Notice of Funding Opportunity on Grants.gov.



                                    Renewals
                                    Not Applicable.



                                    Appeals
                                    Not Applicable.




                                    Compliance Requirements
                                    Policy Requirements
                                    The following 2CFR policy requirements apply to this assistance listing:
                                    Subpart B, General provisions

                                    Subpart C, Pre-Federal Award Requirements and Contents of Federal Awards

                                    Subpart D, Post Federal; Award Requirements

                                    Subpart E, Cost Principles

                                    Subpart F, Audit Requirements



                                                             A519
https://sam.gov/fal/226c00bf60e64e56aae6c0aeeb7471b1/view                                                      7/14
Case:4:48
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                                      Document   454 SAM.gov
                                               169-1   Date03/26/25
                                                      Filed  Filed: 05/27/2025
                                                                        Page 12 ofEntry ID: 6724072
                                                                                   23 PageID
                                                           #: 8514
                                    The following 2CFR policy requirements are excluded from coverage under this
                                    assistance listing:
                                    Not Applicable


                                    Additional Information:



                                    Reports
                                    Program Reports: Refer to official Notice of Funding Opportunity on Grants.gov.

                                    Cash Reports: Refer to official Notice of Funding Opportunity on Grants.gov.

                                    Progress Reports: Refer to official Notice of Funding Opportunity on Grants.gov.

                                    Expenditure Reports: Refer to official Notice of Funding Opportunity on
                                    Grants.gov.

                                    Performance Reports: Refer to official Notice of Funding Opportunity on
                                    Grants.gov.




                                    Audits
                                    Refer to the link below for 2 CFR Subpart F Audit Requirements.
                                    https://www.ecfr.gov/current/title-2/subtitle-A/chapter-II/part-200/subpart-F
                                    Additional audit requirements:

                                    In accordance with the provisions of 2 CFR 200, Subpart F - Audit Requirements,
                                    non-federal entities that expend financial assistance of $750,000 or more in
                                    Federal awards will have a single or a program-specific audit conducted for that
                                    year. Non-Federal entities that expend less than $750,000 a year in Federal
                                    awards are exempt from Federal audit requirements for that year, except as
                                    noted in 2 CFR 200.503. These audits are due to the cognizant Federal agency,
                                    submitted through the Federal Audit Clearinghouse, not later than 9 months
                                    after the end of the audit period. For additional information regarding audit
                                    requirements, refer to 2 CFR, Section 200, Subpart F – Audit Requirements.



                                    Records

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                                    Financial records, supporting documents, statistical records, and all other non-
                                    federal entity records pertinent to a federal award generally must be maintained
                                    for at least three years from the date the final Federal Financial Report (FFR) is
                                    submitted. See 2 C.F.R. § 200.334. Further, if the recipient does not submit a final
                                    FFR and the award is administratively closed, FEMA uses the date of
                                    administrative closeout as the start of the general record retention period. The
                                    record retention period may be longer than three years or have a different start
                                    date in certain cases. These include: • Records for real property and equipment
                                    acquired with federal funds must be retained for three years after final
                                    disposition of the property. See 2 C.F.R. § 200.334(c). • If any litigation, claim, or
                                    audit is started before the expiration of the three-year period, the records must
                                    be retained until all litigation, claims, or audit findings involving the records
                                    have been resolved and final action taken. See 2 C.F.R. § 200.334(a). • The record
                                    retention period will be extended if the recipient is notified in writing of the
                                    extension by FEMA, the cognizant or oversight agency for audit, or the cognizant
                                    agency for indirect costs. See 2 C.F.R. § 200.334(b). • Where FEMA requires
                                    recipients to report program income after the period of performance ends, the
                                    program income record retention period begins at the end of the recipient’s
                                    fiscal year in which program income is earned. See 2 C.F.R. § 200.334(e). • For
                                    indirect cost rate proposals, cost allocation plans, or other rate computations
                                    records, the start of the record retention period depends on whether the indirect
                                    cost rate documents were submitted for negotiation. If the indirect cost rate
                                    documents were submitted for negotiation, the record retention period begins
                                    from the date those documents were submitted for negotiation. If indirect cost
                                    rate documents were not submitted for negotiation, the record retention period
                                    begins at the end of the recipient’s fiscal year or other accounting period
                                    covered by that indirect cost rate. See 2 C.F.R. § 200.334(f).



                                    Regulations, Guidelines, and Literature
                                    Authorizing Authority for the Program. Public Law 115-307, National Earthquake
                                    Hazards Reduction Program reauthorization Act of 2018. The specific authority
                                    to implement the Individual State Earthquake Assistance funding opportunity
                                    through the use of Grants comes from 42 U.S. Code 7704(a)(2)(B) and (b) (2) (a)
                                    (iv) National Earthquake Hazards Reduction Program (NEHRP). Appropriation
                                    Authority for Program: The Department of Homeland Security Appropriations
                                    Act, 2021(Public Law No. 116-260), Title III, FEMA, OPERATIONS AND SUPPORT,
                                    paragraph 1


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                                                             #: 8516
                                    Formula and Matching Requirements
                                    Statutory formula is not applicable to this assistance listing.
                                    Matching Requirements: Awardees of Individual State Earthquake Assistance
                                    (ISEA) Grants must provide 25 percent of the costs of the activities for which
                                    assistance is being given. The cost-share requirement is waived for U.S.
                                    Territories identified as “Insular Areas” in accordance with 48 U.S. Code, Title 48,
                                    Chapter 10, Section 1469a Congressional declaration of policy respecting
                                    “Insular Areas.” In addition, the FEMA Administrator may lower or waive the cost-
                                    share requirement of these activities for a small, impoverished community, as
                                    defined in section 203 for the Disaster Relief Act of 1974 (42 U.S.C. 5133). Non-
                                    profit organizations and institutions of higher education awardees of Multi-State
                                    and National Earthquake Assistance (MSNEA) grants are not required to provide
                                    a cost-share. MOE requirements are not applicable to this assistance listing.
                                    MOE requirements are not applicable to this assistance listing.



                                    Contact Information
                                    Regional or Local Locations:
                                    None. Region II (Commonwealth of Puerto Rico, Territory of the U.S. Virgin
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                                     202-341-4710
                                    Website: https://www.fema.gov/emergency-managers/risk-
                                    management/earthquake/state-assistance-program-grants



                                    History
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                                      2023
                                         Published
                                         Earthquake State Assistance



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                                         Earthquake State Assistance



                                      2023
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                                      2023
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                                        Earthquake State Assistance



                                      2022
                                        Title Changed
                                        To: Earthquake State Assistance
                                        From: Earthquake Consortium



                                      2022
                                        Published
                                        Earthquake Consortium



                                      2021
                                        Published
                                        Earthquake Consortium



                                      2020
                                        Published
                                        Earthquake Consortium



                                      2019
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                                      2018
                                        Published
                                        Earthquake Consortium



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                              EXHIBIT B




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                              EXHIBIT C




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                    United States Court of Appeals
                                  For the First Circuit


       No. 25-1236

        STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF ILLINOIS; STATE
              OF RHODE ISLAND; STATE OF NEW JERSEY; COMMONWEALTH OF
           MASSACHUSETTS; STATE OF ARIZONA; STATE OF COLORADO; STATE OF
         CONNECTICUT; STATE OF DELAWARE; THE DISTRICT OF COLUMBIA; STATE
         OF HAWAI'I; OFFICE OF THE GOVERNOR ex rel. Andy Beshear, in his
         official capacity as Governor of the COMMONWEALTH OF KENTUCKY;
         STATE OF MAINE; STATE OF MARYLAND; STATE OF MICHIGAN; STATE OF
         MINNESOTA; STATE OF NEVADA; STATE OF NEW MEXICO; STATE OF NORTH
              CAROLINA; STATE OF OREGON; STATE OF VERMONT; STATE OF
                       WASHINGTON; and STATE OF WISCONSIN,

                                  Plaintiffs, Appellees,

                                              v.

             DONALD TRUMP, in his official capacity as President of the
           United States; U.S. OFFICE OF MANAGEMENT AND BUDGET; RUSSELL
         VOUGHT, in his official capacity as Director of the U.S. Office
        of Management and Budget; U.S. DEPARTMENT OF THE TREASURY; SCOTT
         BESSENT, in his official capacity as Secretary of the Treasury;
         PATRICIA COLLINS, in her official capacity as Treasurer of the
           United States; U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES;
        ROBERT F. KENNEDY, JR., in his official capacity as Secretary of
         Health and Human Services; U.S. DEPARTMENT OF EDUCATION; LINDA
           MCMAHON, in her official capacity as Secretary of Education;
         U.S. DEPARTMENT OF TRANSPORTATION; SEAN DUFFY, in his official
            capacity as Secretary of Transportation; U.S. DEPARTMENT OF
              LABOR; LORI CHAVEZ-DEREMER, in her official capacity as
            Secretary of Labor*; U.S. DEPARTMENT OF ENERGY; CHRISTOPHER
          WRIGHT, in his official capacity as Secretary of Energy; U.S.
           ENVIRONMENTAL PROTECTION AGENCY; LEE ZELDIN, in his official
         capacity as Administrator of the U.S. Environmental Protection
         Agency; U.S. DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his
         official capacity as Secretary of the Interior; U.S. DEPARTMENT

              Pursuant to Federal Rule of Appellate Procedure 43(c)(2),
              *

       Secretary   of  Labor   Lori  Chavez-DeRemer   is  automatically
       substituted for former Acting Secretary of Labor Vince Micone as
       Respondent.



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         OF HOMELAND SECURITY; KRISTI NOEM, in her official capacity as
            Secretary of Homeland Security; U.S. DEPARTMENT OF JUSTICE;
         PAMELA BONDI, in her official capacity as Attorney General; THE
        NATIONAL SCIENCE FOUNDATION; DR. SETHURAMAN PANCHANATHAN, in his
                official capacity as Director of the National Science
         Foundation; U.S. DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS, in
              her official capacity as Secretary of Agriculture; U.S.
         DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT; ERIC SCOTT TURNER,
             in his official capacity as Secretary of Housing and Urban
               Development; U.S. DEPARTMENT OF STATE; U.S. AGENCY FOR
              INTERNATIONAL DEVELOPMENT; MARCO RUBIO, in his official
        capacities as Secretary of State and Acting Administrator of the
          U.S. Agency for International Development; U.S. DEPARTMENT OF
        DEFENSE; PETER HEGSETH, in his official capacity as Secretary of
         Defense; U.S. DEPARTMENT OF VETERANS AFFAIRS; DOUG COLLINS, in
           his official capacity as Secretary of Veterans Affairs; U.S.
        DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his official capacity
              as Secretary of Commerce; NATIONAL AERONAUTICS AND SPACE
         ADMINISTRATION; JANET PETRO in her official capacity as Acting
         Administrator of National Aeronautics and Space Administration;
              CORPORATION FOR NATIONAL AND COMMUNITY SERVICE; JENNIFER
         BASTRESS TAHMASEBI, in her official capacity as Interim Head of
         the Corporation for National and Community Service; U.S. SOCIAL
         SECURITY ADMINISTRATION; LELAND DUDEK, in his official capacity
         as Acting Commissioner of U.S. Social Security Administration;
             U.S. SMALL BUSINESS ADMINISTRATION; KELLY LOEFFLER, in her
             official capacity as Administrator of U.S. Small Business
          Administration; U.S. FEDERAL EMERGENCY MANAGEMENT AGENCY; and
                 CAMERON HAMILTON, in his official capacity as Acting
       Administrator of the U.S. Federal Emergency Management Agency,

                                 Defendants, Appellants.


                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. John J. McConnell, Jr., U.S. District Judge]


                                            Before

                                 Barron, Chief Judge,
                       Montecalvo and Rikelman, Circuit Judges.


              Yaakov M. Roth, Acting Assistant Attorney General, Sara Miron



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       Bloom, Acting United States Attorney, Eric D. McArthur, Deputy
       Assistant Attorney General, Daniel Tenny, Sean R. Janda, Brian J.
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            Russell Coleman, Attorney General, and Matthew F. Kuhn,
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            Nathan J. Moelker and Olivia F. Summers, on brief for American
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       General, Mark S. Grube, Senior Assistant Solicitor General, Rabia
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       Solicitor General, Andrea Joy Campbell, Attorney General of
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       General, Andy Beshear, Governor of Kentucky, S. Travis Mayo,
       General Counsel, Taylor Payne, Chief Deputy General Counsel, Laura
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       Brown, Attorney General of Maryland, Adam D. Kirschner, Senior
       Assistant Attorney General, Dana Nessel, Attorney General of




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       Attorney General of Nevada, Heidi Parry Stern, Solicitor General,
       Raúl Torrez, Attorney General of New Mexico, Anjana Samant, Deputy
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       Assistant Attorney General, Charity R. Clark, Attorney General of
       Vermont, Jonathan T. Rose, Solicitor General, Nicholas W. Brown,
       Attorney General of Washington, Andrew Hughes, Assistant Attorney
       General, Leah Brown, Assistant Attorney General, Joshua L. Kaul,
       Attorney General of Wisconsin, and Aaron J. Bibb, Assistant
       Attorney General, on brief for appellees.
            Elizabeth B. Wydra, Brianne J. Gorod, Miriam Becker-Cohen,
       and Nina G. Henry, on brief for Constitutional Accountability
       Center, amicus curiae.


                                       March 26, 2025




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                    BARRON, Chief Judge.          The heads of various federal

       agencies as well as the agencies themselves -- collectively, the

       Agency Defendants1 -- move for a stay pending appeal.                They seek

       to block temporarily a preliminary injunction that the United

       States District Court for the District of Rhode Island issued

       against them on March 6, 2025.2              The Plaintiffs are twenty-two

       states, including Rhode Island, as well as the District of Columbia

       and the Governor of Kentucky ("Plaintiff-States").

                    The suit challenges the Office of Management and Budget

       ("OMB") Memorandum M-25-13 ("OMB Directive"), issued on January

       27, 2025.      It also challenges alleged funding freezes under the

       OMB Directive and Executive Orders that the President issued in

       his first week in office to which the OMB Directive referred.

                    The Plaintiff-States filed their initial complaint on

       January 28, 2025.       The next day, OMB rescinded the OMB Directive.

       The operative complaint alleges that the funding freezes took place

       prior to that rescission and continued thereafter.




              The Appellants before us -- and thus those bringing the stay
              1

       motion at issue -- also include the President, who is named as a
       defendant in this suit, but to whom the preliminary injunction
       does not apply.    We thus use the term Agency Defendants except
       where we mean to refer to all Defendants, the President included,
       in which case we use the term Defendants.
              In our discretion, we have accepted the proposed amicus
              2

       briefs. We have considered them only insofar as they concern legal
       issues and positions raised by the parties.      See Ryan v. U.S.
       Immigr. & Customs Enf't, 974 F.3d 9, 33 n.10 (1st Cir. 2020).


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                    The preliminary injunction, among other things, bars the

       Agency Defendants from:

                    reissuing, adopting, implementing, giving
                    effect to, or reinstating under a different
                    name the directives in [the OMB Directive]
                    with   respect   to   the   disbursement   and
                    transmission of appropriated federal funds to
                    the States under awarded grants, executed
                    contracts,   or   other   executed   financial
                    obligations.[3]

                    It further prohibits the Agency Defendants from:

                    pausing,   freezing,    blocking,    canceling,
                    suspending,     terminating,     or   otherwise
                    impeding the disbursement of appropriated
                    federal funds to the States under awarded
                    grants, executed contracts, or other executed
                    financial obligations based on the OMB
                    Directive,    including      funding    freezes
                    dictated, described, or implied by Executive
                    Orders   issued    by  the   President   before
                    rescission of the OMB Directive or any other
                    materially    similar     order,    memorandum,
                    directive, policy, or practice under which the
                    federal government imposes or applies a
                    categorical pause or freeze of funding

              An "obligation" is defined in federal appropriations law as
              3

       "a definite commitment which creates a legal liability of the
       Government for the payment of appropriated funds for goods and
       services ordered or received." 2 U.S. Gov't Accountability Off.,
       Principles of Federal Appropriations Law, at 7-3 (3d ed. 2006)
       (citations omitted) [hereinafter GAO Redbook]. Obligated federal
       funds may be payable immediately or at a later point, and the "fact
       that an unmatured liability may be subject to a right of
       cancellation does not negate the obligation." Id. at 7-4 to -5.
       Funds available under awarded grants, executed contracts, or other
       executed financial obligations are obligated federal funds. See
       31 U.S.C. § 1501(a)(1), (5) (including, within the scope of the
       obligation-reporting requirement, funds payable under grant
       awards, whether fixed by law or under an agreement, and other
       binding agreements); see also GAO Redbook at 7-40 to -42
       (explaining that a grant becomes obligated once it is awarded and
       its terms are communicated to the grantee).


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                    appropriated by Congress. This includes, but
                    is by no means [] limited to, Section 7(a) of
                    Executive Order 14154, Unleashing American
                    Energy.[4]

                    In addition, the preliminary injunction requires the

       Agency     Defendants   to   provide    written    notice   "to   all   federal

       departments and agencies to which the OMB Directive was addressed"

       that shall:

                    [(1)] instruct [them] that they may not take
                    any steps to implement, give effect to, or
                    reinstate under a different name or through
                    other means the directives in the OMB
                    Directive with respect to the disbursement or
                    transmission of appropriated federal funds to
                    the States under awarded grants, executed
                    contracts,   or  other   executed   financial
                    obligations[;] [and] [(2)] instruct [them] to
                    release and transmit any disbursements to the
                    States on awarded grants, executed contracts,
                    or other executed financial obligations that
                    were paused on the grounds of the OMB
                    Directive and Executive Orders included by
                    reference therein or issued before the
                    rescission of the OMB Directive.

                    The stay motion is denied.




              The preliminary injunction states that it is "by no means
              4

       not limited to, Section 7(a) of Executive Order 14154, Unleashing
       American Energy." We understand the inclusion of "not" to be a
       typographical error, and neither party contends otherwise.


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                                               I.

                    This case already has an unusually involved procedural

       history.     A detailed review of that history is necessary to set

       the stage for the substantive analysis that follows.

                                               A.

                    On January 27, 2025, Matthew Vaeth, Acting Director of

       OMB, issued the OMB Directive, which is titled "Temporary Pause of

       Agency Grant, Loan, and Other Financial Assistance Programs," to

       all heads of executive departments and agencies. The OMB Directive

       stated that it "requires Federal agencies to identify and review

       all    Federal     financial     assistance      programs    and      supporting

       activities       consistent     with    the    President's       policies    and

       requirements,"      (footnotes     omitted),     and    it   noted    both   the

       definition of "financial assistance" set forth in 2 C.F.R. § 200.1

       and that "[n]othing in this memo should be construed to impact

       Medicare or Social Security benefits."

                    The   OMB   Directive     identified   a   series   of    Executive

       Orders the President issued in his first week in office.                 It then

       provided that, "[t]o implement these orders, each agency must

       complete a comprehensive analysis of all of their Federal financial

       assistance programs to identify programs, projects, and activities

       that may be implicated by any of the President's executive orders."

       It further provided that:




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                    [i]n the interim, to the extent permissible
                    under applicable law, Federal agencies must
                    temporarily pause all activities related to
                    obligation or disbursement of all Federal
                    financial assistance, and other relevant
                    agency activities that may be implicated by
                    the executive orders, including, but not
                    limited to, financial assistance for foreign
                    aid, nongovernmental organizations, DEI, woke
                    gender ideology, and the green new deal.

                    The OMB Directive explained that "[t]his temporary pause

       will provide the Administration time to review agency programs and

       determine     the    best   uses   of    the    funding   for   those   programs

       consistent with the law and the President's priorities."                      It

       further stated that "[t]he temporary pause will become effective"

       the next day -- January 28 -- at 5:00 PM and that "[e]ven before

       completing their comprehensive analysis, Federal agencies must

       immediately identify any legally mandated actions or deadlines for

       assistance programs arising while the pause remains in effect" and

       "report this information to OMB along with an analysis of the

       requirement."

                    The OMB Directive went on to provide that: "[n]o later

       than February 10, 2025, agencies shall submit to OMB detailed

       information on any programs, projects or activities subject to

       this pause."        It added that:

                    [e]ach agency must pause: (i) issuance of new
                    awards; (ii) disbursement of Federal funds
                    under all open awards; and (iii) other
                    relevant agency actions that may be implicated
                    by the executive orders, to the extent
                    permissible by law, until OMB has reviewed and


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                     provided guidance to your agency with respect
                     to the information submitted.

       It provided as well that "OMB may grant exceptions allowing Federal

       agencies      to   issue   new   awards   or     take    other    actions     on   a

       case-by-case basis."

                     The OMB Directive explicitly identified the following

       Executive Orders: Protecting the American People Against Invasion,

       Exec.    Order     No. 14,159,   90   Fed.     Reg.    8443   (Jan.    20,    2025);

       Reevaluating and Realigning United States Foreign Aid, Exec. Order

       No. 14,169, 90 Fed. Reg. 8619 (Jan. 20, 2025); Putting America

       First    in   International      Environmental        Agreements,     Exec.   Order

       No. 14,162, 90 Fed. Reg. 8455 (Jan. 20, 2025); Unleashing American

       Energy, Exec. Order No. 14,154, 90 Fed. Reg. 8353 (Jan. 20, 2025)

       [hereinafter       Unleashing     EO];    Ending        Radical     and   Wasteful

       Government DEI Programs and Preferencing, Exec. Order No. 14,151,

       90 Fed. Reg. 8339 (Jan. 20, 2025); Defending Women from Gender

       Ideology Extremism and Restoring Biological Truth to the Federal

       Government, Exec. Order No. 14,168, 90 Fed. Reg. 8615 (Jan. 20,

       2025); and Enforcing the Hyde Amendment, Exec. Order No. 14,182,

       90 Fed. Reg. 8751 (Jan. 24, 2025).                    The "Unleashing American

       Energy" Executive Order ("Unleashing EO") is particularly relevant

       for reasons that will become clear below.




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                    The   Unleashing    EO   provides   in   Section 2    a   list   of

       "polic[ies]" that it states are "the policy of the United States."

       It further provides in Section 7(a):

                    All agencies shall immediately pause the
                    disbursement of funds appropriated through the
                    Inflation Reduction Act of 2022 (Public Law
                    117–169) or the Infrastructure Investment and
                    Jobs Act (Public Law 117–58) . . . and shall
                    review their processes, policies, and programs
                    for issuing grants, loans, contracts, or any
                    other   financial   disbursements    of   such
                    appropriated funds for consistency with the
                    law and the policy outlined in section 2 of
                    this order. . . . No funds identified in this
                    subsection . . . shall be disbursed by a given
                    agency until the Director of OMB and Assistant
                    to the President for Economic Policy have
                    determined   that   such   disbursements   are
                    consistent with any review recommendations
                    they have chosen to adopt.

       Unleashing EO, 90 Fed. Reg. 8357.

                    OMB issued guidance concerning the Unleashing EO on

       January 21, 2025 ("Unleashing Guidance").               The guidance states

       that "[t]his pause only applies to funds supporting programs,

       projects, or activities that may be implicated by the policy

       established in Section 2 of the order."           It further provides that

       "[a]gency heads may disburse funds as they deem necessary after

       consulting with the Office of Management and Budget."               Id.

                    On January 28, OMB also issued a separate document about

       the scope of the OMB Directive ("OMB Q&A").             The document stated

       in bold type: "Any program not implicated by the President's

       Executive Orders is not subject to the pause," and then listed the


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       seven Executive Orders discussed above.               It explained that "the

       pause does not apply across-the-board.            It is expressly limited to

       programs, projects, and activities implicated by the President’s

       Executive Orders, such as ending DEI, the green new deal, and

       funding nongovernmental organizations that undermine the national

       interest."      Additionally, however, OMB circulated a document to

       federal agencies entitled "Instructions for Federal Financial

       Assistance      Program      Analysis    in    Support    of    M-25-13"    ("OMB

       Spreadsheet").      It "required" "[a]ll Federal agencies that provide

       Federal     financial     assistance . . . to       complete      the   attached

       spreadsheet and submit it to OMB" by February 7, 2025.                        The

       spreadsheet listed over 2,500 federal funding lines, including for

       programs that the OMB Q&A explicitly stated were excluded from the

       pause, the Head Start program being one example.

                                                B.

                    The Plaintiff-States filed their suit in the District of

       Rhode    Island    on   January   28,    2025,   naming    as   defendants    the

       President, the OMB and its head, and eleven separate agencies and

       their heads.       The complaint alleged that the OMB Directive, which

       the complaint asserted was "set to take effect at [5:00 PM] today

       but     [was]     actually    being     implemented      even   earlier,"     was

       unconstitutional on various grounds.             The complaint also alleged

       that the OMB Directive violated the Administrative Procedure Act

       ("APA"), 5 U.S.C. § 701 et seq., because it constituted "final


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       agency action" that was "contrary to law" and "arbitrary and

       capricious." As to the action being contrary to law, the complaint

       alleged, among other things, that the "Defendants have no authority

       to impose a government-wide pause on federal awards without regard

       to the individual authorizing statutes, regulations, and terms

       that   govern    each     funding   stream."     As     to    the      action   being

       "arbitrary and capricious," the complaint alleged, also among

       other things, that "the OMB Directive provides no reasoned basis

       for pausing the disbursement and obligation of trillions of federal

       dollars and fails to consider the consequences of that action."

                    To support their claims, the Plaintiff-States alleged

       that they receive significant amounts of federal funds to provide

       essential services to their residents.           They further alleged that

       the Agency Defendants' implementation of the OMB Directive, by

       resulting in the withholding of these funds and providing them

       with less than twenty-four           hours'    notice    of doing so, would

       interfere with their ability to provide such services.                           They

       alleged, too, that the tight time frame for the OMB Directive's

       implementation      and    the   last-minute    notice       of   it    "compounded

       the[ir] injuries" because they could neither "prepare for or

       mitigate" the fiscal impact nor effectively plan for any future or

       downstream fiscal effects.

                    The Plaintiff-States sought a declaratory judgment and

       an injunction, as well as to vacate the OMB Directive under § 706


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       of the APA.      See 5 U.S.C. § 706.        They also moved for a temporary

       restraining      order    ("TRO")   to   "restrain       the   Defendants    from

       enforcing the OMB Directive's directive to 'pause all activities

       related to obligation or disbursement of all Federal financial

       assistance.'"

                     The same day the Plaintiff-States filed their complaint,

       the U.S. District Court for the District of Columbia issued an

       administrative stay of the OMB Directive pending that court's

       hearing on a separate request for a temporary restraining order.

       See   Nat'l    Council    of   Nonprofits    v.   Off.   of    Mgmt.   &   Budget,

       No. 1:25-cv-00239, 2025 WL 314433, at *1 (D.D.C. Jan. 28, 2025).

       In that case, non-profit organizations brought their own suit

       challenging the OMB Directive.5          See id.

                     On January 29, 2025, prior to the scheduled 3:00 PM

       hearing on the Plaintiff-States' TRO motion in the District of

       Rhode Island, the Defendants filed a notice with the District

       Court.    The notice stated that OMB had rescinded the OMB Directive

       and that the Plaintiff-States' claims and request for injunctive

       relief were moot.        The Defendants nevertheless indicated that they

       would appear at the 3:00 PM hearing.           The District Court proceeded




             5 The district court subsequently issued a preliminary
       injunction in that case. See Nat'l Council of Nonprofits v. Off.
       of Mgmt. & Budget, No. 1:25-cv-00239, 2025 WL 597959, at *19-20
       (D.D.C. Feb. 25, 2025).


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       with the hearing and, on January 31, 2025, granted a TRO as to the

       Agency Defendants.

                     With respect to whether the OMB Directive's rescission

       mooted the case, the District Court determined that the rescission

       of the OMB Directive was in name only, relying in part on a

       statement that the White House Press Secretary made on the social

       media platform "X" on the day of the rescission.            She stated: "This

       is NOT a rescission of the federal funding freeze.               It is simply

       a rescission of the OMB memo.            Why?   To end any confusion created

       by the court's injunction.            The President's EO[]s on federal

       funding remain in full force and effect, and will be rigorously

       implemented." The District Court also relied on evidence submitted

       by the Plaintiff-States regarding emails that the Environmental

       Protection Agency ("EPA") sent federal grant recipients one day

       "after the so-called rescission." One email stated that the agency

       is working "diligently to implement the [OMB Directive], Temporary

       Pause    of   Agency   Grant,    Loan,    and   Other   Financial   Assistance

       Programs, to align Federal spending and action with the will of

       the   American     people   as   expressed      through   President    Trump's

       priorities."       The email also explained that "[t]he agency is

       temporarily pausing all activities related to the obligation or

       disbursement of EPA Federal financial assistance at this time" and

       that "EPA is continuing to work with OMB as they review processes,

       policies, and programs, as required by the memorandum."


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                    "Based on the Press Secretary's unequivocal statement

       and the continued actions of Executive agencies," the District

       Court determined that the case was not moot.               It explained that

       "the   evidence    shows    that   the    alleged   rescission    of   the   OMB

       Directive was in name-only and may have been issued simply to

       defeat the jurisdiction of the courts."             It also explained that,

       based on the record, "the policies in the OMB Directive" were

       "still in full force and effect," such that the "substantive effect

       of the directive carries on."

                                                C.

                    One    week     later,      on    February     7,    2025,      the

       Plaintiff-States filed a motion to enforce the TRO as to certain

       federal funds that they contended were due to them but remained

       paused.     That same day, the Plaintiff-States also filed a motion

       for a preliminary injunction against the Agency Defendants.

                    That motion described the Plaintiff-States' requested

       relief in terms that approximate the preliminary injunction that

       the District Court ultimately entered.          To support the motion, the

       Plaintiff-States introduced a large body of evidence to show that

       the Agency Defendants had implemented, within a matter of hours or

       days, categorical freezes of obligated federal funds, without

       regard to whether the relevant statute or grant award permitted

       the funding freezes.




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                        This evidence included 127 exhibits, which included more

       than       100     declarations,      as     well    as    grant      documents     and

       communications with the relevant agencies.                       The communications

       concerned        the    named    agencies'    decisions     to     freeze   funds   in

       implementation of the OMB Directive and the President's Executive

       Orders.      The declarations, most of which were submitted by public

       officials        from    the    Plaintiff-States,     described       these   states'

       inability        to    access    their   federal     funding     in   the   immediate

       aftermath of the issuance of the OMB Directive and the President's

       Executive Orders.            The declarations also discussed the harm that

       the funding freezes and attendant uncertainty were causing and

       would continue to cause the Plaintiff-States.

                        Based on this evidence, the Plaintiff-States argued that

       they had standing and that the case was not moot.                           As to the

       elements         of    the   established      test   for   securing      preliminary

       injunctive relief, see Winter v. Nat. Res. Def. Council, Inc., 555

       U.S. 7, 20 (2008), the Plaintiff-States contended that they had

       established a likelihood of success on the merits based on their

       claims that the Defendants' actions violated the APA and the

       Constitution, and exceeded the Executive's statutory authority.6

       They further contended that the remaining elements of the Winter




              6As discussed below, the Plaintiff-States subsequently
       amended their complaint to expressly include this statutory ultra
       vires claim as a separate count.


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       test favored their request for preliminary injunctive relief due

       to the impact of the funding freezes on their ability to reliably

       provide essential services to their residents, and the absence of

       harm that the relief they sought would cause the Defendants.

                    The APA claims are the only ones that we address in

       resolving the stay motion before us here.              The Plaintiff-States

       contended that they were likely to succeed in showing that the

       challenged agency actions -- which their preliminary injunction

       motion       collectively         termed       the      "Federal       Funding

       Freeze"7 -- violated the APA because those actions were contrary

       to law and ultra vires, 5 U.S.C. § 706(2)(B)-(C), as well as

       arbitrary and capricious, id. § 706(2)(A).

                    With respect to the agency actions being "contrary to

       law," the Plaintiff-States pointed to the Impoundment Control Act

       ("ICA"), 2 U.S.C. § 681 et seq.              They also pointed to various

       statutory schemes governing the disbursement of federal funds

       under specific programs, including the Inflation Reduction Act

       ("IRA"), Pub. L. No. 117-169, 136 Stat. 1818 (2022), and the

       Infrastructure Investment and Jobs Act ("IIJA"), Pub. L. No.

       117-58, 135 Stat. 429 (2021).         They contended that these measures




             7The term "Federal Funding Freeze" appears to be drawn from
       the White House Press Secretary's statement that the rescission of
       the OMB Directive "is NOT a rescission of the federal funding
       freeze."


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       establish     mandatory     funding     directives     based    on   allocation

       formulas and enumerated factors.

                    With respect to the challenged agency actions being

       "arbitrary and capricious," the Plaintiff-States asserted that the

       "only explanation provided" for the "Funding Freeze" was its

       "inten[t] to help the Executive achieve his policy priorities."

       They also argued that the Agency Defendants had neither identified

       statutory authority for the actions making up the "Funding Freeze"

       nor "attempted to explain their utter disregard for the [resulting]

       harms."     And they argued that "freezing all funds under the IRA

       and the IIJA" was "substantively unreasonable" because doing so

       conflicted with applicable statutory directives.

                    The Plaintiff-States separately made arguments about the

       existence of "final agency action."              See 5 U.S.C. § 704.       They

       contended that the OMB Directive itself constituted final agency

       action.    They also contended that the Agency Defendants' "actions

       to   implement     the   Funding    Freeze     by    unilaterally    suspending

       funding"    separately     constituted       final   agency    actions   because

       "[e]ach of th[o]se actions . . . marked 'the consummation' of

       agency      decision       making      and      determined       'rights     or

       obligations . . . from which legal consequences' flowed." (Second




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       alteration in original) (quoting Bennett v. Spear, 520 U.S. 154,

       177-78 (1997)).8

                                              D.

                     Two days later, on February 9, 2025, the Defendants

       responded to the Plaintiff-States' pending motion to enforce the

       TRO.       The District Court granted the motion the next day.

                     On February 10, 2025, the Defendants appealed the TRO

       (as well as the District Court's order granting its extension) and

       the District Court's order granting the motion to enforce the TRO.

       They also asked us to stay these orders pending appeal and to

       administratively stay them pending resolution of their motion for

       a stay pending appeal.9        In seeking the administrative stay, the

       Defendants argued, among other things, that the order granting the

       motion to enforce effectively required them to go to the District

       Court for "preclearance" before exercising their lawful authority

       to withhold funds "across [a] multitude of [federal] programs."

                     On February 11, 2025, we denied the motion for an

       administrative      stay   without    prejudice.       We   also    noted   the




              The Plaintiff-States also argued that "the funding freezes
              8

       implemented by Agency Defendants are likewise reviewable as, at
       minimum, the 'denial' of 'relief' -- another form of agency action
       reviewable under the APA, 5 U.S.C. § 551(13), defined to include
       the denial of 'the whole or part of agency . . . grant of money,'
       id. § 555(11)."
              The Defendants simultaneously sought a stay pending appeal
              9

       of those same orders from the District Court.


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       Plaintiff-States'       position     that    the   District    Court's    order

       granting the motion to enforce the TRO "does not stop [D]efendants

       from limiting access to funds without any preclearance from the

       [D]istrict [C]ourt on the basis of the applicable authorizing

       statutes,     regulations,     and   terms"    (internal      quotation   marks

       omitted), as well as our confidence that the District Court would

       provide any clarification necessary as to that issue.                 The next

       day, the District Court issued an order clarifying that: (1) the

       TRO "permits the Defendants to limit access to federal funds on

       the basis of the applicable authorizing statutes, regulations, and

       terms" (internal quotation marks omitted); (2) the order granting

       Plaintiff-States' motion to enforce "does not bar[] both the

       President and much of the Federal Government from exercising their

       own lawful authorities to withhold funding without the prior

       approval of the [D]istrict [C]ourt" (internal quotation marks

       omitted); and (3) neither order "require[s] the Defendants to seek

       'preclearance' from the Court before acting to terminate funding

       when that decision is based on actual authority in the applicable

       statutory, regulatory, or grant terms."10




              In a separate order issued the same day, the District Court
             10

       denied the Defendants' motion to stay the TRO, the order extending
       the TRO, and the order granting the Plaintiff-States' motion to
       enforce the TRO pending appeal to this Court.     On February 13,
       2025, the Defendants voluntarily dismissed their appeal.


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                                                  E.

                    On     February     12,     2025,    the   Defendants         filed   their

       opposition     to    the    Plaintiff-States'       motion     for     a    preliminary

       injunction.         Their primary argument was that the "Plaintiffs'

       Complaint challenges one action -- the OMB [Directive] -- which

       has now been rescinded," and they asserted that the rescission of

       the OMB Directive rendered the case moot.                They did not attempt to

       dispute the Plaintiff-States' evidence or introduce any contrary

       evidence of their own.

                    As to the merits of the APA claims, the Defendants

       contended, among other things, that the Plaintiff-States had not

       identified any final agency action other than the rescinded OMB

       Directive.     They also argued that the Plaintiff-States' attempt to

       invoke the ICA was unavailing, because that statute did not apply

       here and, in any event, was not enforceable under the APA.                           They

       further    argued         that   the    Plaintiff-States'         claims     "rest     on

       a . . . flawed premise" because the OMB Directive and Executive

       Orders "expressly instruct[] agencies to implement a pause only to

       the   extent      permissible      by    law,"    and   thus      do   not    direct   a

       "categorical[]" pause "without consideration of whether [such] a

       pause is consistent with the underlying legal framework governing

       that funding."

                    At     the    end   of     their    response    in    opposition,       the

       Defendants included the statement: "[p]articularly in light of the


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       extraordinary breadth of Plaintiffs' requested relief, to the

       extent the Court issues any injunctive relief, the United States

       respectfully requests that such relief be stayed pending the

       disposition of any appeal that is authorized, or at a minimum that

       such relief be administratively stayed for a period of seven days

       to allow the United States to seek an emergency, expedited stay

       from the court of appeals if an appeal is authorized."                They did

       not thereafter file a motion for such a stay with the District

       Court or at any point in the proceedings below mention or address

       the established test for securing one set forth in Nken v. Holder,

       556 U.S. 418 (2009).         See Fed. R. App. P. 8(a)(1)(A) ("A party

       must ordinarily move first in the district court for . . . a stay

       of the judgment or order of a district court pending appeal.").

                                               F.

                    On February 13, 2025, the day after the Defendants filed

       their opposition, the Plaintiff-States filed an Amended Complaint.

       It alleged that the challenged "Federal Funding Freeze" violated

       the APA, the Constitution, and exceeded the Executive's statutory

       authority.     It also alleged that the "Federal Funding Freeze [was]

       effectuated     through    EOs,   the   Unleashing    [Guidance],     the   OMB

       Directive, and other agency actions implementing [those orders and

       directives] as detailed [in the Amended Complaint]."

                    The Amended Complaint named eleven additional agencies

       and their heads as defendants. It also included additional factual


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       allegations regarding "major funding disruptions" that followed

       the issuance of certain Executive Orders that "direct[ed] federal

       agencies       to     review   funding    recipients     in    connection       with

       widespread policy changes" but predated the issuance of the OMB

       Directive.          Among other things, the Amended Complaint sought as

       relief    an    "injunction      preventing     the   Agency       Defendants   from

       maintaining or reinstating the Federal Funding Freeze, including

       through implementation of EOs, such as the Unleashing EO, and

       agency actions implementing them."

                      The Plaintiff-States filed a reply to the Defendants'

       opposition to their motion for preliminary injunction the next

       day.    The Defendants did not request an opportunity to respond to

       the Amended Complaint, either in a sur-reply or by filing a new

       opposition. That was so even though their opposition to the motion

       for the preliminary injunction focused on the Plaintiff-States'

       initial complaint and asserted that it targeted only the OMB

       Directive itself, which had been rescinded.

                      On February 21, 2025, the District Court held a hearing

       on the preliminary injunction motion.              Both parties addressed the

       Amended Complaint, but the Defendants did not seek to make any

       additional filing or suggest it would be improper for the District

       Court    to    focus     on    the   Amended    Complaint     in    resolving    the

       preliminary injunction motion.




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                                                   G.

                    On March 6, 2025, the District Court issued its ruling

       on the motion for the preliminary injunction.                         It granted the

       motion.

                    The District Court reasoned that the OMB Directive's

       rescission did not moot the case.                 The District Court concluded

       that,      under    the     "voluntary       cessation"        doctrine,         Lowe     v.

       Gagné-Holmes, 126 F.4th 747, 756 (1st Cir. 2025), the rescission

       "was a clear effort to moot legal challenges to the federal funding

       freeze"     and    that    it    was   "unreasonable      to    conclude        that     the

       Defendants     will    not      reinstate    [the   OMB     Directive]          absent    an

       injunction."          The       District    Court    also      reasoned         that     the

       Plaintiff-States' claims were not moot because the challenged

       funding freezes continued and because of the additional claims in

       the Amended Complaint relating to "the Unleashing Guidance, the

       related      Unleashing          [Executive       Order],       and       the     general

       implementation        of    funding     freezes     based      on   the    President's

       EO[s]."11     Winding up its jurisdictional analysis, the District


             11Although the District Court referred to a singular "EO,"
       it later explained -- correctly -- that the Amended Complaint seeks
       to "enjoin the Agency Defendants from implementing 'the Federal
       Funding Freeze' 'effectuated through         EOs, the Unleashing
       [Guidance], the OMB Directive, and other agency actions.'"
       (Emphasis added) (alteration in original). It further explained
       that the Plaintiff-States' challenge is to "a pause on federal
       funding that was implemented under not only the OMB Directive, but
       also . . . the EOs incorporated therein and other agency actions



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       Court determined that the Plaintiff-States had met their burden

       with respect to their Article III standing to sue.

                    The District Court then addressed the Plaintiff-States'

       contention that they were likely to succeed on the merits as to

       their APA claims.       The District Court identified the OMB Directive

       and    the   Agency     Defendants'     "swift       actions     to   execute    the

       categorical funding freeze" under the OMB Directive, Unleashing

       EO, and Unleashing Guidance as final agency actions.                  It explained

       that those actions "marked the 'consummation of each agency's

       decisionmaking process'" (quoting Drs. for Am. v. Off. of Pers.

       Mgmt., No. CV 25-322, 2025 WL 452707, at *5 (D.D.C. Feb. 11,

       2025)), and that the "abrupt, categorical, and indefinite pause of

       obligated     federal     funds   is      the   direct,        appreciable      legal

       consequence" of those actions.

                    The    District      Court       also     determined       that      the

       Plaintiff-States had demonstrated that they were likely to succeed

       in showing that the challenged final agency actions were contrary

       to law and arbitrary and capricious.            The District Court concluded

       that there was sufficient evidence to establish that the Agency

       Defendants' funding freezes were categorical in nature,12 and not




       such as the OMB's issuance of the Unleashing Guidance."                  (Emphasis
       added).
              The District Court treated the Unleashing EO and Guidance
             12

       interchangeably at points.


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       individualized assessments of their authority to pause individual

       funding streams.       In doing so, the District Court referred to the

       evidence that the Plaintiff-States had submitted along with their

       motion for a preliminary injunction discussing their inability to

       access funds in the immediate aftermath of the issuance of the OMB

       Directive and the Unleashing EO, as well as communications received

       from Agency Defendants regarding the freezing of such funds. Based

       on the unrebutted evidence before it, the District Court observed

       that any "suggest[ion] that the challenged federal funding freezes

       were   purely    the   result   of   independent    agency    decisions"    was

       "disingenuous."

                    As to the Plaintiff-States' "contrary to law" showing,

       the District Court determined that the challenged actions of the

       Agency Defendants involved categorical funding determinations that

       were likely barred by both the ICA and specific directives in

       individual statutes mandating that funds be spent in specific ways.

       As to the Plaintiff-States' "arbitrary and capricious" showing,

       the District Court determined that the challenged agency actions,

       given their breadth and immediacy, were likely not supported by

       rational reasons and that the Defendants had failed to consider

       meaningfully important aspects of the problem that they sought to

       address in taking those actions.

                    Finally, the District Court concluded both that the

       Plaintiff-States        had     presented     "unrebutted      evidence"     of


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       irreparable harm and that the balance of equities, as well as the

       public interest, weighed heavily in favor of the Court granting

       preliminary relief.         Accordingly, the District Court issued a

       preliminary     injunction      against      the   Agency   Defendants,   which

       contained the elements described at the outset of this opinion.13

       The District Court also denied "Defendants' request to stay this

       Order pending appeal to the First Circuit."

                                               H.

                    The   Defendants    appealed      the   District   Court's   order

       granting the preliminary injunction on March 10, 2025.               They then

       moved for a stay pending appeal, which is the sole motion that we

       address here.

                                              II.

                    Because only the stay motion is before us, we address

       only the narrow question of whether the Defendants have met their

       burden to show that they are entitled to judicial intervention

       that is "not a matter of right," as a stay pending appeal is "an

       'intrusion     into   the   ordinary    processes     of    administration   and


              In response to a second motion to enforce the TRO filed by
             13

       the Plaintiff-States on February 28, 2025, in connection with
       certain Federal Emergency Management Agency ("FEMA") funds, the
       District Court in the preliminary injunction also directed
       Defendant FEMA to "file a status report on or before March 14,
       2025, informing the Court of the status of [its] compliance with
       th[e] [preliminary injunction]."     The District Court further
       denied as moot Plaintiff-States' motion to enforce the TRO because
       the issuance of the preliminary injunction "renders the TRO
       expired."


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       judicial review.'"        Nken, 556 U.S. at 427 (first quoting Virginian

       R. Co. v. United States, 272 U.S. 658, 672 (1926); and then quoting

       Va. Petroleum Jobbers Ass'n v. FPC, 259 F.2d 921, 925 (D.C. Cir.

       1958)).     To obtain the stay, the Defendants bear the burden of

       satisfying a most familiar test.              They must: (1) make a "strong

       showing that [they are] likely to succeed on the merits" in their

       appeal; (2) show that they "will be irreparably injured absent a

       stay"; (3) show that "issuance of the stay will [not] substantially

       injure    the    other    parties   interested     in   the   proceeding";      and

       (4) show that the stay would serve "the public interest."                    Id. at

       434 (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

                    In evaluating whether this burden has been met, we are

       mindful that the "first two factors" -- likelihood of success and

       irreparable injury -- "are the most critical."                    Id.       We also

       emphasize       that   addressing   interlocutory       motions   on    a    "tight

       timeline"       is     "not   always     optimal    for       orderly   judicial

       decisionmaking," Labrador v. Poe, 144 S. Ct. 921, 930 (2024)

       (Kavanaugh, J., concurring in the grant of stay), and that,

       especially in those circumstances, we "rely on the parties to frame

       the issues for decision," Greenlaw v. United States, 554 U.S. 237,

       243 (2008).          We note, too, that a district court's decision to

       grant a preliminary injunction is reviewed for abuse of discretion.

       Ryan v. U.S. Immigr. & Customs Enf't, 974 F.3d 9, 18 (1st Cir.

       2020).


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                     Finally, we make two clarifying observations about the

       analysis that follows.           First, we proceed on the understanding

       that the Defendants seek to stay the injunction in its entirety,

       notwithstanding their expressed choice to develop no argument in

       their stay motion that they are likely to succeed in showing that

       the District Court's analysis of the OMB Directive was mistaken.

       Second, after considering the parties' positions, we understand

       the scope of the District Court's preliminary injunction to operate

       on freezes that were implemented: (1) pursuant to the Unleashing

       EO and Guidance, the OMB Directive itself, or the other EOs

       referenced in the OMB Directive; and (2) regardless of whether the

       freezes began before the OMB Directive's issuance on January 27,

       2025.

                                                A.

                     We begin with the Defendants' arguments regarding the

       first Nken factor -- which requires that they make a "strong

       showing" that they are likely to succeed on the merits in their

       appeal.       Nken, 556 U.S. at 434 (quoting Hilton, 481 U.S. at 776).

       We conclude that the Defendants have not made that showing.

                                                1.

                     A central line of the Defendants' challenge is that the

       preliminary injunction appears "[i]n the guise of litigation under

       the"    APA    but   is   in   fact   "unmoored   from   any   specific   agency




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       action."14    They assert that the Plaintiff-States have "leveraged

       their challenge to" the rescinded OMB Directive into "broad-based

       relief     against   innumerable    funding    decisions    at   twenty-three

       federal agencies" and that "such broad-based APA challenges" are

       impermissible.       As support, the Defendants cite to the Supreme

       Court's decision in Norton v. Southern Utah Wilderness Alliance,

       542 U.S. 55, 64 (2004), and contend that "[i]t is black-letter law

       that cases under the APA must challenge discrete agency actions

       and may not level a 'broad programmatic attack,'" (quoting Norton,

       542 U.S. at 64).      The thrust of this line of argument thus appears

       to be that the preliminary injunction rests on a broad programmatic

       attack rather than on challenges to discrete final agency actions.

                    Norton does make clear that the APA permits review of

       only discrete final agency actions and "precludes the kind of broad

       programmatic attack [the Supreme Court] rejected in Lujan v.


             14As to the merits of the APA claims themselves, the
       Defendants only argue that the District Court erred in relying on
       the Impoundment Control Act ("ICA"), 2 U.S.C. §§ 681-692.      The
       District Court, however, separately determined that the Agency
       Defendants' actions violated the APA by virtue of having been
       arbitrary and capricious -- a determination that does not in any
       part rely on the ICA.     The Defendants fail to challenge that
       determination in their stay motion, thus leaving that independent
       ground for issuing the preliminary injunction unchallenged before
       us. See Wadsworth v. Nguyen, 129 F.4th 38, 52 (1st Cir. 2025)
       (concluding that an appellate claim must fail where only one part
       of a two-part test was challenged on appeal); cf. United States v.
       Zannino, 895 F.2d 1, 17 (1st Cir. 1990) ("[I]ssues adverted to in
       a perfunctory manner, unaccompanied by some effort at developed
       argumentation, are deemed waived.").    Accordingly, we need not
       address the Defendants' contentions regarding the ICA.


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       National Wildlife Federation, 497 U.S. 871 (1990)."                          542 U.S. at

       64. Norton explains, however, that the "broad programmatic attack"

       at issue in Lujan was an attempt to seek "wholesale" "programmatic

       improvements" "by court decree" by "couch[ing]" "[the Bureau of

       Land Management's] land withdrawal review program" as an "unlawful

       agency 'action'" that should be "'set aside' under § 706(2)" of

       the APA.       Id. (emphasis omitted) (quoting Lujan, 497 U.S. at 891,

       879).    Because "the program was not [itself] an 'agency action,'"

       Norton explained, the Court in Lujan rejected the plaintiff's

       challenge to it.       Id. (quoting 5 U.S.C. § 706(2)).

                      Indeed, Lujan concluded that the "program" challenged

       there    was    "simply   the      name    by     which    [the   government]       ha[d]

       occasionally      referred      to   the    continuing         (and   thus    constantly

       changing)      operations     of     the   [Bureau        of   Land   Management]      in

       reviewing        withdrawal          revocation           applications        and     the

       classifications of public lands and developing land use plans as

       required" under federal law.               497 U.S. at 890 (emphasis added).

       Lujan observed that, in styling the challenge as against the

       "program," the plaintiff there was in fact challenging a variety

       of programmatic deficiencies that it claimed were unlawful for

       varied reasons.       Id. at 891.          But the APA, Lujan explained, does

       not "permit[] a generic challenge to all aspects of" a program,

       "as though that itself constituted a final agency action."                          Id. at

       890 n.2.


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                    The District Court determined here, by contrast, that

       the    Plaintiff-States'      APA   claims    do   challenge      discrete   final

       agency actions.      To be sure, those claims, like the motion for the

       preliminary injunction, describe those actions, collectively, as

       the "Federal Funding Freeze."          The District Court at points uses

       that nomenclature as well.          But the claims themselves, like the

       motion, assert that the discrete final agency actions are the

       decisions by the Agency Defendants to implement broad, categorical

       freezes on obligated funds.

                    It is also clear that the District Court determined that

       the discrete challenged agency actions were "final."                The District

       Court did so based on its assessment that these actions satisfied

       the test set forth in Bennett v. Spear, 520 U.S. 154, 177-78 (1997)

       (holding that agency actions will be deemed final where the

       challenged action (1) "mark[s] the 'consummation' of the agency's

       decisionmaking process" and (2) is an action "by which 'rights or

       obligations      have    been    determined,'        or    from    which     'legal

       consequences will flow'" (first quoting Chi. & S. Air Lines, Inc.

       v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948); and then quoting

       Port    of   Bos.    Marine     Terminal     Ass'n    v.    Rederiaktiebolaget

       Transatlantic, 400 U.S. 62, 71 (1970))).

                    The stay motion does not address those findings by the

       District Court or, for that matter, Lujan itself.                 That is so even

       though Lujan recognized that "[i]f . . . in fact some specific


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       order or regulation[] appl[ied] some particular measure across the

       board to all individual classification terminations and withdrawal

       revocations, and . . . that order or regulation is final . . . it

       can of course be challenged under the APA."             497 U.S. at 890 n.2;

       see also Hisp. Affs. Project v. Acosta, 901 F.3d 378, 388 (D.C.

       Cir. 2018) (applying that statement in Lujan and holding that the

       plaintiffs' APA challenge to the Department of Homeland Security's

       administration of the H-2A visa program was not impermissibly

       programmatic in nature because the plaintiffs were challenging an

       across-the-board      agency   practice      in   violation   of   a   statutory

       command).     The stay motion instead makes the conclusory, implicit

       assertion, based on a passage in Norton concerning a holding in

       Lujan, that no such discrete final agency actions were identified

       to support the preliminary injunction.             And the Defendants do not

       develop any independent argument as to why the challenged agency

       actions, if discrete, do not satisfy the Bennett test for finality.

       We therefore do not see how the Defendants have met their burden

       of making a "strong showing," Nken, 556 U.S. at 434 (quoting

       Hilton, 481 U.S. at 776), that the injunction was based on a "broad

       programmatic attack" of the type Norton had in mind, 542 U.S. at

       64.

                    Elsewhere in their stay motion, and more clearly in their

       reply, the Defendants offer a variation on the same theme.                 They

       assert that the Plaintiff-States challenge "unidentified past


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       funding decisions across thousands of programs and an untold number

       of hypothetical future funding decisions."               They contend that such

       a challenge "runs squarely into the APA's limitation on leveling

       a    'broad    programmatic      attack'   rather      than   seeking    review    of

       discrete agency actions."

                      To the extent that this argument is distinct from the

       one discussed above, we are not aware of any supporting authority

       for the proposition that the APA bars a plaintiff from challenging

       a number of discrete final agency actions all at once.                   Nor do the

       movants identify any such precedent.

                      The   Defendants    do    assert   in    their    reply   that     the

       Plaintiff-States' opposition to their motion for a stay does not

       identify "specific agency actions other than the rescinded OMB

       [Directive]" and that "most of the agencies that are now subject

       to    the     injunction   are    not    mentioned      in    [Plaintiff-States']

       opposition at all."           The Defendants are the movants, however.

       Their contention about deficiencies in an opposition to their

       motion thus cannot itself constitute a strong showing that they

       are likely to succeed in challenging the preliminary injunction

       itself.       See Nken, 556 U.S. at 433-34 (burden to show that "the

       circumstances justify" a stay is on the party seeking such relief).

                      In any event, the Plaintiff-States' opposition does

       identify specific agency actions.           The Plaintiff-States make clear

       that they challenge the Agency Defendants' "actions -- following


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       the     executive     orders   and     [OMB]        Directive      --    to    implement

       categorical funding freezes without regard and contrary to legal

       authority."     The Defendants' contention about the deficiencies in

       the Plaintiff-States' opposition to the stay motion also must be

       considered in light of the fact that, as we have already explained,

       the stay motion does not address the District Court's findings

       regarding the final agency actions that undergird the preliminary

       injunctive relief.

                     Indeed, the record before the District Court included

       numerous notices and emails authored by Agency Defendants that

       support the finding that their funding freezes were categorical in

       nature, rather than being based on "individualized assessments of

       their    statutory     authorities         and    relevant       grant   terms."     The

       Plaintiff-States also attached numerous declarations describing

       pauses, freezes, and sudden terminations of obligated funds that

       suggested      that   these    actions           were   taken     pursuant     to   such

       categorical     decisions.           And    we     note    as     well   the    familiar

       proposition that, in reviewing the record, a court is "not required

       to exhibit a naiveté from which ordinary citizens are free." Dep't

       of Com. v. New York, 588 U.S. 752, 785 (2019) (quoting United

       States v. Stanchich, 550 F.2d 1294, 1300 (2d Cir. 1977) (Friendly,

       J.)); see also, e.g., Nat'l Council of Nonprofits v. Off. of Mgmt.

       & Budget, No. 1:25-cv-00239, 2025 WL 597959, at *7 (D.D.C. Feb.

       25,   2025)    (rejecting      the    contention          that    "countless    federal


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       agencies . . . suddenly began exercising their own discretion to

       suspend funding across the board at the exact same time" because

       it    requires      "unfathomable"     "coincidental        assumptions"     and

       "contradicts the record").

                    For these reasons, we see no basis for concluding that

       the Defendants have made a strong showing as to their likelihood

       of success on appeal insofar as they aim to demonstrate that there

       is   no    final   agency   action    to    support   the    entirety   of   the

       injunction.        This ground for satisfying the first Nken factor

       therefore fails.

                                              2.

                    The    Defendants    separately     argue      that   because   the

       District Court "fail[ed] to limit its injunction to the few

       statutory schemes that it concluded were nondiscretionary," it

       "enjoin[ed] broad swaths of lawful conduct."15                 The Defendants

       emphasize that "many federal funding programs and instruments

       provide the Executive with discretion to suspend or terminate

       funding that the Executive determines is inconsistent with the

       national interest."         They also observe that the District Court

       found that the OMB Directive was implemented in a way that violated


              In the stay motion, the Defendants argue that the District
             15

       Court's TRO "essentially acknowledged as much." We note, however,
       that the TRO merely questioned whether there "might be" "some
       aspects" of implementations of the OMB Directive that could be
       "legal and appropriate constitutionally for the Executive to
       take."


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                                             A568
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       statutes that require the disbursement of funding in only "a

       handful of cases."        Because the District Court did not limit its

       injunction to the implementation of the OMB Directive to funding

       streams under those statutes, they contend, the District Court

       enjoined lawful behavior.          As the Defendants at one point put it,

       the District Court erred in "enter[ing] a sweeping injunction that

       was not tethered to the supposed flaws in the OMB [Directive], but

       instead broadly and unjustifiably prohibited actions based on

       other Executive Orders or directives."

                    The    District       Court      found,       however,      that      the

       "suggest[ion] that the challenged federal funding freezes were

       purely the result of independent agency decisions rather than the

       OMB     Directive       or     the      Unleashing         Guidance . . . [was]

       disingenuous."        (Emphasis      omitted).       And    the    District       Court

       explicitly     rejected      the   Defendants'       "claim       that   the    [OMB]

       Directive and the [Executive Orders] required the agencies to pause

       funding and impose restriction[s] on obligated funds consistent

       with the law."       The District Court did so, moreover, because it

       found that the "undisputed evidence before [it] [wa]s that adding

       the 'consistent with the law' caveat was nothing more than window

       dressing on an unconstitutional directive by the Executive."

                    The   District    Court       further     found   that      "[t]he    OMB

       Directive essentially ordered agencies to effectuate the blanket

       pause and then decide later which funding streams they actually


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                                              A569
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       had lawful authority to withhold," given "the mere twenty-four

       hours" that the OMB Directive gave agencies to "discern" which

       funding streams must be paused. It found, too, that the Unleashing

       EO and Unleashing Guidance, in particular, "instruct[ed] that

       agencies immediately pause disbursements of funds under the IRA or

       IIJA and d[id] not even attempt to allow for agency discretion."

                     The stay motion does not meaningfully engage with this

       aspect of the District Court's analysis.              That is so even though

       the analysis rests on the District Court's view of the record

       considered as a whole and resulted in its conclusion that the final

       agency actions at issue -- the funding freezes by each of the

       Agency Defendants -- violated the APA because they were either

       contrary to law or arbitrary and capricious or both.

                     Moreover,    the     record      contains    evidence    that    the

       Plaintiff-States submitted to show that categorical freezes were

       undertaken pursuant to directives in Executive Orders referenced

       in the OMB Directive other than the Unleashing EO.                 Yet, despite

       bearing a "strong showing" burden under Nken's first factor, the

       Defendants make no clear or developed argument to us that the

       District Court abused its discretion in relying on that record to

       apply the preliminary injunction to such freezes. We thus conclude

       that,    as   to   this   aspect   of   their     motion   for   the   stay,   the

       Defendants also have failed to make a strong showing of their




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                                               A570
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       likelihood of success.         See United States v. Zannino, 895 F.2d 1,

       17 (1st Cir. 1990).

                       Accordingly, the Defendants' repeated assertions that

       the OMB Directive and Executive Orders solely directed agencies to

       pause funding "to the extent permitted by law" fail to show that

       the movants have a strong likelihood of success on appeal as to

       the merits of the Plaintiff-States' APA claims.              So, this ground

       for satisfying the first Nken factor also is without merit.16

                                              3.

                       The Defendants' final argument as to the first Nken

       factor     is    that   "the   preliminary    injunction . . . operates      to

       interfere with the President's authority to supervise federal

       agencies by providing policy direction in the exercise of each

       agency's authorities" because it "appears to demand that, in

       exercising their discretionary authority, agencies should not take

       policy direction from the President."           The contention is that this



             16The Defendants also argue that the preliminary injunction
       is "unclear" as to whether it permits agencies to make funding
       decisions based on Executive priorities when they have legal
       authority to do so. But the preliminary injunction clearly refers
       to a "categorical pause or freeze of funding," which, by its terms,
       could not apply to a pause or freeze based on an individualized
       determination under an agency's actual authority to pause such
       funds.   Consistent with this understanding, the District Court
       explained in its opinion that the preliminary injunction "does not
       prevent the [Government] from making funding decisions in
       situations under the Executive's actual authority in the
       applicable statutory, regulatory, or grant terms." (Internal
       quotation marks omitted).


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                                             A571
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       feature of the preliminary injunction "cannot be squared with

       Article II"     of   the   Constitution,      which   grants    the    President

       "authority to exercise 'general administrative control of those

       executing the laws, throughout the Executive Branch of government,

       of which he is the head.'"       (Quoting Bldg. & Constr. Trades Dep't.,

       AFL-CIO v. Allbaugh, 295 F.3d 28, 32 (D.C. Cir. 2002)).

                    To be clear, the argument is not that the President has

       Article II authority to order a funding pause in contravention of

       a statutory directive precluding such a pause.               We understand the

       argument to be only that the District Court has interfered with

       the    Agency   Defendants'      ability     to   lawfully     carry   out   the

       President's directives.17       Indeed, the stay motion argues that the

       preliminary injunction interferes with the Executive's authority

       because the "President's Executive Orders are plainly lawful."

       And the stay motion rests this argument on the view that the

       "Executive Orders . . . simply direct federal agencies to pause or

       terminate federal funding programs that may not accord with the

       President's     priorities    where    such   action    is    consistent     with

       applicable law."


             17The Defendants also note, without further argument, that
       "the President's directions to subordinates" are not "themselves
       reviewable under the APA" because the "President is not an 'agency'
       within the meaning of th[at] statute." (Quoting Franklin v.
       Massachusetts, 505 U.S. 788, 800-01 (1992)).      But the District
       Court did not review the President's actions for consistency with
       the APA. Rather, it reviewed -- and ultimately enjoined -- the
       Agency Defendants' actions under the Executive Orders.


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                                             A572
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                    As we have already noted, however, the stay motion does

       not meaningfully address the District Court's findings as to the

       Agency Defendants       having adopted       categorical funding freezes.

       Therefore, the Defendants have not demonstrated that they have a

       likelihood of success in demonstrating that the injunction reaches

       lawful conduct.        It follows that they have not made a strong

       showing that they are likely to succeed in defending what on their

       own account is a necessary premise of their Article II-based

       argument.     We therefore conclude that the Defendants cannot rely

       on their Article II-based argument to satisfy their burden with

       respect to the first Nken factor.

                                              B.

                    The remaining three Nken factors require the movants to

       show that they "will be irreparably injured absent a stay," that

       "issuance of the stay will [not] substantially injure the other

       parties interested in the proceeding," and that the stay would be

       in "the public interest."         556 U.S. at 434 (quoting Hilton, 481

       U.S. at 776).      The movants have not done so.

                                              1.

                    The Defendants advance two arguments as to the second

       Nken factor, which concerns their irreparable harm absent a stay.

       As we noted at the outset of our substantive analysis, this factor,

       along with the likelihood of success factor, is one of the two

       "most critical" factors under the Nken test.             Id.


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                                             A573
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                    The first contention is that the preliminary injunction

       "interferes     with   agencies'      ability      to   exercise     their       lawful

       authorities to implement the President's policy directives."                           It

       further asserts that the preliminary injunction "undermines the

       President's      unquestioned         Article II        authority         to     direct

       subordinate agencies how to exercise their own authorities, giving

       rise to an intolerable intrusion on the prerogatives of the

       Executive Branch."

                    The District Court's order             granting the preliminary

       injunction does not bar all freezes in funding, however.                               It

       instead enjoins the discrete final agency actions to adopt the

       broad, categorical freezes challenged here.                   This argument thus

       suffers from the same flaw as the Article II-based argument as to

       the first Nken factor, as it rests on the same undefended premise

       about the lawfulness of the enjoined agency actions                            as that

       argument does.

                    Relatedly, the Defendants assert that the injunction

       includes     "multiple    vague      instructions"      and    so    "invites         the

       [D]istrict      [C]ourt      to   engage      in    precisely       the        sort   of

       'preclearance'      regime    that    led   the    government       to    appeal      the

       [District Court's TRO], and which the [D]istrict [C]ourt purported

       to disclaim." This type of separation-of-powers harm, the argument

       goes, "itself reflects irreparable injury."




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                    For starters, no "preclearance" language appears in the

       preliminary injunction itself, a fact that the Defendants appear

       to acknowledge in their reply.           The Defendants also acknowledge

       that the District Court has previously clarified that it had

       imposed no such requirement in enjoining the Agency Defendants,

       via its TRO or order granting the Plaintiff-States' motion to

       enforce, from taking specific funding actions.

                    We also cannot agree that the Defendants have made the

       case that the preliminary injunction is vague as to the OMB

       Directive or funding freezes pursuant to it.             The Defendants take

       issue    with    the    District    Court's    injunction     against     their

       "'implementing' or 'giving effect to' the OMB [Directive] 'under

       a different name,'" contending that this lacks the detail necessary

       for compliance.        But Rule 65 requires injunctions to "describe in

       reasonable detail -- and not by referring to the complaint or other

       document -- the act or acts restrained or required."             Fed. R. Civ.

       P. 65(d)(1)(C) (emphasis added).             It does not "require that an

       order list the components of a term whose boundaries are understood

       by common parlance." United States v. Pro. Air Traffic Controllers

       Org. (PATCO), PATCO Local 202, 678 F.2d 1, 3 (1st Cir. 1982).               And

       the Defendants do not identify any particular action with respect

       to which they are unclear about the reach of this portion of the

       injunction.




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                    Insofar as the Defendants contend that the injunction is

       vague because it enjoins them from "pausing funds as 'described'

       or 'implied by' the President's Executive Orders," we also do not

       agree.     The order granting the preliminary injunction plainly

       enjoins    the     Agency    Defendants       from   maintaining   categorical

       "funding freezes" based on the identified Executive Orders.                And,

       as we have explained, "funding freezes" are "categorical" freezes

       on obligated funds.          Given that the Defendants are in the best

       position to know the basis for any freezing decisions, we do not

       see -- nor do the Defendants explain -- why this instruction does

       not provide them with "reasonable detail" of the "acts restrained."

       Fed. R. Civ. P. 65(d)(1)(C); see also 11A Charles Alan Wright &

       Arthur R. Miller, Federal Practice and Procedure § 2955 (3d ed.

       2024) ("[T]he issuance of a nonspecific injunction or restraining

       order may be justified. . . . when the information needed to make

       the order specific in form is known only to the party to be

       enjoined." (footnotes omitted)); see also M.G. ex rel. Garcia v.

       Armijo, 117 F.4th 1230, 1249-51 (10th Cir. 2024) (explaining how

       an     injunction's         form   may     depend      on     "information[al]

       asymmetr[ies]").

                    That leaves, as to the second Nken factor, only the

       argument    that    the   Defendants     face   irreparable    pecuniary   harm

       absent a stay.        Here, they argue that "[i]f the government's

       position is later vindicated at the conclusion of the litigation,


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       there    would      be   no   guarantee    that    funds   that    the    government

       obligated or disbursed pursuant to the [preliminary injunction]

       would be retrievable from the States or their subgrantees after

       the fact."

                     The Defendants devote only the single sentence mentioned

       above to making this argument in their stay motion, and they

       identify no authority and offer no reasoning suggesting that this

       would be the case here.          Because the Defendants bear the burden of

       demonstrating that they "will be irreparably injured absent a

       stay," Nken, 556 U.S. at 434 (emphasis added) (quoting Hilton, 481

       U.S. at 776), we cannot see how their speculative and conclusory

       statement suffices.

                     We note that the Defendants rely entirely on these same

       contentions to satisfy the fourth Nken factor -- whether a stay

       would be in the public interest.                 Id.   So, they have failed to

       satisfy their burden as to that factor as well.                    That leaves to

       address       the    Defendants'     arguments         about   the       third    Nken

       factor -- whether the "issuance of the stay will substantially

       injure the other parties interested in the proceeding."                     Id.

                                                  2.

                     As to the third Nken factor, the Defendants first contend

       that    the    Plaintiff-States       "have       no   cognizable    interest      in

       receiving federal funds to which they are not legally entitled or

       on a timeline that is not legally compelled."                     This contention,


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       however, just repackages the arguments as to the first Nken factor

       that we rejected above.       And while the Defendants cite Citizens to

       Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 415 (1971),

       for the proposition that "reviewing courts owe agency actions a

       'presumption of regularity,'"          Overton Park did not hold that a

       court addressing a motion for a stay pending appeal of a lower

       court's injunction should presume the lawfulness of the enjoined

       conduct in assessing the harm to "the other parties interested in

       the proceeding" under the third Nken factor.              Nken, 556 U.S. at

       434 (quoting Hilton, 481 U.S. at 776).                Indeed, Overton Park

       affirmatively stated that the "presumption [of regularity] is not

       to shield [agency] action from a thorough, probing, in-depth

       review."     401 U.S. at 415.

                    The Defendants separately urge us to disregard the harms

       that the Plaintiff-States' residents would suffer, because "States

       cannot invoke harms on behalf of their citizens in actions against

       the federal government."        The Defendants cite Haaland v. Brackeen,

       599 U.S. 255, 294-95 (2023), as support for that proposition.

                    Brackeen did not hold, however, that residents of a state

       may not be counted among "the other parties interested in this

       proceeding" under the third Nken factor when that state obtained

       the injunction that is sought to be stayed.               It held only that

       "[a] State does not have [Article III] standing as parens patriae

       to bring an action against the Federal Government."                Id. at 295


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       (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,

       458 U.S. 592, 610 n.16 (1982)).

                      Even   if    we    were   to   set    aside   the   harms   to    the

       Plaintiff-States' residents, the District Court still found a

       number    of     harms     that   the    Plaintiff-States      themselves       would

       irreparably suffer.          These harms included the obligation of new

       debt; the inability to pay existing debt; impediments to planning,

       hiring, and operations; and disruptions to research projects by

       state universities.          And the Defendants do not contend that these

       harms are not "substantial" or "irreparable," except by asserting

       that "[the Plaintiff-States] will receive any funds that agencies

       are   legally     obligated       to    disburse."     But   without   supporting

       explanations for how and when the Plaintiff-States could recoup

       those funds, the movants have not met their burden to show that

       the third Nken factor weighs in favor of a stay.

                                                 III.

                      For the foregoing reasons, we deny the motion for a stay

       pending appeal of the District Court's preliminary injunction.




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                                      TABLE A: All FEMA Grant Programs and Recommended Review

                                                                        # of                Risk of      Apply
                                                                                                                   Recommended
       AFT                          Program                             Open ULO Balance*   NGO /      Sanctuary
                                                                                                                   Determination
                                                                       Awards             Immigration Jurisdiction
                                                                                                                     Cleared by
       DRF              Community Disaster Loans (CDL)                   44   $93,791,763    Low          No
                                                                                                                       FEMA
                                                                                                                     Cleared by
       DRF          Disaster Unemployment Assistance (DUA)               18   $49,847,337    Low          No
                                                                                                                       FEMA
          Fire Management Assistance Grants (FMAG) – previously
                                                                                                                     Cleared by
       DRF included as part of Public Assistance – Grants to State & 124         $52,479,916      Low       No
                                                                                                                      FEMA
                                     Local
                                                                                                                     Cleared by
       DRF          Hazard Mitigation Grant Program (HMGP)              386     $4,414,617,261    Low       No
                                                                                                                      FEMA
             Hazard Mitigation Grant Program Post Fire (HMGP Post                                                    Cleared by
       DRF                                                              269      $58,007,937      Low       No
                                      Fire)                                                                           FEMA
                                                                                                                     Cleared by
       DRF          Individual and Households Program (IHP)             N/A     $380,898,640      Low       No




A580
                                                                                                                      FEMA
                                                                                                                     Cleared by
       DRF         Public Assistance – Grants to State & Local         44,266 $73,241,454,318     Low       No
                                                                                                                      FEMA
                                                                                                                     Cleared by
       DRF              Urban Search and Rescue (US&R)                  NA      $141,254,817      Low       No
                                                                                                                      FEMA
             Alliance for System Safety of Unmanned Aircraft Systems                                                 Cleared by
       FA                                                                4        $4,669,770      Low       No
                      through Research Excellence (ASSURE)                                                            FEMA
                                                                                                                     Cleared by
       FA             Assistance to Firefighter Grants (AFG)            3801    $464,132,184      Low       No
                                                                                                                      FEMA
                Building Resilient Infrastructure and Communities                                                    Cleared by
       FA                                                               1365   $1,154,059,629**   Low       No
                                      (BRIC)                                                                          FEMA
              Chemical Stockpile Emergency Preparedness Program                                                      Cleared by
       FA                                                                9       $26,180,310      Low       No
                                     (CSEPP)                                                                          FEMA
              Community Assistance Program State Support Services                                                    Cleared by
       FA                                                                76      $11,587,984      Low       No
                              Element (CAP-SSSE)                                                                      FEMA
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                                                                    # of                  Risk of      Apply
                                                                                                                 Recommended
       AFT                         Program                         Open ULO Balance*      NGO /      Sanctuary
                                                                                                                 Determination
                                                                  Awards                Immigration Jurisdiction
                                                                                                                   Cleared by
        FA           Cooperating Technical Partners (CTP)          480** $239,537,976**    Low          No
                                                                                                                     FEMA
            Emergency Management Baseline Assessments Grant                                                        Cleared by
        FA                                                          3**    $127,416**      Low          No
                                  (EMBAG)                                                                            FEMA
                                                                                                                   Cleared by
        FA           Emergency Operations Center (EOC)               95   $228,725,861     Low          No
                                                                                                                     FEMA
                                                                                                                   Cleared by
        FA            Fire Prevention and Safety (FP&S)             373    $80,643,658     Low          No
                                                                                                                     FEMA
                                                                                                                   Cleared by
        FA            Flood Mitigation Assistance (FMA)             473   $909,252,393     Low          No
                                                                                                                     FEMA
                                                                                                                   Cleared by
        FA Flood Mitigation Assistance Swift Current (FMA Swift)     14        $0**        Low          No
                                                                                                                     FEMA
            Homeland Security Preparedness Technical Assistance                                                    Cleared by




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        FA                                                            4      $406,557      Low          No
                              Program (HSPTAP)                                                                       FEMA
           Homeland Security National Training Program (HSNTP) -                                                   Cleared by
        FA                                                           17   $134,067,348     Low          No
            National Domestic Preparedness Consortium (NDPC)                                                         FEMA
                HSNTP– National Cybersecurity Preparedness                                                         Cleared by
        FA                                                            5    $16,906,852     Low          No
                                 Consortium                                                                          FEMA
                                                                                                                   Cleared by
        FA      Intercity Bus Security Grant Program (IBSGP)         59     $2,905,029     Low          No
                                                                                                                     FEMA
           National Dam Safety Program and Rehabilitation of High                                                  Cleared by
        FA                                                          207   $244,022,266     Low          No
                Hazard Potential Dams Grant Program (HHPD)                                                           FEMA
               National Earthquake Hazards Reduction Program
                                                                                                                   Cleared by
        FA    (NEHRP) and Multi-State and National Earthquake        62     $4,876,775     Low          No
                                                                                                                     FEMA
                     Assistance (MSNEA) Grant Program
                                                                                                                   Cleared by
        FA   National Fire Academy Training Assistance (NFATA)       10     $1,446,388     Low          No
                                                                                                                     FEMA
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                                                                             # of                 Risk of      Apply
                                                                                                                         Recommended
       AFT                             Program                               Open ULO Balance*    NGO /      Sanctuary
                                                                                                                         Determination
                                                                            Awards              Immigration Jurisdiction
                                                                                                                           Cleared by
       FA         National Incident Management System (NIMS)                    3  $2,208,411**    Low          No
                                                                                                                             FEMA
                                                                                                                           Cleared by
       FA           National Urban Search and Rescue (US&R)                   153   $66,105,406    Low          No
                                                                                                                             FEMA
                 Next Generation Warning System Grant Program                                                              Cleared by
       FA                                                                       3  $134,196,015    Low          No
                                 (NGWSGP) 1                                                                                  FEMA
                                                                                                                           Cleared by
       FA                  Pre-Disaster Mitigation (PDM)                       99  $504,369,174    Low          No
                                                                                                                             FEMA
                     Safeguarding Tomorrow Revolving Loan
                                                                                                                                            Cleared by
       FA      Fund/Safeguarding Tomorrow through Ongoing Risk                  9        $51,397,697            Low             No
                                                                                                                                             FEMA
                             Mitigation Act (STORM)
               Staffing For Adequate Fire and Emergency Response                                                                            Cleared by
       FA                                                                     1125    $1,148,541,961**          Low             No
                                     (SAFER)                                                                                                 FEMA




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                                                                                                                                            Cleared by
       FA     State and Local Cybersecurity Grant Program (SLCGP)              161       $760,367,208           Low             No
                                                                                                                                             FEMA
                                                                                                                                            Cleared by
       FA            State Fire Training Systems Grants (SFT)                  59          $876,377             Low             No
                                                                                                                                             FEMA
                                                                                                                                            Cleared by
       FA           Tribal Cybersecurity Grant Program (TCGP)                  31        $17,620,204            Low             No
                                                                                                                                             FEMA
                                                                                                                                            Cleared by
       FA       Tribal Homeland Security Grant Program (THSGP)                 77        $42,539,321            Low             No
                                                                                                                                             FEMA
       DRF               Crisis Counseling Program (CCP)                       63        $53,020,947          Medium            No       Pending Review



       1
        The Corporation for Public Broadcasting has ﬁled a lawsuit in the District of Columbia District Court on March 13, 2025, contending that FEMA’s
       manual payment review process for NGWSGP awards was arbitrary and capricious in violation of the Administrative Procedures Act. If FEMA’s
       recommended approach to categorizing the NGWSGP as “Cleared by FEMA” is approved, FEMA will make appropriate payments to the CPB using the
       manual payment review process.
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                                                                                            # of                Risk of      Apply
                                                                                                                                       Recommended
       AFT                                    Program                                       Open ULO Balance*   NGO /      Sanctuary
                                                                                                                                       Determination
                                                                                           Awards             Immigration Jurisdiction
       DRF                   Disaster Case Management (DCM)                                    44         $182,577,136              Medium                No         Pending Review
       DRF                      Disaster Legal Services (DLS)                                  11             $95,000               Medium                No         Pending Review
       DRF                         Public Assistance – NGOs                                  7,234       $8,498,374,550             Medium                No         Pending Review
       DRF           Public Assistance – Non-Congregate Sheltering                            284        $1,297,129,208             Medium                No         Pending Review
       FA             Emergency Food and Shelter Program (EFSP)                                12         $251,590,333              Medium                No         Pending Review
       FA              Nonprofit Security Grant Program (NSGP) 2                              400         $943,940,157              Medium                No         Pending Review
       FA       Emergency Management Performance Grant (EMPG)                                 206         $476,990,846                 Low               Yes           DHS Review
               Homeland Security Grant Program – Operation
       FA                                                                                      87         $170,946,880                 Low               Yes           DHS Review
                            Stonegarden (OPSG)




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            Homeland Security Grant Program – State Homeland
       FA                                                                                     203         $761,745,900                 Low               Yes           DHS Review
                         Security Program (SHSP)
          Homeland Security Grant Program – Urban Area Security
       FA                                                                                     104        $1,919,725,009                Low               Yes           DHS Review
                              Initiative (UASI)
          Homeland Security National Training Program (HSNTP) -
       FA                                                                                      15          $15,525,591                 Low               Yes           DHS Review
          Continuing Training Grants Program - Competitive (CTG)
       FA                   Port Security Grant Program (PSGP)                                787         $266,441,010                 Low               Yes           DHS Review
       FA        Presidential Residence Protection Assistance (PRPA)                            2         $2,241,788**                 Low               Yes           DHS Review
                  Regional Catastrophic Preparedness Grant Program
       FA                                                                                      41          $36,087,421                 Low               Yes           DHS Review
                                      (RCPGP)

       2
         While State Administrative Agencies (SAA) are the direct recipients of NSGP funding, awards are passed through to nonprofit organizations that are not subject to the sanctuary
       jurisdiction conditions or restrictions as described in the criteria above. Management and Administration costs are allowable under this grant program and may be retained by
       SAAs.
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                                                                                  # of                Risk of      Apply
                                                                                                                             Recommended
       AFT                               Program                                  Open ULO Balance*   NGO /      Sanctuary
                                                                                                                             Determination
                                                                                 Awards             Immigration Jurisdiction
                 Targeted Violence and Terrorism Prevention Grant
       FA                                                                          122         $34,939,702          Medium             Yes         DHS Review
                                  Program (TVTP)
                 Transit Security Grant Program (TSGP) / Intercity
       FA                                                                           84        $283,147,532             Low             Yes         DHS Review
                             Passenger Rail (IPR)***
                                                                                                                                                 DHS Review for
       FA             Case Management Pilot Program (CMPP)                           4         $47,201,306            High             Yes
                                                                                                                                                  Termination
               Emergency Food and Shelter Program – Humanitarian                                                                                 DHS Review for
       FA                                                                          3**       $46,050,064**            High             No
                                  (EFSP-H) 3                                                                                                      Termination
                                                                                                                                                 DHS Review for
       FA                 Shelter and Services Program (SSP)                      156**       $887,107,461            High             Yes
                                                                                                                                                  Termination
                                         TOTAL                                                 $100.859B
       * ULOs are as of Jan. 28, 2025.




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       ** Chart updated with revised figures. After further review, inaccuracies were identified in previous data that have now been
       corrected. 4 Previous FMA Swift Current number reflected unobligated amount rather than unliquidated.

       *** Sanctuary jurisdiction conditions would apply to Transit Security Grant Program (TSGP) and not Intercity Passenger Rail (IPR).




       3
        For EFSP-H, all spending periods for subawards have expired and the provision of services under the sunset program has ended. The remaining amount is
       funding reserved for management and administration (approximately $4 million) for the grantee and funds returned by the board.
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             TABLE B: Summary of Unliquidated Obligation (ULO) by Recommended Risk
                                        Determination

       FEMA is reviewing all grants at a programmatic level, and also at the individual grant award
       level to understand the existing information available, and where additional research within the
       system can be conducted or where information from recipients will need to be collected. As the
       policy decisions and process are under development, FEMA has begun and will continue the
       individual grant award manual payment review process in preparation for the approach and
       methodology being approved. This manual review process requires significant staff time, but
       once the backlog is cleared, the process will operate on a much shorter processing time.
                                                                                            Backlog
                                Disaster Grants      Non-Disaster
        Risk Determination                                                  Total          Processing
                                     ULO             Grant ULO
                                                                                             Time*
        Cleared by FEMA         $78,432,351,989      $6,251,770,170 $84,684,122,159         45 days
        Pending FEMA
                                $10,031,196,841      $1,195,530,490 $11,226,727,331          90 days
        Review
        Recommend DHS
                                            N/A      $3,967,791,679     $3,967,791,679       60 days
        Review
        Recommended
        Terminated                          N/A        $980,358,831       $980,358,831       60 days
        Programs
        Total                   $88,463,548,830    $12,395,451,170           $100.859B

       *This estimate includes the approximately 1,450 payment requests already submitted in FEMA
       grants systems only. It is not inclusive of the total ULO because payment requests will continue
       to be submitted for these programs as the work is completed throughout the period of
       performance, which for some programs may be up to three years.




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                                           Appendix A
                   Federal Emergency Management Agency Grant Programs Overview
                                       Background/Purpose

       On Feb. 19, 2025, Secretary Noem issued a memorandum Restricting Grant Funding for
       Sanctuary Jurisdictions and directed all components to review all federal financial assistance
       awards to determine if Department funds, directly or indirectly, are going to sanctuary
       jurisdictions (hereinafter “S1 Memo”). Appendix A below provides an overview of each FEMA
       administered grant program, to include the purpose of each grant program and the award criteria
       (i.e. whether the award criteria are discretionary or governed by statutory or regulatory
       competition, allocation, or eligibility criteria).

          Recommended Determination: Cleared by FEMA
          1. Community Disaster Loans (42 U.S.C. §§ 5121, et seq.)
              Purpose: Provides funding for local governments to operate their essential community
              services after substantial revenue loss caused by a disaster.
              Award Criteria: Statutory and regulatory eligibility criteria.


          2. Disaster Unemployment Assistance (42 U.S.C. §§ 5121, et seq.)
              Purpose: Assistance to individuals unemployed as a result of a major disaster
              administered through a grant to the declared state or tribe.
              Award Criteria: Statutory and regulatory eligibility criteria.


          3. Fire Management Assistance Grants (42 U.S.C. §§ 5121, et seq.)
              Purpose: The mitigation, management, and control of any fire on public or private forest
              land or grassland that threatens such destruction as would constitute a major disaster.
              Award Criteria: Statutory and regulatory eligibility criteria.


          4. Hazard Mitigation Grant Program (42 U.S.C. § 5170c)
              Purpose: To help communities implement hazard mitigation measures, such as elevation,
              acquisition, and flood control projects, to reduce or eliminate long-term risk to people
              and property from natural hazards following a presidential major disaster declaration
              under the Stafford Act.
              Award Criteria: Statutory and regulatory eligibility criteria.


          5. Hazard Mitigation Grant Program – Post Fire (42 U.S.C. § 5170c(a); 42 U.S.C. §
             5187(d))




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             Purpose: Makes assistance available to help communities implement hazard mitigation
             measures after wildfire disasters.
             Award Criteria: Statutory and regulatory eligibility criteria. States, federally recognized
             tribes and territories affected by fires resulting in a Fire Management Assistance Grant
             (FMAG) declaration on or after Oct. 5, 2018, are eligible to apply.

          6. Individual and Households Programs (IHP) (42 U.S.C. §§ 5121, et seq.)
             Purpose: Provides financial and direct services to eligible individuals and households
             affected by a disaster, who have uninsured or under-insured necessary expenses and
             serious needs. IHP assistance is not a substitute for insurance and cannot compensate for
             all losses caused by a disaster. The assistance is intended to meet your basic needs and
             supplement disaster recovery efforts.
             Award Criteria: Statutory and regulatory eligibility criteria.


          7. Urban Search & Rescue (US&R) (42 U.S.C. §§ 5121, et seq)
             Purpose: Provides reimbursement for lifesaving rescue operations that were performed by
             Federal Urban Search and Rescue teams during declared disaster.
             Award Criteria: Statutory and regulatory eligibility criteria.


          8. Public Assistance – State and Local (42 U.S.C. §§ 5121, et seq.)
             Purpose: Financial assistance to states, tribal, territorial, and local governments for debris
             removal, for emergency work to support public safety, and for the repair, restoration,
             reconstruction, or replacement of a public facility damaged or destroyed by a major
             disaster.
             Award Criteria: Noncompetitive, but with statutory and regulatory eligibility criteria.


          9. Homeland Security National Training Program (HSNTP) – Alliance for System
             Safety of Unmanned Aircraft Systems through Research Alliance (Title III of the
             Department of Homeland Security Appropriations Act, 2024, (Pub. L. No. 118-47);
             Joint Explanatory Statement accompanying the Department of Homeland Security
             Appropriations Act, 2024)
             Purpose: Provides funding for Mississippi State University’s Federal Aviation
             Administration Center of Excellence for Unmanned Aircraft Systems (ASSURE) to
             support and target training solutions for state, local, tribal and territorial partners, which
             supports the objective of the National Preparedness System to facilitate an integrated,
             whole community, risk-informed, capabilities-based approach to preparedness.




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             Award Criteria: Discretionary, limited statutory award criteria. Award goes to Mississippi
             State University’s Federal Aviation Administration Center of Excellence for Unmanned
             Aircraft Systems.


          10. Assistance to Firefighters (15 U.S.C. § 2229)
             Purpose: Financial assistance to fire departments, EMS organizations, and state fire
             training academies to enhance their ability to protect the health and safety of the public,
             as well as that of firefighting and EMS personnel against fire, fire-related, and other
             hazards.
             Award Criteria: Competitive award with statutorily mandated criteria and peer review and
             statutory allocation requirements.


          11. Building Resilient Infrastructure and Communities (42 U.S.C. §§ 5133, 5136)
             Purpose: Makes federal funds available to states, the District of Columbia, U.S.
             territories, federally recognized Tribal governments, and local governments for hazard
             mitigation activities. BRIC aims to shift the focus of federal investments away from
             reactive, post-disaster spending and toward research-supported, proactive investments in
             community resilience. These investments aim to reduce future disaster losses, including
             loss of life and property as well as future spending from the Disaster Relief Fund (DRF).
             BRIC focuses on cost-effective mitigation measures including protecting public
             infrastructure so that critical services can withstand or more rapidly recover from future
             disasters, as well as other projects and activities to increase resilience throughout the
             nation.
             Award Criteria: For the FY23 NOFO, there was a State/Territory allocation, a Tribal Set-
             Aside, and a National Competition with the remaining funds that are not awarded from
             the State/Territory Allocation and Tribal Set-Aside.


          12. Chemical Stockpile Emergency Preparedness Program (50 U.S.C. § 1521)
             Purpose: To assist state, local, and tribal governments in carrying out functions related to
             emergency preparedness and response in connection with the disposal of the lethal
             chemical agents and munitions in the United States’ lethal chemical agents and munitions
             that existed on Nov. 8, 1985.
             Award Criteria: Eligibility limited to communities in close proximity to military
             installations storing chemical weapons. FEMA currently awards a cooperative agreement
             to Kentucky who in turn pass-through subawards to local governments.


          13. Community Assistance Program – State Support Services Element (CAP-SSSE) (42
              U.S.C. §§ 4101, 4102)




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             Purpose: CAP-SSSE is a cooperative agreement which provides funding to state National
             Flood Insurance Program (NFIP) Coordinators to monitor community adoption and
             enforcement of the minimum floodplain management standards required for participation
             in the NFIP. CAP-SSSE funding is used to provide technical assistance to NFIP
             communities, evaluate community performance in implementing floodplain management
             activities, and conduct community assistance contacts and visits to ensure communities
             are compliant with NFIP minimum requirements and flood insurance remains available
             for sale within the communities.
             Award Criteria: Discretionary, non-competitive award to State NFIP Coordinators, which
             may subaward funding to local or municipal floodplain management authorities.


          14. Cooperating Technical Partners (CTP) Program (42 U.S.C. § 4101)
             Purpose: To provide assistance to state, local, tribal, university, and nonprofit
             organizations to increase local involvement in and ownership of flood hazard
             identification and assessment programs. Recipients assist in the development and
             maintenance of flood risk data, which is used to develop or amend Flood Insurance Rate
             Maps and provide the baseline for communities to prepare for and mitigate against flood
             risks.
             Award Criteria: Discretionary. No statutory criteria.


          15. Emergency Management Baseline Assessment Grant (6 U.S.C. § 112 (b)(2))
             Purpose: To assist the updating and enhancement of a set of standards for emergency
             preparedness and response and a related assessment methodology for the evaluation of
             state, local, and territorial emergency management operations.
             Award Criteria: Discretionary, no statutory award criteria.


          16. Emergency Operations Center Grant Program (42 U.S.C. § 5196c)
             Purpose: Grants made available to State Administrative Agencies (SAAs) for equipping,
             upgrading, and constructing state, local, and tribal emergency operations centers.
             Award Criteria: Eligible Emergency Operations Center projects identified in the Joint
             Explanatory Statement.


          17. Fire Prevention and Safety (15 U.S.C. § 2229)
             Purpose: Financial assistance to fire prevention programs and support for firefighter
             health and safety research and development.
             Award Criteria: Competitive award with statutorily mandated criteria and peer review and
             statutory allocation requirements.




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          18. Flood Mitigation Assistance (42 U.S.C. § 4104c)
             Purpose: To fund mitigation projects such as elevation, acquisition, floodproofing, and
             planning that reduces or eliminates long-term risk of flood damage to structures insured
             under the NFIP.
             Award Criteria: Statutory eligibility criteria. Award determinations and funding
             allocations among eligible jurisdictions are made on a competitive basis with discretion
             to add criteria.

          19. Flood Mitigation Assistance – Swift Current (42 U.S.C. § 4104c)
             Purpose: Provides funding to mitigate buildings insured through the National Flood
             Insurance Program (NFIP) after a major disaster declaration following a flood-related
             disaster event to reduce risk against future flood damage. Funds are made available to
             states, territories, and federally recognized tribal governments that receive a major
             disaster declaration following a flood-related disaster event and meet all other eligibility
             criteria.
             Award Criteria: Funding is only available to property owners that have a current flood
             insurance policy under the National Flood Insurance Program (NFIP) and a history of
             repetitive or substantial damage from flooding.

          20. Homeland Security Preparedness Technical Assistance Program (6 U.S.C. § 112
              (b)(2))
             Purpose: To help private organization recipients to conduct planning, coordination, and
             training activities related to emergency management and preparedness.
             Award Criteria: Discretionary, no statutory award criteria.

          21. Homeland Security National Training Program (HSNTP) - National Domestic
              Preparedness Consortium (NDPC) (6 U.S.C. §§ 1102 and 112 (b)(2))
             Purpose: To assist statutorily designated National Domestic Preparedness Consortium
             members to identify, develop, test, and deliver training to state, local, and tribal
             emergency response providers; provide on-site and mobile training; and facilitate
             delivery of training.
             Award Criteria: Discretionary, limited statutory award criteria. Awards may only go to
             one of the six non-Federal members of the National Domestic Preparedness Consortium
             named in statute, which consist of five state universities and one private entity.


          22. National Cyber Security Preparedness Consortium (National Cybersecurity
              Preparedness Consortium Act, 2021 (Pub. L. No. 117-122))
             Purpose: Delivers over 40 training courses for more than 1,000 SLTT emergency
             managers, cyber network managers, and critical infrastructure professionals, annually to
             strengthen local, state, and national cyber and information systems and defend against
             and recover from cyber-attacks including attacks with cascading physical consequences.



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             Award Criteria: Awards may only go to one of the six non-federal members of the
             National Domestic Preparedness Consortium named in statute, which consist of five state
             universities and one private entity.

          23. Intercity Bus Security Grant Program (6 U.S.C. § 1182)
             Purpose: To make awards to eligible private operators providing transportation by an
             over-the-road bus for security improvements.
             Award Criteria: Discretionary, competitive award based on statutory criteria that require
             funding decisions to prioritize security risks. The eligible applicants are private bus
             operators and not states or local governments.

          24. National Dam Safety Program (33 U.S.C. § 467f)
             Purpose: To enable states to increase dam safety through increased inspections,
             emergency action planning, improved state and federal coordination, training and
             workshops, and purchasing of equipment.
             Award Criteria: Awards are based on eligibility criteria that are set by statute with funding
             allocations based on a statutory formula.

          25. Rehabilitation of High Hazard Potential Dam Program (33 U.S.C. § 467f-2)
             Purpose: Provide technical, planning, design, and construction assistance in the form of
             grants for rehabilitation, repair, and removal of eligible high hazard potential dams.
             Award Criteria: For FY 2024, FEMA made funding available in allocations for 32 states
             and one territory.

          26. National Earthquake Hazards Reduction Program – Multi-State and National
              Earthquake Assistance (MSNEA) (42 U.S.C. § 7704(a)(2)(B), (b)(2)(A)(i))
             Purpose: The National Earthquake Hazards Reduction Program (NEHRP) Multi-State
             and National Earthquake Assistance (MSNEA) grant program makes funds available to
             nonprofit organizations and institutions of higher education that possess the critical skills
             necessary to develop and implement regional (multi-state) and/or national earthquake risk
             mitigation activities.
             Award Criteria: Discretionary. The program’s authorizing statutes do not prescribe
             specific criteria for recipients. FEMA awards competitive grants to nonprofit
             organizations and institutions of higher education that possess the critical skills necessary
             to develop and implement regional (multi-state) and/or national earthquake risk
             mitigation activities, on behalf of states and territories participating in the FEMA NEHRP
             State Assistance program.


          27. National Earthquake Hazards Reduction Program – Individual State Earthquake
              Assistance (ISEA) (42 U.S.C. § 7704(b)(2)(A)(ix) and 42 U.S.C. § 7704(b) (2)(B))




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             Purpose: FEMA awards non-competitive grants to eligible states and territories with high
             to very high seismic risks to fund one or more of the following allowable activities. The
             purpose is to support the establishment of earthquake hazards reduction programming
             and the implementation of earthquake safety, mitigation, and resilience activities at the
             state and local level.
             Award Criteria: Statutory and regulatory eligibility criteria. Eligibility is limited to states
             and territories that have been determined to have a high or very high risk of earthquakes.
             Eligibility is further limited to those states and territories who can provide the statutory
             25% non-federal cost share.


          28. National Fire Academy Training Assistance (Section 7 of the Federal Fire prevention
              and Control Act 15 U.S.C. 2206 (i)(1))
             Purpose: Provides travel stipends (air or mileage) to SLTT fire and EMS personnel who
             attend resident classes at the National Fire Academy.
             Award Criteria: Assistance to individuals reimbursing for part of cost to attend trainings
             in Emmitsburg, MD


          29. National Incident Management System (NIMS) / Emergency Management
              Assistance Compact Program (EMAC) Program (6 U.S.C. § 761)
             Purpose: To assist the administrator of the Emergency Management Assistance Compact
             (EMAC) to administer EMAC operations, to implement NIMS, and to continue
             coordination with FEMA and state, local, and tribal governments.
             Award Criteria: Eligibility limited to administration of the Emergency Management
             Assistance Compact (EMAC).


          30. National Urban Search and Rescue (US&R) Response System (42 U.S.C. § 5165f, 6
              U.S.C. § 722)
             Purpose: The purpose of these Readiness Cooperative Agreements is to support the
             continued development and maintenance of a national urban search and rescue capability
             among the 28 task forces within the National Urban Search and Rescue Response
             System.
             Award Criteria: Statutory and regulatory eligibility criteria. Only the 28 sponsoring
             agencies currently designated by FEMA as members of the National Urban Search and
             Rescue Response System are eligible for readiness and response cooperative agreements.


          31. Next Generation Warning System (Annual DHS Appropriations Acts)




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             Purpose: Enables public television broadcasters to upgrade to the Advanced Television
             Systems Committee broadcast standard (ATSC 3.0) that enables public projects that
             improve the ability of remote rural areas to receive alerts and warnings.
             Award Criteria: The Corporation for Public Broadcasting is the only awardee of the grant.
             Per the FY24 NOFO, the awardee will then manage a competitive process to solicit sub-
             grant applications from eligible subrecipients to use these funds in accordance with the
             requirements and priorities set forth in the NOFO.


          32. Pre-Disaster Mitigation (42 U.S.C. § 5133)
             Purpose: Makes federal funds available to state, local, tribal, and territorial governments
             to plan for and implement sustainable cost-effective measures designed to reduce the risk
             to individuals and property from future natural hazards, while also reducing reliance on
             federal funding from future disasters.
             Award Criteria: The FY 2024 PDM Grant Program provided funding to projects
             identified in the 2024 DHS Appropriations Act’s Joint Explanatory Statement (JES) in the
             table starting on page 59 entitled “Homeland Security Community Project
             Funding/Congressionally Directed Spending.”


          33. Safeguarding Tomorrow Through Ongoing Risk Mitigation Loan Fund Program (42
              U.S.C. § 5135)
             Purpose: Provides capitalization grants to states, eligible federally recognized tribal
             governments, territories and the District of Columbia to establish revolving loan funds
             that provide hazard mitigation assistance for local governments to reduce risks from
             natural hazards and disasters.
             Award Criteria: Awards are based on eligibility criteria that are set by statute with funding
             allocations based on a statutory formula.

          34. Staffing for Adequate Fire and Emergency Response (15 U.S.C. § 2229a)
             Purpose: Financial assistance for increasing the number of firefighters to help
             communities meet industry standards and attain 24-hour staffing to provide adequate
             protection from fire and fire-related hazards.
             Award Criteria: Competitive award program with statutorily mandated minimum
             application criteria and peer review.

          35. State and Local Cybersecurity Grant Program (6 U.S.C. § 665g)
             Purpose: To assist state, local, and territorial governments with managing and reducing
             systemic cyber risk.
             Award Criteria: Mandatory, allocations to each state and territory based on statutory
             formula with the remainder to the states based on population.




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          36. State Fire Training Systems Grants (15 U.S.C. § 2206(f))
             Purpose: To assist state fire service systems in providing training programs.
             Award Criteria: Discretionary, no statutory award criteria.

          37. Tribal Cybersecurity Grant Program (6 U.S.C. § 665g)
             Purpose: To assist tribal governments with managing and reducing systemic cyber risk.
             Award Criteria: Statutory requirement that the Secretary of DHS shall consult with the
             Secretary of the Interior and tribal governments in determining whether the grant would
             be competitive or allocated equally among the tribal governments of the federally
             recognized tribal nations.


          38. Tribal Homeland Security Grant Program (6 U.S.C. § 606)
             Purpose: Financial assistance to tribal governments to build and sustain capabilities
             related to preventing, preparing for, protecting against, and responding to acts of
             terrorism.
             Award Criteria: Competitive award based on statutory criteria.

          39. Intercity Passenger Rail (6 U.S.C. § 1163)
             Purpose: To assist Amtrak in protecting critical surface transportation infrastructure and
             the traveling public from acts of terrorism and to increase the resilience of the Amtrak rail
             system.
             Award Criteria: Sole source award to Amtrak. No funding is granted to states or local
             governments.


       Recommended Determination: Pending Review
          1. Crisis Counseling Program (42 U.S.C. §§ 5121, et seq.)
             Purpose: Assistance to provide professional counseling services or training of disaster
             workers to survivors of major disasters to relieve mental health problems caused or
             aggravated by major disasters or their aftermath.
             Award Criteria: Statutory and regulatory eligibility criteria.

          2. Disaster Case Management (42 U.S.C. §§ 5121, et seq.)
             Purpose: Case management services to survivors of major disasters to identify and
             address unmet needs.
             Award Criteria: Statutory and regulatory eligibility criteria.




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          3. Disaster Legal Services (DLS) (42 U.S.C. §§ 5121, et seq.)
             Purpose: Provides confidential, free legal assistance to survivors who need legal help due
             to a major disaster, but who do not have the means to secure adequate legal services. For
             individuals seeking DLS, there is no formal application process. Individuals can access
             these services by contacting the phone number designated for the specific major disaster,
             which is established once the program has been authorized. In addition to this phone
             number, individuals can visit FEMA Disaster Recovery Centers where DLS attorneys
             may be physically located.
             Award Criteria: Statutory and regulatory eligibility criteria.


          4. Public Assistance – Non-Governmental Organizations (42 U.S.C. §§ 5121, et seq.)
             Purpose: Financial Assistance to NGOs that perform essential community services for
             emergency work to ensure public safety, and for the repair, restoration, reconstruction, or
             replacement of an eligible facility damaged or destroyed by a major disaster.
             Award Criteria: Statutory and regulatory eligibility criteria.


          5. Public Assistance – Non-Congregate Sheltering (42 U.S.C. §§ 5121, et seq.)
             Purpose: Financial Assistance to state, local, tribal and territorial governments for eligible
             sheltering expenses caused by a disaster.
             Award Criteria: Statutory and regulatory eligibility criteria.


          6. Emergency Food and Shelter Program (42 U.S.C. §§ 11331-11346)
             Purpose: To supplement and expand ongoing efforts to provide shelter, food and
             supportive services for hungry and homeless people across the nation.
             Award Criteria: Mandatory, subaward determinations made by external board based on
             statutory criteria.


          7. Nonprofit Security Grant Program (6 U.S.C. § 609a)
             Purpose: To assist non-profit organizations in target hardening and other physical security
             enhancements and activities.
             Award Criteria: By statute, only nonprofits that are located within a FEMA designated
             Urban Area for purposes of the Urban Area Security Initiative (UASI) program are
             eligible to apply for funding. The criteria for competitive award include a risk
             prioritization that is statutorily required, providing limited discretion to add grant
             conditions. There is no discernible connection between an award for a nonprofit
             organization and 8 U.S.C. §§ 1324(a)(1)(A)(ii)-(iv), 1373, and 1644 and the other criteria
             established in the S1 Memo.




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       Recommended Determination: DHS Review
          1. Emergency Management Performance Grant (6 U.S.C. § 762)
             Purpose: To assist state, local, tribal, and territorial governments “in preparing for all
             hazards” and all phases of emergency management.
             Award Criteria: Mandatory, allocations to each state based on a statutory formula.

          2. State Homeland Security Grant Program (6 U.S.C. §§ 601 – 613)
             Purpose: Assists states and local and tribal governments in building and sustaining
             capabilities related to preventing, preparing for, protecting against, and responding to acts
             of terrorism.
             Award Criteria: Statutory minimum allocation for each state with remaining awarded
             based on risk calculated using statutory criteria.


          3. Urban Area Security Initiative (6 U.S.C. §§ 601 – 613, DHS Appropriations Acts)
             Purpose: Financial assistance to high-risk urban areas in building and sustaining
             capabilities related to preventing, preparing for, protecting against, and responding to acts
             of terrorism.
             Award Criteria: Awards based on risk calculated using statutorily required criteria.
             Discretion in determining how many high-risk urban areas shall receive funding through
             a State, but that discretion is often limited or guided by Congress through the annual
             appropriations process.


          4. Operation Stonegarden (6 U.S.C. §§ 601 – 613, DHS Appropriations Acts)
             Purpose: Operation Stonegarden funds target expenditure by local governments for the
             purpose of border protection and border security.
             Award Criteria: Discretionary, competitive awards to states with 100% of funds sub-
             awarded to local law enforcement. The Department adopts the requirement for
             competition and criteria for award that is provided for in the legislative history of the
             appropriations act funding the program.


          5. Homeland Security National Training Program - Continuing Training Grants –
             Competitive (Annual DHS Appropriations Acts)
             Purpose: To help training partners develop and deliver training to prepare whole
             communities to prevent, protect against, mitigate, respond to, and recover from acts of
             terrorism and natural, man-made, and technological hazards.
             Award Criteria: Discretionary, no statutory award criteria. Per the FY24 NOFO, the Joint
             Explanatory Statement accompanying the FY 2024 DHS Appropriations Act (Pub. L. No.




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             118-47) directs Continuing Training Grants to be competitively awarded for FEMA-
             certified rural and tribal training.


          6. Port Security Grant Program (46 U.S.C. § 70107)
             Purpose: Assistance to port authorities, facility operators, and state and local governments
             for maritime transportation infrastructure security.
             Award Criteria: Statute requires that funds be allocated based on risk, but otherwise
             discretionary.


          7. Presidential Residence Protection Assistance Program (Annual DHS Appropriations
             Acts)
             Purpose: Provides funds to reimburse state and local enforcement agencies (LEAs) and
             emergency management agencies (EMAs) for extraordinary law enforcement or other
             emergency personnel costs incurred while protecting any non-governmental residence of
             the President that is designated or identified to be secured by the U.S. Secret Service.


          8. Regional Catastrophic Preparedness Grant Program. (Annual DHS Appropriations
             Acts)
             Purpose: Supports the building of core capabilities essential to achieving the
             National Preparedness Goal of a secure and resilient nation by providing resources to
             close known capability gaps in Housing and Logistics and Supply Chain Management,
             encouraging innovative regional solutions to issues related to catastrophic incidents, and
             building on existing regional efforts.
             Award Criteria: Discretionary program with no statutory award criteria. This program is
             administered through a competitive selection process.

          9. Targeted Violence and Terrorism Prevention (6 U.S.C. § 112 (b)(2); Annual DHS
             Appropriations Acts)
             Purpose: To help prepare for, prevent and respond to emergent threats from violent
             extremism through planning, developing, implementing, or expanding educational
             outreach, community engagement, social service programs, training and exercises.
             Award Criteria: Discretionary program with no statutory award criteria. This program is
             administered through a competitive selection process.

          10. Transit Security Grant Program (6 U.S.C. § 1135)
             Purpose: The purpose of the grant is to build and sustain transit agency security
             capabilities that protect national security.
             Award Criteria: Discretionary, competitive awards based on statutory criteria that require
             prioritization of funding based on risk.



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       Recommended Determination: DHS Review for Termination
          1. Case Management Pilot Program (Annual DHS Appropriation Acts)
             Purpose: Makes funds available to local governments and/or nonprofits to provide
             voluntary case management and other services to aliens in immigration removal
             proceedings.
             Award Criteria: Discretionary; the CMPP National Board makes funds available to local
             governments and/or nonprofits (subrecipients) to provide case management and
             culturally, trauma-informed, and linguistically responsive services to eligible noncitizens
             who affirmatively volunteer to participate in the program.

          2. Emergency Food and Shelter Program – Humanitarian (42 U.S.C. §§ 11331-11346)
             Purpose: To provide shelter and other services to families and individuals encountered by
             the Department of Homeland Security.
             Award Criteria: Mandatory, subaward determinations made by external board based on
             statutory criteria.

          3. Shelter and Services Program. (Annual DHS Appropriations Acts)
             Purpose: To provide funds to non-federal entities for sheltering and related activities to
             aliens following their release from DHS. The intent is to support Customs and Border
             Protection in the safe, orderly, and humane release of aliens from short-term
             holding facilities.
             Award Criteria: SSP-Competitive: Competitive grants made available to local
             governments, federally recognized tribal governments, nonprofit organizations, and states
             that serve aliens recently released from DHS custody to provide shelter, food,
             transportation, acute medical care, personal hygiene supplies, and case management
             services and to increase the non-federal entities capacity to shelter aliens recently
             released from DHS custody, including renovations and modifications to existing
             facilities.

             SSP-Allocated: Funding in the FY24 NOFO is allocated to eligible applicants listed in a
             table in the NOFO. The allocations were based on release and destination data received
             from CBP over the time period of July 1, 2023, to Dec. 31, 2023, along with operational
             information available to CBP.




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                                    EXHIBIT 2




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                                                                                  U.S. Depa rtment of Homeland Security
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                                                                                 Homeland
                                                                                 Security
                                                February 19, 2025

       MEMORANDUM FOR ALL AGENCIES AND OFFICES
                                                                                                ==---
       FROM:          Kristi Noem


       SUBJECT:                                          anctuary Jurisdictions


       Following the horrific attacks on thjs country on September 11 , 200 I, the American people
       trusted their leaders to make sure it would never happen again. Among the circumstances that led
       to those attacks was the fai lure to treat immigration as a national security issue. The 9/1 1
       Commission Report, for example, recognized that " the institutions charged with protecting our
       borders ... did not understand how grave th[e] threat could be." 9/ 11 Commission Report at xvi.
       The Commission a lso specifically noted that there were, at that time, "9 milli on people ... in the
       United States outside the legal immigration system." Id. at 390. A second facto r recognized by
       the Commission was the failure of different law enforcement entities to share infom1ation. The
       Report recognized "pervasive problems of managing and sharing info rmation across a large and
       unwieldy government." Id. at xv i.

       The year after those terrible attacks, President George W. Bush s igned into the law the Homeland
       Security Act of 2002. The Act created the Department of Homeland Security (DHS), and it
       transferred into that new agency a number of important national security components, including
       those responsible for immigration enforcement. Congress expressly found that "State and local
       personnel have capabi lities and opportunities to gather information on suspic ious activities and
       terrorist threats not possessed by Federal agencies." 6 U.S.C. § 48 l (b)(8). Congress also found
       that " [t] he Federal Government relies on State and local personne l to protect against terrorist
       attack." Id. § 48 1(b)(2).

       The bottom line is that partnership is an essential element of our national security and public
       safety mission. And that mission undoubtedly includes immigration enforcement. State and local
       governn1ents that refuse to cooperate with, refuse to share in formation with, or even actively
       obstruct federal immigration enforcement reject these ideals and the history we share in common
       as Americans. If any government entity chooses to thumb its nose at the Department of
       Homeland Security' s national security and public safety mission, it should not receive a single
       dollar of the Department' s money unless Congress has specifically required it.

       For purposes of this memorandum, "sanctuary jurisd ictions" include the fo llowing:

          •   Jurisdictions that fail to comply with the information sharing requirements of 8 U .S.C.
              §§ 1373 and 1644.




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       Prohibiting Grant Funding for Sanctuary Jurisdictions
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           •   Jurisdictions that violate other relevant laws, including prohibitions on encouraging or
               inducing an alien to come to, enter, or reside in the United States in violation of law, 8
               U.S.C. § 1324(a)(l)(A)(iv), prohibitions on transporting or moving illegal aliens, id
               § 1324(a)(l )(A)(ii), prohibitions on harboring, concealing, or shielding from detection
               illegal aliens, id. § 1324(a)(l)(A)(iii), and any applicable conspiracy, aiding or abetting,
               or attempt liability respecting these statutes.

           •   Jurisdictions that fail to honor requests for cooperation, such as participation in joint
               operations, sharing of information, or requests for short term detention of alien pursuant
               to a valid detainer. Ajurisdiction, however, is not a sanctuary jurisdiction merely because
               it lacks the necessary resources to assist in a particular instance.

           •   Any jurisdiction that fails to provide access to detainees, such as when an immigration
               officer seeks to interview a person who might be a removable alien.

           •   Any jurisdiction that leaks the existence of an enforcement operation.

        All components are to review all federal financial assistance awards to determine if Department
        funds, directly or indirectly, are going to sanctuary jurisdictions. To the extent consistent with
        relevant legal authorities and the applicable terms and conditions of each award, each component
        must cease providing federal funding to sanctuary jurisdictions. Components should also make
        appropriate criminal referrals to the Department of Justice where illegal conduct is discovered.

        For questions regarding applicable legal authorities, components must consult with the General
        Counsel or his designee. For questions regarding whether a particular jurisdiction is a sanctuary
        jurisdiction, components must consult with the Director of Immigration and Customs
        Enforcement and the Commissioner of Customs and Border Protection or their designees.

        Within 30 days, each component shall provide a report to the Undersecretary for Management
        with a summary of actions taken to comply with this memorandum.




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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


       STATE OF NEW YORK, et al.,

                    Plaintiffs,

                    v.                                  Civil Action No. 1:25-cv-39 (JJM)

       DONALD TRUMP, IN HIS OFFICIAL
       CAPACITY AS PRESIDENT OF THE
       UNITED STATES, et al.,

                                  Defendants.

                             DEFENDANTS’ NOTICE OF APPEAL

             PLEASE TAKE NOTICE that Defendants hereby appeal to the United States

       Court of Appeals for the First Circuit from this Court’s Order enforcing the

       preliminary injunction as to certain funding administered by the Federal Emergency

       Management Agency, as set forth in the Memorandum and Order dated April 4, 2025

       and docketed at ECF No. 175, and from this Court’s Order denying reconsideration

       of that prior Order, dated April 14, 2025 and docketed at ECF No. 182.




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       Dated: April 28, 2025                Respectfully submitted,

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                               CERTIFICATION OF SERVICE

              I hereby certify that on April 28, 2025, I electronically filed the within
       Certification with the Clerk of the United States District Court for the District of
       Rhode Island using the CM/ECF System, thereby serving it on all registered users in
       accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                                     /s/ Andrew F. Freidah
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                                                                                                                            APPEAL

                                                U.S. District Court
                                      District of Rhode Island (Providence)
                              CIVIL DOCKET FOR CASE #: 1:25-cv-00039-JJM-PAS


  State of New York et al v. Trump et al                                                Date Filed: 01/28/2025
  Assigned to: Chief Judge John J. McConnell, Jr.                                       Jury Demand: Plaintiff
  Referred to: Magistrate Judge Patricia A. Sullivan                                    Nature of Suit: 899 Other Statutes:
  Case in other court: First Circuit, 25-01138                                          Administrative Procedures Act/Review or
                      First Circuit, 25-01236                                           Appeal of Agency Decision
                      First Circuit Court of Appeals, 25-01413                          Jurisdiction: U.S. Government Defendant
  Cause: 05:551 Administrative Procedure Act
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  Plaintiff
  State of Illinois                                                      represented by Kathryn M. Sabatini
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  State of New Jersey                                                    represented by Kathryn M. Sabatini
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  Plaintiff
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  Plaintiff
  State of Delaware                                                      represented by Kathryn M. Sabatini
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  Plaintiff
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                                                                                       of Rhode Island 05/27/2025  Entry ID: 6724072
  District of Columbia                                               represented by Kathryn M. Sabatini
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  Plaintiff
  State of Hawaii                                                        represented by Kathryn M. Sabatini
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  Plaintiff
  State of Maryland                                                      represented by Kathryn M. Sabatini
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                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
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  Plaintiff
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  Plaintiff
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                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Molly Thomas-Jensen
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sarah Rice
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  State of Vermont                                                       represented by Kathryn M. Sabatini
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Leonard Giarrano , IV
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Jonathan T. Rose
                                                                                        Office of the Attorney General
                                                                                        Appellate Unit
                                                                                        109 State Street
                                                                                        Montpelier, VT 05609
                                                                         A620
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           16/63
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                                                                                       of Rhode Island 05/27/2025  Entry ID: 6724072
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                                                                                           PRO HAC VICE
                                                                                           ATTORNEY TO BE NOTICED

                                                                                      Molly Thomas-Jensen
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sarah Rice
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Plaintiff
  State of Washington                                                    represented by Kathryn M. Sabatini
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Leonard Giarrano , IV
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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                                                                                      Andrew R.W. Hughes
                                                                                      State of Washington Attorney General's
                                                                                      Office
                                                                                      Complex Litigation
                                                                                      800 Fifth Avenue
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                                                                                      PRO HAC VICE
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                                                                                      Leah Brown
                                                                                      Office of the Washington Attorney General
                                                                                      Environmental Protection Division
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                                                                                      Seattle, WA 98104
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                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Molly Thomas-Jensen
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sarah Rice

                                                                         A621
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          17/63
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                                                                                       of Rhode Island 05/27/2025  Entry ID: 6724072
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED
  Plaintiff
  State of Wisconsin                                                     represented by Kathryn M. Sabatini
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Leonard Giarrano , IV
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Aaron Bibb
                                                                                      Wisconsin Department of Justice
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                                                                                      PRO HAC VICE
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                                                                                      Molly Thomas-Jensen
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sarah Rice
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Plaintiff
  Office of the Governor of Kentucky ex                                  represented by Kathryn M. Sabatini
  rel. Andy Beshear                                                                     (See above for address)
  Office of the Governor of Kentucky ex rel.                                            LEAD ATTORNEY
  Andy Beshear                                                                          ATTORNEY TO BE NOTICED

                                                                                      Leonard Giarrano , IV
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sarah Rice
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Laura Crittenden Tipton
                                                                                      Office of the Governor
                                                                                      700 Capitol Ave
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                                                                                      Frankfort, KY 40601
                                                                                      502-564-2611
                                                                         A622
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          18/63
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                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
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                                                                                           ATTORNEY TO BE NOTICED

                                                                                       Steven Travis Mayo
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                                                                                       700 Capitol Avenue
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                                                                                       Frankfort, KY 40601
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                                                                                       Fax: 502-564-1275
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                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Taylor Payne
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                                                                                       Fax: 502-564-6858
                                                                                       Email: taylor.payne@ky.gov
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Defendant
  Donald Trump                                                           represented by Daniel Schwei
  in his official capacity as President of the                                          DOJ-Civ
  United States                                                                         1100 L St., N.W.
                                                                                        Room 11532
                                                                                        Washington, DC 20530
                                                                                        202-305-8693
                                                                                        Email: daniel.s.schwei@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Andrew Freidah
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                                                                                       Washington, DC 20005
                                                                                       202-305-0879
                                                                                       Email: andrew.f.freidah@usdoj.gov
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Eitan Sirkovich
                                                                                       DOJ-Civ
                                                                         A623
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           19/63
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                                                                            - District Date   Filed:
                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
                                                                                           1100 L Street NW
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                                                                                           Washington, DC 20005
                                                                                           585-694-1124
                                                                                           Email: eitan.r.sirkovich@usdoj.gov
                                                                                           ATTORNEY TO BE NOTICED
  Defendant
  U.S. Office of Management and Budget                                   represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Matthew Vaeth                                                          represented by Daniel Schwei
  in his official capacity as Acting Director of                                        (See above for address)
  the U.S. Office of Management and Budget                                              LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of the Treasury                                        represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Scott Bessent                                                          represented by Daniel Schwei
  in his official capacity as Secretary of the                                          (See above for address)
  Treasury                                                                              LEAD ATTORNEY
                                                                         A624
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           20/63
Case:1:56
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                                                                                           ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Patricia Collins                                                       represented by Daniel Schwei
  in her official capacity as Treasurer of the                                          (See above for address)
  U.S.                                                                                  LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Health and Human                                    represented by Daniel Schwei
  Services                                                                              (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  M.D. Dorothy A Fink                                                    represented by Daniel Schwei
  in her official capacity as Acting Secretary                                          (See above for address)
  of Health and Human Services                                                          LEAD ATTORNEY
  TERMINATED: 03/06/2025                                                                ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
  Defendant
                                                                         A625
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                         21/63
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  U.S. Department of Education                                       represented by Daniel Schwei
                                                                                           (See above for address)
                                                                                           LEAD ATTORNEY
                                                                                           ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Denise Carter                                                          represented by Daniel Schwei
  in her official capacity as Acting Secretary                                          (See above for address)
  of Education                                                                          LEAD ATTORNEY
  TERMINATED: 03/06/2025                                                                ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. Federal Emergency Management                                      represented by Daniel Schwei
  Agency                                                                                (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Cameron Hamilton                                                       represented by Daniel Schwei
  in his official capacity as Acting                                                    (See above for address)
  Administrator of the U.S. Federal                                                     LEAD ATTORNEY
  Emergency Management                                                                  ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich

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https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          22/63
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                                                                                       of Rhode Island 05/27/2025  Entry ID: 6724072
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED
  Defendant
  U.S. Department of Transportation                                      represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Judith Kaleta                                                          represented by Daniel Schwei
  in her official capacity as Acting Secretary                                          (See above for address)
  of Transportation                                                                     LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Labor                                               represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Vince Micone                                                           represented by Daniel Schwei
  in his official capacity as Acting Secretary                                          (See above for address)
  of Labor                                                                              LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                         A627
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          23/63
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                                                                                           ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Energy                                              represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Ingrid Kolb                                                            represented by Daniel Schwei
  in her official capacity as Acting Secretary                                          (See above for address)
  of the U.S. Department of Energy                                                      LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  U.S. Environmental Protection Agency                                   represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  James Payne                                                            represented by Daniel Schwei
  in his official capacity as Acting                                                    (See above for address)
  Administrator of the U.S. Environmental                                               LEAD ATTORNEY
  Protection Agency                                                                     ATTORNEY TO BE NOTICED
                                                                         A628
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                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  U.S. Department of Homeland Security                                   represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Kristi Noem                                                            represented by Daniel Schwei
  in her official capacity as Secretary of the                                          (See above for address)
  U.S. Department of Homeland Security                                                  LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Justice                                             represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant


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https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           25/63
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  James R McHenry, III                                               represented by Daniel Schwei
  in his official capacity as Acting Attorney                                              (See above for address)
  General of the U.S. Department of Justice                                                LEAD ATTORNEY
                                                                                           ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  The National Science Foundation                                        represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Dr. Sethuraman Panchanathan                                            represented by Daniel Schwei
  in his capacity as Director of the National                                           (See above for address)
  Science Foundation                                                                    LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Lee Michael Zeldin                                                     represented by Daniel Schwei
  Administrator of the Environmental                                                    (See above for address)
  Protection Agency                                                                     LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich

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https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          26/63
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                                                                                       of Rhode Island 05/27/2025  Entry ID: 6724072
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED
  Defendant
  Christopher Allen Wright                                               represented by Daniel Schwei
  Secretary of the U.S. Department of Energy                                            (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Sean P. Duffy                                                          represented by Daniel Schwei
  Secretary of the U.S. Department of                                                   (See above for address)
  Transportation                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Russell Vought                                                         represented by Daniel Schwei
  Director of the U.S. Office of Management                                             (See above for address)
  and Budget                                                                            LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  U.S. Department of the Interior                                        represented by Daniel Schwei
  U.S. Department of the Interior                                                       (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                         A631
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                          27/63
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                                                                                           ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Douglas Burgum                                                         represented by Daniel Schwei
  Douglas Burgum, in his official capacity as                                           (See above for address)
  Secretary of the Interior                                                             LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Pamela Bondi                                                           represented by Daniel Schwei
  Pamela Bondi, in her official capacity as                                             (See above for address)
  Attorney General of the U.S. Department of                                            LEAD ATTORNEY
  Justice                                                                               ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Agriculture                                         represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Gary Washington                                                        represented by Daniel Schwei
  Gary Washington, in his official capacity as                                          (See above for address)
  Acting Secretary of Agriculture                                                       LEAD ATTORNEY
  TERMINATED: 03/06/2025                                                                ATTORNEY TO BE NOTICED
                                                                         A632
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                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  U.S. Department of Housing and Urban                                   represented by Daniel Schwei
  Development                                                                           (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Scott Turner                                                           represented by Daniel Schwei
  Scott Turner, in his official capacity as                                             (See above for address)
  Secretary of Housing and Urban                                                        LEAD ATTORNEY
  Development                                                                           ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of State                                               represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant


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  Marco Rubio                                                        represented by Daniel Schwei
  Marco Rubio, in his official capacities as                                               (See above for address)
  Secretary of State and Acting Administrator                                              LEAD ATTORNEY
  of the United States Agency for                                                          ATTORNEY TO BE NOTICED
  International Development
                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  U.S. Agency for International                                          represented by Daniel Schwei
  Development                                                                           (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Defense                                             represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Peter Hegseth                                                          represented by Daniel Schwei
  Peter Hegseth, in his official capacity as                                            (See above for address)
  Secretary of Defense                                                                  LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich

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                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED
  Defendant
  U.S. Department of Veterans Affairs                                    represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Douglas Collins                                                        represented by Daniel Schwei
  Douglas Collins, in his official capacity as                                          (See above for address)
  Secretary of Veterans Affairs                                                         LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. Department of Commerce                                            represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Jeremy Pelter                                                          represented by Daniel Schwei
  Jeremy Pelter, in his official capacity as                                            (See above for address)
  Acting Secretary of Commerce                                                          LEAD ATTORNEY
  TERMINATED: 03/06/2025                                                                ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                         A635
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                                                                                           ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  National Aeronautics and Space                                         represented by Daniel Schwei
  Administration                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Janet Petro                                                            represented by Daniel Schwei
  Janet Petro, in her official capacity as                                              (See above for address)
  Acting Administrator of National                                                      LEAD ATTORNEY
  Aeronautics and Space Administration                                                  ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Corporation for National and                                           represented by Daniel Schwei
  Community Service                                                                     (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Andrew Freidah
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Eitan Sirkovich
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Jennifer Bastress Tahmasebi                                            represented by Daniel Schwei
  Jennifer Bastress Tahmasebi, in her official                                          (See above for address)
  capacity as Interim Head of the Corporation                                           LEAD ATTORNEY
  for National and Community Service                                                    ATTORNEY TO BE NOTICED
                                                                         A636
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                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  U.S. Social Security Administration                                    represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Michelle King                                                          represented by Daniel Schwei
  Michelle King, in her official capacity as                                            (See above for address)
  Acting Commissioner of United States                                                  LEAD ATTORNEY
  Social Security Administration                                                        ATTORNEY TO BE NOTICED
  TERMINATED: 03/06/2025
                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  U.S. Small Business Administration                                     represented by Daniel Schwei
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andrew Freidah
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Eitan Sirkovich
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
  Defendant


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  Everett Woodel                                                     represented by Daniel Schwei
  Everett Woodel, in his official capacity as                                              (See above for address)
  Acting Administrator of U.S. Small Business                                              LEAD ATTORNEY
  Administration                                                                           ATTORNEY TO BE NOTICED
  TERMINATED: 03/06/2025
                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Robert F. Kennedy, Jr.                                                 represented by Daniel Schwei
  in his official capacity as Secretary of the                                          (See above for address)
  Department of Health and Human Services                                               LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Linda McMahon                                                          represented by Daniel Schwei
  in her official capacity as Secretary of                                              (See above for address)
  Education                                                                             LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
  Defendant
  Brooke Rollins                                                         represented by Daniel Schwei
  in her official capacity as Secretary of the                                          (See above for address)
  Department of Agriculture                                                             LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Andrew Freidah
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Eitan Sirkovich

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                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED
  Defendant
  Howard Lutnick                                                         represented by Daniel Schwei
  in his capacity of the Secretary of                                                   (See above for address)
  Commerce                                                                              LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Andrew Freidah
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Eitan Sirkovich
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

  Defendant
  Leland C. Dudek                                                        represented by Daniel Schwei
  in his official capacity as Acting                                                    (See above for address)
  Commissioner of the Social Security                                                   LEAD ATTORNEY
  Administration                                                                        ATTORNEY TO BE NOTICED

                                                                                       Andrew Freidah
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Eitan Sirkovich
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

  Defendant
  Kelly Loeffler                                                         represented by Daniel Schwei
  in her official capacity as the Administrator                                         (See above for address)
  of the Small Business Administration                                                  LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Andrew Freidah
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Eitan Sirkovich
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
  Amicus
  American Center for Law and Justice                                    represented by Brandon S. Bell
  TERMINATED: 02/13/2025                                                                Fontaine Bell, LLP
                                                                                        One Davol Square
                                                                                        Penthouse
                                                                                        Providence, RI 02903
                                                                                        274-8800
                                                                                        Fax: 274-8880
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                                                                                           Email: bbell@fontainebell.com
                                                                                           ATTORNEY TO BE NOTICED


  V.
  Movant
  VR School
  TERMINATED: 01/29/2025

  Movant
  Freedom Cheteni
  531 Lasuen Mall
  #19492
  Stanford, CA 94305
  United States Non Public School
  Superintedent
  TERMINATED: 01/30/2025
  Movant
  Arthur West
  120 State Ave
  NE #1497
  Olympia, WA 98501
  TERMINATED: 02/10/2025

  Movant
  Rubin Young
  14060 SW 258th Street
  Homestead, FL 33032
  256-864-2411
  TERMINATED: 02/12/2025

  Movant
  Cody R. Hart
  901 Metcalf Street #71
  Sedro-Wolley, WA 98284
  TERMINATED: 02/18/2025

  Movant
  Derrill J. Fussell
  929. E. College Way
  Mount Vernon, WA 98273
  TERMINATED: 02/18/2025

  Movant
  Rev. Anne Armstrong
  99 Hudson Pond Road
  West Greenwich, RI 02817
  401-304-6543
  TERMINATED: 02/24/2025


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   Date Filed             #     Docket Text
   01/28/2025              1 COMPLAINT ( filing fee paid $ 405.00, receipt number ARIDC-2092620 ), filed by State
                             of Vermont, State of Arizona, State of California, State of Nevada, State of New York,
                             State of North Carolina, State of Minnesota, State of Maryland, State of Oregon, State of
                             Delaware, District of Columbia, State of Washington, State of Maine, State of Wisconsin,
                             Commonwealth of Massachusetts, State of Illinois, State of Connecticut, State of Hawaii,
                             State of Michigan, State of Colorado, State of Rhode Island, State of New Mexico, State
                             of New Jersey. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet)(Rice,
                             Sarah) (Entered: 01/28/2025)
   01/28/2025                   Case assigned to Chief Judge John J. McConnell, Jr. and Magistrate Judge Patricia A.
                                Sullivan. (Simoncelli, Michael) (Entered: 01/28/2025)
   01/28/2025              2 CASE OPENING NOTICE ISSUED (Simoncelli, Michael) (Entered: 01/28/2025)
   01/28/2025              3 MOTION for Temporary Restraining Order filed by All Plaintiffs. (Attachments: # 1
                             Exhibit)(Rice, Sarah) (Entered: 01/28/2025)
   01/28/2025              4 MOTION for Aaron J. Bibb to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092646 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025              5 MOTION for Alex Hemmer to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092647 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025              6 MOTION for Andrew Hughes to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092648 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025              7 MOTION for Andrew C. Mendrala to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092649 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025              8 MOTION for Christina L. Beatty-Walters to Appear Pro Hac Vice ( filing fee paid $
                             100.00, receipt number ARIDC-2092650 ) filed by State of Rhode Island. (Giarrano,
                             Leonard) (Entered: 01/28/2025)
   01/28/2025              9 MOTION for Colleen K. Faherty to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092651 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             10 MOTION for Daniel P. Mosteller to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092652 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             11 MOTION for David D. Day to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092653 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             12 MOTION for Jonathan T. Rose to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092654 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             13 MOTION for Joshua David Rothenberg Bendor to Appear Pro Hac Vice ( filing fee paid $
                             100.00, receipt number ARIDC-2092655 ) filed by State of Rhode Island. (Giarrano,
                             Leonard) (Entered: 01/28/2025)

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   01/28/2025             14 MOTION for Kalikoonalani D. Fernandes to Appear Pro Hac Vice ( filing fee paid $
                             100.00, receipt number ARIDC-2092656 ) filed by State of Rhode Island. (Giarrano,
                             Leonard) (Entered: 01/28/2025)
   01/28/2025             15 MOTION for Leah Brown to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092657 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             16 MOTION for Linus Banghart-Linn to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092658 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             17 MOTION for Michael Kenneth Skold to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092659 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             18 MOTION for Molly Thomas-Jensen to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092660 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             19 MOTION for Shannon Stevenson to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092662 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             20 MOTION for Zoe Levine to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number BRIDC-2092663 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             21 MOTION for Katherine Dirks to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092664 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             22 MOTION for Angela Cai to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092665 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/28/2025)
   01/28/2025             23 MOTION for Shankar Duraiswamy to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092667 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/28/2025             24 MOTION for Jeremy M. Feigenbaum to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2092668 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/28/2025)
   01/29/2025             25 MOTION for Jason Anton to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2092688 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025                   NOTICE of Hearing on 3 MOTION for Temporary Restraining Order: Motion Hearing
                                via Zoom scheduled for Wednesday 1/29/2025 at 3:00 PM as a Remote Hearing before
                                Chief Judge John J. McConnell, Jr.; Zoom information has been provided to counsel
                                under separate email. (Jackson, Ryan) (Entered: 01/29/2025)
   01/29/2025             26 MOTION for Leave to File Amicus Brief filed by VR School. Responses due by
                             2/12/2025. (Attachments: # 1 Proposed Brief, # 2 Exhibit)(Simoncelli, Michael) (Entered:
                             01/29/2025)
   01/29/2025                   TEXT ORDER denying 26 Motion for Leave to File Amicus Brief: VR School's Motion
                                to File an Amicus Brief is DENIED. The filer, Mr. Freedom Cheteni, is not a member of
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                             the bar of this Court (or possibly any court). The Motion is filed on behalf of an entity
                             called the "VR School." Pursuant to LR Gen 205(a), an entity needs an attorney of this
                             Court to file with the Court. A non-lawyer may not file with the Court on behalf of an
                             organization or corporate entity pro se. So Ordered by Chief Judge John J. McConnell, Jr.
                             on 1/29/2025. (Jackson, Ryan) (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 5 Motion to Appear Pro Hac Vice of Alex Hemmer. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 6 Motion to Appear Pro Hac Vice of Andrew Hughes. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 7 Motion to Appear Pro Hac Vice of Andrew C. Mendrala. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   DOCKET NOTE: Today's (Wednesday 1/29/25) proceedings in this matter are available
                                to non-case participants via the Court's YouTube channel. Interested parties should visit
                                the Court's website for further viewing information. (Jackson, Ryan) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 8 Motion to Appear Pro Hac Vice of Christina L. Beatty-Walters.
                                So Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle)
                                (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 9 Motion to Appear Pro Hac Vice of Colleen K. Faherty. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 10 Motion to Appear Pro Hac Vice of Daniel P. Mosteller. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 11 Motion to Appear Pro Hac Vice of David D. Day. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 12 Motion to Appear Pro Hac Vice of Jonathan T. Rose. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 13 Motion to Appear Pro Hac Vice of Joshua David Rothenberg
                                Bendor. So Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle)
                                (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 14 Motion to Appear Pro Hac Vice of Kalikoonalani D.
                                Fernandes. So Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill,
                                Cherelle) (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 15 Motion to Appear Pro Hac Vice of Leah Brown. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) Modified Text on
                                1/29/2025 (Hill, Cherelle). (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 16 Motion to Appear Pro Hac Vice of Linus Banghart-Linn. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)

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   01/29/2025                   TEXT ORDER granting 17 Motion to Appear Pro Hac Vice of Michael Kenneth Skold.
                                So Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle)
                                (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 18 Motion to Appear Pro Hac Vice of Molly Thomas-Jensen. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 19 Motion to Appear Pro Hac Vice of Shannon Stevenson. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025             27 CORRECTED COMPLAINT, filed by State of Vermont, State of Arizona, State of
                             California, State of Nevada, State of New York, State of North Carolina, State of
                             Minnesota, State of Maryland, State of Oregon, State of Delaware, District of Columbia,
                             State of Washington, State of Maine, State of Wisconsin, Commonwealth of
                             Massachusetts, State of Illinois, State of Connecticut, State of Hawaii, State of Michigan,
                             State of Colorado, State of Rhode Island, State of New Mexico, State of New Jersey.
                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet)(Rice, Sarah) Modified
                             on 1/29/2025 to correct docket text. (Simoncelli, Michael). (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 20 Motion to Appear Pro Hac Vice of Zoe Levine. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 21 Motion to Appear Pro Hac Vice of Katherine Dirks. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025             28 EXHIBIT IN SUPPORT by All Plaintiffs in support of 3 MOTION for Temporary
                             Restraining Order Corrected Exhibit 3-1. (Rice, Sarah) (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 22 Motion to Appear Pro Hac Vice of Angela Cai. So Ordered by
                                Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 23 Motion to Appear Pro Hac Vice of Shankar Duraiswamy. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 24 Motion to Appear Pro Hac Vice of Jeremy Feigenbaum. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 25 Motion to Appear Pro Hac Vice of Jason Anton. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 4 Motion to Appear Pro Hac Vice of Aaron Bibb. So Ordered by
                                Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered: 01/29/2025)
   01/29/2025             29 MOTION for Christine Chuang to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093054 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             30 MOTION for Laura L. Faer to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093056 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)


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   01/29/2025                   TEXT ORDER granting 29 Motion to Appear Pro Hac Vice of Christine Chuang. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 30 Motion to Appear Pro Hac Vice of Laura Faer. So Ordered by
                                Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered: 01/29/2025)
   01/29/2025             31 MOTION for Heidi Parry Stern to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093071 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             32 MOTION for Elizabeth Kramer to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093081 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             33 MOTION for Adam D. Kirschner to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2093082 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/29/2025)
   01/29/2025             34 MOTION for Carly J. Munson to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number BRIDC-2093085 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             35 MOTION for Christopher J. Kissel to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2093089 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/29/2025)
   01/29/2025             36 MOTION for Kenneth J. Sugarman to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2093091 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/29/2025)
   01/29/2025             37 MOTION for Lara Haddad to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093096 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             38 MOTION for Nicholas R. Green to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2093097 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 31 Motion to Appear Pro Hac Vice of Heidi Parry Stern. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 32 Motion to Appear Pro Hac Vice of Elizabeth Kramer. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025             39 NOTICE of Appearance by Daniel Schwei on behalf of All Defendants (Schwei, Daniel)
                             (Entered: 01/29/2025)
   01/29/2025             40 MOTION for Rabia Muqaddam to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093108 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             41 MOTION for Neil Giovanatti to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093110 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/29/2025             42 MOTION for Vanessa L. Kassab to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2093113 ) filed by State of Rhode Island. (Giarrano, Leonard)
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                             (Entered: 01/29/2025)
   01/29/2025             43 NOTICE by Donald Trump, U.S. Office of Management and Budget, Matthew Vaeth,
                             U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S. Department of
                             Health and Human Services, Dorothy A Fink, U.S. Department of Education, Denise
                             Carter, U.S. Federal Emergency Management Agency, Cameron Hamilton, U.S.
                             Department of Transportation, Judith Kaleta, U.S. Department of Labor, Vince Micone,
                             U.S. Department of Energy, Ingrid Kolb, U.S. Environmental Protection Agency, James
                             Payne, U.S. Department of Homeland Security, Kristi Noem, U.S. Department of Justice,
                             James R McHenry, III, The National Science Foundation, Sethuraman Panchanathan re 3
                             MOTION for Temporary Restraining Order of Factual Developments (Attachments: # 1
                             Exhibit OMB Mem M-25-14, Rescission of M-25-13 (Jan. 28, 2025))(Schwei, Daniel)
                             (Entered: 01/29/2025)
   01/29/2025                   TEXT ORDER granting 33 Motion to Appear Pro Hac Vice of Adam Kirschner. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 34 Motion to Appear Pro Hac Vice of Carly J. Munson. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 35 Motion to Appear Pro Hac Vice of Christopher J. Kissel. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 36 Motion to Appear Pro Hac Vice of Kenneth J. Sugarman. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 37 Motion to Appear Pro Hac Vice of Lara Haddad. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 38 Motion to Appear Pro Hac Vice of Nicholas R. Green. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 40 Motion to Appear Pro Hac Vice of Rabia Muqaddam. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 41 Motion to Appear Pro Hac Vice of Neil Giovanatti. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   TEXT ORDER granting 42 Motion to Appear Pro Hac Vice of Vanessa L. Kassab. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/29/2025. (Hill, Cherelle) (Entered:
                                01/29/2025)
   01/29/2025                   Minute Entry for proceedings held before Chief Judge John J. McConnell, Jr.: Motion
                                Hearing via Zoom held on 1/29/2025 re: 3 MOTION for Temporary Restraining Order
                                filed by State of New York, et al. Counsel present: S. Rice, K. Sabatini; M. Thomas-
                                Jensen, R. Muqaddam; A. Hemmer; C. Chuang, L. Faer; K. Dirks; D. Schwei. Court
                                addresses withdrawal of the OMD memo; Plaintiffs (Rice) responds. Court questions
                                Plaintiffs. One exhibit admitted as evidence. Defendants (Schwei) argues; Court questions
                                Defendants. Plaintiffs (Rice) give reply argument. Court orders Plaintiffs/States to
                                prepare a proposed order and share it with Defendants before submitting to the Court.
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https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           42/63
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                             Upon submission to the Court (via email to Case Manager), the Defendants will have 24-
                             hours to response to the proposed order by letter-brief. Court will then consider the
                             proposed order and response and schedule a conference if necessary. Adjourned. (Court
                             Reporter Denise Webb in Courtroom Remote via Zoom Videoconference at 3:00 PM.)
                             (Jackson, Ryan) (Entered: 01/29/2025)
   01/29/2025             44 Exhibit List for 1/29/25 Motion Hearing on TRO before Chief Judge McConnell.
                             (Jackson, Ryan) (Entered: 01/29/2025)
   01/29/2025             45 MOTION for Anjana Samant to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2093253 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             01/29/2025)
   01/30/2025                   TEXT ORDER granting 45 Motion to Appear Pro Hac Vice of Anjana Samant. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 1/30/2025. (Hill, Cherelle) (Entered:
                                01/30/2025)
   01/30/2025             46 DOCKET NOTE: Proposed Temporary Restraining Order filed by State of NY, et al.
                             Received by the Court at 6:15 PM on 1/29/25. (Jackson, Ryan) (Entered: 01/30/2025)
   01/30/2025             47 MOTION for Leave to File Amicus Brief filed by Freedom Cheteni. Responses due by
                             2/13/2025. (Attachments: # 1 Proposed Amicus, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                             Exhibit, # 6 Exhibit, # 7 Exhibit)(Simoncelli, Michael) (Entered: 01/30/2025)
   01/30/2025                   TEXT ORDER denying 47 Motion for Leave to File Amicus Brief. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 1/30/2025. (Jackson, Ryan) (Entered: 01/30/2025)
   01/30/2025             48 MOTION Motion to Supplement Record re: 3 MOTION for Temporary Restraining
                             Order filed by All Plaintiffs. Responses due by 2/13/2025. (Attachments: # 1 Exhibit
                             Sugarman Decl. and Exhibits)(Rice, Sarah) (Entered: 01/30/2025)
   01/30/2025             49 RESPONSE In Opposition to 3 MOTION for Temporary Restraining Order filed by All
                             Defendants. Replies due by 2/6/2025. (Attachments: # 1 Exhibit OMB Guidance (Jan.
                             28, 2025))(Schwei, Daniel) (Entered: 01/30/2025)
   01/31/2025                   TEXT ORDER granting 48 MOTION to Supplement Record re: 3 MOTION for
                                Temporary Restraining Order. So Ordered by Chief Judge John J. McConnell, Jr. on
                                1/31/2025. (Jackson, Ryan) (Entered: 01/31/2025)
   01/31/2025             50 TEMPORARY RESTRAINING ORDER granting 3 Motion for TRO. So Ordered by
                             Chief Judge John J. McConnell, Jr. on 1/31/2025. (Jackson, Ryan) (Entered: 01/31/2025)
   02/03/2025             51 NOTICE by Donald Trump, U.S. Office of Management and Budget, Matthew Vaeth,
                             U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S. Department of
                             Health and Human Services, Dorothy A Fink, U.S. Department of Education, Denise
                             Carter, U.S. Federal Emergency Management Agency, Cameron Hamilton, U.S.
                             Department of Transportation, Judith Kaleta, U.S. Department of Labor, Vince Micone,
                             U.S. Department of Energy, Ingrid Kolb, U.S. Environmental Protection Agency, James
                             Payne, U.S. Department of Homeland Security, Kristi Noem, U.S. Department of Justice,
                             James R McHenry, III, The National Science Foundation, Sethuraman Panchanathan re
                             50 Order on Motion for TRO (Attachments: # 1 Exhibit Written Notice of Court Order)
                             (Schwei, Daniel) (Entered: 02/03/2025)
   02/03/2025             52 NOTICE of Appearance by Eitan Sirkovich on behalf of All Defendants (Sirkovich,
                             Eitan) (Entered: 02/03/2025)
   02/03/2025                   TEXT ORDER: Plaintiffs' Motion for Preliminary Injunction and Memorandum in
                                Support is due on or before Friday 2/7/2025; Defendants' Opposition and Memorandum is
                                due on or before Wednesday 2/12/25; Plaintiffs' Reply is due two days after the filing of
                                                                         A647
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                   43/63
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                             the Defendants' opposition. So Ordered by Chief Judge John J. McConnell, Jr. on
                             2/3/2025. (Jackson, Ryan) (Entered: 02/03/2025)
   02/03/2025             53 NOTICE of Appearance by Andrew Freidah on behalf of All Defendants (Freidah,
                             Andrew) (Entered: 02/03/2025)
   02/04/2025             54 MOTION for Turner Helen Smith to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2095192 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 02/04/2025)
   02/04/2025             55 MOTION for Anna Lumelsky to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2095198 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/04/2025)
   02/04/2025             56 MOTION for Michael Joseph Myers to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2095201 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 02/04/2025)
   02/04/2025                   TEXT ORDER granting 54 Motion to Appear Pro Hac Vice of Turner Helen Smith. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/4/2025. (Gonzalez Gomez, Viviana)
                                (Entered: 02/04/2025)
   02/04/2025                   TEXT ORDER granting 55 Motion to Appear Pro Hac Vice of Anna Lumelsky. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/4/2025. (Gonzalez Gomez, Viviana)
                                (Entered: 02/04/2025)
   02/04/2025                   TEXT ORDER granting 56 Motion to Appear Pro Hac Vice of Michael Joseph Myers. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/4/2025. (Gonzalez Gomez, Viviana)
                                (Entered: 02/04/2025)
   02/04/2025                   NOTICE of CONFERENCE: Chambers Conference via Zoom scheduled for Thursday
                                2/6/2025 at 9:30 AM as a Remote Conference before Chief Judge John J. McConnell, Jr.
                                This conference is for COUNSEL ONLY and Zoom Meeting information has been
                                provided to counsel under separate cover. THIS IS NOT A PUBLIC HEARING.
                                (Jackson, Ryan) (Entered: 02/04/2025)
   02/04/2025             57 MOTION for Marie E. Logan to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2095272 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/04/2025)
   02/04/2025             58 MOTION for Theodore McCombs to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2095275 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 02/04/2025)
   02/04/2025                   TEXT ORDER granting 57 Motion to Appear Pro Hac Vice of Marie E. Logan. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/4/2025. (Hill, Cherelle) (Entered:
                                02/04/2025)
   02/04/2025                   TEXT ORDER granting 58 Motion to Appear Pro Hac Vice of Theodore McCombs. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/4/2025. (Hill, Cherelle) (Entered:
                                02/04/2025)
   02/04/2025             59 NOTICE of Appearance by Turner Helen Smith on behalf of Commonwealth of
                             Massachusetts (Smith, Turner) (Entered: 02/04/2025)
   02/04/2025             60 MOTION to Intervene filed by Arthur West. Responses due by 2/18/2025. (Attachments:
                             # 1 DESCHUTES ESTUARY GRANT INFORMATION, # 2 NEPA NOV 25 As filed, #
                             3 NEPA NOV 25 EXHIBITS, # 4 WEST V. REED MISREPRESENTATION OF
                             INJUNCTION, # 5 Email)(Hill, Cherelle) (Entered: 02/04/2025)
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   02/04/2025             61 NOTICE of Appearance by Anna Esther Lumelsky on behalf of Commonwealth of
                             Massachusetts (Lumelsky, Anna) (Entered: 02/04/2025)
   02/05/2025                   Reset Hearings re: Notice of Public Chambers Conference via Zoom scheduled for
                                Thursday 2/6/2025 at 9:30 AM as a Remote Conference before Chief Judge John J.
                                McConnell, Jr. This conference will now be available for public viewing via the Court's
                                YouTube channel; information on connecting to the conference is available on the Court's
                                website. Counsel are still directed to connect to the conference via Zoom with the
                                meeting invitation previously sent to counsel via email. (Jackson, Ryan) (Entered:
                                02/05/2025)
   02/05/2025             62 MOTION for Nathan T. Arrowsmith to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                             receipt number ARIDC-2096068 ) filed by State of Rhode Island. (Giarrano, Leonard)
                             (Entered: 02/05/2025)
   02/06/2025                   TEXT ORDER granting 62 Motion to Appear Pro Hac Vice of Nathan T. Arrowsmith. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/6/2025. (Hill, Cherelle) (Entered:
                                02/06/2025)
   02/06/2025                   Minute Entry for proceedings held before Chief Judge John J. McConnell, Jr.: Chambers
                                Conference via Zoom held on 2/6/2025. Counsel present: S. Rice, K. Sabatini, L.
                                Giarrano; R. Muqaddam, M. Thomas-Jensen, C. Faherty; L. Faer, T. McCombs; K. Dirks;
                                D. Schwei, E. Sirkovich. (Jackson, Ryan) (Entered: 02/06/2025)
   02/06/2025                   TEXT ORDER: The Court extends the 50 TEMPORARY RESTRAINING ORDER for
                                good cause including the complexity of the issues involved, the number of parties, and
                                the need to maintain the status quo while this matter is being expeditiously litigated - until
                                the Court enters an order on the Plaintiffs' Motion for Preliminary Injunction. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 2/6/2025. (Jackson, Ryan) (Entered:
                                02/06/2025)
   02/06/2025             63 TRANSCRIPT ORDER for proceedings held on Jan. 29, 2025 before Judge Chief Judge
                             McConnell. Daily Transcript selected. Transcript to be delivered following adjournment
                             and prior to the normal opening hour of court on the following morning.. (Schwei,
                             Daniel) (Entered: 02/06/2025)
   02/06/2025             64 MOTION for Jill Lacedonia to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                             number ARIDC-2096517 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/06/2025)
   02/07/2025                   TEXT ORDER granting 64 Motion to Appear Pro Hac Vice of Jill Lacedonia. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 2/7/2025. (Hill, Cherelle) (Entered: 02/07/2025)
   02/07/2025             65 TRANSCRIPT ORDER ACKNOWLEDGMENT Entered re: 63 Transcript Order,. Daily
                             Transcript Ordered. Court Reporter/Transcriber: Denise Webb. (Dias, Jennifer) (Entered:
                             02/07/2025)
   02/07/2025             66 Emergency MOTION to Enforce re: 50 Order on Motion for TRO filed by All Plaintiffs.
                             Responses due by 2/21/2025. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)
                             (Rice, Sarah) (Entered: 02/07/2025)
   02/07/2025             67 MOTION for Preliminary Injunction filed by All Plaintiffs. Responses due by 2/21/2025.
                             (Thomas-Jensen, Molly) (Entered: 02/07/2025)
   02/07/2025                   TEXT ORDER: Defendants are hereby ORDERED to Respond to Plaintiffs' 66
                                Emergency MOTION to Enforce re: 50 Order on Motion for TRO by this Sunday,
                                2/9/2025. So Ordered by Chief Judge John J. McConnell, Jr. on 2/7/2025. (Jackson, Ryan)
                                (Entered: 02/07/2025)
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                                                                            - District Date   Filed:
                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
   02/07/2025             68 DECLARATION re 67 MOTION for Preliminary Injunction by All Plaintiffs.
                             (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                             Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, #
                             12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17
                             Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22
                             Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27
                             Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32
                             Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37
                             Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42
                             Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47
                             Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52
                             Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56 Exhibit 56, # 57
                             Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61 Exhibit 61, # 62
                             Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65 Exhibit 65, # 66 Exhibit 66, # 67
                             Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 70, # 71 Exhibit 71, # 72
                             Exhibit 72, # 73 Exhibit 73, # 74 Exhibit 74, # 75 Exhibit 75, # 76 Exhibit 76, # 77
                             Exhibit 77, # 78 Exhibit 78, # 79 Exhibit 79, # 80 Exhibit 80, # 81 Exhibit 81, # 82
                             Exhibit 82, # 83 Exhibit 83, # 84 Exhibit 84, # 85 Exhibit 85, # 86 Exhibit 86, # 87
                             Exhibit 87, # 88 Exhibit 88, # 89 Exhibit 89, # 90 Exhibit 90, # 91 Exhibit 91, # 92
                             Exhibit 92, # 93 Exhibit 93, # 94 Exhibit 94, # 95 Exhibit 95, # 96 Exhibit 96, # 97
                             Exhibit 97, # 98 Exhibit 98, # 99 Exhibit 99, # 100 Exhibit 100, # 101 Exhibit 101, # 102
                             Exhibit 102, # 103 Exhibit 103, # 104 Exhibit 104, # 105 Exhibit 105, # 106 Exhibit 106,
                             # 107 Exhibit 107, # 108 Exhibit 108, # 109 Exhibit 109, # 110 Exhibit 110, # 111 Exhibit
                             111, # 112 Exhibit 112, # 113 Exhibit 113, # 114 Exhibit 114, # 115 Exhibit 115, # 116
                             Exhibit 116, # 117 Exhibit 117, # 118 Exhibit 118, # 119 Exhibit 119, # 120 Exhibit 120,
                             # 121 Exhibit 121, # 122 Exhibit 122, # 123 Exhibit 123, # 124 Exhibit 124, # 125
                             Exhibit 125, # 126 Exhibit 126, # 127 Exhibit 127)(Thomas-Jensen, Molly) CLERK'S
                             NOTE: PDF error in original Exhibit 83, corrected version filed at ECF No. 101 .
                             Docket text modified on 2/11/2025. (Gonzalez Gomez, Viviana) (Entered: 02/07/2025)
   02/07/2025             69 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/07/2025)
   02/09/2025             70 RESPONSE In Opposition to 66 Emergency MOTION to Enforce re: 50 Order on Motion
                             for TRO filed by All Defendants. Replies due by 2/18/2025. (Schwei, Daniel) (Entered:
                             02/09/2025)
   02/10/2025                   TEXT ORDER denying 60 Motion to Intervene. So Ordered by Chief Judge John J.
                                McConnell, Jr. on 2/10/2025. (Jackson, Ryan) (Entered: 02/10/2025)
   02/10/2025             71 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             72 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             73 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             74 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             75 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             76 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
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   02/10/2025             77 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             78 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             79 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             80 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             81 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             82 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             83 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             84 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             85 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             86 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             87 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             88 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             89 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             90 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             91 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             92 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             93 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             94 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             95 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                             02/10/2025)
   02/10/2025             96 ORDER granting 66 Emergency MOTION to Enforce 50 Order on Motion for TRO. So
                             Ordered by Chief Judge John J. McConnell, Jr. on 2/10/2025. (Jackson, Ryan) (Entered:
                             02/10/2025)

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   02/10/2025             97 Summons Issued as to Scott Bessent, Denise Carter, Patricia Collins, Dorothy A Fink,
                             Cameron Hamilton, Judith Kaleta, Ingrid Kolb, James R McHenry, III, Vince Micone,
                             Kristi Noem, Sethuraman Panchanathan, James Payne, The National Science Foundation,
                             Donald Trump, U.S. Department of Education, U.S. Department of Energy, U.S.
                             Department of Health and Human Services, U.S. Department of Homeland Security, U.S.
                             Department of Justice, U.S. Department of Labor, U.S. Department of Transportation,
                             U.S. Department of the Treasury, U.S. Environmental Protection Agency, U.S. Federal
                             Emergency Management Agency, U.S. Office of Management and Budget, Matthew
                             Vaeth. (Attachments: # 1 Summons Issued as to D. Carter, # 2 Summons Issued as to U.S.
                             Department of Education, # 3 Summons Issued as to U.S. Department of Energy, # 4
                             Summons Issued as to U.S. Department of Labor, # 5 Summons Issued as to U.S.
                             Department of Justice, # 6 Summons Issued as to D. Trump, # 7 Summons Issued as to D.
                             Fink, # 8 Summons Issued as to U.S. Department of Transporation, # 9 Summons Issued
                             as to U.S. Environmental Protection Agency, # 10 Summons Issued as to U.S. Federal
                             Emergency Management Agency, # 11 Summons Issued as to U.S. Department of Health
                             and Human Services, # 12 Summons Issued as to U.S. Department of Homeland Security,
                             # 13 Summons Issued as to I. Kolb, # 14 Summons Issued as to J. Payne, # 15 Summons
                             Issued as to J. McHenry, # 16 Summons Issued as to J. Kaleta, # 17 Summons Issued as
                             to K. Noem, # 18 Summons Issued as to M. Vaeth, # 19 Summons Issued as to The
                             National Science Foundation, # 20 Summons Issued as to U.S. Office of Management and
                             Budget, # 21 Summons Issued as to Collins, # 22 Summons Issued as to S. Bessent, # 23
                             Summons Issued as to S. Panchanathan, # 24 Summons Issued as to U.S. Department of
                             Treasury, # 25 Summons Issued as to V. Micone) (Gonzalez Gomez, Viviana) (Entered:
                             02/10/2025)
   02/10/2025             98 NOTICE OF APPEAL by Donald Trump, U.S. Office of Management and Budget,
                             Matthew Vaeth, U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S.
                             Department of Health and Human Services, Dorothy A Fink, U.S. Department of
                             Education, Denise Carter, U.S. Federal Emergency Management Agency, Cameron
                             Hamilton, U.S. Department of Transportation, Judith Kaleta, U.S. Department of Labor,
                             Vince Micone, U.S. Department of Energy, Ingrid Kolb, U.S. Environmental Protection
                             Agency, James Payne, U.S. Department of Homeland Security, Kristi Noem, U.S.
                             Department of Justice, James R McHenry, III, The National Science Foundation,
                             Sethuraman Panchanathan as to 50 Order on Motion for TRO, 96 Order on Motion for
                             Miscellaneous Relief (No fee paid, USA, Waived by Statute, or IFP.)

                                NOTICE TO COUNSEL: Counsel should register for a First Circuit CM/ECF
                                Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf/. Counsel should also
                                review the First Circuit requirements for electronic filing by visiting the CM/ECF
                                Information section at http://www.ca1.uscourts.gov/cmecf Appeal Record due by
                                2/18/2025. (Schwei, Daniel) (Entered: 02/10/2025)
   02/10/2025             99 CLERK'S CERTIFICATE AND APPELLATE COVER SHEET: Abbreviated record on
                             appeal consisting of notice of appeal, order(s) being appealed, and a copy of the district
                             court docket report transmitted to the U.S. Court of Appeals for the First Circuit in
                             accordance with 1st Cir. R. 11.0(b) re: 98 Notice of Appeal. Documents Sent: 50, 96.
                             (Attachments: # 1 Record on Appeal) (Gonzalez Gomez, Viviana) (Entered: 02/10/2025)
   02/10/2025           100 MOTION to Stay re 50 Order on Motion for TRO, 96 Order on Motion for Miscellaneous
                            Relief Pending Appeal filed by All Defendants. Responses due by 2/24/2025. (Schwei,
                            Daniel) (Entered: 02/10/2025)
   02/11/2025                   USCA Case Number 25-1138 for 98 Notice of Appeal, filed by U.S. Department of
                                Energy, Scott Bessent, U.S. Department of Labor, U.S. Environmental Protection Agency,
                                U.S. Federal Emergency Management Agency, U.S. Department of Health and Human
                                                                         A652
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                             Services, Sethuraman Panchanathan, The National Science Foundation, U.S. Department
                             of the Treasury, U.S. Department of Homeland Security, Judith Kaleta, Donald Trump,
                             Vince Micone, Patricia Collins, U.S. Department of Transportation, U.S. Office of
                             Management and Budget, U.S. Department of Education, Kristi Noem, U.S. Department
                             of Justice, James R McHenry, III, Ingrid Kolb, Dorothy A Fink, James Payne, Denise
                             Carter, Matthew Vaeth, Cameron Hamilton. (Hill, Cherelle) (Entered: 02/11/2025)
   02/11/2025           101 Corrected DECLARATION re: 68 Declaration - Exhibit 83 by All Plaintiffs. (Giarrano,
                            Leonard) CLERK'S NOTE: Docket text modified on 2/11/2025 to tie to prior filing.
                            (Gonzalez Gomez, Viviana) (Entered: 02/11/2025)
   02/11/2025                   TEXT ORDER: Plaintiffs State of NY, et al. shall have until 10 AM Wednesday
                                2/12/2025 to file a response to 100 MOTION to Stay re: 50 Order on Motion for TRO, 96
                                Order on Motion for Miscellaneous Relief Pending Appeal filed by Donald Trump, et al.
                                So Ordered by Chief Judge John J. McConnell, Jr. on 2/11/2025. (Jackson, Ryan)
                                (Entered: 02/11/2025)
   02/11/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Russell Vought has been substituted for
                                Matthew Vaeth as Director of the Office of Management and Budget in this action. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/11/2025. (Simoncelli, Michael)
                                (Entered: 02/11/2025)
   02/11/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Sean P. Duffy has been substituted for
                                Judith Kaleta as Secretary of the Department of Transportation in this action. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 2/11/2025. (Simoncelli, Michael) (Entered:
                                02/11/2025)
   02/11/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Christopher Allen Wright has been
                                substituted for Ingrid Kolb as Secretary of the Department of Energy in this action. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/11/2025. (Simoncelli, Michael)
                                (Entered: 02/11/2025)
   02/11/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Lee Michael Zeldin has been
                                substituted for James Payne as Administrator of the Environmental Protection Agency in
                                this action. So Ordered by Chief Judge John J. McConnell, Jr. on 2/11/2025. (Simoncelli,
                                Michael) (Entered: 02/11/2025)
   02/11/2025           102 Emergency MOTION Requesting Ruling by 11am on February 12 for Permission to
                            Continue Withholding FEMA and Other Funding re: 50 Order on Motion for TRO, 96
                            Order on Motion for Miscellaneous Relief filed by All Defendants. Responses due by
                            2/25/2025. (Attachments: # 1 Exhibit FEMA Hamilton Declaration, # 2 Exhibit Hamilton
                            Decl Exhibit 1, # 3 Exhibit Hamilton Decl Exhibit 2, # 4 Exhibit Hamilton Decl Exhibit
                            3)(Schwei, Daniel) (Entered: 02/11/2025)
   02/11/2025           103 Supplemental MOTION Requesting Permission to Continue Payment Review Processes
                            re: 102 Emergency MOTION Requesting Ruling by 11am on February 12 for Permission
                            to Continue Withholding FEMA and Other Funding re: 50 Order on Motion for TRO, 96
                            Order on Motion for Miscellaneous Relief filed by All Defendants. Responses due by
                            2/25/2025. (Attachments: # 1 Exhibit PMS Bruce Declaration)(Schwei, Daniel) (Entered:
                            02/11/2025)




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   02/11/2025           104 RESPONSE In Opposition to 102 Emergency MOTION Requesting Ruling by 11am on
                            February 12 for Permission to Continue Withholding FEMA and Other Funding re: 50
                            Order on Motion for TRO, 96 Order on Motion for Miscellaneous Relief, 103
                            Supplemental MOTION Requesting Permission to Continue Payment Review Processes
                            re: 102 Emergency MOTION Requesting Ruling by 11am on February 12 for Permission
                            to Continue Withholding FEMA and Other Funding re: 50 Order o filed by All Plaintiffs.
                            Replies due by 2/18/2025. (Muqaddam, Rabia) (Entered: 02/11/2025)
   02/11/2025           105 RESPONSE In Opposition to 100 MOTION to Stay re 50 Order on Motion for TRO, 96
                            Order on Motion for Miscellaneous Relief Pending Appeal filed by All Plaintiffs. Replies
                            due by 2/18/2025. (Lumelsky, Anna) (Entered: 02/11/2025)
   02/12/2025           106 ORDER of the U.S. Court of Appeals for the First Circuit entered as to 98 Notice of
                            Appeal, filed by U.S. Department of Energy, Scott Bessent, U.S. Department of Labor,
                            U.S. Environmental Protection Agency, U.S. Federal Emergency Management Agency,
                            U.S. Department of Health and Human Services, Sethuraman Panchanathan, The National
                            Science Foundation, U.S. Department of the Treasury, U.S. Department of Homeland
                            Security, Judith Kaleta, Donald Trump, Vince Micone, Patricia Collins, U.S. Department
                            of Transportation, U.S. Office of Management and Budget, U.S. Department of
                            Education, Kristi Noem, U.S. Department of Justice, James R McHenry, III, Ingrid Kolb,
                            Dorothy A Fink, James Payne, Denise Carter, Matthew Vaeth, Cameron Hamilton. [25-
                            1138] (Gonzalez Gomez, Viviana) (Entered: 02/12/2025)
   02/12/2025           107 ORDER denying 102 Emergency MOTION Requesting Ruling by 11am on February 12
                            for Permission to Continue Withholding FEMA and Other Funding; and, denying as moot
                            103 Supplemental MOTION Requesting Permission to Continue Payment Review
                            Processes. So Ordered by Chief Judge John J. McConnell, Jr. on 2/12/2025. (Jackson,
                            Ryan) (Main Document 107 replaced on 2/12/2025: corrected typographical error)
                            (Jackson, Ryan). (Entered: 02/12/2025)
   02/12/2025           108 Supplemental Record on Appeal transmitted to U.S. Court of Appeals for the First Circuit
                            re: 98 Notice of Appeal. Unrestricted Documents Sent: 107. (Attachments: # 1 Record on
                            Appeal) (Gonzalez Gomez, Viviana) (Entered: 02/12/2025)
   02/12/2025           109 MOTION for Leave to File Amicus Brief filed by Rubin Young. Responses due by
                            2/26/2025. (Simoncelli, Michael) (Entered: 02/12/2025)
   02/12/2025                   TEXT ORDER denying 109 Motion for Leave to File Amicus Brief. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 2/12/2025. (Simoncelli, Michael) (Entered: 02/12/2025)
   02/12/2025           110 MOTION for Leave to File Amicus Brief filed by American Center for Law and Justice.
                            Responses due by 2/26/2025. (Attachments: # 1 Supporting Memorandum in Support of
                            Defendants)(Bell, Brandon) (Entered: 02/12/2025)
   02/12/2025           111 ORDER denying 100 Motion to Stay Pending Appeal. So Ordered by Chief Judge John J.
                            McConnell, Jr. on 2/12/2025. (Jackson, Ryan) (Entered: 02/12/2025)
   02/12/2025           112 Supplemental Record on Appeal transmitted to U.S. Court of Appeals for the First
                            Circuit. 98 Notice of Appeal. Unrestricted Documents Sent: 111. (Attachments: # 1
                            Supplemental Record on Appeal)(Simoncelli, Michael) (Entered: 02/12/2025)
   02/12/2025           113 RESPONSE In Opposition to 67 MOTION for Preliminary Injunction filed by All
                            Defendants. Replies due by 2/19/2025. (Schwei, Daniel) (Entered: 02/12/2025)
   02/13/2025           114 AMENDED COMPLAINT against All Defendants, filed by All Plaintiffs. (Attachments:
                            # 1 Exhibit Exhibits A-I)(Smith, Turner) Modified on 2/13/2025 to correct docket text.
                            (Simoncelli, Michael). (Entered: 02/13/2025)

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   02/13/2025                   TEXT ORDER denying 110 Motion for Leave to File Amicus Brief. The Court is not
                                accepting any amicus briefs in this case. The issues before the Court are legal questions,
                                not political, and both sides of the dispute are well represented. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 2/13/2025. (Simoncelli, Michael) (Entered: 02/13/2025)
   02/13/2025           115 MOTION for Robert Henry Weaver to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2099021 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/13/2025)
   02/13/2025           116 MOTION for Laura Crittenden Tipton to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2099026 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/13/2025)
   02/13/2025           117 MOTION for Steven Travis Mayo to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2099032 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/13/2025)
   02/13/2025           118 MOTION for Taylor Payne to Appear Pro Hac Vice ( filing fee paid $ 100.00, receipt
                            number ARIDC-2099034 ) filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/13/2025)
   02/13/2025                   TEXT ORDER granting 115 Motion to Appear Pro Hac Vice of Robert Henry Weaver. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle) (Entered:
                                02/13/2025)
   02/13/2025                   TEXT ORDER granting 116 Motion to Appear Pro Hac Vice of Laura Crittenden Tipton.
                                So Ordered by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle)
                                (Entered: 02/13/2025)
   02/13/2025                   TEXT ORDER granting 117 Motion to Appear Pro Hac Vice of Steven Travis Mayo. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle) (Entered:
                                02/13/2025)
   02/13/2025                   TEXT ORDER granting 118 Motion to Appear Pro Hac Vice of Taylor Payne. So Ordered
                                by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle) (Entered:
                                02/13/2025)
   02/13/2025           119 MOTION for Chris Pappavaselio to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2099096 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/13/2025)
   02/13/2025           120 MOTION for Julia E. Jonas-Day to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2099115 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/13/2025)
   02/13/2025                   NOTICE of Hearing on 67 MOTION for Preliminary Injunction: Motion Hearing (in
                                person) scheduled for Friday 2/21/2025 at 1:30 PM in Courtroom 1 before Chief Judge
                                John J. McConnell, Jr.; a remote viewing option will be made available for the public and
                                information on that will be available on the Court's website at
                                https://www.rid.uscourts.gov/ (Jackson, Ryan) (Entered: 02/13/2025)
   02/13/2025                   TEXT ORDER granting 119 Motion to Appear Pro Hac Vice of Chris Pappavaselio. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle) (Entered:
                                02/13/2025)
   02/13/2025                   TEXT ORDER granting 120 Motion to Appear Pro Hac Vice of Julia Jonas-Day. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/13/2025. (Hill, Cherelle) (Entered:
                                02/13/2025)
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                                                                            - District Date   Filed:
                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
   02/14/2025           121 JUDGMENT of the U.S. Court of Appeals for the First Circuit entered as to 98 Notice of
                            Appeal, filed by U.S. Department of Energy, Scott Bessent, U.S. Department of Labor,
                            U.S. Environmental Protection Agency, U.S. Federal Emergency Management Agency,
                            U.S. Department of Health and Human Services, Sethuraman Panchanathan, The National
                            Science Foundation, U.S. Department of the Treasury, U.S. Department of Homeland
                            Security, Judith Kaleta, Donald Trump, Vince Micone, Patricia Collins, U.S. Department
                            of Transportation, U.S. Office of Management and Budget, U.S. Department of
                            Education, Kristi Noem, U.S. Department of Justice, James R McHenry, III, Ingrid Kolb,
                            Dorothy A Fink, James Payne, Denise Carter, Matthew Vaeth, Cameron Hamilton.
                            JUDGMENT entered voluntarily dismissed pursuant to Fed. R. App. P. 42(b)(2) with each
                            party to bear its own costs. [25-1138] (Gonzalez Gomez, Viviana) (Entered: 02/14/2025)
   02/14/2025                   DOCKET NOTE: Received a duplicate copy of a MOTION for Leave to File Amicus
                                Brief filed by Rubin Young ECF 109 (Hill, Cherelle) (Entered: 02/14/2025)
   02/14/2025           122 MANDATE of the U.S. Court of Appeals for the First Circuit issued as to and in
                            accordance with 98 Notice of Appeal, filed by U.S. Department of Energy, Scott Bessent,
                            U.S. Department of Labor, U.S. Environmental Protection Agency, U.S. Federal
                            Emergency Management Agency, U.S. Department of Health and Human Services,
                            Sethuraman Panchanathan, The National Science Foundation, U.S. Department of the
                            Treasury, U.S. Department of Homeland Security, Judith Kaleta, Donald Trump, Vince
                            Micone, Patricia Collins, U.S. Department of Transportation, U.S. Office of Management
                            and Budget, U.S. Department of Education, Kristi Noem, U.S. Department of Justice,
                            James R McHenry, III, Ingrid Kolb, Dorothy A Fink, James Payne, Denise Carter,
                            Matthew Vaeth, Cameron Hamilton. [25-1138] (Gonzalez Gomez, Viviana) (Entered:
                            02/14/2025)
   02/14/2025           123 MOTION for Leave to File Amicus Brief filed by Cody R. Hart, Derrill J. Fussell.
                            Responses due by 2/28/2025. (Attachments: # 1 Amici Curiae Brief, # 2 Exhibit, # 3
                            Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Memorandum in Support, # 8
                            Declaration of Service, # 9 Envelope)(Hill, Cherelle) (Attachment 3 replaced on
                            2/14/2025) (Hill, Cherelle). (Attachment 4 replaced on 2/14/2025) (Hill, Cherelle).
                            (Entered: 02/14/2025)
   02/14/2025           124 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           125 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           126 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           127 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           128 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           129 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           130 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           131 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)

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   02/14/2025           132 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           133 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           134 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           135 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           136 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           137 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           138 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           139 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           140 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           141 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           142 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           143 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           144 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           145 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           146 Summons Request filed by State of Rhode Island. (Giarrano, Leonard) (Entered:
                            02/14/2025)
   02/14/2025           147 REPLY to Response re 113 Response to Motion filed by All Plaintiffs. (Muqaddam,
                            Rabia) (Entered: 02/14/2025)
   02/18/2025                   TEXT ORDER denying 123 Motion for Leave to File Amicus Brief: The Court is not
                                accepting Amici briefs in this case both sides are adequately represented in this legal
                                matter. So Ordered by Chief Judge John J. McConnell, Jr. on 2/18/2025. (Jackson, Ryan)
                                (Entered: 02/18/2025)
   02/18/2025           148 Summons Issued as to Jennifer Bastress Tahmasebi, Douglas Collins, Corporation for
                            National and Community Service, Douglas Burgum, Gary Washington, Peter Hegseth,
                            Michelle King, National Aeronautics and Space Administration, Jeremy Pelter, Janet
                            Petro, Marco Rubio, Scott Turner, U.S. Agency for International Development, U.S.
                            Department of Agriculture, U.S. Department of Commerce, U.S. Department of Defense,
                            U.S. Department of Housing and Urban Development, U.S. Department of State, U.S.
                            Department of Veterans Affairs, U.S. Department of the Interior, U.S. Small Business
                                                                         A657
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                             Administration, U.S. Social Security Administration, Everett Woodel. (Attachments: # 1
                             Summons Issued as to Corporation for National and Community Service, # 2 Summons
                             Issued as to U.S. Department of Commerce, # 3 Summons Issued as to D. Collins, # 4
                             Summons Issued as to U.S. Department of Defense, # 5 Summons Issued as to U.S.
                             Department of the Interior, # 6 Summons Issued as to U.S. Department of Veterans
                             Affairs, # 7 Summons Issued as to P. Hegseth, # 8 Summons Issued as to U.S.
                             Department of Housing and Urban Development, # 9 Summons Issued as to M. King, #
                             10 Summons Issued as to N.A.S.A., # 11 Summons Issued as to J. Pelter, # 12 Summons
                             Issued as to J. Petro, # 13 Summons Issued as to M. Rubio, # 14 Summons Issued as to
                             U.S. Small Business Administration, # 15 Summons Issued as to U.S. Social Security
                             Administration, # 16 Summons Issued as to U.S. Department of State, # 17 Summons
                             Issued as to J. Bastress Tahmasebi, # 18 Summons Issued as to S. Turner, # 19 Summons
                             Issued as to U.S. Agency for International Development, # 20 Summons Issued as to U.S.
                             Department of Agriculture, # 21 Summons Issued as to G. Washington, # 22 Summons
                             Issued as to E. Woodel) (Gonzalez Gomez, Viviana) (Entered: 02/18/2025)
   02/19/2025           149 MOTION for Vanessa A. Arslanian to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2100707 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/19/2025)
   02/19/2025           150 MOTION for Nathaniel James Hyman to Appear Pro Hac Vice ( filing fee paid $ 100.00,
                            receipt number ARIDC-2100708 ) filed by State of Rhode Island. (Giarrano, Leonard)
                            (Entered: 02/19/2025)
   02/19/2025                   TEXT ORDER: For Friday's hearing (2/21/2025) on the Preliminary Injunction motion
                                (ECF No. 67), the following schedule will be followed: Plaintiffs shall have up to one
                                hour for presentation, Defendants will then have up to one hour for presentation, and then
                                Plaintiffs will have up to 15 minutes for rebuttal. The hearing will begin at 1:30 p.m. EST
                                and the Court will take a break from 3:30 p.m. to 3:45 p.m. EST. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 2/19/2025. (Jackson, Ryan) (Entered: 02/19/2025)
   02/19/2025                   TEXT ORDER granting 149 Motion to Appear Pro Hac Vice of Vanessa A. Arslanian. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 2/19/2025. (Hill, Cherelle) (Entered:
                                02/19/2025)
   02/19/2025                   TEXT ORDER granting 150 Motion to Appear Pro Hac Vice of Nathaniel James Hyman.
                                So Ordered by Chief Judge John J. McConnell, Jr. on 2/19/2025. (Hill, Cherelle)
                                (Entered: 02/19/2025)
   02/20/2025           151 MOTION for Reconsideration re Order on Motion to Intervene (ECF 60), MOTION for
                            Leave to File Amicus Brief filed by Arthur West. Responses due by 3/6/2025.
                            (Attachments: # 1 Exhibit - Governor Josh Green, M.D. Office of the Governor - News
                            Release, # 2 Exhibit - Washington State Office of the Attorney General - Statement, # 3
                            Exhibit - FAA-2024-2006 SpaceX Revised EA Public Comment, # 4 Exhibit - Order
                            Denying Intervention and Granting Amicus Status in CVH 2023 0069, # 5 Exhibit -
                            National League of Legislatures Motion, # 6 Exhibit - Senate Bill Report SB 5436 Law
                            OC 25, # 7 Email)(Gonzalez Gomez, Viviana) (Entered: 02/20/2025)
   02/20/2025           152 NOTICE of Appearance by Heidi Parry Stern on behalf of State of Nevada (Stern, Heidi)
                            (Entered: 02/20/2025)
   02/21/2025                   TEXT ORDER denying 151 Motion for Reconsideration ; denying 151 Motion for Leave
                                to File Amicus Brief: The Court is not accepting amici in this case; the issues and parties
                                are well represented. So Ordered by Chief Judge John J. McConnell, Jr. on 2/21/2025.
                                (Jackson, Ryan) (Entered: 02/21/2025)
   02/21/2025                   Minute Entry for proceedings held before Chief Judge John J. McConnell, Jr.: Motion
                                Hearing held on 2/21/2025 re: 67 MOTION for Preliminary Injunction filed by State of
                                                                         A658
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                                                                              of Rhode Island 05/27/2025 Entry ID: 6724072
                             NY, et al. Counsel present and arguing: S. Rice, R. Muqaddam; D. Schwei. Other counsel
                             present: K. Sabatini; L. Faer and C. Chuang (via Zoom); M. Thomas-Jensen; A. Hemmer;
                             T. McCombs; T. Smith; M. Myers; L. Giarrano; V. Arslanian; K. Dirks. States/Plaintiffs
                             (S. Rice) argue its Motion for Preliminary Injunction. Court questions counsel
                             throughout. States/Plaintiffs (R. Muqaddam) continue their argument and are further
                             questioned by the Court. Defendants (Schwei) argue their objection to the Motion; Court
                             questions counsel throughout. States/Plaintiffs (S. Rice) makes brief Reply argument.
                             Court reiterates that the previously entered TRO is still in full force and effect. Court
                             takes the Motion for Preliminary Injunction under advisement. Adjourned. (Court
                             Reporter Denise Webb in Courtroom 1 at 1:30 PM) (Jackson, Ryan) Modified Text on
                             2/24/2025 (Hill, Cherelle). (Entered: 02/21/2025)
   02/23/2025           153 TRANSCRIPT ORDER for proceedings held on 2/21/2025 before Judge Chief Judge
                            McConnell. Daily Transcript selected. Transcript to be delivered following adjournment
                            and prior to the normal opening hour of court on the following morning.. (Schwei,
                            Daniel) (Entered: 02/23/2025)
   02/24/2025           154 MOTION for Leave to File Amicus Brief filed by Anne Armstrong. Responses due by
                            3/10/2025. (Attachments: # 1 Proposed Amicus Brief, # 2 Email)(Gonzalez Gomez,
                            Viviana) (Entered: 02/24/2025)
   02/24/2025           155 TRANSCRIPT ORDER ACKNOWLEDGMENT Entered re: 153 Transcript Order,.
                            Daily Transcript Ordered. Court Reporter/Transcriber: Denise Webb. (Dias, Jennifer)
                            (Entered: 02/24/2025)
   02/24/2025                   TEXT ORDER denying 154 Motion for Leave to File Amicus Brief filed by Anne
                                Armstrong: The Court is not accepting any amicus briefs in this matter. So Ordered by
                                Chief Judge John J. McConnell, Jr. on 2/24/2025. (Jackson, Ryan) (Entered: 02/24/2025)
   02/24/2025           156 TRANSCRIPT ORDER for proceedings held on 2/21/2025 before Judge Chief Judge
                            John J. McConnell, Jr.. Daily Transcript selected. Transcript to be delivered following
                            adjournment and prior to the normal opening hour of court on the following morning..
                            (Giarrano, Leonard) (Entered: 02/24/2025)
   02/25/2025           157 TRANSCRIPT ORDER for proceedings held on 02/21/2025 before Chief Judge John J.
                            McConnell, Jr. Daily Transcript selected. Transcript to be delivered following
                            adjournment and prior to the normal opening hour of court on the following morning.
                            (Attachments: # 1 Email)(Hill, Cherelle) (Entered: 02/25/2025)
   02/25/2025           158 AFFIDAVIT of Service, filed by State of Rhode Island for complaint Jennifer Bastress
                            Tahmasebi served on 2/19/2025, answer due 4/21/2025; Scott Bessent served on
                            2/19/2025, answer due 4/21/2025; Denise Carter served on 2/19/2025, answer due
                            4/21/2025; Douglas Collins served on 2/19/2025, answer due 4/21/2025; Patricia Collins
                            served on 2/19/2025, answer due 4/21/2025; Corporation for National and Community
                            Service served on 2/19/2025, answer due 4/21/2025; Douglas Burgum served on
                            2/19/2025, answer due 4/21/2025; Dorothy A Fink served on 2/19/2025, answer due
                            4/21/2025; Gary Washington served on 2/19/2025, answer due 4/21/2025; Cameron
                            Hamilton served on 2/19/2025, answer due 4/21/2025; Peter Hegseth served on
                            2/19/2025, answer due 4/21/2025; Judith Kaleta served on 2/19/2025, answer due
                            4/21/2025; Michelle King served on 2/19/2025, answer due 4/21/2025; Ingrid Kolb
                            served on 2/19/2025, answer due 4/21/2025; James R McHenry, III served on 2/19/2025,
                            answer due 4/21/2025; Vince Micone served on 2/19/2025, answer due 4/21/2025;
                            National Aeronautics and Space Administration served on 2/19/2025, answer due
                            4/21/2025; Kristi Noem served on 2/19/2025, answer due 4/21/2025; Sethuraman
                            Panchanathan served on 2/19/2025, answer due 4/21/2025; James Payne served on
                            2/19/2025, answer due 4/21/2025; Jeremy Pelter served on 2/19/2025, answer due
                            4/21/2025; Janet Petro served on 2/19/2025, answer due 4/21/2025; Marco Rubio served
                                                                         A659
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                             on 2/19/2025, answer due 4/21/2025; The National Science Foundation served on
                             2/19/2025, answer due 4/21/2025; Donald Trump served on 2/19/2025, answer due
                             4/21/2025; Scott Turner served on 2/19/2025, answer due 4/21/2025; U.S. Agency for
                             International Development served on 2/19/2025, answer due 4/21/2025; U.S. Department
                             of Agriculture served on 2/19/2025, answer due 4/21/2025; U.S. Department of
                             Commerce served on 2/19/2025, answer due 4/21/2025; U.S. Department of Defense
                             served on 2/19/2025, answer due 4/21/2025; U.S. Department of Education served on
                             2/19/2025, answer due 4/21/2025; U.S. Department of Energy served on 2/19/2025,
                             answer due 4/21/2025; U.S. Department of Health and Human Services served on
                             2/19/2025, answer due 4/21/2025; U.S. Department of Homeland Security served on
                             2/19/2025, answer due 4/21/2025; U.S. Department of Housing and Urban Development
                             served on 2/19/2025, answer due 4/21/2025; U.S. Department of Justice served on
                             2/19/2025, answer due 4/21/2025; U.S. Department of Labor served on 2/19/2025,
                             answer due 4/21/2025; U.S. Department of State served on 2/19/2025, answer due
                             4/21/2025; U.S. Department of Transportation served on 2/19/2025, answer due
                             4/21/2025; U.S. Department of Veterans Affairs served on 2/19/2025, answer due
                             4/21/2025; U.S. Department of the Interior served on 2/19/2025, answer due 4/21/2025;
                             U.S. Department of the Treasury served on 2/19/2025, answer due 4/21/2025; U.S.
                             Environmental Protection Agency served on 2/19/2025, answer due 4/21/2025; U.S.
                             Federal Emergency Management Agency served on 2/19/2025, answer due 4/21/2025;
                             U.S. Office of Management and Budget served on 2/19/2025, answer due 4/21/2025; U.S.
                             Small Business Administration served on 2/19/2025, answer due 4/21/2025; U.S. Social
                             Security Administration served on 2/19/2025, answer due 4/21/2025; Matthew Vaeth
                             served on 2/19/2025, answer due 4/21/2025; Everett Woodel served on 2/19/2025, answer
                             due 4/21/2025. (Attachments: # 1 Affidavit)(Giarrano, Leonard) (Entered: 02/25/2025)
   02/25/2025           159 NOTICE by State of Delaware, District of Columbia, State of Hawaii, State of Maine,
                            State of Maryland, State of Michigan, State of Minnesota, State of Nevada, State of North
                            Carolina, State of New Mexico, State of New York, State of Oregon, State of Vermont,
                            State of Washington, State of Wisconsin, State of California, State of Illinois, State of
                            Rhode Island, State of New Jersey, Office of the Governor of Kentucky ex rel. Andy
                            Beshear, Commonwealth of Massachusetts, State of Arizona, State of Colorado, State of
                            Connecticut of Supplemental Authority (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                            (Hemmer, Alex) (Entered: 02/25/2025)
   02/28/2025           160 Second MOTION to Enforce re: 50 Order on Motion for TRO filed by All Plaintiffs.
                            Responses due by 3/14/2025. (Attachments: # 1 Affidavit Affirmation of Theodore
                            McCombs)(Faer, Laura) (Entered: 02/28/2025)
   03/04/2025                   TEXT ORDER: Defendant shall file a response on or before March 7th, 2025 re: 160
                                Second MOTION to Enforce re: 50 Order on Motion for TRO. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 3/4/2025. (Jackson, Ryan) (Entered: 03/04/2025)
   03/05/2025                   TEXT ORDER Vacating this Court's Text Order dated 3/4/2025. No Further filings
                                should be made re: 160 Second MOTION to Enforce re: 50 Order on Motion for TRO at
                                this time. So Ordered by Chief Judge John J. McConnell, Jr. on 3/5/2025. (Jackson, Ryan)
                                (Entered: 03/05/2025)
   03/06/2025           161 MEMORANDUM AND ORDER granting 67 Motion for Preliminary Injunction; denying
                            as moot 160 Second MOTION to Enforce re: 50 Order on TRO; and, denying the
                            Defendants' request to stay this Order pending appeal to the First Circuit. Defendant
                            Federal Emergency Management Agency ("FEMA") shall file a status report on or before
                            3/14/2025, informing the Court of the status of their compliance with this order. So
                            Ordered by Chief Judge John J. McConnell, Jr. on 3/6/2025. (Jackson, Ryan) (Entered:
                            03/06/2025)

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                                                                            - District Date   Filed:
                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Robert F. Kennedy, Jr. has been
                                substituted for Dorothy A. Fink, MD as Secretary of the Department of Health and
                                Human Services. So Ordered by Chief Judge John J. McConnell, Jr. on 3/6/2025.
                                (Simoncelli, Michael) (Entered: 03/06/2025)
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Linda McMahon has been substituted
                                for Denise Carter as Secretary of the Department of Education. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 3/6/2025. (Simoncelli, Michael) (Entered: 03/06/2025)
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Brooke Rollins has been substituted for
                                Gary Washington as Secretary of the Department of Agriculture. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 3/6/2025. (Simoncelli, Michael) (Entered: 03/06/2025)
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Howard Lutnick has been substituted
                                for Jeremy Pelter as Secretary of the Department of Commerce. So Ordered by Chief
                                Judge John J. McConnell, Jr. on 3/6/2025. (Simoncelli, Michael) (Entered: 03/06/2025)
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Leland Dudek has been substituted for
                                Michelle King as Acting Commissioner of the Social Security Administration. So
                                Ordered by Chief Judge John J. McConnell, Jr. on 3/6/2025. (Simoncelli, Michael)
                                (Entered: 03/06/2025)
   03/06/2025                   TEXT ORDER: Pursuant to Fed. R. Civ. P. 25(d), Kelly Loeffler has been substituted for
                                Everett Woodel as Administrator of the Small Business Administration. So Ordered by
                                Chief Judge John J. McConnell, Jr. on 3/6/2025. (Simoncelli, Michael) (Entered:
                                03/06/2025)
   03/10/2025           162 NOTICE OF APPEAL by Donald Trump, U.S. Office of Management and Budget,
                            Matthew Vaeth, U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S.
                            Department of Health and Human Services, U.S. Department of Education, U.S. Federal
                            Emergency Management Agency, Cameron Hamilton, U.S. Department of
                            Transportation, Judith Kaleta, U.S. Department of Labor, Vince Micone, U.S. Department
                            of Energy, Ingrid Kolb, U.S. Environmental Protection Agency, James Payne, U.S.
                            Department of Homeland Security, Kristi Noem, U.S. Department of Justice, James R
                            McHenry, III, The National Science Foundation, Sethuraman Panchanathan, Lee Michael
                            Zeldin, Christopher Allen Wright, Sean P. Duffy, Russell Vought, U.S. Department of the
                            Interior, Douglas Burgum, Pamela Bondi, U.S. Department of Agriculture, U.S.
                            Department of Housing and Urban Development, Scott Turner, U.S. Department of State,
                            Marco Rubio, U.S. Agency for International Development, U.S. Department of Defense,
                            Peter Hegseth, U.S. Department of Veterans Affairs, Douglas Collins, U.S. Department of
                            Commerce, National Aeronautics and Space Administration, Janet Petro, Corporation for
                            National and Community Service, Jennifer Bastress Tahmasebi, U.S. Social Security
                            Administration, U.S. Small Business Administration, Robert F. Kennedy, Jr., Linda
                            McMahon, Brooke Rollins, Howard Lutnick, Leland C. Dudek, Kelly Loeffler as to 161
                            Order on Motion for Preliminary Injunction,,, Order on Motion for Miscellaneous Relief,,
                            (No fee paid, USA, Waived by Statute, or IFP.)

                                NOTICE TO COUNSEL: Counsel should register for a First Circuit CM/ECF
                                Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf/. Counsel should also
                                review the First Circuit requirements for electronic filing by visiting the CM/ECF
                                Information section at http://www.ca1.uscourts.gov/cmecf Appeal Record due by
                                3/17/2025. (Schwei, Daniel) (Entered: 03/10/2025)
   03/10/2025           163 CLERK'S CERTIFICATE AND APPELLATE COVER SHEET: Abbreviated record on
                            appeal consisting of notice of appeal, order(s) being appealed, and a certified copy of the
                            district court docket report transmitted to the U.S. Court of Appeals for the First Circuit in
                                                                         A661
https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           57/63
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5/25/25, 25-1236
           PM             Document: 00118290991 Page:ECF       596- District Date   Filed:
                                                                             of Rhode Island 05/27/2025 Entry ID: 6724072
                             accordance with 1st Cir. R. 11.0(b). 162 Notice of Appeal. (Attachments: # 1 Record on
                             Appeal)(Hill, Cherelle) (Entered: 03/10/2025)
   03/10/2025                   USCA Case Number 25-1236 for 162 Notice of Appeal, filed by U.S. Department of
                                State, Corporation for National and Community Service, Douglas Burgum, Lee Michael
                                Zeldin, U.S. Environmental Protection Agency, Howard Lutnick, U.S. Department of
                                Health and Human Services, U.S. Department of the Interior, Peter Hegseth, U.S. Small
                                Business Administration, National Aeronautics and Space Administration, U.S.
                                Department of the Treasury, U.S. Department of Homeland Security, U.S. Agency for
                                International Development, Donald Trump, Vince Micone, Robert F. Kennedy, Jr., Linda
                                McMahon, U.S. Department of Agriculture, U.S. Department of Transportation, Patricia
                                Collins, U.S. Department of Justice, James R McHenry, III, Ingrid Kolb, Brooke Rollins,
                                Leland C. Dudek, Christopher Allen Wright, Scott Turner, Matthew Vaeth, Douglas
                                Collins, U.S. Department of Energy, U.S. Department of Veterans Affairs, Scott Bessent,
                                U.S. Department of Labor, U.S. Department of Housing and Urban Development, U.S.
                                Federal Emergency Management Agency, U.S. Department of Commerce, Marco Rubio,
                                Sethuraman Panchanathan, The National Science Foundation, U.S. Department of
                                Defense, Judith Kaleta, Janet Petro, Pamela Bondi, U.S. Social Security Administration,
                                U.S. Office of Management and Budget, U.S. Department of Education, Kristi Noem,
                                Kelly Loeffler, Jennifer Bastress Tahmasebi, Sean P. Duffy, James Payne, Russell Vought,
                                Cameron Hamilton. (Hill, Cherelle) (Entered: 03/10/2025)
   03/14/2025           164 TRANSCRIPT of Motion on Preliminary Injunction held on 02/21/2025 before Judge
                            Chief Judge John J. McConnell, Jr.. Court Reporter/Transcriber Denise A Webb,
                            Telephone number 4017527045. Transcript may be viewed at the court public terminal or
                            purchased through the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. After that date it may be obtained through PACER. NOTICE TO
                            COUNSEL: Redaction Requests must be filed for personal identifiers only. All other
                            redactions must be requested by motion. For local policy and sample redaction
                            request visit our website at www.rid.uscourts.gov and select Transcripts under the
                            Case Information menu option. Redaction Request due 4/4/2025. Redacted
                            Transcript Deadline set for 4/14/2025. Release of Transcript Restriction set for
                            6/12/2025. (Webb, Denise) (Entered: 03/14/2025)
   03/14/2025           165 TRANSCRIPT of Motion for Temporary Restraining Order held on 01/29/2025 before
                            Judge Chief Judge John J. McConnell, Jr.. Court Reporter/Transcriber Denise A Webb,
                            Telephone number 4017527045. Transcript may be viewed at the court public terminal or
                            purchased through the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. After that date it may be obtained through PACER. NOTICE TO
                            COUNSEL: Redaction Requests must be filed for personal identifiers only. All other
                            redactions must be requested by motion. For local policy and sample redaction
                            request visit our website at www.rid.uscourts.gov and select Transcripts under the
                            Case Information menu option. Redaction Request due 4/4/2025. Redacted
                            Transcript Deadline set for 4/14/2025. Release of Transcript Restriction set for
                            6/12/2025. (Webb, Denise) Modified on 4/4/2025 to correct docket text(Simoncelli,
                            Michael). (Entered: 03/14/2025)




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                                                                            - District Date   Filed:
                                                                                       of Rhode Island 05/27/2025   Entry ID: 6724072
   03/14/2025           166 STATUS REPORT Regarding FEMA's Compliance With Preliminary Injunction by All
                            Defendants. (Attachments: # 1 Exhibit FEMA Hamilton Declaration, # 2 Exhibit
                            Hamilton Decl. Exhibit 1, # 3 Exhibit Hamilton Decl. Exhibit 2, # 4 Exhibit Hamilton
                            Decl. Exhibit 3, # 5 Exhibit Hamilton Decl. Exhibit 4, # 6 Exhibit Hamilton Decl. Exhibit
                            5, # 7 Exhibit Hamilton Decl. Exhibit 6, # 8 Exhibit Hamilton Decl. Exhibit 7, # 9 Exhibit
                            Hamilton Decl. Exhibit 8, # 10 Exhibit Hamilton Decl. Exhibit 9, # 11 Exhibit Hamilton
                            Decl. Exhibit 10, # 12 Exhibit Hamilton Decl. Exhibit 11, # 13 Exhibit Hamilton Decl.
                            Exhibit 12, # 14 Exhibit OMB Written Notice Regarding Preliminary Injunction)(Freidah,
                            Andrew) (Entered: 03/14/2025)
   03/17/2025           167 RESPONSE IN OPPOSITION to ECF 166 STATUS REPORT by State of Delaware,
                            District of Columbia, State of Hawaii, State of Maine, State of Maryland, State of
                            Michigan, State of Minnesota, State of Nevada, State of North Carolina, State of New
                            Mexico, State of New York, State of Oregon, State of Vermont, State of Washington, State
                            of Wisconsin, State of California, State of Illinois, State of Rhode Island, State of New
                            Jersey, Office of the Governor of Kentucky ex rel. Andy Beshear, Commonwealth of
                            Massachusetts, State of Arizona, State of Colorado, State of Connecticut re 166 Status
                            Report,, . (Thomas-Jensen, Molly) Modified Text on 3/20/2025 (Hill, Cherelle). (Entered:
                            03/17/2025)
   03/24/2025           168 MOTION for Enforcement of Preliminary Injunction re: 161 Order on Motion for
                            Preliminary Injunction,,, Order on Motion for Miscellaneous Relief,, 160 Second
                            MOTION to Enforce re: 50 Order on Motion for TRO filed by All Plaintiffs. Responses
                            due by 4/7/2025. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)
                            (Rice, Sarah) (Entered: 03/24/2025)
   03/25/2025                   TEXT ORDER: Defendants shall file a response on or before March 27th, 2025 to 168
                                MOTION for Enforcement of Preliminary Injunction re: 161 Order on Motion for
                                Preliminary Injunction. So Ordered by Chief Judge John J. McConnell, Jr. on 3/25/2025.
                                (Jackson, Ryan) (Entered: 03/25/2025)
   03/26/2025           169 NOTICE by State of Delaware, District of Columbia, State of Hawaii, State of Maine,
                            State of Maryland, State of Michigan, State of Minnesota, State of Nevada, State of North
                            Carolina, State of New Mexico, State of New York, State of Oregon, State of Vermont,
                            State of Washington, State of Wisconsin, State of California, State of Illinois, State of
                            Rhode Island, State of New Jersey, Office of the Governor of Kentucky ex rel. Andy
                            Beshear, Commonwealth of Massachusetts, State of Arizona, State of Colorado, State of
                            Connecticut of supplemental filing (Attachments: # 1 Affidavit of R. Henry Weaver)
                            (Hemmer, Alex) (Entered: 03/26/2025)
   03/27/2025           170 OPINION of the U.S. Court of Appeals for the First Circuit entered as to 162 Notice of
                            Appeal, filed by U.S. Department of State, Corporation for National and Community
                            Service, Douglas Burgum, Lee Michael Zeldin, U.S. Environmental Protection Agency,
                            Howard Lutnick, U.S. Department of Health and Human Services, U.S. Department of
                            the Interior, Peter Hegseth, U.S. Small Business Administration, National Aeronautics and
                            Space Administration, U.S. Department of the Treasury, U.S. Department of Homeland
                            Security, U.S. Agency for International Development, Donald Trump, Vince Micone,
                            Robert F. Kennedy, Jr., Linda McMahon, U.S. Department of Agriculture, U.S.
                            Department of Transportation, Patricia Collins, U.S. Department of Justice, James R
                            McHenry, III, Ingrid Kolb, Brooke Rollins, Leland C. Dudek, Christopher Allen Wright,
                            Scott Turner, Matthew Vaeth, Douglas Collins, U.S. Department of Energy, U.S.
                            Department of Veterans Affairs, Scott Bessent, U.S. Department of Labor, U.S.
                            Department of Housing and Urban Development, U.S. Federal Emergency Management
                            Agency, U.S. Department of Commerce, Marco Rubio, Sethuraman Panchanathan, The
                            National Science Foundation, U.S. Department of Defense, Judith Kaleta, Janet Petro,
                            Pamela Bondi, U.S. Social Security Administration, U.S. Office of Management and
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                                                                - District Date   Filed:
                                                                           of Rhode Island 05/27/2025 Entry ID: 6724072
                             Budget, U.S. Department of Education, Kristi Noem, Kelly Loeffler, Jennifer Bastress
                             Tahmasebi, Sean P. Duffy, James Payne, Russell Vought, Cameron Hamilton. OPINION
                             issued by David J. Barron, Chief Appellate Judge; Lara E. Montecalvo, Appellate Judge
                             and Julie Rikelman, Appellate Judge. Published. [25-1236] (Gonzalez Gomez, Viviana)
                             (Entered: 03/27/2025)
   03/27/2025           171 ORDER of the U.S. Court of Appeals for the First Circuit entered as to 162 Notice of
                            Appeal, filed by U.S. Department of State, Corporation for National and Community
                            Service, Douglas Burgum, Lee Michael Zeldin, U.S. Environmental Protection Agency,
                            Howard Lutnick, U.S. Department of Health and Human Services, U.S. Department of
                            the Interior, Peter Hegseth, U.S. Small Business Administration, National Aeronautics and
                            Space Administration, U.S. Department of the Treasury, U.S. Department of Homeland
                            Security, U.S. Agency for International Development, Donald Trump, Vince Micone,
                            Robert F. Kennedy, Jr., Linda McMahon, U.S. Department of Agriculture, U.S.
                            Department of Transportation, Patricia Collins, U.S. Department of Justice, James R
                            McHenry, III, Ingrid Kolb, Brooke Rollins, Leland C. Dudek, Christopher Allen Wright,
                            Scott Turner, Matthew Vaeth, Douglas Collins, U.S. Department of Energy, U.S.
                            Department of Veterans Affairs, Scott Bessent, U.S. Department of Labor, U.S.
                            Department of Housing and Urban Development, U.S. Federal Emergency Management
                            Agency, U.S. Department of Commerce, Marco Rubio, Sethuraman Panchanathan, The
                            National Science Foundation, U.S. Department of Defense, Judith Kaleta, Janet Petro,
                            Pamela Bondi, U.S. Social Security Administration, U.S. Office of Management and
                            Budget, U.S. Department of Education, Kristi Noem, Kelly Loeffler, Jennifer Bastress
                            Tahmasebi, Sean P. Duffy, James Payne, Russell Vought, Cameron Hamilton. ORDER
                            entered by David J. Barron, Chief Appellate Judge; Lara E. Montecalvo, Appellate Judge
                            and Julie Rikelman, Appellate Judge: In accordance with the opinion of even date, the
                            appellants' motion for a stay pending appeal of the District Court's preliminary injunction
                            is denied. The proposed amicus curiae briefs are accepted this day. [25-1236] (Gonzalez
                            Gomez, Viviana) (Entered: 03/27/2025)
   03/27/2025           172 RESPONSE In Opposition to 168 MOTION for Enforcement of Preliminary Injunction
                            re: 161 Order on Motion for Preliminary Injunction,,, Order on Motion for Miscellaneous
                            Relief,, 160 Second MOTION to Enforce re: 50 Order on Motion for TRO filed by All
                            Defendants. Replies due by 4/3/2025. (Attachments: # 1 Exhibit Third Hamilton
                            Declaration, # 2 Exhibit Third Hamilton Decl. Exhibit 1)(Freidah, Andrew) (Entered:
                            03/27/2025)
   03/27/2025                   TEXT ORDER: Plaintiffs shall have until 3/31/25 to file a Reply to ECF No. 172, if they
                                wish re: 172 Response to Motion filed by all Defendants. So Ordered by Chief Judge
                                John J. McConnell, Jr. on 3/27/2025. (Jackson, Ryan) (Entered: 03/27/2025)
   03/31/2025           173 REPLY to Response re 172 Response to Motion, filed by State of Delaware, District of
                            Columbia, State of Hawaii, State of Maine, State of Maryland, State of Michigan, State of
                            Minnesota, State of Nevada, State of North Carolina, State of New Mexico, State of New
                            York, State of Oregon, State of Vermont, State of Washington, State of Wisconsin, State
                            of California, State of Illinois, State of Rhode Island, State of New Jersey, Office of the
                            Governor of Kentucky ex rel. Andy Beshear, Commonwealth of Massachusetts, State of
                            Arizona, State of Colorado, State of Connecticut. (Dirks, Katherine) (Entered:
                            03/31/2025)
   03/31/2025           174 REPLY to Response re 172 Response to Motion, (CORRECTED) filed by State of
                            Delaware, District of Columbia, State of Hawaii, State of Maine, State of Maryland, State
                            of Michigan, State of Minnesota, State of Nevada, State of North Carolina, State of New
                            Mexico, State of New York, State of Oregon, State of Vermont, State of Washington, State
                            of Wisconsin, State of California, State of Illinois, State of Rhode Island, State of New
                            Jersey, Office of the Governor of Kentucky ex rel. Andy Beshear, Commonwealth of
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                                                                 - District Date   Filed:
                                                                            of Rhode Island 05/27/2025 Entry ID: 6724072
                             Massachusetts, State of Arizona, State of Colorado, State of Connecticut. (Dirks,
                             Katherine) (Entered: 03/31/2025)
   04/04/2025           175 MEMORANDUM AND ORDER granting 168 MOTION for Enforcement of Preliminary
                            Injunction. So Ordered by Chief Judge John J. McConnell, Jr. on 4/4/2025. (Simoncelli,
                            Michael) Modified on 4/7/2025: Document replaced for typographical error (Jackson,
                            Ryan). (Main Document 175 replaced on 4/7/2025) (Jackson, Ryan). (Entered:
                            04/04/2025)
   04/05/2025           176 Emergency MOTION for Reconsideration re 175 Order on Motion for Miscellaneous
                            Relief , MOTION to Alter Judgment filed by All Defendants. Responses due by
                            4/21/2025. (Attachments: # 1 Exhibit A - Department of Education v California, Supreme
                            Court Slip Opinion)(Schwei, Daniel) (Entered: 04/05/2025)
   04/06/2025           177 MOTION to Seal List of Notice Recipients; Notice of Compliance Regarding FEMA
                            Filed. Notice Sent To: All Defendants. (Attachments: # 1 Exhibit Exhibit A - Written
                            Notice of Court Orders, # 2 Proposed Sealed Document Exhibit B - List of Notice
                            Recipients)(Freidah, Andrew) This entry/document has been filed under seal pursuant
                            to statute, rule or court order and access is restricted. Please login to CM/ECF to
                            view document(s). (Entered: 04/06/2025)
   04/06/2025           178 NOTICE by Donald Trump, U.S. Office of Management and Budget, Matthew Vaeth,
                            U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S. Department of
                            Health and Human Services, U.S. Department of Education, U.S. Federal Emergency
                            Management Agency, Cameron Hamilton, U.S. Department of Transportation, Judith
                            Kaleta, U.S. Department of Labor, Vince Micone, U.S. Department of Energy, Ingrid
                            Kolb, U.S. Environmental Protection Agency, James Payne, U.S. Department of
                            Homeland Security, Kristi Noem, U.S. Department of Justice, James R McHenry, III, The
                            National Science Foundation, Sethuraman Panchanathan, Lee Michael Zeldin,
                            Christopher Allen Wright, Sean P. Duffy, Russell Vought, U.S. Department of the Interior,
                            Douglas Burgum, Pamela Bondi, U.S. Department of Agriculture, U.S. Department of
                            Housing and Urban Development, Scott Turner, U.S. Department of State, Marco Rubio,
                            U.S. Agency for International Development, U.S. Department of Defense, Peter Hegseth,
                            U.S. Department of Veterans Affairs, Douglas Collins, U.S. Department of Commerce,
                            National Aeronautics and Space Administration, Janet Petro, Corporation for National
                            and Community Service, Jennifer Bastress Tahmasebi, U.S. Social Security
                            Administration, U.S. Small Business Administration, Robert F. Kennedy, Jr., Linda
                            McMahon, Brooke Rollins, Howard Lutnick, Leland C. Dudek, Kelly Loeffler of
                            Compliance Regarding FEMA (Attachments: # 1 Exhibit Exhibit A - Written Notice of
                            Court Orders)(Freidah, Andrew) (Entered: 04/06/2025)
   04/06/2025           179 RESPONSE In Opposition to 176 Emergency MOTION for Reconsideration re 175
                            Order on Motion for Miscellaneous Relief MOTION to Alter Judgment filed by All
                            Plaintiffs. Replies due by 4/14/2025. (Thomas-Jensen, Molly) (Entered: 04/06/2025)
   04/07/2025                   TEXT ORDER granting 177 Motion to Seal. So Ordered by Chief Judge John J.
                                McConnell, Jr. on 4/7/2025. (Jackson, Ryan) (Entered: 04/07/2025)
   04/07/2025                   TEXT ORDER Staying 175 Order on Motion for Miscellaneous Relief: In light of the
                                recent Supreme Court Order (Department of Education v. California, No. 24A910, April
                                4, 2025), and the Defendants' Motion for Reconsideration 176 , the Court temporarily
                                STAYS its enforcement Order 175 until such time as the Court can adequately address the
                                Motion for Reconsideration. So Ordered by Chief Judge John J. McConnell, Jr. on
                                4/7/2025. (Jackson, Ryan) (Entered: 04/07/2025)
   04/07/2025           181 REPLY to Response re 179 Response to Motion, filed by All Defendants. (Schwei,
                            Daniel) (Entered: 04/07/2025)
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   04/14/2025           182 ORDER denying 176 Motion for Reconsideration of the Court's enforcement order; and
                            denying alternative request for a stay pending appeal. So Ordered by Chief Judge John J.
                            McConnell, Jr. on 4/14/2025. (Simoncelli, Michael) (Entered: 04/14/2025)
   04/17/2025           183 Consent MOTION to Stay April 21, 2025, Deadline to Respond to Plaintiffs' Complaint
                            filed by All Defendants. Responses due by 5/1/2025. (Sirkovich, Eitan) (Entered:
                            04/17/2025)
   04/21/2025                   TEXT ORDER granting 183 Motion to Stay 4/21/2025 Deadline for Defendants to
                                Respond to Plaintiffs' Complaint. So Ordered by Chief Judge John J. McConnell, Jr. on
                                4/21/2025. (Jackson, Ryan) (Entered: 04/21/2025)
   04/24/2025           184 NOTICE by Donald Trump, U.S. Office of Management and Budget, Matthew Vaeth,
                            U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S. Department of
                            Health and Human Services, U.S. Department of Education, U.S. Federal Emergency
                            Management Agency, Cameron Hamilton, U.S. Department of Transportation, Judith
                            Kaleta, U.S. Department of Labor, Vince Micone, U.S. Department of Energy, Ingrid
                            Kolb, U.S. Environmental Protection Agency, James Payne, U.S. Department of
                            Homeland Security, Kristi Noem, U.S. Department of Justice, James R McHenry, III, The
                            National Science Foundation, Sethuraman Panchanathan, Lee Michael Zeldin,
                            Christopher Allen Wright, Sean P. Duffy, Russell Vought, U.S. Department of the Interior,
                            Douglas Burgum, Pamela Bondi, U.S. Department of Agriculture, U.S. Department of
                            Housing and Urban Development, Scott Turner, U.S. Department of State, Marco Rubio,
                            U.S. Agency for International Development, U.S. Department of Defense, Peter Hegseth,
                            U.S. Department of Veterans Affairs, Douglas Collins, U.S. Department of Commerce,
                            National Aeronautics and Space Administration, Janet Petro, Corporation for National
                            and Community Service, Jennifer Bastress Tahmasebi, U.S. Social Security
                            Administration, U.S. Small Business Administration, Robert F. Kennedy, Jr., Linda
                            McMahon, Brooke Rollins, Howard Lutnick, Leland C. Dudek, Kelly Loeffler of
                            Compliance Regarding FEMA Payments (Attachments: # 1 Exhibit List of FEMA Grant
                            Payments to Plaintiff States)(Freidah, Andrew) (Entered: 04/24/2025)
   04/28/2025           185 NOTICE OF APPEAL by Donald Trump, U.S. Office of Management and Budget,
                            Matthew Vaeth, U.S. Department of the Treasury, Scott Bessent, Patricia Collins, U.S.
                            Department of Health and Human Services, U.S. Department of Education, U.S. Federal
                            Emergency Management Agency, Cameron Hamilton, U.S. Department of
                            Transportation, Judith Kaleta, U.S. Department of Labor, Vince Micone, U.S. Department
                            of Energy, Ingrid Kolb, U.S. Environmental Protection Agency, James Payne, U.S.
                            Department of Homeland Security, Kristi Noem, U.S. Department of Justice, James R
                            McHenry, III, The National Science Foundation, Sethuraman Panchanathan, Lee Michael
                            Zeldin, Christopher Allen Wright, Sean P. Duffy, Russell Vought, U.S. Department of the
                            Interior, Douglas Burgum, Pamela Bondi, U.S. Department of Agriculture, U.S.
                            Department of Housing and Urban Development, Scott Turner, U.S. Department of State,
                            Marco Rubio, U.S. Agency for International Development, U.S. Department of Defense,
                            Peter Hegseth, U.S. Department of Veterans Affairs, Douglas Collins, U.S. Department of
                            Commerce, National Aeronautics and Space Administration, Janet Petro, Corporation for
                            National and Community Service, Jennifer Bastress Tahmasebi, U.S. Social Security
                            Administration, U.S. Small Business Administration, Robert F. Kennedy, Jr., Linda
                            McMahon, Brooke Rollins, Howard Lutnick, Leland C. Dudek, Kelly Loeffler as to 182
                            Order on Motion for Reconsideration, Order on Motion to Alter Judgment, 175 Order on
                            Motion for Miscellaneous Relief, (No fee paid, USA, Waived by Statute, or IFP.)

                                NOTICE TO COUNSEL: Counsel should register for a First Circuit CM/ECF
                                Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf/. Counsel should also
                                review the First Circuit requirements for electronic filing by visiting the CM/ECF
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https://ecf.rid.uscourts.gov/cgi-bin/DktRpt.pl?113863262501059-L_1_0-1                                                           62/63
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                                                                           of Rhode Island 05/27/2025 Entry ID: 6724072
                             Information section at http://www.ca1.uscourts.gov/cmecf Appeal Record due by
                             5/5/2025. (Freidah, Andrew) (Entered: 04/28/2025)
   04/28/2025           186 CLERK'S CERTIFICATE AND APPELLATE COVER SHEET: Abbreviated record on
                            appeal consisting of notice of appeal, order(s) being appealed, and a copy of the district
                            court docket report transmitted to the U.S. Court of Appeals for the First Circuit in
                            accordance with 1st Cir. R. 11.0(b) re: 185 Notice of Appeal. Documents Sent: 175, 182.
                            (Attachments: # 1 Record on Appeal) (Gonzalez Gomez, Viviana) (Entered: 04/28/2025)
   04/28/2025                   USCA Case Number 25-1413 for 185 Notice of Appeal, filed by U.S. Department of
                                State, Corporation for National and Community Service, Douglas Burgum, Lee Michael
                                Zeldin, U.S. Environmental Protection Agency, Howard Lutnick, U.S. Department of
                                Health and Human Services, U.S. Department of the Interior, Peter Hegseth, U.S. Small
                                Business Administration, National Aeronautics and Space Administration, U.S.
                                Department of the Treasury, U.S. Department of Homeland Security, U.S. Agency for
                                International Development, Donald Trump, Vince Micone, Robert F. Kennedy, Jr., Linda
                                McMahon, U.S. Department of Agriculture, U.S. Department of Transportation, Patricia
                                Collins, U.S. Department of Justice, James R McHenry, III, Ingrid Kolb, Brooke Rollins,
                                Leland C. Dudek, Christopher Allen Wright, Scott Turner, Matthew Vaeth, Douglas
                                Collins, U.S. Department of Energy, U.S. Department of Veterans Affairs, Scott Bessent,
                                U.S. Department of Labor, U.S. Department of Housing and Urban Development, U.S.
                                Federal Emergency Management Agency, U.S. Department of Commerce, Marco Rubio,
                                Sethuraman Panchanathan, The National Science Foundation, U.S. Department of
                                Defense, Judith Kaleta, Janet Petro, Pamela Bondi, U.S. Social Security Administration,
                                U.S. Office of Management and Budget, U.S. Department of Education, Kristi Noem,
                                Kelly Loeffler, Jennifer Bastress Tahmasebi, Sean P. Duffy, James Payne, Russell Vought,
                                Cameron Hamilton. (Gonzalez Gomez, Viviana) (Entered: 04/28/2025)
   05/13/2025           187 JUDGMENT of the U.S. Court of Appeals for the First Circuit. Judgment received
                            regarding First Circuit Case #25-8010 that was filed directly with the Court of Appeals.
                            (Hill, Cherelle) (Entered: 05/13/2025)



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                                     Billable Pages: 30                  Cost:          3.00




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                                    CERTIFICATE OF SERVICE

                I hereby certify that on May 27, 2025, I electronically filed the foregoing

       appendix with the Clerk of the Court for the United States Court of Appeals for the

       First Circuit by using the appellate CM/ECF system. Service will be accomplished by

       the appellate CM/ECF system.


                                                          s/ Brian J. Springer
                                                         Brian J. Springer
